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                                                  CLOSED,APPEAL,ETT−2D,LC1,MEDIATION,PROTO
                                    U.S. District Court
                              DISTRICT OF KANSAS (Topeka)
                      CIVIL DOCKET FOR CASE #: 5:15−cv−03093−HLT
                                    Internal Use Only

   Banks v. Opat et al                                         Date Filed: 04/28/2015
   Assigned to: District Judge Holly L. Teeter                 Date Terminated: 06/01/2023
   Case in other court: 10CCA, 19−03073                        Jury Demand: None
                        10CCA, 23−03097                        Nature of Suit: 550 Prisoner: Civil Rights
                                                               Jurisdiction: Federal Question
                        10CCA, 23−03102
   Cause: 42:1983 Prisoner Civil Rights
   Plaintiff
   Albert Dewayne Banks                          represented by Albert Dewayne Banks
                                                                750 Shannon Drive
                                                                Romeoville, IL 60446
                                                                Email:
                                                                PRO SE
                                                                Bar Number:
                                                                Bar Status:

                                                               Michael J. Shultz
                                                               Shultz Law Office, PA
                                                               445 North Waco
                                                               Wichita, KS 67202
                                                               316−269−2284
                                                               Fax: 316−269−2011
                                                               Alternative Phone:
                                                               Cell Phone:
                                                               Email: michael@shultzlaw.net
                                                                TERMINATED: 09/28/2022
                                                               LEAD ATTORNEY
                                                               Bar Number: 23133
                                                               Bar Status: Active


   V.
   Consol Plaintiff
   Anthony Thompson                              represented by Anthony Thompson
   TERMINATED: 10/14/2022                                       1316 SW Wester, Apt. 8
                                                                Topeka, KS 66605
                                                                Email:
                                                                PRO SE
                                                                Bar Number:
                                                                Bar Status:

                                                               Michael J. Shultz
                                                               (See above for address)

                                                                                                            1
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                                                             TERMINATED: 09/28/2022
                                                             LEAD ATTORNEY
                                                             Bar Number: 23133
                                                             Bar Status: Active


   V.
   Defendant
   David R. Platt
   Former District Court Judge, Geary
   County District Court, in his individual
   capacity
   TERMINATED: 02/20/2018

   Defendant
   Steven L. Opat                             represented by Eric Turner
   Former Geary County District Attorney,                    Foulston Siefkin LLP − OP
   in his individual capacity                                7500 College Blvd., Suite 1400
   TERMINATED: 12/27/2021                                    Overland Park, KS 66210
                                                             913−253−2176
                                                             Fax: 913−498−2101
                                                             Alternative Phone:
                                                             Cell Phone:
                                                             Email: eturner@foulston.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Number: 25065
                                                             Bar Status: Active

                                                             Toby Crouse
                                                             U.S. District Court − Topeka
                                                             444 SE Quincy Street
                                                             Topeka, KS 66683−0001
                                                             Alternative Phone:
                                                             Cell Phone:
                                                             Email:
                                                              TERMINATED: 10/23/2020
                                                             LEAD ATTORNEY
                                                             Bar Number: 20030
                                                             Bar Status: Justice Judge Magist

                                                             Wendell F. Cowan , Jr.
                                                             Foulston Siefkin LLP − OP
                                                             7500 College Blvd., Suite 1400
                                                             Overland Park, KS 66210
                                                             913−498−2100
                                                             Fax: 913−498−2101
                                                             Alternative Phone:
                                                             Cell Phone:
                                                             Email: bcowan@foulston.com
                                                             LEAD ATTORNEY

                                                                                                   2
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                                                             ATTORNEY TO BE NOTICED
                                                             Bar Number: 08227
                                                             Bar Status: Terminated

   Defendant
   Glen F. Virden                              represented by Arthur S. Chalmers
   Senior Special Agent, Kansas Bureau of                     Kansas Attorney General − Topeka
   Investigation, in his individual capacity                  120 SW 10th Avenue, 2nd Floor
   TERMINATED: 12/27/2021                                     Topeka, KS 66612
                                                              785−368−6244
                                                              Alternative Phone:
                                                              Cell Phone: 316−644−8541
                                                              Email: art.chalmers@ag.ks.gov
                                                               TERMINATED: 06/05/2023
                                                              LEAD ATTORNEY
                                                              Bar Number: 11088
                                                              Bar Status: Active

                                                             Carrie A. Barney
                                                             Kansas Attorney General − Topeka
                                                             120 SW 10th Avenue, 2nd Floor
                                                             Topeka, KS 66612
                                                             785−368−6695
                                                             Fax: 785−291−3767
                                                             Alternative Phone:
                                                             Cell Phone:
                                                             Email: carrie.barney@ag.ks.gov
                                                              TERMINATED: 05/28/2020
                                                             LEAD ATTORNEY
                                                             Bar Number: 22872
                                                             Bar Status: Active

                                                             Shon D. Qualseth
                                                             785−368−8424
                                                             Fax: 785−291−3767
                                                             Alternative Phone:
                                                             Cell Phone: 785−331−7247
                                                             Email: shon.qualseth@ag.ks.gov
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Number: 18369
                                                             Bar Status: Active

   Defendant
   Sprint/Nextel Wireless Telephone            represented by Elizabeth Marden
   Company                                                    Polsinelli PC − 48th Place
                                                              900 W. 48th Place, Suite 900
                                                              Kansas City, MO 64112−1895
                                                              913−526−3900
                                                              Alternative Phone:
                                                              Cell Phone:


                                                                                                   3
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                                                        Email: lmarden@polsinelli.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED
                                                        Bar Number: 78740
                                                        Bar Status: Terminated

                                                        Jay E. Heidrick
                                                        Polsinelli PC − 48th Place
                                                        900 W. 48th Place, Suite 900
                                                        Kansas City, MO 64112−1895
                                                        816−572−4765
                                                        Fax: 816−753−1536
                                                        Alternative Phone:
                                                        Cell Phone:
                                                        Email: jheidrick@polsinelli.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED
                                                        Bar Number: 20770
                                                        Bar Status: Active

                                                        Kymberly Kester
                                                        Polsinelli PC
                                                        401 Commerce Street, Suite 900
                                                        Nashville, TN 37219
                                                        615−259−1510
                                                        Fax: 615−259−1573
                                                        Alternative Phone:
                                                        Cell Phone:
                                                        Email: kkester@polsinelli.com
                                                        LEAD ATTORNEY
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED
                                                        Bar Number:
                                                        Bar Status: Phv

                                                        Michael L. Walden
                                                        Shook, Hardy & Bacon LLP − KC/Grand
                                                        2555 Grand Boulevard
                                                        Kansas City, MO 64108−2613
                                                        816−559−2181
                                                        Alternative Phone: 816−474−6550
                                                        Cell Phone:
                                                        Email: mwalden@shb.com
                                                         TERMINATED: 04/30/2019
                                                        LEAD ATTORNEY
                                                        Bar Number: 26346
                                                        Bar Status: Active

   Defendant
   Virgin Mobile USA/Sprint PCS          represented by Elizabeth Marden
                                                        (See above for address)
                                                        LEAD ATTORNEY

                                                                                              4
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                                                             ATTORNEY TO BE NOTICED
                                                             Bar Number: 78740
                                                             Bar Status: Terminated

                                                             Jay E. Heidrick
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Number: 20770
                                                             Bar Status: Active

                                                             Kymberly Kester
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Number:
                                                             Bar Status: Phv

                                                             Michael L. Walden
                                                             (See above for address)
                                                              TERMINATED: 04/30/2019
                                                             LEAD ATTORNEY
                                                             Bar Number: 26346
                                                             Bar Status: Active

   Defendant
   Timothy Brown                              represented by Michael K. Seck
   Former Chief of Junction City Police                      Fisher, Patterson, Sayler & Smith, LLP −
   Department, in his individual capacity                    Overland Park
   TERMINATED: 12/27/2021                                    9393 W. 110th Street, Suite 300
                                                             Overland Park, KS 66210
                                                             913−339−6757
                                                             Alternative Phone:
                                                             Cell Phone:
                                                             Email: mseck@fpsslaw.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Number: 11393
                                                             Bar Status: Active

                                                             William D. Cross , Jr.
                                                             Henderson Engineers
                                                             8345 Lenexa Drive
                                                             Lenexa, KS 66214
                                                             816−686−7989
                                                             Alternative Phone:
                                                             Cell Phone:
                                                             Email: bill.cross@hendersonengineers.com
                                                              TERMINATED: 12/18/2018
                                                             LEAD ATTORNEY
                                                             Bar Number: 27530

                                                                                                        5
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                                                               Bar Status: Active

   Defendant
   Brad Schoen                                  represented by David R. Cooper
   Director of Riley County Police                             Fisher, Patterson, Sayler & Smith, LLP −
   Department, in his individual and official                  Topeka
   capacity                                                    3550 SW Fifth Street
   TERMINATED: 02/20/2018                                      Topeka, KS 66606
                                                               785−232−7761
                                                               Fax: 785−286−6609
                                                               Alternative Phone:
                                                               Cell Phone: 785−633−7545
                                                               Email: dcooper@fpsslaw.com
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Number: 16690
                                                               Bar Status: Active

                                                               Lauren E. Laushman
                                                               Henderson Engineers
                                                               8345 Lenexa Drive, Suite 300
                                                               Lenexa, KS 66049
                                                               785−979−5936
                                                               Alternative Phone:
                                                               Cell Phone: 785−979−5936
                                                               Email: l.laushman@gmail.com
                                                                TERMINATED: 06/18/2020
                                                               LEAD ATTORNEY
                                                               Bar Number: 25776
                                                               Bar Status: Inactive

   Defendant
   Ron Miller
   Chief of Police, Topeka Police
   Department, in his individual and official
   capacity
   TERMINATED: 02/20/2018

   Defendant
   Geary County, Kansas
   TERMINATED: 02/20/2018

   Defendant
   Kansas Bureau of Investigation               represented by Carrie A. Barney
   TERMINATED: 02/20/2018                                      (See above for address)
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Number: 22872
                                                               Bar Status: Active



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   Defendant
   Junction City Police Department
   TERMINATED: 02/20/2018

   Defendant
   Riley County Police Department
   TERMINATED: 02/20/2018

   Defendant
   Topeka Police Department
   TERMINATED: 02/20/2018

   Defendant
   Tony Wolf                                    represented by Eric Turner
   Sheriff, Geary County Sheriff's                             (See above for address)
   Department, in his individual and official                  LEAD ATTORNEY
   capacity                                                    ATTORNEY TO BE NOTICED
   TERMINATED: 12/27/2021                                      Bar Number: 25065
                                                               Bar Status: Active

                                                              Toby Crouse
                                                              (See above for address)
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED
                                                              Bar Number: 20030
                                                              Bar Status: Justice Judge Magist


   V.
   Consol Defendant
   Glen F. Virden                               represented by Arthur S. Chalmers
   TERMINATED: 12/27/2021                                      (See above for address)
                                                                TERMINATED: 06/05/2023
                                                               LEAD ATTORNEY
                                                               Bar Number: 11088
                                                               Bar Status: Active

   Consol Defendant
   T−Mobile U.S.A.                              represented by Amanda S. Vogelsberg
   TERMINATED: 10/14/2022                                      Henson, Hutton, Mudrick, Gragson &
                                                               Vogelsberg, LLP
                                                               3649 SW Burlingame Road, Suite 200
                                                               Topeka, KS 66611−21558
                                                               785−232−2200
                                                               Fax: 785−232−3344
                                                               Alternative Phone:
                                                               Cell Phone:
                                                               Email: avogelsberg@hhmglaw.com
                                                               LEAD ATTORNEY

                                                                                                    7
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                                                   ATTORNEY TO BE NOTICED
                                                   Bar Number: 23360
                                                   Bar Status: Active

                                                   James Phillip Gragson
                                                   Henson, Hutton, Mudrick, Gragson &
                                                   Vogelsberg, LLP
                                                   3649 SW Burlingame Road, Suite 200
                                                   Topeka, KS 66611−21558
                                                   785−232−2200
                                                   Alternative Phone:
                                                   Cell Phone:
                                                   Email: jpgragson@hhmglaw.com
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED
                                                   Bar Number: 16103
                                                   Bar Status: Active

                                                   Jay E. Heidrick
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED
                                                   Bar Number: 20770
                                                   Bar Status: Active

                                                   Kymberly Kester
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED
                                                   Bar Number:
                                                   Bar Status: Phv

                                                   Michael T. Hilgers
                                                   Hilgers Graben, PLLC
                                                   570 Fallbrook Blvd., Suite 109
                                                   Lincoln, NE 68521
                                                   402−218−2106
                                                   Fax: 402−413−1880
                                                   Alternative Phone:
                                                   Cell Phone:
                                                   Email: mhilgers@hilgersgraben.com
                                                   LEAD ATTORNEY
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED
                                                   Bar Number:
                                                   Bar Status: Phv

                                                   Trenton D. Tanner
                                                   Hilgers Graben, PLLC
                                                   575 Fallbrook Blvd., Suite 200
                                                   Lincoln, NE 68521


                                                                                          8
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                                                                     402−260−1391
                                                                     Fax: 402−413−1880
                                                                     Alternative Phone:
                                                                     Cell Phone:
                                                                     Email: ttanner@hilgersgraben.com
                                                                     LEAD ATTORNEY
                                                                     PRO HAC VICE
                                                                     ATTORNEY TO BE NOTICED
                                                                     Bar Number:
                                                                     Bar Status: Phv

   Consol Defendant
   Timothy Brown                                    represented by Michael K. Seck
   TERMINATED: 12/27/2021                                          (See above for address)
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED
                                                                   Bar Number: 11393
                                                                   Bar Status: Active
   Email All Attorneys
   Email All Attorneys and Additional Recipients

    Date Filed      #   Docket Text
    04/28/2015      1   COMPLAINT filed by Plaintiff Albert Dewayne Banks (Attachments: # 1 Exhibit
                        List and Exhibits 1−4; # 2 Envelope) (smnd) (Entered: 04/28/2015)
    04/28/2015      2   MOTION for Leave to Proceed in forma pauperis by Plaintiff Albert Dewayne Banks
                        (referred to Magistrate Judge David J. Waxse) (Attachments: # 1 Account Statement)
                        (smnd) (Entered: 04/28/2015)
    04/28/2015      3   MOTION for Issuance of Summons by Plaintiff Albert Dewayne Banks (smnd)
                        (Entered: 04/28/2015)
    07/21/2015      4   NOTICE AND ORDER TO SHOW CAUSE ENTERED: Plaintiff is granted thirty
                        (30) days in which to submit to the court an initial partial filing fee of $38.50. Within
                        the same thirty−day period, plaintiff is required to show good cause, in writing, to the
                        Honorable Sam A. Crow, United States Senior District Judge, why plaintiff's
                        complaint should not be dismissed. Plaintiff's motion 3 for issuance of summons is
                        denied without prejudice. Signed by Senior District Judge Sam A. Crow on 07/21/15.
                        Mailed to pro se party Albert Dewayne Banks by regular mail. (smnd) (Entered:
                        07/21/2015)
    08/17/2015          INITIAL PARTIAL FILING FEE PAID on 08/17/15, Receipt No. T4631009132, in
                        the amount of $ 38.50 (smnd) (Entered: 08/17/2015)
    08/17/2015      5   MOTION to Consolidate Cases (titled Motion to Amend Complaint) by Plaintiff
                        Albert Dewayne Banks (referred to Magistrate Judge David J. Waxse) (smnd)
                        (Entered: 08/17/2015)
    08/17/2015      6   RESPONSE (titled Statement of Facts) re 4 Notice and Order to Show Cause by
                        Plaintiff Albert Dewayne Banks (Attachments: # 1 Memorandum of Law in Support
                        of Statement of Facts; # 2 Exhibit 1; # 3 Exhibit 2; # 4 Exhibit 3; # 5 Exhibit 4; # 6
                        Envelope) (smnd) (Entered: 08/17/2015)


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    01/06/2016    7   MOTION for Stay of Execution by Plaintiff Albert Dewayne Banks (referred to
                      Magistrate Judge David J. Waxse) (Attachments: # 1 Envelope) (smnd) (Entered:
                      01/06/2016)
    03/16/2016    8   ORDER ENTERED: Plaintiff's motion 2 for leave to proceed in forma pauperis is
                      granted with payment of the remainder of the district court filing fee to proceed as
                      authorized by 28 U.S.C. 1915(b)(2). Plaintiff's motions 5 to consolidate is denied as
                      moot. Plaintiff's motion 7 for a stay is granted. Signed by Senior District Judge Sam
                      A. Crow on 03/16/16. Mailed to pro se party Albert Dewayne Banks by regular mail.
                      (smnd) (Entered: 03/16/2016)
    03/28/2016    9   RETURN mail received re 8 Order addressed to Plaintiff Albert Dewayne Banks
                      (Return to Sender/Departed Facility); Remailed to Plaintiff Banks at FCI − Florence,
                      P.O. Box 6000, Florence, Colorado 81226 (Current Location Pursuant to FBOP)
                      (smnd) (Entered: 03/28/2016)
    04/07/2016   10   NOTICE of Change of Address by Plaintiff Albert Dewayne Banks, #23203−031:
                      now at FCI − Florence, P.O. Box 6000, Florence, Colorado 81226 (Attachments: # 1
                      Envelope) (smnd) (Entered: 04/07/2016)
    09/29/2017   11   ORDER ENTERED: Defendants Platt, Junction City Police Department, Riley
                      County Police Department and Topeka Police Department are dismissed from this
                      case and plaintiff's claims for injunctive and declaratory relief are dismissed.
                      Plaintiff's § 1983 and state law claims against defendants Platt, Opat and Virden in
                      their official capacities and plaintiff's § 1983 and state law claims against defendant
                      KBI are dismissed. The court shall dismiss defendant Geary County, Kansas from
                      this action unless plaintiff files a motion to amend the complaint within 30 days of
                      this order. The Clerk shall issue waiver of summons forms and prepare summons
                      consistent with Section VII of this order. Signed by District Judge Sam A. Crow on
                      09/29/17. Mailed to pro se party Albert Banks by regular mail. (smnd) (Entered:
                      09/29/2017)
    09/29/2017        SUMMONS ISSUED as to Defendants Kansas Bureau of Investigation,
                      Sprint/Nextel Wireless Telephone Company and Virgin Mobile USA/Sprint PCS.
                      (This is a TEXT ENTRY ONLY. There is no.pdf document associated with this
                      entry.) (smnd) (Entered: 09/29/2017)
    09/29/2017        WAIVERS OF SERVICE OF SUMMONS ISSUED as to Defendants Timothy
                      Brown, Ron Miller, Steven L. Opat, Brad Schoen and Glen F. Virden. (This is a
                      TEXT ENTRY ONLY. There is no.pdf document associated with this entry.) (smnd)
                      (Entered: 09/29/2017)
    10/02/2017        MINUTE ORDER terminating referral to magistrate judge. Magistrate Judge David
                      J. Waxse no longer assigned to case. Signed by District Judge Sam A. Crow on
                      10/2/17. (This is a TEXT ENTRY ONLY. There is no.pdf document associated with
                      this entry.)(lak) (Entered: 10/02/2017)
    10/05/2017   12   WAIVER OF SERVICE Returned Executed by Steven L. Opat. Steven L. Opat
                      waiver sent on 9/29/2017, answer due 11/28/2017. (Crouse, Toby) (Entered:
                      10/05/2017)
    10/05/2017   13   ENTRY OF APPEARANCE by Toby Crouse on behalf of Steven L. Opat. (Crouse,
                      Toby) (Entered: 10/05/2017)
    10/05/2017   14


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                      WAIVER OF SERVICE Returned Executed − Prisoner Case by Timothy Brown.
                      Timothy Brown waiver sent on 9/29/2017, answer due 11/28/2017. (Seck, Michael)
                      (Entered: 10/05/2017)
    10/10/2017   17   SUMMONS RETURNED EXECUTED by certified mail upon Defendant
                      Sprint/Nextel Wireless Telephone Company, c/o Corporation Service Company,
                      Resident Agent; served on 10/6/2017, answer due 10/27/2017 (smnd) (Entered:
                      10/13/2017)
    10/10/2017   18   SUMMONS RETURNED EXECUTED by certified mail upon Defendant Virgin
                      Mobile USA/Sprint PCS, c/o Corporation Service Company, Resident Agent; served
                      on 10/6/2017, answer due 10/27/2017 (smnd) (Entered: 10/13/2017)
    10/12/2017   15   MOTION to Dismiss Party Timothy Brown by Defendant Timothy Brown (Seck,
                      Michael) (Entered: 10/12/2017)
    10/12/2017   16   MEMORANDUM IN SUPPORT of 15 MOTION to Dismiss Party Timothy Brown
                      by Defendant Timothy Brown(Seck, Michael) (Entered: 10/12/2017)
    10/12/2017   19   SUMMONS RETURNED EXECUTED by certified mail upon Defendant Kansas
                      Bureau of Investigation, c/o Kansas Attorney General; served on 10/6/2017, answer
                      due 10/27/2017 (smnd) (Entered: 10/13/2017)
    10/23/2017   20   NOTICE of Change of Address by Plaintiff Albert Dewayne Banks, #23203−031:
                      now at Leavenworth Detention Center, 100 Highway Terrace, Leavenworth, Kansas
                      66048 (Attachments: # 1 Envelope) (smnd) (Entered: 10/23/2017)
    10/23/2017        DOCKET ANNOTATION: Pursuant to Plaintiff Albert Banks' request, a copy of the
                      Order 11 filed 09/29/17 and a current docket sheet were mailed to him at
                      Leavenworth Detention Center, 100 Highway Terrace, Leavenworth, Kansas 66048
                      (smnd) (Entered: 10/23/2017)
    10/27/2017   21   ENTRY OF APPEARANCE by Carrie A. Barney on behalf of Kansas Bureau of
                      Investigation. (Barney, Carrie) (Entered: 10/27/2017)
    10/27/2017   22   CLERKS ORDER EXTENDING TIME until November 10, 2017, for Defendant
                      Kansas Bureau of Investigation to answer or otherwise plead. Signed by Deputy
                      Clerk on 10/27/17. Mailed to pro se party Albert Dewayne Banks by regular mail.
                      (smnd) (Entered: 10/27/2017)
    11/08/2017   23   ENTRY OF APPEARANCE by Michael L. Walden on behalf of Sprint/Nextel
                      Wireless Telephone Company, Virgin Mobile USA/Sprint PCS (Walden, Michael)
                      (Entered: 11/08/2017)
    11/08/2017   24   MOTION for Extension of Time to File Answer re 1 Complaint by Defendants
                      Sprint/Nextel Wireless Telephone Company, Virgin Mobile USA/Sprint PCS
                      (Walden, Michael) (Entered: 11/08/2017)
    11/09/2017   25   ORDER ENTERED: The motion for extension of time 24 of defendants
                      Sprint/Nextel Wireless Telephone Company and Virgin Mobile USA/Sprint PCS is
                      granted. The deadline for responding to plaintiff's complaint is extended to
                      November 28, 2017. Signed by U.S. Senior District Judge Sam A. Crow on 11/09/17.
                      Mailed to pro se party Albert Banks by regular mail. (smnd) (Entered: 11/09/2017)
    11/09/2017   26   MOTION for Extension of Time to File Response as to 15 MOTION to Dismiss
                      Party Timothy Brown by Plaintiff Albert Dewayne Banks (Attachments: # 1


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                      Envelope) (smnd) (Entered: 11/09/2017)
    11/10/2017   27   RESPONSE by Defendant Timothy Brown re 26 MOTION for Extension of Time to
                      File Response as to 15 MOTION to Dismiss Party Timothy Brown (Seck, Michael)
                      (Entered: 11/10/2017)
    11/13/2017   28   MOTION for Extension of Time to File Answer by Defendant Kansas Bureau of
                      Investigation (Barney, Carrie) (Entered: 11/13/2017)
    11/15/2017   29   ORDER granting 26 Motion for Extension of Time to File Response re 26 MOTION
                      for Extension of Time to File Response as to 15 MOTION to Dismiss Party Timothy
                      Brown ( Response deadline 11/30/2017); granting 28 Motion for Extension of Time
                      to Answer Kansas Bureau of Investigation answer due 11/20/2017. Signed by District
                      Judge Sam A. Crow on 11/15/17.Mailed to pro se party Albert Banks by regular mail
                      (daw) (Entered: 11/15/2017)
    11/15/2017   30   ORDER re 11 Geary County, Kansas terminated. Plaintiff did not respond to
                      directive to file an amended complaint Signed by District Judge Sam A. Crow on
                      11/15/17.Mailed to pro se party Albert Banks by regular mail (daw) (Entered:
                      11/15/2017)
    11/20/2017   31   MOTION to Proceed to Trial Against Timothy Brown by Plaintiff Albert Dewayne
                      Banks (Attachments: # 1 Envelope) (smnd) (Entered: 11/20/2017)
    11/20/2017   32   MEMORANDUM IN SUPPORT of 31 MOTION to Proceed to Trial Against
                      Timothy Brown by Plaintiff Albert Dewayne Banks (Attachments: # 1 Envelope)
                      (smnd) (Entered: 11/20/2017)
    11/20/2017   33   MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM by Defendant
                      Kansas Bureau of Investigation (Barney, Carrie) (Entered: 11/20/2017)
    11/20/2017   34   MEMORANDUM IN SUPPORT of 33 MOTION TO DISMISS FOR FAILURE TO
                      STATE A CLAIM by Defendant Kansas Bureau of Investigation(Barney, Carrie)
                      (Entered: 11/20/2017)
    11/21/2017   35   MOTION to Dismiss by Defendant Steven L. Opat. (Crouse, Toby) (Entered:
                      11/21/2017)
    11/21/2017   36   MEMORANDUM IN SUPPORT of 35 MOTION to Dismiss by Defendant Steven L.
                      Opat(Crouse, Toby) (Entered: 11/21/2017)
    11/21/2017   37   MOTION for extension of time to File Reply by Defendant Timothy Brown (Seck,
                      Michael) Modified motion event on 11/22/2017 (msb). (Entered: 11/21/2017)
    11/22/2017   38   MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM by Defendants
                      Sprint/Nextel Wireless Telephone Company, Virgin Mobile USA/Sprint PCS
                      (Walden, Michael) (Entered: 11/22/2017)
    11/22/2017   39   MEMORANDUM IN SUPPORT of 38 MOTION TO DISMISS FOR FAILURE TO
                      STATE A CLAIM by Defendants Sprint/Nextel Wireless Telephone Company,
                      Virgin Mobile USA/Sprint PCS(Walden, Michael) (Entered: 11/22/2017)
    11/27/2017   40   MOTION to Appoint Counsel by Plaintiff Albert Dewayne Banks (Attachments: # 1
                      Envelope) (smnd) (Entered: 11/28/2017)
    11/28/2017   41   ORDER ENTERED: Defendant Brown's motion 37 for an extension of time until
                      December 8, 2017, to file a reply brief in support of his motion to dismiss is granted.


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                      Signed by U.S. Senior District Judge Sam A. Crow on 11/28/17. Mailed to pro se
                      party Albert Banks by regular mail. (smnd) (Entered: 11/28/2017)
    12/04/2017   42   MOTION for Extension of Time to File Response as to 33 Motion to Dismiss for
                      Failure to State a Claim by Defendant Kansas Bureau of Investigation and 35 Motion
                      to Dismiss by Defendant Steven L. Opat by Plaintiff Albert Dewayne Banks
                      (Attachments: # 1 Envelope) (smnd) (Entered: 12/04/2017)
    12/05/2017   43   ORDER ENTERED: Plaintiff's motion 42 for extension of time is granted. Plaintiff
                      shall be granted time until December 29, 2017 to file a response to defendant Opat's
                      motion to dismiss and defendant KBI's motion to dismiss. Signed by U.S. Senior
                      District Judge Sam A. Crow on 12/05/17. Mailed to pro se party Albert Dewayne
                      Banks by regular mail. (smnd) (Entered: 12/05/2017)
    12/07/2017   44   REPLY TO RESPONSE TO MOTION by Defendant Timothy Brown re: 15
                      MOTION to Dismiss Party Timothy Brown (Attachments: # 1 Exhibit 1)(Seck,
                      Michael) (Entered: 12/07/2017)
    12/13/2017   45   ORDER ENTERED: Plaintiff's request for appointment of counsel is denied without
                      prejudice. Signed by U.S. District Senior Judge Sam A. Crow on 12/13/17. Mailed to
                      pro se party Albert Banks by regular mail. (smnd) (Entered: 12/13/2017)
    12/29/2017   46   MOTION for Leave to Amend 1 Complaint by Plaintiff Albert Dewayne Banks
                      (Attachments: # 1 Amended Complaint; # 2 Envelope) (smnd) (Entered: 01/02/2018)
    12/29/2017   47   MOTION to Amend 1 Complaint by Plaintiff Albert Dewayne Banks (Attachments:
                      # 1 Envelope) (smnd) (Entered: 01/02/2018)
    12/29/2017   48   MEMORANDUM IN SUPPORT of 47 MOTION to Amend 1 Complaint by Plaintiff
                      Albert Dewayne Banks (Attachments: # 1 Envelope)(smnd) (Entered: 01/02/2018)
    12/29/2017   49   STRICKEN PURSUANT TO ORDER 56 FILED 01/09/18 −− RESPONSE by
                      Plaintiff Albert Dewayne Banks re 38 MOTION TO DISMISS FOR FAILURE TO
                      STATE A CLAIM by Defendants Sprint/Nextel Wireless Telephone Company and
                      Virgin Mobile USA/Sprint PCS, 35 MOTION to Dismiss by Defendant Steven L.
                      Opat, 15 MOTION to Dismiss Party Timothy Brown by Defendant Timothy Brown,
                      and 33 MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM by
                      Defendant Kansas Bureau of Investigation (Attachments: # 1 Envelope) (smnd)
                      Modified text on 1/9/2018 (smnd) (Entered: 01/02/2018)
    12/29/2017   50   MEMORANDUM OF LAW IN SUPPORT of 49 Response to Defendants' Motions
                      to Dismiss by Plaintiff Albert Dewayne Banks (Attachments: # 1 Envelope) (smnd)
                      (Entered: 01/02/2018)
    01/03/2018   51   ORDER ENTERED: Plaintiff is granted 14 days to clarify which document − Doc.
                      No. 46−1 or Doc. No. 47 − is his proposed amended complaint. Defendants' time to
                      respond to plaintiff's motion or request for leave to amend the complaint shall not
                      begin to run until January 17, 2018. Signed by U.S. District Senior Judge Sam A.
                      Crow on 01/03/18. Mailed to pro se party Albert Dewayne Banks by regular mail.
                      (smnd) (Entered: 01/03/2018)
    01/04/2018   52   MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM by Defendant Brad
                      Schoen (Cooper, David) (Entered: 01/04/2018)
    01/04/2018   53   MEMORANDUM IN SUPPORT of 52 MOTION TO DISMISS FOR FAILURE TO
                      STATE A CLAIM by Defendant Brad Schoen(Cooper, David) (Entered: 01/04/2018)


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    01/05/2018   54   MOTION to Strike 50 Supplement, 48 Memorandum in Support of Motion by
                      Defendant Timothy Brown (Seck, Michael) (Entered: 01/05/2018)
    01/08/2018   55   MOTION for Extension of Time to File Response as to 46 MOTION for Leave to
                      Amend 1 Complaint, 47 MOTION to Amend 1 Complaint, 50 Supplement, 48
                      Memorandum in Support of Motion, 49 Response to Motion, by Defendant Steven L.
                      Opat (Crouse, Toby) (Entered: 01/08/2018)
    01/09/2018   56   ORDER ENTERED: The court directs that Doc. No. 49 be stricken as duplicative of
                      Doc. No. 47 . Doc. No. 47 shall, depending upon plaintiff's response to Doc. 51 ,
                      either be considered as plaintiff's proposed amended complaint or stricken as an
                      improper and immaterial pleading. The court shall treat Doc. No. 48 as a
                      memorandum in support of the motion to amend − Doc. No. 46 . The court shall treat
                      Doc. No. 50 as a response to defendants' motions to dismiss. The court shall treat the
                      motion for extension of time 55 as seeking time to respond to Doc. Nos. 48 , 49 and
                      50 and, upon review, grant defendant Opat time until January 31, 2018, to respond to
                      Doc. Nos. 48 and 50 . Signed by U.S. District Senior Judge Sam A. Crow on
                      01/09/18. Mailed to pro se party Albert Dewayne Banks by regular mail. (smnd)
                      (Entered: 01/09/2018)
    01/11/2018   57   ENTRY OF APPEARANCE by William Dennis Cross, Jr on behalf of Timothy
                      Brown. (Cross, William) (Entered: 01/11/2018)
    01/11/2018   58   MOTION for Extension of Time to File Response as to 50 Supplement, 48
                      Memorandum in Support of Motion by Defendant Timothy Brown (Seck, Michael)
                      (Entered: 01/11/2018)
    01/12/2018   59   ORDER ENTERED: Consistent with the court's order at Doc. No. 51 , defendant
                      Brown is permitted time until January 31, 2018 to respond to plaintiff's motion to
                      amend. Defendant Brown is also granted time until January 31, 2018, to file a reply
                      or response to plaintiff's Doc. No. 50 . Signed by U.S. District Senior Judge Sam A.
                      Crow on 01/12/18. Mailed to pro se party Albert Dewayne Banks by regular mail.
                      (smnd) (Entered: 01/12/2018)
    01/16/2018   60   NOTICE by Plaintiff Albert Dewayne Banks re 38 Motion to Dismiss for Failure to
                      State a Claim and 39 Memorandum in Support of Motion. (Copies of Documents No.
                      38 & 39 mailed to plaintiff Banks.) (Attachments: # 1 Envelope) (smnd) (Entered:
                      01/16/2018)
    01/16/2018   61   RESPONSE by Plaintiff Albert Dewayne Banks re 51 Order (Attachments: # 1
                      Envelope) (smnd) (Entered: 01/16/2018)
    01/17/2018   62   ORDER ENTERED: When defendants respond to plaintiff's motion to amend, the
                      court requests that defendants treat Doc. Nos. 47 and 46−1 as plaintiff's proposed
                      amended complaint. Signed by U.S. District Senior Judge Sam A. Crow on 01/17/18.
                      Mailed to pro se party Albert Dewayne Banks by regular mail. (smnd) (Entered:
                      01/17/2018)
    01/22/2018   63   MOTION for Extension of Time to File Response as to Defendant Brad Schoen's 52
                      MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM by Plaintiff Albert
                      Dewayne Banks (Attachments: # 1 Envelope) (smnd) (Entered: 01/22/2018)
    01/23/2018   64   ORDER ENTERED: The motion to strike 54 shall be granted in part and denied in
                      part consistent with this order. Doc. No. 48 shall not be stricken because the court
                      considers it as a memorandum in support of a motion to amend. Doc. No. 50 shall not


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                      be stricken, but the court shall disregard Doc. No. 50 when considering defendant
                      Brown's motion to dismiss. Signed by U.S. District Senior Judge Sam A. Crow on
                      01/23/18. Mailed to pro se party Albert Dewayne Banks by regular mail. (smnd)
                      (Entered: 01/23/2018)
    01/24/2018   65   RESPONSE to 50 Supplement, 48 Memorandum in Support of Motion to Amend
                      Complaint by Defendant Steven L. Opat. (Crouse, Toby) (Entered: 01/24/2018)
    01/24/2018   66   REPLY TO RESPONSE TO MOTION by Defendant Steven L. Opat re: 35
                      MOTION to Dismiss (Crouse, Toby) (Entered: 01/24/2018)
    01/26/2018   67   ORDER ENTERED: Plaintiff's motion 63 for a 14−day extension of time to respond
                      to defendant Schoen's motion to dismiss is granted. Plaintiff's response shall be due
                      on February 8, 2018. Signed by U.S. District Senior Judge Sam A. Crow on 01/26/18.
                      Mailed to pro se party Albert Dewayne Banks by regular mail. (smnd) (Entered:
                      01/26/2018)
    01/30/2018   68   NOTICE OF CHANGE OF FIRM NAME OR ADDRESS by Toby Crouse (Crouse,
                      Toby) (Entered: 01/30/2018)
    01/30/2018   69   RESPONSE by Defendant Brad Schoen re 46 MOTION for Leave to Amend 1
                      Complaint (Cooper, David) (Entered: 01/30/2018)
    01/31/2018   70   RESPONSE by Defendant Timothy Brown re 46 MOTION for Leave to Amend 1
                      Complaint (Seck, Michael) (Entered: 01/31/2018)
    02/02/2018   71   ENTRY OF APPEARANCE by Wendell F. Cowan, Jr on behalf of Steven L. Opat.
                      (Cowan, Wendell) (Entered: 02/02/2018)
    02/08/2018   72   MOTION to Add Brad Schoen to Amended Complaint by Plaintiff Albert Dewayne
                      Banks (smnd) (Entered: 02/12/2018)
    02/20/2018   73   ORDER ENTERED: Plaintiff's motion to amend and motion for leave to amend 46 &
                      47 are granted. The amended complaint is Doc. No. 47 . The currently pending
                      motions to dismiss 15 , 33 , 35 , 38 & 52 and the motion to proceed to trial 31 shall
                      be considered moot. Upon screening the amended complaint, the court directs: that
                      defendant Platt be dismissed; that the official capacity claims against defendants
                      Platt, Opat and Brown be dismissed; that the § 1983 claim against defendant Virden
                      in his official capacity be dismissed; and that defendants Brad Schoen, Ron Miller,
                      Geary County, Kansas, Kansas Bureau of Investigation, Junction City Police
                      Department, Riley County Police Department and Topeka Police Department be
                      dismissed without prejudice. The court further denies plaintiff's motion 72 to add
                      Brad Schoen to the amended complaint. Signed by U.S. District Senior Judge Sam A.
                      Crow on 02/20/18. Mailed to pro se party Albert Dewayne Banks by regular mail.
                      (smnd) (Entered: 02/20/2018)
    02/20/2018   74   AMENDED COMPLAINT filed by Plaintiff Albert Dewayne Banks (smnd)
                      (Attachment added on 2/21/2018: # 1 Main Document) (mls) (Entered: 02/20/2018)
    02/20/2018   75   REPLY TO RESPONSE TO MOTION by Plaintiff Albert Dewayne Banks re: 47
                      MOTION to Amend Complaint (Attachments: # 1 Envelope) (smnd) (Entered:
                      02/20/2018)
    02/26/2018   76   ORDER ENTERED: The screening process under 28 U.S.C. § 1915A having been
                      completed, this matter is returned to the Clerk of the Court for random reassignment
                      for all further proceedings pursuant to D. Kan. R. 40.1. Signed by U.S. District


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                      Senior Judge Sam A. Crow on 02/26/18. Mailed to pro se party Albert Dewayne
                      Banks by regular mail. (smnd) (Entered: 02/26/2018)
    02/26/2018        (Court only) REASSIGNMENT REQUEST: Request for reassignment from
                      District Judge Sam A. Crow. Reason for reassignment request: Prisoner Case.
                      (smnd) (Entered: 02/26/2018)
    02/26/2018   77   MINUTE ORDER REASSIGNING CASE: Case reassigned to Chief District Judge
                      Julie A. Robinson and Magistrate Judge K. Gary Sebelius for all further proceedings.
                      Senior District Judge Sam A. Crow no longer assigned to case. Entered by Deputy
                      Clerk on 02/26/18. Mailed to pro se party Albert Dewayne Banks by regular mail.
                      (This is a TEXT ENTRY ONLY. There is no.pdf document associated with this
                      entry.) (smnd) (Entered: 02/26/2018)
    02/28/2018   78   ORDER Regarding Service. The court directs the clerk's office to issue a summons
                      for Defendant Glen F. Virden. Service of the summons and most recent complaint
                      shall be attempted by the United States marshal or a deputy marshal, both of whom
                      are appointed for such purpose pursuant to Fed. R. Civ. P. 4(c)(3). The court directs
                      service at the address provided by a plaintiff in a related case, Thompson v. Platt,
                      15−3117−JAR, ECF No. 67. Signed by Magistrate Judge K. Gary Sebelius on
                      2/28/18. A copy of this text entry was mailed to plaintiff at the address listed on the
                      docket. (This is a TEXT ENTRY ONLY. There is no.pdf document associated with
                      this entry.)(bh) (Entered: 02/28/2018)
    03/01/2018        SUMMONS ISSUED as to Defendant Glen F. Virden (issued to US Marshal for
                      service). (This is a TEXT ENTRY ONLY. There is no.pdf document associated with
                      this entry.) (smnd) (Entered: 03/01/2018)
    03/05/2018   79   MOTION to Dismiss Plaintiff's Amended Petition by Defendant Timothy Brown
                      (Cross, William) (Entered: 03/05/2018)
    03/05/2018   80   MEMORANDUM IN SUPPORT of 79 MOTION to Dismiss Plaintiff's Amended
                      Petition by Defendant Timothy Brown(Cross, William) (Entered: 03/05/2018)
    03/05/2018   81   MOTION for Extension of Time to File Answer re 74 Amended Complaint by
                      Defendant Steven L. Opat (referred to Magistrate Judge K. Gary Sebelius) (Crouse,
                      Toby) (Entered: 03/05/2018)
    03/06/2018   82   ORDER granting 81 Motion for Extension of Time to Answer. Defendant Steven L.
                      Opat shall answer or otherwise respond to plaintiff's amended complaint by March
                      20, 2018. Signed by Magistrate Judge K. Gary Sebelius on 3/6/18. A copy of this text
                      entry was mailed to plaintiff at the address listed on the docket. (bh) (Entered:
                      03/06/2018)
    03/06/2018   83   MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM by Defendants
                      Sprint/Nextel Wireless Telephone Company, Virgin Mobile USA/Sprint PCS
                      (Walden, Michael) (Entered: 03/06/2018)
    03/06/2018   84   MEMORANDUM IN SUPPORT of 83 MOTION TO DISMISS FOR FAILURE TO
                      STATE A CLAIM by Defendants Sprint/Nextel Wireless Telephone Company,
                      Virgin Mobile USA/Sprint PCS(Walden, Michael) (Entered: 03/06/2018)
    03/16/2018   85   SUMMONS RETURNED EXECUTED by certified mail upon Defendant Glen F.
                      Virden; served on 3/13/2018, answer due 4/3/2018 (smnd) (Entered: 03/19/2018)
    03/20/2018   86


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                      MOTION to Dismiss Amended Complaint by Defendant Steven L. Opat (Crouse,
                      Toby) (Entered: 03/20/2018)
    03/20/2018   87   MEMORANDUM IN SUPPORT of 86 MOTION to Dismiss Amended Complaint by
                      Defendant Steven L. Opat(Crouse, Toby) (Entered: 03/20/2018)
    03/22/2018   88   MOTION for Extension of Time to File Response as to 79 MOTION to Dismiss
                      Plaintiff's Amended Petition by Defendant Timothy Brown and 83 MOTION TO
                      DISMISS FOR FAILURE TO STATE A CLAIM by Defendants Sprint/Nextel
                      Wireless Telephone Company and Virgin Mobile USA/Sprint PCS by Plaintiff Albert
                      Dewayne Banks (Attachments: # 1 Envelope) (smnd) (Entered: 03/23/2018)
    03/26/2018        MOTION REFERRAL to Magistrate Judge REMOVED as to: 88 MOTION for
                      Extension of Time to File Response as to 83 MOTION TO DISMISS FOR
                      FAILURE TO STATE A CLAIM , 79 MOTION to Dismiss Plaintiff's Amended
                      Petition. The motion will be resolved by the District Judge. (Entered: 03/26/2018)
    03/26/2018   89   ORDER granting 88 Motion for Extension of Time to File Response re 83 MOTION
                      TO DISMISS FOR FAILURE TO STATE A CLAIM by Defendant Sprint, and 79
                      MOTION to Dismiss Plaintiff's Amended Petition by Defendant Timothy Brown.
                      The response deadline is extended to 4/9/2018. Signed by Chief District Judge Julie
                      A Robinson on 3/26/2018. Mailed to pro se party Albert Dewayne Banks, CCA −
                      Leavenworth 100 Highway Terrace Leavenworth, KS 66048 by certified mail (This
                      is a TEXT ENTRY ONLY. There is no.pdf document associated with this entry.)
                      (ams) (Entered: 03/26/2018)
    04/03/2018   90   ENTRY OF APPEARANCE by Carrie A. Barney on behalf of Glen F. Virden
                      (Barney, Carrie) (Entered: 04/03/2018)
    04/03/2018   91   CLERKS ORDER EXTENDING TIME until April 17, 2018 for Defendant Glen F.
                      Virden to answer or otherwise plead. Signed by deputy clerk on 04/03/2018. Mailed
                      to pro se party Albert Dewayne Banks by regular mail. (tvn) (Entered: 04/04/2018)
    04/09/2018   92   RESPONSE by Plaintiff Albert Dewayne Banks re 83 MOTION TO DISMISS FOR
                      FAILURE TO STATE A CLAIM by Defendants Sprint/Nextel Wireless Telephone
                      Company, Virgin Mobile USA/Sprint PCS (Attachments: # 1 Exhibit)(smnd)
                      (Additional attachment(s) added on 4/9/2018: # 2 Envelope) (smnd). (Entered:
                      04/09/2018)
    04/09/2018   93   RESPONSE by Plaintiff Albert Dewayne Banks re 86 MOTION to Dismiss
                      Amended Complaint by Defendant Steven L. Opat (Attachments: # 1 Exhibit) (smnd)
                      (Entered: 04/09/2018)
    04/09/2018   94   RESPONSE by Plaintiff Albert Dewayne Banks re 79 MOTION to Dismiss
                      Plaintiff's Amended Petition by Defendant Timothy Brown (Attachments: # 1
                      Exhibit) (smnd) (Entered: 04/09/2018)
    04/11/2018   95   REPLY TO RESPONSE TO MOTION by Defendant Timothy Brown re: 79
                      MOTION to Dismiss Plaintiff's Amended Petition (Cross, William) (Entered:
                      04/11/2018)
    04/13/2018   96   MOTION to Appoint Counsel by Plaintiff Albert Dewayne Banks (referred to
                      Magistrate Judge K. Gary Sebelius) (Attachments: # 1 Envelope) (smnd) (Entered:
                      04/13/2018)
    04/17/2018   97


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                       ORDER denying without prejudice 96 Motion to Appoint Counsel. Signed by
                       Magistrate Judge James P. O'Hara on 4/17/18. A copy of this order was mailed to
                       plaintiff at the address listed on the docket. (bh) (Entered: 04/17/2018)
    04/18/2018    98   MOTION for Order to Certify Final Judgment and Supporting Memorandum by
                       Defendant Brad Schoen (Cooper, David) (Entered: 04/18/2018)
    04/18/2018         MOTION REFERRAL to Magistrate Judge REMOVED as to: 98 MOTION for
                       Order to Certify Final Judgment and Supporting Memorandum. The motion will
                       be resolved by the District Judge.(bh) (Entered: 04/18/2018)
    04/23/2018    99   REPLY TO RESPONSE TO MOTION by Defendant Steven L. Opat re: 86
                       MOTION to Dismiss Amended Complaint (Crouse, Toby) (Entered: 04/23/2018)
    05/01/2018   100   REQUEST by Plaintiff Albert Dewayne Banks for Copy of Defendant Glen Virden's
                       Answer to Plaintiff's Amended Complaint, Extension of Time to Respond to Answer,
                       and Current Docket Sheet (Attachments: # 1 Envelope) (a current docket sheet
                       mailed to Plaintiff Banks) (smnd) (Entered: 05/02/2018)
    05/21/2018   101   MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM by Defendant Glen
                       F. Virden (Barney, Carrie) (Entered: 05/21/2018)
    05/21/2018   102   MEMORANDUM IN SUPPORT of 101 MOTION TO DISMISS FOR FAILURE
                       TO STATE A CLAIM by Defendant Glen F. Virden(Barney, Carrie) (Entered:
                       05/21/2018)
    06/13/2018   103   RESPONSE by Plaintiff Albert Dewayne Banks re 101 MOTION TO DISMISS FOR
                       FAILURE TO STATE A CLAIM (Attachments: # 1 Envelope) (smnd) (Entered:
                       06/13/2018)
    06/13/2018   104   MOTION to Strike Defendants Unauthorized Surreply by Plaintiff Albert Dewayne
                       Banks (Attachments: # 1 Envelope) (smnd) (Entered: 06/13/2018)
    06/21/2018         MOTION REFERRAL to Magistrate Judge REMOVED as to: 104 MOTION to
                       Strike. The motion will be resolved by the District Judge.(bh) (Entered:
                       06/21/2018)
    06/25/2018   105   RESPONSE by Defendant Timothy Brown re 104 MOTION to Strike (Cross,
                       William) (Entered: 06/25/2018)
    07/17/2018   106   MOTION for Sanctions by Defendant Timothy Brown (Attachments: # 1
                       Attachment)(Cross, William) (Entered: 07/17/2018)
    07/18/2018         MOTION REFERRAL to Magistrate Judge REMOVED as to: 106 MOTION
                       for Sanctions . The motion will be resolved by the District Judge.(bh) (Entered:
                       07/18/2018)
    08/21/2018   107   MINUTE ORDER REASSIGNING CASE: Case reassigned to District Judge Holly
                       L. Teeter for all further proceedings. Chief District Judge Julie A Robinson no longer
                       assigned to case. Signed by deputy clerk on 8/21/18. (This is a TEXT ENTRY
                       ONLY. There is no.pdf document associated with this entry.)(cs) (Entered:
                       08/21/2018)
    11/16/2018   108   ORDER ENTERED: Plaintiff's Motion to Strike Defendants' Unauthorized Surreply
                       104 is denied. The Court considers the arguments raised by Brown and Opat in their
                       replies 95 & 99 in determining their pending motions to dismiss the amended
                       complaint. Brown's Motion for Sanctions Pursuant to Federal Rule of Civil Procedure

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                       11 106 is denied. Schoen's Motion to Certify Final Judgment 98 is denied as moot.
                       Signed by District Judge Holly L. Teeter on 11/16/18. Mailed to pro se party Albert
                       Dewayne Banks by regular mail. (smnd) (Entered: 11/16/2018)
    11/16/2018   109   MEMORANDUM AND ORDER ENTERED: Defendants' motions to dismiss the
                       amended complaint 79 , 83 , 86 and 101 are granted. Signed by District Judge Holly
                       L. Teeter on 11/16/18. Mailed to pro se party Albert Dewayne Banks by regular mail.
                       (smnd) (Entered: 11/16/2018)
    11/16/2018   110   JUDGMENT regarding Memorandum and Order 109 granting defendants' motions to
                       dismiss the amended complaint. ***Terminating Case. Signed by Deputy Clerk on
                       11/16/18. Mailed to pro se party Albert Dewayne Banks by regular mail. (smnd)
                       (Entered: 11/16/2018)
    12/13/2018   111   MOTION to Alter or Amend Judgment by Plaintiff Albert Dewayne Banks
                       (Attachments: # 1 Envelope) (smnd) (Entered: 12/13/2018)
    12/18/2018   112   NOTICE OF WITHDRAWAL OF APPEARANCE by attorney Bill D. Cross as to
                       Timothy Brown (Cross, William) (Entered: 12/18/2018)
    12/26/2018   113   RESPONSE by Defendant Timothy Brown re 111 MOTION to Alter or Amend
                       Judgment (Seck, Michael) (Entered: 12/26/2018)
    12/27/2018   114   MOTION for Extension of Time to File Response as to 111 MOTION to Alter or
                       Amend Judgment by Defendant Steven L. Opat (referred to Magistrate Judge K. Gary
                       Sebelius) (Crouse, Toby) (Entered: 12/27/2018)
    12/27/2018   115   ORDER granting Defendant Steven Opat's 114 Motion for Extension of Time to File
                       Response re 111 MOTION to Alter or Amend Judgment. Response deadline is
                       1/10/2019. Signed by District Judge Holly L. Teeter on 12/27/2018. (This is a TEXT
                       ENTRY ONLY. There is no.pdf document associated with this entry.) (md) (Entered:
                       12/27/2018)
    12/27/2018   116   MOTION for Extension of Time to File Response as to 111 MOTION to Alter or
                       Amend Judgment by Defendants Sprint/Nextel Wireless Telephone Company, Virgin
                       Mobile USA/Sprint PCS (Walden, Michael) (Entered: 12/27/2018)
    12/27/2018         MOTION REFERRAL to Magistrate Judge REMOVED as to: 116 MOTION
                       for Extension of Time to File Response as to 111 MOTION to Alter or Amend
                       Judgment . The motion will be resolved by the District Judge.(ct) (Entered:
                       12/27/2018)
    12/27/2018   117   ORDER granting Defendants' Sprint/Nextel Wireless Telephone Company and
                       Virgin Mobile USA/Sprint PCS's 116 Motion for Extension of Time to File Response
                       re 111 MOTION to Alter or Amend Judgment. Response deadline is 1/10/2019.
                       Signed by District Judge Holly L. Teeter on 12/27/2018. (This is a TEXT ENTRY
                       ONLY. There is no.pdf document associated with this entry.) (md) (Entered:
                       12/27/2018)
    12/27/2018   118   RESPONSE by Defendant Brad Schoen re 111 MOTION to Alter or Amend
                       Judgment (Cooper, David) (Entered: 12/27/2018)
    12/27/2018   119   ENTRY OF APPEARANCE by Lauren E. Laushman on behalf of Brad Schoen
                       (Laushman, Lauren) (Entered: 12/27/2018)
    01/09/2019   120


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                       RESPONSE by Defendant Steven L. Opat re 111 MOTION to Alter or Amend
                       Judgment (Crouse, Toby) (Entered: 01/09/2019)
    01/10/2019   121   RESPONSE by Defendants Sprint/Nextel Wireless Telephone Company, Virgin
                       Mobile USA/Sprint PCS re 111 MOTION to Alter or Amend Judgment (Walden,
                       Michael) (Entered: 01/10/2019)
    01/15/2019   122   REPLY TO RESPONSE TO MOTION by Plaintiff Albert Dewayne Banks re: 111
                       MOTION to Alter or Amend Judgment (Attachments: # 1 Envelope) (smnd)
                       (Entered: 01/16/2019)
    01/18/2019   123   FINAL REPLY TO RESPONSE TO MOTION by Plaintiff Albert Dewayne Banks
                       re: 111 MOTION to Alter or Amend Judgment. (mls) (Entered: 01/18/2019)
    01/24/2019   124   MOTION for Default Judgment by Plaintiff Albert Dewayne Banks (Attachments: #
                       1 Envelope) (smnd) (Entered: 01/24/2019)
    01/24/2019   125   FINAL REPLY TO RESPONSE TO MOTION by Plaintiff Albert Dewayne Banks
                       re: 111 MOTION to Alter or Amend Judgment (Attachments: # 1 Envelope) (smnd)
                       (Entered: 01/24/2019)
    01/24/2019   126   RESPONSE by Defendant Glen F. Virden re 111 MOTION to Alter or Amend
                       Judgment (Barney, Carrie) (Entered: 01/24/2019)
    01/24/2019   127   RESPONSE by Defendant Glen F. Virden re 124 MOTION for Default Judgment
                       (Barney, Carrie) (Entered: 01/24/2019)
    01/28/2019         MOTION REFERRAL to Magistrate Judge REMOVED as to: 124 MOTION
                       for Default Judgment. The motion will be resolved by the District Judge.(bh)
                       (Entered: 01/28/2019)
    02/04/2019   128   REPLY (Final) TO RESPONSE TO MOTION by Plaintiff Albert Dewayne Banks
                       re: 124 MOTION for Default Judgment. (mls) (Entered: 02/04/2019)
    02/04/2019   129   REPLY (Final Response) TO RESPONSE TO MOTION by Plaintiff Albert
                       Dewayne Banks re: 111 MOTION to Alter or Amend Judgment. (mls) (Entered:
                       02/04/2019)
    03/20/2019   130   MEMORANDUM AND ORDER ENTERED: Plaintiff's motion to alter or amend
                       the Court's judgment of dismissal 111 is denied. Plaintiff's motion for default
                       judgment against Defendant Glen Virden 124 is denied. Signed by District Judge
                       Holly L. Teeter on 03/20/19. Mailed to pro se party Albert DeWayne Banks by
                       regular mail. (smnd) (Entered: 03/20/2019)
    04/12/2019   131   NOTICE OF APPEAL as to 97 Order, 109 Memorandum and Order, 110 Judgment
                       and 130 Memorandum and Order by Plaintiff Albert Dewayne Banks (smnd)
                       (Entered: 04/12/2019)
    04/12/2019         APPEAL FEE STATUS: filing fee not paid re: Notice of Appeal − Final Judgment
                       131 on behalf of Plaintiff Albert Dewayne Banks. (THIS IS A TEXT ONLY
                       ENTRY−NO DOCUMENT IS ASSOCIATED WITH THIS TRANSACTION.)
                       (smnd) (Entered: 04/12/2019)
    04/12/2019   132   PRELIMINARY RECORD ON APPEAL transmitted to 10CCA re 131 Notice of
                       Appeal − Final Judgment (Attachments: # 1 Preliminary Packet) (smnd) (Entered:
                       04/12/2019)


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    04/12/2019   133   APPEAL DOCKETED in 10CCA on April 12, 2019, and assigned Appeal No.
                       19−3073 re 131 Notice of Appeal − Final Judgment filed by Albert Dewayne Banks
                       (smnd) (Entered: 04/15/2019)
    04/26/2019   134   MOTION for Leave to Appeal in forma pauperis by Plaintiff Albert Dewayne Banks
                       (Attachments: # 1 Inmate Account Summary; # 2 Envelope) (smnd) (Additional
                       attachment(s) added on 4/29/2019: # 3 Correct .pdf document attached) (smnd).
                       (Entered: 04/26/2019)
    04/30/2019   135   NOTICE OF WITHDRAWAL OF APPEARANCE by attorney Michael L. Walden
                       as to Sprint/Nextel Wireless Telephone Company, Virgin Mobile USA/Sprint PCS
                       (Walden, Michael) (Entered: 04/30/2019)
    05/01/2019   136   ORDER ENTERED: The Court grants plaintiff's motion 134 and assesses an initial
                       partial filing fee of $36.50. Plaintiff shall pay the balance of the filing fee in
                       installments as calculated pursuant to 28 U.S.C. § 1915(b)(2). Signed by District
                       Judge Holly L. Teeter on 05/01/19. Mailed to pro se party Alert Dewayne Banks by
                       regular mail. (smnd) (Entered: 05/01/2019)
    05/09/2019   137   RECORD ON APPEAL retrieved by 10CCA consisting of three (3) volumes (Appeal
                       No. 19−3073). (This is a TEXT ENTRY ONLY. There is no.pdf document associated
                       with this entry.) (smnd) (Entered: 05/09/2019)
    05/28/2020   138   ENTRY OF APPEARANCE by Arthur S. Chalmers on behalf of Glen F. Virden.
                       (Chalmers, Arthur) (Entered: 05/28/2020)
    05/28/2020   139   NOTICE OF WITHDRAWAL OF APPEARANCE by attorney Carrie A. Barney as
                       to Glen F. Virden (Barney, Carrie) (Entered: 05/28/2020)
    06/01/2020   140   ENTRY OF APPEARANCE by Jay E. Heidrick on behalf of Sprint/Nextel Wireless
                       Telephone Company (Heidrick, Jay) (Entered: 06/01/2020)
    06/03/2020   141   APPEAL MANDATE from 10CCA: Affirm the district court's judgment in part, but
                       we reverse and remand for further proceedings on Mr. Banks's statutory wiretap
                       claims about the law enforcement defendants' interception and disclosure of
                       extra−territorial communications and Sprint's interception and disclosure of text
                       messages. (Appeal No. 19−3073) (Attachments: # 1 Transmittal Letter) (smnd)
                       (Entered: 06/03/2020)
    06/03/2020   146   Letter to the Court from Arthur S. Chalmers, Counsel for Defendant Glen F. Virden.
                       (smnd) (Entered: 06/12/2020)
    06/04/2020   142   MINUTE ORDER REASSIGNING CASE: Case reassigned to Magistrate Judge
                       Gwynne E. Birzer; Magistrate Judge K. Gary Sebelius no longer assigned to case.
                       Signed by deputy clerk on 6/4/20. (This is a TEXT ENTRY ONLY. There is no.pdf
                       document associated with this entry.)(kao) (Entered: 06/04/2020)
    06/08/2020   143   ENTRY OF APPEARANCE by Plaintiff Albert Dewayne Banks. (Attachments: # 1
                       Envelope) (smnd) (Entered: 06/08/2020)
    06/08/2020   144   NOTICE of Hearing: THIS IS AN OFFICIAL NOTICE FOR THIS HEARING.
                       Status Conference set for 6/16/2020 at 08:30 AM by Zoom Video Conference before
                       Magistrate Judge Gwynne E. Birzer. Mailed to pro se party Albert Dewayne Banks
                       by regular mail and by email to leavenworthlegalcorrespondence@corecivic.com.
                       (adc) (Entered: 06/08/2020)



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    06/11/2020   145   Defendant Glen Virden's ANSWER to 74 Amended Complaint by Glen F.
                       Virden.(Chalmers, Arthur) (Entered: 06/11/2020)
    06/11/2020   147   Letter to the Clerk from Plaintiff Albert Dewayne Banks in Response to 146 Letter to
                       the Court from Arthur S. Chalmers, Counsel for Defendant Glen F. Virden.
                       (Attachments: # 1 Envelope) (smnd) (Entered: 06/12/2020)
    06/11/2020   148   REQUEST for Jury Trial/Scheduling by Plaintiff Albert Dewayne Banks.
                       (Attachments: # 1 Envelope) (smnd) (Entered: 06/12/2020)
    06/12/2020   149   ENTRY OF APPEARANCE by Eric Turner on behalf of Steven L. Opat. (Turner,
                       Eric) (Entered: 06/12/2020)
    06/15/2020   150   MOTION to Appoint Counsel by Plaintiff Albert Dewayne Banks (referred to
                       Magistrate Judge Gwynne E. Birzer) (Attachments: # 1 Envelope) (smnd) (Entered:
                       06/15/2020)
    06/16/2020   151   MINUTE ENTRY for proceedings held before Magistrate Judge Gwynne E. Birzer:
                       STATUS CONFERENCE held on 6/16/2020. (This is a TEXT ENTRY ONLY.
                       There is no.pdf document associated with this entry.) (adc) (Entered: 06/16/2020)
    06/16/2020   152   ORDER. On 6/16/20 the Court held a video status conference. Plaintiff Albert
                       Dewayne Banks appeared on his own behalf. Defendant Steven Opat appeared
                       through counsel, Eric Turner. Defendant Glen Virden appeared through counsel,
                       Arthur Chalmers. Defendant Sprint/Nextel Wireless Telephone Company appeared
                       through counsel, Jay Heidrick. Defendant Timothy Brown appeared through counsel,
                       Michael Seck. After discussion with Plaintiff and defense counsel, the Court enters
                       the following orders: All Defendants must answer or otherwise respond to the
                       operative Complaint no later than 6/30/2020. Although D. Kan. Rule 16.1 exempts
                       prisoner actions from Fed. R. Civ. P. 26(a)(1) disclosures, in the interest of narrowing
                       discovery, the Court orders disclosures to be exchanged in this case. All parties must
                       exchange their Rule 26(a)(1) disclosures no later than 7/9/20. Such disclosures must
                       not be filed with the Clerk, but should be sent to Plaintiff and all counsel, with copies
                       to the chambers of the undersigned. Plaintiff's motion for appointment of counsel
                       (ECF No. 150) is taken under advisement. To permit the Court an opportunity to
                       review the Rule 26 disclosures and consider the appointment of counsel, a follow−up
                       status conference is scheduled for 7/28/2020 at 09:00 AM by Zoom videoconference
                       before Magistrate Judge Gwynne E. Birzer. A Zoom invitation will follow by email
                       closer to the hearing date. The parties should be prepared to discuss a general
                       scheduling order for this case, to include a dispositive briefing schedule, at the
                       7/28/2020 conference. IT IS SO ORDERED. Signed by Magistrate Judge Gwynne E.
                       Birzer on 6/16/20. Mailed to pro se party Albert Dewayne Banks by regular mail and
                       by email to leavenworthlegalcorrespondence@corecivic.com. (This is a TEXT
                       ENTRY ONLY. There is no.pdf document associated with this entry.)(adc) (Entered:
                       06/16/2020)
    06/18/2020   153   NOTICE OF WITHDRAWAL OF APPEARANCE by Lauren E. Laushman as
                       co−counsel for defendant, Brad Schoen. (mls) (Entered: 06/18/2020)
    06/25/2020   154   ORDER APPOINTING COUNSEL: In follow−up to the status conference held
                       6/16/2020, the Court notes it has reconsidered Plaintiff's previous motion(s) to
                       appoint counsel. Formal appointment in a written order with additional details will be
                       forthcoming in the near future; however, for the time being, the parties are notified
                       that Michael J. Shultz will be acting as Plaintiff's counsel. Mr. Shultz may be reached
                       at Shultz Law Office, PA; 445 North Waco; Wichita, KS 67202. Mr. Shultz will

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                       work with Plaintiff to produce the Rule 26(a)(1) disclosures ordered in the 6/16/20
                       conference by the deadline of 7/9/20. In the event the parties need additional time to
                       submit the disclosures, they may contact the chambers of the undersigned Magistrate
                       Judge. IT IS SO ORDERED. Signed by Magistrate Judge Gwynne E. Birzer on
                       6/25/2020. Mailed to pro se party Albert Dewayne Banks by regular mail. (This is a
                       TEXT ENTRY ONLY. There is no.pdf document associated with this entry.)(adc)
                       (Entered: 06/25/2020)
    06/30/2020   155   Separate ANSWER to 74 Amended Complaint by Timothy Brown.(Seck, Michael)
                       (Entered: 06/30/2020)
    06/30/2020   156   ANSWER to 74 Amended Complaint by Sprint/Nextel Wireless Telephone
                       Company, Virgin Mobile USA/Sprint PCS.(Heidrick, Jay) (Entered: 06/30/2020)
    06/30/2020   157   ANSWER to 74 Amended Complaint by Steven L. Opat.(Turner, Eric) (Entered:
                       06/30/2020)
    07/06/2020   158   NOTICE OF SERVICE by Glen F. Virden of Def Virden's Rule 26 Discl. (Chalmers,
                       Arthur) (Entered: 07/06/2020)
    07/07/2020   159   ENTRY OF APPEARANCE by Elizabeth Marden on behalf of Sprint/Nextel
                       Wireless Telephone Company, Virgin Mobile USA/Sprint PCS (Marden, Elizabeth)
                       (Entered: 07/07/2020)
    07/08/2020   160   ORDER OF CONSOLIDATION FOR DISCOVERY PURPOSES; ORDER
                       APPOINTING COUNSEL; and ORDER RESCHEDULING STATUS
                       CONFERENCE granting 150 Motion to Appoint Counsel. The Court provisionally
                       appoints Michael J. Shultz, a member in good standing of the bar of this Court, to
                       represent both Plaintiffs for the limited purpose of assisting them through discovery
                       and dispositive motion practice. Mr. Shultz is appointed pursuant to 28 U.S.C. §
                       1915(e) and may be reimbursed for his out−of− pocket expenses allowed under D.
                       Kan. Rule 83.5.3(f)(1). Status Conference set for 8/13/2020 at 01:30 PM in Video
                       Conference − Zoom before Magistrate Judge Gwynne E. Birzer. See Order for further
                       details. Signed by Magistrate Judge Gwynne E. Birzer on 7/7/2020. (sz) (Entered:
                       07/08/2020)
    07/08/2020         Set/Reset Hearings: Status Conference set for 8/13/2020 at 01:30 PM in Video
                       Conference − Zoom before Magistrate Judge Gwynne E. Birzer.(sz) (Entered:
                       07/08/2020)
    07/09/2020   161   NOTICE of Defendant Timothy Brown's Initial Rule 26(a)(1) Disclosures by
                       Timothy Brown (Seck, Michael) (Entered: 07/09/2020)
    07/09/2020   162   NOTICE of Hearing: THIS IS AN OFFICIAL NOTICE FOR THIS HEARING
                       (This is a TEXT ENTRY ONLY. There is no.pdf document associated with this
                       entry.) Status Conference originally set for 8/13/20 is RESET for 8/12/2020 at 01:30
                       PM by Zoom Video Conference before Magistrate Judge Gwynne E. Birzer. Counsel
                       will receive an email invitation prior to the conference.(adc) (Entered: 07/09/2020)
    07/23/2020   163   CERTIFICATE OF SERVICE of Rule 26(a)(1) Initial Disclosures by Sprint/Nextel
                       Wireless Telephone Company, Virgin Mobile USA/Sprint PCS. (Marden, Elizabeth)
                       (Entered: 07/23/2020)
    07/23/2020   164   NOTICE OF SERVICE by Steven L. Opat, Tony Wolf of Rule 26(a) Disclosures
                       (Turner, Eric) (Entered: 07/23/2020)


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    07/23/2020   165   NOTICE OF SERVICE by T−Mobile U.S.A. of Initial Disclosures (Vogelsberg,
                       Amanda) (Entered: 07/23/2020)
    07/23/2020   166   NOTICE OF SERVICE by Albert Dewayne Banks of Initial Disclosures by Plaintiffs
                       (Shultz, Michael) (Entered: 07/23/2020)
    07/28/2020   167   PROTECTIVE ORDER governing Case Nos. 15−3093−HLT−GEB and
                       15−3117−HLT−GEB. See order for details. Signed by Magistrate Judge Gwynne E.
                       Birzer on 7/28/20. (adc) (Entered: 07/28/2020)
    08/12/2020   168   MINUTE ENTRY for proceedings held before Magistrate Judge Gwynne E. Birzer:
                       STATUS CONFERENCE held on 8/12/2020. (Tape #1:47−2:25.) (This is a TEXT
                       ENTRY ONLY. There is no.pdf document associated with this entry.) (adc) (Entered:
                       08/12/2020)
    08/13/2020   169   SCHEDULING ORDER: Responses to dispositive motions deadline 12/18/2020.
                       Replies in support of dispositive motions deadline 1/15/2021 Discovery deadline
                       11/20/2020. Dispositive motion deadline 9/11/2020. The Court's prior order of
                       consolidation (No. 15−3093−HLT−GEB, ECF No. 160 ; No. 15−3117, ECF No. 170
                       ) specified these matters would be consolidated for discovery purposes and
                       non−dispositive filings only. However, after discussion with counsel, the Court finds
                       it would be most efficient for these matters to remain consolidated through
                       dispositive motions. Therefore, all filings should be made in the lead case, No.
                       15−3093− HLT−GEB, until further order of the Court. Signed by Magistrate Judge
                       Gwynne E. Birzer on 8/12/2020. (sz) Modified on 8/14/2020 to correct response date
                       (sz). (Entered: 08/13/2020)
    08/13/2020   170   NOTICE OF SERVICE by Glen F. Virden, Glen F. Virden of Documents Described
                       in Defendants' Initial Rule 26 Disclosures (Chalmers, Arthur) (Entered: 08/13/2020)
    09/08/2020   171   Unopposed MOTION to Modify Scheduling Order by Defendants Sprint/Nextel
                       Wireless Telephone Company, Virgin Mobile USA/Sprint PCS (referred to
                       Magistrate Judge Gwynne E. Birzer) (Heidrick, Jay) (Entered: 09/08/2020)
    09/08/2020   172   ORDER granting 171 unopposed Motion to Modify Schedule. Dispositive motion
                       deadline reset to 9/18/2020. Discovery deadline on dispositive motions reset to
                       11/27/2020. Responses to dispositive motions due 12/30/2020. Replies in support of
                       dispositive motions due 1/22/2021. Signed by Magistrate Judge Gwynne E. Birzer on
                       9/8/20. (adc) (Entered: 09/08/2020)
    09/10/2020   173   MOTION for Summary Judgment by Consol Defendant Glen F. Virden, Defendant
                       Glen F. Virden (Chalmers, Arthur) (Entered: 09/10/2020)
    09/10/2020   174   MEMORANDUM IN SUPPORT of 173 MOTION for Summary Judgment by
                       Consol Defendant Glen F. Virden, Defendant Glen F. Virden (Attachments: # 1
                       Affidavit Exh A Declaration, # 2 Exhibit 1 to Exh A, # 3 Exhibit − Redacted 2−17 to
                       Exh A, # 4 Affidavit Exh B Declaration, # 5 Exhibit 1 to Exh B, # 6 Exhibit −
                       Redacted 2−17 to Exh B, # 7 Affidavit Exh C with Exh 18 and 19)(Chalmers, Arthur)
                       (Entered: 09/10/2020)
    09/10/2020         (Court only) Terminate Deadlines :(adc) (Entered: 09/10/2020)
    09/17/2020   175   MOTION for Summary Judgment by Defendant Timothy Brown (Seck, Michael)
                       (Entered: 09/17/2020)
    09/17/2020   176


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                       MEMORANDUM IN SUPPORT of 175 MOTION for Summary Judgment by
                       Defendant Timothy Brown (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit
                       C)(Seck, Michael) (Entered: 09/17/2020)
    09/18/2020   177   MOTION for Summary Judgment by Defendant Steven L. Opat (Turner, Eric)
                       (Entered: 09/18/2020)
    09/18/2020   178   MEMORANDUM IN SUPPORT of 177 MOTION for Summary Judgment by
                       Defendant Steven L. Opat (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C,
                       # 4 Exhibit D, # 5 Exhibit E)(Turner, Eric) (Entered: 09/18/2020)
    09/18/2020   179   MOTION for Summary Judgment by Defendant Tony Wolf (Turner, Eric) (Entered:
                       09/18/2020)
    09/18/2020   180   MEMORANDUM IN SUPPORT of 179 MOTION for Summary Judgment by
                       Defendant Tony Wolf (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4
                       Exhibit D, # 5 Exhibit E)(Turner, Eric) (Entered: 09/18/2020)
    09/18/2020   181   MOTION for Summary Judgment by CARRIER DEFENDANTS SPRINT/NEXTEL
                       WIRELESS TELEPHONE COMPANY, VIRGIN MOBILE/SPRINT PCS, AND
                       T−MOBILE USA INC. by Defendants Sprint/Nextel Wireless Telephone Company,
                       Virgin Mobile USA/Sprint PCS (Heidrick, Jay) (Entered: 09/18/2020)
    09/18/2020   182   MEMORANDUM IN SUPPORT of 181 MOTION for Summary Judgment by
                       CARRIER DEFENDANTS SPRINT/NEXTEL WIRELESS TELEPHONE COMPANY,
                       VIRGIN MOBILE/SPRINT PCS, AND T−MOBILE USA INC. by Defendants
                       Sprint/Nextel Wireless Telephone Company, Virgin Mobile USA/Sprint PCS
                       (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D −
                       Declaration of Jordan Kurtz in Support of T−Mobile USA, Inc.'s Motion for
                       Summary Judgment, # 5 Exhibit D1, # 6 Exhibit D2, # 7 Exhibit D3, # 8 Exhibit D4,
                       # 9 Exhibit E − Declaration of Robert Wilden in Support of Sprint/Nextel Wireless
                       Telephone Company and Virgin Mobile/Sprint PCS's Motion for Summary
                       Judgment, # 10 Exhibit E1, # 11 Exhibit E2, # 12 Exhibit F, # 13 Exhibit G, # 14
                       Exhibit H, # 15 Exhibit I, # 16 Exhibit J, # 17 Exhibit K)(Heidrick, Jay) (Entered:
                       09/18/2020)
    11/13/2020   183   Unopposed MOTION to Continue by Plaintiff Anthony Thompson and by Plaintiff
                       Albert Dewayne Banks (referred to Magistrate Judge Gwynne E. Birzer) (Shultz,
                       Michael) (Entered: 11/13/2020)
    11/13/2020   184   ORDER granting 183 Plaintiffs' Unopposed Motion to Continue Deadlines.
                       Discovery deadline on motions reset to 1/8/2021. Plaintiffs' response deadline for
                       dispositive motions reset to 1/29/2021. Defendants' reply deadline reset to 2/26/2021.
                       Signed by Magistrate Judge Gwynne E. Birzer on 11/13/20. (adc) (Entered:
                       11/13/2020)
    11/23/2020   185   NOTICE OF WITHDRAWAL OF APPEARANCE by attorney Toby Crouse as to
                       Steven L. Opat (Crouse, Toby) (Entered: 11/23/2020)
    01/29/2021   186   Second MOTION to Continue by Plaintiff Albert Dewayne Banks (referred to
                       Magistrate Judge Gwynne E. Birzer) (Shultz, Michael) (Entered: 01/29/2021)
    02/01/2021   187   RESPONSE by Consol Defendant Glen F. Virden, Defendant Glen F. Virden re 186
                       Motion to Continue (Chalmers, Arthur) (Entered: 02/01/2021)
    02/02/2021   188


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                       MEMORANDUM IN OPPOSITION by Defendants Sprint/Nextel Wireless
                       Telephone Company, Virgin Mobile USA/Sprint PCS, Consol Defendant T−Mobile
                       U.S.A. re 186 Second MOTION to Continue (PARTIAL OPPOSITION) (Heidrick,
                       Jay) (Entered: 02/02/2021)
    02/05/2021   189   RESPONSE by Consol Defendant Timothy Brown, Defendant Timothy Brown re
                       186 Motion to Continue (Seck, Michael) (Entered: 02/05/2021)
    02/12/2021   190   RESPONSE by Defendants Steven L. Opat, Tony Wolf re 186 Second Motion to
                       Continue (Turner, Eric) Modified to reflect second motion on 2/16/2021 (ctv).
                       (Entered: 02/12/2021)
    03/19/2021   191   ORDER granting 186 Plaintiffs Albert Banks and Anthony Thompson's Second
                       Motion to Continue. Discovery deadline 6/30/2021. Plaintiffs' response to the
                       summary judgment motion is due 8/27/2021. Defendants' Reply is due 9/24/2021.
                       Signed by Magistrate Judge Gwynne E. Birzer on 3/19/21. (adc) (Entered:
                       03/19/2021)
    03/22/2021         (Court only) Set/Reset Deadlines as to 179 MOTION for Summary Judgment ,
                       173 MOTION for Summary Judgment , 175 MOTION for Summary Judgment ,
                       181 MOTION for Summary Judgment by CARRIER DEFENDANTS
                       SPRINT/NEXTEL WIRELESS TELEPHONE COMPANY, VIRGIN
                       MOBILE/SPRINT PCS, AND T−MOBILE USA INC., 177 MOTION for
                       Summary Judgment. Plaintiffs' Response due 8/27/2021; Defendants' Replies
                       due by 9/24/2021. See order ECF No. 191.(adc) (Entered: 03/22/2021)
    07/09/2021   192   NOTICE OF SERVICE by Glen F. Virden, Glen F. Virden of responses to Pl 1st
                       RFP (Chalmers, Arthur) (Entered: 07/09/2021)
    07/28/2021   193   NOTICE OF SERVICE by Steven L. Opat of Responses to Plaintiff's First Request
                       for Production of Documents (Turner, Eric) (Entered: 07/28/2021)
    08/03/2021   194   NOTICE OF SERVICE by Sprint/Nextel Wireless Telephone Company, Virgin
                       Mobile USA/Sprint PCS of Responses to Plaintiffs' First Request for Production of
                       Documents (Heidrick, Jay) (Entered: 08/03/2021)
    08/25/2021   195   ORDER. On the informal and unopposed request by Plaintiffs' counsel, the
                       previously−set deadlines for dispositive motion briefing 186 are extended by one
                       week. Plaintiffs' response to the summary judgment motions is due 9/3/2021.
                       Defendants' Replies are due by 10/4/2021. Signed by Magistrate Judge Gwynne E.
                       Birzer on 8/25/21. (This is a TEXT ENTRY ONLY. There is no.pdf document
                       associated with this entry.)(adc) (Entered: 08/25/2021)
    09/03/2021   196   RESPONSE by Plaintiff Albert Dewayne Banks, Consol Plaintiff Anthony
                       Thompson re 181 Motion for Summary Judgment by Defendants Sprint/Nextel
                       Wireless Telephone Company, Virgin Mobile/Sprint PCS, and T−Mobile USA Inc
                       (Attachments: # 1 Exhibit A−−Banks Declaration, # 2 Exhibit B−−Thompson
                       Declaration, # 3 Exhibit C−−Judge Platt Testimony Excerpt, # 4 Exhibit D−−Glen
                       Virden Testimony Excerpt, # 5 Exhibit E−−Chris Turner Testimony Excerpt, # 6
                       Exhibit List F)(Shultz, Michael) (Entered: 09/03/2021)
    09/03/2021   197   RESPONSE by Plaintiff Albert Dewayne Banks, Consol Plaintiff Anthony
                       Thompson re 175 Motion for Summary Judgment by Defendant Timothy Brown
                       (Attachments: # 1 Exhibit A−−Banks Declaration, # 2 Exhibit B−−Thompson
                       Declaration, # 3 Exhibit C−−K.S.A. Book Excerpt, # 4 Exhibit D−−Babcock Search


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                       Warrant, # 5 Exhibit List)(Shultz, Michael) (Additional attachment(s) added on
                       9/7/2021: # 6 Exhibit D −− Babcock Search Warrant − Redacted) (jsh). Modified on
                       9/7/2021 to add redacted version of Exhibit D; original blocked from public view due
                       to violation of privacy policy. (jsh) (Entered: 09/03/2021)
    09/03/2021   198   RESPONSE by Plaintiff Albert Dewayne Banks, Consol Plaintiff Anthony
                       Thompson re 173 Motion for Summary Judgment by Defendant Glen Virden
                       (Attachments: # 1 Exhibit A−−Banks Declaration, # 2 Exhibit B−−Thompson
                       Declaration, # 3 Exhibit C−−Glen Virden Testimony Excerpt, # 4 Exhibit D−−Judge
                       Platt Testimony Excerpt, # 5 Exhibit E−−K.S.A. Book Excerpt, # 6 Exhibit
                       List)(Shultz, Michael) (Entered: 09/03/2021)
    09/03/2021   199   RESPONSE by Consol Plaintiff Anthony Thompson re 179 Motion for Summary
                       Judgment by Defendant Tony Wolf (Attachments: # 1 Exhibit A−−Thompson
                       Declaration, # 2 Exhibit List)(Shultz, Michael) (Entered: 09/03/2021)
    09/03/2021   200   RESPONSE by Plaintiff Albert Dewayne Banks re 177 Motion for Summary
                       Judgment by Defendant Steven L. Opat (Attachments: # 1 Exhibit A−−Banks
                       Declaration, # 2 Exhibit List)(Shultz, Michael) (Entered: 09/03/2021)
    09/23/2021   201   REPLY TO RESPONSE TO MOTION by Defendant Glen F. Virden re: 173 Motion
                       for Summary Judgment and 174 MEMORANDUM IN SUPPORT (Chalmers,
                       Arthur) Modified title on 9/24/2021. (jsh) (Entered: 09/23/2021)
    09/23/2021   202   MOTION for Extension of Time to File Reply Memorandum as to 175 MOTION for
                       Summary Judgment by Consol Defendant Timothy Brown, Defendant Timothy
                       Brown. (Seck, Michael) Modified title and association on 9/24/2021. (jsh) (Entered:
                       09/23/2021)
    09/23/2021         MOTION REFERRAL to Magistrate Judge REMOVED as to: 202 MOTION
                       for Extension of Time to File Reply Memorandum as to 197 Response to
                       Motion,, . The motion will be resolved by the District Judge.(ala) (Entered:
                       09/23/2021)
    09/23/2021   203   ORDER granting 202 Motion for Extension of Time to Reply as to 175 MOTION for
                       Summary Judgment. Reply deadline is on or before 10/15/2021. Signed by District
                       Judge Holly L. Teeter on 9/23/2021. (This is a TEXT ENTRY ONLY. There is
                       no.pdf document associated with this entry.) (md) (Entered: 09/23/2021)
    10/04/2021   204   REPLY TO RESPONSE TO MOTION by Defendants Sprint/Nextel Wireless
                       Telephone Company, Virgin Mobile USA/Sprint PCS, Consol Defendant T−Mobile
                       U.S.A. re: 181 Motion for Summary Judgment (Heidrick, Jay) (Entered: 10/04/2021)
    10/04/2021   205   REPLY TO RESPONSE TO MOTION by Defendant Steven L. Opat re: 177 Motion
                       for Summary Judgment (Turner, Eric) (Entered: 10/04/2021)
    10/04/2021   206   REPLY TO RESPONSE TO MOTION by Defendant Tony Wolf re: 179 Motion for
                       Summary Judgment (Turner, Eric) (Entered: 10/04/2021)
    10/13/2021   207   REPLY TO RESPONSE TO MOTION by Defendant Timothy Brown re: 175
                       Motion for Summary Judgment (Seck, Michael) (Entered: 10/13/2021)
    12/27/2021   208   MEMORANDUM AND ORDER ENTERED: Defendant Opat's Motion for
                       Summary Judgment (Doc. 177 ) is GRANTED. Defendant Virden's Motion for
                       Summary Judgment (Doc. 173 ) is GRANTED. Defendant Brown's Motion for
                       Summary Judgment (Doc. 175 ) is GRANTED. Defendant Wolf's Motion for


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                       Summary Judgment (Doc. 179 ) is GRANTED. Carrier Defendants' Motion for
                       Summary Judgment (Doc. 181 ) is DENIED. Signed by District Judge Holly L.
                       Teeter on 12/27/21. (smnd) (Entered: 12/27/2021)
    12/30/2021   209   ORDER. In light of the summary judgment rulings, these consolidated matters are set
                       for a status conference on 2/3/2022 at 10:00 AM by Zoom Video Conference before
                       Magistrate Judge Gwynne E. Birzer. Counsel shall confer no later than 1/20/22 on
                       how best to move this matter forward, and submit a Report of Parties Planning
                       Meeting or other informal proposal to the undersigned by email no later than
                       1/27/2022. A Zoom invitation will follow by email prior to the scheduled conference.
                       Signed by Magistrate Judge Gwynne E. Birzer on 12/30/21. (This is a TEXT ENTRY
                       ONLY. There is no.pdf document associated with this entry.)(adc) (Entered:
                       12/30/2021)
    02/01/2022   210   NOTICE of RESCHEDULED Hearing: THIS IS AN OFFICIAL NOTICE FOR
                       THIS HEARING. (This is a TEXT ENTRY ONLY. There is no.pdf document
                       associated with this entry.) Status Conference formerly set for 2/3/22 is RESET for
                       2/16/2022 at 02:00 PM by Zoom Video Conference before Magistrate Judge Gwynne
                       E. Birzer. (adc) (Entered: 02/01/2022)
    02/09/2022   211   NOTICE of RESCHEDULED Hearing: THIS IS AN OFFICIAL NOTICE FOR
                       THIS HEARING (This is a TEXT ENTRY ONLY. There is no.pdf document
                       associated with this entry.) Status Conference RESET for 2/25/2022 at 01:30 PM by
                       Zoom Video Conference before Magistrate Judge Gwynne E. Birzer. Counsel must
                       submit their proposal for moving this case forward to the Magistrate Judge no later
                       than 2/22/22.(adc) (Entered: 02/09/2022)
    02/09/2022         (Court only) Set/Reset Deadlines: Report of Parties Planning Meeting deadline
                       2/22/2022.(adc) (Entered: 02/09/2022)
    02/25/2022   212   MINUTE ENTRY for proceedings held before Magistrate Judge Gwynne E. Birzer:
                       STATUS CONFERENCE held on 2/25/2022. (Tape #1:30−2:15.) (This is a TEXT
                       ENTRY ONLY. There is no.pdf document associated with this entry.) (kf) (Entered:
                       02/25/2022)
    02/28/2022   213   SECOND SCHEDULING ORDER: See order for additional details. Deadline for
                       Plaintiff's counsel to submit status report is 3/31/22. Mediation Notice Due
                       3/25/2022. Mediation deadline 5/6/2022. Discovery deadline 6/3/2022. Proposed
                       Pretrial Order due by 6/10/2022. Final Pretrial Conference set for 6/17/2022 at 10:00
                       AM by Telephone before Magistrate Judge Gwynne E. Birzer. Participants must call
                       the CONFERENCE LINE at 1−888−363−4749 using ACCESS CODE 9686294.
                       Dispositive motion deadline 7/22/2022. Jury trial in Kansas City; date to be
                       determined; estimated trial time 3 days. Signed by Magistrate Judge Gwynne E.
                       Birzer on 2/28/22. (adc) (Entered: 02/28/2022)
    03/21/2022   214   NOTICE OF SERVICE by T−Mobile U.S.A. of Discovery Requests To Plaintiff
                       Anthony Thompson (Gragson, James) (Entered: 03/21/2022)
    03/22/2022   215   NOTICE OF SERVICE by Sprint/Nextel Wireless Telephone Company of Discovery
                       to Plaintiff Albert Banks (Heidrick, Jay) (Entered: 03/22/2022)
    03/28/2022   216   SETTLEMENT CONFERENCE ORDER: A settlement conference will be
                       conducted by U.S. Magistrate Judge James P. O'Hara on April 22, 2022, at 9:00 a.m.,
                       in the U.S. Courthouse (Courtroom TBD), 500 State Avenue, Kansas City, Kansas, in
                       accordance with Fed. R. Civ. P. 16(a)(5) and D. Kan. Rule 16.3. Signed by


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                       Magistrate Judge James P. O'Hara on 3/28/22. (yh) (Entered: 03/28/2022)
    03/28/2022   217   NOTICE of Courtroom assignment re: 216 Settlement Conference will be held in
                       Courtroom #463. (yh) (Entered: 03/28/2022)
    03/29/2022         Set Hearings: Settlement Conference set for 4/22/2022 at 09:00 AM in KC
                       Courtroom (Unknown)before Magistrate Judge James P. O'Hara.(hw) (Entered:
                       03/29/2022)
    04/01/2022   218   ORDER. On review of the confidential report submitted by appointed Plaintiffs'
                       counsel Michael Shultz, Mr. Shultz' appointment is lifted; however, he will remain as
                       counsel for the consolidated Plaintiffs as retained counsel from this date onward. IT
                       IS SO ORDERED. Signed by Magistrate Judge Gwynne E. Birzer on 4/1/22. (This is
                       a TEXT ENTRY ONLY. There is no.pdf document associated with this entry.)(adc)
                       (Entered: 04/01/2022)
    04/01/2022         (Court only) ***Set/Clear Flags(adc) (Entered: 04/01/2022)
    04/20/2022   219   NOTICE of Hearing: THIS IS AN OFFICIAL NOTICE FOR THIS HEARING
                       (This is a TEXT ENTRY ONLY. There is no.pdf document associated with this
                       entry.) Settlement Conference re−set for 5/4/2022 at 09:00 AM in KC Courtroom 463
                       before Magistrate Judge James P. O'Hara. (yh) (Entered: 04/20/2022)
    05/04/2022   220   MEDIATION MINUTE ORDER − The undersigned magistrate judge conducted a
                       settlement conference today in these cases which have been consolidated for
                       discovery. Plaintiff Anthony Thompson was unable to attend, as he'd been arrested
                       the day prior on a warrant issued in connection with a petition to revoke supervised
                       release in D. Kan. Case No. 13−40060−10. Although plaintiff Albert Banks did
                       attend, the conference was adjourned with no settlement having been reached. Signed
                       by Magistrate Judge James P. O'Hara on 5/4/22. (This is a TEXT ENTRY ONLY.
                       There is no.pdf document associated with this entry.)(O'Hara, James) (Entered:
                       05/04/2022)
    05/04/2022   221   MINUTE ENTRY for proceedings held before Magistrate Judge James P. O'Hara:
                       SETTLEMENT CONFERENCE held on 5/4/2022. (This is a TEXT ENTRY ONLY.
                       There is no.pdf document associated with this entry.) (ss) (Entered: 05/04/2022)
    05/17/2022   222   ADR REPORT by Sprint/Nextel Wireless Telephone Company, Virgin Mobile
                       USA/Sprint PCS. ADR session held on: 5/4/2022 and conducted by Magistrate Judge
                       James P. O'Hara. Results of ADR: Case did not settle. Status of litigation at time of
                       ADR: Partial Discovery(Heidrick, Jay) (Entered: 05/17/2022)
    05/18/2022   223   NOTICE OF TELEPHONE CONFERENCE: Telephone Conference set for
                       5/31/2022 at 10:00 AM Call CONFERENCE LINE 1−888−363−4749, use ACCESS
                       CODE 9686294 and follow the prompts to join the conference. (This is a TEXT
                       ENTRY ONLY. There is no.pdf document associated with this entry.) before
                       Magistrate Judge Gwynne E. Birzer. (spa) (Entered: 05/18/2022)
    05/31/2022   224   MINUTE ENTRY for proceedings held before Magistrate Judge Gwynne E. Birzer:
                       TELEPHONE CONFERENCE held on 5/31/2022. (This is a TEXT ENTRY ONLY.
                       There is no.pdf document associated with this entry.) (spa) (Entered: 05/31/2022)
    06/01/2022   225   THIRD SCHEDULING ORDER: Status Report due by 7/15/2022. Discovery
                       deadline 7/29/2022. Proposed Pretrial Order due by 8/25/2022. Final Pretrial
                       Conference set for 9/1/2022 at 10:00 AM by Telephone GEB − CONFERENCE
                       LINE 1−888−363−4749 ACCESS CODE 9686294 before Magistrate Judge Gwynne

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                       E. Birzer. Dispositive motion deadline 10/7/2022. Jury trial in Kansas City; date to be
                       determined; estimated trial time 3 days. Signed by Magistrate Judge Gwynne E.
                       Birzer on 5/31/2022. (heo) (Entered: 06/01/2022)
    07/29/2022   226   NOTICE OF SERVICE by Sprint/Nextel Wireless Telephone Company, Virgin
                       Mobile USA/Sprint PCS of Discovery Responses to Plaintiff Albert Banks First
                       Interrogatories and Requests for Production of Documents (Heidrick, Jay) (Entered:
                       07/29/2022)
    08/01/2022   227   NOTICE OF SERVICE by T−Mobile U.S.A. of Discovery Responses to Plaintiff
                       Anthony Thompson (Vogelsberg, Amanda) (Entered: 08/01/2022)
    08/01/2022   228   STIPULATION AS TO DAMAGES by Sprint/Nextel Wireless Telephone Company,
                       Virgin Mobile USA/Sprint PCS. (Heidrick, Jay) (Entered: 08/01/2022)
    08/24/2022   229   ENTRY OF APPEARANCE by Jay E. Heidrick on behalf of T−Mobile U.S.A.
                       (Heidrick, Jay) (Entered: 08/24/2022)
    08/25/2022   230   ORDER. Upon informal request from counsel, finding good cause and all parties in
                       agreement, the deadline for the parties to submit their proposed pretrial order is
                       extended to 12:00 p.m. on 8/29/22. Signed by Magistrate Judge Gwynne E. Birzer on
                       8/25/22. (This is a TEXT ENTRY ONLY. There is no.pdf document associated with
                       this entry.)(spa) (Entered: 08/25/2022)
    08/30/2022   231   MOTION for attorney Kymberly Kester to appear pro hac vice (Pro hac vice fee $50,
                       Internet Payment Receipt Number AKSDC−5856472.) by Defendants Sprint/Nextel
                       Wireless Telephone Company, Virgin Mobile USA/Sprint PCS, Consol Defendant
                       T−Mobile U.S.A. (referred to Magistrate Judge Gwynne E. Birzer) (Attachments: # 1
                       ECF Registration Form Attachment)(Heidrick, Jay) (Entered: 08/30/2022)
    08/31/2022   232   ORDER granting 231 Motion to Appear Pro Hac Vice of Kymberly Kester for
                       Sprint/Nextel Wireless Telephone Company, T−Mobile U.S.A., and Virgin Mobile
                       USA/Sprint PCS pursuant to D. Kan. Rule 83.5.4 for purposes of this case only.
                       Signed by Magistrate Judge Gwynne E. Birzer on 8/31/22. (This is a TEXT ENTRY
                       ONLY. There is no.pdf document associated with this entry.) (ala) (Entered:
                       08/31/2022)
    08/31/2022   233   MOTION to Withdraw as Attorney by Plaintiff Albert Dewayne Banks (referred to
                       Magistrate Judge Gwynne E. Birzer) (Shultz, Michael) (Entered: 08/31/2022)
    09/01/2022   234   MINUTE ENTRY for proceedings held before Magistrate Judge Gwynne E. Birzer:
                       FINAL PRETRIAL CONFERENCE held on 9/1/2022. (Tape #10:00−10:40.) (This is
                       a TEXT ENTRY ONLY. There is no.pdf document associated with this entry.) (spa)
                       (Entered: 09/01/2022)
    09/08/2022   235   PRETRIAL ORDER ENTERED: Estimated trial time 2 days. Dispositive motion
                       deadline 10/7/2022. Jury Trial set for 6/5/2023 at 09:00 AM in KC Courtroom 463
                       (HLT) before District Judge Holly L. Teeter. Signed by Magistrate Judge Gwynne E.
                       Birzer on September 8, 2022. (mls) (Entered: 09/08/2022)
    09/08/2022   236   REPORT AND RECOMMENDATIONS recommending Plaintiffs' motion to amend
                       their amended complaints or add new § 605 claims in their pretrial orders be
                       DENIED. Objections to R&R due by 9/22/2022. Signed by Magistrate Judge
                       Gwynne E. Birzer on September 8, 2022. Mailed to pro se party Albert Banks by
                       certified mail; Certified Tracking Number: 7020 3160 0000 9283 4557. (mls)
                       (Entered: 09/08/2022)

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    09/15/2022   237   CERTIFIED MAIL RECEIPT returned: Re 236 REPORT AND
                       RECOMMENDATIONS re 74 Amended Complaint filed by Albert Dewayne Banks
                       addressed to Albert Banks (msb) (Additional attachment(s) added on 9/16/2022: # 1
                       2nd Return) (ca). (Entered: 09/15/2022)
    09/21/2022   238   AFFIDAVIT of Declaration of Michael Shultz re 233 MOTION to Withdraw as
                       Attorney by Plaintiff Albert Dewayne Banks(Shultz, Michael) (Entered: 09/21/2022)
    09/26/2022   239   OBJECTION to 236 Report and Recommendations by Consol Plaintiff Anthony
                       Thompson. (smnd) (Entered: 09/27/2022)
    09/28/2022   240   ORDER granting 233 Motion to Withdraw as Attorney. ORDER granting Michael
                       Shultz's Motion to Withdraw (ECF No. 233) as attorney for Albert Dewayne Banks.
                       The Court finds Mr. Shultz has complied with D. Kan. Rule 83.5.5(a) (ECF No. 238),
                       and has established good cause for his withdrawal. IT IS SO ORDERED. Signed by
                       Magistrate Judge Gwynne E. Birzer on 9/28/22. Mailed to pro se party Albert
                       Dewayne Banks, P.O. Box 1014, Ogden, Kansas 66517 by regular mail. (This is a
                       TEXT ENTRY ONLY. There is no.pdf document associated with this entry.) (spa)
                       (Entered: 09/28/2022)
    10/12/2022   241   MOTION for Extension of Time to File Response as to 236 REPORT AND
                       RECOMMENDATIONS re 74 Amended Complaint by Consol Plaintiff Anthony
                       Thompson. (jal) (Entered: 10/13/2022)
    10/13/2022   242   Order extending deadline. This case was consolidated for discovery purposes with
                       another case and similar pretrial orders were entered. To keep these cases on the
                       same schedule and mindful of some delays in the other case and some docketing
                       issues in this case, the Court extends the dispositive motion deadline. Specifically,
                       dispositive motions as provided for in the pretrial order are due on or before January
                       6, 2023. Signed by District Judge Holly L. Teeter on 10/13/2022. Mailed to pro se
                       party Albert Banks by regular mail. (This is a TEXT ENTRY ONLY. There is no.pdf
                       document associated with this entry.)(md) (Entered: 10/13/2022)
    10/14/2022         NOTICE OF CHANGE OF ADDRESS by Albert Dewayne Banks. At the direction
                       of chambers, Plaintiff Albert Bank's address was updated to: 203 S. 7th, Apt A,
                       Ogden, Kansas 66517. (jal) (Entered: 10/14/2022)
    10/14/2022   243   MINUTE ORDER: At the direction of chambers and upon filing of the Pretrial
                       Order, cases 15−3093−HLT and 15−3117−HLT are no longer consolidated. Each
                       action will continue under its own case number. Signed by deputy clerk on
                       10/14/2022. Mailed to pro se party Albert Dewayne Banks by regular mail. (This is a
                       TEXT ENTRY ONLY. There is no.pdf document associated with this entry.)(jal)
                       (Entered: 10/14/2022)
    10/14/2022         (Court only) ***Motions terminated: 241 MOTION for Extension of Time to File
                       Response as to 236 REPORT AND RECOMMENDATIONS re 74 Amended
                       Complaint filed by Albert Dewayne Banks filed by Anthony Thompson. This
                       motion was also filed in 15−3117−HLT by Plaintiff Thompson and has been
                       ruled on. Since the actions are no longer consolidated, this motion is being
                       terminated in this case at the request of chambers. (jal) (Entered: 10/14/2022)
    10/21/2022         (Court only) Remark: Email to Wendell F. Cowan, Jr. and Elizabeth Marden
                       regarding their terminated bar statuses. (mam) (Entered: 10/21/2022)
    10/31/2022   244


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                       MOTION for Order by Plaintiff Albert Dewayne Banks. (Attachments: # 1 Envelope)
                       (smnd) (Entered: 10/31/2022)
    11/14/2022   245   RESPONSE by Defendants Sprint/Nextel Wireless Telephone Company, Virgin
                       Mobile USA/Sprint PCS re 244 Motion for Order, 236 Report and
                       Recommendations, Response in Opposition to Plaintiff's Motion to Join Plaintiff
                       Thompson's Objections (Heidrick, Jay) (Entered: 11/14/2022)
    11/18/2022   246   ORDER: Plaintiff's request to join the objections to Judge Birzer's R&R 244 is
                       DENIED. The Court ADOPTS Judge Birzer's recommendation 236 that Plaintiff's
                       request for leave to amend his amended complaint to add a new claim in the pretrial
                       order is DENIED. Signed by District Judge Holly L. Teeter on November 17, 2022.
                       Mailed to pro se party Albert Dewayne Banks by regular mail. (mls) (Entered:
                       11/18/2022)
    01/06/2023   247   MOTION for Summary Judgment by Defendants Sprint/Nextel Wireless Telephone
                       Company, Virgin Mobile USA/Sprint PCS (Heidrick, Jay) (Entered: 01/06/2023)
    01/06/2023   248   MEMORANDUM IN SUPPORT of 247 MOTION for Summary Judgment by
                       Defendants Sprint/Nextel Wireless Telephone Company, Virgin Mobile USA/Sprint
                       PCS (Attachments: # 1 Exhibit List, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, # 5
                       Exhibit D, # 6 Exhibit E, # 7 Exhibit F, # 8 Exhibit G, # 9 Exhibit H, # 10 Exhibit I, #
                       11 Exhibit J, # 12 Exhibit K)(Heidrick, Jay) (Entered: 01/06/2023)
    01/09/2023   249   ORDER: Plaintiff's response to the motion for summary judgment Doc. 247 is due on
                       or before 5:00 p.m. on Tuesday, January 31, 2023. The Court will consider the
                       motion without the benefit of Plaintiff's response if Plaintiff fails to respond by that
                       time. Signed by District Judge Holly L. Teeter on 1/9/23.Mailed to pro se party
                       Albert D. Banks by regular mail. (This is a TEXT ENTRY ONLY. There is no.pdf
                       document associated with this entry.)(ss) (Entered: 01/09/2023)
    01/09/2023   250   NOTICE TO PRO SE LITIGANT WHO OPPOSES A MOTION FOR SUMMARY
                       JUDGMENT by Sprint/Nextel Wireless Telephone Company, Virgin Mobile
                       USA/Sprint PCS re 247 MOTION for Summary Judgment (Heidrick, Jay) (Entered:
                       01/09/2023)
    01/25/2023   251   RETURN Mail received re 249 Order, addressed to Albert Dewayne Banks. Not
                       remailed. (kas) (Entered: 01/25/2023)
    01/30/2023   252   MOTION for Extension of Time to File response as to 247 MOTION for Summary
                       Judgment by Plaintiff Albert Dewayne Banks (Attachment: # 1 Mailing
                       Envelope)(msb) (Entered: 01/30/2023)
    01/31/2023   253   ORDER granting 252 MOTION for Extension of Time to File response as to 247
                       MOTION for Summary Judgment. Response deadline is on or before 2/8/2023.
                       Signed by District Judge Holly L. Teeter on 1/31/2023.Mailed to pro se party Albert
                       Banks by regular mail. (This is a TEXT ENTRY ONLY. There is no.pdf document
                       associated with this entry.) (md) (Entered: 01/31/2023)
    02/08/2023   254   RESPONSE by Plaintiff Albert Dewayne Banks: Re 247 Motion for Summary
                       Judgment (Attachments: # 1 Albert Banks Affidavit, # 2 Email From Albert Banks, #
                       3 Cover Letter, # 4 Mailing Envelope) (msb). (Entered: 02/08/2023)
    02/22/2023   255   REPLY TO RESPONSE TO MOTION by Defendants Sprint/Nextel Wireless
                       Telephone Company, Virgin Mobile USA/Sprint PCS re: 247 Motion for Summary
                       Judgment (Heidrick, Jay) (Entered: 02/22/2023)

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    02/24/2023   256   NOTICE of intent to request leave of court to amend complaint by Albert Dewayne
                       Banks. (msb) (Entered: 02/24/2023)
    03/30/2023   257   MOTION for Leave to Amend 74 Amended Complaint by Plaintiff Albert Dewayne
                       Banks (Attachment: # 1 Mailing Envelope)(msb) (Entered: 03/30/2023)
    03/30/2023   258   MEMORANDUM IN SUPPORT of 257 MOTION for Leave to Amend 74 Amended
                       Complaint by Plaintiff Albert Dewayne Banks(msb) (Entered: 03/30/2023)
    03/31/2023   259   ORDER: Defendant's Motion for Summary Judgment 247 is DENIED. Plaintiff's
                       Motion for Leave to Amend 257 is DENIED. Signed by District Judge Holly L.
                       Teeter on March 31, 2023. Mailed to pro se party Albert Dewayne Banks by regular
                       mail. (mls) (Entered: 03/31/2023)
    04/04/2023   260   TRIAL ORDER: SEE ORDER FOR ADDITIONAL DEADLINE INFORMATION.
                       Jury Trial is set for 6/5/2023 at 09:00 AM in KC Courtroom 463 (HLT) before
                       District Judge Holly L. Teeter. Motions in limine are due by 5:00 p.m. on 5/5/2023.
                       Responses are due by 5:00 p.m. on 5/12/2023. In Limine Conference is set for
                       5/19/2023 at 01:00 PM in KC Courtroom 463 (HLT) before District Judge Holly L.
                       Teeter. Signed by District Judge Holly L. Teeter on 4/4/2023. Mailed to pro se party
                       Albert Banks by regular mail. (Attachments: # 1 Exhibit A)(md) (Entered:
                       04/04/2023)
    04/20/2023   261   NOTICE of Change of Address by Plaintiff Albert Dewayne Banks: now at 750
                       Shannon Drive, Romeoville, Illinois 60446. (Attachments: # 1 Envelope) (smnd)
                       (Entered: 04/20/2023)
    04/27/2023   262   MOTION to Continue trial by Plaintiff Albert Dewayne Banks (Attachments: # 1
                       Letter to Court, # 2 Mailing Envelope)(msb) (Entered: 04/27/2023)
    04/27/2023   263   EXHIBIT LIST by Albert Dewayne Banks.(msb) (Entered: 04/27/2023)
    04/27/2023   264   WITNESS LIST by Albert Dewayne Banks.(msb) (Entered: 04/27/2023)
    04/27/2023   265   EXHIBIT LIST by Sprint/Nextel Wireless Telephone Company, Virgin Mobile
                       USA/Sprint PCS.(Heidrick, Jay) (Entered: 04/27/2023)
    04/27/2023   266   WITNESS LIST by Sprint/Nextel Wireless Telephone Company, Virgin Mobile
                       USA/Sprint PCS.(Heidrick, Jay) (Entered: 04/27/2023)
    04/27/2023   267   ORDER expediting briefing regarding 262 Motion to Continue. Defendant's response
                       is due May 1, 2023. No reply is permitted. Signed by District Judge Holly L. Teeter
                       on 4/27/2023. Mailed to Pro Se Party Albert Banks via U.S. regular mail. (This is a
                       TEXT ENTRY ONLY. There is no.pdf document associated with this entry.)(md)
                       (Entered: 04/27/2023)
    05/01/2023   268   MEMORANDUM IN OPPOSITION by Defendants Sprint/Nextel Wireless
                       Telephone Company, Virgin Mobile USA/Sprint PCS re 262 MOTION to Continue
                       trial (Heidrick, Jay) (Entered: 05/01/2023)
    05/02/2023   269   OBJECTION(S) to 263 Exhibit List, 264 Witness List by Sprint/Nextel Wireless
                       Telephone Company, Virgin Mobile USA/Sprint PCS. (Heidrick, Jay) (Entered:
                       05/02/2023)
    05/03/2023   270   ORDER granting in part and denying in part 262 Motion to Continue. Trial remains
                       set for June 5, 2023, at 9:00 a.m. in Courtroom 463 in the Robert J. Dole Courthouse,
                       500 State Avenue, Kansas City, KS 66101. The Court GRANTS Plaintiff's request to

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                       attend the May 19, 2023 limine conference via Zoom. See order for details. Signed
                       by District Judge Holly L. Teeter on 5/3/2023. Mailed to pro se party Albert
                       Dewayne Banks by regular mail. (kas) (Entered: 05/03/2023)
    05/05/2023   271   MOTION in Limine by Defendants Sprint/Nextel Wireless Telephone Company,
                       Virgin Mobile USA/Sprint PCS (Heidrick, Jay) (Entered: 05/05/2023)
    05/05/2023   272   Amended EXHIBIT LIST by Sprint/Nextel Wireless Telephone Company, Virgin
                       Mobile USA/Sprint PCS.(Heidrick, Jay) (Entered: 05/05/2023)
    05/07/2023   273   MOTION in Limine by Plaintiff Albert Dewayne Banks. (jal) (Entered: 05/08/2023)
    05/07/2023   274   OBJECTIONS to 265 Exhibit List, 272 Amended Exhibit List by Albert Dewayne
                       Banks. (jal) (Entered: 05/08/2023)
    05/10/2023   275   MOTION for Reconsideration re 270 Order (titled Request to Alter or Amend
                       Motion Judgment to Switch Trial Dates Pursuant to Fed.R.Civ.P 59(e)) by Plaintiff
                       Albert Dewayne Banks. (jal) (Entered: 05/10/2023)
    05/11/2023   276   DESIGNATION OF DEPOSITION(S) by Sprint/Nextel Wireless Telephone
                       Company, Virgin Mobile USA/Sprint PCS. (Heidrick, Jay) (Entered: 05/11/2023)
    05/11/2023   277   PLAINTIFF'S DEPOSITION DESIGNATIONS by Albert Dewayne Banks. (kas)
                       (Additional attachment(s) added on 5/12/2023: # 1 Updated Document with wet
                       signature) (kas). (Entered: 05/12/2023)
    05/12/2023   278   RESPONSE by Defendants Sprint/Nextel Wireless Telephone Company, Virgin
                       Mobile USA/Sprint PCS re 273 Motion in Limine (Heidrick, Jay) (Entered:
                       05/12/2023)
    05/12/2023   281   OBJECTIONS by Plaintiff Albert Dewayne Banks: Re 271 Motion in Limine (msb)
                       (Entered: 05/15/2023)
    05/15/2023   279   ORDER denying 275 MOTION for Reconsideration re 270 Order. Signed by District
                       Judge Holly L. Teeter on 5/15/2023. Mailed to pro se party Albert Banks by regular
                       mail. (md) (Entered: 05/15/2023)
    05/15/2023   280   OBJECTION(S) to 277 Designation of Depositions of Plaintiff by Sprint/Nextel
                       Wireless Telephone Company, Virgin Mobile USA/Sprint PCS. (Heidrick, Jay)
                       (Entered: 05/15/2023)
    05/17/2023   282   PROPOSED JURY INSTRUCTIONS by Sprint/Nextel Wireless Telephone
                       Company, Virgin Mobile USA/Sprint PCS.(Heidrick, Jay) (Entered: 05/17/2023)
    05/17/2023   283   NOTICE of Jury Instruction Conference by Sprint/Nextel Wireless Telephone
                       Company, Virgin Mobile USA/Sprint PCS re 282 Proposed Jury Instructions
                       (Heidrick, Jay) (Entered: 05/17/2023)
    05/17/2023   284   PROPOSED VOIR DIRE by Sprint/Nextel Wireless Telephone Company, Virgin
                       Mobile USA/Sprint PCS.(Heidrick, Jay) (Entered: 05/17/2023)
    05/19/2023   285   MINUTE ENTRY for proceedings held before District Judge Holly L. Teeter: IN
                       LIMINE CONFERENCE held on 5/19/2023. The Court grants Defendants' 271
                       Motion in Limine. The Court denies Plaintiff's 273 Motion in Limine. Additional
                       deadlines are set forth in the minute sheet. (Court Reporter Kim Greiner.) (md)
                       (Entered: 05/19/2023)



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    05/19/2023         NOTICE re Pro Se Mailing: Document 285 MINUTE ENTRY for IN LIMINE
                       CONFERENCE and ORDER denying Plaintiff's 273 Motion in Limine mailed to pro
                       se Plaintiff Albert Dewayne Banks, 750 Shannon Drive, Romeoville, IL 60446 on
                       5/19/2023 by regular mail. (jsh) Modified docket text on 5/19/2023. (jsh) (Entered:
                       05/19/2023)
    05/25/2023   286   ORDER granting as to Topic #1 271 MOTION in Limine and denying as to Topic #1
                       273 MOTION in Limine. Follows oral order of 5/19/23. Signed by District Judge
                       Holly L. Teeter on 5/25/2023. Mailed to pro se party Albert Dewayne Banks by
                       regular mail. (kas) (Entered: 05/25/2023)
    05/29/2023   287   RESPONSE (titled: Plaintiff's Objection to the District Court's Motion in Limine
                       Order and Request for Interlocutory Appeal Pursuant to 28 USC 1292(b) and or the
                       Collateral Order Doctrine) by Plaintiff Albert Dewayne Banks re 286 Order. **This
                       is a two−part filing made in error. See DE 288 for Appeal portion of this entry.**
                       (jal) (Entered: 05/30/2023)
    05/29/2023   288   NOTICE OF INTERLOCUTORY APPEAL (titled: Plaintiff's Objection to the
                       District Court's Motion in Limine Order and Request for Interlocutory Appeal
                       Pursuant to 28 USC 1292(b) and or the Collateral Order Doctrine) as to 246 Order,
                       286 Order, 259 Order, by Plaintiff Albert Dewayne Banks. **This is a duplicate of
                       DE 287 and is being made for administrative purposes only.** (jal) (Entered:
                       05/30/2023)
    05/30/2023   289   ORDER EXPEDITING RESPONSE. Before the Court is Plaintiff's 287 Response to
                       Order and 288 Notice of Interlocutory Appeal. Defendant Sprint/Nextel's response is
                       due by noon on May 31, 2023. Signed by District Judge Holly L. Teeter on
                       5/30/2023.Mailed to pro se party Albert Banks by regular mail. (This is a TEXT
                       ENTRY ONLY. There is no.pdf document associated with this entry.)(md) (Entered:
                       05/30/2023)
    05/31/2023   290   NOTICE OF VOLUNTARY DISMISSAL by Sprint/Nextel Wireless Telephone
                       Company, Virgin Mobile USA/Sprint PCS (Heidrick, Jay) (Entered: 05/31/2023)
    05/31/2023         APPEAL FEE STATUS: filing fee not paid re: Notice of Interlocutory Appeal by
                       Plaintiff Albert Dewayne Banks. (THIS IS A TEXT ONLY ENTRY−NO
                       DOCUMENT IS ASSOCIATED WITH THIS TRANSACTION.) (smnd) (Entered:
                       05/31/2023)
    05/31/2023   291   PRELIMINARY RECORD ON APPEAL transmitted to 10CCA re 288 Notice of
                       Interlocutory Appeal. (Attachments: # 1 Preliminary Packet) (smnd) (Entered:
                       05/31/2023)
    05/31/2023   292   APPEAL DOCKETED in 10CCA on May 31, 2023, and assigned Appeal No.
                       23−3097 re 288 Notice of Interlocutory Appeal filed by Albert Dewayne Banks.
                       (smnd) (Entered: 05/31/2023)
    06/01/2023   293   ORDER. The parties have notified the Court that they have reached a settlement on
                       all remaining claims (See Doc. 290). In accordance with Rule 41, the Court grants the
                       motion and dismisses this case with prejudice. This case is closed. Signed by District
                       Judge Holly L. Teeter on 6/1/2023. Mailed to pro se party Albert Banks by regular
                       mail. (This is a TEXT ENTRY ONLY. There is no.pdf document associated with this
                       entry.)(md) (Entered: 06/01/2023)
    06/01/2023         Civil Case termed.(msb) (Entered: 06/01/2023)


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    06/01/2023         NOTICE of Pro Se Mailing. Document 293 Order mailed to Albert Banks on
                       6/1/2023 by regular mail. (msb) (Entered: 06/02/2023)
    06/05/2023   294   NOTICE OF APPEAL as to 208 Memorandum and Order and 293 Order by Plaintiff
                       Albert Dewayne Banks. (smnd) (Entered: 06/05/2023)
    06/05/2023         APPEAL FEE STATUS: filing fee not paid re: Notice of Appeal 294 on behalf of
                       Plaintiff Albert Dewayne Banks. (THIS IS A TEXT ONLY ENTRY−NO
                       DOCUMENT IS ASSOCIATED WITH THIS TRANSACTION.) (smnd) (Entered:
                       06/05/2023)
    06/05/2023   295   PRELIMINARY RECORD ON APPEAL transmitted to 10CCA re 294 Notice of
                       Appeal. (Attachments: # 1 Preliminary Packet) (smnd) (Entered: 06/05/2023)
    06/05/2023   296   ENTRY OF APPEARANCE by Shon D. Qualseth on behalf of Glen F. Virden.
                       (Qualseth, Shon) (Entered: 06/05/2023)
    06/05/2023   297   APPEAL DOCKETED in 10CCA on June 5, 2023, and assigned Appeal No.
                       23−3102 re 294 Notice of Appeal filed by Albert Dewayne Banks. (smnd) (Entered:
                       06/05/2023)
    06/05/2023         (Court only) ***Staff notes: Email sent to Anthony Thompson (pro se plaintiff in
                       associated case 15−3117) at acthompson8254@gmail.com re pleadings submitted on
                       behalf of pro se plaintiff Albert Banks. Thompson had emailed unsigned pleading
                       (Notice of Appeal) directly to HLT chambers on behalf of Mr. Banks. Clerks office
                       advised Thompson that he is not attorney or counsel of record in instant case and may
                       not submit pleadings on behalf of pro se plaintiff Albert Banks without authorization.
                       (jsh) (Entered: 06/06/2023)
    06/26/2023   298   APPEAL MANDATE from 10CCA: dismissing interlocutory appeal for lack of
                       prosecution. (Appeal No. 23−3097) (Attachments: # 1 Transmittal Letter) (smnd)
                       (Entered: 06/26/2023)
    07/03/2023         APPEAL FEE PAID in the amount of $505 Receipt No. 500000748 re Notice of
                       Appeal − Final Judgment 294 filed by Albert Dewayne Banks. (THIS IS A TEXT
                       ONLY ENTRY−NO DOCUMENT IS ASSOCIATED WITH THIS
                       TRANSACTION.) (nao) (Entered: 07/03/2023)




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                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF KANSAS




                                                                         Case No. 15-3093-SAC-DJW

      ALBERT DEWAYNE BANKS
                    Plaintiff,




       v.


       GLEN VIRDEN [ KB.I. SPECIAL AGENT],
                                                             ],
       STEV EN OPAT [ FORM ER GEARY COUNTY DISTRICT ATTORNEY
       TIMO THY BROW N [FORMER CHIEF OF J.C.P.D.],
       DAVID PLATT [ FORM ER GEARY COUNTY DISTRICT JUDGE],
       SPRINT/NEXTEL, VIRGIN MOBI LE USN SPRINT PCS,
       [TELEPHONE SERVICE PROVIDER]
                              Defendants,



                              [MOTION TO AMEND COMPLAINT AND REPLY TO
                                   DEFENDANTS MOTION TO DISMISS]


                                                                                   Defendant's David Platt,
                COMES NOW, Plaintiff Albert Banks for his cause of action against
                                                                                         PCS.
                Glen Virden, Steven Opat, and Sprint/ Nexte l, Virgin Mobile USA/ Sprint

                                                      [PARTIES]
       ( 1)    Plaintiff Albert Banks is an individ ual who was wiretapped by the defendants in violation of
       federal and state wiretap laws.
                                                                                  gations) is being sued   in
        (2)    Defendants Glen Virden ( Special Agent of Kansas Bureau of Investi
        both his individual and official capacities.

               Defendant Steven Opat ( Former Geary County District Attorn   ey) is being sued in both his
        (3)
        individual and official capacities.

                Defendant Tiinothy Brown ( Former Chief of J.C.P.D.) is being   sued in both his individual and
        (4)
        official capacities.



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              Defendant David Platt ( Former Geary County District Judge) is being sued in both           his
       (5)
       individual and official capacities.

              Defendants Sprint/Nextel, Virgin Mobile USA/ Sprint PCS is a ( Wireless Telephon            e Service
       (6)
       Provider)

                                       [JURISDICTION AND VENUE]

       (7)    Jurisdiction is proper in this Court pursuant to 42 U.S.C. 1983 because the defendants acting
       under the color of state law violated rights granted under federal law.
                                                                                                             court
       (8)     Jurisdiction is also proper in this Court pursuant to 28 U.S.C. 1332 and 1367 because this
                                                                                                      ion from  part
       has supplemental jurisdiction over the state law claims plus this court has original jurisdict
                                                                                                  the amount in
       of the same case or controversy under Article III of the United States Constitution. Also
                                                                       value of 5,000,00 0.00 exclusiv e of interest
       the controversy of the plaintiff is believed to exceed the sum
       and cost.
                                                                                                             events
       (9)     Venue is proper in this comt pursuant to 28 U.S.C. 1391 because a substantial pait of the
                                                                               defendan ts· either transact business
       or omissions giving rise to these claims occurred in this District, and
       in this District (Sprint Defendants) or employed by entities which reside within this District.

                                        [ FACTUAL ALLEGATIONS]

                                                                                                             tions of
       (10) On March 5, 2013 defendant Judge Platt entered an order of authorization for intercep
                                                                     the  intercep tions may   take  place in any
       plaintiff wire communications. Judge Platt authorized that
                                                                                         place  at this time defendan  t
       jurisdiction within the United States. Based on the State and Federal law in
                                                                                                             wiretap
       Platt !mew or had reason to know that he completely lacked jurisdiction to issue that specific
                                                                                                           e
       order KSA 22- 2516 (3) and 18 U.S. C, 2518 (3) only allows for a district judge to authoriz
                                                                                   d  judge sits. Based   exclusiv ely
       interceptions to take place within the jurisdiction in which the respecte
                                                                                                      explicitl y held
       on its substance the order is invalid on the face of the document. The federal comt has
        that judge Platt lacked jurisdiction to issue interceptions outside of his judicial district.
                                                                                                             ately 50
       (11) On March 6, 2013 defendants Glen Virden, Steven Opat, Timothy Brown and approxim
                                                                                                     the time of the
       of their subordinate officers all endorsed their signatures on the invalid wiretap order, At
       defendants conducts Steven Opat, Geary County District Attorney, Glen Virden lead K.B
                                                                                                       .I. Agent for
                                                                                   Police Departm  ent   all had final
       the region of Manhattan and Timothy Brown Chief of the Junction City
                                                                                                         ed federal
       decsion making authority within their respected departments. Based on the clearly establish
                                                                                                        to know that
       and state wiretap laws which were in place on this date, all defendants lmew or had reason
                                                                              2516  (3), and 18  U.S.C   2518 (3).
       the order they were endorsing was invalid on its face. See. KSA22-
                                                                                            of federal  wiretap  law.
       Our Circuit has held that a violation of state wiretap law is explicitly a violation
       See. United States v. McNulty.
                                                                                                      district.
       (12) Sprint is a wireless telephone provider who regularly conducts business within this
                                                                                                        did not
       Spruit received a wiretap order from law enforcement on March 8, 2013. The wiretap order
                                                                                                          under
       authorize Sprint to " disclose" electronic communications. Sprint violated the plaintiffs rights
                                                                               private "text message  s" to the
       federal and state wiretapping statutes when it disclosed the plaintiffs
                                                                                              limited to private
       other defendants without a court order. The disclosed interceptions include but not
                                                                                                          the
       "text" and "pictures" messages to family menbers which were exchanged from a place within
                                                                   imprope  r executio n of the warrant.  Our
       privacy of plaintiffs home Sprint's conduct resulted in the


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       circuit does not allow for a good faith reliance based on an improper execution of a warrant. The federal
       law has a remedy for damages for this type of violation pursuant 18 U.S.C 2520.

       (13) In April of2013 Verizon informed the defendants Steven Opat, Glen Virden, and Timothy
       Brown personally or through officials from the defendants agencies that the order it received failed to
       authorize interceptions of "text messages". Verizon informed the defendants that if they wanted them to
       "disclose" Otis Ponds "text messages" they would have to send a specific request for interception of
       "electronic communications". The defendants supplemented the order and requested interceptions of
       electronic communications. Verizon then complied with the warrant and disclosed to the defendants
       Otis Ponds text messages.

       (14) Once Verizon explained to the defendants the different types of conununications to the
       defendants Steven Opat, Glen Virden and Timothy Brown all had knowledge that all of the text
       messages they received from Sprint/Nextel beginning on March 8, 2013 were illegal under federal and
       state wiretapping laws. Even with this knowledge in hand at some time bettween May 16, 2013 and
       June 3, 2013 the defendan ts" intentionally" and "willfully" under the supervision of Glen Virden, and
       Timothy Brown the defendants disclosed these "text messages " to the United States Attorney's Office.
       Subesquent to that the United States Attorney's Office disclosed "electronic communications" to the
       United States Probation Office.The defendants did this even though they knew this information to be in
       violation of the federal and state wiretap law. This is sufficient to show an unofficial policy or pratice
       by the defendants to violate the clearly established federal law.

       (15) Defedants Steven Opat, and Glen Virden,Timothy Brown intentionally "used" the illegal
       information in order to further their investigation. The defendants listened to and viewed hundreds
       probably closer to thousands of plaintiffs calls and text messages while plaintiff was in privacy of his
       own home speaking to family and friends. The defendats then used this private information in order to
       further there own personal agenda. Plaintiffs home was located in Manhattan, Kansas which is Riley
       County and outside of the jurisdiction of any valid interception according Crabtree's suppression
       order.To "use" information which was gathered in violation of the federal and state wiretap law results
       in liability for defendants Steven Opat, Glen Virden, and Timothy Brown under the federal and state
       wiretap statutes.

       ( 16)    The district court for the District of Kansas explicitly held that Judge Platt lacked Jurisdiction
       to issue interception outside of his Judicial district. This resulted in the suppression of nearly 60,000
       interceptions from the federal trial. According to the federal court Judge Platt acted in the complete
       absence of all jurisdiction when he issues a wiretap order which allowed interceptions to take place in
       any jurisdiction in the United States.

       ( 17) This complaint is only intended to allege that the defendants are liable for the illegal
       communications from the Federal Comts suppression order.

       (18) Plaintiffs direct appeal only answered whether the third party doctrine to the governments
       gathering of cell site location information without a valid wa1rnnt. Whether the District Court
       suppression remedy expanded far enough was never discussed by the Tenth Circuit Appeals Courts on
       plaintiffs direct appeals. See United States v. Bartles -Fed Appx. - (10th cir. 2017).

       (19) On May 9, 2013 Judge Platt denied plaintiff counsel even though he was being held under a
       felony arrest warrant. Defendant Platt remanded the plaintiff into the custody of the Sheriff department
       under excessive bond. On May 16, 2013 plaintiff appeared before Judge Platt again without counsel for



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       a status hearing. Plaintiff never found out that his phone was tapped until June 3, 2013 when he
       appeared in federal court and received legal representation. Plaintff still never seen the actual wiretap
       order in question until months later when his counsel brought the discovery up for him to view
       personally. It was at this point when the plaintiff found out about the existence of the defective wiretap
       warrant.

       (20) Judge Crabtree held the plaintiff has a right to privacy in all his text messages. Text messages
       are considered "papers" and or "effects" protected under the fourth amendment of the consitution.

                                              [COUNT I]
                                 [Violation of Kansas Wiretap Statute]
       (21) The Kansas Wiretap Statute prohibits the interception, disclosure or use of any wire, oral, or
       electronic communication.

       (22) Defendants have violated the plaintiff rights under the Kansas Wiretap Statute. The plaintiff is
       directly affected.

       (23) Steven Opat, Glen Virden, Timothy Brown violated the Kansas Wiretap Act when they
       intercepted, disclosed used or procured others to intercept,disclose, or use plaintiffs private
       communications.

       (24) Plaintiff is entitled to the rights and protections and benefits provided under the Kansas Wiretap
       Act. See. KSA 22- 2502, et seq.

       ( 25)    Plaintiff is an aggrieved parties within the meaning of the Kansas Wiretap Statute.

       (26) Upon information from the discovery in the federal case defendants have "disclosed" and "use"
       private information which belonged to the plaintiff. The defendants used this information in order to
       assist them in there investigation.

       (27) Pursuant to the Kansas Wiretap Act, plaintiff is entitled to damages, but not Jess than the
       liquidated damages computed of one hundred dollars a day of each violation or ten thousand dollars
       whichever is greater.

       (28)     Plaintiff is further entitled to punitive damages

       (29) Defendants Steven Opat, Glen Virden, and Timothy Brown are liable pursuant to KSA 22- 2518
       for plaintiff's attorney's fees and cost/ expenese incurred in this action.

       (30) Plaintiff was subject to the policy and pratice of defendants Steven Opat, Glen Virden, and
       Timothy Brown which caused his private information to be exposed to the public to the detriment of his
       right to life, liberty, and pursuit of happiness.

                                                       [COUNT II]
                                           [Violation Federal Wiretap Statute].
                                                     of

       (32)     The Federal Wiretap Act prohibts intercepting, disclosing, or using the contents of any wire,
       oral, or electronic communication.




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                                                                                                    is
      (33) Defendants have violated Plaintiff's rights under the Federal Wiretap Act. The plaintiff
      directly affected.

      (34)     Steven Opat, Glen Virden, and Timothy Brown, David Platt and Sprint defendants acted
                                                                                                 to third
      unlawfully by intercepting private communications and disclosing those communications
                                                                                                          , and
      parties including but not limited to the United States Attorney's Office, law enforcement officials
      the United States Probation Office.
                                                                                                          the
      (35) Defendants Steven Opat, Glen Virden, Timothy Brown and Sprint defendants violated
                                                                         use or procure to  intercept , disclose, or
      federal wiretap act when they - Intentionally intercept, disclose,
                                                                                           rs to disclose,  to any
      use wire, oral or electronic communications or Intentionally discloses, or endeavo
                                                                                                           reason to
      other person the contents of any wire, oral, or electronic communication; knowingly or having
                                                                                                   ic
      lmow that the information was obtained through the interception of wire, oral or electron
      communications in violation of 18 U,S.C. 2511.
                                                                                                     Wiretap
      (36) The plaintiff is entitled to rights, benefits, and protections provided under the Federal
      Act. See. 18 U.S.C. 2511 et. Seq.
                                                                                             defendants
       (3 7) Defendants Steven Opat, Glen Virden , and Timothy Brown, David Platt and Sprint
       are "persons" within the meaning of 18 U.S.C 2510 (6).

       (3 8)   Plaintiff is an "aggrieved party" within the meaning of federal wiretap statute.
                                                                                                   the actual
       (39) Pursuant to federal wiretap statute plaintiff is entitled to damages but not less than
                                                                                               violation . Or
       damages suffered by the plaintiff any profits made by the defendants as a result of the
                                                                                                         dollars
       liquidated damages computed of one hundred dollars per each day of violation or ten thousand
       which ever is greater.

       (40)    Plaintiff is further entitled to punitive damages.
                                                                                                            incurred
       (41) Defendans are liable pursuant to 18 U.S.C. 2520 for plaintiffs fees and cost/ expenses
       in this action.

                                                      [COUNT III]
                                              [Violation of Fourth Amendment]

       (42)    A violation of the state and federal wiretap statute necessarily is a violation of the fourth
                                                                                                       fourth
       amendment. The wiretap statutes at issue were specifically codified in order to protect the
                                                                                                  are sufficien t to
       amendment rights of the plaintiff. A violation of the wiretap statutes in question today
       established cause of action under the fourth amendment as well.

                                                      [COUNT IV]
                                       [ Conspiracy to Commit the Substantive Counts]

               Defendants Steven Opat and Glen Virden knowingly conspired with one another            to commit the
       (43)
       substantive count in this complaint.


       (44)     Defendants lmowingly or had reason to know that the interception which they endorsed must



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       only take place within thejurusdictio n of the court in which the authorizing judge sits. Private and
       Public citizens are presumed to know and abide by all laws which are available to the public.


       (45) In April of 2013 Verizon Wireless informed the defendants and their subordinate officers that the
       warrant did not atithorize the interceptions of "text messages". With this lmowledge the defendants still
       disclosed or procured others to disclose the text messages which defendants Sprint illegally disclosed to
       them from the March order. This is sufficient to established the conspiratorial intent between Steven
       Opat and Glen Virden.




                                             [PRAYER FOR RELIEF]

               Wherefore plaintiff prays defendants Glen Virden, Steven Opat, Timothy Brown and David Platt
       and Sprint defendants are held liable for damages under the respective federal and state Wiretap Act.
       The defendants should be order to pay no les the ten millon dollars in compensatory and punitive
       damages. Defendants also shall be held liable for statutory damages under 18 U.S.C 2511 and 2520.
       Finally plaintiff prays for the request for relief above, for cost and expenses for bringing this suit and
       any further relief the court deems necessary.




                                                                           Respectfully Submitted,


                                                                   Isl     Albert D. Banks




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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS




                                                                     Case No. 15-3093-SAC-DJW

  ALBERT DEWAYNE BANKS
                Plaintiff,




  v.


  GLEN VIRDEN [ IC.BJ. SPECIAL AGENT],
  STEVEN OPAT [ FORMER GEARY COUNTY DISTRICT ATTORNEY],
  TIMOTHY BROWN [FORMER CHIEF OF J.C.P.D.],
  DAVID PLATT [ FORMER GEARY COUNTY DISTRICT JUDGE],
  SPRINT/NEXTEL, VIRGIN MOBILE USA/ SPRINT PCS,
  [TELEPHONE SERVICE PROVIDER]
                          Defendants,



                        (MOTION TO AMEND COMPLAINT AND REPLY TO
                             DEFENDANTS MOTION TO DISMISS]


         COMES NOW, Plaintiff Albert Banks for his cause of action against Defendant's David Platt,
         Glen Virden, Steven Opat, and Sprint/ Nextel , Virgin Mobile USA/ Sprint PCS.

                                                [PARTIES]
  (1)     Plaintiff Albert Banks is an individual who was wiretapped by the defendants in violation of
  federal and state wiretap laws.

  (2)    Defendants Glen Virden ( Special Agent of Kansas Bureau ofinvestigations) is being sued in
  both his individual and official capacities.

 (3)    Defendant Steven Opat ( Former Geary County District Attorney) is being sued in both his
 individual and official capacities.

 (4)     Defendant Tii11othy Brnwn ( Former Chief of J.C.P.D.) is being sued in both his individual and
 official capacities.




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   (5)    Defendant David Platt ( Former Geary County District Judge) is being sued in both his
   individual and official capacities.

  (6)    Defendants Sprint/Nextel, Virgin Mobile USA/ Sprint PCS is a ( Wireless Telephone Service
  Provider)

                                 [JURISDICTION AND VENUE]

  (7)    Jurisdiction is proper in this Court pursuant to 42 U.S.C, 1983 because the defendants acting
  under the color of state law violated rights granted under federal law.

  (8)     Jurisdiction is also proper in this CoUli pursuant to 28 U.S.C. 1332 and 1367 because this court
  has supplemental jurisdiction over the state law claims plus this court has original jurisdiction from part
  of the same case or controversy under Article III of the United States Constitution. Also the amount in
  the controversy of the plaintiff is believed to exceed the sum value of 5,000,000.00 exclusive of interest
  and cost.

  (9)     Venue is proper in this court pursuant to 28 U.S.C. 1391 because a substantial part of the events
  or omissions giving rise to these claims occurred in this District, and defendants 'either h·ansact business
  in this District (Sprint Defendants) or employed by entities which reside within this District.

                                  [ FACTUAL ALLEGATIONS]

  (10) On March 5, 2013 defendant Judge Platt entered an order of authorization for interceptions of
  plaintiff wire communications. Judge Platt authorized that the interceptions may take place in any
  jurisdiction within the United States. Based on the State and Federal law in place at this time defendant
  Platt lmew or had reason to know that he completely lacked jurisdiction to issue that specific wiretap
  order KSA 22- 2516 (3) and 18 U.S.C. 2518 (3) only allows for a district judge to authorize
  interceptions to take place within the jurisdiction in which the respected judge sits. Based exclusively
  on its substance the order is invalid on the face of the document. The federal court has explicitly held
  thatjudge Platt lacked jurisdiction to issue interceptions outside of his judicial district. ·

  (11) On March 6, 2013 defendants Glen Virden, Steven Opat, Timothy Brown and approximately 50
  of their subordinate officers all endorsed their signatures on the invalid wiretap order, At the time of the
  defendants conducts Steven Opat, Geary County District Attorney, Glen Virden lead K.B.I. Agent for
  the region of Manhattan and Timothy Brown Chief of the Junction City Police Department all had final
  decsion making authority within their respected departments. Based on the clearly established federal
  and state wiretap laws which were in place on this date, all defendants knew or had reason to know that
  the order they were endorsing was invalid on its face, See. KSA 22-2516 (3), and 18 U.S.C 2518 (3).
  Our Circuit has held that a violation of state wiretap law is explicitly a violation of federal wiretap law.
  See. United States v, McNulty.

 (12) Sprint is a wireless telephone provider who regularly conducts business within this district.
 Sprnit received a wiretap order from law enforcement on March 8, 2013. The wiretap order did not
 authorize Sprint to " disclose" electronic communications. Sprint violated the plaintiffs rights under
 federal and state wiretapping statutes when it disclosed the plaintiffs private "text messages" to the
 other defendants without a court order. The disclosed interceptions include but not limited to private
 "text" and "pictures" messages to family menbers which were exchanged from a place within the
 privacy of plaintiffs home Sprint's conduct resulted in the improper execution of the warrant. Our




                                                                                                                 44
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  circuit does not allow for a good faith reliance based on an improper execution of a warrant. The federal
  law has a remedy for damages for this type of violation pursuant 18 U.S.C 2520.

  (13) In April of 2013 Verizon informed the defendants Steven Opat, Glen Virden, and Timothy
  Brown personally or through officials from the defendants agencies that the order it received failed to
  authorize interceptions of "text messages". Verizon informed the defendants that if they wanted them to
  "disclose" Otis Ponds "text messages" they would have to send a specific request for interception of
  "electronic communications", The defendants supplemented the order and requested interceptions of
  electronic communications. Verizon then complied with the warrant and disclosed to the defendants
  Otis Ponds text messages.

  (14) Once Verizon explained to the defendants the different types ofconununications to the
  defendants Steven Opat, Glen Virden and Timothy Brown all had knowledge that all of the text
  messages they received from Sprint/Nextel beginning on March 8, 2013 were illegal under federal and
  state wiretapping laws, Even with this knowledge in hand at some time bettween May 16, 2013 and
  June 3, 2013 the defendants "intentionallf' and "willfully" under the supervision of Glen Virden, and
  Timothy Brown the defendants disclosed these "text messages" to the United States Attorney's Office.
  Subesquent to that the United States Attorney's Office disclosed "electronic communications" to the
  United States Probation Office.The defendants did this even though they knew this information to be in
  violation of the federal and state wiretap law. This is sufficient to show an unofficial policy or pratice
  by the defendants to violate the clearly established federal law.

  (15) Defedants Steven Opat, and Glen Virden,Timothy Brown intentionally "used" the illegal
  information in order to further their investigation. The defendants listened to and viewed hundreds
  probably closer to thousands of plaintiffs calls and text messages while plaintiff was in privacy of his
  own home speaking to family and friends. The defendats then used this private information in order to
  further there own personal agenda, Plaintiffs home was located in Manhattan, Kansas which is Riley
  County and outside of the jurisdiction of any valid interception according Crabtree's suppression
  order.To "use" information which was gathered in violation of the federal and state wiretap law results
  in liability for defendants Steven Opat, Glen Virden, and Timothy Brown under the federal and state
  wiretap statutes.

  (16)     The district court for the District of Kansas explicitly held that Judge Platt lacked Jurisdiction
  to issue interception outside of his Judicial district. This resulted in the suppression of nearly 60,000
  interceptions from the federal trial. According to the federal court Judge Platt acted in the complete
  absence of all jurisdiction when he issues a wiretap order which allowed interceptions to take place in
  any jurisdiction in the United States,

  (17) This complaint is only intended to allege that the defendants are liable for the illegal
  communications from the Federal Comts suppression order.

  ( 18) Plaintiff's direct appeal only answered whether the third party doctrine to the governments
  gathering of cell site location information without a valid wan-ant. Whether the District Court
  suppression remedy expanded far enough was never discussed by the Tenth Circuit Appeals Courts on
  plaintiffs direct appeals. See United States v. Baitl<s -Fed Appx. - (10th cir. 2017).

  (19) On May 9, 2013 Judge Platt denied plaintiff counsel even though he was being held under a
  felony arrest warrant. Defendant Platt remanded the plaintiff into the custody of the Sheriff depaitment
  under excessive bond. On May 16, 2013 plaintiff appeared before Judge Platt again without counsel for




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  a status hearing. Plaintiff never found out that his phone was tapped until June 3, 2013 when he
  appeared in federal court and received legal representation. Plaintff still never seen the actual wiretap
  order in question until months later when his counsel brought the discovery up for him to view
  personally. It was at this point when the plaintiff found out about the existence of the defective wiretap
  warrant.

  (20) Judge Crabtree held the plaintiff has a right to privacy in all his text messages. Text messages
  are considered "papers" and or "effects" protected under the fourth amendment of the consitution.

                                         [COUNT I]
                            [Violation of Kansas Wiretap Statute]
  (21) The Kansas Wiretap Statute prohibits the interception, disclosure or use of any wire, oral, or
  electronic communication.

  (22) Defendants have violated the plaintiff rights under the Kansas Wiretap Statute. The plaintiff is
  directly affected.

  (23) Steven Opat, Glen Virden, Timothy Brown violated the Kansas Wiretap Act when they
  intercepted, disclosed used or procured others to intercept,disclose, or use plaintiffs private
  communications.

  (24) Plaintiff is entitled to the rights and protections and benefits provided under the Kansas Wiretap
  Act. See. KSA 22- 2502, et seq.

  ( 25)   Plaintiff is an aggrieved parties within the meaning of the Kansas Wiretap Statute.

  (26) Upon information from the discovery in the federal case defendants have "disclosed'' and "use"
  private information which belonged to the plaintiff. The defendants used this information in order to
  assist them in there investigation.

  (27) Pursuant to the Kansas Wiretap Act, plaintiff is entitled to damages, but not less than the
  liquidated damages computed of one hundred dollars a day of each violation or ten thousand dollars
  whichever is greater.

  (28)    Plaintiff is further entitled to punitive damages

  (29) Defendants Steven Opat, Glen Virden, and Timothy Brown are liable pursuant to KSA 22- 2518
  for plaintiff's attorney's fees and cost/ expenese incurred in this action,

  (30) Plaintiff was subject to the policy and pratice of defendm1ts Steven Opat, Glen Virden, and
  Timotl1y Brown which caused his private information to be exposed to the public to the detriment of his
  right to life, liberty, and pursuit of happiness.

                                                  [COUNT II]
                                     [Violation of Federal Wiretap Statute].

  (32)     The Federal Wiretap Act prohibts intercepting, disclosing, or using the contents of any wire,
  oral, or electronic communication.




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  (33) Defendants have violated Plaintiffs rights under the Federal Wiretap Act. The plaintiff ls
  directly affected.

  (34)     Steven Opat, Glen Virden, and Timothy Brown, David Platt and Sprint defendants acted
  unlawfully by intercepting private communications and disclosing those communications to third
  parties including but not limited to the United States Attorney's Office, law enforcement officials, and
  the United States Probation Office,

  (35) Defendants Steven Opat, Glen Virden, Timothy Brown and Sprint defendants violated the
  federal wiretap act when they - Intentionally intercept, disclose, use or procure to intercept, disclose, or
  use wire, oral or electronic communications or Intentionally discloses, or endeavors to disclose, to any
  other person the contents of any wire, oral, or electronic communication; knowingly or having reason to
  know that the information was obtained through the interception of wire, oral or electronic
  communications in violation of 18 U,S.C. 2511.

  (36) The plaintiff is entitled to rights, benefits, and protections provided under the Federal Wiretap
  Act. See. 18 U.S.C. 2511 et. Seq.

  (37) Defendants Steven Opat, Glen Virden , and Timothy Brown, David Platt and Sprint defendants
  are "persons" within the meaning of 18 U.S.C 2510 (6).

  (38)    Plaintiff is an «aggrieved party" within the meaning of federal wiretap statute,

  (39) Pursuant to federal wiretap statute plaintiff is entitled to damages but not less than the actual
  damages suffered by the plaintiff any profits made by the defendants as a result of the violation. Or
  liquidated damages computed of one hundred dollars per each day of violation or ten thousand dollars
  which ever is greater.

  (40)   Plaintiff is further entitled to punitive damages.

  (41) Defendans are liable pursuant to 18 U ,S .C. 2520 for plaintiff's fees and cost I expenses incurred
  in this action.

                                                [COUNT III]
                                        [Violation of Fourth Amendment]

  (42)    A violation of the state and federal wiretap statute necessarily is a violation of the fomih
  amendment. The wiretap statutes at issue were specifically codified in order to protect the fomih
  amendment rights of the plaintiff. A violation of the wiretap statutes in question today are sufficient to
  established cause of action under the fomih amendment as well.

                                               [COUNT IV]
                                [ Conspiracy to Commit the Substantive Counts]

 (43)    Defendants Steven Opat and Glen Virden knowingly conspired with one another to commit the
 substantive count in this complaint.


 (44)    Defendants knowingly or had reason to know that the interception which they endorsed must




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  only take place within the jurusdiction of the court in which the authorizing judge sits. Private and
  Public citizens are presumed to know and abide by all laws which are available to the public.


  (1il In April of 2013 Verizon Wireless informed the defendants and their subordinate officers that the
  warrant did not authorize the interceptions of "text messages". With this knowledge the defendants still
  disclosed or procured others to disclose the text messages which defendants Sprint illegally disclosed to
  them from the March order. This is sufficient to established the conspiratorial intent between Steven
  Opat and Glen Virden.




                                        [PRAYER FOR RELIEF]

          Wherefore plaintiff prays defendants Glen Virden, Steven Opat, Timothy Brown and David Platt
  and Sprint defendants are held liable for damages under the respective federal and state Wiretap Act.
  The defendants should be order to pay no les the ten millon dollars in compensatory and punitive
  damages. Defendants also shall be held liable for statutory damages under 18 U.S.C 2511 and 2520.
  Finally plaintiff prays for the request for relief above, for cost and expenses for bringing this suit and
  any further relief the court deems necessary.




                                                                     Respectfully Submitted,


                                                              Isl    Albert D. Banks




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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS

   Albert DeWayne Banks,

                             Plaintiff,

  v.                                            Case No. 5:15-CV-3093

   Steven L. Opat, et al.,

                             Defendants.

   Anthony Thompson,

                             Plaintiff,

  v.                                            Case No. 5:15-CV-03117

   David L. Platt, et al.,

                             Defendants.


                        DEFENDANT GLEN VIRDEN’S
                      MOTION FOR SUMMARY JUDGMENT

         Pursuant to Fed. R. Civ. P. 56, Defendant Glen Virden moves the Court for

  summary judgment concerning the claims against him by Plaintiffs Albert Banks

  and Anthony Thomas.

         Under the uncontroverted material facts, Defendant Virden is entitled to

  summary judgment against the plaintiffs’ claims. First, the claims are time barred

  under the applicable statutes of limitation. Second, there was no violation of the

  federal wiretap statutes as a matter of law. Third, Defendant Virden’s good faith

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  reliance on court orders is a complete defense to both the state and federal

  wiretap claims.

        The Memorandum in Support of Defendant Virden’s Motion for Summary

  Judgment, which was filed contemporaneously with this motion, is incorporated

  by reference.

                                         Respectfully submitted,

                                         OFFICE OF ATTORNEY GENERAL
                                         DEREK SCHMIDT

                                         s/ Arthur S. Chalmers
                                         Arthur S. Chalmers, KS S. Ct. #11088
                                         Assistant Attorney General
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                                         Topeka, Kansas 66612
                                         Ph: (785) 368-8426
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                                         Email: art.chalmers@ag.ks.gov
                                         Attorneys for Defendant Virden

                             CERTIFICATE OF SERVICE

        I hereby certify that on this 10th day of September 2020, I electronically

  filed the above and foregoing with the Clerk of the Court using the CM/ECF

  system, which sent electronic notification of such filing to all those individuals

  currently electronically registered with the Court.

                                         s/ Arthur S. Chalmers




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                                   IN THE UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF KANSAS

  ALBERT DEWAYNE BANKS,                                     )
                                                            )
                     Plaintiff,                             )   Case No. 15-3093-HLT-GEB
                                                            )
  v.                                                        )
                                                            )
  STEVEN L. OPAT, et al.,                                   )
                                                            )
                     Defendants.                            )
                                                            )
  ----------------------------------------------------------)
                                                            )
  ANTHONY THOMPSON,                                         )
                                                            )
                     Plaintiff,                             )
                                                            )
  v.                                                        )   Case No. 15-3117-HLT-GEB
                                                            )
  DAVID L. PLATT, et al.,                                   )
                                                            )
                     Defendants.                            )

                      STEVEN OPAT’S MOTION FOR SUMMARY JUDGMENT

           Defendant Steven Opat moves this Court for summary judgment under Federal Rule of Civil

  Procedure 56 because there are no genuine issues of material fact, and he is entitled to judgment as a

  matter of law. Opat files contemporaneously a Memorandum in Support detailing the arguments for this

  motion in Case No. 15-3093-HLT-GEB.

           Opat respectfully requests that this Court enter an order granting him summary judgment on all

  remaining counts, for his costs and attorney fees in accordance with 42 U.S.C. § 1988, and for such and

  other further relief as the Court deems just and equitable.




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                                                           Respectfully submitted,

                                                           FOULSTON SIEFKIN LLP

                                                           By: /s/ Eric Turner
                                                                   Eric Turner, #25065

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                                                           Overland Park, KS 66210
                                                           Telephone: (913) 498-2100
                                                           Facsimile: (913) 498-2101
                                                           Email: eturner@foulston.com

                                                           ATTORNEY FOR DEFENDANT
                                                           STEVEN OPAT




                                     CERTIFICATE OF SERVICE

          I certify that on September 18, 2020, I electronically filed the above and foregoing with the Clerk
  of the Court using the CM/ECF system, which sent electronic notification of such filing to all counsel
  currently electronically registered with the Court.


                                                           /s/ Eric Turner
                                                           ATTORNEY FOR DEFENDANT
                                                           STEVEN OPAT


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                                   IN THE UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF KANSAS

  ALBERT DEWAYNE BANKS,                                     )
                                                            )
                     Plaintiff,                             )   Case No. 15-3093-HLT-GEB
                                                            )
  v.                                                        )
                                                            )
  STEVEN L. OPAT, et al.,                                   )
                                                            )
                     Defendants.                            )
                                                            )
  ----------------------------------------------------------)
                                                            )
  ANTHONY THOMPSON,                                         )
                                                            )
                     Plaintiff,                             )
                                                            )
  v.                                                        )   Case No. 15-3117-HLT-GEB
                                                            )
  DAVID L. PLATT, et al.,                                   )
                                                            )
                     Defendants.                            )

                            STEVEN OPAT’S MEMORANDUM IN SUPPORT
                             OF HIS MOTION FOR SUMMARY JUDGMENT

           This is the second of two civil lawsuits filed by Plaintiff Albert Banks against Defendant Steven

  Opat in the District of Kansas. Both concern the criminal investigation and prosecution that ultimately

  resulted in Banks’ conviction on federal drug-trafficking charges. In this case, Case No. 15-3093, Banks

  alleges that Opat—then the County Attorney of Geary County, Kansas—violated state and federal

  wiretap laws by illegally intercepting, disclosing, and using his communications.

           Opat is entitled summary judgment. To begin with, as was recognized in Banks’ first suit against

  Opat, he is entitled to absolute immunity because he was acting as an advocate for the State of Kansas.

  Summary judgment is also required because (1) Opat is entitled to qualified immunity, (2) his actions fall

  within the statutory good-faith defenses, (3) claim preclusion bars Banks’ claims, (4) Banks’ claims are

  barred by Heck v. Humphrey, and (5) Banks’ damages are limited by the statute of limitations.




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  I.     STATEMENT OF UNCONTROVERTED FACTS

         The facts are familiar to this Court from previous litigation in this matter. See Memorandum &

  Order, ECF No. 109. Defendant Steve Opat, in accordance with Federal Rule of Civil Procedure 56 and

  Local Rule 56.1, sets forth the following statement of uncontroverted facts:

         1. This case arises from a law enforcement investigation of drug trafficking in Geary County,

             Kansas that began in February 2012. The investigation into the suspected narcotics-

             trafficking conspiracy was jointly conducted by the Kansas Bureau of Investigation, the

             Junction City Police Department, the Geary County Sheriff’s Office, and the Riley County

             Police Department. Exhibit A, Virden Declaration, ¶ 6.

         2. At that time, the investigation focused on trafficking of crack cocaine in Geary County,

             Kansas. The investigators had discovered evidence of crack cocaine sales by Albert Banks in

             Junction City, which is in Geary County, Kansas. Exhibit A, Virden Declaration, ¶ 11.

         3. Glen Virden, a Kansas Bureau of Investigation special agent in charge of the investigation,

             informed Steven Opat, the County Attorney for Geary County, about the investigation.

             They agreed that interception of Banks’ communications was necessary and appropriate.

             Exhibit A, Virden Declaration, ¶ 10; Exhibit B, Opat Declaration, ¶ 7.

         4. Because there had been a substantial period of time since Opat had last prepared an

             application for a wiretap order, he consulted the United States Attorney’s Office for

             guidance and samples. Exhibit B, Opat Declaration, ¶ 9.

         5. In 2013, Opat applied for wiretap orders authorizing the interception of wire

             communications by the Kansas Bureau of Investigation and its designees. As the County

             Attorney, Opat was authorized to make the applications by Kansas law. Opat personally

             presented each of the applications to Judge Platt. Exhibit B, Opat Declaration, ¶¶ 2-3, 8, 10-

             12; K.S.A. 22-2515(a)(11).


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        6. Virden and other law enforcement officers provided affidavits in support of each

           application. Opat reviewed each affidavit as part of his decision that each application was

           appropriate and supported by evidence. Exhibit A, Virden Declaration, ¶ 13; Exhibit B,

           Opat Declaration, ¶ 11.

        7. Based on a sample obtained from the United States Attorney’s Office, Opat prepared and

           submitted a proposed order authorizing the interception of wire communications to Judge

           Platt with each application. Exhibit B, Opat Declaration, ¶ 13.

        8. In March and April 2013, Judge David R. Platt of the Eighth Judicial District of Kansas

           issued wiretap orders for cell phones used by Banks. Each order was not to exceed 30 days.

           Exhibit A, Virden Declaration, ¶ 9; Exhibit B, Opat Declaration, ¶ 14; Exhibit C, Wiretap

           Orders at 1-6 (March 5, 2013); 25-30 (April 12, 2013).

        9. The wiretap orders entered by Judge Platt provided that if “the target telephone is

           transferred outside the territorial jurisdiction of this court, interceptions may take place in

           another jurisdiction within the United States.” Exhibit C, Wiretap Orders at 3.

        10. On March 6, 2013, more than 60 law enforcement officers attended a meeting and added

           their signatures to a copy of Judge Platt’s wiretap order. All officers were required to sign

           and date a copy of the order. Exhibit A, Virden Declaration, ¶ 24, 26; Exhibit C, Wiretap

           Orders at 6-9.

        11. Opat attended the meeting and added his name and signature to a list of names and

           signatures of law enforcement officers and other prosecutors who attended the meeting.

           The signatures were added to a copy of Judge Platt’s March 5, 2013 wiretap order. Opat

           dated his name and signature March 6, 2013. Exhibit B, Opat Declaration, ¶¶ 15-16; Exhibit

           C, Wiretap Orders at 8.




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        12. Opat did not anticipate a jurisdictional issue regarding the wiretap order, in part because the

            scope of the investigation was not anticipated at the time it was initiated. Exhibit B, Opat

            Declaration, ¶ 17.

        13. Defendant Glen Virden, a Kansas Bureau of Investigation special agent in charge of the

            investigation, executed the orders. Pursuant to and in reliance on Judge Platt’s orders, the

            investigating agents monitored and collected information from intercepted calls and text

            messages to and from Banks’ phones. Exhibit A, Virden Declaration, ¶¶ 7, 17.

        14. Opat had no role in the investigation. Exhibit B, Opat Declaration, ¶ 18.

        15. Opat did not intercept any of Banks’ communications. Exhibit B, Opat Declaration, ¶ 19.

        16. Opat did not listen to any of Banks’ calls or view any of his text messages. Exhibit B, Opat

            Declaration, ¶ 20.

        17. Opat did not use any of Banks’ communications for any unlawful purpose. Opat was

            authorized to use the contents of Banks’ communications included in Virden’s affidavits as

            part of the judicial process of applying for wiretap orders. Exhibit B, Opat Declaration, ¶ 21;

            K.S.A. 22-2515(b)(c).

        18. Opat did not disclose any of Banks’ communications to anyone other than Judge Platt.

            Exhibit B, Opat Declaration, ¶ 22; K.S.A. 22-2515(b)(c).

        19. All of Opat’s actions were undertaken in his role as a prosecutor. Exhibit B, Opat

            Declaration, ¶ 23.

        20. At that time, Virden and Opat anticipated that any criminal charges against the suspects,

            including Banks, resulting from the investigation would be filed and prosecuted in Geary

            County District Court in the Eighth Judicial District. Exhibit A, Virden Declaration, ¶ 12;

            Exhibit B, Opat Declaration, ¶ 24.




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        21. In fact, Banks was initially arrested on state charges and placed in the Geary County Jail. He

            was charged with drug-trafficking offenses in Geary County District Court. Exhibit B, Opat

            Declaration, ¶ 25.

        22. While the state case was pending in May 2013, according to a civil lawsuit filed by Banks

            against Opat, Banks submitted a motion requesting that Opat deliver all information about

            the state charges to him. District of Kansas Case No. 14-3199-SAC, ECF No. 3 at 7.

        23. During the course of the criminal investigation, the decision was made to refer Banks to the

            Office of the United States Attorney for the District of Kansas to prosecute for violations

            of federal laws, including conspiracy, an offense more appropriate for federal court. Exhibit

            A, Virden Declaration, ¶ 32; Exhibit B, Opat Declaration, ¶ 26.

        24. Based on this decision, Opat moved to dismiss the state-court charges, which were

            dismissed without prejudice. Exhibit B, Opat Declaration, ¶ 27; See Banks v. Geary County

            District Court, No. 14-3199-SAC, 2015 WL 12864252, at *2 (D. Kan. Nov. 24, 2015).

        25. In May 2013, a federal grand jury indicted Banks on multiple counts of distributing and

            conspiring to distribute crack cocaine. District of Kansas Case No. 13-CR-40060-DDC,

            ECF No. 1.

        26. Banks moved to suppress the intercepted communications. District of Kansas Case No. 13-

            CR-40060-DDC, ECF No. 343.

        27. The district court judge, Judge Crabtree, ruled that “a Kansas state court judge acting under

            Kansas law has no authority to authorize interception outside the judge’s own judicial

            district.” District of Kansas Case No. 13-CR-40060-DDC, ECF No. 517 at 1.

        28. Judge Crabtree granted the motions to suppress the extra-territorial communications,

            excluding all but 7,000 of the 67,000 intercepted communications from trial. As to the 7,000

            surviving communications, Judge Crabtree ruled that the government had offered sufficient



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           evidence that the communications were made by phones located inside the Eighth Judicial

           District. District of Kansas Case No. 13-CR-40060-DDC, ECF No. 580.

        29. Although declining to apply the exclusionary rule’s good-faith exception to evidence

           collected from the wiretaps, Judge Crabtree stated that the good-faith exception “almost

           certainly applies because one would not expect the officers executing the search warrants to

           have apprehended the subtle, technical jurisdictional defect.” District of Kansas Case No.

           13-CR-40060-DDC, ECF No. 650 at 6.

        30. Opat was not aware of the possibility of a technical jurisdictional defect in Judge Platt’s

           wiretap orders until the issue was raised in motions to suppress, which resulted in the

           suppression of those interceptions as evidence against Banks. Exhibit B, Opat Declaration,

           ¶ 28.

        31. The application and proposed orders Opat prepared for submission to Judge Platt were

           based in part upon his review of the documents he had received and used in preparing the

           application, and he did not consider a technical jurisdictional issue at the time. Exhibit B,

           Opat Declaration, ¶ 29.

        32. A jury convicted Banks on all counts in June 2015. District of Kansas Case No. 13-CR-

           40060-DDC, ECF No. 766.

        33. In October 2014, Banks filed a lawsuit against Opat, alleging that Opat violated Banks’

           Fourteenth Amendment Due Process and Equal Protection rights for not delivering the

           information he requested in the short-lived state case. District of Kansas Case No. 14-3199,

           ECF No. 1, 3. The claim against Opat was dismissed based on prosecutorial immunity.

           Banks v. Geary County District Court, No. 14-3199-SAC, 2015 WL 12864252, at *2 (D. Kan.

           Nov. 24, 2015), aff’d by 645 F. App’x 713 (10th Cir. 2016).




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          34. Banks filed this lawsuit April 28, 2015. ECF No. 1. Banks filed an Amended Complaint on

              February 20, 2018. ECF No. 74. He claims actual damages of between $1 million and $2

              million. Exhibit D, Plaintiffs’ Rule 26(a)(1) Disclosures at 5.

          35. After ongoing litigation, including an appeal to the Tenth Circuit Court of Appeals, two

              claims remain against Opat: (1) violation of the Kansas wiretap statutes, K.S.A. 22-2514 to

              22-2519; and (2) violation of the federal wiretap statutes, 18 U.S.C. §§ 2510 to 2523. Banks v.

              Opat, 814 F. App’x 325, 333-34, 338 (10th Cir. 2020) (reversing this Court’s dismissal of

              extra-territorial wiretapping claims in ECF No. 109 based on good-faith reliance defense).

  II.     ARGUMENTS & AUTHORITIES

          Steve Opat is entitled to summary judgment because he is entitled to absolute immunity from

  civil liability as a prosecutor. Alternatively, Opat’s motion for summary judgment should be granted

  because (1) he is entitled to qualified immunity from civil liability, (2) Opat’s actions fall within the

  statutory good-faith defenses under state and federal wiretap laws, (3) Banks’ claims are precluded by his

  first lawsuit against Opat, (4) Banks’ claims are barred by Heck v. Humphrey, and (5) Banks’ purported

  damages are limited by the statute of limitations.

          Legal standard: Federal Rule of Civil Procedure 56

          Summary judgment is appropriate if the moving party demonstrates that “no genuine dispute”

  about “any material fact” exists and that it is “entitled to a judgment as a matter of law.” Fed. R. Civ. P.

  56(a). A dispute of fact is genuine “if the evidence is such that a reasonable jury could return a verdict

  for the non-moving party on the issue.” Nahno-Lopez v. Houser, 625 F.3d 1279, 1283 (10th Cir. 2010).

  “An issue of fact is ‘material’ ‘if under the substantive law it is essential to the proper disposition of the

  claim’ or defense.” Id. Summary judgment is an important procedure “designed ‘to secure the just,

  speedy and inexpensive determination of every action.’” Celotex Corp. v. Catrett, 477 U.S. 317, 327 (1986)

  (quoting Fed. R. Civ. P. 1).


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           Legal framework: 18 U.S.C. § 2520(a), K.S.A. 22-2518(1)

           The Electronic Communications Privacy Act1 of 1986 (18 U.S.C. §§ 2510 to 2523) provides that

  “any person whose wire, oral, or electronic communication is intercepted, disclosed, or intentionally

  used in violation of this chapter may in a civil action recover from the person or entity, other than the

  United States, which engaged in that violation such relief as may be appropriate.” 18 U.S.C. § 2520(a).

  Kansas law provides a nearly identical remedy. K.S.A. 22-2518(1).

           A.        Opat is entitled to absolute immunity because all of his actions were undertaken
                     in his role as a prosecutor and advocate for the State of Kansas.

           Opat is entitled to absolute immunity because he acted as an advocate for the State of Kansas in

  his role as a prosecutor. Opat appeared before a judge in support of applications for wiretap orders,

  initially prosecuted Banks in state court, and later referred Banks to federal prosecutors. SOF 5, 20-23.

  All of Opat’s actions were undertaken in his role as prosecutor in the judicial phase of the criminal

  process. SOF 19.

           Prosecutors are absolutely immune from civil liability when they act as advocates for the State.

  Imbler v. Pachtman, 424 U.S. 409, 430-32 (1976). That holding rests on “important public policy”

  justifications: “The ‘public trust of the prosecutor’s office would suffer’ were the prosecutor to have in

  mind his ‘own potential’ damages ‘liability’ when making prosecutorial decisions—as he might well were

  he subject to § 1983 liability.” Van de Kamp v. Goldstein, 555 U.S. 335, 341-42 (2009) (quoting Imbler, 424

  U.S. at 424). While this immunity might leave the “genuinely wronged” without a remedy against

  prosecutors acting for malicious or unlawful purposes, the importance of shielding prosecutorial

  decision-making from the influence of concerns about subsequent personal liability, the Court

  concluded, outweighed that risk of harm. See Imbler, 424 U.S. at 427. Absolute immunity is available for

  1 The Amended Complaint refers to 18 U.S.C. §§ 2510 to 2523 as the “Federal Wiretap Statute.” ECF No. 74 at 4-5. This

  Court and the Tenth Circuit have called these statutes the “Electronic Communications Privacy Act of 1986.” ECF No. 109
  at 4; Banks v. Opat, 814 F. App’x 325, 331 (10th Cir. 2020). The district court in Thompson’s criminal case called the statutes
  “Title III of the Omnibus Crime Control and Safe Streets Act.” United States v. Banks, No. 13-CR-40060-DDC, 2014 WL
  4261344, at *1 (D. Kan. Aug. 29, 2014). Any of these titles refer to the same set of statutes, 18 U.S.C. §§ 2510 to 2523.


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  conduct of prosecutors that is “intimately associated with the judicial phase of the criminal process.” Id.

  at 430. For example, that means that a state prosecutor has absolute immunity for the initiation and

  pursuit of a criminal prosecution, including presentation of the state’s case at trial. Id. at 431.

          Specifically, the Supreme Court has held that a prosecutor’s appearance in court in support of an

  application for a search warrant is protected by absolute immunity. Kalina v. Fletcher, 522 U.S. 118, 125-

  26 (1997). A prosecutor is absolutely immune for initiating a prosecution and for presenting the State’s

  case, and “the duties of the prosecutor in his role as advocate for the State involve actions preliminary to

  the initiation of a prosecution.” Burns v. Reed, 500 U.S. 478, 490-91 (1991). In Burns, the Court ruled that

  the prosecutor’s “appearance in court in support of an application for a search warrant and the

  presentation of evidence at that hearing are protected by absolute immunity.” Id. at 492.

          Absolute immunity protects against damages claims under any federal law not just 42 U.S.C.

  § 1983. Ivory v. Platt, No. 15-3051, 2016 WL 5916647, at *13 (D. Kan. Oct. 11, 2016). More recently, the

  Tenth Circuit has reiterated that absolute immunity is an available defense against claims under the

  federal wiretap statutes. See Dahl v. Charles F. Dahl, M.D., P.C. Defined Ben. Pension Trust, 744 F.3d 623,

  630 (10th Cir. 2014); see also Babb v. Eagleton, 614 F. Supp. 2d 1232, 1237 (N.D. Okla. 2008) (“In the

  context of prosecutors performing quasi-judicial functions, federal courts have indicated that quasi-

  judicial immunity can serve as a defense to a Title III claim.”).

          Specifically, as relevant here, the Tenth Circuit has affirmed dismissal based on a county

  attorney’s absolute immunity against an illegal wiretap claim under 18 U.S.C. § 2520. See Newcomb v. Ingle,

  827 F.2d 675, 677 (10th Cir. 1987). In Newcomb, an assistant county attorney of Crawford County,

  Kansas, received tape recordings of telephone conversations and brought criminal charges based on

  information in the tape recordings. Id. A subsequent lawsuit included a claim under § 2520 against the

  assistant county attorney, which was dismissed based on prosecutorial immunity because the allegations

  in the complaint revealed that the assistant county attorney’s activities were “intimately associated with



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  the prosecutorial phase of the criminal process.” Id. The Tenth Circuit agreed with the district court’s

  reasoning and affirmed. Id.

          Courts in other jurisdictions, too, have acknowledged absolute immunity as a defense for

  prosecutors against claims of statutory wiretap violations. See, e.g., Lanier v. Bryant, 332 F.3d 999, 1005

  (6th Cir. 2003) (affirming district court’s determination that prosecutors were immune from suit alleging

  illegal disclosure under Federal Wiretap Act); Lewellen v. Raff, 843 F.2d 1103, 1114-15 (8th Cir. 1988)

  (holding that prosecutors were entitled to absolute immunity on claims that they directed and

  participated in allegedly illegal electronic surveillance of plaintiff); Forsyth v. Kleindienst, 599 F.2d 1203,

  1215 n.16 (3d Cir. 1979); Jacobson v. Bell Telephone Co. of Nevada, 592 F.2d 515, 524 (9th Cir. 1976); Hill v.

  Donoghue, 815 F. Supp. 2d 583, 586 (E.D.N.Y. 2011) (ruling that using intercepted jailhouse calls to

  obtain indictment “is among a prosecutor’s quasi-judicial duties that are shielded by absolute

  immunity”); Bansal v. Russ, 513 F. Supp. 2d 264, 275 (E.D. Pa. 2007); Belanus v. Chandler, No. 11-0026,

  2011 WL 3841828, at *7 (D. Mont. July 8, 2011) (ruling that county attorney was entitled to

  prosecutorial immunity in defense against claim under 18 U.S.C. § 2520 for acts taken in association

  with plaintiff’s prosecution).

          Similarly, Kansas law provides that the actions within the scope of authority as county attorney

  are absolutely immune from a lawsuit under Kansas law. See Sampson v. Rumsey, 1 Kan. App. 2d 191, 197,

  563 P.2d 506 (1977). As in under federal law, prosecutors in Kansas have absolute prosecutorial

  immunity if the prosecutor’s actions are “intimately associated with the judicial phase of the criminal

  process.” McCormick v. Board of Shawnee County Comm’rs, 272 Kan. 627, 634, 35 P.3d 815 (2001). Such

  actions include the filing of a criminal complaint or information, presenting the State’s case, and

  performing traditional functions of an advocate. Id. at 634-36.

          The uncontroverted historical and procedural facts confirm that Opat was acting as an advocate

  for the State of Kansas when he applied for the wiretap order at issue in this case. He applied to the



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  court for each of the wiretap orders and personally presented the application and Virden’s affidavit to

  the judge each time in his capacity as County Attorney. SOF 5-7. In addition, Opat filed a criminal

  complaint against Banks in Geary County District Court and obtained dismissal when Banks was

  indicted in federal court. SOF 20-23. Opat took no part in the investigation. SOF 14. All of Opat’s

  actions were undertaken in his role as a prosecutor. SOF 19. Judge Crow, in dismissing a nearly identical

  lawsuit filed by co-conspirator Johnny Ivory, concluded: “Defendant Opat’s actions at the probable

  cause hearing on the wiretap application in plaintiff’s case are plainly analogous to a prosecutor’s actions

  at a probable cause hearing on a search warrant, and Opat’s presentation of the application was clearly

  related to the judicial phase of the criminal process. The court concludes that defendant Opat’s acts

  upon which the complaint is based are protected by absolute immunity.” Ivory v. Platt, No. 15-3051, 2016

  WL 5916647, at *11 (D. Kan. Oct. 11, 2016). Opat’s actions in Banks’ prosecution were identical to his

  actions in Ivory’s prosecution. Thus, Opat is entitled to absolute immunity to both claims under state

  and federal law.

          B.      In the alternative, Opat is at least entitled to qualified immunity because he did
                  not violate Banks’ rights or any law that was clearly established at the time.

          Even if the Court determines that Opat’s role was less than completely prosecutorial, he is at

  least entitled to qualified immunity. First of all, Opat did not violate federal or state wiretap laws because

  his actions were statutorily authorized. Even so, the actions alleged against Opat in the Amended

  Complaint did not violate any law that was clearly established at the time.

          In Banks’ first lawsuit against Opat, the district court and the Tenth Circuit observed that a

  prosecuting attorney may be “at the very least entitled to qualified immunity for his role in Mr. Banks’s

  state prosecution” unless the plaintiff alleges facts showing that the prosecutor “violated a clearly

  established constitutional right.” Banks v. Geary County District Court, 645 F. App’x 713, 718 (10th Cir.

  2016). A prosecutor is entitled only to qualified immunity when he “functions as an administrator rather

  than as an officer of the court.” Buckley v. Fitzsimmons, 509 U.S. 259, 273 (1993).


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          “Qualified immunity shields federal and state officials from money damages unless a plaintiff

  pleads facts showing (1) that the official violated a statutory or constitutional right, and (2) that the right

  was ‘clearly established’ at the time of the challenged conduct.” Ashcroft v. al-Kidd, 563 U.S. 731, 735

  (2011). “The relevant, dispositive inquiry in determining whether a right is clearly established is whether

  it would be clear to a reasonable officer that his conduct was unlawful in the situation he confronted.”

  Saucier v. Katz, 533 U.S. 194, 202 (2001). That means that “existing precedent must have placed the

  statutory or constitutional question beyond debate.” Reichle v. Howards, 566 U.S. 658, 664 (2012).

          The Tenth Circuit has acknowledged the availability of the qualified immunity defense for an

  alleged violation of the federal wiretap statutes. See Phillips v. Bell, 365 F. App’x 133, 143 (10th Cir. 2010).

  At least one district court in the circuit recently has granted summary judgment based on qualified

  immunity against a claim alleging violation of the Federal Wiretap Act. See Stewart v. City of Oklahoma City,

  No. 18-420, 2020 WL 4352503, at *3-4 (W.D. Okla. July 29, 2020) (citing Phillips as “indicating that

  qualified immunity is available as a defense under the FWA”); see also Babb, 614 F. Supp. 2d at 1237-38

  (“In addition, there is authority holding that qualified immunity extended to government actors is a

  defense to Title III liability.”). Other circuits have agreed that a defendant may raise a qualified immunity

  defense to alleged violations of the federal wiretap act. See, e.g., John K. MacIver Inst. for Pub. Policy, Inc. v.

  Schmitz, 885 F.3d 1004, 1015 (7th Cir. 2018); Tapley v. Collins, 211 F.3d 1210, 1216 (11th Cir. 2001); Blake

  v. Wright, 179 F.3d 1003, 1012-13 (6th Cir. 1999).

          Also relevant are exceptions to the wiretap statutes for law enforcement under Kansas and

  federal wiretap laws. Both statutes define an “investigative or law enforcement officer” to include “any

  attorney authorized by law to prosecute or participate in the prosecution” of certain criminal offenses,

  including drug trafficking. 18 U.S.C. § 2510(7); K.S.A 22-2514(5); K.S.A. 22-2515(a)(11). “Any

  investigative or law enforcement officer who, by any means authorized by this chapter, has obtained

  knowledge of the contents of any wire, oral, or electronic communication, or evidence derived



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  therefrom, may use such contents to the extent such use is appropriate to the proper performance of his

  official duties.” 18 U.S.C. § 2517(2); K.S.A. 22-2515(c) (same). Similarly, a prosecuting attorney “may

  disclose such contents to another investigative or law enforcement officer to the extent that such

  disclosure is appropriate to the proper performance of the official duties of the officer making or

  receiving the disclosure.” 18 U.S.C. § 2517(1); K.S.A. 22-2515(b).

          Here, Opat was authorized to apply to a judge for a wiretap order. See K.S.A. 22-2515(a)(11)

  (allowing county attorney to make application to any judge of competent jurisdiction for a wiretap order

  to produce evidence of trafficking of controlled substances). SOF 5. He was authorized to use Banks’

  communications in the proper performance of his official duties as a prosecutor. 18 U.S.C. § 2517(2).

  SOF 17. Opat did not violate any of Banks’ statutory rights under state and federal wiretap laws. He did

  not participate in the interception of Banks’ communications. SOF 15. To the extent that the Amended

  Complaint alleges that Opat used the communications to prosecute Banks or disclosed the contents of

  the communications, both actions are authorized by the law enforcement exceptions. 18 U.S.C.

  § 2517(1); K.S.A. 22-2515(b). Thus, Opat did not engage in unauthorized conduct and may not be held

  civilly liable under the law enforcement exception present in the text of federal and state laws. See Ivory v.

  Platt, No. 15-3051, 2016 WL 5916647, at *13-14 (D. Kan. Oct. 11, 2016) (dismissing identical state and

  federal wiretap claims against Opat for multiple reasons, including the law enforcement exception).

          Thus, the record does not support a claim that Opat violated any of Banks’ statutory rights.

  Even so, Opat is entitled to qualified immunity because Banks cannot show that the alleged right to be

  free from the conduct Opat is alleged to have undertaken was clearly established. Specifically, Banks

  cannot show that the law was clearly established that a county attorney protected by the law

  enforcement exception violates the wiretap statutes by using contents of intercepted communications

  obtained through a wiretap order that is subsequently found to be partially invalid to file drug trafficking

  charges in state court but soon after obtains dismissal of those charges in favor of federal prosecution.



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          C.      In the alternative, Opat’s good-faith reliance on Judge Platt’s court orders is a
                  complete defense under state and federal wiretap statutes.

          This Court’s original basis for dismissal of these claims is still valid. ECF No. 109 at 6-8. As this

  Court previously determined, Opat’s good-faith reliance on a court order is a complete defense to

  Banks’ wiretap claims under state and federal law. See K.S.A. 22-2518(2) (“A good faith reliance by any

  person on a court order authorizing the interception of any wire, oral or electronic communication shall

  constitute a complete defense in any civil or criminal action brought against such person based upon

  such interception.”); 18 U.S.C. § 2520(d)(1) (“A good faith reliance on … a court warrant or order … is

  a complete defense against any civil or criminal action brought under this chapter or any other law.”).

          This Court expressly found that the record establishes that Banks’ claims are barred by the good-

  faith defense. ECF No. 109 at 7. This Court agreed that “Judge Crabtree’s reasoning in the underlying

  criminal case is equally applicable” to this civil case. ECF No. 109 at 8. In ruling on motions to suppress

  extra-territorial communications in Banks’ criminal case, Judge Crabtree noted that “one would not

  expect the officers executing search warrants to have apprehended the subtle, technical jurisdictional

  defect that forms the basis of the Court’s threshold suppression ruling.” United States v. Banks, No. 13-

  40060, 2015 WL 2401048, at *3 (D. Kan. May 15, 2015), vacated by 138 S. Ct. 2707 (2018). In concluding

  that Banks’ Amended Complaint fails to state a claim, this Court determined that the individual

  defendants, including Opat, did not violate state and federal wiretap statutes because their “good faith

  reliance provides a complete defense to Plaintiff’s wiretap claims.” ECF No. 109 at 8.

          The Tenth Circuit’s remand of this issue does not undermine this Court’s previous ruling. The

  Tenth Circuit held only that issue preclusion was not available as a defense in this case because Judge

  Crabtree did not expressly rule that the good-faith defense applied in the criminal case. Banks v. Opat,

  814 F. App’x 325, 333 (10th Cir. 2020) (“Because the court made only an observation about good faith

  but not a finding, Mr. Banks is not collaterally estopped from litigating the issue of good faith regarding

  his wiretap claims alleging the interception of extra-territorial communications.”).


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           Notably, Opat did not argue for issue preclusion either before this Court or in the Tenth Circuit.

  On remand, Opat asks this Court to make its own independent finding based on the uncontroverted

  facts in this case that the state and federal wiretap claims against Opat are barred by the statutory good-

  faith defense. Specifically, Opat was not aware of the technical jurisdictional defect in the wiretap orders

  until the issue was raised in motions to suppress. 2 SOF 30. Opat did not consider the possibility of a

  jurisdictional issue when he applied for the wiretap orders, in part because the larger geographic scope

  of the investigation was not anticipated at the time it was initiated. SOF 2, 12, 31. Thus, Opat had no

  reason to question the authority of Judge Platt to enter the wiretap orders as issued, and he reasonably

  relied on them. For these reasons, Opat is entitled to summary judgment based on his good-faith

  reliance on a court order, which is a complete defense under state and federal law. See K.S.A. 22-2518(2);

  18 U.S.C. § 2520(d)(1).

           D.        In the alternative, the doctrine of claim preclusion bars Banks’ claims because he
                     could have and should have asserted them in a prior lawsuit against Opat.

           A fundamental rule of civil litigation is that litigants are expected to assert all claims they may

  have against a defendant in one lawsuit or be barred from asserting them in a subsequent case. See

  MACTEC, Inc. v. Gorelick, 427 F.3d 821, 831 (10th Cir. 2005). A “final judgment on the merits of an

  action precludes the parties or their privies from relitigating issues that were or could have been raised in

  that action.” Allen v. McCurry, 449 U.S. 90, 94 (1980).

           Banks’ claims are barred by claim preclusion because Banks filed a separate civil action against

  Opat in October 2014 but did not include the claims now made in this lawsuit even though by then he

  was aware of the conduct alleged in his complaint. See Banks v. Geary County District Court, 645 F. App’x

  713, 715 (10th Cir. 2016). In his Amended Complaint, Banks admits that he was aware that his phone


  2 Under certain circumstances for applications made in federal court, federal wiretap law allows for interception of

  communications outside the judge’s territorial jurisdiction but within the United States, as was reflected in the sample order
  obtained from the United States Attorney’s Office. 18 U.S.C. § 2518(3); SOF 4, 7. For applications made in state court,
  Kansas wiretap law limits interceptions to within the territorial jurisdiction of the issuing judge. K.S.A. 22-2516(3).


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  was tapped by June 2013 and knew within months that the wiretap order was defective. ECF No. 74 at

  4. But he did not file this lawsuit until April 2015. ECF No. 1. In August 2015, Banks moved to

  consolidate his first-filed case, No. 14-3199, with this case. ECF No. 5. His motion was denied as moot

  when Case No. 14-3199 was dismissed. Banks v. Geary County District Court, No. 14-3199-SAC, 2015 WL

  12864252 (D. Kan. Nov. 24, 2015); ECF No. 8.

          The Tenth Circuit acknowledged Opat’s claim preclusion argument but declined to address it,

  questioning whether claim preclusion should apply to this procedural circumstance where Banks moved

  to consolidate the two cases. Banks v. Opat, 814 F. App’x 325, 334 n.12 (10th Cir. 2020). But the Tenth

  Circuit has held that a district court’s denial of a motion to consolidate does not negate an otherwise

  valid defense of claim preclusion. Petromanagement Corp. v. Acme-Thomas Joint Venture, 835 F.2d 1329, 1334

  (10th Cir. 1988) (affirming dismissal based on claim preclusion of successive actions in federal court). A

  second lawsuit is not immunized from claim preclusion by a district court’s order denying a motion to

  consolidate. Yapp v. Excel Corp., 186 F.3d 1222, 1228 (10th Cir. 1999) (affirming dismissal based on claim

  preclusion of wrongful discharge suit after settlement of FLSA suit). Because these claims could have

  and should have been brought in Case No 14-3199 in October 2014—which was more than a year after

  Banks became aware of the defective wiretap order but six months before he filed this case—they may

  not be brought in this case because they are barred by claim preclusion.

          E.      In the alternative, H eck v. H umphrey bars Banks’ claims because his claim for
                  actual damages necessarily calls into question the validity of his conviction.

          By claiming actual damages of between $1 million and $2 million, Banks reverses his position

  from his prior briefing when he sought to avoid dismissal. SOF 34; ECF No. 93 at 1 (acknowledging

  that “plaintiff may not receive relief under habeas for the illegal interceptions which were not in his

  criminal trial”). As a result of Banks’ change of course, Opat renews his argument that Heck v. Humphrey,

  512 U.S. 477 (1994), precludes Banks’ claims.




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          In Heck, the Supreme Court held that a prisoner whose claim would call into question the

  validity of an underlying conviction “must prove that the conviction or sentence has been reversed on

  direct appeal, expunged by executive order, declared invalid by a state tribunal authorized to make such

  determinations, or called into question by a federal court’s issuance of a writ of habeas corpus.” 512 U.S.

  at 486-87. Although Heck involved a Section 1983 plaintiff, a complaint is barred by Heck regardless of

  the statutory basis alleged, if success in the suit would challenge the validity of a conviction that has not

  been previously invalided. See Erlin v. United States, 364 F.3d 1127, 1131 (9th Cir. 2004); Apampa v. Layng,

  157 F.3d 1103, 1105 (7th Cir. 1998) (noting that Heck bar is fully applicable to federal wiretap claims).

          Here, Banks alleges more than $1 million in actual damages, presumably because of his

  incarceration. Thus, he necessarily questions the validity of his underlying conviction, which he cannot

  do under Heck because Judge Crabtree upheld Banks’ conviction in 2019. United States v. Banks, No. 13-

  40060-DDC, 2019 WL 3412305 (D. Kan. July 29, 2019). In a nearly identical lawsuit filed by co-

  conspirator Ivory, Judge Crow concluded that Heck barred the wiretap claims because “Plaintiff simply

  may not litigate any claim in this civil rights complaint for damages that would undermine or invalidate

  his federal criminal convictions.” Ivory v. Platt, No. 15-3051-SAC, 2016 WL 5916647, at *14 (D. Kan.

  Oct. 11, 2016); see also Chapman v. Lawson, 89 F. Supp. 3d 959, 966 (S.D. Ohio 2015) (concluding that

  federal wiretap claims “necessarily call into question the validity of [plaintiff’s] conviction and are barred

  by Heck); Stegeman v. Rensselaer County Sheriff’s Office, No. 15-CV-21, 2017 WL 4350519, at *1 (N.D.N.Y.

  Aug. 23, 2017) (upholding dismissal of federal wiretap claim as barred by Heck). Thus, Heck bars these

  claims because Banks’ alleged actual damages would undermine his convictions.

          F.      Banks’ alleged damages under federal law should be limited because this suit
                  was filed more than two years after most of the interceptions.

          Under the Electronic Communications Privacy Act, a civil action “may not be commenced later

  than two years after the date upon which the claimant first has a reasonable opportunity to discover the

  violation.” 18 U.S.C. § 2520(e). Here, Banks filed this lawsuit on April 28, 2015. ECF No. 1. As a result,


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  the Court should find as a matter of law that Banks’ damages under the ECPA are limited to those

  incurred after April 28, 2013. There were two wiretap orders authorizing interception of Banks’

  communications. The first was issued March 5, 2013, and it expired April 4, 2013. United States v. Banks,

  No. 13-40060-DDC, 2014 WL 4261344, at *1 (D. Kan. Aug. 29, 2014); SOF 8. Any damages resulting

  from this order are outside the statute of limitations and should be disregarded. The second order was

  issued April 12, 2013, and it expired May 12, 2013. Id.; SOF 8. As a matter of law, any damages resulting

  from this order should be limited to those incurred in the 15 days from April 28 to May 12, 2013.

  III.    CONCLUSION

          Opat is entitled to summary judgment on both remaining claims based on absolute immunity

  because his alleged actions were taken as an advocate of the State of Kansas in his prosecutorial

  capacity. Alternatively, Opat is entitled to summary judgment for any of the legal theories argued above.



                                                          Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

          I certify that on September 18, 2020, I electronically filed the above and foregoing with the Clerk
  of the Court using the CM/ECF system, which sent electronic notification of such filing to all counsel
  currently electronically registered with the Court.


                                                           /s/ Eric Turner
                                                           ATTORNEY FOR DEFENDANT
                                                           STEVEN OPAT




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                                                                                              A
                   IN THE UNITE D STATES DISTR ICT COURT
                        FOR THE DISTR ICT OF KANS AS

   Albert D. Banks,

                             Plaintif f,

   V.                                                    Case No. 15-cv- 03093
   Steven L. Opat, et al.,

                             Defend ants.


                        DECLARATION OF GLEN VIRD EN

         I, Glen Virden , pursua nt to 28 U.S.C. § 1746, hereby declare as follows:

         1.    I am an employ ee of the State of Kansas with the Kansas Bureau of

  Investi gation ("KBI"). I am an "investigative" law enforcement officer duly deputized

 with the statuto ry authority for the State of Kansas, and as further recognized and

 defined by K.S.A. § 22-2514 (5). I am currently the Special Agent in Charge for the KBI's

 West Region Special Operations Division, which encompasses 46 counties on the west

 side of Kansas. I have been a Special Agent in the Special Operations Division of the KBI

 since October of 2001. I have a Bachelor of Science in Criminal Justice from

 Southwestern College, Winfield, Kansas. I am a graduate of the Kansas Law

 Enforcement Training Center. I have attende d numero us semina rs and law enforcement

 education courses while with the KBI. For example, I am a 2017 gradua te of Federal

 Bureau of Investigation National Academy.

        2.    I make this Declar ation from my person al knowle dge.


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         3.     I am a United States citizen, over 18 years of age, and a residen t of

  the State of Kansas.

         4.    Service of the Amended Complaint and summo ns was made on me

  by mail received on March 9, 2018. This is the only service of a complaint or

  summo n that I received pertaining to this litigation.

        5.     I am an "investigative or law enforcement officer" as that phrase is

  defined in K.S.A. § 22-251 4(5) and 18 U.S.C. § 2510(7).

        6.     For approximately thirtee n months, startin g in or about Februa ry

  2012, an investigation was jointly conducted by the KBI, the Junctio n City Police

  Department, the Geary County Sheriff s Office, and the Riley County Police

  Department, into a narcotics-trafficking conspiracy ("Narcotics-Trafficking

 investigation").

        7.    I was the case agent for the KBI, i.e., the lead law enforcement officer

 for the KBI, related to the Narcotics-Trafficking investigation.

        8.    During the course of the Narcotics-Trafficking investigation,

 communications from and to seven cellular phones were interce pted for different

 lengths of time pursua nt to orders authorizing the interceptions issued by the

 Eighth Judicial District, Kansas, District Court Judge David Platt ("Judge Platt").

 A list of the affidavits provided in suppor t of applications for these orders and the

 corresponding orders is attached as Exhibit 1. Redacted copies of the affidavits


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  and of the orders [in some instances added names and signatures on some orders

  as explained below] are also attache d as Exhibits 2-17.

         9.       In or around March and April 2013, Eighth Judicial District, Kansas,

  District Court Judge David Platt ("Judge Platt") entered orders authorizing the

  interception of Albert D. Banks' (and his suspected co-conspirators') oral, wire

  and/ or electronic communications regarding 785-37 5-6704 , with service

  provid ed by Sprint /Nexte l Wirele ss. A copy of the initial order, dated March 5,

  2013, is attache d as Exhibit 3.

        10.    I I had informed the Geary County Attorney Steven L. Opat

  ("Prosecutor Opat") about the Narcotics-Trafficking investigation. Prior to March

 5, 2013, I, my fellow investigators in Narcotics-Trafficking investigation, and

 Prosecutor Opat collectively agreed that interception of Albert D. Banks and

 others' cellular communications was needed and approp riate as part of the

 investigation.

        11.   Before March 5, 2013, the Narcotics-Trafficking investigation

 focused on trafficking of crack cocaine in Geary County, Kansas. Its investigators

 had discovered evidence of crack cocaine sales by Albert D. Banks in Junctio n

 City, Geary County, Kansas, which were arrang ed throug h communications on

 phones owned or used by Albert D. Banks.

       12.    At that time, I anticipated that any criminal charges against the

 suspects, including Albert Banks and Anthony Thompson, in the Narcotics-
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  Trafficking invest igatio n would be filed and prosec uted in the Eighth Judici
                                                                                        al
  District, Distri ct Court in Geary County.

         13.    I prepa red and signed affidavits in order for Prose cutor Opat to

  reque st Judge Platt enter the orders refere nced in parag raph 8.

         14.    I did not prepa re any of the orders refere nced in parag raph 8, or any

  draft of the orders . I believe that Prose cutor Opat prepa red the orders for Judge

  Platt's appro vals and signat ures.

         15.    I was presen t when applic ation for the initial order was made to

  Judge Platt on March 5, 2013. I was prepa red to provid e testim ony requir ed
                                                                                        by
  KS.A. § 22-2516. As part of the applic ation for the order, Judge Platt was told

 whose phone s would be "wiret apped " and why; how the propo sed wireta ps
                                                                                     would
 take place; where interc epted comm unicat ions would be receiv ed and monit
                                                                                      ored,
 i.e., the listeni ng post was in Topeka, Kansas; and where the electro nic record s
                                                                                             of
 the interc epted comm unicat ions would be kept until their delive ry to the Eighth

 Judici al District, Distri ct Court.

        16.    The draft order submi tted to Judge Platt contem plated interc eption

 of comm unicat ions outsid e of the Eighth Judici al District. The order Judge
                                                                                     Platt
 entere d on March 5, 2013 provid ed, in part: "IT IS ORDERED FURT HER
                                                                                    that in
 the event that the target teleph one is transf erred outsid e the territo rial

jurisd iction of this court, interc eption s may take place in anoth er jurisd iction

within the Unite d States ."
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         17.    Beginning March 7, 2013, law enforcement officers from the KBI, the

  Junctio n City Police Department, the Geary County Sheriff s Office, and the Riley

  County Police Depart ment took turns monitoring and collecting data about call

  and texts generally in real time. I personally monito red and collected some

  intercepted communications. I also reviewed copies of some interce pted

  communications attache d to investigative reports prepar ed by other law

  enforcement officers.

        18.    Pursua nt to Judge Platt's March 5, 2013 order, progress reports were

  made to the judge by an attorne y with Geary County Attorney's Office and KBI

  Special Agent Amanda Young on or about the tenth, twenti eth and thirtiet h day

 after March 5, 2013 showing the progress made toward achievement of the

 objectives authorized by the order and the need for contin ued interception.

        19.    Upon Prosecutor Opat's additional application, on April 12, 2013,

 Judge Platt issued an order authorizing the interception of Albert D. Banks' (and

 his suspected co-conspirators') oral, wire and/ or electronic communications from

 an additional phone numbe r, 785-717-9771, with service provided by Virgin

 Mobile/Sprint PCS. A copy of the April 12 order is attache d as Exhibit 15.

       20.     To my best memory, I was presen t when applications for the April

 orders were made to Judge Platt. I was prepar ed to provide testimony required

 by K.S.A. § 22-251 6. As with the initial order, as part of the application for the

 order, Judge Platt was told or was aware from the prior application or progress
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  report s conce rning his March order, regard ing whose phone s would be

  "wiretapped" and why; how the propo sed wiretaps would take place; where

  interc epted comm unicat ion would be received and monit ored, i.e., the listeni
                                                                                            ng
  post was in Topeka, Kansas; and where the electronic record s of the interc epted

  comm unicat ions would be kept until their delivery to the Eighth Judici al Distric
                                                                                                 t,
  District Court.

         21.    Like with the March 2013 order, the April 2013 order provided, in

  part: "IT IS ORDERED FURTHER that in the event that the target teleph one
                                                                                            is
  transf erred outsid e the territo rial jurisd iction of this court, interc eption s may

 take place in anoth er jurisd iction within the Unite d States."

        22.    The last interc epted comm unicat ion under the two orders listed

 above, Exhibits 3 and 15, was on or about May 10, 2013.

        23.    As direct ed by each of the three orders , monit oring of

 comm unicat ions was to be condu cted to minimize the interc eption and disclo
                                                                                        sure
 of comm unicat ion interc epted to those relevant to the Narcotics-Trafficking

 investigation. For example, monit oring of a comm unicat ion had to be termin
                                                                                       ated
 imme diatel y at the time it was determ ined that the comm unicat ion was unrela
                                                                                            ted
 to the subjec t to the interc eption under the applicable federal and state statute
                                                                                        s.
        24.    To docum ent that officers monit oring comm unicat ions knew the

 terms of the March 2013 order, including its minim izatio n requir ement s, the

 officers were requir ed to sign and date a copy of the order. On March 6, 2013,
                                                                                        I
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  added my name and signatu re to a copy of the order that Judge Platt had issued

  the day before on March 5, 2013. I have seen a docum ent filed by Albert D. Banks

  on August 13, 2015 in this lawsuit, doc. 6-3. That docum ent is a copy of the Judge

  Platt's order that I signed on March 6, 2013, on page 14 of doc. 4-3, for the

  reason s stated.

           25.    I did not questio n the author ity of Judge Platt to enter March and

  April orders. I did not questio n the judge's author ity to order interce ption of

  commu nicatio ns outside of the Eighth Judicial District.

         26.      To my knowledge none of the 60 plus officers from the KBI, Junctio n

  City Police Depart ment, Geary County Sheriff s Office, or Riley County Police

  Depart ment, who were involved in the Narcotics-Trafficking investigation and

 the interce ption and monito ring of communications of the involved seven cellular

 phones, ever raised an issue about Judge Platt's author ity to issue the interce pt

 orders.

        27.      I did not unders tand or believe that either the March or April orders

 or parts of those orders were invalid from the face of the orders. Nothing in the

 language of the orders confined the author ized interce ption of oral, wire and/ or

 electronic commu nicatio ns to those initiate d or interce pted within the Eighth

 Judicia l District.

        28.      Although not making a conscious evaluation at the time, I believed

 that Judge Platt was the proper judge, who had the author ity to issue the March
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  and April orders, because:

         a. Prosecutor Opat made applications to Judge Platt and Judge Platt

              entere d the orders, both knowing how the subject communications

              would be intercepted;

        b. The underlying criminal activity at issue in the Narcotics-Trafficking

              investigation was in Geary County;

        c. The cellular phones, which were the subject of the interception orders,

              were used in Geary County.

        d. Anthony Thompson came into Geary County and engaged in the

              underlying criminal activity, and I expected this would continue.

        29.      My best memo ry is that I was not aware of the Kansas Court of

 Appeals decision in State v. Adam s, 2 Kan.App.2d 135, 576 P.2d 242 (Kan. App.

 1978) until after any role I had with the interception and disclosure of Albert
                                                                                   D.
 Banks' wire or electronic communications was complete. However, even if the

 Adam s decision had been broug ht to my attent ion before the applications for
                                                                                   the
 March and April 2013 orders, I still would not have disput ed Judge Platt's

 authority. I would have assumed that Adam s did not apply, that Adam s was no

 longer good law or that the statut es interp reted in Adam s had been amended.

       30.      In short, I was unaware that Judge Platt lacked jurisdiction to order

 wiretaps of cellular communications made and monit ored outside of the Eighth

Judicial District, where under the circumstances (a) the criminal activity, which
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  suppor ted the need for the wiretaps, and (b) some of the communications

  expected to be interce pted had been and would take place within the geographic

  confines of Judge Platt's Judicial District.

        31.    I executed Judge Platt's orders believing that they were fully and

  properly in issued and enforceable.

        32.    During the course of the Narcotics-Trafficking investigation, the

  decision was made to refer the "main players" to the Office of the United States

  Attorney for the District of Kansas to prosecute for violations of federal laws. This

  was mostly because of the complexity of the prosecution.

        I declare under penalty of perjury under the laws of the United States that

 the foregoing is true and correct.

        Executed on July _f_, 2020.




                                         Glen Virden




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                                                                                                        B
                            IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF KANSAS

  ALBERT DEWAYNE BANKS,                        )
                                               )
               Plaintiff,                      )       Case No. 15-3093-HLT-GEB
                                               )
  v.                                           )
                                               )
  STEVEN L. OPAT, et al.,                      )
                                               )
               Defendants.                     )
                                               )
  &                                            )
                                               )
  ANTHONY THOMPSON,                            )
                                               )
               Plaintiff,                      )
                                               )
  v.                                           )       Case No. 15-3117-HLT-GEB
                                               )
  DAVID L. PLATT, et al.,                      )
                                               )
               Defendants.                     )

                               DECLARATION OF STEVEN OPAT

        I, Steven Opat, pursuant to 28 U.S.C. § 1746, declare as follows:

        1. I am the County Counselor of Geary County, Kansas.

        2. At all times described in the Amended Complaint, I was the County Attorney for Geary

            County, Kansas.

        3. I was the County Attorney from December 1979 to January 1989 and again from June 2003

            to January 2017.

        4. I make this Declaration from my personal knowledge.

        5. I am a United States citizen, over 18 years of age, and a resident of the State of Kansas.

        6. Starting in 2012, an investigation into a narcotics-trafficking conspiracy was jointly

            conducted by members of a drug task force that included officers from the Kansas Bureau

            of Investigation, the Junction City Police Department, the Geary County Sheriff’s Office,




                                                                                                            81
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           and the Riley County Police Department. The investigation focused on trafficking of crack

           cocaine in Geary County, Kansas.

        7. Glen Virden, a Kansas Bureau of Investigation special agent in charge of the investigation,

           informed me about the investigation. We agreed that interception of Albert Banks’ and

           others’ cellular communications was necessary and appropriate as part of the investigation.

        8. As the County Attorney, I was authorized to make an application to a judge of the Geary

           County District Court for an order authorizing the interception of communications by a law

           enforcement agency responsible for the investigation of crimes involving controlled

           substances. K.S.A. 22-2515(a)(11).

        9. Because there had been a substantial period of time since I had last prepared an application

           for a wiretap order, I consulted the United States Attorney’s Office for guidance and

           samples.

        10. I prepared and signed applications requesting that Geary County District Court Judge David

           Platt enter orders authorizing the interception of wire communications by the Kansas

           Bureau of Investigation and its designees.

        11. Virden and other law enforcement officers provided affidavits in support of each

           application. I reviewed each affidavit as part of my decision that each application was

           appropriate and supported by evidence.

        12. I personally presented each of the applications to Judge Platt.

        13. Based on a sample obtained from the United States Attorney’s Office, I prepared and

           submitted a proposed order authorizing the interception of wire communications to Judge

           Platt with each application.

        14. Judge Platt signed each order.




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                                                                                                          82
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        15. I recall attending a meeting about the investigation. While at the meeting, I added my name

            and signature to a list of names and signatures of several law enforcement officers and other

            prosecutors who attended the meeting.

        16. I have seen a document filed by Albert Banks in this lawsuit. That document is a copy of

            Judge Platt’s order that I signed and dated March 6, 2013.

        17. I did not anticipate a jurisdictional issue regarding the wiretap order, in part because the

            scope of the investigation was not anticipated at the time it was initiated.

        18. I had no role in the investigation.

        19. I did not intercept any of Albert Banks’ communications.

        20. I did not listen to any of Albert Banks’ calls or view any of his text messages.

        21. I did not use any of Albert Banks’ communications for any unlawful purpose. I was

            authorized to use the contents of Banks’ communications included in Virden’s affidavits as

            part of the judicial process of applying for wiretap orders. K.S.A. 22-2515(b)(c).

        22. I did not disclose any of Albert Banks’ communications to anyone other than Judge Platt.

        23. All of my actions in the criminal case were undertaken in my role as a prosecutor.

        24. At that time, I anticipated that any criminal charges against Banks and other suspects that

            resulted from the investigation would be filed and prosecuted in Geary County District

            Court in the Eighth Judicial District of Kansas.

        25. In fact, Banks was initially arrested on state charges on May 8, 2013, and placed in the Geary

            County Jail. He was charged with drug-trafficking offenses in Geary County District Court.

        26. During the course of the investigation, the decision was made to refer Banks to the Office

            of the United States Attorney for the District of Kansas to prosecute for violations of

            federal laws, including conspiracy, an offense more appropriate for federal court.




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                                                                                                             83
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        27. Based on this decision, I moved to dismiss the state-court charges. The state-court charges

            against Banks were dismissed without prejudice.

        28. I was not aware of the technical jurisdictional defect in the wiretap orders until Banks and

            others raised the issue in motions to suppress, which resulted in the suppression of those

            interceptions as evidence against Banks.

        29. The application and orders I prepared for submission to Judge Platt were based in part upon

            my review of the documents I had received and used in preparing the application, and I did

            not consider a technical jurisdictional issue at the time.

        I declare under penalty of perjury under the laws of the United States that the foregoing is true

 and correct.                    ;tit
        E xecuted on September /1 ,2020




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                                            IN THE DISTRICT COURT OF GEARY COUNTY, KANSAS
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                          IN THE MATfER OF THE APPUCATION                               )
                          OF TIIE STATE OF KANSAS                                       )       CASE NO.
                          FOR AN ORDER AUTHORIZING TIIB                                 )
Date Filed: 07/10/2023




                          JNTERCEPTION OF WIRE                                          )       UNDERSEAL
                          COMMUNICATIONS TO AND FROM                                    )
                          SPRINT/NEXTEL WIRELESS IBLEPHONE:                             )
                          785-375-6704                  .                               )
                          BEARING MOBILE STATION IDENTIFICATION#                        )
                          (MSID) 00007856601961 AND ELECTRONIC SERIAL                   )
                          # (ESN) 268435459909788757                                    )


                                                 ORDER AUTHORIZING THE INTERCEPTION
Document: 010110884675




                                                      OF WIRE COMMUNICATIONS

                          Application under oath having been made before me by Steven L. Opat, Geary County Attorney,

                          based on the sworn affidavit of Glen F. Virden, Senior Special Agent, Kansas Bureau of

                          fuvestigations, an investigative or law enforcement officer of the State of Kansas within the meaning

                          .9f Section 5 of KS.A. 22-2514, et seq, for an Order authorizing the interception of wire

                          communications pursuaI?-t to KS.A. 22-2514, et seq, and full consideration having been given to the
Appellate Case: 23-3102




                          matter set forth therein, the Court finds:

                          A.     there is probable cause to believe that Albert DeWayne Banks, D O B - and Anthony

                                 Carlyle Thompson, DOB . , and others named in the affidavit of the said Glen F.

                                 Virden, and others yet unknown (hereinafter "Target Subjects"), have committed, and are

                                 committing, and will continue to commit offenses enumerated in Article 57 of K.S.A. 21-

                                 5701 et seq, specifically possession of controlled substances with intent to distribute, and

                                 distribution of controlled substances, in violation of KS.A. 21-570 I et seq, specifically 21-



                                                                                                                        D000692
                                                                                                                 EXHIBIT C 001
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                                                                                                                                  86
                                 5705 and 5706: unlawful use of a communication facility to commit and facilitate the

                                 commission of drug trafficking offenses, in violation of KS.A. 21-5707; attempts,
Page: 86




                                 conspiracies or solicitations to possess with intent to distribute or to distribute controlled

                                 substances, in violation of KS.A. 21-5701 et seq, and K.S.A. 21-5301 and 21-5302 and 21-
Date Filed: 07/10/2023




                                5304; unlawful acts involving proceeds derived from violations of KS.A. 21-5701-5717.

                                (Hereinafter the "Target Offenses");

                          B.    there is probable cause to believe that particular wire communications of the said Albert

                                DeWayne Banks and the said Anthony Carlyle Thompson and others yet unknown

                                (hereinafter "Target lnterceptees"), concerning the above-described Target Offenses will be

                                obtained through the interception for which authorization has herewith been applied. In
Document: 010110884675




                                particular, there is probable cause to believe that the interception of wire communications

                                to and from the cellular telephone with the assigned telephone number 785-375-6704,

                                bearing MSID 00007856601961 and ESN 268435459909788757 with service provided by

                                Sprint/Nextel Wireless which is a subscribed prepaid account but with no subscriber name

                                attached, although it is clear that the principal user is and has been identified as Albert
Appellate Case: 23-3102




                                DeWayne Banks, will further disclose, detail and reveal the specifics of the above offenses,

                                including the depth of the conspiracy and the manner and means of how and with whom

                               these offenses are being committed, including the unknown sources from which the

                               distribution by Albert DeWayne Banks, Anthony Carlyle Thompson, and others is made

                               possible;

                          C.   it has been established that normal investigative procedures have been tried and have failed,

                               reasonably appear to be unlikely to succeed if tried, or are too dangerous to employ; and

                          D.   there is probable cause to believe that 785-375-6704 has been and will continue to be used

                                                                                                                       D000693
                                                                                                               EXHIBIT C 002
                                 Case 5:15-cv-03093-HLT Document 178-3 Filed 09/18/20 Page 3 of 35




                                                                                                                                      87
                                      in connection with commission of the above-described offenses.

                                      WHEREFORE, IT IS HEREBY ORDERED that Special Agents of the Kansas Bureau of
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                           Investigation, and other agencies acting under the supervision of the KBI, are authorized, pursuant

                           to an application as authorized ·by K.S.A. 22-2515, made by Steven L. Opat, the duly elected and

                          authorized County Attorney for Geary County, State of Kansas, to intercept wire communications
Date Filed: 07/10/2023




                          to and from the above-described telephone.

                                     PROVIDED that such interception(s) shall not tenninate automatically after the first

                          interception that reveals the manner in which the alleged co-conspirators and others as yet unknown

                          conduct their illegal activities, but may continue until all communications are intercepted which

                          reveal fully the manner in which the above-named persons and others as yet unknown are
Document: 010110884675




                          committing the offenses described herein, and which reveal fully the identities of their confederates,

                          their places of operation, and the nature of the conspiracy involved therein, or for a period of thirty

                          (30) days measured from the day on which investigative or law enforcement officers first begin to

                          conduct an interception under this order or ten (10) days after this order is entered, whichever is

                          earlier.
Appellate Case: 23-3102




                                     l TIS ORDERED FURTHER that in the event that the target telephone is transferred outside

                          the territorial jurisdiction of this court, interceptions may take place in any other jurisdiction within

                          the United States.

                                     IT 1S ORDERED FURTHER that the authorization given is intended to apply not only to

                          the target telephone number listed above, but also to any other telephone number or telephone

                          accessed through the above-referenced MSID number, and to any other MSID number accessed

                          through the target telephone number referenced above, within the thirty (30) day period. The

                          authorization is al.so intended to apply to the target telephone number referenced above regardless


                                                                                                                            D000694
                                                                                                                    EXHIBIT C 003
                                      Case 5:15-cv-03093-HLT Document 178-3 Filed 09/18/20 Page 4 of 35




                                                                                                                                       88
                                 of service provider, and to background conversations intercepted in the vicinity of the target

                                telephone while the telephone is off the hook or otherwise in use.
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                                        IT IS ORDERED FURTHER that, based upon the request of the Applicant pursuant to

                                KS.A 22-2514, and the definitions set forth therein, and K.S.A. 22-2515 and 2516, Sprint/ Nextel,
     Date Filed: 07/10/2023




                                an electronic communication service provider as defined in Section 2510(15) of Title 18, United

                                States Code and K.S.A. 22-2514, shall furnish the KBI and/or it's agents or designees with all

                                information, facilities and technical assistance necessary to accomplish the interceptions

                               . unobtrusively and with a minimum of interference with the services that such provider is according

                                the persons whose communications are to be intercepted, with the service provider to be
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                               . compensated by the KBI for reasonable expenses incurred in providing such facilities or assistance.

                                        IT IS ORDERED FURTHER that, to avoid prejudice to the government's criminal

                                investigation, the provider of the electronic communications service and its agents and employees

                                are Ordered Not To Disclose or Cause Disclosure of the Order or the request for information,

                                facilities and assistance by the KBI or the existence of the investigation to any person other than

                               those of its agents and employees who require this information to accomplish the services hereby
     Appellate Case: 23-3102




                                ordered. In particular, said provider and its agents and employees shall not make such disclosure to

                               a lessee, ~lephone subscriber or any interceptee or participant in the intercepted communications.

i.                                     IT IS ORDERED FURTHER that this Order shall be binding on any subsequent provider

                               of electronic communications services as defmed in Title 18, United States Code~ Section 2510(15)

                               and K.S.A. 22-2514 et seq, that provides services to the target telephone number(s) listed above

                               upon service of a certified copy of this Order without any further court order being required.

                                       ITIS ORDERED FURTHER that this order shall be executed as soon as practicable and that

                               a11 · monitoring of wire communications shall be conducted in such a way as to minimize the

                                                                                                                             D000695
                                                                                                                      EXHIBIT C 004
                                             Case 5:15-cv-03093-HLT Document 178-3 Filed 09/18/20 Page 5 of 35




                                                                                                                                            89
                                     interception and disclosure of the communications intercepted to those communications relevant to

                                     the· pending investigation. The interception of wire commurlicatfons must terminate upon the
       Page: 89




                                     attainment of the authorized objectives, not to exceed thirty (30) days measured from the earlier of
                                        ,,


                                     the day on.which investigative or law enforcement officers first begin to conduct an interception of

                                     th:itlllrder or ten (10) days after he order is entered.
       Date Filed: 07/10/2023




                                              Monitoring of conversations must terminate immediately when it is determined that the

                                     conversation is unrelated to communications subject to interception under Chapter 119, Title 18,

                                     United States Code and K.S.A. 22-2514 et seq .. Interception must be suspended immediately when

                                     it is determined through voice identification, physical surveillance, or otherwise, that none of the

                                     named Target Interceptees or any of their confederates, when identified, are participants in the
       Document: 010110884675




                                    conversation unless it is determined during the portion of the conversation already overheard that

                                     the conversation is criminal in nature. If the conversation is minimized, the monitoring agent shall

                                    spot check to insure that the conversation has not turned to criminal matters.

                                              IT IS ORDERED FURTHER that. pursuant to Section 2518(5), Title 18, United States Code

                                    and K.S.A. 22-2514 et seq, in the event intercepted communications are in a code or foreign
       Appellate Case: 23-3102




                                    language, and an expert in that code or foreign language is not reasonably available during the

  j                                 interception period, minimization may be accomplished as soon as practicable after such

                                    interception.

,j
iJ                                           IT IS ORDERED FURTHER that Steven L. Opat, Geary County Attorney and/or Antonio
 ._j
,:i
                                    Cruz Assistant Geary County Attorney shall provide this Court with a report on or about the tenth,

                                    twentieth, and thirtieth days following the date of this Order showing what progr~s has been made

                                 tJc toward achievement of the authorized objectives and the need for continued interception. If any of

                                    the above~ordered · reports should become due on a weekend or holiday, IT IS ORDERED

                                                                                                                               D000697
                                                                                                                          EXHIBIT C 005
                                            Case 5:15-cv-03093-HLT Document 178-3 Filed 09/18/20 Page 6 of 35




                                                                                                                                                                                                          90
                                     FURTHER that such report shall become due on the next business day thereafter.

                                              lTIS ORDERED FURTHER that this Order, the application, affidavit and proposed or~er,
        Page: 90




                                     and all interim reports filed with this Court with regard to this matter, shall be sealed until further
                                                  .,        -     .                                                                                               ·.          .         ...
                                     order of this Court, except that copies of the order, in full or redacted form, may be served on the
                                                                                                                                           •   .j•   ... I•   •        f   • ,• •i ',    •    f   l   •




                                    KBI and th~ se~vice provider as necessary to effectuate this order.
        Date Filed: 07/10/2023




                                             DONE and ORDERED this           ·L day of JtU_,rc.,{ , 20 IJ , at in Junction City,
                                    Kansas.
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        Appellate Case: 23-3102




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 Appellate Case: 23-3102




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                                Case 5:15-cv-03093-HLT Document 178-3 Filed 09/18/20 Page 10 of 35

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                                              IN THE DISTRICT COURT OF GEARY COUNTY, KANSAS
Page: 94




                           . IN THE MATIER OF THE APPUCATION                              )
                             OF THE STAIB OF KANSAS                                       )       CASE NO.
                             FOR AN ORDER AUTHORIZING TIIE
Date Filed: 07/10/2023




                                                                                          )
                             IN1ERCEPTION OF WIRE                                         )       UNDERSEAL
                            COMMUNICATIONS TO AND FROM                                    )
                            T-MOBILE USA WIRELESS TELEPHONE:                              )
                            785-226-1783                                                  )
                            BEARING INTERNATIONAL MOBILE STATION                          )
                            IDENTIFICATION# (IMSI) 310260445955245                        )



                                                  ORDER AUTHORIZING THE INTERCEPTION
Document: 010110884675




                                                       OF WIRE COMMUNICATIONS

                            Application under oath having been made before me by Steven L. Opat, Geary County Attorney,

                           based on the sworn affidavit of Glen F. Virden, Senior Special Agent, Kansas Bureau of

                           Investigations, an investigative or law enforcement officer of the State of Kansas within the meaning

                           of Section 5 of KS.A. 22-2514, et seq, for an Order authorizing the interception of wire

                          · communications pursuant to K.S.A. 22-2514, et seq, and full consideration having been given to the
Appellate Case: 23-3102




                           matter set forth therein, the Cou11 finds:

                           A.      there is pro_bable cause to believe that Al}?ert DeWayne Banks, D O B - and Anthony

                                   Carlyle Thompson, DOB - • and others named in the affidavit of the said Glen F.

                                   Virden, and others yet unknown (hereinafter "Target Subjects"), have committed, and are

                                   committing, and will continue to commit offenses enumerated in Article 57 of K.S.A. 21-

                                   5701 et seq, specifically possession of controlled substances with intent to distribute, and

                                   distribution of controlled substances, in violation ofK.S.A. 21-5701 et seq, specifically 21-·

                                                                                                                  EXHIBIT 5
                                                                                                                         D000775
                                                                                                                 EXHIBIT C 010
                               Case 5:15-cv-03093-HLT Document 178-3 Filed 09/18/20 Page 11 of 35




                                                                                                                                   95
                                 5705 and 5706, unlawful use of a communication facility to commit and facilitate the

                                 commission of drug trafficking offenses, in violation of KS.A. 21-5707; attempts,
Page: 95




                                · conspiracies or solicitations to possess with intent to distribute or to distribute controlled

                                 substances, in violation ofK.S.A. 21-5701 et seq, and K.S.A. 21-5301 and 21-5302 and21-
Date Filed: 07/10/2023




                                 5304; unlawful acts involving proceeds derived from violations of K.S.A. 21-5701-5717.

                                 (Hereinafter the "Target Offenses");

                          B.     there is probable cause to believe that particular wire communications of the said Albert

                                 DeWayne Banks and the said Anthony Carlyle Thompson and others yet unknown

                                 (hereinafter "Target lnterceptees"), concerning the above-described Target Offenses will be

                                 obtained through the interception for which authorization has herewith been applied. In
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                                 particular, there is probable cause to believe that the interception of wire communications

                                 to and·frorn the cellular telephone with the assigned telephone number 785-226-1783,

                                 bearing IMSI 310260445955245 with service provided by T-Mobile USA Wireless with

                                 subscriber listed as one Jason Roberts, although it is clear that the principal user is and has

                                 been identified as Anthony Carlyle Thompson, will further disclose, detail and reveal the
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                                 specifics of the above offenses, including the depth of the conspiracy and the manner and

                                 means of how and with whom these offenses are being committed, including the unknown

                                 sources from which the distribution by Albert DeWayne Banks, Anthony Carlyle Thompson,

                                 and others is made possible;

                          C.    it has been established that normal investigative procedures have been tried and have failed,

                                reasonably appear to be unlikely to suc~eed if tried, or are too dangerous to employ; and

                          D.    there is probable cause to believe that 785-226-1783 has been and will continue to be used

                                in connection with commission of the above-described offenses.

                                                                                                                        D000776
                                                                                                                EXHIBIT C 011
                               Case 5:15-cv-03093-HLT Document 178-3 Filed 09/18/20 Page 12 of 35




                                                                                                                                       96
                                      WHEREFORE, IT IS HEREBY ORDERED that Special Agents of the Kansas Bureau of

                           Investigation, and other agencies acting under the supervision of the KBI, are authorized, pursuant
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                           to an application as authorized by K.S.A. 22-2515, made by Steven L. Opat, the duly elected and

                          . authorized County Attorney for Geary County, State of Kansas, to intercept wire communications
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                           to and from the above-described telephone.

                                      PROVIDED that such interception(s) shall not terminate automatically after the first

                           interception that reveals the manner in which the alleged co-conspirators and others as yet unknown

                           conduct their illegal activities, but may continue until all communications are intercepted which

                           reveal fully the manner in which the above-named persons and others as yet unknown are
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                          · committing the offenses described herein, and which reveal fully the identities of their confederates,

                           their places of operation, and the nature of the conspiracy involved therein, or for a period of thirty

                           (30) days measured from the day on which investigative or law enforcement officers first begin to

                           conduct an interception under this order or ten (10) days after this order is entered, whichever is

                           earlier.

                                      1TIS ORDERED FURTHER that in the event that the target telephone is transferred outside
Appellate Case: 23-3102




                          the .territorial jurisdiction of this court, interceptions may take place in any other jurisdiction within

                          the United States.

                                      IT lS ORDERED FURTHER that the authorization given is intended to apply not only to

                          the target telephone number listed above, but also to any other telephone number or telephone

                          accessed through the above-referenced IMSI number, and to any other IMSI number accessed

                          through the target telephone number referenced above, within the thirty (30) day period. The

                          authorization is also intended to apply to the target telephone number referenced above regardless

                          of service provider, and to background conversations intercepted in the vicinity of the target

                                                                                                                           D000777
                                                                                                                   EXHIBIT C 012
                                  Case 5:15-cv-03093-HLT Document 178-3 Filed 09/18/20 Page 13 of 35




                                                                                                                                      97
                               telephone while the telephone is off the hook or otherwise in use.

                                      IT IS ORDERED FURTHER that, based upon the request of the Applicant pursuant to
    Page: 97




                               K.S.A. 22-2514t and the definitions set forth therein, and K.S.A. 22-2515 and 2516, T-Mobile, an

                               electronic communication service provider as defined in Section 2510( 15) of Title 18, United States
    Date Filed: 07/10/2023




                               Code and K.S.A. 22-2514, shall furnish the KBI and/or it's agents or designees with all information,

                              facilities and technical assistance necessary to accomplish the interceptions unobtrusively and with

                              a minimum of interference with the services that such provider is according the persons whose

                              ·· communications are to be intercepted, with the service provider to be compensated by the KBI for

                              reasonable expenses incurred in providing such facilities or assistance.
    Document: 010110884675




                                      IT IS ORDERED FURTHER that, to avoid prejudice to the government's criminal

                              investigation, the provider of the electronic communications service and its agents and employees

                              are Ordered Not To Disclose or Cause Disclosure of the Order or the request for information,

                              facilities and assistance by the KBI or the existence of the investigation to any person other than

                              those of its agents and employees who require this information to accomplish the services hereby

L                             ordered. In particular, said provider and its agents and employees shall not make such disclosure to
    Appellate Case: 23-3102




                              a lessee, telephone subscriber or any interceptee or participant in the intercepted communications.

                                      IT IS ORDERED FURTHER that this Order shall be binding on any subsequent provider

                              of electronic communications service.s as defined in Title 18, United States Code, Section 2510(15)

                              and K.S.A. 22-2514 et seq, that provides services to the target telephone number(s) listed above

                              upon service of a certified copy of this Order without any further court order being required.

                                      IT IS ORDERED FURTHER that this order shall be executed as soon as practicable and that

                              all monitoring of wire communications shall be conducted in such a way as to minimize the

                              interception and disclosure of the communications intercepted to those communications relevant to

                                                                                                                          D000778
                                                                                                                   EXHIBIT C 013
                              Case 5:15-cv-03093-HLT Document 178-3 Filed 09/18/20 Page 14 of 35




                                                                                                                                  98
                           the pending investigation. The interception of wire communications must tenninate upon the

                           attainment of the authorized objectives, not to exceed thirty (30) days measured from the earlier of
Page: 98




                           the day on which investigative or law enforcement officers first begin to conduct an interception of

                           this order or ten (10) days after he order is entered.

                                   Monitoring of conversations must terminate immediately when it is determined that the
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                           conversation is unrelated to communications subject to interception under Chapter 119, Title 18,

                           United States Code and KS.A. 22-2514 et seq .. Interception must be suspended immediately when

                           it is detennined through voice identification, physical surveillance, or otherwise, that none of the

                           named Target Interceptees or any of their confederates, when identified, are participants in the

                           conversation unless it is determined during the portion of the conversation already overheard that
Document: 010110884675




                          the conversation is criminal in nature. If the conversation is minimized, the monitoring agent shall

                          spot check to insure that the conversation has not turned to criminal matters.

                                  IT IS ORDERED FURTHER that, pursuant to Section 2518 (5), Title 18, United States Code

                          and KS.A. 22-2514 et seq, in the event intercepted communications are in a code or foreign

                          language, and an expert in that code or foreign language is not reasonably available during the
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                          interception period, minimization may be accomplished as soon as practicable after such

                          interception.

                                 IT IS ORDERED FURTHER that Steven L. Opat, Geary County Attorney and /or Antonio

                          Cruz Assistant Geary County Attorney shall provide this Court with a report on or about the tenth,

                          twentieth, and thirtieth days following the date of this Order showing what progress has been made

                          toward achievement of the authorized objectives and the need for continued interception. If any of

                          the above-ordered reports should become due on a weekend or holiday, IT IS ORDERED

                          FURTHER that such report shall become due on the next business day thereafter.


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                                                                                                              EXHIBIT C 014
                             Case 5:15-cv-03093-HLT Document 178-3 Filed 09/18/20 Page 15 of 35




                                                                                                                                     99
                                    IT IS ORDERED FURTIIER that this Order, the application, affidavit and proposed order,

                          and all interim reports filed with this Court with regard to this matter, shall be sealed until further
Page: 99




                          order of this Court, except that copies of the order, in full or redacted fonn, may be served on the

                          KBI and the service provider as necessary to effectuate this order.

                                                                  ,S- day of µf4-eA
Date Filed: 07/10/2023




                                 DONE and ORDERED this                                             20 / 5, at in Junction City,

                          Kansas.


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                                                  Case 5:15-cv-03093-HLT Document 178-3 Filed 09/18/20 Page 16 of 35




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                                         Case 5:15-cv-03093-HLT Document 178-3 Filed 09/18/20 Page 17 of 35
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                                       Case 5:15-cv-03093-HLT Document 178-3 Filed 09/18/20 Page 18 of 35




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                                                                                                        EXHIBIT C 018
                           Case 5:15-cv-03093-HLT Document 178-3 Filed 09/18/20 Page 19 of 35




                                                                                                                                     103
                                           IN THE DISTRICT COURT OF GEARY COUNTY, KANSAS
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                          IN THE MATIER OF THE APl?llCATI0N                              )
                          OF THE STATE OF KANSAS                                         )       CASE NO.
                          FOR AN ORDER AUTHORIZrNG THE                                   )
Date Filed: 07/10/2023




                          INTERCE PTION OF WIRE                                          )       UNDER SEAL
                          COMMUNICATIONS TO AND FROM                                     )
                          T-M0BILE USA WIRELESS TELEPHONE:                               )
                          785-226-1 783                                                  )
                          BEARING INTERNA TIONAL MOBILE STATION                          )
                          IDENTIFICATION# (IMSI) 31026044 5955245                        )


                                                                        ORDER

                                 Applicatio n under oath having been made before been made before me by Steven L. Opat,
Document: 010110884675




                          duly elected County Attorney for Geary County, State of Kansas, an "investigative or law

                          enforceme nt officer" of the State of Kansas within the meaning of Section 2510(7) of Title 18,

                          United States Codes, and K.S.A. 22-2514; for an Order authorizing the Continued interceptio n (i.e.

                          an extension) of wire communic ations pursuant to K.S.A. 22-2514 et seq. particularly 22-

                          2515(a)(l 1) and (20) as previously authorized by this Court on March 5, 2013, and therefore full

                          considerat ion having been given to the matter set forth therein, the Court Finds;
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                                  A.      there is probable cause to believe that Anthony Carlyle Thompson , Albert DeWayne

                          Banks, Johnny Lee Ivory, Otis Ponds, others named :in the affidavits and progress reports herein, and

                          others as yet unknown, have committed, and are comin:itting specificall y possession of controlled

                          substances (with intent to distribute) and distributio n ofcontrolled substances, in violation of K.S.A.

                          21-5701 et seq, specifically 21-5705 and 5706; unlawful use of a communic ation facility to commit

                          and facilitate the commission of drug trafficking offenses, in violation of K.S.A. 21-5707; attempts,



                                                                                                                  EXHIBIT 11


                                                                                                                     EXHIBIT C 019
                            Case 5:15-cv-03093-HLT Document 178-3 Filed 09/18/20 Page 20 of 35




                                                                                                                                           104
                                                                                            ute or to distribute contro11ed substances,
                          conspiracies or solicitations to possess with intent to distrib

                          in violation of K.S.A. 21-5701 et seq, and K.S.A .21-53 01
                                                                                            and21-5302 and 21-5304; unlawful acts
Page: 104




                                                                                       . 21-57 01-57 17, hereinafter the "Targ et
                          involv ing proce eds derived from violations of K.S.A

                          Offen ses";
                                                                                                               unica tions of Anthony
                                           there is probable cause to believe that partic ular wire comm
Date Filed: 07/10/2023




                                  B.

                                                                              Ivory, Otis Ponds , others named in such
                          Carlyle Thom pson, Albert DeWayne Banks, Johnny Lee
                                                                                             others as yet unknown, conce rning the
                          previously submi tted affidavits an progress reports, and

                                                                                        interc eption for which authorization has
                          above -descr ibed offens es will be obtained through the

                                                                                               to believ e that the interception of wire
                          herew ith been applied. In particular, there is probable cause

                                                                                              er 785-2 26-17 83, bearin g International
                           comm unica tions to and from the telephone bearin g numb
Document: 010110884675




                                                                                        55245 , Targe t Phone, which is a T-Mobile
                           Mobil e Subsc riber Identity Number (IM.SI): 31026 04459

                                                                                                ts, with the primary user havin g been
                           USA Wireless cellular telephone, subscribed to Jason Rober
                                                                                             specif ics of the above offenses, including
                           identified as Antho ny Carlyle Thompson. will concern the

                           the mann er and means of the commission of the offenses(s);
                                                                                                                    been tried and have
                                   C.       it has been established that normal investigative proce dures have

                                                                                               or are to dangerous to employ; and
                           failed, reaso nably appea r to be unlikely to succeed if tried,
Appellate Case: 23-3102




                                                                                                               g the number 785-226-
                                    D.      there is probable cause to believe that the teleph one bearin

                                                                                                 er (IMSI): 310260445955245, which
                            1783, bearin g International Mobile Subsc iiber Identity Numb
                                                                                               to Jason Roberts, with the primary user
                           is a T-Mo bile USA Wireless cellul ar telephone, subscribed

                                                                                            has been and will continue to be used in
                           havin g been identi fied as Antho ny Carlyle Thompson,

                                                                                               es.
                           conne ction with comm ission of the above-described offens




                                                                                                                           EXHIBIT C 020
                            Case 5:15-cv-03093-HLT Document 178-3 Filed 09/18/20 Page 21 of 35




                                                                                                                                             105
                                                                                                                   Glen Virden of the
                                 WHER EFORE , IT IS HEREB Y ORDE RED that Senior Special Agent

                                                                                                   agent, are authorized, pursuant
                          KB.l., and other agencies acting under the supervision of a K.B.I.
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                                                                                                    an authorized "investigative or
                          to an applica tion signed by Steven L. Opat, Geary County Attorney,

                                                                                                        g of Section 2514 of K.S.k
                          law enforce ment officer " of the State of Kansas within the meanin

                                                                                                   to Contin ue to interce pt wire
Date Filed: 07/10/2023




                          chapte r 22, that is an attorney authori zed by law to prosecu te,

                          commu nicatio ns to an from the above- describ ed telephone.
                                                                                                                 tically after the first
                                  PROV IDED that such interce ption(s ) shall not termina te automa

                                                                                                          rs and others as yet unknow n
                          interce ption that reveals the manne r in which the alleged co-con spirato

                                                                                                             ns are interce pted which
                          conduc t their illegal activities, but may continu e until all commu nicatio

                                                                                                          others as yet unknow n are
                          reveal fully the manner in which the above- named person s and
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                                                                                                        identities of their confederates,
                          commi tting the offense s describ ed herein, and which reveal fully the

                                                                                                    therein, or for a period of thirty
                          their place of operations, and the nature of the conspir acy involve d

                                                                                                           ment officers first continu e
                          (30) days measur ed from the day on which investigative or law enforce

                           to conduc t an interception under this order.
                                                                                                                ne is transfe rred outside
                                   IT IS ORDE RED FURTH ER that in the event that the target telepho

                                                                                                        in any other jurisdic tion within
                           the territor ial jurisdic tion of this court, interceptions may take place
Appellate Case: 23-3102




                           the United States.

                                                                                                                 to the target telephone
                                   IT IS ORDE RED FURTH ER that the authorization apply not only

                                                                                                            subseq uently assigned and
                           numbe r(s) listed above, but to any change d telephone numbe r or JMSI

                                                                                                         but to any change d telepho ne
                           utilized by the target telepho ne within the thirty (30) day period,

                                                                                                          d to or used by the instrument
                           numbe r or IMSI or any other telepho ne numbe r subseq uently assigne
                                                                                                            (30) day period. It is also
                           bearing the same IMSI as the target cellula r phone within the thirty

                                                                                                               pted in the vicinity of the
                           Ordere d that the authorization apply to backgr ound conver sations interce




                                                                                                                            EXHIBIT C 021
                            Case 5:15-cv-03093-HLT Document 178-3 Filed 09/18/20 Page 22 of 35




                                                                                                                                      106
                          target telephone while the telephone is off the hook_ or otherwise in use.

                                  IT IS ORDERED FURTHER that, based upon the request of 1he Applicant pursuant to
Page: 106




                          Chapter 119 of Title 18, United States Code, and K.S.A. 22-2514 & 2516 as amended, T-Mobile

                          USA Wireless an electronic communication service provider as defined by law shall furnish the

                          KB .I. will all infonnation, facilities and technical assistance necessary to accomplish the
Date Filed: 07/10/2023




                          interceptions unobtrusively and with a minimum of interference with the services that such provider

                          is according the persons whose communications are to be intercepted, with the service provider to

                          be compensated by the K.B.I. for reasonable expenses incurred in providing such facilities or

                          assistance.

                                  IT IS ORDERED FURTHER that in the event that the service provider changes during the
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                          course of the interception, interception may continue with the new service provider without further

                          order of this Court. The State of Kansas will advise the Court of the change of service provider in

                          the periodic progress reports submitted to this Court.

                                  IT IS ORDERED FURTHER that, to avoid prejudice to the government's criminal

                          investigation, the provider of the electronic communication s service and its agents and employess

                          are ordered not to disclose or cause a disdosure of the Order or the request for information, facilities
Appellate Case: 23-3102




                          and assistance by the K.B.I. or the existence of the investigation to any person other than those of

                          its agents and employees who require this information to accomplish the services hereby ordered.

                          In particular, said provider and its agents and employees shaJ1 not make such disclosure to a lessee,

                          telephone subscriber or any interceptee or participant in the intercepted communications.

                                  IT IS ORD BRED FURTIIER that this order shall be executed as soon as practicable and that

                          all monitoring of wire communications shall be conducted in such a way as to minimize the

                          interception and disclosure of the communications intercepted to those communications relevant to




                                                                                                                      EXHIBIT C 022
                            Case 5:15-cv-03093-HLT Document 178-3 Filed 09/18/20 Page 23 of 35




                                                                                                                                                                     107
                                                                                                           .·,.·.··.-·•: .•;:.·· ....... -~······ . --~~--.··.· ..




                                                                                        ions must terminate upon that
                          the pending investigation. The interception of wire communicat
                                                                                                  measured from the earlier of
                          attainment of the authorized objectives, not to exceed thirty (30) days
Page: 107




                                                                                                  to Conti nue to conduct an
                          the day on which investigative or Jaw ertforcement officers first begin

                          interception of this Order.
                                                                                                 is determined that the
                                  Monitoring of conversations must tenninate immediately when it
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                                                                                              under Chapter 119,                   Title 18
                          conversation is unrelated to communications subject to interception
                                                                                          must be suspended immediately
                          United States Code and K.S .A 22-2516 as amended. Interceptions
                                                                                                     or otherwise, that none of
                          when it is determined through voice identification, physical surveillance,
                                                                                           ied, are participants in the
                          the named interceptees or any of their confederates, when identif
                                                                                              rsation is overheard that the
                          conversation unless it is determined during the portion of the conve
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                                                                                                the monitoring agent shall spot
                          conversation is criminal in nature. If the conversation is minimized.
                                                                                                  s.
                           check to insure that the conversation has not turned to criminal matter
                                                                                                  United States                           Code,
                                  IT IS ORDERED FURTIIER that. pursuant to Chapter 119, Title 18,
                                                                                             ions are in a code or foreign
                           and K.S.A. 22-2516 as amendedi in the event intercepted communicat

                           language, and an expert in the code or foreign language is not
                                                                                              reasonably available during the

                                                                                         as practicable                        after such
                           interception period. minimization may be accomplished as soon
Appellate Case: 23-3102




                           interception.
                                                                                                        Attorney or Tony Cruz
                                   IT IS ORDERED FURTHER that Steven L. Opat Geary County
                                                                                          a report       on or about the tenth,
                           Assistant Geary County Attorney, shall provide this Court with
                                                                                                the    Order of March 5, 2013
                           twentieth, and thirtieth days following the date of the Extension of
                                                                                              achievement of the authorized
                           as Authorized this date showing what progress has been made toward
                                                                                               ordered reports should become
                           objectives and need for continued interception. If any of the above-
                                                                                        report shall                  become due on
                           due on a weekend or holiday, tr 1S ORDERED FURTHER that such




                                                                                                                           EXHIBIT C 023
                            Case 5:15-cv-03093-HLT Document 178-3 Filed 09/18/20 Page 24 of 35




                                                                                                                                     108
                          the next business day thereafter.

                                 IT IS ORDERED FURTIIER that; pursuant to law, Federal and State, (K.S.A. 22-2516), to
Page: 108




                          prevent premature disclosure of an ongorng investigation, guard against fugitives, and better ensure

                          the safety of agents and others, service of any notice requested by law may be delayed for a period

                          of thirty (30) days after the tenntnation of the monitoring period authorized by the warrant.
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                                  IT IS ORDERED FURTHER that T-Mobile USA Wireless, its affiliates, officers, employees,

                          and agents not disclose the Court's Order or the underlying investigation, until notice is given as

                          provided above.

                                  ITIS ORDERED FURTHER that this Order of Extension, the application, any affidavit(s)

                          and/or progress reports filed with this Court with regard to this matter, shall be sealed until further
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                          order of this Court, except that copies of the Order, in full or redacted form, may be served on the

                          service provider as necessary to effectuate this Order.

                                  DONE and ORDERED this          _!j_ day of April, 2013, at           3f Z 7      ~p.m. in

                          Junction City, Kansas.




                                                                                 HONORABLE DAVID R. PLATT
Appellate Case: 23-3102




                                                                                 DISTRICT JUDGE
                                                                                 gm JUDICIAL DISTRICT
                                                                                 STATE OF KANSAS




                                                                                                                     EXHIBIT C 024
                                 Case 5:15-cv-03093-HLT Document 178-3 Filed 09/18/20 Page 25 of 35




                                                                                                                                   109
                                             1N THE D.ISTRICTCOURT OF GEARY COUNTY, KANSAS
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                           . IN THE MATIER OF THE APPLICATION                            )
                            OF THE STATE OF KANSAS                                      )       CASE NO.
Date Filed: 07/10/2023




                            FOR AN ORDER AUTHORIZING THE                                )
                            INTERCEPTION OF WIRE                                        )       UNDER SEAL
                            COMMUNICATIONS TO AND FROM                                  )
                            VIRGIN MOBILE USNSPRINT PCS:                                )
                           785-717-9771.                                                )
                           MOBILE STATION IDENTIFICATION NUMBER                         )
                           # (MSID) 000007853750181                                     )
                           ELECTRONIC SER1AL NUMBER                                     )
                            # (ESN) 268435460914908669                                  )
Document: 010110884675




                                                  ORDER AUTHORIZING THE INTERCEPTION
                                                       OF WIRE COMMUNICATIONS

                          Application under oath having been made before me by Steven L. Opat, Geary County Attorney,

                          based on the sworn affidavit of Glen F. Virden, Senior Special Agent, Kansas Bureau of

                          Investigations, an investigative or law enforcement officer of the State of Kansas within the meaning

                          of Section 5 of K.S.A. 22-2514, et seq, for an Order authorizing the interception of wire/oral and/or
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                          electronic communications pursuant to K.S.A. 22-2514, et seq, and full consideration having been

                          given to the matter set forth thel'ein, the Court finds:

                          A.      there is probable cause to believe that Albert DeWayne Banks, B/M D O B - Anthony

                                  Thompson D O ~ Otis Ponds, Johnny Ivory and others named in the affidavit of the

                                  said Glen F. Virden, and others yet unknown (hereinafter "Target Subjects"), have

                                 committed, and are committing, and will continue to commit offenses enumerated in Article

                                 57 of K.S.A. 21-5701 et seq, specifically possession of controlled substances with intent to


                                                                                                                      EXHIBIT 15
                                                                                                                      D003025
                                                                                                                 EXHIBIT C 025
                                Case 5:15-cv-03093-HLT Document 178-3 Filed 09/18/20 Page 26 of 35




                                                                                                                                        110
                                      distribute, and distribution of controlled substances, in violation of K.S.A. 21-5701 et seq,
                                  .
                                                                                                                  .
                                      specifically 21-5705 and 5706~ unlawful use of a communica tion facility to commit and
Page: 110




                                      facilitate the commission ·of dmg trafficking offenses, in violation of K.S.A: 21-5707;

                                  attempts, conspiracies ot solicitations to possess with intent to distribute or to dist:ribute

                                  controlled substances, in violation of K.S.A. 21-5701 et seq, and K.S.A. 21-5301 and 21- ·
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                                  5302 and 21-5304; unlawful acts involving proceeds derived from violations ofK.S.A. 21-

                                  5701-5717. (Hereinafter the "Target Offenses");

                           B.     there is probable cause to believe that particular wire/oral and/or electronic communica tions

                                 · of the said Albert DeWayne Banks, Anthony Thompson, Otis Ponds, Johnny Ivory and others

                                 yet unknown (hereinafter ''Target lnterceptees"), concerning the above-described Target
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                                 Offenses will be obtained through the interception for which authorization has herewith been

                                 applied. In particular, there is pl'0bable cause to believe that the interception of wire/oral

                                 and/or electronic communications to and from the ce11ular telephone with the assigned

                                 telephone      number     785-717-9771,     bearing   MSID     000007853750181         and    ESN

                                 268435460914908669 with service provided by Virgin Mobile/Spr int PCS with subscriber

                                 listed as one Glenda Robertson, although it is clear that the principal user is and has been
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                                 identified as Albert DeWayne Banks, will further disclose, detail and reveal the specifics of

                                 the above offenses, including the depth of the conspiracy and the manner and means of how

                                and with whom these offenses are being committed, including the unknown sources from

                                which the distribution by Albert De Wayne Banks, Anthony Carlyle Thompson, Otis Ponds,

                                Johnny Ivory and others is made possible;

                          C.    it has been established that normal investigative procedures have been tried and have failed,

                                reasonably appear to be unlikely to succeed if tried, or are too dangerous to employ; and



                                                                                                                              D003026
                                                                                                                      EXHIBIT C 026
                                 Case 5:15-cv-03093-HLT Document 178-3 Filed 09/18/20 Page 27 of 35




                                                                                                                                      111
                          · D.       there is probable cause to believe that 785-717-9771 has been and will continue to be used
Page: 111




                                     in connection with commission of the above-described offenses ..

                                     . WHEREFORE, IT IS HEREBY ORDERED that Special Agents of the Kansas Bureau of

                          Investigation, and other agencies acting under the supervision of the KBI, are authorized, pursuant
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                          to an application as authorized by K.S.A. 22-2515, made by Steven L. Opat, the duly elected and

                          authorized County Attorney for Geary County, State of Kansas, to intercept wire/oral and/or ·

                          electronic communications to and from the above-described telephone.

                                     PROVIDED that such interception(s) · shall not terminate automatically after the first

                          interception that reveals the manner in which the alleged co-conspirators and others as yet unknown
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                          conduct their illegal activities, but may continue until all communications are intercepted which

                          reveal fully the manner in which the above-named persons and others as yet unknown are

                          committing the offenses described herein, and which reveal fully the identities of their confederates,

                          their places of operation, and the nature of the conspiracy involved therein, or for a period of thirty

                          (30) days measured from the day on which investigative or law enforcement officers first begin to

                          conduct an interception under this order or ten (10) days after this order is entered, whichever is
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                          earlier.

                                     1TIS ORDERED FURTHER that in the event that the target telephone is transferred outside

                          the territorial jurisdiction of this court, interceptions may take place in any other jurisdiction within

                          the United States.

                                     IT 1S ORDERED FURTHER that the authorization given is intended to apply not only to

                          the target telephone number listed above, but also to any other telephone number or telephone

                          accessed through the above-referenced MSID number, and to any other MSID/IMSI number accessed



                                                                                                                         D003027
                                                                                                                    EXHIBIT C 027
                                         Case 5:15-cv-03093-HLT Document 178-3 Filed 09/18/20 Page 28 of 35




                                                                                                                                                                                                                                                                                                112
                           -~~=... ,. . ,·- ,_.... ,. . . . , ... ... ,.......•.··.··:··: ..... ··1 ···•• ............. •............ ,. .........., ............... ··.·.•.··..,•,:··,. ···• •..•....... •...•...... ··. · .. , ...•, ........ ,..   ·.. ·..... _.. ·····. ,. ·······-· .. .
                          ··       Case· 5:13-cr::40060-DDC Document 379.:25 Filed· 07/01/14 Page 4 of 6




                             through the target telephone number. referenced above, within the thirty (30) day period. The

                            authorization                    is also intended to apply to the target telephone number referenced above regardless
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                            of service provider, and to background conversations intercepted in the vicinity .of the target

                            telephone while the telephone                                          is off the hook or otherwise in use.
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                                              IT IS ORDERED FURTHER that, based upon the request of the Applicant pursuant to ·

                            K.S.A. 22-2514, and the definitions set forth therein, and k.S.A. 22-2515 and 2516, Virgin Mobile

                           USA/Sprint PCS , an electronic communication service provider as defined in Section 25 i 0( 15) of

                           Title 18, United States Code and K.S.A. 22-2514, shall furnish the KBI and/or it's agents or

                           designees with all information, facilities and technical assistance necessary to accomplish the

                          interceptions unobtrusively and with a minimum of inte1ference with the services that such provider
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                          is according the persons whose communications are to be intercepted, with the service provider to

                          be compensated by the KBI for reasonable expenses incurred in providing such facilities or

                          assistance.

                                            IT IS ORDERED FURTHER that, to avoid prejudice to the government's criminal

                          investigation, the provider of the electronic communications service and its agents and employees
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                          are Ordered Not To Disclose or Cause Disclosure of the Order or the request for information,

                          facilities and assistance by the KBI or the existence of the investigation to any person other than

                          those of its agents and employees who require this information to accomplish the services hereby

                          ordered. In particular, said provider and its agents and employees shall not make such disclosure                                                                                                                           to
                          a lessee, telephone subscriber or any interceptee or participant in the intercepted communications.

                                          IT IS ORDERED FURTHER that this Order shall be binding on any subsequent provider of

                          electronic communications services as defined in Title 18, United States Code, Section 2510(15) and

                          K.S.A. 22-2514 et seq, that provides services to the target telephone number(s) listed above upon


                                                                                                                                                                                                                                   D003028
                                                                                                                                                                                                                              EXHIBIT C 028
                                 Case 5:15-cv-03093-HLT Document 178-3 Filed 09/18/20 Page 29 of 35




                                                                                                                                         113
                           service of a certified copy of this Order without any further court order being required.

                                   1T IS ORDERED FURTHER that this order shall be executed as soon as practicable and that·
Page: 113




                           all monitoring of wire/oral and/or electronic commuriications shall be conducted in such a way as·

                           to minimize the • interception ·and disclosure of the communications intercepted to those
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                           communications relevant to the peri.dtng investigation: The interception of wire/oral and/or electronic . ·

                           communicatioris musnermiriate upon the attainment of the authorized objectives, not to exceed

                           thirty (30) days measured from the earliei' of the day on which investigative or law enforcement

                           officers first begfo to conduct an interception of this order or ten (10) days after he order is entered ..

                                   Monitoring of conversations must terminate immediately when it is determined that the .

                          conversation is unrelated to communications subject to interception under Chapter 119, Title 18;
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                          United States Code and K.S.A. 22-2514 et seq .. Interception must be suspended immediately when

                          it is determined through voice identification, physical surveillance, or otherwise, that none of the

                          named Target Interceptees or any of their confederates, when identified, are paiticipants in the

                          conversation unless it is determined during the portion of the conversation already overheard that

                          the conversation is criminal in nature. If the conversation is minimized, the monitoring agent shall
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                          spot check to insure that the conversation has not turned to criminal matters.

                                  IT IS ORDERED FURTHER that, pursuant to Section 2518(5), Title 18, United States Code

                          and KS.A. 22-2514 et seq, in the event intercepted communications are in a code or foreign

                          language, and an expert in· that code or foreign language is not reasonably available dming the

                          interception period, minimization may be accomplished as soon as practicable after such

                          interception.




                                                                                                                             D003029
                                                                                                                      EXHIBIT C 029
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                                                                                                                                     114
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                                    IT IS ORD1;3RED FURTHER that Steven L. Opat, Geary County Attorney and /or Antonio ·

                          Cruz Assistant Geary County Attorney shall provide this Court .with a report on or about the tenth, ·

                          ,twentieth, and ·thirtieth days following the date of this Order showing what progress has been made.
Date Filed: 07/10/2023




                          toward achievement of the authorized objectives and the need for continued interception. If any of

                          the above-ordered reports should become due on a weekend or holiday, IT IS ORDERED

                          FURTHER that such report shall become due on the next busjness day thereafter.

                                    IT IS ORDERED FURTHER that this Order, the application, affidavifand proposed order.

                          and all interim reports filed with this C.ourt with regard to this matter, shall be sealed until further
Document: 010110884675




                          order of this Court. except that copies of the order, in full or redacted form, may be served on the

                          KBI and the service provider as necessary to effectuate this order.

                                    DONE and ORDERED this          I 2- day of       1/-/Jr, "/ , 20-1.l_, at in Junction City,
                                                                                       l


                          Kansas.
Appellate Case: 23-3102




                                                                         HONORABLE DAYID R. PLATT
                                                                         DISTRICT JUDGE
                                                                         grn JUDICIAL DISTRICT, STATE OF KANSAS




                                                                                                                        D003030
                                                                                                                   EXHIBIT C 030
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                                                                                                                                   115
                                            IN THE DISTRICT COURT OF GEARY COUNTY, KANSAS
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                          IN THE MATIER OF THE APPLICATION                               )
                          OF THE STATE OF KANSAS                                         )       CASE NO.
                          FOR AN ORDER AUTHORIZING THE                                   )
Date Filed: 07/10/2023




                          JNTERCEPTION OF WIRE                                           )       UNDER SEAL
                          COMMUNICATIONS TO AND FROM                                     )
                          T-MOBILE USA:                                                  )
                          785-226-2893                                                   )
                          JNTERNA TIONAL MOBILE SECURITY IDENTITY                        )
                          # (IMSI) 310260566871100                                       )
Document: 010110884675




                                                 ORDER AUTHORIZING THE INTERCEPTION
                                                      OF WIRE COMMUNICATIONS

                          Application under oath having been made before me by Steven L. Opat, Geary County Attorney,

                          based on the sworn affidavit of Glen F. Virden, Senior Special Agent, Kansas Bureau of

                          fuvestigations, an investigative or law enforcement officer of the Staie of Kansas within the meaning

                          of Section 5 of K.S.A. 22-2514, et seq, fot an Order authorizing the interception of wire/oral and/or
Appellate Case: 23-3102




                          electronic communications pursuant to KS.A. 22-2514, et seq, and full consideration having been

                          given to the matter set forth therein, the Court finds:

                          A.      thereisprobablecausetobelievethatAlbertDeWayn eBan.ks,B/MDOB-Anthony

                                  Thompson DOB - O t i s Ponds, Johnny Ivory III and others named in the affidavit of

                                  the said Glen F. Virden, and others yet unknown (hereinafter "Target Subjects"), have

                                  committed, and are comi:fiittitig, afid\vill continue to commit offenses enumerated in Article

                                 57 of KS.A. 21-5701 et seq, specifically possession of controlled substances with intent to


                                                                                                                 EXHIBIT 17

                                                                                                                      D003077
                                                                                                                 EXHIBIT C 031
                               Case 5:15-cv-03093-HLT Document 178-3 Filed 09/18/20 Page 32 of 35




                                                                                                                                 116
                                distribute. and distribution of controlled substances, in violation of K.S.A. 21-5701 et seq,

                                specifically 21-5705 and 5706. unlawful use of a communication facility to commit and
Page: 116




                                facilitate the commission of dmg trafficking offenses, in violation of K.S.A. 21-5707;

                                attempts, conspiracies or solicitations to possess with intent to distribute or to distribute

                                controlled substances, in violatioh of K.S.A. 21-5701 et seq, and K.S.A. 21-5301 and 21-
Date Filed: 07/10/2023




                                5302 and 21-5304; unlawful acts involving proceeds derived from violations of K.S.A. 21-

                                5701-5717. (Hereinaftet the "Target Offenses");

                          B.    there is probable cause to believe that particular wire/oral and/or electronic communications

                                of the said Albert DeWayne Banks, Anthony Thompson, Otis Ponds, Johnny Ivory III and

                                others yet unknown (hereinafter ''Target lnterceptees"), concerning the above-described
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                                Target Offenses will be obtained through the interception for which authorization has

                                herewith been applied. In particular, there is probable cause to believe that the interception

                                of wire/oral and/or electronic communications to and from the cellular telephone with the

                                assigned telephone number 785-226-2893, bearing IMSI 310260566871100 with service

                                provided by T-Mobile USA with no name attached as the subscriber as it is an 1N PREPAID

                                CUSTOMER, although it is clear that the principal user is and has been identified as
Appellate Case: 23-3102




                                Anthony Carlyle Thompson. will further ·disclose, detail and reveal the specifics of the above

                                offenses, including the depth of the conspiracy and the manner and means of how and with

                                whom these offenses are being committed, including the unknown sources from which the

                                distribution by Albert DeWayne Banks, Anthony Carlyle Thompson, Otis Ponds, Johnny

                                Ivory and others is made possible~

                          C.    it has been established that nonnal investigative procedures have been tried and have failed,

                                reasonably appear to be unlikely to succeed if tried, or are too dangerous to employ; and



                                                                                                                    D003078
                                                                                                               EXHIBIT C 032
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                                                                                                                                      117
                                      Case-5-~13zcr=4006-0'-DDC·-oocoment 379~2T FrledU7/O1/14 Page 3 Of 6 -




                           D.         there is probable cause to believe that 785-226-2893 has been and will continue to be used
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                                     in connection with commission of the above-described offenses.

                                     WHEREFORE, IT IS HEREBY ORDERED that Special Agents of the Kansas Bureau of

                           Investigation, and other agencies acting under the supervision of the KBI, are authorized, pursuant
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                           to an application as authorized by K.S.A. 22-2515, made by Steven L. Opat, the duly e]ected and

                           authorized County Attorney for Geary County, State of Kansas, to intercept wire/oral and/or

                           electronic communications to and from the above-described telephone.

                                     PROVIDED that such interception(s) sha11 not terminate automatically after the first

                          · interception that reveaJs the manner in which the alleged co-conspirators and others as yet unknown
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                           conduct their illegal activities, but may continue until all communications are intercepted which

                           reveal fully the manner in which the above-named persons and others as yet unknown are

                           committing the offenses described herein; and which reveal fully the identities of their confederates,

                           their places of operation, and the nature of the conspiracy involved therein, or for a period of thirty

                           (30) days measured from the day on which investigative or law enforcement officers first begin to

                          conduct an interception under this order or ten (10) days after this order is entered, whichever is
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                          earlier.

                                     IT JS ORDERED FURTHER that in the event that the target telephone is transferred outside

                          the territorial jurisdiction of this court, interceptions may take place in any other jurisdiction within

                          the United States .

                                . IT IS ORDERED FURTHER that the authorization given is intended to apply not only to

                          the target telephone number listed above, but also to any other telephone number or telephone

                          accessed through the above-referenced MSJD number, and to any other MSID/IMSI number accessed



                                                                                                                        D003079
                                                                                                                   EXHIBIT C 033
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                                                                                                                                           118
                          ---- --   ---- - case !J!l~-cr~4UU6U~ut.Jc· Document379~~u Hied o t/01/14 Page !J ot 6




                               service of a certified copy of this Order without any further court order being required.

                                       IT IS ORDERED FURTHER that this order shall be executed as soon as practicable and that
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                               all monitoring of wire/oral and/or electronic communications shall be conducted in such a way as

                               to minimize the interception and disclosure of the communications intercepted to those

                               communications relevant to the pending investigation. The interception of wire/oral and/or electronic
Date Filed: 07/10/2023




                               communications must terminate upon the attainment of the authorized objectives, not to exceed

                               thirty (30) days measured from the earlier of the day on which investigative or law enforcement

                               officers first begin to conduct an interceptton of this order or ten (10) days after he order is entered.

                                       Monitoring of conversations must terminate immediately when it is determined that the

                               conversation is unrelated to communications subject to interception under Chapter 119, Title 18,
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                               United States Code and KS.A. 22-2514 et seq .. Interception must be suspended immediately when

                               it is determined through voice identification, physical surveillance, or otherwise, that none of the

                               named Target Interceptees or arty of their confederates, when identified, are participants in the

                               conversation unless it is determined during the portion of the conversation already overheard that

                               the conversation is criminal in nature. If the conversation is minimized, the monitoring agent shall

                               spot check to insure that the conversation has not turned to criminal matters.
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                                       IT IS ORDERED FURTHER that; pursuant to Section 2518(5), Title 18, United States Code

                               and K.S.A. 22-2514 et seq, in the event intercepted communications are in a code or foreign

                               language, and an expert in that code or foreign language is not reasonably available during the

                               interception period, minimization may be accomplished as soon as practicable after such

                               interception.




                                                                                                                                D003081
                                                                                                                         EXHIBIT C 034
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                                    IT IS ORDERED FURTHER that Steven L. Opat, Geary County Attorney and/or Antonio

                          Cruz Assistant Geary County Attorney shall provide this Court with a report on or about the tenth,

                          twentieth, and thirtieth days following the date of this Order showing what progress has been made
Date Filed: 07/10/2023




                          toward achievement of the authorized objectives and the need for continued interception. If any of

                          the above-ordered reports should become due on a weekend or holiday, IT IS ORDERED

                          FURTHER that such report shali become due on the next business day thereafter.

                                    IT IS ORDERED FURTHER that this Order, the application, affidavit and proposed order,

                          and all interim reports filed with this Court with regard to this matter, shall be sealed until further
Document: 010110884675




                          order of this Court, except that copies of the order, in full or redacted form, may be served on the

                          KBI and the service provider as necessary to effectuate this order.

                                  DONE and ORDERED this _ _
                                                          /_~ day of                11/t! , /.?,   20       at in Junction City,

                          Kansas.
Appellate Case: 23-3102




                                                                         HONORABLE DAVID R. PLATT
                                                                         DISTRICT JUDGE
                                                                         g·rn JUDICIAL DISTRICT, STATE OF KANSAS




                                                                                                                      D003082
                                                                                                                 EXHIBIT C 035
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                                                                                                    D
                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS
                                    WICHITA DIVISION


  ALBERT DEWAYNE BANKS,                               )
                                                      )
                               Plaintiff,             )
                                                      )
  vs.                                                 )     Case No. 15-3093-HLT-GEB
                                                      )
  STEVEN L. OPAT, et. al.,                            )
                                                      )
                            Defendants.               )
                                                      )
                                                      )
  ANTHONY THOMPSON,                                   )
                                                      )
                               Plaintiff,             )
                                                      )
  vs.                                                 )     Case No. 15-3117-HLT-GEB
                                                      )
  GLEN VIRDEN, et. al.,                               )
                                                      )
                            Defendants.               )
                                                      )

      PLAINTIFFS ANTHONY THOMPSON AND ALBERT DEWAYNE BANKS’S RULE
                           26(a)(1) DISCLOSURES

         COME NOW the Plaintiffs, Anthony Thompson and Albert Dewayne Banks, pursuant to

  Rule 26(a)(1) of the Federal Rules of Civil Procedure, and for their Rule 26(a)(1) disclosures,

  states as follows:

  A.     Rule 26(a)(1)(A)(i) Disclosures/Witnesses:

         1.      Anthony Thompson

          Mr. Thompson is the Plaintiff in case 15-3117 and has personal knowledge regarding all
  facts and related matters.




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         2.      Albert Banks

          Mr. Banks is the Plaintiff in case 15-3093 and has personal knowledge regarding all facts
  and related matters.

         3.      David L. Platt, current address unknown.

          Judge Platt was a former Geary County State District Court judge who presided over state
  law proceedings involving wiretaps and criminal accusations. He will have knowledge of the
  following subject matter: creation and authorization and scope of the wiretaps, state criminal
  charges, unconstitutionally excessive bond, and general procedural posture of the state
  investigation.

         4.      Steven L. Opat, current address unknown but can be reached through counsel.

          Mr. Opat is a defendant in the consolidated case. He is the former Geary County Attorney.
  He will have knowledge regarding the circumstances of Plaintiffs’ initial arrests, as well as the
  scope and authorization of the wiretap orders, state charges, discovery issues in the state case,
  interrogations done by other defendants, and federal and state wiretap law.

         5.      Chris Turner, current address unknown.

          Mr. Turner is a Special Agent for the Kansas Bureau of Investigation. He will have
  knowledge of interrogations performed in the initial state case and arrests, disclosure of
  extraterritorial communication interceptions, scope and authorization of various wiretap orders, as
  well as the location and organization of relevant documents (including communications between
  various law enforcement agencies, defendants, and corporations surrounding the illegal disclosure
  of intercepted communications).

         6.      Jordan Kurtz, current address unknown.

         Mr. Kurtz was an employee in the Law Enforcement Relations Division at T-Mobile during
  the relevant time periods, and he will have information related to T-Mobile’s policy and
  procedures, as well as knowledge about the contents of wiretap authorizations generally and in the
  underlying criminal case at issue in the present lawsuit.

         7.      Andrew M. Connors, current address unknown.

         Mr. Connors was an employee in the Court Order Analyst division of Verizon Wireless
  during the relevant time periods, and he will have information related to Verizon’s policy and
  procedures, as well as knowledge about the contents of wiretap authorizations generally and in the
  underlying criminal case at issue in the present lawsuit.

         8.      Stacey Beilman, current address unknown.




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          Ms. Bellman is a Senior United States Probation Officer for Kansas. She will have
  information and knowledge of the disclosure and use of illegally-obtained communications to her
  office as late as 2019, as well as how that information was used in the underlying criminal
  proceedings. She will also have knowledge of the location of documents and communications
  between law enforcement officials regarding the wiretaps and communication interceptions.

         9.      Anthony Mattivi, current address unknown.

         Mr. Mattivi is an Assistant United States Attorney for the District of Kansas and will have
  knowledge of the entire scope of the discovery process, communication interceptions, use and
  disclosures, as well as relevant documents and information from the underlying federal criminal
  case.

         10.     Angie Weeks, current address unknown.

          Ms. Weeks is an employee of the Junction City Police Department and will have
  knowledge about the authorization of various wiretap orders and the use of illegally-obtained
  communications and interceptions. She will have knowledge of Junction City Police Department
  policies and procedures, as well specific facts about the circumstances surrounding the state-
  turned-federal investigation into Mr. Thompson and Banks.

         11.     Eric Coffman, current address unknown.

          Mr. Coffman is an employee of the Geary County Sheriffs Office and will have knowledge
  about the authorization of various wiretap orders and the use of illegally-obtained communications
  and interceptions. He will have knowledge of Geary County Sheriff’s Office policies and
  procedures, as well specific facts about the circumstances surrounding the state-turned-federal
  investigation into Mr. Thompson and Banks.

         12.     Timothy Brown, current address unknown but can be contacted through counsel.

          Mr. Brown is the Chief of the Junction City Police Department and a defendant in both
  consolidated cases. He will have knowledge about the authorization of various wiretap orders and
  the use of illegally-obtained communications and interceptions. He will have knowledge of
  relevant policies and procedures, as well specific facts about the circumstances surrounding the
  state-turned-federal investigation into Mr. Thompson and Banks.

         13.     Glen Virden, current address unknown but can be contacted through counsel.

          Mr. Virden is a Senior Special Agent of the KBI and a defendant in both consolidated
  cases. He will have knowledge about the authorization of various wiretap orders and the use of
  illegally-obtained communications and interceptions. He will have knowledge of relevant policies
  and procedures, as well specific facts about the circumstances surrounding the state-turned-federal
  investigation into Mr. Thompson and Banks.

         14.     Tony Wolf, current address unknown but can be contacted through counsel.

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          Mr. Wolf is the Sherriff of Geary County and a defendant in both consolidated cases. He
  will have knowledge about the authorization of various wiretap orders and the use of illegally-
  obtained communications and interceptions. He will have knowledge of relevant policies and
  procedures, as well specific facts about the circumstances surrounding the state-turned-federal
  investigation into Mr. Thompson and Banks.

         15.     Joby Harrison, current address unknown.

          Mr. Harrison is a Senior Special Agent of the KBI. He will have knowledge about the
  authorization of various wiretap orders and the use of illegally-obtained communications and
  interceptions. He will have knowledge of relevant policies and procedures, as well specific facts
  about the circumstances surrounding the state-turned-federal investigation into Mr. Thompson and
  Banks.

         16.     Nathaniel Ehrnman, current address unknown.

          Mr. Ehrnman was an employee in the Subpoena Specialist Division at Sprint PCS during
  the relevant time periods, and he will have information related to Sprint’s policy and procedures,
  as well as knowledge about the contents of wiretap authorizations generally and in the underlying
  criminal case at issue in the present lawsuit.

         17.     Todd Goffrey, current address unknown.

         Mr. Goffrey is a former employee of the Junction City Police Department. He will have
  knowledge about the authorization of various wiretap orders and the use of illegally-obtained
  communications and interceptions. He will have knowledge of relevant policies and procedures,
  as well specific facts about the circumstances surrounding the state-turned-federal investigation
  into Mr. Thompson and Banks.

         18.     Brad Schoen, current address unknown.

          Mr. Schoen is an employee of Riley County. He will have knowledge about the
  authorization of various wiretap orders and the use of illegally-obtained communications and
  interceptions. He will have knowledge of relevant policies and procedures, as well specific facts
  about the circumstances surrounding the state-turned-federal investigation into Mr. Thompson and
  Banks.

          19.  Other unknown law enforcement personnel. Upon information and belief, other
  law enforcement employees may have relevant information. Their identities are currently
  unknown but are likely included in police reports and various documents of the KBI and federal
  authorities.

         20.     Individuals identified in any documents produced, or to have been produced, by
  any defendant.



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          21.     All witnesses identified by Defendants.

  B.      Rule 26(a)(1)(A)(ii) Disclosures/Documents:

           1.       No relevant or accessible documents are currently in the sole possession of
       plaintiffs, but generally the various court files from both the state and federal criminal cases
       will include relevant documents, such as: search warrants and applications, wiretap
       interception orders and warrants and applications, CSLI information provided by various
       telecommunications companies and to law enforcement, discovery information from the
       underlying criminal investigations, law enforcement reports and summaries of information
       related to wiretaps and criminal investigation, records of sworn statements or testimony by law
       enforcement or other prosecutorial witnesses in previous court proceedings, communications
       among law enforcement personnel regarding the legality of wiretaps as well as
       communications from the United States Attorney’s office regarding disclosures of information
       from state criminal investigations and wiretaps, as well as other investigatory information and
       records from the underlying criminal investigations. It is believed that most of these
       documents are in the possession of the United States Attorney’s Office or Defendants.

  C.      Rule 26(a)(1)(A)(iii) Disclosures/Computation of Damages:

          For Plaintiff Albert Dewayne Banks:

          Damage calculations are uncertain at this time, but Plaintiff Banks believes he is entitled
  to the following damage categories and quantities:

          1.      Federal Wiretap Damages Pursuant to 18 U.S.C. § 2520(b) and (c):
                  a.     The greater of the amount between Plaintiff’s estimated actual damages or
                         statutory damages of $100 per each day of violation, including violations
                         of use of the illegally obtained information. Plaintiff estimates his actual
                         damages to be between $1,000,000 and $2,000,000.
                  b.     Punitive damages in an amount in excess of $5,000,000.
                  c.     Attorney’s fees and costs unknown at this time.

          2.      State Wiretap Damages Pursuant to K.S.A. 22-2518(a)-(c):
                  a.     The greater of the amount between Plaintiff’s estimated actual damages or
                         statutory damages of $100 per each day of violation, including violations
                         of use of the illegally obtained information. Plaintiff estimates his actual
                         damages to be between $1,000,000 and $2,000,000.
                  b.     Punitive damages in an amount in excess of $5,000,000.
                  c.     Attorney’s fees and costs unknown at this time.

          3.      Plaintiff reserves the right to amend these estimates as additional information
                  becomes known and calculations are able to be more precisely made.

          4.      Documents supportive of these calculations are generally listed above.



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         For Plaintiff Anthony Thompson:

          Damage calculations are uncertain at this time, but Plaintiff Thompson believes he is
  entitled to the following damage categories and quantities:

         1.      Federal Wiretap Damages Pursuant to 18 U.S.C. § 2520(b) and (c):
                 a.     The greater of the amount between Plaintiff’s estimated actual damages or
                        statutory damages of $100 per each day of violation, including violations
                        of use of the illegally obtained information. Plaintiff estimates his actual
                        damages to be between $1,000,000 and $2,000,000.
                 b.     Punitive damages in an amount in excess of $5,000,000.
                 c.     Attorney’s fees and costs unknown at this time.

         2.      State Wiretap Damages Pursuant to K.S.A. 22-2518(a)-(c):
                 a.     The greater of the amount between Plaintiff’s estimated actual damages or
                        statutory damages of $100 per each day of violation, including violations
                        of use of the illegally obtained information. Plaintiff estimates his actual
                        damages to be between $1,000,000 and $2,000,000.
                 b.     Punitive damages in an amount in excess of $5,000,000.
                 c.     Attorney’s fees and costs unknown at this time.

         3.      Plaintiff reserves the right to amend these estimates as additional information
                 becomes known and calculations are able to be more precisely made.

         4.      Documents supportive of these calculations are generally listed above.

          Precise damage amounts are uncertain and unknown at this time. Thus, Plaintiffs reserve
  the right to amend these damage calculations as additional records and statements are received
  and as discovery continues.

  D.     Rule 26(a)(2)(A) Disclosures of Experts:

          Expert witnesses have not been determined at this point in time but such information will
  be disclosed pursuant to the Court’s Scheduling Order.

                                               Respectfully submitted,
                                               s/ Michael Shultz
                                               Michael Shultz, #23133
                                               Shultz Law Office, P.A.
                                               445 N. Waco
                                               Wichita, KS 67202
                                               Telephone: (316) 269-2284
                                               Fax: (316) 269-2011
                                               E-mail: michael@shultzlaw.net




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                                  CERTIFICATE OF SERVICE

          A true and accurate copy of the foregoing was sent via email this 23rd day of July, 2020, to
  the following:

  Eric Turner, Eturner@foulston.com
  Attorney for Defendants Opat and Wolf

  Art Chalmers, Art.Chalmers@ag.ks.gov
  Attorney for Defendant Virden

  Jay Heidrick & Libby Marden, JHeidrick@Polsinelli.com & LMarden@Polsinelli.com
  Attorneys for Defendants Sprint et al

  Mike Seck, mseck@fisherpatterson.com
  Attorney for Defendant Tim Brown

  Trent Tanner & Amanda Vogelsberg & Michael Hilgers & J. Phillip Gragson,
  ttanner@hilgersgraben.com & avogelsberg@hhmglaw.com & mhilgers@hilgersgraben.com &
  jpgragson@hhmglaw.com
  Attorneys for Defendant T-Mobile et al

          A true and accurate copy of the foregoing was sent via hardcopy and mail this 23rd day
  of July, 2020, to the following:

  Plaintiff Anthony Thompson

  Plaintiff Albert Dewayne Banks


                                                       s/Michael Shultz
                                                       Michael Shultz




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                                                                                                       E
                                   IN THE UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF KANSAS

  ALBERT DEWAYNE BANKS,                                     )
                                                            )
                     Plaintiff,                             )   Case No. 15-3093-HLT-GEB
                                                            )
  v.                                                        )
                                                            )
  STEVEN L. OPAT, et al.,                                   )
                                                            )
                     Defendants.                            )
                                                            )
  ----------------------------------------------------------)
                                                            )
  ANTHONY THOMPSON,                                         )
                                                            )
                     Plaintiff,                             )
                                                            )
  v.                                                        )   Case No. 15-3117-HLT-GEB
                                                            )
  DAVID L. PLATT, et al.,                                   )
                                                            )
                     Defendants.                            )

                                                   EXHIBIT INDEX

           In compliance with the District of Kansas Administrative Procedure IV(B)(4), Defendant

  Steven Opat submits the following index of exhibits in support of his motion for summary

  judgment contemporaneously filed in this case:

           Exhibit            Description

                     A        Declaration of Glen Virden

                     B        Declaration of Steven Opat

                     C        Wiretap Orders

                     D        Plaintiffs’ Rule 26(a)(1) Disclosures

                     E        Exhibit Index




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                                   IN THE UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF KANSAS

  ALBERT DEWAYNE BANKS,                                     )
                                                            )
                     Plaintiff,                             )   Case No. 15-3093-HLT-GEB
                                                            )
  v.                                                        )
                                                            )
  STEVEN L. OPAT, et al.,                                   )
                                                            )
                     Defendants.                            )
                                                            )
  ----------------------------------------------------------)
                                                            )
  ANTHONY THOMPSON,                                         )
                                                            )
                     Plaintiff,                             )
                                                            )
  v.                                                        )   Case No. 15-3117-HLT-GEB
                                                            )
  DAVID L. PLATT, et al.,                                   )
                                                            )
                     Defendants.                            )

                       TONY WOLF’S MOTION FOR SUMMARY JUDGMENT

           Defendant Tony Wolf moves this Court for summary judgment under Federal Rule of Civil

  Procedure 56 because there are no genuine issues of material fact, and he is entitled to judgment as a

  matter of law. Wolf files contemporaneously a Memorandum in Support detailing the arguments for this

  motion in Case No. 15-3117-HLT-GEB, consolidated under Case No. 15-3093-HLT-GEB.

           Wolf respectfully requests that this Court enter an order granting him summary judgment on all

  remaining counts, for his costs and attorney fees in accordance with 42 U.S.C. § 1988, and for such and

  other further relief as the Court deems just and equitable.




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                                                           Respectfully submitted,

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                                                           ATTORNEY FOR DEFENDANT
                                                           TONY WOLF




                                     CERTIFICATE OF SERVICE

          I certify that on September 18, 2020, I electronically filed the above and foregoing with the Clerk
  of the Court using the CM/ECF system, which sent electronic notification of such filing to all counsel
  currently electronically registered with the Court.


                                                           /s/ Eric Turner
                                                           ATTORNEY FOR DEFENDANT
                                                           TONY WOLF



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                                   IN THE UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF KANSAS

  ALBERT DEWAYNE BANKS,                                     )
                                                            )
                     Plaintiff,                             )   Case No. 15-3093-HLT-GEB
                                                            )
  v.                                                        )
                                                            )
  STEVEN L. OPAT, et al.,                                   )
                                                            )
                     Defendants.                            )
                                                            )
  ----------------------------------------------------------)
                                                            )
  ANTHONY THOMPSON,                                         )
                                                            )
                     Plaintiff,                             )
                                                            )
  v.                                                        )   Case No. 15-3117-HLT-GEB
                                                            )
  DAVID L. PLATT, et al.,                                   )
                                                            )
                     Defendants.                            )

                             TONY WOLF’S MEMORANDUM IN SUPPORT
                             OF HIS MOTION FOR SUMMARY JUDGMENT

           Plaintiff Anthony Thompson has sued former Geary County Sheriff Tony Wolf over a drug task

  force investigation and criminal prosecution that ultimately resulted in Thompson’s conviction on

  federal drug-trafficking charges. In Case No. 15-3117, Thompson alleges that Wolf violated state and

  federal wiretap laws by illegally intercepting, disclosing, and using his communications. ECF No. 71.

           Wolf is entitled to summary judgment on both claims because there is no genuine dispute about

  any material fact about Wolf’s non-involvement in the investigation of Thompson’s crimes. In short,

  aside from attending one meeting, Wolf had no involvement in the investigation and specifically did not

  personally participate in the wiretapping of Thompson’s communications. Wolf did not intercept,

  disclose, or use any of Thompson’s communications. Alternatively, Wolf is entitled to summary

  judgment based on the statutory good-faith defenses, qualified immunity, and Heck v. Humphrey.




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  I.     STATEMENT OF UNCONTROVERTED FACTS

         The facts are familiar to this Court from previous litigation in this matter. See Memorandum &

  Order, ECF No. 111 at 1-4. Defendant Tony Wolf, in accordance with Federal Rule of Civil Procedure

  56 and Local Rule 56.1, sets forth the following statement of uncontroverted facts:

         1. This case arises from an investigation of drug trafficking in Geary County, Kansas that

             began in February 2012. The investigation was jointly conducted by members of the Kansas

             Bureau of Investigation, the Junction City Police Department, the Geary County Sheriff’s

             Office, and the Riley County Police Department. Exhibit A, Virden Declaration, ¶ 6.

         2. Tony Wolf was elected Sheriff of Geary County in November 2012. He took office in

             January 2013. Exhibit B, Wolf Declaration, ¶ 1.

         3. In March and April 2013, Judge David R. Platt of the Eighth Judicial District of Kansas

             issued wiretap orders for cell phones used by Anthony Thompson. Each order was not to

             exceed 30 days. Exhibit A, Virden Declaration, ¶ 9; Exhibit C, Wiretap Orders at 10-15

             (March 5, 2013); 19-24 (April 4, 2013); 31-35 (April 16, 2013).

         4. The wiretap orders provided that if “the target telephone is transferred outside the territorial

             jurisdiction of this court, interceptions may take place in another jurisdiction within the

             United States.” Exhibit C, Wiretap Orders at 12.

         5. On March 6, 2013, more than 60 law enforcement officers attended a meeting and added

             their signatures to a copy of the wiretap order. All officers were required to sign and date a

             copy of the order. Exhibit A, Virden Declaration, ¶¶ 24, 26; Exhibit C, Wiretap Orders.

         6. Wolf attended the meeting and added his name and signature to a list of names and

             signatures of other law enforcement officers who attended the meeting. The signatures were

             added to a copy of Judge Platt’s wiretap order. Exhibit B, Wolf Declaration, ¶¶ 5-6; Exhibit

             C, Wiretap Orders at 16-18.


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         7. Wolf dated his name and signature March 6, 2013. He does not recall if he saw the order or

            read the order at the meeting. Exhibit B, Wolf Declaration, ¶ 6; Exhibit C, Wiretap Orders

            at 17.

         8. Wolf did not question the authority of Judge Platt to enter the wiretap orders as issued.

            Exhibit B, Wolf Declaration, ¶ 7.

         9. At the time, Wolf understood that his signature was an acknowledgment of his attendance at

            the meeting and an acknowledgment of his obligation to keep the investigation confidential.

            Exhibit B, Wolf Declaration, ¶ 8.

         10. After the meeting, Wolf had no further involvement in the investigation. Exhibit B, Wolf

            Declaration, ¶ 9.

         11. Defendant Glen Virden, a Kansas Bureau of Investigation special agent in charge of the

            investigation, executed the orders. Pursuant to the orders, the investigating agents

            monitored and collected information from intercepted calls and text messages to and from

            Thompson’s phones. Exhibit A, Virden Declaration, ¶¶ 7, 17.

         12. Wolf did not intercept any of Anthony Thompson’s communications. Exhibit B, Wolf

            Declaration, ¶ 10.

         13. Wolf did not listen to any of Anthony Thompson’s calls or view any of his text messages.

            Exhibit B, Wolf Declaration, ¶ 11.

         14. Wolf did not use any of Anthony Thompson’s communications for any purpose. Exhibit B,

            Wolf Declaration, ¶ 12.

         15. Wolf did not disclose any of Anthony Thompson’s communications to anyone. Exhibit B,

            Wolf Declaration, ¶ 13.

         16. A federal grand jury indicted Thompson on multiple counts of distributing and conspiring

            to distribute crack cocaine. District of Kansas Case No. 13-CR-40060-DDC, ECF No. 1.



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         17. Thompson moved to suppress the intercepted communications. The motion argued that

             investigators impermissibly intercepted Thompson’s wire communications outside the

             Eighth Judicial District’s jurisdiction. District of Kansas Case No. 13-CR-40060-DDC, ECF

             No. 356 at 22-29.

         18. The district court judge, Judge Crabtree, ruled that “a Kansas state court judge acting under

             Kansas law has no authority to authorize interception outside the judge’s own judicial

             district.” District of Kansas Case No. 13-CR-40060-DDC, ECF No. 517 at 1.

         19. Judge Crabtree granted the motions to suppress the extra-territorial communications,

             excluding all but 7,000 of the 67,000 intercepted communications from trial. As to the 7,000

             surviving communications, Judge Crabtree ruled that the government had offered sufficient

             evidence that the communications were made by phones located inside the Eighth Judicial

             District. District of Kansas Case No. 13-CR-40060-DDC, ECF No. 580.

         20. Although declining to apply the exclusionary rule’s good-faith exception to evidence

             collected from the wiretaps, Judge Crabtree stated that the good-faith exception “almost

             certainly applies because one would not expect the officers executing the search warrants to

             have apprehended the subtle, technical jurisdictional defect.” District of Kansas Case No.

             13-CR-40060-DDC, ECF No. 650 at 6.

         21. Wolf was unaware that any of the wiretap orders or parts of the wiretap orders were or

             might be invalid. Presumably like Judge Platt, Wolf was unaware of the technical

             jurisdictional defect in Judge Platt’s wiretap orders or that Judge Platt lacked jurisdiction to

             order wiretaps of cell phone communications outside of the Eighth Judicial District. Exhibit

             B, Wolf Declaration, ¶¶ 14-15.

         22. A jury convicted Thompson on all counts. District of Kansas Case No. 13-CR-40060-DDC,

             ECF No. 771.



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          23. Thompson filed this lawsuit April 28, 2015. ECF No. 1. Thompson filed an Amended

              Complaint on February 20, 2018. ECF No. 71. He claims actual damages of between $1

              million and $2 million. Exhibit D, Plaintiffs’ Rule 26(a)(1) Disclosures at 6.

          24. After ongoing litigation, including an appeal to the Tenth Circuit Court of Appeals, two

              claims remain against Wolf: (1) violation of the Kansas wiretap statutes, K.S.A. 22-2514 to

              22-2519; and (2) violation of the federal wiretap statutes, 18 U.S.C. §§ 2510 to 2523.

              Thompson v. Platt, 815 F. App’x 227, 235-36, 240 (10th Cir. 2020) (reversing this Court’s

              dismissal of extra-territorial wiretapping claims in ECF No. 111 based on good-faith reliance

              defense).

  II.     ARGUMENTS & AUTHORITIES

          Tony Wolf is entitled to summary judgment because (1) he did not intercept, disclose, or use any

  of Thompson’s communications or otherwise personally participate in any violation of state or federal

  wiretap laws, (2) his good-faith reliance on a court order is a complete defense to civil liability under

  state and federal wiretap laws, (3) he is entitled to qualified immunity, (4) Thompson’s claims are barred

  by Heck v. Humphrey, and (5) Thompson’s purported damages are limited by the statute of limitations.

          Legal standard: Federal Rule of Civil Procedure 56

          Summary judgment is appropriate if the moving party demonstrates that “no genuine dispute”

  about “any material fact” exists and that it is “entitled to a judgment as a matter of law.” Fed. R. Civ. P.

  56(a). A dispute of fact is genuine “if the evidence is such that a reasonable jury could return a verdict

  for the non-moving party on the issue.” Nahno-Lopez v. Houser, 625 F.3d 1279, 1283 (10th Cir. 2010).

  “An issue of fact is ‘material’ ‘if under the substantive law it is essential to the proper disposition of the

  claim’ or defense.” Id. Summary judgment is an important procedure “designed ‘to secure the just,

  speedy and inexpensive determination of every action.’” Celotex Corp. v. Catrett, 477 U.S. 317, 327 (1986)

  (quoting Fed. R. Civ. P. 1).


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            Legal framework: 18 U.S.C. § 2520(a), K.S.A. 22-2518(1)

            The Electronic Communications Privacy Act1 of 1986 (18 U.S.C. §§ 2510 to 2523) provides that

  “any person whose wire, oral, or electronic communication is intercepted, disclosed, or intentionally

  used in violation of this chapter may in a civil action recover from the person or entity, other than the

  United States, which engaged in that violation such relief as may be appropriate.” 18 U.S.C. § 2520(a).

  Kansas law provides a nearly identical remedy. K.S.A. 22-2518(1).

            A.       Wolf did not violate state or federal wiretap laws because he did not intercept,
                     disclose or use any of Thompson’s communications.

            Other than attend one meeting, Wolf had no involvement in the investigation. SOF 6, 10. Wolf

  was elected Sheriff in November 2012 and officially became Sheriff in January 2013, well after the

  investigation was under way. SOF 1-2. Shortly after taking office, as evidenced by his signature dated

  March 6, 2013, Wolf attended a meeting where the investigation was discussed with more than 60 other

  law enforcement officers. SOF 5-6. Wolf understood that his signature was to verify his attendance and

  that he was obligated to keep the investigation confidential. SOF 9.

            After the meeting, Wolf had no involvement in the investigation. SOF 10. He did not intercept

  any of Thompson’s communications. SOF 12. He never listened to or saw a transcript of any of

  Thompson’s communications. SOF 13. Thus, he had no opportunity to use or disclose any of

  Thompson’s communications. SOF 14-15. Because Wolf did not personally participate in the

  investigation, Wolf did not violate state or federal wiretap laws. See K.S.A. 22-2518(1) (limiting civil

  cause of action against person who intercepted, disclosed, or used communications); 18 U.S.C. § 2520(a)

  (same).




  1 The Amended Complaint refers to 18 U.S.C. §§ 2510 to 2523 as the “Federal Wiretap Statute.” ECF No. 71 at 8-9. This

  Court and the Tenth Circuit have called these statutes the “Electronic Communications Privacy Act of 1986.” ECF No. 109
  at 4; Thompson v. Platt, 815 F. App’x 227, 233 (10th Cir. 2020). The district court in Thompson’s criminal case called the
  statutes “Title III of the Omnibus Crime Control and Safe Streets Act.” United States v. Banks, No. 13-CR-40060-DDC, 2014
  WL 4261344, at *1 (D. Kan. Aug. 29, 2014). Any of these titles refer to the same set of statutes, 18 U.S.C. §§ 2510 to 2523.


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          B.      In the alternative, Wolf’s good-faith reliance on Judge Platt’s court orders is a
                  complete defense under state and federal wiretap statutes.

          This Court’s original basis for dismissal of these claims is still valid. ECF No. 111 at 7-8. Even if

  he had participated in the investigation, as alleged in the Amended Complaint, Wolf’s good-faith reliance

  on a court order is a complete defense to Thompson’s wiretap claims under state and federal law. See

  K.S.A. 22-2518(2) (“A good faith reliance by any person on a court order authorizing the interception of

  any wire, oral or electronic communication shall constitute a complete defense in any civil or criminal

  action brought against such person based upon such interception.”); 18 U.S.C. § 2520(d)(1) (“A good

  faith reliance on … a court warrant or order … is a complete defense against any civil or criminal action

  brought under this chapter or any other law.”).

          This Court expressly found that the record establishes that Thompson’s claims are barred by the

  good-faith defense. ECF No. 111 at 7. This Court agreed that “Judge Crabtree’s reasoning in the

  underlying criminal case is equally applicable” to this civil case. ECF No. 111 at 8. In ruling on motions

  to suppress extra-territorial communications in Thompson’s criminal case, Judge Crabtree noted that

  “one would not expect the officers executing search warrants to have apprehended the subtle, technical

  jurisdictional defect that forms the basis of the Court’s threshold suppression ruling.” United States v.

  Banks, No. 13-40060, 2015 WL 2401048, at *3 (D. Kan. May 15, 2015), vacated by 138 S. Ct. 2707 (2018).

  In concluding that Thompson’s Amended Complaint fails to state a claim, this Court determined that

  the individual defendants, including Wolf, did not violate state and federal wiretap statutes because their

  “good faith reliance provides a complete defense to Plaintiff’s wiretap claims.” ECF No. 111 at 8.

          The Tenth Circuit’s remand of this issue does not undermine this Court’s previous ruling. The

  Tenth Circuit held only that issue preclusion was not available as a defense in this case because Judge

  Crabtree did not expressly rule that the good-faith defense applied in the criminal case. Thompson v. Platt,

  815 F. App’x 227, 236 (10th Cir. 2020) (“Because the court made only an observation about good faith




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  but not a finding, Mr. Thompson is not collaterally estopped from litigating the issue of good faith

  regarding his wiretap claims alleging the interception of extra-territorial communications.”).

          Notably, Wolf did not argue for issue preclusion either before this Court or in the Tenth Circuit.

  On remand, Wolf asks this Court to make its own independent finding based on the uncontroverted

  facts in this case that the state and federal wiretap claims against Wolf are barred by the statutory good-

  faith defense. Specifically, Wolf does not recall reading the wiretap order and, in any event, he was not

  aware that any communications would be intercepted outside the Eighth Judicial District or that Judge

  Platt lacked legal authority to authorize the interception of communications outside of the Eighth

  Judicial District. SOF 7-8, 21. To the limited extent that Wolf participated, he reasonably relied on Judge

  Platt’s orders. For these reasons, Wolf is entitled to summary judgment based on a good-faith reliance

  on a court order, which is a complete defense under state and federal law. See K.S.A. 22-2518(2); 18

  U.S.C. § 2520(d)(1).

          C.       In the alternative, Wolf is entitled to qualified immunity because he did not
                   violate Thompson’s rights or any law that was clearly established at the time.

          Alternatively, Wolf also is entitled to qualified immunity. “Qualified immunity shields federal and

  state officials from money damages unless a plaintiff pleads facts showing (1) that the official violated a

  statutory or constitutional right, and (2) that the right was ‘clearly established’ at the time of the

  challenged conduct.” Ashcroft v. al-Kidd, 563 U.S. 731, 735 (2011). “The relevant, dispositive inquiry in

  determining whether a right is clearly established is whether it would be clear to a reasonable officer that

  his conduct was unlawful in the situation he confronted.” Saucier v. Katz, 533 U.S. 194, 202 (2001). That

  means that “existing precedent must have placed the statutory or constitutional question beyond

  debate.” Reichle v. Howards, 566 U.S. 658, 664 (2012).

          The Tenth Circuit has acknowledged the availability of the qualified immunity defense for an

  alleged violation of the federal wiretap statutes. See Phillips v. Bell, 365 F. App’x 133, 143 (10th Cir. 2010).

  At least one district court in the circuit recently has granted summary judgment based on qualified


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  immunity against a claim alleging violation of the federal wiretap statutes. See Stewart v. City of Oklahoma

  City, No. 18-420, 2020 WL 4352503, at *3-4 (W.D. Okla. July 29, 2020); see also Babb, 614 F. Supp. 2d at

  1237-38 (“In addition, there is authority holding that qualified immunity extended to government actors

  is a defense to Title III liability.”). Other circuits have agreed. See, e.g., John K. MacIver Inst. for Pub. Policy,

  Inc. v. Schmitz, 885 F.3d 1004, 1015 (7th Cir. 2018) (“We have consistently recognized qualified immunity

  for alleged Wiretap Act violations.”); Tapley v. Collins, 211 F.3d 1210, 1216 (11th Cir. 2001) (“[T]he

  defense of qualified immunity is available to public officials who are sued under the Federal Wiretap

  Act[.]”); Blake v. Wright, 179 F.3d 1003, 1012-13 (6th Cir. 1999) (“[W]e thus hold that a defendant may

  claim qualified immunity in response to a Title III claim.”).

           Also relevant are exceptions for law enforcement under Kansas and federal wiretap laws. Both

  statutes define an “investigative or law enforcement officer” to include “any officer … of a State or

  political subdivision thereof, who is empowered by law to conduct investigations of or to make arrests”

  for certain enumerated criminal offenses. 18 U.S.C. § 2510(7); K.S.A 22-2514(5). “Any investigative or

  law enforcement officer who, by any means authorized by this chapter, has obtained knowledge of the

  contents of any wire, oral, or electronic communication, or evidence derived therefrom, may use such

  contents to the extent such use is appropriate to the proper performance of his official duties.” 18

  U.S.C. § 2517(2); K.S.A. 22-2515(c) (same).

           Here, Thompson can produce no admissible evidence that Wolf violated state or federal wiretap

  laws because Wolf did not personally participate in the investigation. And even so, Wolf’s good-faith

  reliance on a court order is a complete defense to both claims. In any event, Wolf is entitled to qualified

  immunity because Thompson cannot show that the alleged right was clearly established. Specifically,

  Thompson cannot show that the law was clearly established that a sheriff protected by the law

  enforcement exception violates the federal wiretap statutes when intercepted communications are

  suppressed in criminal proceedings because of a partially invalid wiretap order.



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          D.      In the alternative, H eck v. Humphrey bars Thompson’s claims because his claim
                  for actual damages necessarily calls into question the validity of his conviction.

          By claiming actual damages of between $1 million and $2 million, Thompson reverses his

  position from his prior briefing when he sought to avoid dismissal. SOF 23; ECF No. 89 at 8. In

  response to Wolf’s motion to dismiss in 2018, Thompson claimed only statutory damages in an effort to

  show that the alleged wiretap violation “has no bearing on his conviction.” ECF No. 89 at 8. As a result

  of Thompson’s change of course, Wolf renews his argument that Heck v. Humphrey, 512 U.S. 477 (1994),

  precludes Thompson’s claims.

          In Heck, the Supreme Court held that a prisoner whose claim would call into question the

  validity of an underlying conviction “must prove that the conviction or sentence has been reversed on

  direct appeal, expunged by executive order, declared invalid by a state tribunal authorized to make such

  determinations, or called into question by a federal court’s issuance of a writ of habeas corpus.” 512 U.S.

  at 486-87. Although Heck involved a Section 1983 plaintiff, a complaint is barred by Heck regardless of

  the statutory basis alleged, if success in the suit would challenge the validity of a conviction that has not

  been previously invalided. See Erlin v. United States, 364 F.3d 1127, 1131 (9th Cir. 2004); Apampa v. Layng,

  157 F.3d 1103, 1105 (7th Cir. 1998) (noting that Heck bar is fully applicable to federal wiretap claims).

          Here, Thompson alleges more than $1 million in actual damages, presumably because of his

  incarceration. Thus, he necessarily questions the validity of his underlying conviction, which he cannot

  do under Heck because Judge Crabtree upheld Thompson’s conviction in 2019. United States v. Thompson,

  No. 13-40060-DDC, 2019 WL 3412304 (D. Kan. July 29, 2019). In a nearly identical lawsuit filed by a

  Thompson’s co-conspirator Johnny Ivory, Judge Crow concluded that Heck barred the wiretap claims

  because “Plaintiff simply may not litigate any claim in this civil rights complaint for damages that would

  undermine or invalidate his federal criminal convictions.” Ivory v. Platt, No. 15-3051-SAC, 2016 WL

  5916647, at *14 (D. Kan. Oct. 11, 2016); see also Chapman v. Lawson, 89 F. Supp. 3d 959, 966 (S.D. Ohio

  2015) (concluding that federal wiretap claims “necessarily call into question the validity of [plaintiff’s]


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  conviction and are barred by Heck); Stegeman v. Rensselaer County Sheriff’s Office, No. 15-CV-21, 2017 WL

  4350519, at *1 (N.D.N.Y. Aug. 23, 2017) (upholding dismissal of federal wiretap claim as barred by

  Heck). Thus, Heck bars these claims because Thompson’s alleged actual damages necessarily would

  undermine his convictions.

          E.      Thompson’s alleged damages under federal law should be limited because this
                  suit was filed more than two years after most of the interceptions.

          Under the federal Electronic Communications Privacy Act, a civil action “may not be

  commenced later than two years after the date upon which the claimant first has a reasonable

  opportunity to discover the violation.” 18 U.S.C. § 2520(e). Here, Thompson filed this lawsuit on May

  14, 2015. ECF No. 1. As a result, the Court should find as a matter of law that Banks’ damages under

  the ECPA are limited to those incurred after May 14, 2013. There were three wiretap orders authorizing

  interception of Banks’ communications. The first was issued March 5, 2013, and it expired April 4, 2013.

  United States v. Banks, No. 13-40060-DDC, 2014 WL 4261344, at *1 (D. Kan. Aug. 29, 2014); SOF 3.

  The second order was issued April 4, 2013, and it expired May 4, 2013. Id.; SOF 3. Any damages

  resulting from these orders are outside the statute of limitations and should be disregarded. The third

  order was issued April 16, 2013, and it expired May 16, 2013. Id.; SOF 3. As a matter of law, any

  damages resulting from this order should be limited to those incurred in the three days from May 14 to

  May 16, 2013.

  III.    CONCLUSION

          Wolf is entitled to summary judgment on both remaining claims because he did not personally

  participate in the investigation of Thompson’s crimes and did not intercept, use, or disclose any of

  Thompson’s communications. Alternatively, Wolf is entitled to summary judgment based on his good-

  faith reliance on a court order, qualified immunity, and the Heck v. Humphrey bar.




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                                                           Respectfully submitted,

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                                                           ATTORNEY FOR DEFENDANT
                                                           TONY WOLF




                                     CERTIFICATE OF SERVICE

          I certify that on September 18, 2020, I electronically filed the above and foregoing with the Clerk
  of the Court using the CM/ECF system, which sent electronic notification of such filing to all counsel
  currently electronically registered with the Court.


                                                           /s/ Eric Turner
                                                           ATTORNEY FOR DEFENDANT
                                                           TONY WOLF


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                                                                                              A
                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF KANSAS

   Anthony Thompson,

                           Plaintiff,

  v.                                                    Case No. 5:15-CV-03117

   Timothy Brown, et al.,

                           Defendants.


                        DECLARATION OF GLEN VIRDEN

         I, Glen Virden, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

         1.    I am an employee of the State of Kansas with the Kansas Bureau of

  Investigation ("KBI"). I am an "investigative" law enforcement officer duly deputized

  with the statutory authority for the State of Kansas, and as further recognized and

  defined by K.S.A. § 22-2514(5). I am currently the Special Agent in Charge for the KBI's

 West Region Special Operations Division, which encompasses 46 counties on the west

  side of Kansas. I have been a Special Agent in the Special Operations Division of the KBI

 since October of 2001. I have a Bachelor of Science in Criminal Justice from

 Southwestern College, Winfield, Kansas. I am a graduate of the Kansas Law

  Enforcement Training Center. I have attended numerous seminars and law enforcement

 education courses while with the KBI. For example, I am a 2017 graduate of Federal

 Bureau of Investigation National Academy.

        2.     I make this Declaration from my personal knowledge.


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        3.     I am a United States citizen, over 18 years of age, and a resident of

  the State of Kansas.

        4.     Service of the Amended Complaint and summons was made on me

  by mail received on March 13, 2018. This is the only service of a complaint or

  summons that I received pertaining to this litigation.

        5.     I am an "investigative or law enforcement officer" as that phrase is

  defined in K.S.A. § 22-2514(5) and 18 U.S.C. § 2510(7).

        6.     For approximately thirteen months, starting in or about February

  2012, an investigation was jointly conducted by the KBI, the Junction City Police

  Department, the Geary County Sheriffs Office, and the Riley County Police

  Department, into a narcotics-trafficking conspiracy ("Narcotics-Trafficking

  investigation").

        7.     I was the case agent for the KBI, i.e., the lead law enforcement officer

  for the KBI, related to the Narcotics-Trafficking investigation.

        8.     During the course of the Narcotics-Trafficking investigation,

  communications from and to seven cellular phones were intercepted for different

  lengths of time pursuant to orders authorizing the interceptions issued by the

  Eighth Judicial District, Kansas, District Court Judge David Platt ("Judge Platt").

  A list of the affidavits provided in support of applications for these orders and the

  corresponding orders is attached as Exhibit 1. Redacted copies of the affidavits


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  and of the orders [in some instances added names and signatures on some orders

  as explained below] are also attached as Exhibits 2-17.

        9.     In or around March and April 2013, Eighth Judicial District, Kansas,

  District Court Judge David Platt ("Judge Platt") entered orders authorizing the

  interception of Anthony Thompson's (and his suspected co-conspirators') oral,

  wire and/or electronic communications regarding 785-226-1783, with service

  provided by T-Mobile USA Wireless. A copy of the initial order, dated March 5,

  2013, is attached as Exhibit 5.

        10.    I had informed the Geary County Attorney Steven L. Opat

  ("Prosecutor Opat") about the Narcotics-Trafficking investigation. Prior to March

  5, 2013, I, my fellow investigators in Narcotics-Trafficking investigation, and

  Prosecutor Opat collectively agreed that interception of Anthony Thompson's and

  others' cellular communications was needed and appropriate as part of the

  investigation.

        11.    Before March 5, 2013, the Narcotics-Trafficking investigation

  focused on trafficking of crack cocaine in Geary County, Kansas. Its investigators

  had discovered evidence of crack cocaine sales by Anthony Thompson in Junction

  City, Geary County, Kansas, which were arranged through communications on

  phones owned or used by Anthony Thompson.

        12.   At that time, I anticipated that any criminal charges against the

  suspects, including Albert Banks and Anthony Thompson, in the Narcotics-
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  Trafficking investigation would be filed and prosecuted in the Eighth Judicial

  District, District Court in Geary County.

        13.    I prepared and signed affidavits in order for Prosecutor Opat to

  request Judge Platt enter the orders referenced in paragraph 8.

        14.    I did not prepare any of the orders referenced in paragraph 8, or any

  draft of the orders. I believe that Prosecutor Opat prepared the orders for Judge

  Platt's approvals and signatures.

        15.    I was present when application for the initial order was made to

  Judge Platt on March 5, 2013. I was prepared to provide testimony required by

  KS.A. § 22-2516. As part of the application for the order, Judge Platt was told

  whose phones would be "wiretapped" and why; how the proposed wiretaps would

  take place; where intercepted communications would be received and monitored,

  i.e., the listening post was in Topeka, Kansas; and where the electronic records of

  the intercepted communications would be kept until their delivery to the Eighth

  Judicial District, District Court.

        16.    The draft order submitted to Judge Platt contemplated interception

  of communications outside of the Eighth Judicial District. The order Judge Platt

  entered on March 5, 2013 provided, in part: "IT IS ORDERED FURTHER that in

  the event that the target telephone is transferred outside the territorial

  jurisdiction of this court, interceptions may take place in another jurisdiction

  within the United States."
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        17.    Beginning March 7, 2013, law enforcement officers from the KBI, the

  Junction City Police Department, the Geary County Sheriffs Office, and the Riley

  County Police Department took turns monitoring and collecting data about call

  and texts generally in real time. I personally monitored and collected some

  intercepted communications. I also reviewed copies of some intercepted

  communications attached to investigative reports prepared by other law

  enforcement officers.

        18.    Pursuant to Judge Platt's March 5, 2013 order, progress reports were

  made to the judge by an attorney with Geary County Attorney's Office and KBI

  Special Agent Amanda Young on or about the tenth, twentieth and thirtieth day

  after March 5, 2013 showing the progress made toward achievement of the

  objectives authorized by the order and the need for continued interception.

        19.    Upon Prosecutor Opat's additional applications on April 4, 2013, to

  extend the March 5, 2013 order, and on April 16, 2013 concerning another

  telephone number, 785-226-2893, with service provided byT-Mobile USA, Judge

  Platt issued orders authorizing the interception of Anthony Thompson's (and his

  suspected co-conspirators') oral, wire and/ or electronic communications. A copy

  of the April 4 extension order is attached as Exhibit 11. A copy of the April 16

  order is attached as Exhibit 17.

        20.    To my best memory, I was present when applications for the April

 orders were made to Judge Platt. I was prepared to provide testimony required
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  by K.S.A. § 22-2516. As with the initial order, as part of the application for the

  order, Judge Platt was told or was aware from the prior application or progress

  reports concerning his March order, regarding whose phones would be

  "wiretapped" and why; how the proposed wiretaps would take place; where

  intercepted communication would be received and monitored, i.e., the listening

  post was in Topeka, Kansas; and where the electronic records of the intercepted

  communications would be kept until their delivery to the Eighth Judicial District,

  District Court.

        21.    Like with the March 2013 order, the April 2013 orders provided, in

  part: "IT IS ORDERED FURTHER that in the event that the target telephone is

  transferred outside the territorial jurisdiction of this court, interceptions may

  take place in another jurisdiction within the United States."

        22.    The last intercepted communications under the three orders listed

  above was on or about May 10, 2013.

        23.    As directed by each of the three orders, monitoring of

  communications was to be conducted to minimize the interception and disclosure

  of communication intercepted to those relevant to the Narcotics-Trafficking

  investigation. For example, monitoring of a communication had to be terminated

  immediately at the time it was determined that the communication was unrelated

  to the subject to the interception under the applicable federal and state statutes.

        24.    To document that officers monitoring communications knew the
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  terms of the March 2013 order, including its minimization requirements, the

  officers were required to sign and date a copy of the order. On March 6, 2013, I

  added my name and signature to a copy of the order that Judge Platt had issued

  the day before on March 5, 2013. I have seen a document filed by Anthony

  Thompson on August 13, 2015 in this lawsuit, doc. 4-3, at 8-16. That document is

  a copy of the Judge Platt's order that I signed on March 6, 2013, on page 15 of

  doc. 4-3, for the reasons stated.

        25.     I did not question the authority of Judge Platt to enter the March

  and April 2013 orders. I did not question the judge's authority to order

  interception of communications outside of the Eighth Judicial District.

        26.     To my knowledge none of the 60 plus officers from the KBI, Junction

  City Police Department, Geary County Sheriffs Office, or Riley County Police

  Department, who were involved in the Narcotics-Trafficking investigation and

  the interception and monitoring of communications of the involved seven cellular

  phones, ever raised an issue about Judge Platt's authority to issue the intercept

  orders.

        27.     I did not understand or believe that either the March or April orders

  or parts of those orders were invalid from the face of the orders. Nothing in the

 language of the orders confined the authorized interception of oral, wire and/ or

 electronic communications to those initiated or intercepted within the Eighth

 Judicial District.
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        28.      Although not making a conscious evaluation at the time, I believed

  that Judge Platt was the proper judge, who had the authority to issue the March

  and April orders, because:

        a. Prosecutor Opat made applications to Judge Platt and Judge Platt

              entered the orders, both knowing how the subject communications

              would be intercepted;

        b. The underlying criminal activity at issue in the Narcotics-Trafficking

              investigation was in Geary County;

        c. The cellular phones, which were the subject of the interception orders,

              were used in Geary County.

        d. Anthony Thompson came into Geary County and engaged in the

              underlying criminal activity, and I expected this would continue.

        29.      My best memory is that I was not aware of the Kansas Court of

  Appeals decision in State v. Adams, 2 Kan.App.2d 135, 576 P.2d 242 (Kan. App.

  1978) until after any role I had with the interception and disclosure of Anthony

  Thompson's wire or electronic communications was complete. However, even if

  the Adams decision had been brought to my attention before the applications for

  the March and April 2013 orders, I still would not have disputed Judge Platt's

  authority. I would have assumed that Adams did not apply, that Adams was no

 longer good law or that the statutes interpreted in Adams had been amended.

        30.      In short, I was unaware that Judge Platt lacked jurisdiction to order
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  wiretaps of cellular communications made and monitored outside of the Eighth

  Judicial District, where under the circumstances (a) the criminal activity, which

  supported the need for the wiretaps, and (b) some of the communications

  expected to be intercepted had been and would take place within the geographic

  confines of Judge Platt's Judicial District.

        31.    I executed Judge Platt's orders believing that they were fully and

  properly issued and enforceable.

        32.    During the course of the Narcotics-Trafficking investigation, the

  decision was made to refer the "main players" to the Office of the United States

  Attorney for the District of Kansas to prosecute for violations of federal laws. This

  was mostly because of the complexity of the prosecution.

        I declare under penalty of perjury under the laws of the United States that

  the foregoing is true and correct.

        Executed on July __f_, 2020.



                                          ~ ~
                                         Glen Virden




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                                                                                                                           B

                                        IN THE UNITED SfATESDISTR.lCT COURT
                                             FOR THE OISfRICT OP KANSAS

             ALBERT DEWAYNE BANKS,                          )
                                                            )
                           Plaintiff.                       )       Case No.1.5-.3193-HLT-GEB
                                                            )
             ~                                              )
                                                            )
             STEVEN L. OPAT, el aL,                         )
                                                            )
                           DefendanlS.                      )
                                                            )
             &                                              )
                                                            )
             ANTHONYTI-IOMPSO            I                  )
                                                            )
                           Plaintiff,                       )
                                                            )
             V.                                             )       Case No. 15-3117-HLT-GEB
                                                            )
             DAVID L. PLATI, et al.,                        )
                                                            )
                           Defendants.                      )

                                             DECLARATIONOFTONY~kf
                    I., Tony \\blf, pursuant to 28 USC. § 1746, declare as follows:

                    L A1 all times described in the Amended Complaint, I was the Sbedff of Geary Councy,

                       Kansas. I was elected Sheriff in Novmiba' 2012. I was ~eriff from January 2013 to

                       April 2019.

                    2. [ make lhls Deda.ration from my personal .knowledge.
                    3. I am a Unitoo States citizen, over 18 )--ears of at;e, and a resident of tire State of Kansas.

                    4. Shortly afier- taking office ~ Sheriff in 2013, I recall aumding a meeting in Manhattan

                        about an invesligation into a narcotks-trafficking conspiracy that was jointly ronduc:ted
                        by mmmers of a drug~ force tbar included officers from th.e Kansas Bureau of




                                                                                                                                    151
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                       Investigation, the Junction City Polia! Department, !he Geary Cowuy ~erlffs Offioe.

                       and the Riley County Polloe DeparttnenL

                    5. While ai: the meedng, I added my lliEJe ood si~amre to a list of oames and signacm'es of

                       5e\leral law enforcement officers who ateaded the meetin&

                    6. I have see1 a document 6led by Anthony 'Thompson in this law5uit. Thac dommem ls a

                       copy of Judge Plan's OrdEf Ill.at I signed and ~l.'d March 6, 2013. Tdo not recall if I 5J!fl

                        the order or read the order ar the meeung

                    7. I did not question the authority of Judge Plan to enter wiretap ordl!rS.

                    8. At that time, I understood ma my ~ was an acknowkdgmmr of my attendance

                       at the meeling and ao adcnowledgment of my obllgalioo to keep the investigation

                       confidential.

                    9. Alter the mffling, I had no further inwlvement In the !nvesllgatlon.

                    10. l did not intfl'C!'pc any of Anthony Thompson's rolBllllDlicaclons.

                    11. I did not l.1$len to aoy of Anthony Thompson's calls or view any of his tut m ~

                    12.1 did not me any of Anthony Thompson's communications for any pl.lt"pOse.

                    13. I did n0t disclose any of Anthony Thompson's a>mmunlcati.oos to anyone.

                    14. I ~ una,,,.'31t' that any of th~ wlretap orders or parts of the orders 'Wl!l"I! lnvalld.

                    15. I WilS unaware or the tedlnical _lw:isdictional defe.a in Judge Plan's wire@p ordmi or that

                        Judge Plan Llrlfd jwisdimon ro order 'Wiretaps of cell phone mmmunlcations outside

                        of the Eighth Judieial Dil.lriu.



                    I dedare under penalty of perjury under the laws of the United States that the foregoing Is

             true and con-ea.

                    Exeanl.'d on September ~ 2020


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                                                                                                                                   152
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                                            IN THE DISTRICT COURT OF GEARY COUNTY, KANSAS
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                          IN THE MATfER OF THE APPUCATION                               )
                          OF TIIE STATE OF KANSAS                                       )       CASE NO.
                          FOR AN ORDER AUTHORIZING TIIB                                 )
Date Filed: 07/10/2023




                          JNTERCEPTION OF WIRE                                          )       UNDERSEAL
                          COMMUNICATIONS TO AND FROM                                    )
                          SPRINT/NEXTEL WIRELESS IBLEPHONE:                             )
                          785-375-6704                  .                               )
                          BEARING MOBILE STATION IDENTIFICATION#                        )
                          (MSID) 00007856601961 AND ELECTRONIC SERIAL                   )
                          # (ESN) 268435459909788757                                    )


                                                 ORDER AUTHORIZING THE INTERCEPTION
Document: 010110884675




                                                      OF WIRE COMMUNICATIONS

                          Application under oath having been made before me by Steven L. Opat, Geary County Attorney,

                          based on the sworn affidavit of Glen F. Virden, Senior Special Agent, Kansas Bureau of

                          fuvestigations, an investigative or law enforcement officer of the State of Kansas within the meaning

                          .9f Section 5 of KS.A. 22-2514, et seq, for an Order authorizing the interception of wire

                          communications pursuaI?-t to KS.A. 22-2514, et seq, and full consideration having been given to the
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                          matter set forth therein, the Court finds:

                          A.     there is probable cause to believe that Albert DeWayne Banks, D O B - and Anthony

                                 Carlyle Thompson, DOB . , and others named in the affidavit of the said Glen F.

                                 Virden, and others yet unknown (hereinafter "Target Subjects"), have committed, and are

                                 committing, and will continue to commit offenses enumerated in Article 57 of K.S.A. 21-

                                 5701 et seq, specifically possession of controlled substances with intent to distribute, and

                                 distribution of controlled substances, in violation of KS.A. 21-570 I et seq, specifically 21-



                                                                                                                        D000692
                                                                                                                 EXHIBIT C 001
                               Case 5:15-cv-03093-HLT Document 180-3 Filed 09/18/20 Page 2 of 35




                                                                                                                                  155
                                 5705 and 5706: unlawful use of a communication facility to commit and facilitate the

                                 commission of drug trafficking offenses, in violation of KS.A. 21-5707; attempts,
Page: 155




                                 conspiracies or solicitations to possess with intent to distribute or to distribute controlled

                                 substances, in violation of KS.A. 21-5701 et seq, and K.S.A. 21-5301 and 21-5302 and 21-

                                5304; unlawful acts involving proceeds derived from violations of KS.A. 21-5701-5717.
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                                (Hereinafter the "Target Offenses");

                          B.    there is probable cause to believe that particular wire communications of the said Albert

                                DeWayne Banks and the said Anthony Carlyle Thompson and others yet unknown

                                (hereinafter "Target lnterceptees"), concerning the above-described Target Offenses will be

                                obtained through the interception for which authorization has herewith been applied. In
Document: 010110884675




                                particular, there is probable cause to believe that the interception of wire communications

                                to and from the cellular telephone with the assigned telephone number 785-375-6704,

                                bearing MSID 00007856601961 and ESN 268435459909788757 with service provided by

                                Sprint/Nextel Wireless which is a subscribed prepaid account but with no subscriber name

                                attached, although it is clear that the principal user is and has been identified as Albert
Appellate Case: 23-3102




                                DeWayne Banks, will further disclose, detail and reveal the specifics of the above offenses,

                                including the depth of the conspiracy and the manner and means of how and with whom

                               these offenses are being committed, including the unknown sources from which the

                               distribution by Albert DeWayne Banks, Anthony Carlyle Thompson, and others is made

                               possible;

                          C.   it has been established that normal investigative procedures have been tried and have failed,

                               reasonably appear to be unlikely to succeed if tried, or are too dangerous to employ; and

                          D.   there is probable cause to believe that 785-375-6704 has been and will continue to be used

                                                                                                                       D000693
                                                                                                               EXHIBIT C 002
                                 Case 5:15-cv-03093-HLT Document 180-3 Filed 09/18/20 Page 3 of 35




                                                                                                                                      156
                                      in connection with commission of the above-described offenses.

                                      WHEREFORE, IT IS HEREBY ORDERED that Special Agents of the Kansas Bureau of
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                           Investigation, and other agencies acting under the supervision of the KBI, are authorized, pursuant

                           to an application as authorized ·by K.S.A. 22-2515, made by Steven L. Opat, the duly elected and

                          authorized County Attorney for Geary County, State of Kansas, to intercept wire communications
Date Filed: 07/10/2023




                          to and from the above-described telephone.

                                     PROVIDED that such interception(s) shall not tenninate automatically after the first

                          interception that reveals the manner in which the alleged co-conspirators and others as yet unknown

                          conduct their illegal activities, but may continue until all communications are intercepted which

                          reveal fully the manner in which the above-named persons and others as yet unknown are
Document: 010110884675




                          committing the offenses described herein, and which reveal fully the identities of their confederates,

                          their places of operation, and the nature of the conspiracy involved therein, or for a period of thirty

                          (30) days measured from the day on which investigative or law enforcement officers first begin to

                          conduct an interception under this order or ten (10) days after this order is entered, whichever is

                          earlier.

                                     l TIS ORDERED FURTHER that in the event that the target telephone is transferred outside
Appellate Case: 23-3102




                          the territorial jurisdiction of this court, interceptions may take place in any other jurisdiction within

                          the United States.

                                     IT 1S ORDERED FURTHER that the authorization given is intended to apply not only to

                          the target telephone number listed above, but also to any other telephone number or telephone

                          accessed through the above-referenced MSID number, and to any other MSID number accessed

                          through the target telephone number referenced above, within the thirty (30) day period. The

                          authorization is al.so intended to apply to the target telephone number referenced above regardless


                                                                                                                            D000694
                                                                                                                    EXHIBIT C 003
                                      Case 5:15-cv-03093-HLT Document 180-3 Filed 09/18/20 Page 4 of 35




                                                                                                                                       157
                                 of service provider, and to background conversations intercepted in the vicinity of the target

                                telephone while the telephone is off the hook or otherwise in use.
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                                        IT IS ORDERED FURTHER that, based upon the request of the Applicant pursuant to

                                KS.A 22-2514, and the definitions set forth therein, and K.S.A. 22-2515 and 2516, Sprint/ Nextel,
     Date Filed: 07/10/2023




                                an electronic communication service provider as defined in Section 2510(15) of Title 18, United

                                States Code and K.S.A. 22-2514, shall furnish the KBI and/or it's agents or designees with all

                                information, facilities and technical assistance necessary to accomplish the interceptions

                               . unobtrusively and with a minimum of interference with the services that such provider is according

                                the persons whose communications are to be intercepted, with the service provider to be

                               . compensated by the KBI for reasonable expenses incurred in providing such facilities or assistance.
     Document: 010110884675




                                        IT IS ORDERED FURTHER that, to avoid prejudice to the government's criminal

                                investigation, the provider of the electronic communications service and its agents and employees

                                are Ordered Not To Disclose or Cause Disclosure of the Order or the request for information,

                                facilities and assistance by the KBI or the existence of the investigation to any person other than

                               those of its agents and employees who require this information to accomplish the services hereby
     Appellate Case: 23-3102




                                ordered. In particular, said provider and its agents and employees shall not make such disclosure to

                               a lessee, ~lephone subscriber or any interceptee or participant in the intercepted communications.

i.                                     IT IS ORDERED FURTHER that this Order shall be binding on any subsequent provider

                               of electronic communications services as defmed in Title 18, United States Code~ Section 2510(15)

                               and K.S.A. 22-2514 et seq, that provides services to the target telephone number(s) listed above

                               upon service of a certified copy of this Order without any further court order being required.

                                       ITIS ORDERED FURTHER that this order shall be executed as soon as practicable and that

                               a11 · monitoring of wire communications shall be conducted in such a way as to minimize the

                                                                                                                             D000695
                                                                                                                      EXHIBIT C 004
                                             Case 5:15-cv-03093-HLT Document 180-3 Filed 09/18/20 Page 5 of 35




                                                                                                                                            158
                                     interception and disclosure of the communications intercepted to those communications relevant to

                                     the· pending investigation. The interception of wire commurlicatfons must terminate upon the
       Page: 158




                                     attainment of the authorized objectives, not to exceed thirty (30) days measured from the earlier of
                                        ,,


                                     the day on.which investigative or law enforcement officers first begin to conduct an interception of

                                     th:itlllrder or ten (10) days after he order is entered.
       Date Filed: 07/10/2023




                                              Monitoring of conversations must terminate immediately when it is determined that the

                                     conversation is unrelated to communications subject to interception under Chapter 119, Title 18,

                                     United States Code and K.S.A. 22-2514 et seq .. Interception must be suspended immediately when

                                     it is determined through voice identification, physical surveillance, or otherwise, that none of the

                                     named Target Interceptees or any of their confederates, when identified, are participants in the
       Document: 010110884675




                                    conversation unless it is determined during the portion of the conversation already overheard that

                                     the conversation is criminal in nature. If the conversation is minimized, the monitoring agent shall

                                    spot check to insure that the conversation has not turned to criminal matters.

                                              IT IS ORDERED FURTHER that. pursuant to Section 2518(5), Title 18, United States Code

                                    and K.S.A. 22-2514 et seq, in the event intercepted communications are in a code or foreign
       Appellate Case: 23-3102




                                    language, and an expert in that code or foreign language is not reasonably available during the

  j                                 interception period, minimization may be accomplished as soon as practicable after such

                                    interception.

,j
iJ                                           IT IS ORDERED FURTHER that Steven L. Opat, Geary County Attorney and/or Antonio
 ._j
,:i
                                    Cruz Assistant Geary County Attorney shall provide this Court with a report on or about the tenth,

                                    twentieth, and thirtieth days following the date of this Order showing what progr~s has been made

                                 tJc toward achievement of the authorized objectives and the need for continued interception. If any of

                                    the above~ordered · reports should become due on a weekend or holiday, IT IS ORDERED

                                                                                                                               D000697
                                                                                                                          EXHIBIT C 005
                                            Case 5:15-cv-03093-HLT Document 180-3 Filed 09/18/20 Page 6 of 35




                                                                                                                                                                                                          159
                                     FURTHER that such report shall become due on the next business day thereafter.

                                              lTIS ORDERED FURTHER that this Order, the application, affidavit and proposed or~er,
        Page: 159




                                     and all interim reports filed with this Court with regard to this matter, shall be sealed until further
                                                  .,        -     .                                                                                               ·.          .         ...
                                     order of this Court, except that copies of the order, in full or redacted form, may be served on the
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                                    KBI and th~ se~vice provider as necessary to effectuate this order.
        Date Filed: 07/10/2023




                                             DONE and ORDERED this           ·L day of JtU_,rc.,{ , 20 IJ , at in Junction City,
                                    Kansas.
        Document: 010110884675




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        Appellate Case: 23-3102




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                                            Case 5:15-cv-03093-HLT Document 180-3 Filed 09/18/20 Page 8 of 35

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                                Case 5:15-cv-03093-HLT Document 180-3 Filed 09/18/20 Page 10 of 35

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                                              IN THE DISTRICT COURT OF GEARY COUNTY, KANSAS
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                           . IN THE MATIER OF THE APPUCATION                              )
                             OF THE STAIB OF KANSAS                                       )       CASE NO.
                             FOR AN ORDER AUTHORIZING TIIE                                )
Date Filed: 07/10/2023




                             IN1ERCEPTION OF WIRE                                         )       UNDERSEAL
                            COMMUNICATIONS TO AND FROM                                    )
                            T-MOBILE USA WIRELESS TELEPHONE:                              )
                            785-226-1783                                                  )
                            BEARING INTERNATIONAL MOBILE STATION                          )
                            IDENTIFICATION# (IMSI) 310260445955245                        )



                                                  ORDER AUTHORIZING THE INTERCEPTION
Document: 010110884675




                                                       OF WIRE COMMUNICATIONS

                            Application under oath having been made before me by Steven L. Opat, Geary County Attorney,

                           based on the sworn affidavit of Glen F. Virden, Senior Special Agent, Kansas Bureau of

                           Investigations, an investigative or law enforcement officer of the State of Kansas within the meaning

                           of Section 5 of KS.A. 22-2514, et seq, for an Order authorizing the interception of wire

                          · communications pursuant to K.S.A. 22-2514, et seq, and full consideration having been given to the
Appellate Case: 23-3102




                           matter set forth therein, the Cou11 finds:

                           A.      there is pro_bable cause to believe that Al}?ert DeWayne Banks, D O B - and Anthony

                                   Carlyle Thompson, DOB - • and others named in the affidavit of the said Glen F.

                                   Virden, and others yet unknown (hereinafter "Target Subjects"), have committed, and are

                                   committing, and will continue to commit offenses enumerated in Article 57 of K.S.A. 21-

                                   5701 et seq, specifically possession of controlled substances with intent to distribute, and

                                   distribution of controlled substances, in violation ofK.S.A. 21-5701 et seq, specifically 21-·

                                                                                                                  EXHIBIT 5
                                                                                                                         D000775
                                                                                                                 EXHIBIT C 010
                               Case 5:15-cv-03093-HLT Document 180-3 Filed 09/18/20 Page 11 of 35




                                                                                                                                   164
                                 5705 and 5706, unlawful use of a communication facility to commit and facilitate the

                                 commission of drug trafficking offenses, in violation of KS.A. 21-5707; attempts,
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                                · conspiracies or solicitations to possess with intent to distribute or to distribute controlled

                                 substances, in violation ofK.S.A. 21-5701 et seq, and K.S.A. 21-5301 and 21-5302 and21-

                                 5304; unlawful acts involving proceeds derived from violations of K.S.A. 21-5701-5717.
Date Filed: 07/10/2023




                                 (Hereinafter the "Target Offenses");

                          B.     there is probable cause to believe that particular wire communications of the said Albert

                                 DeWayne Banks and the said Anthony Carlyle Thompson and others yet unknown

                                 (hereinafter "Target lnterceptees"), concerning the above-described Target Offenses will be

                                 obtained through the interception for which authorization has herewith been applied. In
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                                 particular, there is probable cause to believe that the interception of wire communications

                                 to and·frorn the cellular telephone with the assigned telephone number 785-226-1783,

                                 bearing IMSI 310260445955245 with service provided by T-Mobile USA Wireless with

                                 subscriber listed as one Jason Roberts, although it is clear that the principal user is and has

                                 been identified as Anthony Carlyle Thompson, will further disclose, detail and reveal the
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                                 specifics of the above offenses, including the depth of the conspiracy and the manner and

                                 means of how and with whom these offenses are being committed, including the unknown

                                 sources from which the distribution by Albert DeWayne Banks, Anthony Carlyle Thompson,

                                 and others is made possible;

                          C.    it has been established that normal investigative procedures have been tried and have failed,

                                reasonably appear to be unlikely to suc~eed if tried, or are too dangerous to employ; and

                          D.    there is probable cause to believe that 785-226-1783 has been and will continue to be used

                                in connection with commission of the above-described offenses.

                                                                                                                        D000776
                                                                                                                EXHIBIT C 011
                               Case 5:15-cv-03093-HLT Document 180-3 Filed 09/18/20 Page 12 of 35




                                                                                                                                       165
                                      WHEREFORE, IT IS HEREBY ORDERED that Special Agents of the Kansas Bureau of

                           Investigation, and other agencies acting under the supervision of the KBI, are authorized, pursuant
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                           to an application as authorized by K.S.A. 22-2515, made by Steven L. Opat, the duly elected and

                          . authorized County Attorney for Geary County, State of Kansas, to intercept wire communications

                           to and from the above-described telephone.
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                                      PROVIDED that such interception(s) shall not terminate automatically after the first

                           interception that reveals the manner in which the alleged co-conspirators and others as yet unknown

                           conduct their illegal activities, but may continue until all communications are intercepted which

                           reveal fully the manner in which the above-named persons and others as yet unknown are

                          · committing the offenses described herein, and which reveal fully the identities of their confederates,
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                           their places of operation, and the nature of the conspiracy involved therein, or for a period of thirty

                           (30) days measured from the day on which investigative or law enforcement officers first begin to

                           conduct an interception under this order or ten (10) days after this order is entered, whichever is

                           earlier.

                                      1TIS ORDERED FURTHER that in the event that the target telephone is transferred outside
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                          the .territorial jurisdiction of this court, interceptions may take place in any other jurisdiction within

                          the United States.

                                      IT lS ORDERED FURTHER that the authorization given is intended to apply not only to

                          the target telephone number listed above, but also to any other telephone number or telephone

                          accessed through the above-referenced IMSI number, and to any other IMSI number accessed

                          through the target telephone number referenced above, within the thirty (30) day period. The

                          authorization is also intended to apply to the target telephone number referenced above regardless

                          of service provider, and to background conversations intercepted in the vicinity of the target

                                                                                                                           D000777
                                                                                                                   EXHIBIT C 012
                                  Case 5:15-cv-03093-HLT Document 180-3 Filed 09/18/20 Page 13 of 35




                                                                                                                                      166
                               telephone while the telephone is off the hook or otherwise in use.

                                      IT IS ORDERED FURTHER that, based upon the request of the Applicant pursuant to
    Page: 166




                               K.S.A. 22-2514t and the definitions set forth therein, and K.S.A. 22-2515 and 2516, T-Mobile, an

                               electronic communication service provider as defined in Section 2510( 15) of Title 18, United States
    Date Filed: 07/10/2023




                               Code and K.S.A. 22-2514, shall furnish the KBI and/or it's agents or designees with all information,

                              facilities and technical assistance necessary to accomplish the interceptions unobtrusively and with

                              a minimum of interference with the services that such provider is according the persons whose

                              ·· communications are to be intercepted, with the service provider to be compensated by the KBI for

                              reasonable expenses incurred in providing such facilities or assistance.

                                      IT IS ORDERED FURTHER that, to avoid prejudice to the government's criminal
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                              investigation, the provider of the electronic communications service and its agents and employees

                              are Ordered Not To Disclose or Cause Disclosure of the Order or the request for information,

                              facilities and assistance by the KBI or the existence of the investigation to any person other than

                              those of its agents and employees who require this information to accomplish the services hereby

L                             ordered. In particular, said provider and its agents and employees shall not make such disclosure to
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                              a lessee, telephone subscriber or any interceptee or participant in the intercepted communications.

                                      IT IS ORDERED FURTHER that this Order shall be binding on any subsequent provider

                              of electronic communications service.s as defined in Title 18, United States Code, Section 2510(15)

                              and K.S.A. 22-2514 et seq, that provides services to the target telephone number(s) listed above

                              upon service of a certified copy of this Order without any further court order being required.

                                      IT IS ORDERED FURTHER that this order shall be executed as soon as practicable and that

                              all monitoring of wire communications shall be conducted in such a way as to minimize the

                              interception and disclosure of the communications intercepted to those communications relevant to

                                                                                                                          D000778
                                                                                                                   EXHIBIT C 013
                              Case 5:15-cv-03093-HLT Document 180-3 Filed 09/18/20 Page 14 of 35




                                                                                                                                  167
                           the pending investigation. The interception of wire communications must tenninate upon the

                           attainment of the authorized objectives, not to exceed thirty (30) days measured from the earlier of
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                           the day on which investigative or law enforcement officers first begin to conduct an interception of

                           this order or ten (10) days after he order is entered.

                                   Monitoring of conversations must terminate immediately when it is determined that the
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                           conversation is unrelated to communications subject to interception under Chapter 119, Title 18,

                           United States Code and KS.A. 22-2514 et seq .. Interception must be suspended immediately when

                           it is detennined through voice identification, physical surveillance, or otherwise, that none of the

                           named Target Interceptees or any of their confederates, when identified, are participants in the

                           conversation unless it is determined during the portion of the conversation already overheard that
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                          the conversation is criminal in nature. If the conversation is minimized, the monitoring agent shall

                          spot check to insure that the conversation has not turned to criminal matters.

                                  IT IS ORDERED FURTHER that, pursuant to Section 2518 (5), Title 18, United States Code

                          and KS.A. 22-2514 et seq, in the event intercepted communications are in a code or foreign

                          language, and an expert in that code or foreign language is not reasonably available during the
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                          interception period, minimization may be accomplished as soon as practicable after such

                          interception.

                                 IT IS ORDERED FURTHER that Steven L. Opat, Geary County Attorney and /or Antonio

                          Cruz Assistant Geary County Attorney shall provide this Court with a report on or about the tenth,

                          twentieth, and thirtieth days following the date of this Order showing what progress has been made

                          toward achievement of the authorized objectives and the need for continued interception. If any of

                          the above-ordered reports should become due on a weekend or holiday, IT IS ORDERED

                          FURTHER that such report shall become due on the next business day thereafter.


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                                                                                                              EXHIBIT C 014
                             Case 5:15-cv-03093-HLT Document 180-3 Filed 09/18/20 Page 15 of 35




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                                    IT IS ORDERED FURTIIER that this Order, the application, affidavit and proposed order,

                          and all interim reports filed with this Court with regard to this matter, shall be sealed until further
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                          order of this Court, except that copies of the order, in full or redacted fonn, may be served on the

                          KBI and the service provider as necessary to effectuate this order.

                                 DONE and ORDERED this            ,S- day of µf4-eA                20 / 5, at in Junction City,
Date Filed: 07/10/2023




                          Kansas.


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     Appellate Case: 23-3102




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                                                                                                                                     172
                                           IN THE DISTRICT COURT OF GEARY COUNTY, KANSAS
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                          IN THE MATIER OF THE APl?llCATI0N                              )
                          OF THE STATE OF KANSAS                                         )       CASE NO.
                          FOR AN ORDER AUTHORIZrNG THE                                   )
Date Filed: 07/10/2023




                          INTERCE PTION OF WIRE                                          )       UNDER SEAL
                          COMMUNICATIONS TO AND FROM                                     )
                          T-M0BILE USA WIRELESS TELEPHONE:                               )
                          785-226-1 783                                                  )
                          BEARING INTERNA TIONAL MOBILE STATION                          )
                          IDENTIFICATION# (IMSI) 31026044 5955245                        )


                                                                        ORDER

                                 Applicatio n under oath having been made before been made before me by Steven L. Opat,
Document: 010110884675




                          duly elected County Attorney for Geary County, State of Kansas, an "investigative or law

                          enforceme nt officer" of the State of Kansas within the meaning of Section 2510(7) of Title 18,

                          United States Codes, and K.S.A. 22-2514; for an Order authorizing the Continued interceptio n (i.e.

                          an extension) of wire communic ations pursuant to K.S.A. 22-2514 et seq. particularly 22-

                          2515(a)(l 1) and (20) as previously authorized by this Court on March 5, 2013, and therefore full

                          considerat ion having been given to the matter set forth therein, the Court Finds;
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                                  A.      there is probable cause to believe that Anthony Carlyle Thompson , Albert DeWayne

                          Banks, Johnny Lee Ivory, Otis Ponds, others named :in the affidavits and progress reports herein, and

                          others as yet unknown, have committed, and are comin:itting specificall y possession of controlled

                          substances (with intent to distribute) and distributio n ofcontrolled substances, in violation of K.S.A.

                          21-5701 et seq, specifically 21-5705 and 5706; unlawful use of a communic ation facility to commit

                          and facilitate the commission of drug trafficking offenses, in violation of K.S.A. 21-5707; attempts,



                                                                                                                  EXHIBIT 11


                                                                                                                     EXHIBIT C 019
                            Case 5:15-cv-03093-HLT Document 180-3 Filed 09/18/20 Page 20 of 35




                                                                                                                                           173
                                                                                            ute or to distribute contro11ed substances,
                          conspiracies or solicitations to possess with intent to distrib

                          in violation of K.S.A. 21-5701 et seq, and K.S.A .21-53 01
                                                                                            and21-5302 and 21-5304; unlawful acts
Page: 173




                                                                                       . 21-57 01-57 17, hereinafter the "Targ et
                          involv ing proce eds derived from violations of K.S.A

                          Offen ses";
                                                                                                               unica tions of Anthony
                                           there is probable cause to believe that partic ular wire comm
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                                  B.

                                                                              Ivory, Otis Ponds , others named in such
                          Carlyle Thom pson, Albert DeWayne Banks, Johnny Lee
                                                                                             others as yet unknown, conce rning the
                          previously submi tted affidavits an progress reports, and

                                                                                        interc eption for which authorization has
                          above -descr ibed offens es will be obtained through the

                                                                                               to believ e that the interception of wire
                          herew ith been applied. In particular, there is probable cause

                                                                                              er 785-2 26-17 83, bearin g International
                           comm unica tions to and from the telephone bearin g numb
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                                                                                        55245 , Targe t Phone, which is a T-Mobile
                           Mobil e Subsc riber Identity Number (IM.SI): 31026 04459

                                                                                                ts, with the primary user havin g been
                           USA Wireless cellular telephone, subscribed to Jason Rober
                                                                                             specif ics of the above offenses, including
                           identified as Antho ny Carlyle Thompson. will concern the

                           the mann er and means of the commission of the offenses(s);
                                                                                                                    been tried and have
                                   C.       it has been established that normal investigative proce dures have

                                                                                               or are to dangerous to employ; and
                           failed, reaso nably appea r to be unlikely to succeed if tried,
Appellate Case: 23-3102




                                                                                                               g the number 785-226-
                                    D.      there is probable cause to believe that the teleph one bearin

                                                                                                 er (IMSI): 310260445955245, which
                            1783, bearin g International Mobile Subsc iiber Identity Numb
                                                                                               to Jason Roberts, with the primary user
                           is a T-Mo bile USA Wireless cellul ar telephone, subscribed

                                                                                            has been and will continue to be used in
                           havin g been identi fied as Antho ny Carlyle Thompson,

                                                                                               es.
                           conne ction with comm ission of the above-described offens




                                                                                                                           EXHIBIT C 020
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                                                                                                                                             174
                                                                                                                   Glen Virden of the
                                 WHER EFORE , IT IS HEREB Y ORDE RED that Senior Special Agent

                                                                                                   agent, are authorized, pursuant
                          KB.l., and other agencies acting under the supervision of a K.B.I.
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                                                                                                    an authorized "investigative or
                          to an applica tion signed by Steven L. Opat, Geary County Attorney,

                                                                                                        g of Section 2514 of K.S.k
                          law enforce ment officer " of the State of Kansas within the meanin

                                                                                                   to Contin ue to interce pt wire
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                          chapte r 22, that is an attorney authori zed by law to prosecu te,

                          commu nicatio ns to an from the above- describ ed telephone.
                                                                                                                 tically after the first
                                  PROV IDED that such interce ption(s ) shall not termina te automa

                                                                                                          rs and others as yet unknow n
                          interce ption that reveals the manne r in which the alleged co-con spirato

                                                                                                             ns are interce pted which
                          conduc t their illegal activities, but may continu e until all commu nicatio

                                                                                                          others as yet unknow n are
                          reveal fully the manner in which the above- named person s and
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                                                                                                        identities of their confederates,
                          commi tting the offense s describ ed herein, and which reveal fully the

                                                                                                    therein, or for a period of thirty
                          their place of operations, and the nature of the conspir acy involve d

                                                                                                           ment officers first continu e
                          (30) days measur ed from the day on which investigative or law enforce

                           to conduc t an interception under this order.
                                                                                                                ne is transfe rred outside
                                   IT IS ORDE RED FURTH ER that in the event that the target telepho

                                                                                                        in any other jurisdic tion within
                           the territor ial jurisdic tion of this court, interceptions may take place
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                           the United States.

                                                                                                                 to the target telephone
                                   IT IS ORDE RED FURTH ER that the authorization apply not only

                                                                                                            subseq uently assigned and
                           numbe r(s) listed above, but to any change d telephone numbe r or JMSI

                                                                                                         but to any change d telepho ne
                           utilized by the target telepho ne within the thirty (30) day period,

                                                                                                          d to or used by the instrument
                           numbe r or IMSI or any other telepho ne numbe r subseq uently assigne
                                                                                                            (30) day period. It is also
                           bearing the same IMSI as the target cellula r phone within the thirty

                                                                                                               pted in the vicinity of the
                           Ordere d that the authorization apply to backgr ound conver sations interce




                                                                                                                            EXHIBIT C 021
                            Case 5:15-cv-03093-HLT Document 180-3 Filed 09/18/20 Page 22 of 35




                                                                                                                                      175
                          target telephone while the telephone is off the hook_ or otherwise in use.

                                  IT IS ORDERED FURTHER that, based upon the request of 1he Applicant pursuant to
Page: 175




                          Chapter 119 of Title 18, United States Code, and K.S.A. 22-2514 & 2516 as amended, T-Mobile

                          USA Wireless an electronic communication service provider as defined by law shall furnish the

                          KB .I. will all infonnation, facilities and technical assistance necessary to accomplish the
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                          interceptions unobtrusively and with a minimum of interference with the services that such provider

                          is according the persons whose communications are to be intercepted, with the service provider to

                          be compensated by the K.B.I. for reasonable expenses incurred in providing such facilities or

                          assistance.

                                  IT IS ORDERED FURTHER that in the event that the service provider changes during the
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                          course of the interception, interception may continue with the new service provider without further

                          order of this Court. The State of Kansas will advise the Court of the change of service provider in

                          the periodic progress reports submitted to this Court.

                                  IT IS ORDERED FURTHER that, to avoid prejudice to the government's criminal

                          investigation, the provider of the electronic communication s service and its agents and employess

                          are ordered not to disclose or cause a disdosure of the Order or the request for information, facilities
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                          and assistance by the K.B.I. or the existence of the investigation to any person other than those of

                          its agents and employees who require this information to accomplish the services hereby ordered.

                          In particular, said provider and its agents and employees shaJ1 not make such disclosure to a lessee,

                          telephone subscriber or any interceptee or participant in the intercepted communications.

                                  IT IS ORD BRED FURTIIER that this order shall be executed as soon as practicable and that

                          all monitoring of wire communications shall be conducted in such a way as to minimize the

                          interception and disclosure of the communications intercepted to those communications relevant to




                                                                                                                      EXHIBIT C 022
                            Case 5:15-cv-03093-HLT Document 180-3 Filed 09/18/20 Page 23 of 35




                                                                                                                                                                     176
                                                                                                           .·,.·.··.-·•: .•;:.·· ....... -~······ . --~~--.··.· ..




                                                                                        ions must terminate upon that
                          the pending investigation. The interception of wire communicat
                                                                                                  measured from the earlier of
                          attainment of the authorized objectives, not to exceed thirty (30) days
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                                                                                                  to Conti nue to conduct an
                          the day on which investigative or Jaw ertforcement officers first begin

                          interception of this Order.
                                                                                                 is determined that the
                                  Monitoring of conversations must tenninate immediately when it
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                                                                                              under Chapter 119,                   Title 18
                          conversation is unrelated to communications subject to interception
                                                                                          must be suspended immediately
                          United States Code and K.S .A 22-2516 as amended. Interceptions
                                                                                                     or otherwise, that none of
                          when it is determined through voice identification, physical surveillance,
                                                                                           ied, are participants in the
                          the named interceptees or any of their confederates, when identif
                                                                                              rsation is overheard that the
                          conversation unless it is determined during the portion of the conve
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                                                                                                the monitoring agent shall spot
                          conversation is criminal in nature. If the conversation is minimized.
                                                                                                  s.
                           check to insure that the conversation has not turned to criminal matter
                                                                                                  United States                           Code,
                                  IT IS ORDERED FURTIIER that. pursuant to Chapter 119, Title 18,
                                                                                             ions are in a code or foreign
                           and K.S.A. 22-2516 as amendedi in the event intercepted communicat

                           language, and an expert in the code or foreign language is not
                                                                                              reasonably available during the

                                                                                         as practicable                        after such
                           interception period. minimization may be accomplished as soon
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                           interception.
                                                                                                        Attorney or Tony Cruz
                                   IT IS ORDERED FURTHER that Steven L. Opat Geary County
                                                                                          a report       on or about the tenth,
                           Assistant Geary County Attorney, shall provide this Court with
                                                                                                the    Order of March 5, 2013
                           twentieth, and thirtieth days following the date of the Extension of
                                                                                              achievement of the authorized
                           as Authorized this date showing what progress has been made toward
                                                                                               ordered reports should become
                           objectives and need for continued interception. If any of the above-
                                                                                        report shall                  become due on
                           due on a weekend or holiday, tr 1S ORDERED FURTHER that such




                                                                                                                           EXHIBIT C 023
                            Case 5:15-cv-03093-HLT Document 180-3 Filed 09/18/20 Page 24 of 35




                                                                                                                                     177
                          the next business day thereafter.

                                 IT IS ORDERED FURTIIER that; pursuant to law, Federal and State, (K.S.A. 22-2516), to
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                          prevent premature disclosure of an ongorng investigation, guard against fugitives, and better ensure

                          the safety of agents and others, service of any notice requested by law may be delayed for a period

                          of thirty (30) days after the tenntnation of the monitoring period authorized by the warrant.
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                                  IT IS ORDERED FURTHER that T-Mobile USA Wireless, its affiliates, officers, employees,

                          and agents not disclose the Court's Order or the underlying investigation, until notice is given as

                          provided above.

                                  ITIS ORDERED FURTHER that this Order of Extension, the application, any affidavit(s)

                          and/or progress reports filed with this Court with regard to this matter, shall be sealed until further
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                          order of this Court, except that copies of the Order, in full or redacted form, may be served on the

                          service provider as necessary to effectuate this Order.

                                  DONE and ORDERED this          _!j_ day of April, 2013, at           3f Z 7      ~p.m. in

                          Junction City, Kansas.




                                                                                 HONORABLE DAVID R. PLATT
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                                                                                 DISTRICT JUDGE
                                                                                 gm JUDICIAL DISTRICT
                                                                                 STATE OF KANSAS




                                                                                                                     EXHIBIT C 024
                                 Case 5:15-cv-03093-HLT Document 180-3 Filed 09/18/20 Page 25 of 35




                                                                                                                                   178
                                             1N THE D.ISTRICTCOURT OF GEARY COUNTY, KANSAS
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                           . IN THE MATIER OF THE APPLICATION                            )
                            OF THE STATE OF KANSAS                                      )       CASE NO.
Date Filed: 07/10/2023




                            FOR AN ORDER AUTHORIZING THE                                )
                            INTERCEPTION OF WIRE                                        )       UNDER SEAL
                            COMMUNICATIONS TO AND FROM                                  )
                            VIRGIN MOBILE USNSPRINT PCS:                                )
                           785-717-9771.                                                )
                           MOBILE STATION IDENTIFICATION NUMBER                         )
                           # (MSID) 000007853750181                                     )
                           ELECTRONIC SER1AL NUMBER                                     )
                            # (ESN) 268435460914908669                                  )
Document: 010110884675




                                                  ORDER AUTHORIZING THE INTERCEPTION
                                                       OF WIRE COMMUNICATIONS

                          Application under oath having been made before me by Steven L. Opat, Geary County Attorney,

                          based on the sworn affidavit of Glen F. Virden, Senior Special Agent, Kansas Bureau of

                          Investigations, an investigative or law enforcement officer of the State of Kansas within the meaning

                          of Section 5 of K.S.A. 22-2514, et seq, for an Order authorizing the interception of wire/oral and/or
Appellate Case: 23-3102




                          electronic communications pursuant to K.S.A. 22-2514, et seq, and full consideration having been

                          given to the matter set forth thel'ein, the Court finds:

                          A.      there is probable cause to believe that Albert DeWayne Banks, B/M D O B - Anthony

                                  Thompson D O ~ Otis Ponds, Johnny Ivory and others named in the affidavit of the

                                  said Glen F. Virden, and others yet unknown (hereinafter "Target Subjects"), have

                                 committed, and are committing, and will continue to commit offenses enumerated in Article

                                 57 of K.S.A. 21-5701 et seq, specifically possession of controlled substances with intent to


                                                                                                                      EXHIBIT 15
                                                                                                                      D003025
                                                                                                                 EXHIBIT C 025
                                Case 5:15-cv-03093-HLT Document 180-3 Filed 09/18/20 Page 26 of 35




                                                                                                                                        179
                                      distribute, and distribution of controlled substances, in violation of K.S.A. 21-5701 et seq,
                                  .
                                                                                                                  .
                                      specifically 21-5705 and 5706~ unlawful use of a communica tion facility to commit and
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                                      facilitate the commission ·of dmg trafficking offenses, in violation of K.S.A: 21-5707;

                                  attempts, conspiracies ot solicitations to possess with intent to distribute or to dist:ribute

                                  controlled substances, in violation of K.S.A. 21-5701 et seq, and K.S.A. 21-5301 and 21- ·
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                                  5302 and 21-5304; unlawful acts involving proceeds derived from violations ofK.S.A. 21-

                                  5701-5717. (Hereinafter the "Target Offenses");

                           B.     there is probable cause to believe that particular wire/oral and/or electronic communica tions

                                 · of the said Albert DeWayne Banks, Anthony Thompson, Otis Ponds, Johnny Ivory and others

                                 yet unknown (hereinafter ''Target lnterceptees"), concerning the above-described Target
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                                 Offenses will be obtained through the interception for which authorization has herewith been

                                 applied. In particular, there is pl'0bable cause to believe that the interception of wire/oral

                                 and/or electronic communications to and from the ce11ular telephone with the assigned

                                 telephone      number     785-717-9771,     bearing   MSID     000007853750181         and    ESN

                                 268435460914908669 with service provided by Virgin Mobile/Spr int PCS with subscriber

                                 listed as one Glenda Robertson, although it is clear that the principal user is and has been
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                                 identified as Albert DeWayne Banks, will further disclose, detail and reveal the specifics of

                                 the above offenses, including the depth of the conspiracy and the manner and means of how

                                and with whom these offenses are being committed, including the unknown sources from

                                which the distribution by Albert De Wayne Banks, Anthony Carlyle Thompson, Otis Ponds,

                                Johnny Ivory and others is made possible;

                          C.    it has been established that normal investigative procedures have been tried and have failed,

                                reasonably appear to be unlikely to succeed if tried, or are too dangerous to employ; and



                                                                                                                              D003026
                                                                                                                      EXHIBIT C 026
                                 Case 5:15-cv-03093-HLT Document 180-3 Filed 09/18/20 Page 27 of 35




                                                                                                                                      180
                          · D.       there is probable cause to believe that 785-717-9771 has been and will continue to be used
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                                     in connection with commission of the above-described offenses ..

                                     . WHEREFORE, IT IS HEREBY ORDERED that Special Agents of the Kansas Bureau of

                          Investigation, and other agencies acting under the supervision of the KBI, are authorized, pursuant
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                          to an application as authorized by K.S.A. 22-2515, made by Steven L. Opat, the duly elected and

                          authorized County Attorney for Geary County, State of Kansas, to intercept wire/oral and/or ·

                          electronic communications to and from the above-described telephone.

                                     PROVIDED that such interception(s) · shall not terminate automatically after the first

                          interception that reveals the manner in which the alleged co-conspirators and others as yet unknown
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                          conduct their illegal activities, but may continue until all communications are intercepted which

                          reveal fully the manner in which the above-named persons and others as yet unknown are

                          committing the offenses described herein, and which reveal fully the identities of their confederates,

                          their places of operation, and the nature of the conspiracy involved therein, or for a period of thirty

                          (30) days measured from the day on which investigative or law enforcement officers first begin to

                          conduct an interception under this order or ten (10) days after this order is entered, whichever is
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                          earlier.

                                     1TIS ORDERED FURTHER that in the event that the target telephone is transferred outside

                          the territorial jurisdiction of this court, interceptions may take place in any other jurisdiction within

                          the United States.

                                     IT 1S ORDERED FURTHER that the authorization given is intended to apply not only to

                          the target telephone number listed above, but also to any other telephone number or telephone

                          accessed through the above-referenced MSID number, and to any other MSID/IMSI number accessed



                                                                                                                         D003027
                                                                                                                    EXHIBIT C 027
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                                                                                                                                                                                                                                                                                                181
                           -~~=... ,. . ,·- ,_.... ,. . . . , ... ... ,.......•.··.··:··: ..... ··1 ···•• ............. •............ ,. .........., ............... ··.·.•.··..,•,:··,. ···• •..•....... •...•...... ··. · .. , ...•, ........ ,..   ·.. ·..... _.. ·····. ,. ·······-· .. .
                          ··       Case· 5:13-cr::40060-DDC Document 379.:25 Filed· 07/01/14 Page 4 of 6




                             through the target telephone number. referenced above, within the thirty (30) day period. The

                            authorization                    is also intended to apply to the target telephone number referenced above regardless
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                            of service provider, and to background conversations intercepted in the vicinity .of the target

                            telephone while the telephone                                          is off the hook or otherwise in use.
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                                              IT IS ORDERED FURTHER that, based upon the request of the Applicant pursuant to ·

                            K.S.A. 22-2514, and the definitions set forth therein, and k.S.A. 22-2515 and 2516, Virgin Mobile

                           USA/Sprint PCS , an electronic communication service provider as defined in Section 25 i 0( 15) of

                           Title 18, United States Code and K.S.A. 22-2514, shall furnish the KBI and/or it's agents or

                           designees with all information, facilities and technical assistance necessary to accomplish the

                          interceptions unobtrusively and with a minimum of inte1ference with the services that such provider
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                          is according the persons whose communications are to be intercepted, with the service provider to

                          be compensated by the KBI for reasonable expenses incurred in providing such facilities or

                          assistance.

                                            IT IS ORDERED FURTHER that, to avoid prejudice to the government's criminal

                          investigation, the provider of the electronic communications service and its agents and employees
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                          are Ordered Not To Disclose or Cause Disclosure of the Order or the request for information,

                          facilities and assistance by the KBI or the existence of the investigation to any person other than

                          those of its agents and employees who require this information to accomplish the services hereby

                          ordered. In particular, said provider and its agents and employees shall not make such disclosure                                                                                                                           to
                          a lessee, telephone subscriber or any interceptee or participant in the intercepted communications.

                                          IT IS ORDERED FURTHER that this Order shall be binding on any subsequent provider of

                          electronic communications services as defined in Title 18, United States Code, Section 2510(15) and

                          K.S.A. 22-2514 et seq, that provides services to the target telephone number(s) listed above upon


                                                                                                                                                                                                                                   D003028
                                                                                                                                                                                                                              EXHIBIT C 028
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                                                                                                                                         182
                           service of a certified copy of this Order without any further court order being required.

                                   1T IS ORDERED FURTHER that this order shall be executed as soon as practicable and that·
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                           all monitoring of wire/oral and/or electronic commuriications shall be conducted in such a way as·

                           to minimize the • interception ·and disclosure of the communications intercepted to those
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                           communications relevant to the peri.dtng investigation: The interception of wire/oral and/or electronic . ·

                           communicatioris musnermiriate upon the attainment of the authorized objectives, not to exceed

                           thirty (30) days measured from the earliei' of the day on which investigative or law enforcement

                           officers first begfo to conduct an interception of this order or ten (10) days after he order is entered ..

                                   Monitoring of conversations must terminate immediately when it is determined that the .

                          conversation is unrelated to communications subject to interception under Chapter 119, Title 18;
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                          United States Code and K.S.A. 22-2514 et seq .. Interception must be suspended immediately when

                          it is determined through voice identification, physical surveillance, or otherwise, that none of the

                          named Target Interceptees or any of their confederates, when identified, are paiticipants in the

                          conversation unless it is determined during the portion of the conversation already overheard that

                          the conversation is criminal in nature. If the conversation is minimized, the monitoring agent shall
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                          spot check to insure that the conversation has not turned to criminal matters.

                                  IT IS ORDERED FURTHER that, pursuant to Section 2518(5), Title 18, United States Code

                          and KS.A. 22-2514 et seq, in the event intercepted communications are in a code or foreign

                          language, and an expert in· that code or foreign language is not reasonably available dming the

                          interception period, minimization may be accomplished as soon as practicable after such

                          interception.




                                                                                                                             D003029
                                                                                                                      EXHIBIT C 029
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                                                                                                                                     183
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                                    IT IS ORD1;3RED FURTHER that Steven L. Opat, Geary County Attorney and /or Antonio ·

                          Cruz Assistant Geary County Attorney shall provide this Court .with a report on or about the tenth, ·

                          ,twentieth, and ·thirtieth days following the date of this Order showing what progress has been made.
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                          toward achievement of the authorized objectives and the need for continued interception. If any of

                          the above-ordered reports should become due on a weekend or holiday, IT IS ORDERED

                          FURTHER that such report shall become due on the next busjness day thereafter.

                                    IT IS ORDERED FURTHER that this Order, the application, affidavifand proposed order.

                          and all interim reports filed with this C.ourt with regard to this matter, shall be sealed until further
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                          order of this Court. except that copies of the order, in full or redacted form, may be served on the

                          KBI and the service provider as necessary to effectuate this order.

                                    DONE and ORDERED this          I 2- day of       1/-/Jr, "/ , 20-1.l_, at in Junction City,
                                                                                       l


                          Kansas.
Appellate Case: 23-3102




                                                                         HONORABLE DAYID R. PLATT
                                                                         DISTRICT JUDGE
                                                                         grn JUDICIAL DISTRICT, STATE OF KANSAS




                                                                                                                        D003030
                                                                                                                   EXHIBIT C 030
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                                                                                                                                   184
                                            IN THE DISTRICT COURT OF GEARY COUNTY, KANSAS
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                          IN THE MATIER OF THE APPLICATION                               )
                          OF THE STATE OF KANSAS                                         )       CASE NO.
                          FOR AN ORDER AUTHORIZING THE                                   )
Date Filed: 07/10/2023




                          JNTERCEPTION OF WIRE                                           )       UNDER SEAL
                          COMMUNICATIONS TO AND FROM                                     )
                          T-MOBILE USA:                                                  )
                          785-226-2893                                                   )
                          JNTERNA TIONAL MOBILE SECURITY IDENTITY                        )
                          # (IMSI) 310260566871100                                       )
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                                                 ORDER AUTHORIZING THE INTERCEPTION
                                                      OF WIRE COMMUNICATIONS

                          Application under oath having been made before me by Steven L. Opat, Geary County Attorney,

                          based on the sworn affidavit of Glen F. Virden, Senior Special Agent, Kansas Bureau of

                          fuvestigations, an investigative or law enforcement officer of the Staie of Kansas within the meaning

                          of Section 5 of K.S.A. 22-2514, et seq, fot an Order authorizing the interception of wire/oral and/or
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                          electronic communications pursuant to KS.A. 22-2514, et seq, and full consideration having been

                          given to the matter set forth therein, the Court finds:

                          A.      thereisprobablecausetobelievethatAlbertDeWayn eBan.ks,B/MDOB-Anthony

                                  Thompson DOB - O t i s Ponds, Johnny Ivory III and others named in the affidavit of

                                  the said Glen F. Virden, and others yet unknown (hereinafter "Target Subjects"), have

                                  committed, and are comi:fiittitig, afid\vill continue to commit offenses enumerated in Article

                                 57 of KS.A. 21-5701 et seq, specifically possession of controlled substances with intent to


                                                                                                                 EXHIBIT 17

                                                                                                                      D003077
                                                                                                                 EXHIBIT C 031
                               Case 5:15-cv-03093-HLT Document 180-3 Filed 09/18/20 Page 32 of 35




                                                                                                                                 185
                                distribute. and distribution of controlled substances, in violation of K.S.A. 21-5701 et seq,

                                specifically 21-5705 and 5706. unlawful use of a communication facility to commit and
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                                facilitate the commission of dmg trafficking offenses, in violation of K.S.A. 21-5707;

                                attempts, conspiracies or solicitations to possess with intent to distribute or to distribute

                                controlled substances, in violatioh of K.S.A. 21-5701 et seq, and K.S.A. 21-5301 and 21-
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                                5302 and 21-5304; unlawful acts involving proceeds derived from violations of K.S.A. 21-

                                5701-5717. (Hereinaftet the "Target Offenses");

                          B.    there is probable cause to believe that particular wire/oral and/or electronic communications

                                of the said Albert DeWayne Banks, Anthony Thompson, Otis Ponds, Johnny Ivory III and

                                others yet unknown (hereinafter ''Target lnterceptees"), concerning the above-described
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                                Target Offenses will be obtained through the interception for which authorization has

                                herewith been applied. In particular, there is probable cause to believe that the interception

                                of wire/oral and/or electronic communications to and from the cellular telephone with the

                                assigned telephone number 785-226-2893, bearing IMSI 310260566871100 with service

                                provided by T-Mobile USA with no name attached as the subscriber as it is an 1N PREPAID

                                CUSTOMER, although it is clear that the principal user is and has been identified as
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                                Anthony Carlyle Thompson. will further ·disclose, detail and reveal the specifics of the above

                                offenses, including the depth of the conspiracy and the manner and means of how and with

                                whom these offenses are being committed, including the unknown sources from which the

                                distribution by Albert DeWayne Banks, Anthony Carlyle Thompson, Otis Ponds, Johnny

                                Ivory and others is made possible~

                          C.    it has been established that nonnal investigative procedures have been tried and have failed,

                                reasonably appear to be unlikely to succeed if tried, or are too dangerous to employ; and



                                                                                                                    D003078
                                                                                                               EXHIBIT C 032
                                Case 5:15-cv-03093-HLT Document 180-3 Filed 09/18/20 Page 33 of 35




                                                                                                                                      186
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                           D.         there is probable cause to believe that 785-226-2893 has been and will continue to be used
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                                     in connection with commission of the above-described offenses.

                                     WHEREFORE, IT IS HEREBY ORDERED that Special Agents of the Kansas Bureau of

                           Investigation, and other agencies acting under the supervision of the KBI, are authorized, pursuant
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                           to an application as authorized by K.S.A. 22-2515, made by Steven L. Opat, the duly e]ected and

                           authorized County Attorney for Geary County, State of Kansas, to intercept wire/oral and/or

                           electronic communications to and from the above-described telephone.

                                     PROVIDED that such interception(s) sha11 not terminate automatically after the first

                          · interception that reveaJs the manner in which the alleged co-conspirators and others as yet unknown
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                           conduct their illegal activities, but may continue until all communications are intercepted which

                           reveal fully the manner in which the above-named persons and others as yet unknown are

                           committing the offenses described herein; and which reveal fully the identities of their confederates,

                           their places of operation, and the nature of the conspiracy involved therein, or for a period of thirty

                           (30) days measured from the day on which investigative or law enforcement officers first begin to

                          conduct an interception under this order or ten (10) days after this order is entered, whichever is
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                          earlier.

                                     IT JS ORDERED FURTHER that in the event that the target telephone is transferred outside

                          the territorial jurisdiction of this court, interceptions may take place in any other jurisdiction within

                          the United States .

                                . IT IS ORDERED FURTHER that the authorization given is intended to apply not only to

                          the target telephone number listed above, but also to any other telephone number or telephone

                          accessed through the above-referenced MSJD number, and to any other MSID/IMSI number accessed



                                                                                                                        D003079
                                                                                                                   EXHIBIT C 033
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                                                                                                                                           187
                          ---- --   ---- - case !J!l~-cr~4UU6U~ut.Jc· Document379~~u Hied o t/01/14 Page !J ot 6




                               service of a certified copy of this Order without any further court order being required.

                                       IT IS ORDERED FURTHER that this order shall be executed as soon as practicable and that
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                               all monitoring of wire/oral and/or electronic communications shall be conducted in such a way as

                               to minimize the interception and disclosure of the communications intercepted to those

                               communications relevant to the pending investigation. The interception of wire/oral and/or electronic
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                               communications must terminate upon the attainment of the authorized objectives, not to exceed

                               thirty (30) days measured from the earlier of the day on which investigative or law enforcement

                               officers first begin to conduct an interceptton of this order or ten (10) days after he order is entered.

                                       Monitoring of conversations must terminate immediately when it is determined that the

                               conversation is unrelated to communications subject to interception under Chapter 119, Title 18,
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                               United States Code and KS.A. 22-2514 et seq .. Interception must be suspended immediately when

                               it is determined through voice identification, physical surveillance, or otherwise, that none of the

                               named Target Interceptees or arty of their confederates, when identified, are participants in the

                               conversation unless it is determined during the portion of the conversation already overheard that

                               the conversation is criminal in nature. If the conversation is minimized, the monitoring agent shall

                               spot check to insure that the conversation has not turned to criminal matters.
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                                       IT IS ORDERED FURTHER that; pursuant to Section 2518(5), Title 18, United States Code

                               and K.S.A. 22-2514 et seq, in the event intercepted communications are in a code or foreign

                               language, and an expert in that code or foreign language is not reasonably available during the

                               interception period, minimization may be accomplished as soon as practicable after such

                               interception.




                                                                                                                                D003081
                                                                                                                         EXHIBIT C 034
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                                    IT IS ORDERED FURTHER that Steven L. Opat, Geary County Attorney and/or Antonio

                          Cruz Assistant Geary County Attorney shall provide this Court with a report on or about the tenth,

                          twentieth, and thirtieth days following the date of this Order showing what progress has been made
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                          toward achievement of the authorized objectives and the need for continued interception. If any of

                          the above-ordered reports should become due on a weekend or holiday, IT IS ORDERED

                          FURTHER that such report shali become due on the next business day thereafter.

                                    IT IS ORDERED FURTHER that this Order, the application, affidavit and proposed order,

                          and all interim reports filed with this Court with regard to this matter, shall be sealed until further
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                          order of this Court, except that copies of the order, in full or redacted form, may be served on the

                          KBI and the service provider as necessary to effectuate this order.

                                  DONE and ORDERED this _ _
                                                          /_~ day of                11/t! , /.?,   20       at in Junction City,

                          Kansas.
Appellate Case: 23-3102




                                                                         HONORABLE DAVID R. PLATT
                                                                         DISTRICT JUDGE
                                                                         g·rn JUDICIAL DISTRICT, STATE OF KANSAS




                                                                                                                      D003082
                                                                                                                 EXHIBIT C 035
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                                                                                                D
                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS
                                    WICHITA DIVISION


  ALBERT DEWAYNE BANKS,                               )
                                                      )
                               Plaintiff,             )
                                                      )
  vs.                                                 )     Case No. 15-3093-HLT-GEB
                                                      )
  STEVEN L. OPAT, et. al.,                            )
                                                      )
                            Defendants.               )
                                                      )
                                                      )
  ANTHONY THOMPSON,                                   )
                                                      )
                               Plaintiff,             )
                                                      )
  vs.                                                 )     Case No. 15-3117-HLT-GEB
                                                      )
  GLEN VIRDEN, et. al.,                               )
                                                      )
                            Defendants.               )
                                                      )

      PLAINTIFFS ANTHONY THOMPSON AND ALBERT DEWAYNE BANKS’S RULE
                           26(a)(1) DISCLOSURES

         COME NOW the Plaintiffs, Anthony Thompson and Albert Dewayne Banks, pursuant to

  Rule 26(a)(1) of the Federal Rules of Civil Procedure, and for their Rule 26(a)(1) disclosures,

  states as follows:

  A.     Rule 26(a)(1)(A)(i) Disclosures/Witnesses:

         1.      Anthony Thompson

          Mr. Thompson is the Plaintiff in case 15-3117 and has personal knowledge regarding all
  facts and related matters.




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         2.      Albert Banks

          Mr. Banks is the Plaintiff in case 15-3093 and has personal knowledge regarding all facts
  and related matters.

         3.      David L. Platt, current address unknown.

          Judge Platt was a former Geary County State District Court judge who presided over state
  law proceedings involving wiretaps and criminal accusations. He will have knowledge of the
  following subject matter: creation and authorization and scope of the wiretaps, state criminal
  charges, unconstitutionally excessive bond, and general procedural posture of the state
  investigation.

         4.      Steven L. Opat, current address unknown but can be reached through counsel.

          Mr. Opat is a defendant in the consolidated case. He is the former Geary County Attorney.
  He will have knowledge regarding the circumstances of Plaintiffs’ initial arrests, as well as the
  scope and authorization of the wiretap orders, state charges, discovery issues in the state case,
  interrogations done by other defendants, and federal and state wiretap law.

         5.      Chris Turner, current address unknown.

          Mr. Turner is a Special Agent for the Kansas Bureau of Investigation. He will have
  knowledge of interrogations performed in the initial state case and arrests, disclosure of
  extraterritorial communication interceptions, scope and authorization of various wiretap orders, as
  well as the location and organization of relevant documents (including communications between
  various law enforcement agencies, defendants, and corporations surrounding the illegal disclosure
  of intercepted communications).

         6.      Jordan Kurtz, current address unknown.

         Mr. Kurtz was an employee in the Law Enforcement Relations Division at T-Mobile during
  the relevant time periods, and he will have information related to T-Mobile’s policy and
  procedures, as well as knowledge about the contents of wiretap authorizations generally and in the
  underlying criminal case at issue in the present lawsuit.

         7.      Andrew M. Connors, current address unknown.

         Mr. Connors was an employee in the Court Order Analyst division of Verizon Wireless
  during the relevant time periods, and he will have information related to Verizon’s policy and
  procedures, as well as knowledge about the contents of wiretap authorizations generally and in the
  underlying criminal case at issue in the present lawsuit.

         8.      Stacey Beilman, current address unknown.




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          Ms. Bellman is a Senior United States Probation Officer for Kansas. She will have
  information and knowledge of the disclosure and use of illegally-obtained communications to her
  office as late as 2019, as well as how that information was used in the underlying criminal
  proceedings. She will also have knowledge of the location of documents and communications
  between law enforcement officials regarding the wiretaps and communication interceptions.

         9.      Anthony Mattivi, current address unknown.

         Mr. Mattivi is an Assistant United States Attorney for the District of Kansas and will have
  knowledge of the entire scope of the discovery process, communication interceptions, use and
  disclosures, as well as relevant documents and information from the underlying federal criminal
  case.

         10.     Angie Weeks, current address unknown.

          Ms. Weeks is an employee of the Junction City Police Department and will have
  knowledge about the authorization of various wiretap orders and the use of illegally-obtained
  communications and interceptions. She will have knowledge of Junction City Police Department
  policies and procedures, as well specific facts about the circumstances surrounding the state-
  turned-federal investigation into Mr. Thompson and Banks.

         11.     Eric Coffman, current address unknown.

          Mr. Coffman is an employee of the Geary County Sheriffs Office and will have knowledge
  about the authorization of various wiretap orders and the use of illegally-obtained communications
  and interceptions. He will have knowledge of Geary County Sheriff’s Office policies and
  procedures, as well specific facts about the circumstances surrounding the state-turned-federal
  investigation into Mr. Thompson and Banks.

         12.     Timothy Brown, current address unknown but can be contacted through counsel.

          Mr. Brown is the Chief of the Junction City Police Department and a defendant in both
  consolidated cases. He will have knowledge about the authorization of various wiretap orders and
  the use of illegally-obtained communications and interceptions. He will have knowledge of
  relevant policies and procedures, as well specific facts about the circumstances surrounding the
  state-turned-federal investigation into Mr. Thompson and Banks.

         13.     Glen Virden, current address unknown but can be contacted through counsel.

          Mr. Virden is a Senior Special Agent of the KBI and a defendant in both consolidated
  cases. He will have knowledge about the authorization of various wiretap orders and the use of
  illegally-obtained communications and interceptions. He will have knowledge of relevant policies
  and procedures, as well specific facts about the circumstances surrounding the state-turned-federal
  investigation into Mr. Thompson and Banks.

         14.     Tony Wolf, current address unknown but can be contacted through counsel.

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          Mr. Wolf is the Sherriff of Geary County and a defendant in both consolidated cases. He
  will have knowledge about the authorization of various wiretap orders and the use of illegally-
  obtained communications and interceptions. He will have knowledge of relevant policies and
  procedures, as well specific facts about the circumstances surrounding the state-turned-federal
  investigation into Mr. Thompson and Banks.

         15.     Joby Harrison, current address unknown.

          Mr. Harrison is a Senior Special Agent of the KBI. He will have knowledge about the
  authorization of various wiretap orders and the use of illegally-obtained communications and
  interceptions. He will have knowledge of relevant policies and procedures, as well specific facts
  about the circumstances surrounding the state-turned-federal investigation into Mr. Thompson and
  Banks.

         16.     Nathaniel Ehrnman, current address unknown.

          Mr. Ehrnman was an employee in the Subpoena Specialist Division at Sprint PCS during
  the relevant time periods, and he will have information related to Sprint’s policy and procedures,
  as well as knowledge about the contents of wiretap authorizations generally and in the underlying
  criminal case at issue in the present lawsuit.

         17.     Todd Goffrey, current address unknown.

         Mr. Goffrey is a former employee of the Junction City Police Department. He will have
  knowledge about the authorization of various wiretap orders and the use of illegally-obtained
  communications and interceptions. He will have knowledge of relevant policies and procedures,
  as well specific facts about the circumstances surrounding the state-turned-federal investigation
  into Mr. Thompson and Banks.

         18.     Brad Schoen, current address unknown.

          Mr. Schoen is an employee of Riley County. He will have knowledge about the
  authorization of various wiretap orders and the use of illegally-obtained communications and
  interceptions. He will have knowledge of relevant policies and procedures, as well specific facts
  about the circumstances surrounding the state-turned-federal investigation into Mr. Thompson and
  Banks.

          19.  Other unknown law enforcement personnel. Upon information and belief, other
  law enforcement employees may have relevant information. Their identities are currently
  unknown but are likely included in police reports and various documents of the KBI and federal
  authorities.

         20.     Individuals identified in any documents produced, or to have been produced, by
  any defendant.



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          21.     All witnesses identified by Defendants.

  B.      Rule 26(a)(1)(A)(ii) Disclosures/Documents:

           1.       No relevant or accessible documents are currently in the sole possession of
       plaintiffs, but generally the various court files from both the state and federal criminal cases
       will include relevant documents, such as: search warrants and applications, wiretap
       interception orders and warrants and applications, CSLI information provided by various
       telecommunications companies and to law enforcement, discovery information from the
       underlying criminal investigations, law enforcement reports and summaries of information
       related to wiretaps and criminal investigation, records of sworn statements or testimony by law
       enforcement or other prosecutorial witnesses in previous court proceedings, communications
       among law enforcement personnel regarding the legality of wiretaps as well as
       communications from the United States Attorney’s office regarding disclosures of information
       from state criminal investigations and wiretaps, as well as other investigatory information and
       records from the underlying criminal investigations. It is believed that most of these
       documents are in the possession of the United States Attorney’s Office or Defendants.

  C.      Rule 26(a)(1)(A)(iii) Disclosures/Computation of Damages:

          For Plaintiff Albert Dewayne Banks:

          Damage calculations are uncertain at this time, but Plaintiff Banks believes he is entitled
  to the following damage categories and quantities:

          1.      Federal Wiretap Damages Pursuant to 18 U.S.C. § 2520(b) and (c):
                  a.     The greater of the amount between Plaintiff’s estimated actual damages or
                         statutory damages of $100 per each day of violation, including violations
                         of use of the illegally obtained information. Plaintiff estimates his actual
                         damages to be between $1,000,000 and $2,000,000.
                  b.     Punitive damages in an amount in excess of $5,000,000.
                  c.     Attorney’s fees and costs unknown at this time.

          2.      State Wiretap Damages Pursuant to K.S.A. 22-2518(a)-(c):
                  a.     The greater of the amount between Plaintiff’s estimated actual damages or
                         statutory damages of $100 per each day of violation, including violations
                         of use of the illegally obtained information. Plaintiff estimates his actual
                         damages to be between $1,000,000 and $2,000,000.
                  b.     Punitive damages in an amount in excess of $5,000,000.
                  c.     Attorney’s fees and costs unknown at this time.

          3.      Plaintiff reserves the right to amend these estimates as additional information
                  becomes known and calculations are able to be more precisely made.

          4.      Documents supportive of these calculations are generally listed above.



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         For Plaintiff Anthony Thompson:

          Damage calculations are uncertain at this time, but Plaintiff Thompson believes he is
  entitled to the following damage categories and quantities:

         1.      Federal Wiretap Damages Pursuant to 18 U.S.C. § 2520(b) and (c):
                 a.     The greater of the amount between Plaintiff’s estimated actual damages or
                        statutory damages of $100 per each day of violation, including violations
                        of use of the illegally obtained information. Plaintiff estimates his actual
                        damages to be between $1,000,000 and $2,000,000.
                 b.     Punitive damages in an amount in excess of $5,000,000.
                 c.     Attorney’s fees and costs unknown at this time.

         2.      State Wiretap Damages Pursuant to K.S.A. 22-2518(a)-(c):
                 a.     The greater of the amount between Plaintiff’s estimated actual damages or
                        statutory damages of $100 per each day of violation, including violations
                        of use of the illegally obtained information. Plaintiff estimates his actual
                        damages to be between $1,000,000 and $2,000,000.
                 b.     Punitive damages in an amount in excess of $5,000,000.
                 c.     Attorney’s fees and costs unknown at this time.

         3.      Plaintiff reserves the right to amend these estimates as additional information
                 becomes known and calculations are able to be more precisely made.

         4.      Documents supportive of these calculations are generally listed above.

          Precise damage amounts are uncertain and unknown at this time. Thus, Plaintiffs reserve
  the right to amend these damage calculations as additional records and statements are received
  and as discovery continues.

  D.     Rule 26(a)(2)(A) Disclosures of Experts:

          Expert witnesses have not been determined at this point in time but such information will
  be disclosed pursuant to the Court’s Scheduling Order.

                                               Respectfully submitted,
                                               s/ Michael Shultz
                                               Michael Shultz, #23133
                                               Shultz Law Office, P.A.
                                               445 N. Waco
                                               Wichita, KS 67202
                                               Telephone: (316) 269-2284
                                               Fax: (316) 269-2011
                                               E-mail: michael@shultzlaw.net




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                                  CERTIFICATE OF SERVICE

          A true and accurate copy of the foregoing was sent via email this 23rd day of July, 2020, to
  the following:

  Eric Turner, Eturner@foulston.com
  Attorney for Defendants Opat and Wolf

  Art Chalmers, Art.Chalmers@ag.ks.gov
  Attorney for Defendant Virden

  Jay Heidrick & Libby Marden, JHeidrick@Polsinelli.com & LMarden@Polsinelli.com
  Attorneys for Defendants Sprint et al

  Mike Seck, mseck@fisherpatterson.com
  Attorney for Defendant Tim Brown

  Trent Tanner & Amanda Vogelsberg & Michael Hilgers & J. Phillip Gragson,
  ttanner@hilgersgraben.com & avogelsberg@hhmglaw.com & mhilgers@hilgersgraben.com &
  jpgragson@hhmglaw.com
  Attorneys for Defendant T-Mobile et al

          A true and accurate copy of the foregoing was sent via hardcopy and mail this 23rd day
  of July, 2020, to the following:

  Plaintiff Anthony Thompson

  Plaintiff Albert Dewayne Banks


                                                       s/Michael Shultz
                                                       Michael Shultz




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                                                                                                      E
                                   IN THE UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF KANSAS

  ALBERT DEWAYNE BANKS,                                     )
                                                            )
                     Plaintiff,                             )   Case No. 15-3093-HLT-GEB
                                                            )
  v.                                                        )
                                                            )
  STEVEN L. OPAT, et al.,                                   )
                                                            )
                     Defendants.                            )
                                                            )
  ----------------------------------------------------------)
                                                            )
  ANTHONY THOMPSON,                                         )
                                                            )
                     Plaintiff,                             )
                                                            )
  v.                                                        )   Case No. 15-3117-HLT-GEB
                                                            )
  DAVID L. PLATT, et al.,                                   )
                                                            )
                     Defendants.                            )

                                                   EXHIBIT INDEX

           In compliance with the District of Kansas Administrative Procedure IV(B)(4), Defendant

  Tony Wolf submits the following index of exhibits in support of his motion for summary judgment

  contemporaneously filed in this case:

           Exhibit            Description

                     A        Declaration of Glen Virden

                     B        Declaration of Tony Wolf

                     C        Wiretap Orders

                     D        Plaintiffs’ Rule 26(a)(1) Disclosures

                     E        Exhibit Index




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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS

   ALBERT DEWAYNE BANKS,                             )
                                                     )
                                   Plaintiff,        )
                                                     )
   v.                                                )      Case No. 15-3093-HLT-GEB
                                                     )
   STEVEN L. OPAT, et al.,                           )
                                                     )
                          Defendants.                )
   _____________________________________             )
                                                     )
   ANTHONY THOMPSON,                                 )
                                                     )
                                   Plaintiff,        )
                                                     )
   v.                                                )      Case No. 15-3117-HLT-GEB
                                                     )
   DAVID L. PLATT, et al.,                           )
                                                     )
                          Defendants.                )
   _____________________________________             )

     DEFENDANTS SPRINT/NEXTEL WIRELESS TELEPHONE COMPANY, VIRGIN
               MOBILE/SPRINT PCS, AND T-MOBILE USA INC.’S
                    MOTION FOR SUMMARY JUDGMENT

           Defendants Sprint/Nextel Wireless Company, Virgin Mobile/Sprint PCS, and T-Mobile

  USA, Inc. (collectively, the “Carrier Defendants”) move this Court for summary judgment

  pursuant to Fed. R. Civ P. 56.

           The Carrier Defendants are entitled to judgment in their favor as a matter of law because

  the undisputed material facts establish that the March 5, 2013 Wiretap Orders authorized the

  disclosure of Plaintiff’s text messages to law enforcement. The Carrier Defendants are therefore

  entitled to immunity under 18 U.S.C. § 2511.




  74815360.1

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           And even if the immunity provisions of 18 U.S.C. § 2511 do not apply, the undisputed

  material facts demonstrate as a matter of law that the Carrier Defendants acted in good faith and

  are therefore immune to liability under 18 U.S.C. 2520(d) and its state counterpart.

           Accordingly, the Carrier Defendants request that the Court enter judgment in their favor.

  A Memorandum in Support of this motion is being filed contemporaneously herewith and is

  incorporated by reference.

           WHEREFORE, the above stated reasons, the Carrier Defendants request the Court enter

  judgment in their favor, dismiss the Plaintiffs’ claims against them with prejudice, and grant the

  Carrier Defendants all other relief they are justly entitled.




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  74815360.1

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  Dated: September 18, 2020                Respectfully submitted,

                                           /s/ Jay E. Heidrick
                                           JAY E. HEIDRICK (KS #20770)
                                           ELIZABETH M. MARDEN (KS #27817)
                                           POLSINELLI PC
                                           900 W. 48th Place, Suite 900
                                           Kansas City, MO 64112
                                           Telephone: (816) 753-1000
                                           Facsimile: (816) 753-1536
                                           jheidrick@polsinelli.com
                                           lmarden@polsinelli.com

                                           ATTORNEYS FOR SPRINT DEFENDANTS

                                           /s/ Amanda S. Vogelsberg
                                           J. Phillip Gragson, #16103
                                           Amanda S. Vogelsberg, #23360
                                           Henson, Hutton, Mudrick & Gragson, LLP
                                           3649 SW Burlingame Rd., Ste. 200
                                           Topeka, KS 66611-2155
                                           Telephone: (785) 232-2200
                                           Facsimile: (785) 232-3344
                                           jpgragson@hhmglaw.com
                                           avogelsberg@hhmglaw.com

                                           /s/ Trenton D. Tanner
                                           Michael T. Hilgers #24483
                                           Trenton D. Tanner #26660
                                           HILGERS GRABEN PLLC
                                           575 Fallbrook Blvd., Suite 202
                                           Lincoln, NE 68521
                                           Telephone: (402) 218-2103
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                                    CERTIFICATE OF SERVICE
           I hereby certify that on September 18, 2020, I electronically filed the foregoing with the

  Clerk of the Court using the CM/ECF system, which will send a notice of electronic filing to all

  those individuals currently electronically registered with the Court.



                                                         /s/ Jay E. Heidrick
                                                         Attorney for Sprint Defendants




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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS

   ALBERT DEWAYNE BANKS,                        )
                                                )
                               Plaintiff,       )
                                                )
   v.                                           )      Case No. 15-3093-HLT-GEB
                                                )
   STEVEN L. OPAT, et al.,                      )
                                                )
                          Defendants.           )
   _____________________________________        )
                                                )
   ANTHONY THOMPSON,                            )
                                                )
                               Plaintiff,       )
                                                )
   v.                                           )      Case No. 15-3117-HLT-GEB
                                                )
   DAVID L. PLATT, et al.,                      )
                                                )
                          Defendants.           )
   _____________________________________        )


    DEFENDANTS SPRINT/NEXTEL WIRELESS TELEPHONE COMPANY, VIRGIN
   MOBILE/SPRINT PCS, AND T-MOBILE USA INC.’S MEMORANDUM IN SUPPORT
               OF THEIR MOTION FOR SUMMARY JUDGMENT




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           Defendants Sprint/Nextel Wireless Company, Virgin Mobile/Sprint PCS, and T-Mobile

  USA, Inc. (collectively, the “Carrier Defendants”) seek summary judgment pursuant to Fed. R.

  Civ. P. 56. The Carrier Defendants’ motion centers on the following two issues, either of which is

  dispositive and entitles the Carrier Defendants to summary judgment:

       1. Did the scope of Judge Platt’s wiretap orders authorize the interception of text
          messages?

       2. Did the Carrier Defendants act in good faith in executing the wiretap orders?

           The undisputed facts establish that the answer to both of these questions is “yes.”

  Accordingly, the immunity provisions of 18 U.S.C. §§ 2511 and 2520 preclude any claim against

  the Carrier Defendants, and summary judgment should be granted in their favor.

  I.       INTRODUCTION

           A jury convicted Plaintiffs Albert Banks and Anthony Thompson (collectively,

  “Plaintiffs”) of multiple counts of distributing and conspiring to distribute crack cocaine in 2015.

  As part of the investigation into the criminal conspiracy, law enforcement sought and obtained

  numerous wiretap orders from Judge Platt (Ret.) in the District Court of Geary County, Kansas.

  The first of these orders – which were issued on March 5, 2013 (the “March 5 Wiretap Orders”) –

  authorized the interception and disclosure of “wire communications” for cellular telephone phone

  numbers used by Plaintiffs and their alleged co-conspirators.

           When served with the March 5 Wiretap Orders, the Carrier Defendants provisioned the

  wiretap to intercept both voice and text messages. In the criminal proceedings, the Plaintiffs here

  moved to suppress the text messages by arguing that they were not “wire communications” as

  authorized by the March 5 Wiretap Orders.

           During the criminal prosecution, United States District Court Judge Crabtree held that even

  though the March 5 Wiretap Orders discussed only “wire communications,” “[b]oth Judge Platt


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  and the KBI understood the orders to authorize interception of text messages as well as oral

  communications.” United States v. Banks, No. 5:13-cr-40060-DDC, 2014 WL 4261344 at *5 (D.

  Kan. Aug. 29, 2014). Judge Crabtree based this determination on, among other things,

  communications between law enforcement and Judge Platt regarding the wiretap orders at the time,

  as well as “clarification orders” later issued by Judge Platt for related wiretap orders explicitly

  authorizing interception of electronic communications. Id. In line with this determination, Judge

  Crabtree denied Plaintiffs’ motion to suppress intercepted text messages in the criminal trial.

           On April 28, 2015, Plaintiffs filed the current lawsuit in the United States District Court

  for the District of Kansas. Among other things, Plaintiffs allege that the Carrier Defendants

  violated federal and state law when they complied with law enforcement’s requests based on the

  March 5 Wiretap Orders. The March 5 Wiretap Orders – which did not define “wire

  communications” – required the Carrier Defendants to provide law enforcement “with all

  information, facilities and technical assistance necessary to accomplish the interceptions.” In order

  to comply with the requests, the Carrier Defendants activated technology that allowed law

  enforcement to directly monitor communications to and from the cellular phones in real time. The

  Carrier Defendants do not monitor, store or retain the subscriber data and information delivered to

  the government via lawful intercept.

           In 2018, all of the defendants filed motions to dismiss under FRCP 12(b)(6). In particular,

  the Carrier Defendants asked that the matter be dismissed under the immunity provisions of the

  Electronic Communications Privacy Act (“ECPA”), 18 U.S.C. §§ 2511 (providing immunity for

  carriers complying with court orders) and 2520 (providing immunity for good faith reliance on a

  court order), and the Kansas counterpart, to the extent applicable. The district court granted the

  various motions to dismiss and Plaintiffs appealed.



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           The Tenth Circuit affirmed in part and reversed in part. As to the Carrier Defendants, the

  Court held that because Judge Crabtree did not address the Carrier Defendants’ actions in its good

  faith analysis in the criminal proceedings, the Carrier Defendants could not rely on the doctrine of

  collateral estoppel to establish the good faith immunity defense of 18 U.S.C. § 2520. The Court

  further noted that Plaintiffs had alleged in their respective complaints that the March 5 Wiretap

  Orders did not authorize the disclosure of text messages. Taking their allegations as true, the Tenth

  Circuit held that this allegation was sufficient to survive a motion to dismiss. Thompson v. Platt,

  815 Fed.Appx. 227, 236 (10th Cir. 2020); Banks v. Opat, 814 F. App’x 325, 334 (10th Cir. 2020).

  II.      STATEMENT OF UNDISPUTED MATERIAL FACTS

           a.       Law Enforcement’s Efforts to Obtain Wire and Electronic Communications

           1.       On March 5, 2013, an “Application for an Order Authorizing the Interception of

  Wire Communications” from Steven L. Opat was filed with Judge Platt (The “Opat Application”).

  See Ex. A.1

           2.       Steven L. Opat was the “duly elected Geary County Attorney, Kansas.” Id. at 1.

           3.       The Opat Application states:

           “COMES NOW Steven L. Opat, the duly elected Geary County Attorney, Kansas
           and as authorized by K.S.A. 22-2515(a) and upon his oath, does hereby make
           application for an order authorizing the interception of wire, oral or electronic
           communication(s) by the Kansas Bureau of Investigation and its designees, said
           interception(s) providing evidence of those offenses designated in K.S.A. 22-
           2515(a)(11) and (20), and offenses committed ancillary to and in furtherance of
           such designated offenses.”

  Id.

           4.       The Opat Application further states:



  1
    All quotations to the Opat Application contained herein are from the application for the
  interception of Mr. Banks’ communications, but it is identical to the application for the
  interception of Mr. Thompson’s communications in all material respects. See Ex. I.

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           “All as set forth in the attached affidavit of Glen F. Virden, Senior Special Agent
           for the Kansas Bureau of Investigation, said affidavit being attached to this
           application and incorporated herein verbatim, having been reviewed in its totality
           by Steven L. Opat with the said Glen F. Virden for the purpose of obtaining the
           order authorizing such electronic interception(s).”

  Id.

           5.       On March 5, 2013, a sworn “Affidavit in Support of Application” from Glen F.

  Virden was filed with Judge Platt (the “Virden Affidavit”). See Ex. B.2

           6.       Glen F. Virden was a “Senior Special Agent, Kansas Bureau of Investigation.” Id.

  at 1.

           7.       The Virden Affidavit was “submitted in support of an application for an order

  authorizing the interception of the wire communications of” Plaintiffs. Id., ¶ 2.

           8.       The Virden Affidavit states: “The Affiant requests authority to intercept the “wire

  communications” of individuals communicating on telephone number (785) 375-6704.” Id.

           9.       The Virden Affidavit does not define “wire communications.” See generally id.

           10.      The Virden Affidavit also states: “Affiant has set forth only the facts that Affiant

  believes are necessary to establish the necessary foundation for an order authorizing the

  interception of wire communications.” Id. ¶ 7.

           11.      The Virden Affidavit contains 18 references to “text messages” and provides

  content from multiple text messages between alleged co-conspirators. Id., ¶¶ 7, 39, 64, 65, 70, 72,

  103, 105, 278.

           b.       Wiretap Orders


  2
    All quotations to the Virden Affidavit contained herein are from the affidavit submitted in
  support of the application for the interception of Mr. Banks’ communications, but it is identical
  to the affidavit submitted in support of the application for the interception of Mr. Thompson’s
  communications in all material respects. See Ex. J.



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            12.     On March 5, 2013, Judge Platt issued “Order[s] Authorizing the Interception of

  Wire Communications” for phone numbers used by Plaintiffs (the “March 5 Wiretap Orders”). See

  Ex. C.3

            13.     Judge Platt issued the March 5 Wiretap Orders “based on the sworn affidavit of

  Glen F. Virden, Senior Special Agent, Kansas bureau of investigation . . . .” Id. at 1.

            14.     The March 5 Wiretap Orders state:

            “PROVIDED THAT such interception(s) shall not terminate automatically after the
            first interception that reveals the manner in which the alleged co-conspirators and
            others as yet unknown conduct their illegal activities, but may continue until all
            communications are intercepted which reveal fully the manner in which the above-
            named persons and others as yet unknown are committing the offenses described
            herein, and which reveal fully the identities of their confederates, their places of
            operation, and the nature of the conspiracy involved therein, or for a period of thirty
            (30) days measured from the day on which investigative or law enforcement
            officers first begin to conduct an interception under this order or ten (10) days after
            this order is entered, whichever is earlier.”

  Id. at 3.

            15.     The March 5 Wiretap Orders also state:

            “IT IS ORDERED FURTHER that the authorization given is intended to apply not
            only to the target telephone number listed above, but also to any other telephone
            number or telephone accessed through the above-referenced MSID number, and to
            any other MSID number accessed through the target telephone number referenced
            above, within the thirty (30) day period. The authorization is also intended to apply
            to the target telephone number referenced above regardless of service provider, and
            to background conversations intercepted in the vicinity of the target telephone while
            the telephone is off the hook or otherwise in use.”

  Id. at 3-4.




  3
    All quotations to the March 5 Wiretap Orders contained herein are from the order for the
  interception of Mr. Banks’ communications, but it is identical to the order for the interception of
  Mr. Thompson’s communications in all material respects. See Ex. K.


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           16.     The March 5 Wiretap Orders also state:

           “IT IS ORDERED FURTHER that, based upon the request of the Applicant
           pursuant to K.S.A. 22-2514, and the definitions set forth therein, and K.S.A. 22-
           2515 and 2516, Sprint/Nextel, an electronic communication service provider as
           defined in Section 2510(15) of Title 18, United States Code and K.S.A. 22-2514,
           shall furnish the KBI and/or its agents or designees with all information, facilities
           and technical assistance necessary to accomplish the interceptions unobtrusively
           and with a minimum of interference with the services that such provider is
           according the persons whose communications are to be intercepted, with the service
           provider to be compensated by the KBI for reasonable expenses incurred in
           providing such facilities or assistance.”

  Id. at 4.

           17.     The March 5 Wiretap Orders also state:

           “IT IS ORDERED FURTHER that, to avoid prejudice to the government’s criminal
           investigation, the provider of the electronic communications service and its agents
           and employees are Ordered Not To Disclose or Cause Disclosure of the Order or
           the request for information, facilities and assistance by the KBI or the existence of
           the investigation to any person other than those of its agents and employees who
           require this information to accomplish the services hereby ordered. In particular,
           said provider and its agents and employees shall not make such disclosure to a
           lessee, telephone subscriber or any interceptee or participant in the intercepted
           communications.”

  Id.

           18.     The March 5 Wiretap Orders also state:

           “IT IS ORDERED FURTHER that this Order shall be binding on any subsequent
           provider of electronic communications services as defined in Title 18, United States
           Code, Section 2510(15) and K.S.A. 22-2514 et seq, that provides services to the
           target telephone number(s) listed above upon service of a certified copy of this
           Order without any further court order being required.”

  Id.

           19.     The March 5 Wiretap Orders also state: “IT IS ORDERED FURTHER that in the

  event the target telephone is transferred outside the territorial jurisdiction of this court,

  interceptions may take place in any other jurisdiction within the United States.” Id.




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           20.   The first sentence of the March 5 Wiretap Orders refers to the application of Steven

  L. Opat, Geary County Attorney, and the sworn affidavit of Glen F. Virden, Senior Special Agent,

  Kansas Bureau of Investigations. See id. at 1.

           c.    Service Providers’ Response to the Wiretap Orders and Related Orders

           21.   The Law Enforcement Relations Team at T-Mobile (“LER Team”) is responsible

  for responding to law enforcement requests for customer information. See Ex. D, Kurtz Decl., ¶ 3.

           22.   In 2013, T-Mobile received approximately 317,000 requests for customer

  information. The requests took such forms as subpoenas, court orders, warrants, wiretap orders,

  and national security requests. Approximately 97% of these requests came from federal, state or

  local law enforcement. Of these requests, 2,308 were wiretap orders. Id., ¶ 13.

           23.   Virtually every wiretap order received by T-Mobile from law enforcement requests

  interception of both voice and text data. Id., ¶ 15.

           24.   In 2013 alone, Sprint received thousands of requests for customer information. A

  Sprint employee responsible for handling these requests might handle up to 10 or more requests

  per day. The requests took such forms as subpoenas, court orders, warrants, wiretap orders, and

  national security requests. Ex. E., Wilden Decl., ¶ 9.

           25.   Virtually every wiretap order received by Sprint from law enforcement requests

  interception of both voice and text data. Id., ¶ 10.

           26.   On March 7, 2013, James T. Botts, from the Kansas Bureau of Investigations

  (“KBI”), transmitted a facsimile to T-Mobile’s LER Team that contained one of the March 5

  Wiretap Orders. The facsimile included a coversheet that instructed T-Mobile to conduct an

  intercept for the mobile number 785-226-1783, which belonged to Plaintiff Thompson. See Ex. D,

  ¶ 4; Ex. D1.



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            27.    In large, clear handwriting, in a section of the page with no other text around it, the

  coversheet from KBI to T-Mobile contained the following directive:




  See id.

            28.    “SMS” is an abbreviation for “short message service,” the technology most

  commonly used for text messaging. Ex. D, ¶ 4.

            29.    On or about March 7, 2013 at 11:22am law enforcement sent Sprint a CALEA

  coversheet instructing Sprint to provision the wiretap for the target telephone contained in the

  wiretap order. This document was maintained by Sprint in the ordinary course of business. See,

  Ex. E, ¶ 5.

            30.    The CALEA coversheet from law enforcement instructed Sprint to “upgrade to

  T3.” Id., ¶ 6.

            31.    An account note entered by an account technician at 11:57am on March 7, 2013

  states that Agent Tim Botts “called to check the Wire upgrade. I fixed the line items for an

  upgrade.” Id., ¶ 7.

            32.    The note history for this wiretap further indicates that several changes were made

  to the wiretap at approximately 11:57Am after Agent Botts’ call. One such change was the

  provision of text messages. This is shown on page SPRINT-BANKS-00000080 of attached Exhibit

  E2. This document was maintained by Sprint in the ordinary course of business. Id., ¶ 8.

            33.    The Carrier Defendants did not monitor, store, or retain any communications

  intercepted pursuant to the March 5 Wiretap Orders. See id., ¶ 4, Ex. D, ¶ 7.


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           d.      Judge Platt Was Aware Law Enforcement Was Using The March 5 Wiretap
                   Orders to Intercept Electronic Communications

           34.     Law enforcement subsequently submitted affidavits in support of additional

  wiretap applications that contained evidence of text messages intercepted pursuant to the March 5

  Wiretap Orders. United States v. Banks, 2014 WL 4261344 at *1.

           35.     For example, the affidavit in support of a wiretap order regarding another co-

  conspirator (“Ponds Order # 1”) submitted to the Court on April 2, 2013 contained references to

  text messages intercepted pursuant to the March 5 Wiretap Orders. See e.g., Ex. F, at ¶¶ 23, 42.

           36.     There is no evidence that Judge Platt objected or acted surprised when the later

  affidavits revealed that agents had intercepted text messages. United States v. Banks, 2014 WL

  4261344 at *4.

           e.      Clarification Orders

           37.     On April 5, 2013 and April 23, 2013, Judge Platt issued two “Order[s] Authorizing

  the Interception of ‘Wire, Oral, or Electronic Communications’” (the “Clarification Orders”) for

  phone numbers believed to be owned by two of the Plaintiffs’ co-conspirators. See Exs. G and H.

           38.     In the April 5, 2013 Clarification Order for Ponds Order #1 (phone number 316-

  347-0088), Judge Platt stated:

           “. . . based on Senior Special Agent Glen Virden’s affidavit, it is apparent that the
           phone is being used not only for oral communication but also ‘text’ communication
           which Verizon considers as ‘electronic.’ Based on the affidavit of Glen Virden and
           the application of Steven L. Opat, Geary County Attorney, the Court specifically
           ORDERS that the Order of April 2, 2013, is hereby clarified to express that the
           interception of wire communications previously authorized includes all forms of
           communication set forth in K.S.A. 22-2514, to-wit: oral, wire, or electronic
           communications to and from said telephone including the interception of ‘SMS
           data’ or ‘text’ messaging. All other Orders previously entered herein remain in
           force and effect as set forth in the Order of April 2, 2013.”

  See Ex. G at 1 (emphasis added).



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           39.    Similarly, the April 25, 2013 Clarification Order was for a later issued wiretap order

  for Anthony Thompson (“Thompson Order #2) for phone number 929-268-6183, and stated:

           “Based on the application of Steven L. Opat, Geary County Attorney, the Court
           specifically ORDERS that the Order of April 2, 2013, is hereby clarified to express
           that the interception of wire communications previously authorized includes all
           forms of communication set forth in K.S.A. 22-2514, to-wit: oral, wire, or
           electronic communications to and from said telephone including the interception
           of ‘SMS data’ or ‘text’ messaging. All other Orders previously entered herein
           remain in force and effect as set forth in the Order of April 2, 2013.”

  See Ex. H at 1 (emphasis added).

           f.     The August 29, 2014 Judge Crabtree Order in the Criminal Matter

           40.    On August 29, 2014, in the course of Plaintiffs’ federal criminal litigation, the

  District Court Judge Daniel D. Crabtree issued an order regarding Plaintiffs’ motion to suppress

  their text communications. See generally United States v. Banks, 2014 WL 4261344 (D. Kan. Aug.

  29, 2014).

           41.    In its August 29, 2014 Order, the Court stated:

           The Clarification Orders only applied to Ponds Order #1 and Thompson Order #2.
           Special Agent Virden testified that Judge Platt clarified those two orders only
           because those two carriers were the only carriers who refused to intercept texts
           without clarification from Judge Platt and not because they were the only orders
           for which Judge Platt meant to authorize interception of text messages. Although
           the Clarification Order only extended to two of the wiretap orders, the Court views
           the Clarification Orders as evidence of a broader understanding between Judge Platt
           and the KBI that the orders were supposed to authorize electronic communications.

           The Court finds that the issuing judge and executing officers both understood the
           intended scope of the wiretap authorization, and that the authorization included
           interception of text messages. The Court also finds that the officers’ reliance on this
           understanding was ‘objectively reasonable.’” See Massachusetts v. Sheppard, 468
           U.S. 981, 989–90 (1984) (“[W]e refuse to rule that an officer is required to
           disbelieve a judge who has just advised him, by word and by action, that the warrant
           he possesses authorizes him to conduct the search he has requested.”). As a result,
           the KBI's interception of text messages falls within the good-faith exception to the
           Fourth Amendment’s exclusionary rule, and the Court refuses to suppress them on
           the basis that the orders authorized interception of wire communications only.

  Id. (emphasis added).

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            42.   The Court’s holding related only to the conduct of law enforcement officers and

  did not address the Carrier Defendants, who were not a party to the proceeding. See generally id.

            43.   Plaintiffs were party-defendants to the motion-to-suppress litigation, participated

  in the suppression proceedings, and specifically litigated the scope of the March 5 Wiretap Orders.

  See id.

            g.    The Tenth Circuit Decisions

            44.   On May 12, 2020, the Tenth Circuit issued decisions pertaining to this matter. See

  generally Banks v. Opat, 814 F. App’x 325 (10th Cir. 2020); Thompson v. Platt, 815 F. App’x 227

  (10th Cir. 2020).

            45.   In both cases, the Tenth Circuit reversed this Court’s dismissal of Plaintiffs’ “text

  messages claim” against the Carrier Defendants under Fed. R. Civ. P. 12(b)(6) “because the

  collateral estoppel applicable to the law enforcement defendants does not extend to [the Carrier

  Defendants].” Banks, 814 F. App’x at 330-31; Thompson, 815 F. App’x at 233.4

            46.   The Tenth Circuit also stated: “Judge Platt’s orders permitted the law enforcement

  defendants to intercept Mr. Banks’s communications without a territorial limit.” Id.




  4
   The Court affirmed dismissal of Plaintiffs’ § 1983 claims against the Carrier Defendants.
  Banks, 814 F. App’x at 336-37; Thompson, 815 F. App’x at 239.


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  III.     ARGUMENT

           a.     Legal Standard

           “Summary judgment is not a disfavored procedural shortcut, but an important procedure

  for the just, speedy and inexpensive determination of every action.” Vinyl-Tech Corp. v.

  Continental Cas. Co., Nov. CIV. A. 99–1053–CM, 2000 WL 1744939, at *1 (D. Kan. Nov. 15,

  2000). Unlike a motion to dismiss, which only addresses whether a claim is properly stated,

  summary judgment is proper if the movant shows “there is no genuine issue as to any material fact

  and that the moving party is entitled to a judgment as a matter of law.” Fed. R. Civ. P. 56(c); see

  also Fed. R. Civ. P. 12(b)(6). “In applying this standard, the court views the evidence and all

  reasonable inferences therefrom in the light most favorable to the nonmoving party.” Vinyl-Tech

  Corp, 2000 WL 1744939, at *1.

           The movant bears the initial burden of making a prima facie demonstration of the absence

  of a genuine issue of material fact and entitlement to judgment as a matter of law. Id. If the movant

  carries this initial burden, the burden shifts to the nonmovant “to go beyond the pleadings and set

  forth specific facts, identified by reference to affidavits, deposition transcripts, or specific exhibits

  incorporated therein,” from which a rational trier of fact could find for the nonmovant. Whitesel v.

  Sengenberger, 222 F.3d 861, 867 (10th Cir. 2000) (internal citations omitted).

           b.     The Carrier Defendants are Immune from Liability Under 18 U.S.C. § 2511

           Summary judgment should be granted in favor of the Carrier Defendants because the

  Carrier Defendants – as “providers of wire or electronic communications services” complying with

  a facially valid court order – are provided immunity under Section 2511 of the ECPA.5 Section


  5
    While the Kansas wiretap act has a “good faith” immunity defense as outlined below, it does not
  contain a similar immunity provision as 18 U.S.C. § 2511(a)(2)(ii). But Kansas courts have
  repeatedly recognized that the federal wiretap act preempts any similar state statute. State v. Bruce,


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  2511(2)(a)(ii) provides in relevant part: “No cause of action shall lie in any court against any

  provider of wire or electronic communication service . . . for providing information, facilities, or

  assistance in accordance with the terms of a court order.”

           This broad immunity assures service providers like the Carrier Defendants that cooperating

  with law enforcement will not subject them to the burdens of litigation. When parties are entitled

  to immunity from suit, “there is a strong public interest in protecting [them] from the costs

  associated with the defense of damages actions” – an interest best served by dismissing

  questionable lawsuits expeditiously. Crawford-El v. Britton, 523 U.S. 574, 596, 118 S. Ct. 1584

  (1998). “To hold otherwise would place service providers . . . and their employees in the precarious

  situation of risking potential liability for following what appear to be valid court orders.” Marshall

  v. Willner, No. 3:06CV-665-M, 2007 WL 2725971, at *4 (W.D. Ky. Sept. 14, 2007).

           Because 18 U.S.C. § 2511 grants immunity for actions taken in compliance with a court

  order, the application of 18 U.S.C. § 2511 comes down to one question: did Judge Platt authorize

  the interception of text messages in the March 5 Wiretap Orders? If he did, then the immunity

  provisions of 18 U.S.C. § 2511 apply and bar Plaintiffs’ claims against the Carrier Defendants.

           As shown below, the undisputed material facts establish that Judge Platt authorized the

  interception and disclosure of text messages without jurisdictional limits. Because the Carrier

  Defendants acted in accordance with the authorizations of Judge Platt’s wiretap orders, they are

  entitled to immunity under 18 U.S.C. § 2511.



  295 Kan. 1036, 1043-44, 287 P.3d 919, 924 (2012); State v. Willis, 7 Kan. App. 2d 413, 413, 643
  P.2d 1112, 1114 (1982) (“State statutes that are more permissive than federal law are preempted.”).
  The federal wiretap act states, “No cause of action shall lie in any court . . . .” 18 U.S.C.
  § 2511(2)(a)(ii) (emphasis added). Accordingly, because Carrier Defendants are entitled to
  immunity under § 2511, such a ruling would dispose of any state law claim as well under the
  doctrine of federal preemption. To hold otherwise would allow a cause of action more permissive
  than allowed under the federal act. See Willis, 7 Kan. App. 2d at 413.

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                  i.      Judge Crabtree previously determined that the wiretap orders
                          authorized the interception of text messages

           Just as Plaintiffs allege here, Plaintiffs and their alleged co-conspirators moved to suppress

  the text messages in their criminal litigation, arguing that the wiretap orders only allowed for the

  interception of “wire communications,” which does not include text messages under the applicable

  wiretap statutes.

           In addressing the issue, Judge Crabtree acknowledged that the face of the wiretap orders

  was limited to the “wire communications.” But, in analyzing whether or not the officers acted in

  good faith, he nonetheless held that Judge Platt authorized the interception of text messages.

  Specifically, in his August 29, 2014 Order, Judge Crabtree held:

           The Court finds that the issuing judge and executing officers both understood the
           intended scope of the wiretap authorization, and that the authorization included
           interception of text messages.”

  United States v. Banks, 2014 WL 4261344, at *5 (D. Kan. Aug. 29, 2014); SOF 41. And because

  “the [March 5 Wiretap Orders’] authorization included interception of text messages,” id., the

  Carrier Defendants acted in accordance with the scope of March 5 Wiretap Orders when they

  intercepted text messages. Accordingly, the immunity provisions of 18 U.S.C. § 2511 apply, and

  Plaintiffs’ claims are barred.

                  ii.     Issue preclusion prevents Plaintiffs from re-litigating the scope of the
                          March 5 Wiretap Orders.

           Because Judge Crabtree already determined that the scope of Judge Platt’s wiretap

  authorizations “included interception of text messages,” id., the doctrine of issue preclusion

  precludes Plaintiffs from re-litigating that issue here.

           Issue preclusion attaches “when an issue of fact or law is actually litigated and determined

  by a valid and final judgment, and the determination is essential to the judgment.” Banks v. Opat,



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  814 F. App’x 325, 332 (10th Cir. May 12, 2020). Issue preclusion has four elements, all of which

  are met here:

            (1) the issue previously decided is identical with the one presented in the action in
            question, (2) the prior action has been finally adjudicated on the merits, (3) the party
            against whom the doctrine is invoked was a party, or in privity with a party, to the
            prior adjudication, and (4) the party against whom the doctrine is raised had a full
            and fair opportunity to litigate the issue in the prior action.

  Id. (quoting Park Lake Res. Ltd. Liab. Co. v. U.S. Dep’t of Agric., 378 F.3d 1132, 1136 (10th Cir.

  2004)).

            Judge Crabtree’s August 29, 2014 Order in Plaintiffs’ criminal litigation easily meets these

  criteria for issue preclusion. First, the issue decided in the Court’s August 29, 2014 Order is

  identical with the one presented in this action: whether the March 5 Wiretap Orders authorized the

  interception of text messages. Judge Crabtree ruled that “the authorization included the

  interception of text messages.” SOF 41. In so concluding, he used the word “finds” to indicate that

  this was part of the Court’s holding rather than dicta. SOF 41. Second, the Court finally adjudicated

  the issue when it “refuse[d] to suppress [text messages] on the basis that the orders authorized

  interception of wire communications only.” SOF 41; see also Banks, 2014 WL 4261344, at

  *5. Third, Plaintiffs were party-defendants to the motion-to-suppress litigation that led to Judge

  Crabtree’s order regarding the scope of the March 5 Wiretap Orders. SOF 43. Lastly, Plaintiffs

  had a full and fair opportunity to litigate the scope of the March 5 Wiretap Orders. SOF 43. They

  were ably represented by counsel who participated in the suppression proceedings, which included

  testimony from Agent Virden, and actually litigated the scope of the March 5 Wiretap Orders

  before the Court. SOF 43.




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           Judge Crabtree held that the March 5 Wiretap Orders authorized the interception of text

  messages. Plaintiffs are therefore precluded from re-litigating that issue, and the immunity

  provisions of 18 U.S.C. § 2511 apply to the Carrier Defendants.6

                  iii.    The undisputed facts show that Judge Platt and law enforcement
                          officers intended to intercept text messages

                          1.     The March 5 Wiretap Orders authorize the Carrier Defendants
                                 to intercept all types of communications

           Although the March 5 Wiretap Orders did not explicitly refer to the interception of text

  messages – instead occasionally using the label “wire communications” – its mandate is clearly

  broader than the interception of phone calls. The “authorization given” under the order broadly

  refers to “interceptions” of the target telephone numbers generally, regardless of form or label.

  SOF 14. March 5, 2013 Order. The March 5 Wiretap Orders state:

           “. . . such interception(s) shall not terminate automatically after the first
           interception that reveals the manner in which the alleged co-conspirators and others
           as yet unknown conduct their illegal activities, but may continue until all
           communications are intercepted which reveal fully the manner in which the
           above-named persons and others as yet unknown are committing the offenses
           described herein, and which reveal fully the identities of their confederates, their
           places of operation, and the nature of the conspiracy involved therein . . .”

  SOF 14 (emphasis added). This authorization is clear: the March 5 Wiretap Orders permit

  interceptions of all communications that reveal the manner of the offenses described in the order.



  6
    The Tenth Circuit previously addressed the applicability of issue preclusion in this matter but
  not in the context raised by the Carrier Defendants here. The Tenth Circuit’s decision was
  limited to Sprint’s argument that Sprint was entitled to immunity under the “good faith reliance”
  provisions of 18 U.S.C. § 2520(d) because Judge Crabtree previously found the law enforcement
  officers acted in good faith. Thompson v. Platt, No. 19-3072, 2020 WL 2394007, at *2 (10th Cir.
  May 12, 2020); Banks v. Opat, 814 F. App'x 325, 327 (10th Cir. 2020). Here, the Carrier
  Defendants are arguing that the actual scope of the March 5 Wiretap Orders has already been
  determined – an issue not addressed by the Tenth Circuit or previously argued by the Carrier
  Defendants. Additionally, the previous dismissals were based on a motion to dismiss under Fed.
  R. Civ. P. 12(b)(6), whereas this motion seeks summary judgment under Fed. R. Civ. P. 56.


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           The March 5 Wiretap Orders also clarify that their authorization refers to the target

  telephone numbers generally, not any specific type of communication from these target telephone

  numbers. They state that their authorization was “intended to apply. . . to the target telephone

  number listed above” as well as “any other telephone number or telephone accessed through the

  above-referenced MSID number, and to any other MSID number accessed through the target

  telephone number referenced above.” SOF 15 (emphasis added). They further state that the

  authorization was “intended to apply to the target telephone number referenced above regardless

  of service provider . . . .” SOF 15. These statements indicate that, regardless of the label that Judge

  Platt used in the March 5 Wiretap Orders to authorize interceptions, they authorize interception of

  the target telephone number—not just its phone calls.

           In fact, the sections of the orders addressed specifically to the Carrier Defendants are not

  limited to wire communications at all. Rather, the Orders state that “T-Mobile” and “Sprint”

           “shall furnish the KBI and/or its agents or designees with all information, facilities
           and technical assistance necessary to accomplish the interceptions unobtrusively
           and with a minimum of interference with the services that such provider is
           according the persons whose communications are to be intercepted, with the service
           provider to be compensated by the KBI for reasonable expenses incurred in
           providing such facilities or assistance.”

  SOF 16 (emphasis added). The March 5 Wiretap Orders never limit this mandate towards the

  Carrier Defendants, nor do they indicate that text messages are excluded from the “information,

  facilities, and technical assistance” that the Carrier Defendants must provide KBI to “accomplish

  the interceptions.” See SOF 16 Thus, the Wiretap Orders’ mandate – particularly for the Carrier

  Defendants – broadly calls for assistance in intercepting communications from the target telephone

  numbers, regardless of form.

           Even though entitled “Orders Authorizing the Interception of Wire Communications,” the

  orders specifically referred to electronic communications multiple times: “Sprint/Nextel, an


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  electronic communication service provider as defined in Section 2510(15) of Title 18, United

  States Code and K.S.A. 22-2514,” “the provider of the electronic communications service…[is]

  Ordered Not To Disclose,” “any subsequent provider of electronic communications services…that

  provides services to the target telephone number(s) listed above.” SOF 16, 17, 18 (emphasis

  added). The references to providers and services as “electronic,” not wire, make it clear that the

  authorizing judge understood that electronic communications would be intercepted.

           This interpretation is also consistent with the documents upon which the March 5 Wiretap

  Orders are based. The Opat Application requested the authorization of the interception of “wire,

  oral or electronic communications.” SOF 3. In the second paragraph, the Opat Application

  referenced the incorporation of the attached affidavit “for the purpose of obtaining the order

  authorizing such electronic interception(s).” SOF 4.

           The first sentence of the Wiretap Orders also indicates that the order is based on the Opat

  Application and its accompanying Virden Affidavit. SOF 20. Like the March 5 Wiretap Orders,

  the Virden Affidavit also refers to the type of communications sought as “wire communications,”

  but it plainly requests all forms of interception, including text messages. See SOF 7; Ex. A, March

  5, 2013 Virden Affidavit, ¶ 2. The Affidavit – which “set[s] forth only the facts that Affiant believes

  are necessary to establish the necessary foundation for an order authorizing the interception,” –

  contains 18 references to “text messages.” SOF 10, 11. These 18 references to text messages

  throughout the Virden Affidavit make crystal clear that, although law enforcement labeled the type

  of communications sought as “wire communications,” this included text messages. The March 5

  Wiretap Orders, in turn, invoke this Affidavit, supporting Judge Crabtree’s finding that Judge

  Platt’s “authorization included interception of text messages.” SOF 41.




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           Any alleged ambiguity about the scope of the March 5 Wiretap Orders is further dispelled

  by the “clarifications” of the issuing judge on April 5, 2013 and April 23, 2013. See United States

  v. Rodriguez, 2018 WL 988054, at *4 (D. Mass. Feb. 20, 2018) (“It is for the court, and not the

  service provider, to decide whether interception is warranted.”). As Judge Crabtree noted, although

  Judge Platt clarified only two of the four relevant orders authorizing interception of “wire

  communications” for the four alleged co-conspirators, this was because those two orders were the

  only ones where carriers had refused to produce text messages, not because those two were the

  only ones that allowed text messages. SOF 41. These “Clarification Orders” were evidence of a

  “broader understanding” that the “orders were supposed to authorize interception of electronic

  communications.” SOF 41. Judge Platt indicated in the Clarification Orders that “based on Senior

  Special Agent Glen Virden’s affidavit, it is apparent that the phone is being used . . . for . . . ‘text

  communication.’” SOF 38. On that basis, Judge Platt clarified that the “wire communications

  previously authorized includes all forms of communication set forth in K.S.A. 22-2514, to-wit:

  oral, wire, or electronic communications to and from said telephone including the interception of

  ‘SMS data’ or ‘text’ messaging.” SOF 38. In clarifying this point, Judge Platt noted that while his

  prior orders did not distinguish between wire and electronic communications, nor did they carve

  out text messages from his authorization; instead, he clarified that text messages were included in

  the category of “wire communications” that he previously authorized. SOF 38.

           Just as Judge Crabtree found, this shows Judge Platt’s intention that “wire

  communications” authorized by Judge Platt in the criminal investigation – including the March 5

  Wiretap Orders – was not limited to the statutory definition of “wire communications”; but was

  instead a broader authorization to include interception of text messages.




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           For these reasons, the March 5 Wiretap Orders authorize the interception of all

  communications, regardless of form. The Carrier Defendants complied with the March 5 Wiretap

  Orders and are therefore entitled to immunity under 18 U.S.C. § 2511(2)(a)(ii).

                  iv.    The March 5 Wiretap Orders Authorize                        Interception     of
                         Communications Without a Jurisdictional Limit

           Plaintiffs do not appear to state a claim against the Carrier Defendants for intercepting

  communications outside of the issuing judge’s territorial jurisdiction. See Banks Doc. 74, Am.

  Compl., ¶ 12 (listing allegations against the Carrier Defendants, Plaintiffs do not address the

  jurisdiction or territorial limits of the intercepted communications). But if the Court finds that such

  a claim is stated, the Carrier Defendants’ actions complied with the terms of a facially valid court

  order pursuant to 18 U.S.C. § 2511.

           The Wiretap Orders expressly permitted the interception of communications without a

  territorial limit. The Wiretap Orders stated that “in the event the target telephone is transferred

  outside the territorial jurisdiction of this court, interceptions may take place in any other

  jurisdiction within the United States.” SOF 19; see also Banks, 814 F. App’x at 333 (“Judge Platt’s

  orders permitted the law enforcement defendants to intercept Mr. Banks’s communications

  without a territorial limit.”). Although the court later excluded communications intercepted outside

  of Judge Platt’s judicial district, the Carrier Defendants’ interception of communications – which

  occurred immediately following the issuance of the Wiretap Orders – complied with the Wiretap

  Orders’ express terms. For that reason, the Carrier Defendants are immune from liability for

  complying with the express terms of the court order.




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           c.     The Carrier Defendants Acted in Good Faith in Executing the March 5
                  Wiretap Orders and are Immune from Liability Under 18 U.S.C. § 2520(d)
                  and K.S.A. § 22-2518(2)

           Even if the Court finds that the Carrier Defendants are not entitled as a matter of law to

  immunity under 18 U.S.C. § 2511 on the present summary judgment record, at the very least the

  undisputed material facts show that they are entitled to immunity for “good faith reliance” on the

  March 5 Wiretap Orders under 18 U.S.C. § 2520(d). Both the federal and state statutes provide

  “a complete defense” for “good faith reliance” on “a court warrant or order.” 18 U.S.C. §

  2520(d); Kan. Stat. Ann. § 22-2518(2). The “good faith” defense applies under the ECPA if a

  defendant acted in an objectively reasonable manner in responding to a court order. Under this

  standard, a defendant’s subjective belief is irrelevant. See Thompson, 815 F. App’x at 233 (citing

  Davis v. Gracey, 111 F.3d 1472, 1484 (10th Cir. 1997) (stating that the good-faith defense to an

  18 U.S.C. § 2707 civil claim under Title II of the ECPA for unauthorized access to stored

  electronic communications requires, like the Fourth Amendment, objectively reasonable reliance

  on a warrant); Banks, 814 F. App’x at 331 (same). In analyzing this statutory good faith defense,

  the First Circuit has recognized that:

           Congress anticipated that service providers might, in good faith, misapprehend their
           lawful ability to intercept or disclose communications in certain circumstances.
           Congress addressed that problem with a broad, affirmative good faith defense.

  U.S. v. Councilman, 418 F.3d 67, 83 (1st Cir. 2005).

           The Ninth Circuit has recognized that “Congress established this defense in part ‘to protect

  telephone companies or other persons who cooperate under court order with law enforcement

  officials.’” Jacobson v. Rose, 592 F.2d 515, 522 (9th Cir. 1978). Therefore, even if the March 5

  Wiretap Orders did not authorize the disclosure of text messages (which would be contrary to what

  Judge Crabtree and Judge Platt have previously found), the immunity provisions of 18 U.S.C. §

  2520(d) still apply to the Carrier Defendants if they acted in good faith.

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           As noted by the Tenth Circuit in this matter: “Good faith under the wiretap statutes derives

  from the good faith exception for the Fourth Amendment’s exclusionary rule.” Banks, 814 F.

  App’x at 332. And the good faith exception under the Fourth Amendment’s exclusionary rule

  “applies when an officer has a good faith, but incorrect or mistaken, belief about a fact.” Banks,

  2014 WL 4261344, at *3 (citing United States v. Salinas-Cano, 959 F.2d 861, 865 (10th Cir.

  1992)). Like the law enforcement officers Judge Crabtree found to have acted in good faith, the

  Carrier Defendants also acted in an “objectively reasonable” manner in carrying out the wiretap

  orders and are therefore immune from civil liability.

                  i.      The Carrier Defendants Acted in Good Faith by Intercepting Text
                          Messages.

           Even if the wiretap orders were considered ambiguous without context (which is not

  conceded), the record is nevertheless clear that the Carrier Defendants acted in an objectively

  reasonable manner by intercepting text messages in response to the March 5 Wiretap Orders.

           In 2013, the Carrier Defendants received hundreds of thousands of requests from various

  law enforcement agencies for customer information. SOF 22, 24. The Carrier Defendants respond

  to these requests promptly and to the best of their abilities in order to assist law enforcement

  agencies in their investigations. Virtually all wiretap orders received by the Carrier Defendants

  request both text and voice monitoring. SOF 23. The interceptions the Carrier Defendants

  provisioned in this case were no exception.

           Any interception of Plaintiffs’ text messages by Carrier Defendants that may have occurred

  was done in response to requests from law enforcement officers who also believed the March 5

  Wiretap Orders authorized interception of both wire and text communications. See SOF 41.

  Furthermore, these very same law enforcement officers – whom Judge Crabtree already found, as

  a matter of law, were objectively reasonable in their belief that the orders encompassed text


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  messages – gave explicit and conspicuous instructions in conveying one of the March 5 Wiretap

  Orders to “TURN ON SMS.” SOF 27. Additionally, law enforcement officials instructed Sprint to

  “upgrade” its wiretap. SOF 30. A KBI agent then contacted Sprint to check on the “upgrade” and

  thereafter the wiretap was provisioned to collect text messages. SOF 31.7

           In addition, even though the March 5 Wiretap Orders refer only to “wire communications”

  – a phrase left undefined in the orders themselves – language throughout the orders makes clear

  that their intended scope was sweeping. See SOF 14, 15 (explaining that the order was “intended

  to apply to the target telephone number” and authorized “interception(s)” of “all communications”

  on that target telephone number that “reveal fully the manner in which the above-named persons

  and others as yet unknown are committing the offenses described herein”).

           Even if the Court disagrees with Point III.b., supra (it should not), the orders’ broad

  mandate at the very least appears to include text messages and contain no statements to the

  contrary. Additionally, the sections of the orders specifically relating to the Carrier Defendants are

  not limited to wire communications at all; they broadly order the Carrier Defendants to provide

  “all information, facilities and technical assistance necessary to accomplish the interceptions.”

  SOF 16. The Wiretap Orders were also based on the Virden Affidavit—a document that references

  “text messages” 18 times and was submitted to the court “for the purpose of securing authorization

  for the interception” sought. SOF 7, 11, 13. The issuing judge himself clarified that “wire

  communications” utilized in virtually identical wiretap orders, from the same criminal

  investigation, based on a virtually identical affidavit from the same law enforcement officer, was

  to include text messages, not just phone calls. SOF 38, 39. And finally, Judge Crabtree has found


  7
    Since the probable cause standard applies to both intercepted phone calls as well as text
  messages, it is beyond dispute that law enforcement here met the probable cause standard when
  it requested Plaintiffs’ text messages.


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  that the wiretap orders issued in the investigation intended to authorize – and actually did authorize

  – the interception of text messages. The fact the Carrier Defendants acted in manner consistent

  with the thousands of wiretap orders they receive each year and with multiple courts’ later

  clarifications and interpretations as to the scope of the March 5 Orders, demonstrably proves

  objective reasonableness by the Carrier Defendants.

           Much as law enforcement is permitted to rely on communications from judges to establish

  a good faith defense, see Massachusetts v. Sheppard, 468 U.S. 981, 989–90 (1984) (“We refuse to

  rule that an officer is required to disbelieve a judge who has just advised him, by word and by

  action, that the warrant he possesses authorizes him to conduct the search he has requested”), the

  Carrier Defendants also acted in good faith by relying on instructions from law enforcement

  regarding the scope of the March 5 Wiretap Orders. For example in United States v. Peterson, the

  Ninth Circuit held that United States law enforcement acting in concert with Philippines law

  enforcement could rely in good faith on the Filipino authorities’ (erroneous) representations that

  wiretaps were conducted in compliance with Filipino law. See 812 F.2d 486, 492 (9th Cir. 1987).

  The Ninth Circuit explained, “American law enforcement officers were not in an advantageous

  position to judge whether the search was lawful, as would have been the case in a domestic setting.

  Holding them to a strict liability standard for failings of their foreign associates would be even

  more incongruous than holding law enforcement officials to a strict liability standard as to the

  adequacy of domestic warrants.” Id. Like the law enforcement officers in Peterson, here the Carrier

  Defendants were not in the same position to evaluate the adequacy of the March 5 Wiretap Orders

  as the law enforcement officials who had actually procured them. This reasoning is especially

  applicable where, as here, the Carrier Defendants were charged with facilitating hundreds of




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  thousands of these requests each year and that virtually all of the wiretap requests include both

  voice and text. SOF 22, 24.

           The Carrier Defendants’ good faith actions are further demonstrated in other undisputed

  facts. For example, both Sprint and T-Mobile independently understood the March 5 Wiretap

  Orders to seek the interception of text messages and produced text messages in response to the

  orders. See Thompson, 815 F. App’x at 238. The fact that both carriers independently interpreted

  the orders to include text messages further establishes that their interpretation was objectively

  reasonable.8 Additionally, the court in the criminal matter found that the law enforcement

  defendants acted in good faith executing these same March 5 Wiretap Orders, and that their actions

  were objectively reasonable. SOF 41. In light of that finding, there is simply no basis for

  concluding that the Carrier Defendants acted in anything but objective good faith. Like the law

  enforcement officials, the Carrier Defendants simply acted in accordance with what they perceived

  the scope of the Wiretap Orders to be based on their extensive past experience and concurrent

  communications with the law enforcement officials. And those actions have since proven to have

  been in compliance with the March 5 Wiretap Orders, given that the orders authorized the

  disclosure of text messages. No evidence has been presented in any proceeding over the past seven

  years to show that the Carrier Defendants acted in bad faith by producing text messages in response

  to March 5 Wiretap Orders, nor could such evidence ever be presented.9


           8
         Although T-Mobile recently acquired Sprint, the two entities were separate unaffiliated
  companies in March 2013, when Wiretap Orders issued.
           9
           The Carrier Defendants acknowledge that the good faith exception is an affirmative
  defense for which they bear the burden of proof. Carrier Defendants do not attempt to shift this
  burden of proof to the Plaintiffs, but rather argue that the undisputed evidence satisfies this
  burden because it establishes good faith intention by the Carrier Defendants as a matter of law.
  These undisputed facts demonstrating good faith are unrefuted by the Plaintiffs and there is no
  evidence to show that the Carrier Defendants acted in anything but good faith.


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           In light of these undisputed facts, Dahl v. Charles F. Dahl, M.D., P.C. Defined Ben.

  Pension Trust, 744 F.3d 623 (10th Cir. 2014) is instructive. In Dahl, the Tenth Circuit ruled that a

  father’s belief that monitoring of conversations between mother and child was authorized by a

  prior court order was objectively reasonable. Id. at 632. The court made this ruling in spite of the

  court’s intervening order, which terminated supervised visitation and provided that “the children

  should be able to call either parent . . . .” Id. Even though the monitoring was not actually

  authorized by the intervening order, the court ruled that it would have been reasonable to conclude

  that monitoring was still authorized by the prior order, could still be useful to assess the loosening

  of the mother’s restrictions and that it was still approved. Id. On that basis, the court ruled that the

  father could invoke the good faith defense to mother’s federal wiretapping claim. Id.

           The same analysis applies here. Judge Crabtree has already held that the scope of Judge

  Platt’s order intended to authorize the interception of text messages. SOF 41. According to this

  finding and the other undisputed facts cited herein, the Carrier Defendants acted in good faith in

  producing text messages in response to the March 5 Orders. Like Dr. Dahl, the Carrier Defendants

  acted in accordance with what they believed the scope of the order to be — a belief later affirmed

  by the clarification orders as well as Judge Crabtree’s findings, even if that belief may not have

  been expressly born out in the language of wiretap orders.

           In summary, the undisputed materials facts show that:

              The Carrier Defendants receive hundreds of thousands of requests from law enforcement

               for subscriber information each year;

              Virtually every wiretap order received by the Carrier Defendants requests both text and

               voice monitoring;




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              The March 5 Wiretap Orders did not define “wire communications” and contained broad

               instructions to the Carrier Defendants to provide “all information, facilities and technical

               assistance necessary to accomplish the interceptions”;

              The KBI explicitly instructed at least one defendant to “TURN ON SMS” in a fax cover

               sheet conveying the intercept request;

              Sprint and T-Mobile each independently concluded that the March 5 Wiretap Orders

               authorized the collection of text messages;

              The Judge who issued the March 5 Wiretap Orders and the law enforcement who sought

               them believed the orders authorized the interception of text messages; and

              The district court in the criminal matter found that the March 5 Wiretap Orders authorized

               the interception of text messages. The Carrier Defendants’ actions in light of these

               undisputed facts prove their good faith as a matter of law.

           And there are no facts that show the Carrier Defendants acted in anything but good faith.

  The undisputed facts show that the Carrier Defendants simply acted in accordance with the belief

  that the March 5 Wiretap Orders were no different than the thousands of wiretap orders they

  receive each year and authorized the interception of text messages – a belief held not only by them,

  but also by the Judge who issued the orders, law enforcement who executed them, and a later judge

  who reviewed and ruled upon the scope of the orders.10 Accordingly, the Carrier Defendants are

  entitled to immunity under the good faith exception of 18 U.S.C. 2520(d).


           10
            The purpose of the good faith immunity provision is to protect carriers when they
  misinterpret their authority. U.S. v. Councilman, 418 F.3d 67, 83 (1st Cir. 2005). As stated
  above, even if the Carrier Defendants were wrong, and the orders did not authorize the
  interception of text messages, that does not preclude the application of the defense. The
  undisputed facts still show the Carrier Defendants acted in good faith even if they misinterpreted
  the bounds of their authorization.


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                  ii.     The Carrier Defendants Acted in Good Faith by Intercepting
                          Communications Without a Territorial Limit

           As noted above, Plaintiffs do not state a claim against Carrier Defendants for intercepting

  communications outside of the issuing judge’s territorial jurisdiction. See Am. Compl., ¶ 12. But

  if the Court finds that such a claim is stated, Carrier Defendants’ interception of those

  communications was in good faith because it complied with the terms of the March 5 Wiretap

  Orders, which expressly permitted the interception of communications without a territorial limit.

  SOF 19 (“[I]n the event the target telephone is transferred outside the territorial jurisdiction of this

  court, interceptions may take place in any other jurisdiction within the United States.”); see also

  Banks, 814 F. App’x at 333 (“Judge Platt’s orders permitted the law enforcement defendants to

  intercept Mr. Banks’s communications without a territorial limit.”). Carrier Defendants’

  interception of communications – which occurred immediately following the issuance of the

  Wiretap Orders – complied with the March 5 Wiretap Orders’ express terms and were therefore

  undertaken in good faith.

  IV.      CONCLUSION

           Because the undisputed evidence demonstrates that the Carrier Defendants intercepted

  Plaintiffs’ communications in good faith and in accordance with the express terms of a court order,

  the Carrier Defendants’ motion for summary judgment should be granted.




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  Dated: September 18, 2020               Respectfully submitted,

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                                    CERTIFICATE OF SERVICE
           I hereby certify that on September 18, 2020, I electronically filed the foregoing with the

  Clerk of the Court using the CM/ECF system, which will send a notice of electronic filing to all

  those individuals currently electronically registered with the Court.



                                                         /s/ Jay E. Heidrick
                                                         Attorney for Sprint Defendants




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                               EXHIBIT A




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                   IN THE DISTRICT COURT OF GEARY COUNTY, KANSA




          APPLICATION FOR AN ORDER AUTHORIZING THE INTERCEPTION
                         OF WIRE COMMUNICATIONS



          COMES NOW Steven L. Opat, the duly elected Geary County Attorney, Kansas and as

   authorized by K.S.A. 22-2515(a) and upon his oath, does hereby make application for an order

   authorizing the interception of wire, oral or electronic communication(s) by the Kansas Bureau of

  Investigation and its designees, said interception(s) providing evidence of those offenses designated

  in K.S.A. 22-2515(a)(l 1) and (20), and offenses committed ancillary to and in furtherance of such

   designated offenses.

          All as set forth in the attached affidavit of Glen F. Virden, Senior Special Agent for the

  Kansas Bureau of Investigation, said affidavit being attached to this application and incorporated

  herein verbatim, having been reviewed ifi its totality by Steven L. Opat with the said Glen F. Virden

  for the purpose of obtaining the order authorizing such electronic interception(s).

                                                Respectfully submitted,




                                               flb./£1/&U
                                                Geary County Attorney


  Subscribed and sworn to before me by Steve L. Opat on this       5...- day of /f-(a/cflt. , 2013.

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                               EXHIBIT B




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                                                       STATE OF KANSAS
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                          IN THE MATTER OF THE APPLICATION   }
                                                             }
                          FOR AN ORDER AUTHORIZING THE       }                       No. - - - - - - - -
                                                             }
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                          INTERCEPTION OF WIRE COMMUNICATIONS}


                                            AFFIDAVIT IN SUPPORT OF APPLICATION


                                 I, Glen F. Virden, Senior Special Agent, Kansas Bureau of Investigation, being of
                          lawful age and duly sworn upon my oath depose and state:
                                 1.     I am an "Investigative" law enforcement officer duly deputized with
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                          statutory authority for the State of Kansas, and as further recognized and defined by
                          K.S.A. 22-2514(5).
                                 2.     This affidavit is submitted in support of an application for an order
                          authorizing the interception of the wire communications of Albert Dewayne Banks,
                          B/M Date of Birth -              and others listed below, over telephone number (785)
                          375-6704, a personal cellular telephone currently in service with Sprint Nextel with
                          Mobile Station Identification Number (MSID) 00007856601961 and Electronic Serial
                          Number (ESN) 268435459909788757. Sprint Nextel records indicate the phone to be an
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                          Individual Boost Prepaid Account with no subscriber name attached to the account. The
                          Affiant knows this phone to be used by Albert Banks as indicated within this document.
                          The Affiant requests authority to intercept the wire communications of individuals
                          communicating on telephone number (785) 375-6704.
                                 3.     Affiant believes the following individuals will be intercepted over
                          telephone number (785) 375-6704; Albert Dewayne Banks, Anthony Carlyle
                          Thompson, Patricia Foy, Kari Stutheit, Charles Foster and others yet unknown.
                                 4.     Affiant requests authority to intercept the conversations and the
                          background conversations intercepted in the vicinities of the aforementioned telephone


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                          while the telephone is off the hook or otherwise in use. Affiant requests this authority in
                          order to obtain evidence concerning the above persons' involvement in the following
                          offenses: Possession of Cocaine in violation of Kansas Statutes Annotated (K.S.A.) 21-
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                          5706(a); Distribution of Cocaine in violation of K.S.A. 21-5705(a)(l); Conspiracy to
                          commit these offenses in violation of K.S.A. 21-5302; and the Use of a Communications
                          Facility to facilitate the commission of the above offenses in violation of K.S.A. 21-
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                          5707(a)(l). All offenses are in violation of Kansas Law, which have been and are being
                          committed by the persons identified herein and others yet unknown.
                                 5.      The Affiant has been a law enforcement officer since 2001 with the
                          Kansas Bureau of Investigation (KBI). The Affiant is currently a Senior Special Agent
                          with the Topeka Region of the Special Operations Division for the KBI. The Affiant is a
                          graduate of Cowley County Community College with an associate of applied science
                          degree in Criminal Justice and Southwestern College with a bachelor's degree in
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                          Criminal Justice.    The Affiant, while so employed in law enforcement, has received
                          training in narcotics investigations to include, but not limited to: Kansas Law
                          Enforcement Training Center's Basic Training Academy, the Kansas Bureau of
                          Investigation's Advanced Investigations Academy, the Kansas Bureau of Investigation's
                          Clandestine Lab Certification School, Kansas Top Gun Narcotics training, and the U.S.
                          Drug Enforcement Administration's Basic Narcotics Investigators School. Affiant has
                          investigated numerous narcotics cases. These investigations have included, but are not
                          limited to undercover purchases of narcotics, controlled purchases of narcotics using
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                          cooperating individuals and search warrants. The Affiant has arrested numerous
                          individuals for violations of both state and federal violations of controlled substances
                          statutes. As a result, Affiant has interrogated many defendants, informants and others
                          who were either sellers, distributors, purchasers, manufacturers or users of controlled
                          substances. The Affiant is familiar with how controlled substances are obtained, diluted,
                          packaged, distributed, sold, used, and manufactured. Affiant is also familiar with the
                          records, books, and documents needed to carry on such illicit activity.
                                         (a)     Based on the above experience, Affiant believes there is probable
                          cause to believe the subjects of this investigation, both known and unknown, have
                          committed, are committing and will continue to commit offenses involving possession,

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                          distribution and conspiracy to distribute cocaine. Such violations involve the use of
                          communication facilities in order to facilitate the commission of the above offenses, each
                          being in violation of Kansas Uniformed Controlled Substances Act.
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                                         (b)     That particular wire communications of the subjects of this
                          investigation concerning the above offenses will be obtained through the interception of
                          such communications to and from telephone number (785) 375-6704. In particular, there
                          is probable cause to believe that the communications to be intercepted will concern dates,
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                          times, and places for commission of the aforementioned offenses when the above named
                          interceptee communicates with the listed interceptees and other unknown suppliers, co-
                          conspirators, aiders and abettors. There is further probable cause to believe that the
                          communications to be intercepted will disclose the location of assets owned or controlled
                          by the persons involved, and the manner, extent and identity of persons who direct and/or
                          participate in the illegal activities set forth herein. These communications are expected to
                          constitute admissible evidence of the above~described offenses.
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                                         (c)     That telephone number (785) 375-6704, has been, is being, and
                          will continue to be used in connection with the commission of the above offenses.
                          The interception of these communications is expected to concern verbal and messaging
                          discussions of the continuing conduct, financing, managing, supervising, directing, or
                          ownership of all or part of an illegal narcotics enterprise, including orders and
                          instructions to subordinates, the receipt of information pertaining to the obtaining and
                          distribution of controlled substances, and other conversations relating to the
                          administration, control, and management of the aforementioned illegal drug activity.
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                                 6.      Normal investigative procedures have been tried and have failed to
                          achieve the goals of this investigation, or reasonably appear unlikely to succeed if tried,
                          or are too dangerous to employ, as more fully explained below.




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                                 INVESTIGATIVE INVOLVEMENT OF STATE AND LOCAL LAW
                                                              ENFORCEMENT
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                                 7.      This investigation is a result of a joint effortlby the Affiant, other Agents
                          of the Kansas Bureau of Investigation (KBI), Officers of the Junction City Police
                          Department (JCPD), Officers of the Geary County Sheriffs Office (GESO) and Officers
                          of the Riley County Police Depaitment (RCPD). The investigation covers a period of
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                          time from June 2012 to the present. The statements contained in this affidavit are based
                          in part on information provided by Agents/Officers of the above-listed law enforcement
                          agencies.   Because this affidavit is being submitted for the purpose of securing
                          authorization for the interception of wire communications, Affiant has not included each
                          and every fact lmown to the Affiant concerning this investigation. Affiant has set forth
                          only the facts that Affiant believes are necessary to establish the necessary foundation for
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                          an order authorizing the interception of wire communications. If a court order is granted
                          authorizing the interception of wire communications in this case, only those persons and
                          agencies authorized by law to make such interceptions will be allowed to do so.
                                 8.      In April, 2012, Detective Nate Boeckman of the RCPD contacted
                          Detective Alvin Babcock of the JCPD Drng Operation Group (DOG) with information
                          that Anthony Thompson (AKA "Ant") and Albert Banks (AKA "AB") were
                          distributing cocaine within the Junction City, Geary County, KS area and the Manhattan,
                          Riley County, KS area. RCPD received this information from a Source of Information
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                          (SOI) to be referred to as "SOI #1" from this point forward. SOI #1 appeared to have
                          knowledge of some of the criminal elements related to Anthony Thompson and Albert
                          Banks, but was not allowed to have intimate knowledge of the day to day operations or
                          the source of supply of the cocaine.
                                 9.      SOI #1 did give information saying Anthony Thompson and Albert
                          Banks were receiving powder cocaine from an unknown supplier/s then transporting (or
                          having it transported) back to the Junction City, Geary County, KS area where they
                          would conve1t the powder cocaine to crack cocaine themselves (evidence of this
                          conversion will be explained in this affidavit). SOI #1 did not have direct knowledge of
                          when the powder cocaine purchases were occuning, who was driving to purchase the

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                          powder cocaine and even if one of the aforementioned persons were actually obtaining
                          the cocaine or having another person unknown to this investigation acquire and transport
                          the cocaine to Anthony Thompson and Albert Banks. SOI #1 has continued to give
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                          some credible information to Agents/Officers but beyond that, SOI #1 has not been
                          beneficial to the investigation. As stated above, SOI #1 has limited knowledge related to
                          the full scope of the cocaine distribution network, other co*conspirators and the source of
                          supply for the cocaine.
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                                  10.    The Affiant was contacted by Lieutenant Mike Life of the JCPD and asked
                          to assist with the investigation.       The Affiant met with Agents/Officers of the
                          aforementioned agencies to in an attempt to garner information related to persons who
                          might be involved in the distribution of cocaine.         The Affiant then contacted an
                          individual who had been a Cooperating individual (CI) for the KBI since 1985 (to be
                          referred to as CI #1 from this point forward). The Affiant had a meeting with CI #1 and
                          asked if CI #1 would be willing to assist in the investigation to which CI #1 agreed.
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                          Since CI #1 's association with the KBI beginning in 1985, CI #1 has successfully been an
                          integral part of a number of State and Federal investigations which culminated with the
                          prosecution and convictions of numerous persons related to the distribution of drugs. CI
                          #1 has had a number of Agents within the KBI as his/her handler. The Affiant has had
                          contact with a number of these Agents who spoke highly of CI #1 and his/her abilities to
                          assist in investigations culminating in successful prosecution.
                                 11.     On 05~16-2012, then KBI Task Force Agent (TFA) John Culver was
                          contacted by RCPD in reference to Albert Banks possibly leaving the Junction City, KS
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                          area en route to Topeka, Shawnee County, KS to purchase drugs for distribution. TFA
                          Culver, RCPD and JCPD coordinated a surveillance operation to follow Albert Banks in
                          an attempt to locate the person whom he was receiving his drugs from for distribution.
                          TFA Culver was told Albert Banks was supposedly traveling with a white female who
                          was later seen as the driver of the vehicle. The vehicle Albert Banks and the white
                          female were in was described as a maroon colored Cadillac Escalade.          TFA Culver
                          observed this vehicle leave the Junction City area and observed the license tag on the
                          vehicle which was bearing Kansas tag 669BHV. This vehicle was later found to be
                          registered to a 2002 Cadillac Escalade with a primary owner of Mike Roth and secondary

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                          owner of Kristina Orth both of Junction City, Geary County, KS. The Affiant would later
                          find out Kristina Orth is the girlfriend of Mike Roth.
                                  12.    As Agents followed Albert Banks and Kristina Orth from Junction City,
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                          Geary County, KS the vehicle made several ove1i actions which appeared to be in an
                          attempt to make sure they were not being followed. The vehicle traveled east on I-70
                          where it exited at the Maple Hill exit. The vehicle then made a u-turn in the middle of
                          the road and then re-entered I-70 and continued eastbound on I-70. Once the vehicle
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                          reached the Topeka, Shawnee County, KS area, it exited onto SE California Avenue and
                          traveled south where it entered the McDonald's drive thru at SE 29 th and California. It
                          then went south on California Avenue to SE 30th Street where it turned east then south on
                          SE Swygart and pulled into the parking lot of 3024 SE Swygrui. Albert Banks then
                          exited the vehicle walked into the apartment building at this location. Kristina Orth
                          remained in the vehicle with an undetermined number of children who were fotmd to
                          have been traveling in the vehicle.
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                                  13.    3024 SE Swygart Apartment F was, at that time, the residence of Johnny
                          Lee Ivory III (AKA "5", "J5" and "Jizzle"). Johnny Lee Ivory is a confirmed member of
                          the Traveling Vice Lords Gang. He has a lengthy criminal history to include; possession
                          of opiates/opium/narcotic drugs, possession of depressants/stimulants, discharge of a
                          firearm at an occupied dwelling as well as others which will be explained further later in
                          this affidavit. Johnny Lee Ivory, at that time, was believed to reside at this residence with
                          his then girlfriend, Whitnie A. Livingston. RCPD had received information from SOI # 1
                          indicating Johnny Lee Ivory was perhaps a source of supply for cocaine for Albert
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                          Banks and Anthony Thompson. This has not been confirmed as Johnny Lee Ivory has
                          not been located as to his whereabouts at this time although it is believed he still resides
                          in Topeka, Shawnee County, KS. On 05-10-2012, Topeka Police Department (TPD)
                          Officers located one-half (1/2) pound of marijuana, two (2) loaded handguns and
                          approximately $10,000.00 in US Currency at this apartment where Johnny Lee Ivory
                          stated he resided (TPD case number 10732-12).
                                  14.    Albert Banks eventually exited the apartment complex and got into the
                          passenger side of the vehicle Kristina Orth was driving. The vehicle exited the parking
                          lot, drove north on SE California Avenue, turned east on SE 291\ turned north into the


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                                                                                                                      244
                          Dillon's parking lot, circled the parking lot, exited the parking lot and crossed SE 29th
                          Street where it entered into a shopping center parking lot and parked in front of the
                          Subway restaurant and remained there for approximately 15 minutes without anyone
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                          entering or exiting the vehicle. After approximately 15 minutes, the vehicle got back
                          onto SE 29th Street and turned north on SE California Avenue. The vehicle entered onto
                          1-70 and traveled west to Junction City, Geary County, KS where it was followed to an
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                          unknown address (address unknown to the Affiant) on 13 th Street where it was believed
                          Albert Banks was possibly distributing cocaine from.
                                     15.   On 05-30-2012, Detective Alvin Babcock of the JCPD received phone call
                          from Detective Nate Boeckman of the RCPD informing him that Detective Nate
                          Boeckman had received infonnation alleging Albert Banks had left a package of cocaine
                          wrapped in either brown tape or a brown paper bag in an alley between 13 th and 14th
                          Streets and Franklin and Monroe Streets in Junction City, Geary County, KS the previous
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                          evening. Detective Nate Boeckman advised Detective Alvin Babcock that RCPD was
                          conducting surveillance on a residence in Manhattan, Riley County, KS where it was
                          believed Albert Banks was residing at the time. Detective Nate Boeckman advised a
                          white in color Chrysler 300 having black rims had arrived at the residence. The driver of
                          the vehicle was identified by RCPD Detectives as Chlis Howard. A short time later,
                          Chris Howard and Albert Banks were seen leaving the residence in the aforementioned
                          vehicle.
                                     16.   Lieutenant Mike Life and Detective Alvin Babcock drove to the
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                          aforementioned alley in Junction City, Geary County, KS in an attempt to locate the
                          package of cocaine but were unable to locate it. Detective Nate Boeckman contacted
                          Detective Alvin Babcock and stated he had lost sight of the Chrysler 300 and was
                          unaware if the vehicle was still in Manhattan, Riley County, KS or in the Junction City,
                          Geary County, KS area.       A short time later, Detective Alvin Babcock observed the
                          Chrysler 300 in the aforementioned alley and stopped in wooded area where Detective
                          Alvin Babcock was told the package of cocaine was possibly located. The vehicle then
                          left the alleyway and sight was lost of it. Detective Alvin Babcock was not able to see
                          who exited the vehicle or if anything was retrieved when it stopped in the alleyway but
                          Detective Alvin Babcock did observe the driver of the vehicle did not get out of the

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                                                                                                                       245
                          vehicle. The vehicle was later located at a liquor store in Junction City, Geary County,
                          KS.
                                 17.      On 05-31-2012, CI #1 made two (2) phone calls to Martye Madkins III in
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                          reference to purchasing Oxycontin pills. In the first phone call, Martye Madkins III
                          stated he would have to call other unknown person/s in an attempt to obtain the pills. The
                          second call to Martye Madkins III was not answered and the attempted purchase was
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                          discontinued.
                                 18.      On 06-01-2012, CI #1 contacted Martye Madkins III once again m
                          reference to purchasing a $50.00 quantity of crack cocaine from him. Martye Madkins
                          III agreed to sell CI #1 the crack cocaine. While talking to Martye Madkins III, CI #1
                          made mention of needing to call a female by the name of "Ro" who is actually Lavern
                          Roshell Jackson. Martye Madkins III said he was with Lavern Jackson at that time. CI
                          #1 talked to her about purchasing three to four (3 to 4) Oxycontin pills. Lavern Jackson
                          stated she could obtain Dilaudid and Morphine pills as well. Lavern Jackson stated she
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                          would make some phone calls and inquiries into obtaining some pills for CI #1.
                                 19.      CI #1 was prepared for purchasing crack cocaine from either Martye
                          Madkins III or Lavern Jackson. The Affiant gave CI #1 $50.00 in US Currency to
                          purchase the crack cocaine. CI #1 called Martye Madkins III and inquired as to Martye
                          Madkins III ability to sell CI #1 $50.00 worth of crack cocaine. Martye Madkins III said
                          he would call CI #1 back in five (5) minutes. Martye Madkins III called CI #1 back and
                          they agreed to meet at the Casey's General Store in Junction City, Geary County, KS to
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                          complete the transaction. Detectives Shawn Peirano and Josh Brown of the JCPD DOG
                          observed Martye Madkins III arrive at the location in a gray colored Chevrolet HHR
                          bearing a Missouri license tag. Martye Madkins HI exited the vehicle, got into CI #1 's
                          vehicle and sold CI #1 the crack cocaine. The HHR had three (3) African American
                          males in it at the time and as it left, one of the males was identified by Sergeant Todd
                          Godfrey of the JCPD as Albert Banks and the driver was identified by Detective Alvin
                          Babcock as Anthony Thompson.
                                 20.      The Affiant submitted the evidentiary item, which was actually two (2)
                          small individually wrapped baggies, to the KBI for analysis and received a Forensic



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                                                                                                                      246
                          Laboratory Report stating cocaine base was detected in Lab Item 1 with both being
                          examined and having a total net weight of 0.20 grams.
                                 21.     On 06-30-2012, CI #1 contacted a male by the name of Gevonni Roberto
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                          Davis whom CI #1 had been introduced to earlier. CI #1 told Gevonni Davis that CI #1
                          was attempting to make contact with Martye Madkins III in reference to purchasing
                          crack cocaine from him. CI #1 asked Gevonni Davis if he had seen Martye Madkins III
                          and/or if Gevonni Davis knew whether or not Martye Madkins III had any crack cocaine
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                          to sell. Gevonni Davis stated he had seen Martye Madkins III at approximately 7:30 AM
                          that morning and had purchased the last portion of crack cocaine Martye Madkins III had
                          to sell at that time. CI #1 asked Gevonni Davis if he could contact Anthony Thompson
                          and inquire as to whether or not he had any crack cocaine to sell. Gevonni Davis asked if
                          Cl #1 knew Anthony Thompson to which CI #1 said he/she had met Anthony
                          Thompson but did not have a telephone number for him. Gevonni Davis said he would
                          call Anthony Thompson and call CI # 1 back.
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                                 22.     Gevonni Davis called CI #1 and stated he had made contact with Anthony
                          Thomson. Anthony Thompson stated he was in Ogden, KS at that time but would tum
                          around and come to Junction City, KS to meet CI #1 at his/her motel room to sell him/her
                          the crack cocaine. The Affiant gave CI #1 $50.00 with which to purchase the crack
                          cocaine. Anthony Thompson arrived at the motel room and met with CI #1. CI #1 siad
                          Anthony Thompson produced approximately 15 "rocks" of crack cocaine from his
                          pocket and thought CI #1 wanted to purchase $100.00 worth of crack cocaine. CI #1 said
                          he/she only wanted $50.00 worth and at that time Anthony Thompson sold the crack
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                          cocaine to CI #1.   CI #1 asked for and was given Anthony Thompson's telephone
                          number for further transactions. The telephone number given to CI #1 is not the current
                          number for Anthony Thompson, but was his telephone number at that time. Anthony
                          Thompson was driving a red in color Chrysler Sebring bearing Arkansas license tag
                          227RMJ which was not registered to that vehicle.
                                 23.     The Affiant submitted the evidentiary item to the KBI for analysis and
                          received a Forensic Laboratory Report stating cocaine base was detected in Lab Item 1
                          having a net weight of 0.15 grams.



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                                                                                                                       247
                                  24.     On 07-11-2012, the Affiant and other Agents/Officers met with CI #1 for
                          the purpose of CI # 1 attempting to make a purchase of crack cocaine from Martye
                          Madkins III. CI #1 contacted Martye Madkins III and he told CI #1 to call him back in
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                          10 to 20 minutes as Martye Madkins III "was checking on it now" referring to Martye
                          Madkins III inquiring with someone as to the availability of the crack cocaine CI #1
                          wanted to purchase. This would indicate the crack cocaine did not belong to Martye
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                          Madkins III but instead belonged to another party whom Martye Madkins III had to
                          obtain it from prior to distributing it. While waiting on Martye Madkins III to contact CI
                          #1, Detective Alvin Babcock was watching video surveillance of Martye Madkins III
                          residence located at 227 west 14th Street in Junction City, Geary County, KS in an
                          attempt to observe any person/s arriving or departing from the residence. Detective Alvin
                          Babcock observed Albert Banks and Chris Howard leave the residence. After the two
                          (2) aforementioned persons left the Martye Madkins III residence, CI #1 received a call
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                          from Martye Madkins IIL The two (2) aforementioned males returned to the residence
                          shortly thereafter.
                                  25.     Maiiye Madkins told CI #1 to meet "his man" (referring to another
                          unknown person) at Wood Oil in Junction City, Geary County, KS and asked how much
                          CI #1 wanted. CI #1 said he/she wanted $60.00 worth of crack cocaine. The Af:fiant
                          gave CI #1 $60.00 in US Cunency to purchase the crack cocaine. CI #1 left and drove
                          toward Wood Oil. While en route, CI #1 was contacted by Martye Madkins III and told
                          to change the location where CI #1 was to meet someone. Martye Madkins III said to
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                          meet in the area of the intersection of 15 th Street and Adams Street in Junction City,
                          Geary County, KS.
                                  26.     CI #1 arrived at the location and continued to attempt to make contact
                          with Martye Madkins III by cellular telephone to tell him CI #1 was at the location.
                          Maiiye Madkins III told CI #1 someone would be coming to the location soon to
                          distribute the crack cocaine to CI #1. 26 minutes after CI #1 arrived at the intersection
                          location; Maiiye Madkins III called CI #1 and told CI #1 to drive to another location.
                          During the course of these events, Detective Alvin Babcock once again observed Albert
                          Banks leave the aforementioned residence.       Surveillance members observed Albert
                          Banks approach a vehicle described as a grey in color Chevrolet Malibu. An unknown
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                          black female exited the vehicle. Albert Banks, the un1rnown black female and another
                          unidentified black male (later believed to be Martye Madkins III due to identified
                          clothing) were observed walking back and entering into the aforementioned residence. A
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                          short time later, a black male (believed to be Martye Madkins III from the clothing
                          description) was observed leaving the residence and walking toward 14th Street in
                          Junction City, Geary County, KS.        Then, Chris Howard was observed arriving and
                          entering the residence and the unknown black male (believed to be Martye Madkins III)
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                          returned to the residence once again. The black male believed to be Martye Madkins III
                          (identified by the clothing description of the person who later met with CI #1) then
                          departed the residence once again and walked toward 14th Street in Junction City, Geary
                          County, KS. A sh01t time after the black male (believed to be Martye Madkins III) left
                          the residence, Chris Howard also left the residence. Surveillance members observed CI
                          #1 driving towards 14th Street and then travel west on 14th Street. Surveillance members
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                          then observed CI #1 driving east in the 300 block of 15 th Street.
                                 27.     While en route and in the 300 block of west 15 th Street in Junction City,
                          Geary County, KS; CI #1 was stopped by the same black male who had been observed
                          walking from the residence.      The black male, who was later positively identified as
                          Martye Madkins III, walked up to the passenger side of the vehicle CI # 1 was driving.
                          Martye Madkins III sold CI #1 the crack cocaine at that time. While CI #1 was making
                          the purchase of crack Cocaine, Gevomri Davis entered the rear seat of the vehicle CI #1
                          was driving and observed the transaction take place which did not detour Martye
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                          Madkins III from completing the sell. This sell of crack cocaine was less than 1000'
                          from Washington Elementary School which is located at 1500 N Washington Street in
                          Junction City, Geary County, KS.
                                 28.     The Affiant took possession of the evidentiary item and later submitted the
                          evidentiary item to the KBI for analysis and received a Forensic Laboratory Report
                          stating cocaine base was detected in Lab Item 2 having a net weight of 0.3 3 grams.
                                 29.     On 08-17-2012, Detective Alvin Babcock received a phone call from CI
                          #1 advising CI #1 had been in contact with Anthony Thomson and Anthony Thompson
                          was willing to sell CI #1 $100.00 worth of crack cocaine.               CI #1 met with
                          Agents/Officers and made a controlled phone call to Anthony Thompson. CI #1 told

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                          Anthony Thompson he/she was not currently in Junction City but would be shortly.
                          Anthony Thompson told CI #1 to call him when CI #1 arrived in Junction City, Geary
                          County, KS. Detective Alvin Babcock gave CI #1 $100.00 in US Currency to purchase
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                          the crack cocaine from Anthony Thompson. CI #1 drove to the Casey's General Store
                          located at 624 S Washington Street in Junction City, Geary County, KS. While en route
                          to the location, CI #1 called Anthony Thompson and advised him CI #1 would meet him
                          there to which Anthony Thompson agreed. A grey in color Ford Focus bearing Kansas
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                          license tag 807FEE arrived at the location. A registration check was competed on the tag
                          and found to be registered to a 2002 Ford Focus registered to Anna Thompson who is
                          Anthony Thompson's sister. The driver of the vehicle was identified as Anthony
                          Thompson.
                                 30.     CI #1 exited his/her vehicle and entered the front passenger side of
                          Anthony Thompson's vehicle. A short time later, CI #1 exited the vehicle and entered
                          his/her own vehicle. Anthony Thompson backed up and parked at the gas pumps then
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                          exited his vehicle and walked over to CI #1 's vehicle to look at items of clothing CI #1
                          had for sell. Approximately a minute later, Anthony Thompson entered into the Casey's
                          General Store. CI #1 walked over to Anthony Thompson's vehicle, entered into the
                          driver's side front door then exited and got back in to his/her vehicle and left the location
                          to meet with Agents/Officers.
                                 31.     The Affiant took possession of the evidentiary item and later submitted the
                          evidentiary item to the KBI for analysis and received a Forensic Laboratory Report
                          stating cocaine base was detected in Lab Item 2 having a net weight of 1.01 grams.
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                                 32.     On 08/24/2012, CI #1 met with Detective Alvin Babcock and other
                          officers for the purpose of purchasing crack cocaine from a black male with the alias of
                          "JD". Detective Alvin Babcock determined this black male to be Jason Dixon. CI #1
                          drove to an agreed upon location, which was Handy's Convenience Store located a 1734
                          W. Ash Street in Junction City, Geary County, KS.           Jason Dixon arrived and was
                          observed meeting with CI #1. A short time later, CI #1 and Jason Dixon left the location.
                          CI #1 met with Detective Alvin Babcock and gave him the suspected crack cocaine CI #1
                          had purchased from Jason Dixon.           Detective Alvin Babcock later processed the
                          evidentiary item per his agency policies and had it submitted to the KBI for analysis.

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                                                                                                                          250
                          Detective Alvin Babcock received a Forensic Laboratory Report stating cocaine was
                          detected in the item having a net weight of .22 grams. It should be noted that during the
                          review of the covert electronic audio/video recording device which had been utilized
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                          during the transaction with Jason Dixon, Detective Alvin Babcock observed Jason Dixon
                          retrieve the crack cocaine from his mouth prior to selling it to CI #1. This is a common
                          tactic utilized by illegal drug distributors for the transporting of illegal drugs. If he/she
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                          has contact with law enforcement, the illegal drugs can be swallowed prior to being
                          located by law enforcement.
                                 33.     On 08-31-2012, Detective Alvin Babcock and other Officers met with CI
                          #1 for the purpose of CI #1 purchasing crack cocaine from Charles Foster. CI #1 told
                          Detective Alvin Babcock that Charles Foster had contacted CI #1 the previous evening
                          and said he had $50.00 worth of crack cocaine for sell. CI #1 told Charles Foster he/she
                          was unavailable at that time and would contact him the next day.           Detective Alvin
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                          Babcock gave CI #1 the US Currency to be used in the transaction. CI #1 called Charles
                          Foster via cellular telephone and Charles Foster told CI #1 to come to his residence
                          which was located at 149 E Anchor Street in Grandview Plaza, Geary County, KS.
                                 34.     Surveillance units were in place to observe CI #1 arrive at the residence.
                          CI #1 drove to the residence and entered with items of clothing for Charles Foster's wife
                          to look at. After approximately 30 minutes, Cl #1 and Charles Foster left the residence
                          and drove to and entered the alley behind 126 W 12th Street in Junction City, Geary
                          County, KS. Charles Foster exited CI #1 's vehicle and met with another black male who
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                          was later identified as Anthony Thompson. Charles Foster entered back into the vehicle
                          CI #1 was driving and they exited the alley. A grey in color Ford Focus driven by
                          Anthony Thompson exited the alleyway behind CI #1. CI #1 transported Charles Foster
                          back to his residence where he exited. Cl #1 met with Officers once again and gave
                          Detective Alvin Babcock the evidentiary item.
                                 35.     Detective Alvin Babcock submitted the evidentiary item per his policy to
                          be submitted to the KBI for analysis. Detective Alvin Babcock received a Forensic
                          Laboratory report stating cocaine base was detected in Lab Item 1 having a net weight of
                          .28 grams.



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                                  36.     On 09-05-2012, Detective Alvin Babcock received an email from
                          Detective Nate Boeckman of the RCPD indicating a Cooperating Individual who was
                          providing assistance to the RCPD had told Detective Nate Boeckman Anthony
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                          Thompson was in possession of what he/she deemed to be a large amount of crack
                          cocaine. The RCPD CI stated he/she was at the Anthony Thompson residence and
                          observed several packages of crack cocaine lying on the kitchen counter. The RCPD CI
                          stated Anthony Thompson had measured out and packaged the crack cocaine for
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                          distribution.
                                  37.     Detective Nate Boeckman stated he drove past the residence and observed
                          a maroon in color Buick Century parked bearing Kansas license tag 071FEG.          This
                          vehicle is registered to a 1998 Buick Century with the primacy ovmer listed as Michael
                          Harris of Manhattan, Riley County, KS. The RCPD CI told Detective Nate Boeckman
                          the vehicle belonged to a female by the name of Monica and that she was a crack cocaine
                                  The RCPD CI told Detective Nate Boeckman Monica was allowing Anthony
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                          user.
                          Thompson to use her vehicle. Later that same day, the RCPD CI told Detective Nate
                          Boeckman Anthony Thompson had left the residence and took the crack cocaine he had
                          packaged for distribution with him. The RCPD CI estimated the total amount of crack
                          cocaine to be greater than one (1) ounce in quantity.
                                  38.     That same day, 09/05/2012, the Affiant and other Officers met with CI #1
                          for the purpose of CI #1 making a crack cocaine purchase from Anthony Thompson. CI
                          # 1 contacted Anthony Thompson via cellular telephone and both parties agreed to meet
                          at the Casey's General Store located at 624 S Washington Street in Junction City, Geary
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                          County, KS. Anthony Thompson told CI #1 he was approximately 30 seconds away
                          from the location at the current time. The Affiant gave CI #1 $250.00 in US CruTency to
                          purchase the crack cocaine.
                                  39.     Once CI #1 arrived at the agreed upon location CI #1 once again
                          attempted to contact Anthony Thompson via cellular telephone to advise him CI #1 was
                          at the location. Anthony Thompson did not answer the phone call. After approximately
                          one and a half (1 ½) hours, CI #1 sent Anthony Thompson a text message. Anthony
                          Thompson replied and changed the location and told CI #1 to meet him in the 100 block



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                          of W 12th Street in Junction City, Geary County, KS which is the location of the Comer
                          Club.
                                  40.    CI #1 drove to this location and met with Anthony Thompson. CI #1
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                          gave Anthony Thompson the $250.00 in US Currency and Anthony Thompson gave
                          CI # 1 a large plastic baggie containing numerous smaller plastic baggies containing crack
                          cocaine. Anthony Thompson also gave CI #1 a small single baggie containing crack
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                          cocaine. Anthony Thompson had CI #1 give him a ride to another location from this
                          location.
                                  41.    A covert electronic audio/video recorder was used during this transaction.
                          Detective Alvin Babcock reviewed the recording and found that Anthony Thompson
                          asked CI #1 to take him to Cottonwood (mobile home park in Junction City, Geary
                          County, KS). Anthony Thompson told CI #1 he needed to go to this location "so he can
                          give this girl some shit" referring to distributing more crack cocaine to a female. As they
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                          departed the location en route to the Cottonwood, Anthony Thompson was observed
                          putting something in his mouth. This is a common practice utilized by drug distributors
                          to transport small amounts of drugs to thwart law enforcement detection should the
                          person encounter a law enforcement officer. Persons who maintain this type of practice
                          can swallow the illegal drugs if they encounter law enforcement. As CI # 1 reaches the
                          mobile home park Anthony Thompson tells CI #1 what location to drive to. Once
                          Anthony Thompson exits the vehicle, CI #1 states he/she was directed to drive to lot
                          41B. Detective Alvin Babcock knows this location to be the residence of Audrey Ali or
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                          Audrey Nelson, both being the same person.
                                  42.    The Affiant took possession of the evidentiary items and later submitted
                          the evidentiary items to the KBI for analysis and received a Forensic Laboratory Report
                          stating cocaine base was detected in Lab Item 3 which were found to be seven (7) plastic
                          baggies total and having a net weight of 2.70 grams total.
                                  43.    On 09/06/2012, CI #1 met \Vith Detective Alvin Babcock and other
                          Officers in reference to purchasing prescription pills from Garland Hull. CI #1 contacted
                          Garland Hull at telephone number (785) 762-5346. CI #1 met with Garland Hull at the
                          intersection of 10th and Webster Streets in Junction City, Geary County, KS. Garland
                          Hull gave CI #1 a prescription bottle with numerous pills in it and CI #1 gave Garland


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                              Hull the US Currency for the pills. Garland Hull then departed and entered the residence
                              at 922 N Webster Street in Junction City, Geary County, KS. Detective Alvin Babcock
                              took possession of the evidentiary items and determined the pills were Oxycodone
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                              (Schedule II) and Clonazepam (Schedule IV). Detective Alvin Babcock submitted the
                              evidentiary times to the KBI for analysis.
                                     44.     On 09/25/2012, Detective Alvin Babcock and other Officers met with CI
                              #1 for the purpose of CI #1 purchasing ten (10) Oxycodone 20 mg pills from Garland
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                              Hull. CI #1 drove to 922 N Webster Street in Junction City, Geary County, KS where
                              he/she met with Garland Hull who exited from the residence at the aforementioned
                              address. Garland Hull entered the vehicle CI #1 was driving and eventually received ten
                              (10) pills from him. CI #1 exited the location and met with Detective Alvin Babcock. CI
                              # 1 gave the evidentiary items to Detective Alvin Babcock who determined the pills were
                              Oxycodone/Hydrochloride 20 mg pills (Schedule II).           Detective Alvin Babcock
                              submitted the evidentiary items to the KBI for analysis.
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                                     45.     On 09/27/2012, CI #1 met with the Affiant and other law enforcement
                              officers for the purpose of purchasing crack cocaine from Jason Dixon. CI #1 called
                              Jason Dixon using telephone number (785) 375~3222. Jason Dixon answered the phone
                              and a conversation ensued in regards to CI #1 purchasing methamphetamine from him.
                              Jason Dixon told CI #1 he would have to call CI #1 back to which he did and stated he
                              was not able to locate any methamphetamine to distribute but that he had crack cocaine in
                              his possession to distribute if CI #1 was interested. CI #1 said he/she was interested in
                              purchasing the crack cocaine.
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                                     46.     CI #1 told Jason Dixon he/she wanted two (2) $50.00 rocks of crack
                              cocaine ($100.00 worth of crack cocaine).         The two agreed to meet at Handy's
                              Convenience Store located at 1734 W. Ash Street in Junction City, Geary County, KS.
                              CI #1 drove to the location and a short time later Jason Dixon arrived and completed the
I
!                             transaction with CI #1. CI #1 drove back to a predetermine location where he/she then
                              gave the two (2) plastic bag comers containing an off white substance in each to the
                              Affiant.




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                                 47.     The Affiant took possession of the evidentiary items and later submitted
                          the evidentiary items to the KBI for analysis and received a Forensic Laboratory Report
                          stating cocaine base was detected in Lab Item 2 and having a net weight of0.82 grams.
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                                 48.     On 09/28/2012, the Affiant was contacted by CI #1 and told CI #1 had
                          been in contact with Anthony Thompson who agreed to sell CI #1 one-half (1/2) ounce
                          of crack cocaine for $700.00. Anthony Thompson had previously told CI #1 he would
                          sell him/her one-half (1/2) ounce of crack cocaine for $700.00 but at that time he was not
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                          in possession of that quantity. Then earlier the day of 09/28/2012, Anthony Thompson
                          contacted CI # 1 and said he was now in possession of more crack cocaine and was
                          willing to sell CI #1 the one-half (1/2) ounce.      CI #1 had made several attempts
                          throughout the day (after the previous call) to contact Anthony Thompson but the calls
                          were going straight to voicemail and the voicemail box was full so CI #1 was unable to
                          leave a message. It should be noted throughout this investigation it has been found when
                          Anthony Thompson did not answer his phone the voicemail box was nearly always full
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                          therefore no voicemail could be left indicating Anthony Thompson was apparently
                          receiving a large number of phone calls with voicemails being left. Anthony Thompson
                          eventually contacted CI #1 via cellular telephone and stated he would meet CI #1 and
                          complete the transaction.
                                 49.     CI #1 met with the Affiant and other Officers prior to the purchase. The
                          Affiant gave CI #1 $700.00 in US Currency to purchase the crack cocaine. CI #1 once
                          again contacted Anthony Thompson via cellular telephone and advised him he/she was
                          ready to meet with him. Anthony Thompson told CI #1 to meet him at the Taco Bell
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                          which was located at 407 W 18th Street in Junction City, Geary County, KS. CI #1
                          arrived at the location and shortly thereafter was approached by a black male and asked if
                          CI #1 was the person who was there to receive something from "Ant" (Anthony
                          Thompson). CI #1 said "yes" and the black male said he would be right back with "it"
                          referring to the crack cocaine. Sergeant Todd Godfrey of the JCPD identified the black
                          male who approached CI #1 as Albert Banks. Approximately four (4) minutes later,
                          Albert Banks reappeared and entered the passenger side of CI #1 's vehicle where he sold
                          CI #1 the crack cocaine. CI #1 told Albert Banks to tell Anthony Thompson if the
                          crack cocaine was good, CI #1 would want one (1) ounce of crack cocaine next week.

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                                                                                                                       255
                          Albert Banks agreed and told CI #1 to contact Anthony Thompson next week. Albert
                          Banks then exited the vehicle and walked to the south and was not surveilled due to the
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                          location and the fact he was walking.
                                 50.     Prior to the purchase taking place, Detective Alvin Babcock recalled
                          seeing a black male with dreadlocks and a white t-shirt leave Wood Oil Convenience
                          Store (located at 439 W 19th Street in Junction City, Geary County, KS adjacent to the
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                          Taco Bell) and walk towards Taco Bell. This was the same black male later identified as
                          Albert Banks. Albert Banks met with another unknown black male in front of Taco
                          Bell in the parking lot who then departed shortly after meeting with Albert banks.
                          Shortly thereafter, Detective Alvin Babcock recalled seeing a heavy set black female exit
                          the Wood Oil Convenience Store and enter into a gold in color Four Taurus which
                          Detective Alvin Babcock knew belonged to Albert Banks and his girlfriend Glenda
                          Robertson. The vehicle was bearing Kansas license tag 882FEE. A registration request
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                          was run and the vehicle was found to be registered to Glenda Robertson and Ola Mae
                          Gavin. Ola Mae Gavin is the mother of Glenda Robe1ison. This vehicle remained at its
                          location throughout the purchase of crack cocaine.
                                 51.     The Affiant took possession of the evidentiary item and later submitted the
                          evidentiary items to the KBI for analysis and received a Forensic Laboratory Report
                          stating cocaine base was detected in Lab Item 3 and having a net weight of 13 .89 grams.
                                 52.     On 10/02/2012, the Affiant and Detective Alvin Babcock met with CI #1
                          for the purpose of making a controlled phone call to Anthony Thompson for the purpose
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                          of trying to obtain one ( 1) ounce of crack cocaine from him. Anthony Thompson did
                          not answer and the call went to voicemail but once again the voicemail box was full and
                          CI 31 was not able to leave a message. A recording device was left with CI #1 in order
                          for him/her to make a phone call later and have a recording of it.
                                 53.     On 10/03/2012, Detective Alvin Babcock and Detective Angie Weeks met
                          with CI #1 to obtain the recording device from him and listen to the completed phone
                          between CI #1 and Anthony Thompson.               During the phone call, CI #1 talked to
                          Anthony Thompson in reference to obtaining a "full one" referring to one (1) ounce of
                          crack cocaine. Anthony Thompson told Cl #1 the cost would be $1,400.00. CI #1 told
                          Anthony Thompson he/she didn't have $1,400.00 and Anthony Thompson told CI #1

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                                                                                                                       256
                          he would sell CI #1 an ounce of crack cocaine for $1,200.00. CI #1 asked Anthony
                          Thompson if "homeboy was going to meet CI #1 again like he did the other day"
                          referring to Albert Banks. Anthony Thompson said he would call "him" (Albert
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                          Banks) and find out. CI # 1 and Anthony Thompson agreed to meet at approximately
                          2:00 PM to complete the transaction.
                                    54.   At approximately 2:00 PM, CI #1 contacted Anthony Thompson via
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                          cellular telephone where CI #1 asked Anthony Thompson if he was ready (meaning CI
                          #1 wanted to know if Anthony Thompson had the ounce of crack cocaine to distribute to
                          CI #1).     Anthony Thompson asked CI #1 if he/she had the "12" referring to the
                          $1,200.00 to which he/she replied "yes". CI #1 asked Anthony Thompson if he was
                          going to have "little homeboy" bring the crack cocaine to CI # 1 referring to Albert
                          Banks delivering it to CI #1 as he did on 09/28/2012. Anthony Thompson said "he had
                          it anyway" referring to Albert Banks having the crack cocaine Anthony Thompson and
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                          Albert banks were distributing. Anthony Thompson said he would call ''him" referring
                          to Albert Banks and call CI #1 right back.
                                    55.   Approximately two (2) minutes later, Anthony Thompson called CI #1
                          back, asked where he/she was and where CI #1 wanted to meet. CI #1 stated he/she liked
                          the Taco Bell location, where he had met Albert Banks previously.               Anthony
                          Thompson indicated he had talked to Albert Banks and Albert Banks wanted to know
                          if CI # 1 would pay $1,250.00 for the ounce of crack cocaine instead of the earlier agreed
                          upon price of $1,200.00.      CI #1 agreed upon the price of $1,250.00.         Anthony
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                          Thompson agreed upon the meeting location and asked CI #1 when he/she would be
                          arriving at the location to which CI #1 replied, 15 minutes". Anthony Thompson told
                          CI #1 to call him (Anthony Thompson) when CI #1 arrived at the location.
                                    56.   CI #1 arrived at the location and attempted to contact Anthony
                          Thompson via cellular telephone but Anthony Thompson did not answer.
                          Approximately 17 minutes later, Anthony Thompson called CI #1 back and said he had
                          seen a JCPD patrol vehicle parked near the meeting location and therefore wanted CI #1
                          to exit the parking lot, turn right and then turn left at the first intersection and meet
                          Anthony Thompson in that area to which Cl #1 complied. It should be noted this
                          location is actually a dead end street making surveillance complicated as to seeing the

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                          vehicle Anthony Thompson was driving. CI #1 parked in the 2000 block ofN Madison
                          Street in Junction City, Geary County, KS at which time Anthony Thompson appeared
                          and entered into the passenger side of CI #1 's vehicle.
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                                  57.    The transaction was completed and CI #1 had a conversation with
                          Anthony Thompson. CI #1 asked Anthony Thompson how much crack cocaine he was
                          purchasing per week to distribute. Anthony Thompson said it was approximately nine
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                          (9) ounces per week.      The two continued to converse further and then Anthony
                          Thompson exited the vehicle and CI # 1 drove away en route to a pre-determined
                          location. Detective Alvin Babcock and Captain Shawn Peirano of the Grandview Plaza
                          Police Department (GPPD) were able to observe Anthony Thompson leave the location
                          where the transaction took place and as he left, Albert Banks was seen in the vehicle
                          with Anthony Thompson.
                                 58.     The Affiant took possession of the evidentiary item and later submitted the
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                          evidentiary item to the KBI for analysis and received a Forensic Laboratory Report
                          stating cocaine base was detected in Lab Item 4 and having a net weight of 27.74 grams.
                                 59.     On 10/10/2012, Agents/Officers met with CI #1 for the purpose of
                          purchasing one (1) ounce of crack cocaine from Anthony Thompson. Detective Alvin
                          Babcock retrieved a digital audio recorde~ from CI #1 which contained a recorded phone
                          call between CI #1 and Anthony Thompson prior to this date. During the phone call, CI
                          #1 told Anthony Thompson he/she would be in town (Junction City, Geary County, KS)
                          on Wednesday instead of Thursday and wanted to know if Anthony Thompson was
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                          "still good" referring to Anthony Thompson having crack cocaine to distribute.
                          Anthony Thompson told CI #1 he was "good" and asked CI #1 what "he needed". CI
                          #1 said he/she wanted "a yard" referring to an ounce of crack cocaine to which Anthony
                          Thompson responded he is "good' meaning he had that quantity to distribute.
                                 60.     CI #1 contacted Anthony Thompson via cellular telephone and told him
                          CI #1 was in town (Junction City, Geary County, KS) and wanted to know where
                          Anthony Thompson wanted to meet. Anthony Thompson told CI #1 to meet him at the
                          McDonald's on 6th Street and then changes the location to the Discount Liquor Store
                          (located at 744 W 6th Street in Junction City, Geary County, KS). CI #1 told Anthony
                          Thompson he/she was not aware of the location for that establishment.           Anthony


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                          Thompson told CI #1 it was "up the street from Dillon's" and to give Anthony
                          Thompson 15 to 20 minutes (to arrive). Detective Alvin Babcock gave CI #1 directions
                          to the location and he/she departed soon after.
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                                 61.       CI #1 arrived at the location and approximately 37 minutes later a grey in
                          color Ford Focus arrived at the location. Anthony Thompson exited the vehicle and got
                          into the vehicle CI # 1 was driving. A second black male could be seen in the vehicle
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                          Anthony Thompson arrived in who was later identified as Albert Banks.                  The
                          transaction was completed and as Anthony Thompson departed the location,
                          surveillance was attempted on the vehicle he was driving but he was able to avoid being
                          followed by Agents/Officers.
                                 62.       The covert audio/video recording device from CI #1 's vehicle was viewed
                          by Detective Alvin Babcock and during the transaction Anthony Thompson told CI #1
                          "if he is unable to get in touch with him, CI #1 could call his bro (Albert Banks) at 785-
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                          317-1164 and his name is AB (Albert Banks)". Anthony Thompson told CI # 1, AB
                          (Albert Banks) was the person CI #1 met with the first time.           It should be noted
                          Anthony Thompson was refening to CI #1 making a purchase from Albert Banks on
                          09/28/2012 in the Taco Bell parking lot. It should also be noted this transaction took
                          place within 1000' of Larry Dixon Alternative School.
                                 63.       KBI Task Force Agent (TF A) Vidal Campos took possession of the
                          evidentiary item and later submitted the evidentiary item to the KBI for analysis. The
                          Affiant received a Forensic Laboratory Report stating cocaine base was detected in Lab
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                          Item 5 and having a net weight of 27. 74 grams.
                                 64.       On 10/23/2012, Detective Alvin Babcock received a telephone call from
                          CI # 1 stating CI # 1 attempted to contact Albert Banks several times to initiate a
                          controlled purchase of crack cocaine from him but Albert Banks did not answer any of
                          the incoming phone calls from CI #L CI #1 did say he/she had a conversation with
                          Albert Banks via text messaging though and forwarded the text messages to Detective
                          Alvin Babcock. The messages are as follows;
                                       •   Is this AB that knows Ant who I got# from I am *******(omitted)
                                       •   What up yea this AB
                                       e   Will be comeing to Junk City ifu got some work for me tornonow

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                                                                                                 =




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                                       •   Yep hit me up when u ready
                                       •   Is there a money cut on 2
                          This conversation is translated to mean CI #1 sent a text message to Albert Banks asking
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                          if the number texted was Albert Banks. He indicated it was Albert Banks. CI #1
                          advised him he/she would be coming to Junction City, Geary County, KS tomorrow and
                          wanted to know if Albert Banks had crack cocaine to purchase. Albert Banks indicated
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                          he had crack cocaine for distribution and for CI #1 to call him when CI #1 was ready. CI
                          #1 asked if he/she would receive a discounted cost if he/she purchased two (2) ounces.
                                 65.       CI #1 then contacted Albert Banks via cellular telephone later and they
                          conversed in reference to CI #1 not being able to make it to Junction City on this date. CI
                          #1 said he/she would be in Junction City tomorrow (10/24/2012) and if Albert Banks
                          had more (more than one or two ounces), CI #1 may want to purchase more quantity.
                          Albert Banks stated he may possibly have more available and for CI # 1 to call him
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                          tomon-ow. CI #1 later received a text message from Albert Banks which read; U still
                          want this o if not I am bout to get rid of it. This text was asking CI #1 if he/she was still
                          planning on purchasing the ounce of crack cocaine CI #1 had asked for and if CI #1 did
                          not want it, Albert Banks was going to sell it to someone else.
                                 66.       On 10/24/2012, the Affiant and other Officers met with CI #1 for the
                          purpose of CI # 1 making a crack cocaine purchase from Albert Banks. CI #1 called
                          Albert Banks via cellular telephone and told him CI #1 was approximately 15 minutes
                          from Junction City, Geary County, KS and asked Albert Banks if he was "good"
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                          referring to whether or not he had crack cocaine available for distribution. Albert Banks
                          told CI #1 he was "good" and waiting on CI #1. CI #1 asked Albert Banks if CI #1
                          would receive a discount if CI #1 were to purchase two (2) ounces. Albert Banks said
                          he did not believe he had that much crack cocaine left but he would "have to go see how
                          much he has" and that he "thinks it's only like 1 ½" meaning he did not have the crack
                          cocaine with him at that time and believed he only had one and one-half (1 ½) ounces left
                          to sell. Albert Banks told CI #1 he would give CI #1 a "deal", refen-ing to a break in
                          price, and CI #1 said he/she would take what Albert Banks had. CI #1 asked Albert
                          Banks where he wanted to meet CI #1 at and Albert Banks said to meet him 12th and
                          Jefferson Street (Junction City, Geary County, KS). CI #1 told Albert Banks he/she

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                          knew where the Corner Club was (the intersection of Iih and Washington in Junction
                          City, Geary County, KS) and he/she would meet Albert Banks there.
                                 67.    CI #1 drove to the aforementioned location where CI #1 met with Albert
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                          Banks and purchased what was supposed to be 1 ½ ounces of crack cocaine for
                          $1,800.00 which was given to CI # 1 by the Affiant. Detective Alvin Babcock observed
                          Albert Banks walking east in the 100 block of W 12th Street prior to meeting with CI #1
                          and then observed Albert Banks exit CI #1 's vehicle and walk to a residence having an
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                          address of 126 W 12th Street in Junction City, Geary County, KS/
                                 68.    The Affiant took possession of the evidentiary items which were actually
                          two (2) plastic baggies each containing suspected crack cocaine.      KBI TF A Vidal
                          Campos later submitted the evidentiary item to the KBI for analysis.       The Affiant
                          received a Forensic Laboratory Report stating cocaine base was detected in Lab Item 4
                          and having a net weight of 40.96 grams.
                                 69.    On 10/25/2012, Detective Alvin Babcock was listening to a recorded
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                          phone call from the Geary County Detention Center in which Martye Madkins III called
                          telephone number 785-226-0131 (Martye Madkins III was incarcerated at the time in this
                          facility). The aforementioned telephone number was a cellular telephone number which
                          Jasmine Tipton was utilizing. Jasmine Tipton answered the phone and they talked briefly
                          then she told Martye Madkins III that Albert Banks was there and she gives the phone to
                          Albert Banks. Albert Banks and Martye Madkins III talk in reference to bonding
                          Martye Madkins III out of jail. Albert Banks told Marty Madkins III "they already have
                          the money and they are waiting for a co~signor" to bond Martye Madkins III out. Martye
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                          Madkins III asks Albert Banks the question of, "My cousin did that bullshit man?"
                          Albert Banks replied, "There was two (2) onions laying on the table". Martye Madkins
                          III said, "I'm gonna snap on they motherfucking ass".       Albert Banks told Martye
                          Madkins III that he "hurried up and slid down there".          it should be noted this
                          conversation meant there were two (2) ounces of crack cocaine on the table at Jasmine
                          Tipton's residence (227 W 14th Street Apartment #2 in Junction City, Geary County, KS)
                          and Albert Banks retrieved it hurriedly. Albert Banks also said "they" were trying to
                          bond "Dirty Dwayne" out of jail but "Dirty Dwayne's" stepfather would not co-sign to
                          get him out of jail. Detective Alvin Babcock knows "Dirty Dwayne" to be Dwayne

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                          Alexander who is a partner of Anthony Thompson, Albert Banks and Martye Madkins
                          III.
                                   70.   On 10/29/2012, Detective Alvin Babcock received a text message from CI
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                          #1 which included a text message conversation CI #1 had with Albert Banks. The text
                          message from CI #1 to Albert Banks read; "Will be out 4 sure on Friday. Will u be ready
                          for my 2200" indicating CI #1 would be in Junction City, Geary County, KS on Friday
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                          and CI #1 wanted to know if Albert Banks would have cocaine to distribute to CI #1.
                          Albert Banks simply replied back "Yep". A purchase of crack cocaine was attempted
                          but Albert Banks indicated, during a telephone conversation, that it would be a couple of
                          hours.   A couple hours later, CI #1 contacted Albert Banks once again and Albert
                          Banks indicated he was not in town (Junction City, Geary County, KS). CI #1 attempted
                          to contact Albert Banks a short time later and he did not answer his cellular telephone so
                          the attempted purchase of crack cocaine was discontinued for this date.
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                                   71.   On 10/31/2012, Detective Alvin Babcock observed a green in color Ford
                          Thunderbird being driven by Glenda Robertson in the 500 block of E 8111 Street in
                          Junction City, Geary County, KS. The vehicle traveled along multiple streets and made
                          several tums finally entering into an alleyway where Detective Alvin Babcock lost sight
                          of it. Captain Shawn Peirano of the GPPD gained sight of the vehicle traveling tlu·ough
                          the alleyway where it was last seen. Detective Alvin Babcock drove to the intersection of
                          12th and Franklin Street in Junction City, Geary County, KS and observed the vehicle
                          with Albert Banks in the front passenger seat and Glenda Robertson in the driver's seat.
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                          To the best of Detective Alvin Babcock's knowledge, at that time Albert Banks and
                          Glenda Robertson were in a domestic relationship. Detective Alvin Babcock observed
                          the vehicle tum west on 12th Street and finally stopping in front of a residence located at
                          126 W 12th Street in Junction City, Geary County, KS. Albert Banks exited the vehicle,
                          approached the residence, then walked past the building and continued toward the alley
                          where Officers lost sight of him.     Detective Alvin Babcock was aware of previous
                          information from SOI #1 who stated Albert Banks stashes or hides his cocaine in
                          random alleys where it is left until he needs it for distribution. Once Albert Banks has a
                          need for an unknown quantity of cocaine, he will proceed to the location where he had
                          hid the cocaine, obtain it and then transport it to the person/s to distribute it.    This


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                          practice is done in an effort to conceal the possession of the illegal drugs in case law
                          enforcement were to locate where Albert Banks was residing and execute a search
                          warra11t at that residence. If the illegal drugs were located in a location other than in or
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                          on property where Albert Banks resides or was located at, the drugs would not be
                          associated to him.
                                 72.     On 11/07/2012, Cl #1 contacted Detective Alvin Babcock and said he/she
                          had sent Albert Banks a text message asking him if he had any "work" for Cl # 1
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                          referring to any crack cocaine for CI #1 to purchase. Albert Banks replied back "Yep".
                          It should be noted no certain quantity of crack cocaine had been discussed or agreed up
                          on by either party as the conversation was being conducted via text messaging. Cl #1
                          arrived in Junction City, Geary County, KS and met with Agents/Officers. A controlled
                          phone call was made to Albert Banks who told CI # 1 to meet him at the same location as
                          before referring to the Comer Club located at the intersection of 12 th Street and
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                          Washington Street in Junction City, Geary County, KS.            The Affiant gave CI #1
                          $2,200.00 in US Currency to be utilized for the crack cocaine purchase.
                                 73.     Cl #1 drove to the aforementioned location and once again called Albert
                          Banks via cellular telephone to tell him CI #1 had arrived at the agreed upon location.
                          Albert Banks told CI #1 to meet him in front of the residence where he had had contact
                          with Albert Banks previously (10/24/2012) which was 126 west lih Street in Junction
                          City, Geary County, KS. CI #1 did as he/she was instructed to and upon parking, a black
                          male (later identified by Detective Alvin Babcock as Albert Banks) exited the residence
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                          and approached CI #1. Albert Banks gave Cl #1 a plastic baggie containing two (2)
                          plastic baggies each having an off white substance in them later, determined to be crack
                          cocaine. CI #1 gave Albert Banks the $2,200.00 in US Cunency and then asked Albert
                          Banks if he/she could purchase three (3) more ounces of crack cocaine in a couple of
                          days if CI #1 was able to sell this two (2) ounces. Albert Banks agreed and told CI #1 to
                          call him when he/she was ready. CI #1 left the location and met with the Affiant and
                          other Agents/Officers.
                                 74.     The Affiant took possession of the evidentiary item and later signed it over
                          to KBI TF A Vidal Campos who later submitted the evidentiary item to the KBI for



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                          analysis. The Affiant received a Forensic Laboratory Report stating cocaine base was
                          detected in Lab Item 5 and having a net weight of 56.08 grams.
                                  75.      On 11/14/2012, The Affiant and other Agents/Officers met with CI #1 for
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                          the purpose of CI #1 purchasing crack cocaine from Anthony Thompson. CI #1 had
                          been in contact with Anthony Thompson prior and had asked Anthony Thompson if
                          he/she could purchase three (3) ounces of crack cocaine from him. Anthony Thompson
                          told CI #1 he/she could as Anthony Thompson "was sitting fat right now" referring to
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                          having a large quantity of crack cocaine for distribution at that time. A negotiated price
                          of $3,300.00 for the three (3) ounces of crack cocaine was agreed upon.
                                 76.       Later this day (11/14/2012), CI #1 contacted Anthony Thompson once
                          again via cellular telephone. Anthony Thompson told CI #1 he was not in Junction
                          City, Geary County, KS at that time and would not be returning for two to two and a half
                          (2 to 2 ½) hours as he was trying to "get it" referring to attempting to obtain more
                          cocaine as he had obviously distributed all cocaine he had talked to CI # 1 about
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                          previously. . CI #1 told Anthony Thompson he/she would be waiting for him once he
                          returned. CI #1 and Anthony Thompson had contact via cellular telephone at a later
                          time at which Anthony Thompson said he wanted to meet CI #1 at the Taco Bell
                          parking lot (located at 407 W 18th Street in Junction City, Geary County, KS) once again.
                          Anthony Thompson advised CI #1 he now wanted $3,600.00 for the three (3) ounces of
                          crack cocaine.     CI #1 was able to negotiate the price down to $3,400.00 and the
                          transaction was agreed upon.
                                  77.      The Affiant gave CI #1 $3,400.00 in US Currency to complete the
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                          transaction.   CI #1 drove to the aforementioned location and waited on Anthony
                          Thompson. After a period of time, Cl #1 called Anthony Thompson once again to see
                          if was getting close to the location as earlier, Anthony Thompson told CI #1 he was in
                          Manhattan and en route to the location and suspected he would be at the location in 15
                          minutes but more time had elapsed than that. Anthony Thompson eventually arrived at
                          the location and was seen by surveillance units. Anthony Thompson entered the front
                          passenger seat of the vehicle CI #1 was driving and they began to converse. Anthony
                          Thompson gave CI #1 two (2) plastic baggies each containing an off white chunky
                          substance which was later confirmed to be crack cocaine. Anthony Thompson told CI

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                                #1 each baggie weighed one and one-half (1 ½) ounces. Anthony Thompson told Cl #1
                                they (the two packages and their contents) were still warm as he had just made it meaning
                                he had just recently converted cocaine powder to crack cocaine immediately prior to
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                                meeting with Cl #1. CI #1 gave the US Currency to Anthony Thompson and asked him
                                to count it to confirm the amount was correct to which he did.
                                            78.   Once the transaction was complete, Anthony Thompson exited the
                                vehicle and walked to the south from this location. Anthony Thompson was observed
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                                by Detective Alvin Babcock walking in the yard of a residence located at 412 Roosevelt
                                Street in Junction City, Geary County, KS but he was not seen entering the residence.
                                Although the grey in color Ford Focus he had been seen driving previously was not seen
                                near this location either. CI #1 drove to a predetermined location where he/she met with
                                Agents/Officers. CI # 1 gave the two (2) plastic baggies to the Affiant and the Affiant
                                could feel they were still warm even given the cold ambient temperature outside at the
                                time.
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                                            79.   The Affiant took possession of the evidentiary items and later transported
                                and later submitted the evidentiary items to the KBI for analysis. The Affiant received a
                                Forensic Laboratory Report stating cocaine base was detected in Lab Item 6 and having a
                                net weight of 82.95 grams.
                                            80.   On 11/30/2012, Detective Alvin Babcock was contacted by SOI #1. It is
                                unclear if Albert Banks was conversing with SOI #1 or if SOI #1 overheard a
                                conversation Albert Banks was having with someone else (on 11/30/2012) but SOI #1
 i
                                told Detective Alvin Babcock that Anthony Banks had eluded "them" (Detective Alvin
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·.!
                                Babcock and someone else) on 11/29/2012.
                                            81.   On 11/29/2012, Detective Alvin Babcock and Detective Angie Weeks
                                were in his unmarked police vehicle when they observed Albert Banks driving a silver in
                                color Dodge Stratus in the 1200 block of north Jefferson Street in Junction City, Geary
                                County, KS. Detective Alvin Babcock turned his police vehicle around in an attempt to
                                follow Albert Banks and obtain the vehicle tag number displayed on the vehicle he was
                                driving. Albert Banks turned east into an alleyway and continued at a high rate of speed
                                indicated to Detective Alvin Babcock by the cloud of dust in the alleyway. Detective
                                Alvin Babcock then observed Albert Banks run to a residence located at 126 W. 12th


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                          Street. Detective Alvin Babcock was able to observe the tag number on the grey in color
                          Dodge Stratus which was 214 EBL. Detective Alvin Babcock knows this vehicle to
                          belong to Barbara Shaw.       Detective Alvin Babcock is aware from previous law
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                          enforcement contact and recent CI conversation that Barbara Shaw (AKA "Smiley") is
                          heavily ingesting crack cocaine at the residence located at 126 ½ W. Chestnut Street in
                          Junction City, Geary County, KS.
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                                 82.      SOI #1 also told Detective Alvin Babcock a person SOI #1 knows as
                          "Ace' (known to Detective Alvin Babcock as Adrian Muse) was in Junction City, Geary
                          County, KS on 11/29/2012 and was observed with Anthony Thompson. This was the
                          first time SOI #1 had met "Ace" (Adrian Muse).       SOI #1 had received information
                          indicating Adrian Muse had been "raided" (search warrant executed at his residence) by
                          the "Feds" (Federal Law Enforcement Officers) and a stolen firearm was located. SOI #1
                          was told the "feds" issued Adrian Muse a citation for being in possession of the stolen
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                          firearm and then told Adrian Muse something about the "Cartel" and therefore Adrian
                          Muse is frightened the Cartel is looking for him. SOI #1 also advised he/she believed
                          Anthony Thompson had been supplied cocaine by Adrian Muse in the past but since
                          Adrian Muse had been "raided" by the "Feds", he hadn't supplied Anthony Thompson
                          with cocaine.
                                 83.      It should be noted, the Affiant is aware of a search warrant which had
                          been executed at a residence located at 18921 W. 160th Ten-ace in Olathe, Johnson
                          County, KS on 10/24/2012 (residence of Adrian Muse) in which a large digital scale, a
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                          Springfield Annory Xd-40 pistol (which was found to have been reported as stolen), an
                          Apple I-phone, one (1) firearm magazine and nine (9) rounds of Springfield 40 caliber
                          ammunition were seized.     This information/docun1entation is in reference to Olathe
                          Police Department case number 2012-0016325.
                                 84.      SOI #1 also told Detective Alvin Babcock that SOI #1 had heard Anthony
                          Thompson had recently drove to Kansas City (no indication whether it was Kansas City,
                          KS or Kansas City, MO) to obtain more cocaine for conversion to crack cocaine and
                          ultimately for distribution. Anthony Thompson met with an unknown cocaine supplier
                          who he gave $3,000.00 in US Cun-ency to purchase the cocaine. The unlmown supplier
                          stole the $3,000.00 from Anthony Thompson.

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                          ·ca.se<5:13'-dr~4006O~DDC ,o6cumerif346i1 Flled'06/30/14 Page 29 of 167.




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                                 85.     SOI #1 believed Anthony Thompson and Albert Banks were to be
                          obtaining two (2) ounces of cocaine on this day but it was unknown where they were
                          going to obtain it and who they were to obtain it from.
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                                 86.     SOI #1 also told Detective Alvin Babcock that Albert Banks allegedly
                          moved to a residence located behind a residence Caress Jackson resided at. Detective
                          Alvin Babcock believes Caress Jackson to reside at 235 E 3rd Street in junction City,
                          Geary County, KS. Detective Alvin Babcock knows Albert Banks and Caress Jackson
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                          have a child together.
                                 87.     On 01/22/2013, CI #1 contacted Anthony Thompson in reference to
                          purchasing crack cocaine from him on 01/23/2013 at approximately 11 :30 AM.
                          Anthony Thompson stated he would not be out of school classes until 12:00 PM. CI #1
                          asked him if they could meet at approximately 12:30 PM to which Anthony Thompson
                          agreed. Anthony Thompson asked CI #1 if he/she wanted "a whole one" referring to
                          one (1) ounce of crack cocaine to which CI #1 replied "yes". CI #1 asked Anthony
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                          Thompson if he/she could purchase the ounce of crack cocaine for $1,275.00. Anthony
                          Thompson replied, "I can't swing it right now buddy. Ain't no possible way". CI #1
                          asked if he/she could purchase it for $1,300.00 and at approximately the same time,
                          Anthony Thompson stated "whole, 14. It's going to be worth it though". CI #1 was
                          trying to negotiate a lower price for the ounce of crack cocaine but Anthony Thompson
                          stated the price would be higher and wanted $1,400.00 for it. The conversation continued
                          ending with the two of them agreeing to meet on 01/23/2013 at approximately 12:30 PM.
                                 88.     On 01/23/2013, CI #1 met with Agents/Officers and made a controlled
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                          phone call to Anthony Thompson. CI #1 asked Anthony Thompson if he was ready to
                          meet and Anthony Thompson said he was just getting out of school.              Anthony
                          Thompson went on to say, "Gotta get everything ready.        I got it ready" referring to
                          preparing the crack cocaine for distribution and then stated he had it prepared. CI # 1
                          asked Anthony Thompson where he wanted to meet at and Anthony Thompson stated
                          they could meet at the Taco Bell in approximately one (1) hour.
                                 89.     Approximately one (1) hour later, CI #1 called Anthony Thompson once
                          agam. Anthony Thompson said, "On my way there now buddy". CI #1 asked Anthony
                          Thompson if he wanted CI #1 to proceed to the meeting location. Anthony Thompson


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                          said, "No, I'm coming from Manhattan. I'll meet you on the edge (referring to the east
                          side of Junction City, Geary County, KS), that gas station by Wal-Mart (referring to the
                          Shell Travel Center located at 821 East Chestnut Street in Junction City, Geary County,
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                          KS)". CI #1 asked, "The truck stop" to which Anthony Thompson replied, "I'm about
                          two or three (2 or 3) minutes out" and the conversation ended. The Affiant gave CI #1
                          $1,400.00 in US Currency to purchase the crack cocaine.
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                                 90.     CI #1 drove to the agreed upon location and waited for Anthony
                          Thompson to arrive. Anthony Thompson eventually arrived in a vehicle being driven
                          by a black male whom Detective Alvin Babcock identified as Michael Asbury. Anthony
                          Thompson entered into the passenger side of the vehicle CI #1 was driving and the
                          $1AOO.00 was exchanged for the ounce of crack cocaine.             CI #1 asked Anthony
                          Thompson for a phone number for Albert Banks as CI # 1 had been trying to contact
                          Albert Banks but the phone number CI # 1 had for Albert Banks was not in working
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                          order anymore. Anthony Thompson said the phone number for Albert Banks was
                          (785) 375-6704. CI #1 and Anthony Thompson then departed. CI #1 was followed to a
                          pre-determined location where CI #1 met with Agents/Officers once again. CI #1 gave
                          the Affiant a clear plastic baggie with an off white chunky substance in it.
                                 91.     The Affiant took possession of the evidentiary item and later transported
                          and later submitted the evidentiary item to the KBI for analysis. The Affiant received a
                          Forensic Laboratory Report stating cocaine base was detected in Lab Item 7 and having a
                          net weight of27.22 grams.
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                                 92.     CI #1 contacted Albert Banks via cellular telephone at telephone number
                          (785) 375-6704. It should be noted this phone number was collected from a telephone
                          being used by Patricia Foy on 12/29/2012 and was listed in the contacts of the phone
                          memory as "AB" which is an alias for Albert Banks. Albert Banks answered and
                          Detective Alvin Babcock recognized the voice as that of Albert Banks. CI #1 asked
                          Albert Banks to meet him/her as CI # 1 stated he/she had some clothes for Albert banks
                          to look at. They agree to meet at the Dollar General Store located at the intersection of
                          Chestnut and Franklin Streets in Junction City, Geary County, KS. CI #1 drove to the
                          aforementioned location and a person arrived whom Detective Alvin Babcock identified
                          as Albert Banks. Albert Banks arrived in a gold in color vehicle bearing Kansas license

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                          tag 181DMY. The vehicle was found to be registered to a 2001 Buick Century with
                          Robert Thomas Keeley of 6826 Meade Loop Fort Riley, KS listed as the owner. After CI
                          #1 and Albert Banks were finished conversing, CI #1 met with Agents/Officers once
                          again at which time CI #1 stated he/she conversed with Albert Banks in reference to
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                          purchasing crack cocaine and Albert Banks told CI #1 to contact him anytime CI #1 was
                          ready and he could receive crack cocaine from him thus indicating this phone belonging
                          to Albert Banks is being used for the distribution of illegal drugs.
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                                  93.    On 02/13/2013, CI #1 met with the Affiant and other Agents/Officers in
                          reference to purchasing crack cocaine from Albert Banks. CI #1 contacted Albert
                          Banks at telephone number (785) 375-6704 and the two (2) agreed to meet at the Dollar
                          General Store located at 201 S. Franklin Street in Junction City, Geary County, KS. CI
                          #1 told Albert Banks he/she wanted to purchase one (1) ounce of crack cocaine from
                          him to which Albert Banks agreed. CI #1 arrived at the location and approximately 30
                          minutes later, CI # 1 contacted Albert Banks who said he was en route to the location.
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                          Approximately 35 minutes later, Albert Banks arrived and met with CI #1.                This
                          transaction was recorded on    acovert electronic audio/video device. Albert Banks got
                          into the passenger side of the vehicle CI # 1 was driving and shortly thereafter a white
                          female approached Albert Banks. Albert Banks told the white female, who was later
                          identified as Kari Stutheit, to get back into her vehicle (which was a silver in color
                          Mitsubishi Eclipse) to which she did. The transaction between CI #1 and Albert Banks
                          ensued at which time Albert Banks told CI #1 the quantity of crack cocaine would be
                          cheaper in price ($1,250.00) as it was "3 off" meaning the weight was 25 grams instead
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                          of the 28 grams earlier agreed upon.       The transaction concluded and CI # 1 left the
                          location to meet with the A:ffiant.
                                  94.    Albert Banks was observed getting out of CI #1 's vehicle by SSA
                          Amanda Young and KBI TFA Vidal Campos. They observed Albert Banks approach
                          the white female earlier identified as Kari Stutheit sitting in the vehicle she drove to this
                          location in. SSA Amanda Young and TFA Vidal Campos observed what they described
                          as a hand-to-hand transaction between Kari Stutheit and Albert Banks. This refers to
                          Albert Banks selling Kari Stutheit crack cocaine.



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                                  95.    Surveillance members observed Albert Banks enter into a dark in color
                          Ford Focus bearing Kansas license tag 781FDR which was registered to Karen Johnson.
                          Detective Alvin Babcock stated he notes Karen Johnson as being involved in the drug
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                          trade in Junction City, Geary County, KS area.
                                 96.     When CI #1 met with the A:ffiant, he/she gave the Affiant the evidentiary
                          item he/she purchased from Albert Banks. This was described as a clear plastic baggie
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                          containing an off white substance. The Affiant took possession of the evidentiary item
                          and later completed an Evidence Custody Receipt and signed the item over to SSA
                          Amanda Young to transport to the KBI Evidence Control Center to be held for analysis.
                          97. The Affiant received a Forensic Laboratory Report stating cocaine base was detected
                              in Lab Item 8 and having a net weight of24.63 grams.
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                                                       CONFIDENTIAL SOURCES


                                 98.     To date, there are two cooperating individuals (Cl's) that have been
                          developed and assisting in the investigation. Only one of the CI' s has been able to
                          infiltrate this organization actively. This particular CI has been able to make purchases
                          of crack cocaine from only certain persons involved in this organization. Multiple crack
                          cocaine purchases have been made beginning with small amounts of crack cocaine with
                          progressively larger purchases being made up to three ounces in quantity. Although this
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                          particular CI has been able to gain limited trust from these individuals, the full scope of
                          the organization, the persons involved and the source of supply have not been identified
                          as is doubtful this information will be identified due to the guarded nature of the
                          distribution ring and the source of supply. Early within the investigation, it was hoped
                          purchasing larger quantities of crack cocaine would afford law enforcement the ability to
                          identify the source of supply but as of this date, that has not been available as Anthony
                          Thompson and Albert Banks have been able to supply the quantities requested,
                          therefore it is the belief of law enforcement that the source of supply would not be
                          identified to law enforcement utilizing this traditional means of investigation. Others
                          within this distribution organization will likely never be identified as the CI has reached

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                               the upper echelon of this organization, therefore, others distributing crack cocaine for
                               Anthony Thompson and Albert Banks will likely not ever be identified to this CI.
                                       99.    The other CI has indicated an unwillingness to be identified or testify in
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                               court for fear of his/her physical safety. Fear not only of Anthony Thompson and Albert
                               Banks, but also of others associated with the organization. This CI is unwilling to make
                               purchases from any of the individuals and therefore provides limited information related
                               to this organization.
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                                       100.   A person whom has been identified as a Source of Information has been
                               developed but once again has very limited knowledge of the organization therefore
                               making it difficult to corroborate all the information the SOI is receiving. Much of the
                               information the SOI receives is dated information as it is learned by the SOI after the
                               fact. This SOI has also indicated an unwillingness to be identified or testify in court for
                               fear of his/her physical safety
                                      101.    No other cooperating individuals have been developed and none are
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                               anticipated to be developed to assist in this investigation due to the inherent risks of
                               bodily harm that persons have expressed may occur if they were to assist in the arrest of
                               Anthony Thompson, Albert Banks or any of their co-conspirators. Due to the structure
                               and loyalty of the members of this organization, it is unlikely that any other CI' s can, or
                               will be, developed from those who associate with or are members of this organization.


                                                PEN REGISTER INFORMATION AND ANALYSIS
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                                      102.    To further the investigation, Pen Register was initiated on the target phone
                               number (785) 375-6704 pursuant to a Kansas Court Order.            The Affiant was aware
                               Albert Banks used the telephone for illegal drug transactions, as purchases CI # 1 made
.I
                               from Albert Banks were arranged over the telephone. In February 2013, Af:fiant began
                               receiving Pen Register information for the telephone number (785) 375-6704, for a
 I                             period of time from 02-09/2013 to 02/22/2013. The subscriber information was obtained
                               through the official phone provider business records. This particular phone is what is
                               known as an Individual Boost Prepaid Account phone and is utilized through Sprint
                               Nextel. The subscriber information indicated this phone has no name associated with it


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                          as a subscriber but the Affiant knows it to be used by Albert Banks through this
                          investigation. This type of phone service does not require a positive identification by the
                          subscriber prior to the authorization.
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                                  103.    The Pen Register for the 14 days indicated 2,224 total phone calls and
                          3,658 text messages were recorded Of the 2,224 total phone calls; 1,640 were incoming
                          calls with 582 outgoing and 2 unknown to the phone number. The records show 170
                          separate phone numbers were either dialed or dialed into the target phone number. The
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                          average number of calls/text messages per day was 420. The average length of incoming
                          call in duration was 40 seconds and the average length of outgoing call in duration was 1
                          minute and 02 seconds which does not include text messages sent or received as those
                          means of communication do not record any minute usage. The Affiant is aware through
                          experience and training that many calls involving illegal drug transactions are of short
                          duration. Toe short duration of those phone calls occurring on the target phone is
                          indicative of illegal drug transactions.
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                                  104.   Of the 170 phone numbers only 49 of them have been identified or are
                          believed to have been identified, thus far in the investigation. Of these 49 identified
                          phone numbers, 41 of the known (or believed to be identified) subscribers named are
                          known associates of Albert Banks and/or have past arrests for narcotics violations.


                                       TELEPHONE SUBSCRIBER INFORMATION OF INTEREST


                                  105.   On 02/09/2013, a Pen Register was initiated on telephone number (785)
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                          375-6704. The following phone numbers, frequency of calls/text messages, and
                          subscriber information is detailed below. This is not an inclusive list, but a list of
                          frequently dialed numbers and criminal information related to the subscriber; or in some
                          cases the person believed to be actually utilizing the particular telephone as some of the
                          phone numbers subpoenaed had no subscriber attached to the phone. This is indicative of
                          a pay-as-you-go type phone, which do not require a person to list their actual name and in
                          some cases no name is required at all to activate the phone. In some cases the phone was
                          in the name of a person (as the subscriber) which was other than the actual person using
                          the phone.

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                                  106.     The phone number (785) 717-9386 was indicated a total of 299 times from
                          02/09/2013 to 02/22/2009. This phone number was subpoenaed but as of 02/22/2012 the
                          subscriber information had not been provide by the phone carrier. Therefore, the identity
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                          of the person this phone was subscribed to is unknown.
                                  107.     The phone number (785) 789-2019 was indicated a total of 309 times from
                          02/09/2013 to 02/21/2009. This phone number was subpoenaed but as of 02/22/2012 the
                          subscriber information had not been provide by the phone carrier. Therefore, the identity
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                          of the person this phone was subscribed to is unknown.
                                  108.     The phone number (785) 317-7682 was indicated a total of 151 times from
                          02/09/2013 to 02/19/2013. The subscriber information shows this phone registered to
                          Angela Foy, W/F DOB 04/12/1933 but is believed to be used by Patricia Foy (Park), W/F
                          DOB                   Patricia Foy has the following criminal history indicating arrests.
                          02/28/2002       Possession of opiates,   opium    or narcotic    drugs;   possession of
                          depressants/stimulants/hallucinogenics/anabolic    steroids;   possession of controlled
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                          substances or drug paraphernalia 05/15/2002 Possession of opiates, opium or narcotic
                          drugs; possession of simulated controlled substances or drug paraphernalia. 06/27/2006
                          Possession of opiates, opium or narcotic drugs. 03/14/2007 theft. 08/24/2007 Sale etc. of
                          opiates, opium, or narcotic drugs; possession of paraphernalia to grow, distribute
                          marijuana.       07/29/2008 Conspiracy to aiding a felon; conspiracy theft; burglary.
                          08/06/2008 Probation violation.      06/27/2009 Domestic battery; disorderly conduct;
                          criminal restraint. 09/22/2011 Possession of opiates, opium or narcotic drugs; possession
                          of simulated controlled substances or drug paraphernalia. 12/29/2011 Theft. It should be
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                          noted; Patricia Foy was arrested on December 29, 2012 by the Junction City Police
                          Department and was in possession of a cellular telephone (believed to be the phone
                          having this telephone number but not confinned) which had telephones numbers for
                          Anthony Thompson and Albert Banks which are the same telephone numbers
                          mentioned in this affidavit.      Other phone numbers for persons involved in this
                          investigation were also found within the cellular telephone which indicates association
                          between Patricia Foy, Anthony Thompson, Albert Banks, and others mentioned in this
                          investigation.    Some of the persons phone numbers found in the phone were; Jason
                          Dixon, Richard Verkerke, Sammy Pleas, Delantis Hairston, Linnie Sanders, Jason

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                          Roberts (which was the name used as the subscriber for the phone in the possession of
                          Anthony Thompson), Charles Foster, Gevonni Davis, Kenneth Wayne Bellamy, Akwete
                          Burd and Felix Jenkins.
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                                  109.   The phone number (904) 994-1672 was indicated a total of 167 times from
                          02/09/2013 to 02/21/2013. The subscriber information shows this phone registered to
                          Tiffany Young, W / - Tiffany Young has the following criminal history
                          indicating arrests. 09/12/2001 Giving a worthless check<$500.00. No other criminal
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                          history was found for Tiffany young and she is unknown to the JCPD.
                                  110.   The phone number (316) 347-0088 was indicated a total of 164 times from
                          02/09/2013 to 02/22/2013. This phone number was subpoenaed and was listed as a
                          "Phone in the box" with no subscriber information available meaning the person
                          activating the phone was not required to provide a name or any type of identification for
                          activation.
                                         The phone number (785) 317-1453 was indicated a total of 132 times from
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                                  111.
                          02/09/2013 to 02/21/2013. The subscriber information shows this phone registered to
                          Tom Stutheit, W/M DOB ~ u t is believed to be used by Kari Stutheit, W/F
                          DOB -                Kari Stutheit has the following criminal history indicating arrests.
                          04/16/1994 giving a worthless check. 12/04/1997 Possession of simulated controlled
                          substances or drug paraphernalia. 12/08/1999 Failure to appear. 02/16/2000 Prostitution.
                          02/17/2000 Prostitution; failure to appear. 06/23/2001 Driving under influence of alcohol
                          or drugs. 03/10/2002 Driving while license cancelled/suspended/revoked. 09/13/2007
                          Driving under influence of alcohol or drugs. On 02/13/2013, Kari Stutheit was observed
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                          with meeting with Albert Banks when he sold crack cocaine to CI #1 and she was
                          believed to obtain crack cocaine from Albert Banks as well at that time.
                                  112.   The phone number (785) 418-4926 was indicated a total of 115 times from
                          02/09/2013 to 02/21/2013.      This phone number was subpoenaed and no subscriber
                          information was available meaning the person activating the phone was not required to
                          provide a name or any type of identification for activation.
                                  113.   The phone number (785) 226M 1783 was indicated a total of 116 times from
                          02/09/2013 to 02/21/2013. The subscriber information shows this phone registered to
                          Jason Roberts but is known, through this investigation to belong to Anthony Thompson,

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                          B/M DOB -                     who has been detailed throughout this affidavit.    Anthony
                          Thompson has the following criminal history indicating arrests.           09/12/2000 Felony
                          possession of paraphernalia.        11/07/2001 Domestic battery; criminal threat; criminal
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                          trespass. 02/16/2002 Possession with the intent to sell/sale etc within 1000' of school
                          property; obstruction legal process or official duty in misdemeanor case; no drug tax
                          stamp.           06/18/2002     Probation    violation.      06/28/2002     Possession   of
                          depressant/stimulants/hallucinogenics/steroids.            12/24/2002      Possession    of
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                          depressant/stimulants/hallucinogenics/steroids; violation of a protective order; aggravated
                          burglary.       02/25/2003 Sale etc. of opiates, opium or narcotic drugs.        06/15/2007
                          Conspiracy sale or possession with the intent to sell stimulant; sale, offer
                          depressants/hallucinogenics/stimulants/anabolic steroids. 06/25/2010 driving under the
                          influence of alcohol or drugs.       12/05/2010 Obstructing legal process or official duty.
                          07/01/2012 Domestic battery.
                                   114.     The phone number (785) 210~4680 was indicated a total of 91 times from
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                          02/09/2013 to 02/19/2013. This phone number was subpoenaed and was listed as a
                          "Phone in the box" with no subscriber information available meaning the person
                          activating the phone was not required to provide a name or any type of identification for
                          activation.
                                   115.     The phone number (785) 307-2624 was indicated a total of 93 times from
                          02/09/2013 to 02/21/2013. The subscriber information shows this phone registered to
                          Carmean Ridley, B/F DOB                          No criminal history was located for this
                          subscriber. It is not known whether this person is using the phone or has obtained the
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                          phone for use by someone else.
                                   116.     The phone number (785) 727-5196 was indicated a total of 125 times from
                          02/09/2013 to 02/22/2013. This phone number was subpoenaed and listed T-Mobile as
                          the carrier with no subscriber information available meaning the person activating the
                          phone was not require to provide a name or any type of identification for activation.
                                   117.     The phone number (785) 307-8346 was indicated a total of 55 times from
                          02/09/2013 to 02/22/2013. The subscriber information shows this phone registered to
                          Charles with no last name provided. Charles is believed to be Charles Foster according
                          to JCPD records. This phone number was found in Patricia Foy's phone when she was

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                          arrested on 12/29/2012 and listed as Charles as well.   Charles Foster has the following
                          criminal history indicating arrests. 06/15/1991 Possession of opiate, opium or narcotic
                          drugs.    09/11/1992 Sale etc. opiates, opium or narcotic drugs.    01/20/1995 Sale etc.
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                          opiates, opium or narcotic drugs; no drug tax stamp. 04/19/2001 possession of simulated
                          controlled substances or drug paraphernalia; possession of paraphernalia to grow,
                          distribute marijuana. 03/04/2003 Possession of simulated controlled substances or drug
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                          paraphernalia; possession of opiates, opium or narcotic drugs; possession of
                          depressant/stimulants/hallucinogenics/steroids. 12/18/2008 Conspiracy to possess with
                          the intent to sell, sale, etc. within 1000' of a school; attempt to arrange sale/purchase
                          using communication facility for drug; no drug tax stamp for marijuana or controlled
                          substance. On 08/31/2012, CI #1 made a purchase of crack cocaine from Charles Foster
                          and Anthony Thompson.
                                   118.   The phone number (785) 761-7975 was indicated a total of 65 times from
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                          02/09/2013 to 02/21/2013. The subscriber information shows this phone registered to
                          Norma Mohammed, B/F DOB                         No criminal history was located for this
                          subscriber. It is not known whether this person is using the phone or has obtained the
                          phone for use by someone else.
                                   119.   The phone number (785) 717-9028 was indicated a total of 81 times from
                          02/10/2013 to 02/21/2013. The subscriber information shows this phone registered to
                          Elisa Davis, B/F DOB -               Elisa Davis has the following criminal history for
                          arrest. 01/02/2007 Criminal damage to property.
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                                   120.   The phone number (785) 492~9602 was indicated a total of 40 times from
                          02/11/2013 to 02/19/2013.      The subscriber information shows this phone to be a
                          TracFone with no subscriber information available.
                                   121.   The phone number (954) 649-5125 was indicated a total of 54 times from
                          02/09/2013 to 02/21/2013. The subscriber information shows this phone registered to
                          John Dichiarra but the investigation has shown the phone to be used by Gevonni Davis,
                          B/M D O B - This phone number was found in Patiicia Fay's phone when she
                          was arrested on 12/29/2012 and listed as Javontae. Gevonni Davis has been indicated
                          earlier in this affidavit as to his involvement in distribution of crack cocaine with
                          Anthony Thompson, Martye Madkins III and CI #1. Gevonni Davis has the following

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                                                                                                                       276
                          criminal history indicating arrests. 12/31/2000 Giving a worthless check. 03/12/2004
                          Unlawful removal of theft detection device. 01/06/2012 Making false information; theft.
                          05/14/2012 Failure to appear.
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                                    122.     The phone number (785) 761-6510 was indicated a total of 55 times from
                          02/10/2013 to 02/21/2013.         The subscriber information shows this phone to be a
                          TracFone with no listed person as the subscriber.
                                             The phone number (785) 375-3222 was indicated a total of 45 times from
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                                    123.
                          02/09/2013 to 02/21/2013. The subscriber information shows this phone registered to
                          Nance with no last name provided. According to the JCPD this phone is used by Jason
                          Dixon. This phone number was found in Patricia Foy's phone when she was arrested on
                          12/29/2012 and listed as Nance as well. On 09/27/2012, CI #1 had cellular telephone
                          contact with Jason Dixon B/M D O B ~ i n g telephone number (785) 375~3222
                          at which time, Jason Dixon sold CI #1 crack cocaine. Jason Dixon has the following
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                          criminal history indicating arrests. 10/14/1999 Aggravated battery; rape. 03/14/2000
                          Attempt to commit aggravated criminal threat causing loss >$500.00<$25,000.00.
                          07/24/2000 Criminal threat.       04/30/2002 Probation violation.   08/01/2002 Failure to
                          appear.          10/07/2002 Failure to appear.       3/28/2003   Battery; possession of
                          depressant/stimulants/hallucinogenics/steroids.        03/06/2004     Domestic    battery.
                          04/14/2004 Failure to appear on a misdemeanor.            05/13/2004 Failure to appear.
                          12/27/2004 failure to appear on a misdemeanor.             03/05/2005 Domestic battery.
                          03/25/2005 failure to appear. 05/02/2005 Domestic battery. 05/24/2005 Aggravated
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                          battery. 07/26/2005 Violation of a protective order. 10/13/2005 Probation violation.
                          11/07/2005 Violation of a protective order. 11/14/2005 Probation violation. 05/25/2006
                          Failure to appear on a misdemeanor; probation violation.            09/07/2006 Probation
                          violation. 09/29/2006 Disorderly conduct. 05/31/2008 Failure to appear X2; aggravated
                          failure to appear; probation violation. 08/16/2011 Failure to appear. 02/17/2012 failure
                          to appear.
                                    124.     The phone number (785) 492-0021 was indicated a total of 32 times from
                          02/09/2013 to 02/18/2013.         The subscriber information was subpoenaed but as of
                          02/22/2013, the subscriber information had not been obtained.



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                                     125.   The phone number (785) 317-1591 was indicated a total of 53 times from
                          02/09/2013 to 02/20/2013.       The subscriber information was subpoenaed but as of
                          02/22/2013, the subscriber information was not available.
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                                     126.   The phone number (785) 317-1281 was indicated a total of 39 times from
                          02/09/2013 to 02/22/2013. The subscriber infonnation shows this phone registered to
                          Jalisa Carson, B/F DOB -                   who resides at 2035 Fort Riley Boulevard,
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                          Manhattan, Kansas.        Jalisa Carson reported suspicious activity at the aforementioned
                          address on 01/11/2013 and provided law enforcement with this phone number as
                          belonging to her. Jalisa Carson resides with Anthony Thompson and they have a child
                          together. Jalisa Carson has the following criminal history indicating arrests. 06/18/2004
                          Contempt of court indirect X2. 07/14/2004 Battery. 07/16/2004 Probation violation.
                          01/21/2007 Aggravated assault; battery; operating a motor vehicle without a valid
                          license.
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                                     127.   The phone nmnber (785) 307-2000 was indicated a total of 31 times from
                          02/09/2013 to 02/20/2013. The subscriber information shows this phone registered to
                          Kriste Lienberger, WIF D O B - Kriste Lienberger has the following criminal
                          history indicating arrests.     03/08/1995 Battery.    10/24/1997 Forgery.     10/02/2003
                          Delivery manufacture drug paraphernalia other; possession of simulated controlled
                          substances or drug paraphernalia; attempted sale of opiates, opium or narcotic drugs.
                          10/06/2006 Use or possess drug paraphernalia to introduce in human body. 06/01/2007
                          Failure to appear. 12/20/2007 Domestic battery against a family household member;
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                          criminal damage to property. 05/15/2008 Probation violation. 05/15/2008 Failme to
                          appear. 09/18/2008 Criminal threat. 10/08/2008 Probation violation. 01/15/2009 Failme
                          to appear. 02/15/2009 Failure to appear. 08/04/2009 Failme to appear. 09/08/2009
                          Failure to appear.
                                     128.   The phone number (785) 223-1181 was indicated a total of 43 times from
                          02/11/2013 to 02/22/2013.       This phone number was subpoenaed and found to have
                          Verizon as the carrier with no subscriber information available meaning the person
                          activating the phone was not required to provide a name or any type of identification for
                          activation.



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                                                                                                                      278
                                  129.   The phone number (785) 317-0425 was indicated a total of 26 times from
                          02/09/2013 to 02/19/2013. The subscriber information shows this phone registered to
                          Jalisa Carson B/F D O B - however it is believed Kathy Carson B/F DOB
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                          06/03/1954 (the mother of Jalisa Carson) may be using this telephone. Kathy Carson has
                          the following criminal history indicating arrests. 04/16/1996 Possession of cocaine with
                          the intent to sell; possession of drug paraphernalia; obstruction of official duty;
                          possession of marijuana.
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                                  130.   The phone number (785) 375-6921 was indicated a total of 24 times from
                          02/11/2013 to 02/18/2013. The subscriber information shows this phone registered to
                          Sheilaa Scott, B/F D O B - Sheilaa Scott has the following criminal history
                          indicating arrests.        01/07/1989 Aggravated assault on law enforcement officer.
                          10/08/1994 Worthless checks.        04/10/1995 Four (4) counts forgery.       10/30//1997
                          Criminal threat; violation of conditions of bond. 03/03/1998 Theft by deception; making
                          false writing. 08/1711998 Obstruction. 02/11/1999 Possession of controlled substance.
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                          08/26/1999 Worthless check and Failure to appear.       12/15/2000 Probation violation.
                          01/23/2001 Theft and forgery.        08/18/2001 Theft and three (3) counts of forgery.
                          12/03/2001 Probation violation. 04/07/2003 Probation violation. 07/03/2004 Violation of
                          a protective order; criminal damage to property. 08/21/2004 Violation of a protective
                          order; intimidation of a victim or witness; criminal damage to property. 08/31/2004
                          Forgery; theft.       05/13/2005 Probation violation.   10/01/2005 Probation violation.
                          05/19/2006 Harassment by telephone and Terroristic threat.        06/22/2006 Probation
                          violation. 08/04/2007 Criminal threat; violation of a protective order; harassment by
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                          telephone. 08/30/2007 Violation of a protective order. 10/01/2011 Aggravated battery.
                                 131.    The phone number (785) 375-3247 was indicated a total of 21 times from
                          02/10/2013 to 02/19/2013. The subscriber information shows this phone registered to
                          Shenna Bronson, B/F D O B - Shenna Bronson was arrested on 11/30/2012 for
                          Domestic battery; no other criminal history was located for Shenna Bronson.
                                 132.    The phone number (785) 717-9676 was indicated a total of 25 times from
                          02/15/2013 to 02/20/2013.        The subscriber information was subpoenaed but as of
                          02/22/2013, the subscriber information had not been obtained.



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                                                                                                                        279
                                   133.   The phone number (785) 317-0145 was indicated 20 times from
                          02/09/2013 to 02/12/2013. The subscriber information shows this phone registered to
                          Sarah Forrest B/F DOB                    Sarah Forrest has the following criminal history
                                                                            08/06/2008         Possession         of
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                          indicating          arrests.
                          depressant/stimulants/hallucinogenics/steroids; Possession of opiates, opium or narcotic
                          drugs.
                                   134.   The phone number (785) 317-1164 was indicated a total of 23 times from
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                          02/10/2013 to 02/19/2013.      This phone number was subpoenaed and found to be a
                          prepaid phone with no listed person as the subscriber.         In the early stages of the
                          investigation, Albert Banks was the user of this phone as it had been used by CI #1 to
                          contact Albert Banks. The phone use was discontinued as minutes had not been added
                          to it for approximately 1 ½ months. At that time, Albert Banks obtained another phone
                          (the one he is currently using). In late January, 2013, the previous phone was re-activated
                          once again but it is believed Albert Banks is not using it consistently and may have
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                          provided this phone to another person/s to use. Per the subpoena, no name is associated
                          with this phone meaning the person activating the phone was not required to produce any
                          identification or a name to activate the phone.
                                   135.   The phone number (785) 226-5278 was indicated a total of 31 times from
                          02/09/2013 to 02/20/2013. This phone number was subpoenaed and listed T-Mobile as
                          the carrier with no subscriber information available meaning the person activating the
                          phone was not require to provide a name or any type of identification for activation.
                                   136.   The phone number (913) 240-4047 was indicated a total of 28 times from
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                          02/09/2013 to 02/21/2013. The subscriber infonnation shows this phone registered to
                          Corress Jackson (actually Caress Jackson), B ~ Caress Jackson has the
                          following criminal history indicating anests. 08/18/2008 Theft. 05/24/2011 Possession
                          of certain hallucinogenic drugs. 11/22/2011 Probation violation.
                                   137.   The phone number (785) 477-7560 was indicated a total of 18 times from
                          02/10/2013 to 02/21/2013. This phone number was subpoenaed and listed AT&T as the
                          carrier with no subscriber information available meaning the person activating the phone
                          was not require to provide a name or any type of identification for activation.



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                                    138.      The phone number (785) 338-4149 was indicated a total of 19 times from
                          02/12/2013 to 02/18/2013. This phone number was subpoenaed and listed T-Mobile as
                          the canier but as of 02/22/2013, the subscriber infom1ation has not been obtained.
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                                    13 9.     The phone number (785) 307-9731 was indicated a total of 28 times from
                          02/15/2013 to 02/20/2013. The subscriber information shows this phone registered to
                          Felix. It is believed the phone is being used by Felix Vinson, B/M
                          according to the JCPD. This phone number was found in Patricia Fay's phone when she
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                          was arrested on 12/29/2012 and listed as Felix as well. Felix Vinson has the following
                          criminal history indicating arrests for. 09/30/1995 Driving while license suspended or
                          revoked; willful obstruction of law enforcement officers. 05/30/2002 Breaking and/or
                          entering (felony) with force; larceny after break/enter $200.00 and up.                08/26/2002
                          Larceny misdemeanor $50.00 - $199.00.                 01/03/2003 Unauthorized use of a motor
                          vehicle; possession of drug paraphernalia; cairying a concealed weapon - other; driving
                          while license revoked.            09/19/2003     Unauthorized use of a motor vehicle;
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                          fugitive/extradition other state. 09/07/2004 Extradition/fugitive other state. 11/21/1989
                          Felony theft; conspiracy to commit theft - felony.                    05/21/1990 Wairant arrest.
                          07/21/1991 Probation violation.        09/26/1991 Burglary unknown structure; theft value
                          unknown. 03/30/1992 Attempted burglary unknown structure. 12/15/1992 Contempt of
                          court indirect. 04/04/1993 Driving under influence of alcohol or drugs; transporting an
                          open container. 05/28/1993 Contempt of court indirect. 07/16/1993 Prison inmate under
                          control of Kansas DOC; theft; attempted burglary unknown structure.                    04/24/1994
                          Sale/etc., opiates, opium or narcotic drugs.            11/25/1994 Driving under influence of
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                          alcohol or drugs.           03/05/1995 Failure to appear.             03/05/1995 Possession of
                          depressant/stimulants/hallucinogenics/steroids; Possession of opiates, opium or narcotic
                          drugs; Possession of simulated controlled substances or drug paraphernalia. 03/16/1995
                          Possession of depressant/stimulants/hallucinogenics/steroids; Possession of opiates,
                          opium or narcotic drugs.         10/26/1995 Failure to appear.         05/27/1996 Driving while
                          license           cancelled/suspended/revoked.               08/17/1996        Possession      of
                          depressant/stimulants/hallucinogenics/steroids;          Possession     of simulated    controlled
                          substances or drug paraphernalia. 09/16/1996 Probation violation. 01/29/1997 Failure to
                          appear.       07/07/2003 Possession of paraphernalia to grow, distribute marijuana;


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                          Possession of depressants/stimulants/hallucinogenics/anabolic steroids.         12/08/2003
                          Aggravated failure to appear. 12/15/2003 Failure to appear. 12/23/2003 Possession of
                          stolen property value over $500.00. 03/08/2004 Obstructing legal process or official
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                          duty.      02/17/2004 Failure to appear.        03/08/2004 Obstructing legal process in
                          misdemeanor case; theft. 10/14/2004 Theft value $25,000.00 to <$100,000.00; probation
                          violation; failure to appear. 11/18/2004 Probation violation. 12/22/2004 Prison inmate
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                          under control of Kansas DOC Possession of paraphernalia to grow, distribute marijuana.
                          11/15/2007 Operating a motor vehicle without valid license; Possession of opiates, opium
                          or narcotic drugs.       04/27/2008 Contempt of court indirect.      05/19/2009 Forgery;
                          attempted theft; criminal use of weapons. 09/16/2009 Aggravated assault; possession of
                          simulated controlled substances or drug paraphernalia. 04/15/2010 Probation violation.
                          04/29/2010 Probation violation. 12/18/2010 Probation violation. 03/22/2012 Failure to
                          appear. 11/06/2012 Obstructing legal process in misdemeanor case; criminal trespass.
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                                    140.    The phone number (785) 317~0015 was indicated a total of 20 times from
                          02/13/2013 to 02/18/2013. This phone number was subpoenaed and listed I-Mobile as
                          the carrier with no subscriber information available meaning the person activating the
                          phone was not require to provide a name or any type of identification for activation.
                                    141.    The phone number (773) 572-9143 was indicated a total of 15 times from
                          02/10/2013 to 02/11/2013. This phone number was subpoenaed but as of 02/22/2013, the
                          subscriber information had not been obtained.
                                    142.    The phone number (785) 226-1283 was indicated a total number of 33
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                          times from 02/09/2013 to 02/21/2013.          The subscriber information shows this phone
                          registered to Wig. This phone number was found in Patricia Foy's phone when she was
                          arrested on 12/29/2012 and listed as Wig as well. According to the JCPD, this person is
                          also known as Linnie Sanders B/M D O B - Linnie Sanders has the following
                          criminal history indicating arrests. 04/28/2001 Possession of marijuana <= 5 pounds >4
                          ounces.          10/19/2001   Escape   from     custody.     08/01/2004    Possession   of
                          depressant/stimulants/hallucinogenics/steroids, 01/10/2006 Battery; Criminal damage to
                          property. 01/31/2006 Battery; Criminal damage to property. 03/09/2006 Sale etc. of
                          opiates, opium or narcotic drugs.



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                                                                                                                     282
                                 143.    The phone number {830) 600-1020 was indicated a total of 20 times from
                          02/09/2013 to 02/22/2013. This phone number was subpoenaed and as of 02/22/2013,
                          the subscriber information had not been obtained.
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                                 144.    The phone number {785) 830-0001 was indicated a total of 17 times from
                          02/09/2013 to 02/22/2013. This phone number was subpoenaed and found to be have
                          AT&T as the carrier but as of 02/22/2013, the subscriber information had not been
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                          obtained.
                                 145.    The phone number {785) 209-4155 was indicated a total of 13 times from
                          02/21/2013 to 02/22/2013. This phone number was subpoenaed and as of 02/22/2013,
                          the subscriber information had not been obtained.
                                 146.    The phone number {202) 802-1577 was indicated a total of 13 times from
                          02/09/2013 to 02/20/2013. The subscriber information shows this phone registered to
                          Korena Scheible, WIF                            No criminal history was located for this
                          subscriber. It is not known whether this person is using the phone or has obtained the
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                          phone for use by someone else.
                                 147.    The phone number (785) 375-0822 was indicated a total of 12 times from
                          02/10/2013 to 02/17/2013. The subscriber information shows this phone registered to
                          Kelly Vargas, W/F D O B - Kelly Vargas has the following criminal history
                          indicating arrests.   09/05/2004 Driving under the influence of alcohol or drugs.
                          07/11/2006 Obstructing legal process in misdemeanor case; disorderly conduct.
                          09/10/2006 Possession of depressant/stimulants/hallucinogenics/steroids.      09/21/2006
                          Sale of opiates, opium or narcotic drugs. 11/09/2006 Probation violation. 11/15/2006
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                          Warrant arrest. 04/28/2012 Driving under the influence of alcohol or drugs.
                                 148.    The phone number (830) 615-1200 was indicated a total of 16 times from
                          02/09/2013 to 02/20/2013. This phone number was subpoenaed and found to be an
                          AT&T phone. As of 02/22/2013 the subscriber information had not been obtained.
                                 149.    The phone number (785) 209-8842 was indicated a total of 12 times from
                          02/09/2013 to 02/20/2013. The subscriber information shows this phone registered to
                          John Brown B/M D O B - . John Brown has the following criminal history
                          indicating arrests. 09/06/1999 required obedience to lawful order of police officer or
                          fireman. 05/07/2003 Domestic battery. 01/22/2004 Probation violation. 02/20/2004

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                          Failure to appear. 05/14/2004 Possession of simulated controlled substance or drng
                          paraphernalia.     12/16/2004 Weapon offense - prohibited person possession :firearm.
                          05/10/2005 Possession of depressant/stimulants/hallucinogenics/steroids.       10/19/2005
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                          Possession of a forearm by a prohibited person.        02/17/2008 Failure to appear X2.
                          05/06/2009 Failure to appear.     06/09/2010 Failure to appear.     03/08/2011 Failure to
                          appear.
                                    150.   The phone number (785) 210-9767 was indicated a total of 9 times from
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                          02/12/2013 to 02/13/2013. This phone number was subpoenaed and listed as a TracFone
                          with no subscriber information available.
                                    151.   The phone number (785) 764-8628 was indicated a total of 10 times from
                          02/14/2013 to 02/18/2013. This phone number was subpoenaed but as of 02/22/2013, the
                          subscriber information had not been obtained.
                                    152.   The phone number (785) 375-3822 was indicated a total of 8 times from
                          02/14/2013 to 02/15/2013. The subscriber information shows this phone registered to
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                          Michael Asbury, B/M D O B - Michael Asbury has the following criminal
                          history indicating arrests. 02/01/2005 Theft; possession of opiates, opium or narcotic
                          drugs; possession of simulated controlled substances or drug paraphemalia. 08/05/2005
                          Probation violation.
                                    153.   The phone number (785) 226-3233 was indicated a total of 8 times from
                          02/10/2013 to 02/20/2013. This phone number was subpoenaed and listed T-Mobile as
                          the carrier with no subscriber information available meaning the person activating the
                          phone was not require to provide a name or any type of identification for activation.
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                                    154.   The phone number (785) 210-0277 was indicated a total of 7 times from
                          02/09/2013 to 02/13/2013. The subscriber information shows this phone registered to
                          Elizabeth Heaven, B/F DOB -                 Elizabeth Heaven has the following criminal
                          history indicating arrests.   08/05/2006 Disorderly conduct; receive stolen property;
                          damage property-criminal mischief; making a false report.               10/04/2003 Theft.
                          10/07/2003 Possession of stolen property less than $500.00. 02/01/2004 Transporting an
                          open container. 05/19/2007 Probation violation. 02/24/2008 Possession of paraphernalia
                          to grow, distribute marijuana; Possession of opiates, opium or narcotic drugs.
                          01/01/2010 Aggravated assault; criminal threat; domestic battery.

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                                  155.    The phone number (785) 762-5471 was indicated a total of 7 times on
                          02/19/2013. This phone number was subpoenaed with the subscriber listed as Jerome
                          Kirksey. No criminal history has been located for Jerome Kirksey.
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                                  156.    The phone number (785) 307-3123 was indicated a total of 6 times from
                          02/09/2013 to 02/10/2013. This phone number was subpoenaed but as of 02/22/2013, the
                          subscriber information had not been obtained.
                                          The phone number (316) 806-2831 was indicated a total of 7 times from
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                                  157.
                          02/10/2013 to 02/20/2013. The subscriber information shows this phone registered to
                          Dejuan Gonzales, B/F D O B - Dejuan Gonzales has the following criminal
                          history indicating arrests. 08/29/1998 Sale, offer depressants/hallucinogenics
                          /stimulants/anabolic steroids; Possession of simulated controlled substances or drug
                          paraphernalia. 11/10/2000 Possession of depressant/stimulants/hallucinogenics/steroids.
                          11/12/2000 Criminal threat; aggravated assault.        02/05/2003 Aggravated burglary;
                          criminal damage to property; theft; burglary. 11/19/2004 Driving under the influence of
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                          alcohol or drugs.    12/28/2004 Probation violation.    02/21/2005 Aggravated robbery.
                          11/02/2007 Driving under the influence of alcohol or drugs. 03/08/2007 Murder in the
                          first degree.
                                  158.    The phone number (929) 268-6183 was indicated a total of 6 times on
                          02/17/2013. This phone number was subpoenaed but as of 02/22/2013, the subscriber
                          information had not been obtained.
                                  159.    The phone number (785) 761-6481 was indicated a total of 14 times from
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                          02/15/2013 to 02/21/2013.     This phone number was subpoenaed and found to have
                          Centurylink as the carrier but as of 02/22/2013 the subscriber information had not been
                          obtained.
                                  160.    The phone number (785) 307-1489 was indicated a total of 5 times from
                          02/11/2013 to 02/14/2013. This phone number was subpoenaed but as of 02/22/2013, the
                          subscriber information had not been obtained.
                                  161.    The phone number (785) 375-3002 was indicated a total of 5 times from
                          02/12/2013 to 02/14/2013.      This phone number was subpoenaed and found to be
                          registered to Cliff Howard B/M D O B - No criminal history was found for
                          Cliff Howard.

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                                                                                                                          285
                                      162.      The phone number (785) 492-0965 was indicated a total of 5 times from
                          02/14/2013 to 02/16/2013. The subscriber information shows this phone registered to R
                          Rusty. This phone number was found in Patricia Foy's phone when she was arrested on
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                          12/29/2012 and listed as R Rusty as well. The JCPD is unaware of any persons using the
                          name R Rusty at this time.
                                      163.     The phone number (830) 631-1020 was indicated a total of 4 times from
                          02/11/2013 to 02/17/2013. This phone number was subpoenaed but as of 02/22/2013, the
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                          subscriber infonnation had not been obtained.
                                      I 64.    The phone number (785) 307-6060 was indicated a total of 6 times from
                          02/16-2013 to 02/19-2013. This phone number was subpoenaed and listed Verizon as the
                          carrier with no subscriber inf01mation available meaning the person activating the phone
                          was not require to provide a name or any type of identification for activation.
                                      165.      The phone number (785) 830-0000 was indicated a total of 5 times from
                          02/09/2013 to 02/22/2013. This phone number was subpoenaed but as of 02/22/2013, the
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                          subscriber information had not been obtained.
                                      166.     The phone number (785) 830-0002 was indicated a total of 4 times from
                          02/09/2013 to 02/12/2013. This phone number was subpoenaed but as of 02/22/2013, the
                          subscriber information had not been obtained.
                                      167.      The phone number (785) 830-0200 was indicated a total of 4 times from
                          02/09/2013 to 02/16/2013 This phone number was subpoenaed but as of 02/22/2013, the
                          subscriber information had not been obtained.
                                               The phone number (785) 579-5462 was indicated a total of 2 times on
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                                      168.
                          02/19/2013. The subscriber information shows this phone registered to Jen-y Ruble but
                          the JCPD confinned the user of the telephone to be Claudette Ruble, B/F DOB
                          07/12/1949. Claudette Ruble has no current criminal hist01-y indicating arrests.
                                      169.     The phone number (785) 438-0895 was indicated a total of 1 time on
                          02/09/2013. The subscriber information shows this phone registered to James Smith,
                          W/M D O B - .                     James Smith has the following criminal histo1-y indicating
                          ru.Tests.          06/02/1995   Possession of depressant/stimulants/hallucinogenics/steroids;
                          Possession of simulated controlled substances or drug paraphernalia; criminal use of



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                                                                                                                     286
                          weapons; fleeing or attempting to elude a LEO; driving under the influence of alcohol or
                          drugs.
                                   170.   The phone number (785) 307-0127 was indicated a total of 1 time on
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                          02/10/2013. This phone number was subpoenaed and found to be a TracFone with no
                          listed person as the subscriber.
                                   171.   The phone number (785) 579~5546 was indicated a total of 1 times on
                          02/19/2013. The subscriber information shows this phone registered to Oretha Robinson
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                          B/F D O B ~ r e t h a Robinson has the following criminal history indicating
                          arrest. 03/07/1978 Possession of heroin. 09/12/1992 Aggravated battery. 09/23/2004
                          Driving under the influence of alcohol or drugs; driving while license cancelled
                          /suspended/revoked.
                                   172.   The phone number (785) 226-2611 was indicated a total of 4 times on
                          02/10/2013. The subscriber information shows this phone registered to Zachary Patmon,
                          B/M DOB -                  Zachary Patmon has the following criminal history indicating
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                          arrests. 04/13/1969 Attempted robbery. 06/08/1969 Aggravated assault. 02/17/1971
                          AWOL UCMJ.           06/17/1977 Pimping.    02/08/1978 Aid and abet sale of cocaine.
                          04/11/1982 Carrying a concealed weapon.         05/08/1984 Criminal use of weapons.
                          04/08/1990 2 counts sale of cocaine; 2 counts unlawful use of a communication facility;
                          no drug tax stamp. 09/20/1990 Unlawful use of a communication facility. 09/12/1991
                          Obstructing legal process or official duty. 08/17 /l 991 Disorderly conduct. 11/12/1991
                          Failure to appear.    11/30/1991 Battery against a law enforcement officer; obstructing
                          legal process or official duty; disorderly conduct.     01/09/1992 Failme to appear.
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                          01/07/1993 Failure to appear.      01/08/1993 Failure to appear.   01/30/1993 Battery.
                          04/24/1993 Fail to comply with bond restrictions; disorderly conduct.        04/29/1993
                          Battery against a law enforcement officer; obstructing legal process or official duty.
                          10/02/1994 Falsely reporting a crime.      10/02/1994 Failure to appear.     05/17/1996
                          Possession of cocaine. 07/13/1996 Possession of cocaine; possession of cocaine with the
                          intent to sell; possession of marijuana. 09/12/2000 Parole violation. 12/19/2000 failure
                          to appear. 04/12/2001 Failure to appear. 01/07/2002 Probation violation. 12/31/2002
                          Failure to appear.     01/30/2003 Failure to appear.     02/05/2003 Failure to appear.
                          01/07/2005 Probation violation. 01/30/2005 Failure to appear on misdemeanor charge;

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                                                                                                                         287
                               possession of opiates, opium or narcotic drugs; possession of controlled substances or
                               drug paraphernalia     05/24/2012 Driving while license cancelled/suspended/revoked;
                               failure to appear.
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                                       173.    The phone number (785) 762-2370 was indicated a total of 3 times from
                               02/15/2013 to 02/16/2013. The phone number (785) 375-1838 was indicated 4 times
                               from 02/10/2013 to 02/12/2013. The subscriber information shows both these phones
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                               registered to Charles B/M D O B - a n d Olivia Humphreys (AKA Big 0) B/F
                               DOB                   Charles Humphreys has the following criminal history indicating
                               arrest. 02/18/1972 Criminal use of weapons, carrying firearm concealed on one's person.
                               Olivia Humphreys has the following criminal history indicating arrest.      11/03/1985
                               Driving under the influence of alcohol or drugs.       06/29/1990 liquor consumption in
                               public places prohibited
                                       174.    The phone number (830) 600-2200 was indicated a total of 4 times from
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                               02/10/2013 to 02/16/2013.      This phone number was subpoenaed with no subscriber
                               information available meaning the person activating the phone was not required to
                               provide a name or any type of identification for activation.
                                       175.    The phone number (785) 830-0151 was indicated a total of 6 times from
                               02/10/2013 to 02/21/2013.      This phone number was subpoenaed with no subscriber
                               information available meaning the person activating the phone was not required to
                               provide a name or any type of identification for activation.
                                       176.    The phone number (785) 375-7233 was indicated a total of 4 times from
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                               02/13/2013 to 02/15/2013. The subscriber information shows this phone registered to
                               "James" with no last name given. The phone number is believed to be associated with
                               Catrina Watson, B/F DOB 07/17/1969. No criminal record could be found for Catrina
                               Watson.
                                       177.    The phone number (561) 829-2170 was indicated a total of 4 times on
                               02/15/2013. This phone number was subpoenaed but as of 02/22/2013, the subscriber
                               information had not been obtained.
                                       178.    The phone number (316) 806-9195 was indicated a total of 4 times on
.f                             02/15/2013. The subscriber information shows this phone registered Kilie Bowie B/F
 l

                               D O ~ Kilie Bowie has the following criminal history indicating arrests.

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                                                                                                                     288
                          05/04/2004 Giving worthless check.           06/06/2005 Aggravated assault with a deadly
                          weapon; criminal damage to property. 06/06/2005 Aggravated assault; criminal damage
                          to property; battery. 04/20/2006 Probation violation.
                                  179.    The phone number (830) 606-2420 was indicated a total of 3 times on
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                          02/10-2013.     This phone number was subpoenaed with no subscriber information
                          available meaning the person activating the phone was not required to provide a name or
                          any type of identification for activation.
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                                  180.   The phone number (785) 226-2907 was indicated a total of 3 times from
                          02/10/2013 to 02/16/2013.       This phone number was subpoenaed with no subscriber
                          information available meaning the person activating the phone was not required to
                          provide a name or any type of identification for activation.
                                  181.   The phone number (830) 600-0020 was indicated a total of 3 times from
                          02/11/2013 to 02/15/2013.       This phone number was subpoenaed with no subscriber
                          information available meaning the person activating the phone was not required to
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                          provide a name or any type of identification for activation.
                                  182.   The phone number (316) 617-9894 was indicated a total of 3 times from
                          02/11/2013 to 02/16/2013. The subscriber information shows this phone registered to
                          Wayne. According to the JCPD this phone is used by Kenneth Wayne Bellamy Jr. B/M
                          D O B - This phone number was found in Patricia Fay's phone when she was
                          arrested on 12/29/2012 and listed as Wayne as well. Kenneth Wayne Bellamy Jr. has the
                          following criminal history indicating arrest. 06/21/1989 Burglary; theft. 04/03/2012
                          Conspiracy to robbery; driving under influence of alcohol or drugs. 05/03/2012 Failure
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                          to appear.
                                  183.    The phone number (830) 620-0020 was indicated a total of 3 times from
                          02/12/2013 to 02/17/2013. This phone number was subpoenaed but as of02/22/2013, the
                          subscriber information had not been obtained.
                                  184.    The phone number (785) 210-9605 was indicated a total of 3 times from
                          02/12/2013 to 02/18/2013. This phone number was subpoenaed but as of 02/22/2013, the
                          subscriber infonnation had not been obtained.
                                  185.    The phone number (785) 762-9679 was indicated a total of 5 times from
                          02/15/2013 to 02/20/2013.       This phone number was subpoenaed with no subscriber

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                          information available meaning the person activating the phone was not required to
                          provide a name or any type of identification for activation.
                                   186.   The phone number (419) 341-8130 was indicated a total of 2 times on
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                          02/09/2013. This phone number was subpoenaed with the subscriber given as "Emily"
                          with no last name given or required. The identity of Emily cannot be obtained at this
                          time with this limited information.
                                          The phone number (830) 600-0220 was indicated a total of 2 times from
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                                   187.
                          02/09/2013 to 02/12/2013. This phone number was subpoenaed but as of 02/22/2013, the
                          subscriber information had not been obtained.
                                   188.   The phone number (785) 210-9034 was indicated a total of 2 times on
                          02/10/2013. This phone number was subpoenaed and listed as a "phone in the box" with
                          no subscriber information available meaning the person activating the phone was not
                          required to provide a name or any type of identification for activation.
                                          The phone number (785) 375-0314 was indicated a total of 2 times from
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                                   189.
                          02/10/2013 to 02/12/2013. The subscriber information shows this phone registered to
                          Kimberly Reese B/F          ■■■■I No criminal history was found for Kimberly
                          Reese.
                                   190.   The phone number (785) 210-5030 was indicated a total of 2 times on
                          02/11/2013.     This phone number was subpoenaed with no subscriber information
                          available meaning the person activating the phone was not required to provide a name or
                          any type of identification for activation.
                                          The phone number (646) 480-6908 was indicated a total of 2 times on
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                                   191.
                          02/11/2013. This phone number was subpoenaed but as of 02/22/2013, the subscriber
                          information had not been obtained.
                                   192.   The phone number (316) 613-3573 was indicated a total of 2 times on
                          02/11/2013. This phone number was subpoenaed but as of 02/22/2013, the subscriber
                          information had not been obtained.
                                   193.   The phone number (785) 830-0062 was indicated a total of 2 times from
                          02/11/2013 to 02/12/2013. This phone number was subpoenaed but as of 02/22/2013, the
                          subscriber information had not been obtained.



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                                                                                                                     290
                                 194.    The phone number (785) 762-2106 was indicated a total of 2 times from
                          02/11/2013 to 02/14/2013. This phone number was subpoenaed but as of 02/22/2013, the
                          subscriber information had not been obtained.
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                                 195.    The phone number (785) 317-1704 was indicated a total of 3 times from
                          02/11/2013 to 02/21/2013. This phone number was subpoenaed with the subscriber listed
                          as Danyl McLaurin B/M                        Darryl McLaurin has the following criminal
                          history indicating arrests.     06/19/1999 Domestic violence; public intoxication.
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                          09/28/2002 Contempt of court.        03/14/2009 Domestic battery; criminal restraint.
                          04/26/2009 Disorderly conduct brawling and fighting. 11/14/2009 Battery. 03/13/2010
                          Domestic battery.   03/19/2011 Battery.    04/30/2011 Probation violation.    05/25/2011
                          Domestic battery; intimidation of a witness or victim; criminal damage to property.
                                 196.    The phone number (785) 307-4768 was indicated a total of 2 times from
                          02/12/2013 to 02/18/2013. This phone number was subpoenaed with the subscriber listed
                          as Randy Anderson B/M                            No criminal history was found for Randy
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                          Anderson.
                                 197.    The phone number (907) 563-6966 was indicated a total of 2 times on
                          02/13/2013. This phone number was subpoenaed but as of 02/22/2013, the subscriber
                          information had not been obtained.
                                 198.    The phone number (785) 307-0425 was indicated a total of 2 times from
                          02/13/2013 to 02/17/2013. This phone number was subpoenaed but as of 02/22/2013, the
                          subscriber information had not been obtained.
                                 199.    The phone number (785) 210-4278 was indicated a total of 2 times on
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                          02/14/2013. This phone number was subpoenaed but as of 02/22/2013, the subscriber
                          information had not been obtained.
                                 200.    The phone number (785) 375-7607 was indicated a total of 2 times on
                          02/21/2013. This phone number was subpoenaed with the subscriber indicated as Audrey
                          Nelson or Audrey Ali, both being the same person. Audrey Nelson B/F
                          has the following criminal history indicating arrests; 10/01/1995 Failure to appear.
                          12/09/1995 Forgery.     06/30/1996 Worthless checks.       01/09/1997 Failure to appear.
                          02/22/1997 Possession of cocaine; possession of drug paraphernalia. 03/09/1997 Failure
                          to appear. 11/29/1997 Probation violation. 08/01/1999 Failure to appear. 10/25/2000


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                                                                                                                      291
                          Failure to appear.    02/15/2001 Failure to appear.    04/16/2002 Delivery/manufacture
                          simulated controlled substance; possession of paraphernalia to grow, distribute; no drug
                          tax   stamp;    sale etc.   of opiates,   opium   or   narcotic   drugs;   possession of
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                          depressant/stimulants/hallucinogenics/steroids. 04/17/2002 Possession of paraphernalia
                          to grow, distribute marijuana; no drug tax stamp; sale etc. of opiates, opium or narcotic
                          drugs.    06/13/2002 Failure to appear.    03/06/2003 Failure to appear.      06/03/2003
                          Conspiracy to possession of opiates, opium or narcotic drugs; conspiracy to criminal
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                          possession of a firearm; possession of depressants/stimulants/hallucinogenics/steroids;
                          conspiracy to possess simulated controlled substances/drug paraphernalia. 12/30/2003
                          Contempt of court indirect X2.
                                   201.   The phone number (785) 341-9118 was indicated a total of 2 times on
                          02/16/2013. This phone number was subpoenaed but as of 02/22/2013, the subscriber
                          information had not been obtained.
                                   202.   The phone number (785) 210-9873 was indicated a total of 8 times from
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                          02/13/2013 to 02/20/2013. The subscriber information shows this phone registered to
                          Lamont Hill (believed to be Lemont Hill), B/M                        Lemont Hill has the
                          following criminal history indicating arrests. 05/30/1987 2 counts sale of cocaine; 1
                          count delivery of cocaine. 06/03/1987 Sale of cocaine. 07/21/1987 Sale of cocaine;
                          conspiracy to sell cocaine. 04/01/1994 Parole violation. 09/05/1994 Battery; criminal
                          use of a weapon; aggravated weapons violation; possession of stolen property.
                          11/15/1994 Criminal threat. 03/04/2001 Criminal threat; domestic battery. 11/14/2004
                          Battery. 06/29/2005 Failure to appear on a misdemeanor. 09/22/2005 Failure to appear
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                          on a misdemeanor. 12/13/2005 Forgery. 09/25/2006 Probation violation. 01/08/2008
                          Probation violation. 02/06/2009 Probation violation. Lemont Hill was listed as a suspect
                          in a 2010 JCPD case (10-09428) involving the sale/distribution/cultivation of opiates.
                          opium, narcotic drugs or designated stimulants.
                                   203.   The phone number (785) 210-4812 was indicated a total of 1 time on
                          02/18/2013. The subscriber information shows no name associated as the subscriber.
                          According to the JCPD this phone is used by Barbara Jones Smith B l -
                          Barbara Jones Smith has the following criminal history indicating arrests. 04/10/1998
                          Possession cocaine; possession drug paraphernalia; criminal use of a weapon; aggravated

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                                                                                                                                    292
                          assault.     03/28/1999 Worthless check; failure to appear.                   01/23/2001 2 counts of
                          probation violation.         09/08/2004 Aggravated battery.            11/19/2004 Driving under the
                          influence         of     alcohol      or     drugs.           06/29/2005     Driving   while   license
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                          cancelled/suspended/revoked; attempt to flee or attempt to elude LEO; obstruction legal
                          process or official duty, resist arrest.              10/22/2006 Battery against a law enforcement
                          officer; disorderly conduct X2. 06/01/2007 Driving under the influence of alcohol or
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                          drugs. 08/13/2007 Following another vehicle too closely; driving under the influence of
                          alcohol or drugs. 01/22/2008 driving under the influence of alcohol or drugs; driving
                          while license cancelled/suspended/revoked. 08/04/2009 Failure to appear. 11/01/2010
                          Sale etc. of opiates, opium or narcotic drugs X2. 05/12/2011 Probation violation.
                                     204.    The phone number (785) 307-8447 was indicated a total of 2 times from
                          02/10/2013 to 02/19/2013. The subscriber information shows this phone registered to
                          Dorian Bivins (AKA Dwight Bivins) B/M                                          Dwight Bivins has the
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                          following criminal history indicating arrests. 01/04/2001 Probation violation; obstructing
                          legal process in felony case. 04/01/2002 Failure to appear. 08/28/2003 Failure to appear.
                          04/13/2004 Possession of opiates, opium or narcotic drugs; possession with the intent to
                          sell,   sale      etc.    within      1000'     of      school   property;    knowingly   intentionally
                          receiving/acquiring proceeds from uniform controlled substances; no drug tax stamp for
                          marijuana         or     controlled        substance.         04/07/2005     Driving   while   license
                          cancelled/suspended/revoked. 12/15/2005 Probation violation.                     03/14/2006 Probation
                          violation. 08/25/2006 Probation violation. 10/02/2006 Sale etc. of opiates, opium or
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                          narcotic drugs.
                                     205.    The phone number (785) 307-0774 was indicated a total of 2 times on
                          02/17/2013. This phone number was subpoenaed and listed as a "phone in the box"
                          which is a pay as you go type phone with no subscriber information available meaning
                          the person activating the phone was not required to provide a name or any type of
                          identification for activation.
                                     206.    The phone number (785) 209-0139 was indicated a total of 2 times on
                          02/17/2013. This phone number was subpoenaed but as of 02/22/2013, the subscriber
                          information had not been obtained.



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                                      207.    The phone number (319) 242-7343 was indicated a total of 1 time on
                              02/09/2013. This phone number was subpoenaed but as of 02/22/2013, the subscriber
                              information had not been obtained.
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                                      208.    The phone number (785) 830-0476 was indicated a total of 1 time on
                              02/09/2013. This phone number was subpoenaed but as of 02/22/2013, the subscriber
                              information had not been obtained.
                                     209.    The phone number (316) 573-5616 was indicated a total of 1 time on
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                              02/09/2013. This phone number was subpoenaed with the subscriber listed as Sherry
                              Mills W ~ N o criminal history was found for Sherry Mills.
                                     210.    The phone number (785) 225-1617 was indicated a total of 1 time on
                              02/10/2013. This phone number was subpoenaed but as of 02/22/2013, the subscriber
                              information had not been obtained.
                                     211.    The phone number (830) 636-9220 was indicated a total of 1 time on
                              02/10/2013.     This phone number was subpoenaed with no subscriber information
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                              available meaning the person activating the phone was not required to provide a name or
                              any type of identification for activation.
                                     212.     The phone number (785) 238-6888 was indicated a total of 1 time on
                              02/10/2013. This phone number was subpoenaed but as of 02/22/2013, the subscriber
                              information had not been obtained.
                                     213.     The phone number (785) 830-0892 was indicated a total of 1 time on
                              02/10/2013.     This phone number was subpoenaed with no subscriber information
                              available meaning the person activating the phone was not required to provide a name or
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i                             any type of identification for activation.
i
                                     214.     The phone number (785) 307-0127 was indicated a total of 1 time on
                              02/10/2013. This phone number was subpoenaed but as of 02/22/2013, the subscriber
                              information had not been obtained.
                                      215.    The phone number (785) 761-7610 was indicated a total of 1 time on
                              02/10/2013.     This phone number was subpoenaed with no subscriber information
                              available meaning the person activating the phone was not required to provide a name or
                              any type of identification for activation.



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                                  216.    The phone number (785) 830-0365 was indicated a total of 1 time on
                          02/10/2013.     This phone number was subpoenaed with no subscriber information
                          available meaning the person activating the phone was not required to provide a name or
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                          any type of identification for activation.
                                  217.    The phone number (785) 830-0209 was indicated a total of 1 time on
                          02/11/2013. This phone number was subpoenaed but as of 02/22/2013, the subscriber
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                          information had not been obtained.
                                  218.    The phone number (785) 317-2070 was indicated a total of2 times from
                          02/11/2013 to 02/19/2013. This phone number was subpoenaed but as of02/22/2013, the
                          subscriber information had not been obtained.
                                  219.    The phone number (708) 965-4220 was indicated a total of 1 time on
                          02/11/2013. This phone number was subpoenaed but as of 02/22/2013, the subscriber
                          information had not been obtained..
                                          The phone number (830) 621-3420 was indicated a total of 1 time on
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                                  220.
                          02/11/2013.     This phone number was subpoenaed with no subscriber information
                          available meaning the person activating the phone was not required to provide a name or
                          any type of identification for activation.
                                  221.    The phone number (788) 226-1783 was indicated a total of 1 time on
                          02/12/2013. This phone number was subpoenaed but as of 02/22/2013, the subscriber
                          information had not been obtained.
                                  222.    The phone number (785) 717-9456 was indicated a total of 1 time on
                          02/12/2013. This phone number was subpoenaed but as of 02/22/2013, the subscriber
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                          information had not been obtained.
                                  223.    The phone number (855) 429-7567 was indicated a total of 1 time on
                          02/12/2013.     This phone number was subpoenaed with no subscriber information
                          available meaning the person activating the phone was not required to provide a name or
                          any type of identification for activation.
                                  224.    The phone number (830) 645-7620 was indicated a total of 1 time on
                          02/12/2013. This phone number was subpoenaed but as of 02/22/2013, the subscriber
                          information had not been obtained.



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                                           225.    The phone number (785) 830-0542 was indicated a total of 1 time on
                                   02/12/2013. This phone number was subpoenaed but as of 02/22/2013, the subscriber
                                   information had not been obtained.
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                                           226.    The phone number (830) 616-2220 was indicated a total of 1 time on
                                   02/12/2013.     This phone number was subpoenaed with no subscriber information
                                   available meaning the person activating the phone was not required to provide a name or
                                   any type of identification for activation.
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                                           227.    The phone number (830) 633-0920 vvas indicated a total of 1 time on
                                   02/13/2013.     This phone number was subpoenaed with no subscriber information
                                   available meaning the person activating the phone was not required to provide a name or
                                   any type of identification for activation.
                                           228.    The phone number (830) 606-9320 was indicated a total of 1 time on
                                   02/13/2013. This phone number was subpoenaed but as of 02/22/2013, the subscriber
                                   infom1ation had not been obtained.
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                                           229.    The phone number (808) 398-5780 was indicated a total of 1 time on
                                   02/14/2013. This phone number was subpoenaed but as of 02/22/2013, the subscriber
                                   information had not been obtained.
                                           230.    The phone number (785) 830-0946 was indicated a total of 1 time on
                                   02/14/2013. This phone number was subpoenaed but as of 02/22/2013, the subscriber
                                   information had not been obtained.

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                                           231.    The phone number (830) 664-3120 was indicated a total of 1 time on
                                   02/14/2013. This phone number was subpoenaed but as of 02/22/2013, the subscriber
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                                   information had not been obtained.
                                           232.    The phone number (785) 913-2404 was indicated a total of 1 time on
                                   02/14/2013.     This phone number was subpoenaed with no subscriber information
                                   available meaning the person activating the phone was not required to provide a name or
                                   any type of identification for activation.
                                           233.    The phone number (830) 651-0920 was indicated a total of 1 time on
                                   02/14/2013.     This phone number was subpoenaed with no subscriber information
                                   available meaning the person activating the phone was not required to provide a name or
                                   any type of identification for activation.

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                                  234.    The phone number (830) 620-4020 was indicated a total of 1 time on
                          02/15/2013. This phone number was subpoenaed but as of 02/22/2013, the subscriber
                          information had not been obtained.
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                                 235.     The phone number (785) 830-0052 was indicated a total of 1 time on
                          02/15/2013. This phone number was subpoenaed but as of 02/22/2013, the subscriber
                          infonnation had not been obtained.
                                  236.    The phone number (785) 307-3214 was indicated a total of 1 time on
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                          02/ 15/2013.    This phone number was subpoenaed with no subscriber information
                          available meaning the person activating the phone was not required to provide a name or
                          any type of identification for activation.
                                 23 7.    The phone number (785) 830-0400 was indicated a total of 2 times from
                          02/15/2013 to 02/22/2013. This phone number was subpoenaed but as of02/22/2013, the
                          subscriber infonnation had not been obtained.
                                 238.     The phone number (785) 512-0333 was indicated a total of 8 time from
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                          02/15/2013 to 02/20/2013. This phone number was subpoenaed but as of 02/22/2013, the
                          subscriber infonnation had not been obtained.
                                 239.    The phone number (785) 307-5573 was indicated a total of 1 time on
                          02/15/2013. This phone number was subpoenaed but as of 02/22/2013, the subscriber
                          information had not been obtained.
                                 240.    The phone number (785) 375-5065 was indicated a total of 2 times from
                          02/15/2013 to 02/19/2013.       This phone number was subpoenaed ·with no subscriber
                          information available meaning the person activating the phone was not required to
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                          provide a name or any type of identification for activation.
                                 241.    The phone number (785) 307~2923 was indicated a total of 1 time on
                          02/16/2013. This phone number was subpoenaed but as of 02/22/2013, the subscriber
                          information had not been obtained.
                                 242.    The phone number (785) 233~1696 was indicated a total of 1 time on
                          02/16/2013. This phone number was subpoenaed but as of 02/22/2013, the subscriber
                          information had not been obtained.




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                                                                                                                      297
                                     243.    The phone number (785) 830-0983 was indicated a total of 1 time on
                              02/16/2013. This phone number was subpoenaed but as of 02/22/2013, the subscriber
                              information had not been obtained.
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                                     244.    The phone number (785) 830-0795 was indicated a total of 1 time on
                              02/16/2013. This phone number was subpoenaed but as of 02/22/2013, the subscriber
                              infonnation had not been obtained.
                                             The phone number (785) 830-0766 was indicated a total of 1 time on
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                                     245.
                              02/16/2013. This phone number was subpoenaed but as of 02/22/2013, the subscriber
                              information had not been obtained.
                                     246.    The phone number (830) 618-9720 was indicated a total of 1 time on
                              02/17/2013. This phone number was subpoenaed but as of 02/22/2013, the subscriber
                              information had not been obtained.
                                     24 7.   The phone number (830) 626-1120 was indicated a total of 1 time on
                              02/1712013. This phone number was subpoenaed but as of 02/22/2013, the subscriber
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                              information had not been obtained.
                                     248.    The phone number (785) 830-0311 was indicated a total of 1 time on
                              02/17/2013. This phone number was subpoenaed but as of 02/22/2013, the subscriber
                              information had not been obtained.
                                     249.    The phone number (785) 375-9653 was indicated a total of 1 time on
                              02/18/2013. This phone number was subpoenaed but as of 02/22/2013, the subscriber
                              infommtion had not been obtained.
                                             The phone number (785) 207-2904 was indicated a total of 1 time on
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                                     250.
                              02/18/2013. Titls phone number was subpoenaed but as of 02/22/2013, the subscriber
i
                              information had not been obtained.
                                     251.    The phone number (830) 601-0020 was indicated a total of 1 time on
                              02/18/2013. This phone number was subpoenaed but as of 02/22/2013, the subscriber
                              information had not been obtained.
                                     252.    The phone number (785) 304-6385 was indicated a total of 1 time on
                              02/19/2013. This phone number was subpoenaed with the subscriber listed as Jason
                              Smith. No information could be located on Jason Smith. It is believed Kathy Carson,
                              B/F                   the mother of Jalisa Carson) may be using this telephone. Kathy

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                                                                                                                              298
                               Carson has the following criminal history indicating arrests. 04/16/1996 Possession of
                               cocaine with the intent to sell; possession of drug paraphernalia; obstruction of official
                               duty; possession of marijuana.
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                                         253.   The phone number (785) 307-2456 was indicated a total of 1 time on
                               02/20/2013. The subscriber information shows this phone registered to Akwete Burd,
                               B/F DOB                  This phone number was found in Patricia Foy's phone when she
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                               was arrested on 12/29/2012 and listed as Who Johnny. Akwete Burd has the following
                               criminal history indicating an·est.     07/20/1999 Transfer firearm without background
                               check to prohibited person. 08/01/1999 Theft-take/use/transfer movable property without
                               consent. 08/28/1999 Drugs - 1st degree - sale - 50 kilos or more marijuana/25 kg in zone.
                               03/24/2011 Driving while license cancelled/suspended/revoked. 05/11/011 Driving while
                               license     cancelled/suspended/revoked.            08/07/2011   Driving     while   license
                               cancelled/suspended/revoked.                 08/23/2011      Driving       while     license
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                               cancelled/suspended/revoked.                 09/24/2011      Driving       while     license
                               cancelled/suspended/revoked.      11/14/2011 Failure to appear.        02/03/2012 Failure to
                               appear.     02/08/2012 Probation violation.     On 04/18/2012, Akwete Burd facilitated a
                               purchase of crack cocaine to a Riley County Police Department CI but was not charged in
                               the case for unknown reasons (RCPD case #12-017984). 06/13/2012 Failure to appear
                               X2; probation violation. 10/01/2012 Failure to appear X3.
                                         254.   The phone number (785) 830-0774 was indicated a total of 1 time on
                               02/19/2013. This phone number was subpoenaed but as of 02/22/2013, the subscriber
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                               information had not been obtained.
                                         255.   The phone number (785) 494-2762 was indicated 2 times from 02/15/2013
                               to 02/20/2013.     The subscriber information shows this phone registered to Michael
                               Lillibridge (AK.A Lloyd Lillibridge) W/M ~X~~~- No criminal history could
                               be located for this subscriber.
                                         256.   The phone number (830) 648-4320 was indicated a total of 1 time on
                               02/20/2013.      This phone number was subpoenaed with no subscriber information
                               available meaning the person activating the phone was not required to provide a name or
./                             any type of identification for activation.



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                                                                                                                           299
                                         257.    The phone number (830) 650-8920 was indicated a total of 1 time on
                                 02/20/2013.     This phone number was subpoenaed with no subscriber information
                                 available meaning the person activating the phone was not required to provide a name or
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                                 any type of identification for activation.
                                         258.    The phone number (830) 608-8220 was indicated a total of 1 time on
                                 02/20/2013. This phone number was subpoenaed but as of 02/22/2013, the subscriber
                                 information had not been obtained.
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                                         259.    The phone number (785) 492-7903 was indicated a total of 1 time on
                                 02/21/2013. This phone number was subpoenaed but as of 02/22/2013, the subscriber
                                 information had not been obtained.
                                         260.    The phone number (830) 695-7220 was indicated a total of 1 time on
                                 02/21/2013.     This phone number was subpoenaed with no subscriber information
                                 available meaning the person activating the phone was not required to provide a name or
                                 any type of identification for activation.
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                                         261.    The phone number (830) 630-8620 was indicated a total of 1 time on
                                 02/21/2013. This phone number was subpoenaed but as of 02/22/2013, the subscriber
                                 information had not been obtained.
                                         262.    The phone number (830) 633-1520 was indicated a total of 1 time on
                                 02/20/2013.     This phone number was subpoenaed with no subscriber information
                                 available meaning the person activating the phone was not required to provide a name or
                                 any type of identification for activation.
                                         263.   The phone number (785) 830-0509 was indicated a total of 1 time on
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                                 02/19/2013. This phone number was subpoenaed but as of 02/22/2013, the subscriber
                                 information had not been obtained.
                                        264.    The phone number (785) 307-5415 was indicated a total of 1 time on
                                 02/20/2013. This phone number was subpoenaed but as of 02/22/2013, the subscriber
                                 information had not been obtained.
                                         265.   The phone number (830) 640-1020 was indicated a total of 1 time on
                                 02/20/2013. This phone number was subpoenaed but as of 02/22/2013, the subscriber
                                 information had not been obtained.



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                                                                                                                        300
                                  266.    The phone number (830) 603-8120 was indicated a total of 1 time on
                          02/20/2013.     This phone number was subpoenaed with no subscriber information
                          available meaning the person activating the phone was not requrred to provide a name or
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                          any type of identification for activation.
                                  267.    The phone number (785) 226-4919 was indicated a total of 1 time on
                          02/20/2013.     This phone number was subpoenaed with no subscriber information
                          available meaning the person activating the phone was not required to provide a name or
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                          any type of identification for activation.
                                  268.    The phone number (785) 830-0400 was indicated a total of 1 time on
                          02/15/2013.     This phone number was subpoenaed with no subscriber information
                          available meaning the person activating the phone was not required to provide a name or
                          any type of identification for activation.
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                                                     FACTS AND CIRCUMSTANCES


                                 269.    Based upon the Affiant's investigation and those of other law enforcement
                          agencies, the following facts and circumstances are set forth. The Affiant believes the
                          investigation has revealed that Anthony Thompson and Albert Banks are involved in
                          the distribution of illegal drugs and have been for quite some time. Given the amounts
                          sold to CI #1 and the amounts of controlled substances available to sell (by their own
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                          admission), the Affiant believes Anthony Thompson and Albert Banks have been and
                          will continue to be involved in an ongoing conspiracy to distribute illegal drugs. The
                          conspiracy includes numerous persons named above and individuals both known and
                          unknown. Anthony Thompson and Albert Banks continue to realize profits from the
                          sale of controlled substances. Based on all the information the investigation has been able
                          to gather thus far, it is the consensus of the law enforcement investigators that Anthony
                          Thompson and Albert Banks, in association with others, are involved in extensive
                          illegal drug activity. This is evident by the sales of controlled substances to CI #1,
                          observations made during those sales, and statements made by Anthony Thompson and

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                          Albert Banks to CI #1. Anthony Thompson told CI #1 on 10/03/2012 that he is
                          purchasing approximately nine (9) ounces of cocaine per week for distribution. The
                          sources of Anthony Thompson and Albert Banks' illegal drugs appear to come from
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                          Kansas City, Topeka and/or Wichita, KS.             The actual source of the narcotics is
                          unidentified thus far in the investigation. Earlier in the investigation, Investigators
                          believed the illegal narcotics to come from the Kansas City area from a source known as
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                          Adrian Muse. It appears as though Adrian Muse may not be the source of supply lately
                          due to the information obtained from SOI #1 who has indicated he/she has heard
                          conversations stating this source is possibly not used at this time. Johnny Lee Ivory was
                          believed to be a source of supply in the Topeka, KS area. Johnny Lee Ivory has not been
                          located during this investigation and it is unclear if he is still a source of supply. Albert
                          Banks has been making tips to Wichita, KS recently as well, but investigators do not
                          know when he is going or with whom he is going. Therefore, the source of supply, if in
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                          fact it is in Wichita, KS, is still unknown. Thus this conspiracy extends to multiple
                          regions of the State of Kansas and multiple jurisdictions with yet unidentified persons.
                          Anthony Thompson and Albert Banks obviously have currency at their disposal
                          without having any legal, gainful employment.            Throughout this investigation, the
                          quantity of illegal narcotics purchased by CI #1 has increased in an effort to purchase
                          more than Anthony Thompson and/or Albert Banks could supply, thus forcing them to
                          either introduce CI #1 to their supplier or take CI #1 with them to their supplier so CI #1
                          could purchase quantities which Anthony Thompson or Albert Banks could not
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                          produce. This investigative technique has failed to date. Cl #1 has purchased as small of
                          quantity of less than one (1) gram to as much as three (3) ounces, all the while being
                          distributed by Anthony Thompson and/or Albert Banks working in conjunction with
                          each other.
                                  270.    Although Albert Banks has not always had this same telephone number
                          (785-375~6704) throughout this investigation, he has had it since January 2013 and
                          currently uses this number to conduct illegal narcotic distribution at this time as
                          indicative of the sells to CI #1. Those believed to be involved in the ongoing conspiracy
                          are continuing to use telephone number (785) 375-6704, with no subscriber name
                          attached to it, but used by Albert Banks to facilitate their illegal activities.


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                                                                                                                             302
                                                         GOALS OF THE INVESTIGATION


                                       271.    It is the goal of the Law Enforcement personnel involved in this
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                               investigation to identify all persons involved in this operation whether they are in Kansas
                               or any other state. The identity of persons that are transporting, manufacturing and/or
                               storing illegal drugs in Kansas is being and will continue to be pursued.    The identities
                               and prosecution of the conspirators involved in the transportation, manufacturing, storing
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                               and distribution of illegal drugs to and from the state of Kansas is hoped to be achieved.
                               Another goal of this investigation is to dismantle this organization that is under the
                               control of Anthony Thompson and Albert Banks. It is believed this organization is
                               responsible for the distribution of large amounts of illegal drugs in Geary and Riley
                               County, Kansas. At this time, the clear scope of the organization, all the conspirators,
                               their involvement and the amount of illegal drugs being distributed have not been
                               identified. Without the ability to monitor the phone belonging to Albert Banks, it is
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                               believed the full scope of the operation will not be disclosed nor will it be dismantled.
                               While a prosecutable case has been made on Albert Banks; CI #1 is not able to breech
                               the conspiracy to learn the role of all the players. CI #1 is only able to make purchases
                               from Anthony Thompson, Albert Banks and possibly a select few within the
                               organization.    These purchases will not reveal the sources of supply, fruits,
                               instrumentalities or assets of the distribution of illegal drugs, or the roles of other co-

 i
                               conspirators.   Without a wire interception the persons involved in this targeted
-!
                               distribution operation will be allowed to continue.
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                                                                                                                         303
                                                    NEED FOR WIRE INTERCEPTIONS


                                  272.    Investigation to date has failed to disclose and prove the full scope of the
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                          targeted organization and the locations and sources of any and all supply sources
                          currently being used by the subject(s) of this investigation. Direct evidence linking the
                          source of the supply to the flow of illegal drugs in the present conspiracy would be
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                          difficult, if not impossible, to obtain using standard investigative techniques. This is
                          evidenced by the fact CI #1 has not and will not be taken into the organization's full
                          confidence and advised of the source or sources of the illegal drugs.
                                  273.    Affiant believes the requested wire interception will produce the requisite
                          information identifying and establishing a direct link to the sources and supply of the
                          illegal drugs. Based upon the combined experience of Affiant and all law enforcement
                          personnel involved in this investigation based upon all of the facts set forth herein, it is
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                          the Affiant's belief that the interception of wire communications is the only available
                          technique which has a reasonable likelihood of securing evidence demonstrating the
                          scope of the illegal drug activity.




                                                OTHER INVESTIGATIVE PROCEDURES
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                                  274.    There are numerous investigative procedures, which are usually employed
                          in an investigation of this type which have been tried and failed, or which reasonably
                          appear unlikely to succeed if attempted. Other procedures which might reveal the scope
                          of this conspiracy and those involved are simply too dangerous to employ, or would
                          compromise the integrity of the investigation. Some of these procedures have been
                          described above; others are stated below.




                                                                                                  EXHIBIT 3

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                                                                                                                          304
                                                   A.     PHYSICAL SURVEILLANCE


                                 275.    Physical surveillance has been utilized in this investigation and has proven
                          to be of limited value. Although it has identified some activities and associates of the
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                          targets, physical surveillance - if not used in conjunction with other techniques, including
                          electronic surveillance - is of limited value.     Physical surveillance, even if highly
                          successful, does not always assist in gathering evidence of the criminal activity under
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                          investigation. It is an investigative technique that is used to confirm meetings between
                          alleged co-conspirators, but, in many cases, only leads investigators to speculate as to the
                          purposes of these meetings, because the surveillance itself often proves association
                          between the conspirators at a given time and place.        It is also a technique used to
                          corroborate information obtained from cooperating individuals. Physical surveillance of
                          alleged conspirators will not, however, conclusively establish the elements of the
                          subjects' violations, and this technique has not, and most likely will not, establish the
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                          identities of all conspirators. In addition, continued physical surveillance is not expected
                          to enlarge information now available to substantiate the elements of criminal violations
                          for which the state's application seeks to intercept wire communications. Prolonged or
                          regular surveillance of the movements of the suspects is instead likely to be noticed,
                          causing the suspects to become even more cautious and secretive in their illegal activities,
                          causing them to flee to avoid apprehension and prosecution causing a real threat to the
                          safety of the CI and/or possibly compromising the investigation. It must also be noted
                          that the conspirators have utilized techniques to avoid being surveilled by law
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                          enforcement such as driving erratic or slower than all other trnffic, making sudden stops
                          or unexpected sudden turns while engaged in physical surveillance by law enforcement.
                          It should also be noted that the conspirators have employed counter surveillance
                          techniques such as having lookouts place themselves around buildings, vehicles and/or
                          residences to watch for persons that continue to drive past or near the locations where
                          suspected drug trafficking offenses are, or will be committed.    Finally, it is not possible
                          to determine the full nature and scope of the aforementioned offenses by the use of
                          simple physical surveillance, given the number of conspirators, the complexity of the
                          criminal violations, the multi-jurisdictional locations and travels of some of the

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                                                                                                                         305
                          conspirators, and the varying rolls played by the targets of this investigation. Officers of
                          the Junction City Police Department and Kansas Bureau of Investigation agents have
                          attempted to conduct surveillance in the vicinity of some of the residences mentioned in
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                          this investigation. Officers have seen individuals that were placed outside residences
                          appearing to look for persons that were watching the residences.
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                                                 B.       COOPERATING INDIVIDUALS


                                 276.    No cooperating individuals other than the ones aforementioned have been
                          identified due to the mistrust the subjects have of individuals they are acquainted with or
                          have conducted business with prior. Additional cooperating individuals have not been
                          developed because of their apparent fear of the repercussions they would face if their
                          identity were ever disclosed.
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                                                          C. UNDERCOVER AGENTS


                                 277.    To date, no undercover Agents have been able to make purchases from
                          any of those involved in this organization.      It is the belief of law enforcement, any
                          undercover person/s who may have the chance encounter of purchasing illegal narcotics
                          from this group would have to do so at a very low level within the organization and
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                          would most likely never be given the opportunity to advance within the ranks of the
                          organization to a place where the true conspiracy/conspirators would be identified. It is
                          also the belief of law enforcement that the possibility of gaining the knowledge of the
                          source of supply for this organization would not occur as the identity of this person/s has
                          been kept secret throughout this investigation. The undercover agent would never be
                          fully trusted and any further relevant information related to the scope of the illegal drug
                          activity would never be known.




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                                                                                                                          306
                                                        D. PEN REGISTERS


                                 278.    On 02/09/2013 a Pen Register was initiated on the target phone number
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                          (785) 375-6704 pursuant to a Kansas Court Order. From 02/09/2013 to 02/22/2013 a
                          total of 5,882 calls/text messages were made into and out of (785) 375-6704. The Pen
                          register info1mation demonstrates to the Affiant Albert Banks is using telephone number
                          (785) 375-6704 to distribute controlled substances as demonstrated by, but not limited to,
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                          the number of calls/text messages registered per day, the length of the phone
                          conversations and/or the parties calling or being called on phone number (785) 375-6704.
                          The Pen Register has demonstrated to the Affiant that the phone number (785) 375-6704
                          has been, is being and will continue to be used to communicate criminal activity
                          concerning the distribution of controlled substances by Albert Banks and his associates.


                                  E.      USE OF JUDICIAL AND ADMINISTRATIVE SUBPOENAS
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                                 279.    Based upon Affiant's experience and conversations with other Agents and
                          Administration of the Kansas Bureau of Investigation as well as Officers and
                          Administration of the Junction City Police Department, who have considerable
                          experience in investigating these individuals, similar operations and violations of the law
                          such as these, it is the common consensus that the service of subpoenas to persons
                          believed to be involved in this conspiracy and their associates would not be successful in
                          achieving the stated goals of this investigation. If any principals of this conspiracy, their
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                          co-conspirators, or any other paiiicipants were approached to cooperate each and every
                          one would refuse to assist. This is especially true in this case, given the close ties among
                          the inner circle of conspirators and many of the principals. Many of the principals in this
                          investigation have been subjects of previous investigations and are aware of the
                          techniques used by law enforcement to gamer information. Moreover it would be unwise
                          to afford any kind of immunity to such persons given that such immunity would not
                          guarantee truthful admissions concerning the scope of the illegal drug activity being
                          investigated. Additionally, service of subpoenas would alert the conspirators to the
                          existence of this investigation and prompt the targets to take measures to thwart it.

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                                                                                                                           307
                          Finally, participants in such a criminal enterprise are often reluctant to implicate others
                          out of fear for their own safety or as a result of their loyalty to their fellow conspirators.
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                                                        F.      SEARCH WARRANTS


                                  280.    The execution of search warrants in this investigation has been considered.
                          The execution of search warrants involving principals of this investigation has been used
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                          in the past resulting in retrieval of a limited amount of controlled substances and records.
                          Use of warrants alone is unlikely to reveal the total scope of the criminal operation, the
                          identities of all conspirators, or the precise roles each plays within the conspiracy. It is
                          extremely unlikely, given the history of this criminal organization, that the majority of
                          the contraband controlled by the conspirators could be located at any given time unless
                          electronic surveillance was employed. Affiant believes the execution of search warrants
                          at this time would compromise the investigation and reveal the identities of those
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                          cooperating individuals.
                                 281.     For the reasons set forth in the preceding paragraphs, normal methods of
                          investigation have been attempted and failed, or reasonably appear unlikely to succeed,
                          and/or are too dangerous to employ.          At this time the only reasonable method of
                          developing the necessary evidence of the above-listed violations is to intercept the wire
                          communications of the subjects of this investigation. Such interceptions will reveal the
                          details of this conspiracy involving the importation and distribution of controlled
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                          substances, possession with the intent to distribute controlled substances, and use of
                          communication facilities to further these offenses, in violation of Kansas Law.




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                                                                                                                               308
                                                                      MINIMIZATION


                                         282.   All monitoring of wire communications will be conducted in such a way
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                               as to minimize the interception of communication.          Interception will be suspended
                               immediately when it is determined through voice identification, physical surveillance, or
                               otherwise, that none of the named interceptees or any of their confederates, when
                               identified, are participants in the conversation, unless it is determined during the portion
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                               of the conversation already overheard that the conversation is criminal in nature.
                               Conversations, which are of a non-criminal or non-evidentiary nature, once minimized,
                               will be spot-monitored in order to determine if the topic of the conversation has switched
                               to a criminal or evidentiary nature.
                                         283.   The interception of communications will be discontinued if the voice of
                               one or more of the named interceptees is not identified as participating in the
                               communication within a reasonable period of time, or in the case of conversations of
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                               others unknown which are of a non-criminal or non-evidentiary nature; spot-monitoring
                               will be used to determine if conversations have switched to an evidentiary or criminal
                               nature.     Monitoring will be conducted subject to the requirements to minimize
                               interception of all non-pertinent communications. All monitoring will be recorded.




                                                            PERIOD OF INTERCEPTION
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                                         284.   Because of the continuing nature of the offenses as discussed above, it is
                               further requested that authorization to intercept not automatically terminate when the
                               types of communications described above are first obtained, but be permitted to continue
1!                             until all wire communications are intercepted which fully reveal the manner in which the
                               subjects of this investigation conduct and participate in the above-described offenses, and
                               which reveal the full nature, scope and extent of the above-described offenses; the
                               identities and roles of accomplices, aiders and abettors, co-conspirators, other participants
                               in the offenses; the dispositions and locations of the proceeds from the offenses; and the
                               types, existence and locations of all records and other physical evidence of the offenses.


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                          Even if the objectives set forth in the preceding sentence have not been fully achieved, it
                          is hereby requested that the court's order provide that authorization to intercept shall
                          automatically terminate after thirty days, the thirty day period running from the earlier of
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                          the day on which investigative or law enforcement officers first begin to conduct an
                          interception under the court's order or ten days after the order is entered.
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                                                                        GLENF. VIRDEN
                                                                        Senior Special Agent
                                                                        Kansas Bureau of Investigation


                          Sworn to before me and subscribed in my presence this            6 -     day of March, 2013.
Document: 010110884675




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                                                                         Judge of the Geary County District Court
                                                                         State of Kansas
Appellate Case: 23-3102




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        Case 5:15-cv-03093-HLT Document 182-3 Filed 09/18/20 Page 1 of 10
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                               EXHIBIT C




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                                Case 5:15-cv-03093-HLT Document 182-3 Filed 09/18/20 Page 2 of 10
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                                            IN THE DISTRICT COURT OF GEARY COUNTY, KANSAS
Page: 311




                          IN THE MATfER OF THE APPUCATION                               )
                          OF TIIE STATE OF KANSAS                                       )       CASE NO.
                          FOR AN ORDER AUTHORIZING TIIB                                 )
Date Filed: 07/10/2023




                          JNTERCEPTION OF WIRE                                          )       UNDERSEAL
                          COMMUNICATIONS TO AND FROM                                    )
                          SPRINT/NEXTEL WIRELESS IBLEPHONE:                             )
                          785-375-6704                  .                               )
                          BEARING MOBILE STATION IDENTIFICATION#                        )
                          (MSID) 00007856601961 AND ELECTRONIC SERIAL                   )
                          # (ESN) 268435459909788757                                    )


                                                 ORDER AUTHORIZING THE INTERCEPTION
Document: 010110884675




                                                      OF WIRE COMMUNICATIONS

                          Application under oath having been made before me by Steven L. Opat, Geary County Attorney,

                          based on the sworn affidavit of Glen F. Virden, Senior Special Agent, Kansas Bureau of

                          fuvestigations, an investigative or law enforcement officer of the State of Kansas within the meaning

                          .9f Section 5 of KS.A. 22-2514, et seq, for an Order authorizing the interception of wire

                          communications pursuaI?-t to KS.A. 22-2514, et seq, and full consideration having been given to the
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                          matter set forth therein, the Court finds:

                          A.     there is probable cause to believe that Albert DeWayne Banks, D O B - and Anthony

                                 Carlyle Thompson, DOB . , and others named in the affidavit of the said Glen F.

                                 Virden, and others yet unknown (hereinafter "Target Subjects"), have committed, and are

                                 committing, and will continue to commit offenses enumerated in Article 57 of K.S.A. 21-

                                 5701 et seq, specifically possession of controlled substances with intent to distribute, and

                                 distribution of controlled substances, in violation of KS.A. 21-570 I et seq, specifically 21-



                                                                                                                        D000692
                               Case 5:15-cv-03093-HLT Document 182-3 Filed 09/18/20 Page 3 of 10




                                                                                                                                  312
                                 5705 and 5706: unlawful use of a communication facility to commit and facilitate the

                                 commission of drug trafficking offenses, in violation of KS.A. 21-5707; attempts,
Page: 312




                                 conspiracies or solicitations to possess with intent to distribute or to distribute controlled

                                 substances, in violation of KS.A. 21-5701 et seq, and K.S.A. 21-5301 and 21-5302 and 21-

                                5304; unlawful acts involving proceeds derived from violations of KS.A. 21-5701-5717.
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                                (Hereinafter the "Target Offenses");

                          B.    there is probable cause to believe that particular wire communications of the said Albert

                                DeWayne Banks and the said Anthony Carlyle Thompson and others yet unknown

                                (hereinafter "Target lnterceptees"), concerning the above-described Target Offenses will be

                                obtained through the interception for which authorization has herewith been applied. In
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                                particular, there is probable cause to believe that the interception of wire communications

                                to and from the cellular telephone with the assigned telephone number 785-375-6704,

                                bearing MSID 00007856601961 and ESN 268435459909788757 with service provided by

                                Sprint/Nextel Wireless which is a subscribed prepaid account but with no subscriber name

                                attached, although it is clear that the principal user is and has been identified as Albert
Appellate Case: 23-3102




                                DeWayne Banks, will further disclose, detail and reveal the specifics of the above offenses,

                                including the depth of the conspiracy and the manner and means of how and with whom

                               these offenses are being committed, including the unknown sources from which the

                               distribution by Albert DeWayne Banks, Anthony Carlyle Thompson, and others is made

                               possible;

                          C.   it has been established that normal investigative procedures have been tried and have failed,

                               reasonably appear to be unlikely to succeed if tried, or are too dangerous to employ; and

                          D.   there is probable cause to believe that 785-375-6704 has been and will continue to be used

                                                                                                                       D000693
                                 Case 5:15-cv-03093-HLT Document 182-3 Filed 09/18/20 Page 4 of 10




                                                                                                                                      313
                                      in connection with commission of the above-described offenses.

                                      WHEREFORE, IT IS HEREBY ORDERED that Special Agents of the Kansas Bureau of
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                           Investigation, and other agencies acting under the supervision of the KBI, are authorized, pursuant

                           to an application as authorized ·by K.S.A. 22-2515, made by Steven L. Opat, the duly elected and

                          authorized County Attorney for Geary County, State of Kansas, to intercept wire communications
Date Filed: 07/10/2023




                          to and from the above-described telephone.

                                     PROVIDED that such interception(s) shall not tenninate automatically after the first

                          interception that reveals the manner in which the alleged co-conspirators and others as yet unknown

                          conduct their illegal activities, but may continue until all communications are intercepted which

                          reveal fully the manner in which the above-named persons and others as yet unknown are
Document: 010110884675




                          committing the offenses described herein, and which reveal fully the identities of their confederates,

                          their places of operation, and the nature of the conspiracy involved therein, or for a period of thirty

                          (30) days measured from the day on which investigative or law enforcement officers first begin to

                          conduct an interception under this order or ten (10) days after this order is entered, whichever is

                          earlier.

                                     l TIS ORDERED FURTHER that in the event that the target telephone is transferred outside
Appellate Case: 23-3102




                          the territorial jurisdiction of this court, interceptions may take place in any other jurisdiction within

                          the United States.

                                     IT 1S ORDERED FURTHER that the authorization given is intended to apply not only to

                          the target telephone number listed above, but also to any other telephone number or telephone

                          accessed through the above-referenced MSID number, and to any other MSID number accessed

                          through the target telephone number referenced above, within the thirty (30) day period. The

                          authorization is al.so intended to apply to the target telephone number referenced above regardless


                                                                                                                            D000694
                                      Case 5:15-cv-03093-HLT Document 182-3 Filed 09/18/20 Page 5 of 10




                                                                                                                                       314
                                 of service provider, and to background conversations intercepted in the vicinity of the target

                                telephone while the telephone is off the hook or otherwise in use.
     Page: 314




                                        IT IS ORDERED FURTHER that, based upon the request of the Applicant pursuant to

                                KS.A 22-2514, and the definitions set forth therein, and K.S.A. 22-2515 and 2516, Sprint/ Nextel,
     Date Filed: 07/10/2023




                                an electronic communication service provider as defined in Section 2510(15) of Title 18, United

                                States Code and K.S.A. 22-2514, shall furnish the KBI and/or it's agents or designees with all

                                information, facilities and technical assistance necessary to accomplish the interceptions

                               . unobtrusively and with a minimum of interference with the services that such provider is according

                                the persons whose communications are to be intercepted, with the service provider to be

                               . compensated by the KBI for reasonable expenses incurred in providing such facilities or assistance.
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                                        IT IS ORDERED FURTHER that, to avoid prejudice to the government's criminal

                                investigation, the provider of the electronic communications service and its agents and employees

                                are Ordered Not To Disclose or Cause Disclosure of the Order or the request for information,

                                facilities and assistance by the KBI or the existence of the investigation to any person other than

                               those of its agents and employees who require this information to accomplish the services hereby
     Appellate Case: 23-3102




                                ordered. In particular, said provider and its agents and employees shall not make such disclosure to

                               a lessee, ~lephone subscriber or any interceptee or participant in the intercepted communications.

i.                                     IT IS ORDERED FURTHER that this Order shall be binding on any subsequent provider

                               of electronic communications services as defmed in Title 18, United States Code~ Section 2510(15)

                               and K.S.A. 22-2514 et seq, that provides services to the target telephone number(s) listed above

                               upon service of a certified copy of this Order without any further court order being required.

                                       ITIS ORDERED FURTHER that this order shall be executed as soon as practicable and that

                               a11 · monitoring of wire communications shall be conducted in such a way as to minimize the

                                                                                                                             D000695
                                             Case 5:15-cv-03093-HLT Document 182-3 Filed 09/18/20 Page 6 of 10




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                                             Case 5:15-cv-03093-HLT Document 182-3 Filed 09/18/20 Page 7 of 10




                                                                                                                                            316
                                     interception and disclosure of the communications intercepted to those communications relevant to

                                     the· pending investigation. The interception of wire commurlicatfons must terminate upon the
       Page: 316




                                     attainment of the authorized objectives, not to exceed thirty (30) days measured from the earlier of
                                        ,,


                                     the day on.which investigative or law enforcement officers first begin to conduct an interception of

                                     th:itlllrder or ten (10) days after he order is entered.
       Date Filed: 07/10/2023




                                              Monitoring of conversations must terminate immediately when it is determined that the

                                     conversation is unrelated to communications subject to interception under Chapter 119, Title 18,

                                     United States Code and K.S.A. 22-2514 et seq .. Interception must be suspended immediately when

                                     it is determined through voice identification, physical surveillance, or otherwise, that none of the

                                     named Target Interceptees or any of their confederates, when identified, are participants in the
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                                    conversation unless it is determined during the portion of the conversation already overheard that

                                     the conversation is criminal in nature. If the conversation is minimized, the monitoring agent shall

                                    spot check to insure that the conversation has not turned to criminal matters.

                                              IT IS ORDERED FURTHER that. pursuant to Section 2518(5), Title 18, United States Code

                                    and K.S.A. 22-2514 et seq, in the event intercepted communications are in a code or foreign
       Appellate Case: 23-3102




                                    language, and an expert in that code or foreign language is not reasonably available during the

  j                                 interception period, minimization may be accomplished as soon as practicable after such

                                    interception.

,j
iJ                                           IT IS ORDERED FURTHER that Steven L. Opat, Geary County Attorney and/or Antonio
 ._j
,:i
                                    Cruz Assistant Geary County Attorney shall provide this Court with a report on or about the tenth,

                                    twentieth, and thirtieth days following the date of this Order showing what progr~s has been made

                                 tJc toward achievement of the authorized objectives and the need for continued interception. If any of

                                    the above~ordered · reports should become due on a weekend or holiday, IT IS ORDERED

                                                                                                                                 D000697
                                             Case 5:15-cv-03093-HLT Document 182-3 Filed 09/18/20 Page 8 of 10




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Appellate Case: 23-3102




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                                            Case 5:15-cv-03093-HLT Document 182-3 Filed 09/18/20 Page 9 of 10




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                                     FURTHER that such report shall become due on the next business day thereafter.

                                              lTIS ORDERED FURTHER that this Order, the application, affidavit and proposed or~er,
        Page: 318




                                     and all interim reports filed with this Court with regard to this matter, shall be sealed until further
                                                  .,        -     .                                                                                               ·.          .         ...
                                     order of this Court, except that copies of the order, in full or redacted form, may be served on the
                                                                                                                                           •   .j•   ... I•   •        f   • ,• •i ',    •    f   l   •




                                    KBI and th~ se~vice provider as necessary to effectuate this order.
        Date Filed: 07/10/2023




                                             DONE and ORDERED this           ·L day of JtU_,rc.,{ , 20 IJ , at in Junction City,
                                    Kansas.
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        Appellate Case: 23-3102




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                               EXHIBIT D




                                                                                        320
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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

  ALBERT DEWAYNE BANKS,                     )
                                            )
                          Plaintiff,        ) Case No. 5:15-CV-03093-HLT-GEB
                                            ) (LEAD CASE)
  v.                                        )
                                            )
  STEVEN L. OPAT, et al.,                   )
                                            )
                          Defendants.       )
  ______________________________________________________________________________

  ANTHONY THOMPSON #15318-031,                   )
                                                 )
                             Plaintiff,          )   Case No. 5:15-CV-03117-HLT-GEB
                                                 )   (CONSOLIDATED CASE)
  v.                                             )
                                                 )
  GLEN VIRDEN, et al.                            )
                                                 )
                             Defendants.         )

                 DECLARATION OF JORDAN KURTZ IN SUPPORT OF
              T-MOBILE USA, INC.’S MOTION FOR SUMMARY JUDGMENT

         I, Jordan Kurtz, being duly sworn, hereby depose and state under penalty of

  perjury as follows:

         1.     I am over the age of twenty-one (21), of sound mind, and competent to

  testify. The facts stated herein are within my personal knowledge, true and correct,

  and if called to testify as a witness, I would and could competently testify to the

  truth of each statement herein.




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         2.    I am employed by T-Mobile USA, Inc. (“T-Mobile”) as a Senior

  Specialist on T-Mobile’s Law Enforcement Relations Team (“LER Team”). I have

  held this position continuously since 2009.

         3.    The LER Team is responsible for responding to law enforcement

  requests for customer information, including requests for electronic surveillance.

  The LER Team works 24/7/365 to respond to all government requests for subscriber

  data and information. In this role, the LER team responds to government and

  customer declared emergencies, national security requests, and the full complement

  of legal requests that require release of customer information.

         4.    On or about March 7, 2013, the Kansas Bureau of Investigations

  (“KBI”) transmitted a standardized coversheet, known as a CALEA Lawful

  Intercept Worksheet, that instructed T-Mobile to conduct an intercept for the

  mobile number 785-226-1783. The one-page worksheet also explicitly instructed T-

  Mobile to “TURN ON SMS”:
                          I




  “SMS” is an abbreviation for “short message service,” the technology most

  commonly used for text messaging. Behind the coversheet, the facsimile also

  contained a copy of an Order, dated March 5, 2013, which authorized a wiretap

  pursuant to K.S.A. 22-2514, et seq. The March 5, 2013 Order referred to T-Mobile as

  electronic communication service provider and required the furnishing of all



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  information, facilities and technical assistance necessary to accomplish the

  interception of communication with respect to a certain target telephone number.

         5.    A true and correct copy of the March 7, 2013 facsimile, as kept in the

  ordinary course of business, has been produced in this case with the Bates label T-

  MOBILE_00001-8 and is included herein as Exhibit 1.

         6.    In response to the March 7, 2013 facsimile, and in accordance with the

  instructions from law enforcement, I provisioned the wiretap requested by the KBI

  for the target telephone number.

         7.    T-Mobile does not monitor, store or retain the subscriber data and

  information delivered to the government via lawful intercept.

         8.    On or about April 4, 2013, the KBI transmitted an updated CALEA

  Lawful Intercept Worksheet and wiretap extension Order to the LER Team. The

  extension Order instructed T-Mobile to continue the wiretap on the same target for

  an additional 30 days. A true and correct copy of the April 4, 2013 facsimile, as kept

  in the ordinary course of business, has been produced in this case with the Bates

  label T-MOBILE_00009-15 and is included herein as Exhibit 2.

         9.    In response to the April 4, 2013 facsimile, and in accordance with the

  instructions from law enforcement, T-Mobile provisioned an extension of the

  wiretap requested by the KBI for the target telephone number.

         10.   On or about April 17, 2013, the KBI transmitted another CALEA

  Lawful Intercept Worksheet and Order to T-Mobile which authorized a wiretap for

  a different target telephone number, 785-226-2893. The worksheet contained the



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  instruction to “Please turn SMS ---
                                  ON” (capitalization and underline in original).

  Behind the worksheet, the facsimile contained a copy of the April 16, 2013 Order

  Authorizing the Interception of Wire Communications. The body of the April 16,

  2013 Order includes a provision which authorized the interception of “wire/oral

  and/or electronic communications to and from the above-described telephone.”

         11.   A true and correct copy of the April 17, 2013 facsimile, as kept in the

  ordinary course of business, has been produced in this case with the Bates label T-

  MOBILE_00016-23 and is included herein as Exhibit 3.

         12.   In response to the April 17, 2013 facsimile, and in accordance with the

  instructions from law enforcement, T-Mobile provisioned the wiretap requested by

  the KBI for the target telephone number.

         13.   In 2013 alone, T-Mobile received approximately 317,000 requests for

  customer information. The requests took such forms as subpoenas, court orders,

  warrants, wiretap orders, and national security requests. Approximately 97% of

  these requests came from federal, state or local law enforcement. Of these requests,

  2,308 were wiretap orders.

         14.   Exhibit 4 is a true and correct copy of T-Mobile’s “Transparency Report

  for 2013 and 2014,” as kept in the ordinary course of business. It has been produced

  in this case with the Bates label T-MOBILE_00024-29.

         15.   Virtually every wiretap order received by T-Mobile requires

  interception of both voice and text messages.




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         16.    I declare under penalty of perjury and pursuant to 28 U.S.C. § 1746

  that the foregoing statements are true and accurate to the best of my knowledge

  and belief.

                                                ***


  Dated this 17th day of September, 2020


                                         /s/ Jordan Kurtz
                                         Jordan Kurtz




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                              EXHIBIT D1




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                              Kan sas Bur eau of Inv esti gati on
                                                                                                                                                         Derek Schmidt
Kirk Thompson
                                                                                                                                                        Attorne y General
   Director




         NAME OF RECEIVER: SUBPOENA COMPLIANCE

                                    )e'----------
         NAME OF AGENCY: =T~-M=ob=i....

         FAX NO: 813-801-8825

         DATE: 03-07-2 013. PAGES INCLUDING COVER SHEET : _!i

                                                  SENT FROM
                                          Kansas Bureau of Investigation
                                   821 North Broadway, Pittsburg, Kansas 66762
                                  PS No. 620-230-5811 --- FAX No. 620-23 0-5822

         NAME OF SENDER: SSA James T. Botts

          COMMENTS: **IMP ORTA NT INFOR MATIO N BELO W**

          You may return informa tion by email at tim.bot ts@kbi .state.k s.us, 620-230-0996 or
          fax 620-230-5822. If you wish to mail hardcop ies of request ed informa tion you may
          forward it to:

          SSA Tim Botts
          Kansas Bureau of Investigation
          821 North Broadw ay
          Pittsbu rg, Kansas 66762



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      HIGHLY CONFIDENTIAL - ATTORNEY'S EYES ONLY                                                                                 T-MOBILE_00001                    327
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                    IN THE DIS1RTCT COURT OF GEARY COUNTY, KANSAS




  IN THE MATIER OF THE APPLICATION                              )
  OF THE STATE OF KANSAS                                        )        CASE NO.
  FOR AN ORDER AUTHORIZING THE                                  )
  INTERCEPTION OF WIRE                                          )        UNDER SEAL
  COMMUNICATIONS TO AND FROM                                    )
  T-MOBILE USA WIRELESS TELEPHONE:                              )
  785-226-1783                                                  )
  BEARING INTERNATIONAL MOBILE STATION                          )
  IDENTIFICA'TION # (IMSI) 310260445955245                      )




                         ORDER AUTIIORIZING THE INTERCEPTION
                              OF WIRE COMMUNICATIONS

  Application under oath having been made before me by Steven L. Opat, Geary County Attorney,

  based on the sworn affidavit of Glen F. Virden, Senior Special Agent, Kansas Bureau of

  Investigations, an investigative or Jaw enforcement officer of the State of Kansas within the meaning

  of Section 5 of K.S.A. 22-2514, et seq, for an Order authorizing the interception of wire

  communications pursuant to K.S,A. 22-251.4, et seq, and full consideration having been given to the

  matter set forth therein, the Court finds:

  A.     there is probable cause to believe that Albert DeWayne Banks, DOB 12/23/8 l and Anthony

         Carlyle Thompson, DO.B 2/15/82, and others named in the affidavit of the said Glen F.

         Virden, and others yet unknown (hereinafter "Target Subjects"), have committed, and are

         committing, and will continue to commit offenses enumerated in Anicle 57 of K.S.A. 21-

         5701 et seq. specifically possession of controlled substances with intent to distribute, and

         distribution of controlled substances, in violation of KS.A. 21-5701 et seq, specifically 21-




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        5705 and 5706. unlawful use of a communication facility to commit and facilitate the

        commission of drug trafficking offenses, in violation of KS.A. 21-5707; attempts,

        conspiracies or solicitations to possess with intent to distribute or to distribute controlled

        substances, in violation of KS.A. 21-5701 et seq, and K.S.A. 21-5301 and 21-5302 and 21·

        5304; unlawful acts involving proceeds derived from violations of K.S.A. 21-5701-5717.

        (Hereinafter the "Target Offenses");

  B.    there is probable cause to believe that particular wire communications of the said Albert

        DeWayne Banks and the said Anthony Carlyle Thompson and others yet unknown

        (hereinafter "Target lnterceptees"), concerning the above-described Target Offenses wm be

        obtained through the interception for which authorization has herewith been applied. In

        particular, there is probable cause to believe that the interception of wire communications

        to and from the cellular telephone with the assigned telephone number 785-226-1783,

        bearing IMSI 310260445955245 with service provided by T-Mobi.le USA Wireless with

        subscriber listed as one Jason Roberts, although it is clear that the principal user is and has

        been identified as Anthony Carlyle: Thompson, will further disclose, detail and reveal the

        speci.fics of the above offenses, including the depth of the conspiracy and the manner and

        means of how and with whom these offenses are being committed, including the unknown

        sources from which the distribution by Albert DeWayne Banks, Anthony Carlyle Thompson,

        and others is made possible;

  C.    it has been established that normal investigative procedures have been tried and have failed,

        reasonably appear to be unlikely to succeed if tried, or are too dangerous to employ; and

  D.    there is probable cause to believe that 785-226-1783 has been and will continue to be used

        in connection with commission of the above-described offenses.




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             WHEREFORE. IT IS HEREBY ORDERED that Special Agents of the Kansas Bureau of

  Investigation, and other agencies acting under the supervision of the KBI, are authorized, pursuant

  to an application as authorized by KS.A. 22-2515, made by Steven L. Opat, the duly elected and

  authorized County Attorney for Geary County, State of Kansas, to intercept wire communications

  to and from the above-described telephone.

             PROVIDED that such interception(s) shall not terminate automatically after the first

  interception that reveals the manner in which the alleged co-conspirators and others as yet unknown

  conduct their illegal activities, but may continue until all communications are intercepted which

  reveal fully the manner in which the above-named persons and others as yet unknown are

  committing the offenses described herein, and which reveal fully the identities of their confederates,

  their places of operation, and the nature of the conspiracy involved therein, or for a period of thirty

  (30) days measured from the day on which investigative or law enforcement officers first begin to

  conduct an interception under this order or ten (10) days after this order is entered, whichever is

  earlier.

             1TIS ORDERED FURTHER that in the event that the target telephone is transferred outside

  the territorial jurisdiction of this court, interceptions may take place in any other jurisdiction within

  the United States.

             IT 1S ORDERED FURTHER that the authorization given is intended to apply not only to

  the target telephone number listed above, but also to any other telephone number or telephone

  accessed through the above-referenced IMSI number, and to any other IMSI number accessed

  through the target telephone number referenced above, within the thirty (30) day period. The

  authorization is also intended to apply to the target telephone number referenced above regardless

  of service provider, and to background conversations intercepted in the vicinity of the target




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  telephone while the telephone is off the hook or otherwise in use.

         IT JS ORDERED FURTHER that, based upon the request of the Applicant pursuant to

  K.S.A. 22-2514, and the definitions set forth therein, and K.S.A. 22•2515 and 2516, T-Mobile, an

  electronic communication service provider as defined in Section 2510(15) of Title 18, United States

  Code and K.S.A. 22-2514, shall furnish the KBI and/or it's agents or designees with all information,

  facilities and technical assistance necessary to accomplish the interceptions unobtrusively and with

  a minimum of interference with the services that such provider is according the persons whose

  communications are to be intercepted, with the service provider t.o be compensated by the KBI for

  reasonable expenses incurred in providing such facilities or assistance.

         IT IS ORDERED FURTHER that, to avoid prejudice to the government's criminal

  investigation, the provider of the electronic communications service and its agents and employees

  are Ordered Not To Disclose or Cause Disclosure of the Order or the request for information,

  facilities and assistance by the KBI or the existence of the investigation to any person other than

  those of its agents and employees who require this information to accomplish the services hereby

  ordered. In particular, said provider and its agents and employees shall not make such disclosure to

  a lessee, telephone subscriber or any intetceptee or participant in the intercepted communications.

         IT IS ORDERED FURTHER that this Order shall be binding on any subsequent provider

  of electronic communications services as defined in Title l 8, United States Code, Section 2510(15)

  and K.S.A. 22-2514 et seq, that provides services to the target telephone number(s) listed above

  upon service of a certified copy of this Order without any further court order being required.

         IT IS ORDERED FURTHER that this order shall be executed as soon as practicable and that

  all monitoring of wire communications shall be conducted in such a way as to minimize the

  interception and disclosure of the communications intercepted to those communications relevant to




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                                                                                                     the
  the pending investigation. The interception of wire communications must terminate upon
                                                                                                      of
  anainment of the authorized objectives, not to exceed thirty (30) days measured from the earlier
                                                                                                  tion of
  the day on which investigative or law enforcement officers first begin to conduct an intercep

  this order or ten (10) days after he order is entered.

          Monitoring of conversations must terminate immediately when it is de.termined that the
                                                                                                      18,
  conversation is unrelated to communications subject to interception under Chapter 119, Title
                                                                                                   when
  United States Code and K.S.A. 22-2514 et seq .. Interception must be suspended immediately
                                                                                                   of the
  it is determined through voice identification, physical surveillance, or otherwise, that none
                                                                                                   in the
  named Target Interceptees or any of their confederates, when identified. are participants
                                                                                                  rd that
  conversation unless it is determined during the portion of the conversation already overhea
                                                                                                    shall
  the conversation is criminal in nature. If the conversation is minimized, the monitoring agent

  spot check to insure that the conversation has not turned to criminal matters.

          IT IS ORDERED FURTHER that, pursuant to Section 2518(5), Title 18, United States Code
                                                                                              foreign
  and KS.A. 22-2514 et seq, in the event intercepted communications are in a code or
                                                                                                      the
  language, and an expert in that code or foreign language is not reasonably available during
                                                                                                    such
  interception period, minimization may be accomplished as soon as practicable after

  interception.

          IT IS ORDERED FURTHER that Steven L. Opat, Geary County Attorney and /or Antonio
                                                                                                   tentl1,
  Cruz Assistant Geary County Attorney shall provide this Court with a report on or about the
                                                                                                    made
  twentieth, and thirtieth days following the date of this Order showing what progress has been
                                                                                             If any of
  toward achievement of the authorized objectives and the need for continued interception.
                                                                                                      ED
  the above-ordered reports should become due on a weekend or holiday, IT IS ORDER

  FURTIIER that such report shall become due on the next business day thereafter.




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         IT IS ORDERE D FURTHE R that this Order, the application, affidavit and proposed order,

  and all interim reports filed with this Court with regard to this matter, shall be sealed until further

  order of this Court. except that copies of the order, in full or redacted forrn, may be served on the

  KBI and the service provider as necessary to effectuate this order.

          DONE and ORDERE D this--" ''- day of            Jl71.,,,..A    , 20fl, at in Junction City,
  Kansas.




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                              EXHIBIT D2




                                                                                        335
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                                         Ka11sas Bureau of Investigatio11
       Kirk Thompson                                                                                                                                                      Derek Schmid
          Director                                                                                                                                                       Attorney Generi



                                 Fax Cover Sheet
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                                                   Kansas Bureau of Investigation
                                                 1620 SW Tyler, Topeka, KS 66612
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              Snites postal mail, Thank you.




          HIGHLY CONFIDENTIAL - ATTORNEY'S EYES ONLY                                                                                         T-MOBILE_00009                        336
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                    IN THE DIS1RIC T COURT OF GEARY COUNTY , KANSAS




   IN THE MAITER OF THE APPUCATION                                 )
   OF TIIE STATE OF KANSAS                                         )       CASE NO.
   FOR AN ORDER AUTHOR IZING THE                                   )
   INTERCE PTION OF \VIRE                                          )        UNDER SEAL
   COMMU NICATIO NS TO AND FROM                                    )
   T-MOBIL E USA WIRELESS 1'ELEPH ONE:                             )
   785-226- 1783                                                   )
   BEARIN G INTERNA TIONAL MOBILE STATION                          )
   IDENTIF lCATION # (lMSJ) 31026044 5955245                       )



                                                  ORDER

          Applicati on under oath having been made before been made before me by Steven L. Opat,

   duly elected County Attorney for Geaty County, State of Kansas, an "investiga tive or law

   enforcem ent officer" of the State of Kansas within the meaning of Section 2510(7) of Title 18,

   United States Codes, and K.S.A. 22-2514, for an Order authori%ing the Continued intercepti on (i.e.

   an extension ) of wire communi cations pursuant to K.S.A. 22-2514 et seq, panicular ly 22-

   25 IS(a)(l l) and (20) as previousl y authorize d by this Court on March 5, 2013, and therefore full

   considerati.on having been given to the matter set forth therein, the Court Finds:

           A.      there is probable cause to believe that Anthony Carlyle Thompso.n, Albert DeWayne

   E anks, Johnny Lee Ivory, Otis Ponds, others named in tbe affidavits and progress reports herein, and

   others as yet un.known, have commine d, and are committi ng specifically possessio n of controlled

   substance s (with intent to distribute) and distribution of controlled substances, in violation of K.S.A.

   21-5701 et seq, specifical ly 21-5705 and 5706; unlawful use of a communi cation facility to commit

   and facilitate the commissi on of drug trafficking offenses, in violation ofK.S ,A. 21-5707; attempts,




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  conspiracies or solicitations to possess with intent to distribute or to distribute cont.rolled substances,

  in violation of KS.A. 21-5701 et seq, and K.S.A. 21-5301 and 21-5302 and 21-5304; unlawful acts

   involving proceeds derived from violations of K.S.k 21-5701-5717, hereinafter lhe "Target

   Offenses";

          B.      !here is probable cause to believe that particular wire communications of Anthony

   Carlyle Thompso n, Albert DeWayne Bank~, Johnny Lee Ivory, Otis Ponds, others named in such

   previously submitted affidavits an progress reportS, and others as yet unknown, concerning the

   above-described offenses will be obtained through the intercepti on for which authorization has

   herewith been applied. In pamcular , there is probable cause to believe that the interception of wire

   communi cations to and from the telephone bearlng number 785-226-1783, bearing International

   Mobile Subscribe r Identity Number(I MSI): 31026044 5955245, Target Phone, which is a T-Mobile

   USA Wireless cellular telephone, subscribed to Jason Robcns, wi.th the primary user having been

   identified as Anthony Carlyle Thompso n, will concern lhe specifics of the above offenses, including

   the manner and means of the commission of the offenses(s);

          C        it has been established that normal investigative procedure s have been tried and have

   failed, reasonabl y appear to be unlikely to succeed if tried, or are to dangerous to employ; and

          D.       there is probable cause to believe that the telephone bearing the number 785-226-

   1783, bearing International Mobile Subscriber Identity Number (IMSI): 31026044 5955245, which

   is a T,Mobile USA Wireless cellular telephone, subscribed to Jason Roberts, with the primary user

   having been identified as Anthony Carlyle Thompso n, has been and will continue to be used in

   connectio n with commissi on of the above-described offenses.




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          WHEREFO RE, lT JS HEREBY ORDERED thm Senior Special Agent Glen Virden of the

  K.B.l., and other agencies acting under the supervision of a KB.I. agent, are authorized, pursuant

  to an application signed by Steven L Opat, Geary County Attorney, an authorized "investigative or

  law enforcemen t officer" of the State of Kansas within the meaning of Section 2514 of K.S.A.

  chapter 22, that is an attorney authorized by law to prosecute, to Continue to intercept wire

  communica tions to an from the above-desc ribed telephone.

           PROVIDED that such interception (s) shall not tenninate automatically after the first

  interception that reveals the manner in which the alleged co-conspira tors and others as yet unknown

   conduct their illegal activities, but may continue until all communica tions are intercepted which

   reveal fully the manner in which the above-nam ed peoons and others as yet unknown are

   commltting the offenses described herein, and wltich reveal fully the identities of their confederate s,

   their )?lace of operations, and the nature of the conspiracy i,n.volved therein, or for a period of thirty

   (30) days measured from the day on which investigative or law enforcemen t officers first continue

   to conduct an. interception under this order.

           IT IS ORDERED FURTHER that in the event that the target telephone is transferred outside

   the territorial jurisdiction of this court, interception s may take place in any other jurisdiction within

   the United States.

           IT IS ORDERED FURTHER lbat the authorizatio n apply not only to the target telephone

   number(s) listed above, but to any changed telephone number or IMSI subsequent ly assigned and

   utilized by the target telephone within the th.irty (30) day period, but to any changed telephone

   number or IMSI or any other telephone number subsequent ly assigned to or used by the instrument

   bearing the same IMS! as the target cellular phone within the thirty (30) day period. It is also

   Ordered that the authorizatio n apply to background conversatio ns intercepted in the vicinity of' the




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  target telephone while the telephone is off the hook or otherwise in use.

          IT IS ORDERED FURTHER that, based upon the request of the Applicant. pursuant to

  Chapter 119 of Title 18, United States Code, and K.S.A. 22-2514 & 2Sl6 as amended, T-Mobile

  USA Wireless an electronic communication service provider as defined by law shall furnish the

  K.BJ. will all infonnation, facilities and technical assistance necessary to accomplish the

  interceptions unobtrusively and with a minimum of interference with the services that such provider

  is acconling the persons whose communications are to be intercepted, with the service provider to

  be compensated by the K.B.l for reasonable expenses incurred in providing such facilities or

  assistance.

          IT IS ORDERED FURTIIER that in the event that the service provider changes during the

  course of the interception, intercepti.on may continue with the new service provider without funher

  order of this Court. The State of Kansas will advise the Court of the change of service provider in

  the periodic progress reports submitted to this Court.

          IT IS ORDERED FURTHER that, to avoid prejudice to the government's criminal

  investigation, the provider of the electronic communications service and its agents and employess

  are ordered not to disclose or cause a disclosure of the Order or the request for information, facilities

  and assistance by the K.B.I. or the existence of the investigation to any person other than those of

  its agents and employees who require this infonnation to accomplish the services hereby ordered.

  In particular, said provider and its agents and employees shall not make such disclosure to a lessee,

 telephone subscriber or any interceptee or participant in the intercepted communications.

         IT IS ORDERED FURTHER that this order shall be executed as soon as practicable and that

 all monitoring of wire communications shall be conducted in such a way as to minimize the

 interception and disclosure of the communications intercepted to those communications relevant to




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                                                                                 te upon that
  the pending investiga1ion. The interception of wire communications must termina
                                                                                        the   earlier of
  attainment of the authorized objectives, not to exceed thirty (30) days measured from
                                                                                      ue to conduct an
  the day on which investigative or law enforcement officers first begin to Contin

  interception of this Order.
                                                                                       that the
          Monitoring of conversations must tenninate immediately when it is determined
                                                                                   r 119, Title 18
   conversation is unrelated to communications subject to interception under Chapte
                                                                                   ed immediately
   United States Code and K.S.A. 22-2.516 as amended. Interceptions must be suspend
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   conversation is criminal in nature. If the conversation is minimiied, the monitoring

   check to insure that the conversation has not rumed to criminal matters,

          IT IS ORDERED FURTIIER that. pursuant to Chapter 119, Title 18, United States Code,
                                                                                 a code or foreign
   and K.S.A. 22-2516 as amended, in the event intercepted communications are in
                                                                                    le during          the
   language, and an expert in the code or foreign language is not reasonably availab
                                                                            ble after                 such
   interception period, minimization may be accomplished as soon as practica

   interception.
                                                                                  Cru:i:
          IT IS ORDERED FURTHER that Steven L. Opat Geary County Attorney or Tony
                                                                                       about the tenth,
   Assistant Geary County Attorney, shall provide this Court with a report on or
                                                                                    March       5, 2013
   twentieth, and thinieth days following the date of the Extension of the Oroer of
                                                                                  of the authori:red
   as Authorized this date showing what progress has been made toward achievement
                                                                                       should become
   objectives and need for continued interception. If any of the above-ordered reports
                                                                             become due on
   due on a weekend or holiday, IT IS ORDERED FURTHER that such report shall




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  the next business day thereafter.

         IT IS ORDERE D FURTHE R that, pursuant to law, Federal and State, (K.S.A. 22-2516), to

  prevent premature disclosure of an ongoing investigation, guard against fugitives, and better ensure

  the safety of agents and others, service of any notice requested by law may be delayed for a period

  of thirty (30) days after the terminatio n of the monitorin g period authorize d by the warrant.

          IT IS ORDERE D FURTHE R that T-Mobile USA Wireless, its affiliates, officers, employee s,

  and agents not disclose the Court's Order or the underlyin g investigat ion, until notice is given as

  provided above.

          IT IS ORDERE D FURTHE R that this Order of Extension, the applicatio n, any affidavit( s)

  and/or progress reports filed with this Court with regard to this matter, shall be sealed until further

  order of this Court, except that copies of the Order, in full or redacted fonn, may be served on the

  service provider as necessary to effectuate Ibis Order.

          DONE and ORDERE D this         _!f..- day of April, 2013, at         3f2 7        11!ffl:,/p.m. in

  Junction City, Kansas.




                                                          HONORABLE DAVID R PLATT
                                                          DISTRIC T JUDGE
                                                          sm JUDICIA L DISTRIC T
                                                          STATE OF KANSAS




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                              EXHIBIT D3




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                                              HONORABLE DAVID R.. PLATT'
                                              DlSTRTCT JUDGE
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                              EXHIBIT D4




                                                                                        352
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      r■ • ·Mobile·®
  T-Mobile Transparency Report for 2013 and 2014
  This Transparency Report provides information about requests from law enforcement agencies
  and others for customer information we1 received in 2013 and 2014 and describes how we
  respond to those requests. We include all the information we are legally permitted to disclose, to
  the extent we maintain such information.

  We take very seriously the privacy of our customers’ information and our obligation to protect it.
  When we receive a request from law enforcement for customer information we confirm that the
  request is valid and that our response complies with the law and our own policies. When a
  lawful request for customer information is presented to us we are required to comply. We
  discuss the types of law enforcement requests we receive below.

  Summary of Types of Information Requested and Legal Process

  Law enforcement and government2 requests can take various forms, depending on the
  information sought. The most common forms include subpoenas, court orders, warrants,
  national security letters and requests under emergency circumstances. Each type of request
  has its own legal standard and requirements the government must follow for the request to be
  lawful. Generally speaking, the more sensitive the type of information sought, the higher the
  legal standard to obtain it.

  With respect to any type of request, T-Mobile provides customer information to law enforcement
  agencies only where legally permitted or required to do so. We maintain a dedicated law
  enforcement relations team (referred to as “LER”), which is available 24/7/365 to handle
  requests from law enforcement and other governmental agencies. We require law enforcement
  agencies to follow established legal processes when they make a request for customer
  information, and we examine each such request to ensure it meets all applicable legal
  requirements. We seek clarification if a request appears overbroad, unauthorized or omits
  information. If a request is beyond the scope of the law, asks for information outside of T-
  Mobile’s control, is defective on its face or otherwise has a legal deficiency, it is rejected.

  The following table provides examples of the most common types of information requested by
  the government and type of legal process required:


  1
   T-Mobile and MetroPCs merged in 2013. The report covers both companies.
  2
    “Government” refers primarily to “law enforcement agencies.” The two terms are used interchangeably in this
  report.

                                                                                                                  1


                                                                                          T-MOBILE_00024              353
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              Information Type Requested                    Minimum Required Legal Process
        Subscriber Information (e.g.,                    Subpoena
        information a customer provides when
        signing up for service, such as name
        and address, and call detail information)
        Historical Call Detail Information (e.g.,        Subpoena
        information about calls made in the past,
        such as start time, duration, numbers
        called)
        Emergency Information (e.g., location            Certification from Law Enforcement/Public
        information, call detail, content, in            Safety Answering Points
        emergencies)
        Real Time Call Detail Information (e.g.,         Pen Register Court Order
        information on incoming and outgoing
        phone numbers for a specific
        phone/mobile device)
        Historical Cell Site Location                    Court Order or Warrant*
        Information (e.g., location of towers that
        a phone/mobile device used in the past
        over a specific period of time)
        Real Time Audio (e.g., phone                     Wiretap Court Order
        conversation)

        Real Time Content (e.g., text                    Wiretap Court Order
        messages)
        Real Time Location (e.g., approximate            Warrant
        location of a phone/mobile device)
        Historical Cell Tower Dump                       Warrant
        Information (e.g., list of phone numbers
        which used a specific tower during a
        specific period of time)
        Stored Content (e.g., saved voicemail            Warrant
        message)
           *   Depends on the applicable jurisdiction.

   In some cases more than one form of legal process may be acceptable. For example,
   subscriber information may be obtained through a subpoena, but may also be obtained through
   a court order or even a warrant.

   Subpoenas
   Law enforcement agencies and most administrative agencies issue subpoenas to obtain
   information relevant to the investigation or prosecution of a crime. Subpoenas may also be
   issued by attorneys in criminal defense and civil litigation cases. The subpoenas we receive
   from law enforcement generally request the type of information that appears on a customer’s
   phone bill. We only release the six types of subscriber information allowed by 18 USC § 2703:

                                                                                                     2


                                                                                    T-MOBILE_00025        354
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   1) customer name; 2) address; 3) length of service; 4) subscriber account identifiers (such as
   telephone number or device information); 5) network transaction records (such as call details)
   and 6) payment information. We do not release content of a communication or information
   other than that listed above in response to a government subpoena.

   Court Orders
   There are various types of court orders that compel disclosure of customer information. The
   type of information sought determines the specific legal standard of proof that the government
   must meet. Most of the court orders we receive are for subscriber information, which can also
   be obtained through a subpoena. We also receive court orders for wiretaps, under which we
   are required to provide the content of communications in real time or in other words, as the
   communication is taking place. Additionally, we receive orders for pen registers/trap and trace,
   under which we provide real time information on incoming and outgoing phone numbers. A
   judge must review law enforcement’s application for any real time monitoring and sign a court
   order indicating that the law enforcement officer has made the requisite showing under the law.

   Warrants
   Warrants or search warrants require a showing of probable cause to believe a crime has been
   or is being committed and evidence of it will be obtained from the account. Warrants may
   sometimes request the same types of information that could be obtained through a court order
   or even a subpoena, but most of the warrants we receive request real-time location information
   or content, such as text messages and stored voicemail messages.

   Emergency Requests
   Law enforcement may request information that is needed to respond to emergencies such as
   kidnappings, hostage situations and suicide threats. We are authorized by law to provide the
   requested information upon law enforcement’s certification. The certification must be sufficient
   for us to form a good faith belief that there is an emergency involving danger of death or
   serious physical injury to any person that requires disclosure without delay of transactional
   records and communications relating to the emergency.

   We may also receive emergency requests for information from Public Safety Answering Points
   (PSAPs) that receive 9-1-1 calls from the public.

   National Security Letters
   The Director and certain other designated officials of the Federal Bureau of Investigation
   (“FBI”) may issue a National Security Letter (“NSL”) requesting information in national security
   matters. The FBI must certify in writing to the recipient of the letter that the information sought
   is relevant to an authorized investigation to protect against international terrorism or
   clandestine intelligence activities. An NSL may request only limited information: name,
   address, length of service and local and long distance toll billing records. An NSL cannot be
   used to obtain anything else from T-Mobile.




                                                                                                         3


                                                                                  T-MOBILE_00026             355
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   Foreign Intelligence Surveillance Act (“FISA”) Orders
   The FISA Court (“FISC”) is a special court that reviews requests for surveillance in national
   security cases. Its orders require providers to facilitate electronic surveillance of an individual’s
   activities via such methods as wiretaps and pen registers.

   Requests from Foreign Governments
   We do not receive many requests from foreign governments but when we do, we notify the
   Department of Justice, the Federal Bureau of Investigation and the Department of Homeland
   Security of such request as required by the terms of an agreement entered into in 2001, as
   amended, between these agencies, T-Mobile and Deutsche Telekom, as a condition to
   Deutsche Telekom acquiring ownership of T-Mobile. Only upon express written consent of the
   Department of Justice or a US court of competent jurisdiction, and if the request otherwise
   meets the requirements of US law and the law of the jurisdiction making the request, may T-
   Mobile respond to the foreign request.

   Summary of Types and Number of Requests

   2014
   In 2014, T-Mobile received approximately 351,940 requests for customer information and
   sometimes T-Mobile information (for example, information about our network). This number
   represents an approximate 10.8% increase compared to 2013. Approximately 3.6% of the
   requests were from third parties in connection with civil matters (insurance claims, divorce and
   personal injury cases, for example). The remainder was from federal, state or local law
   enforcement.

   The table below provides the types of requests we receive and the approximate number of
   such requests:

                              Type of Request                       I   Number of Requests
          Subpoenas (criminal and civil)                                                 177,549
          Emergency Requests/911 calls                                                    97,440
          Court Orders (excluding orders for wiretaps, pen
          register/trap and trace)                                                        34,913
          Warrants/Search Warrants                                                        17,316
          Other*                                                                           8,760
          Pen Register/Trap and Trace Orders                                               9,916
          Wiretap Orders                                                                   3,087
          Customer Requests for their own information                                        849
          National Security Requests (NSLs and Foreign
          Intelligence Surveillance Orders Combined)**                               2000 - 2250
          Requests from Foreign Governments †                                                  8




                                                                                                       4


                                                                                   T-MOBILE_00027          356
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         * This may include requests to preserve information pursuant to 18 USC § 2704, requests for T-Mobile information (not customer
            information), requests pursuant to The Fair and Accurate Credit Transactions Act of 2003, and any other request that does not
            match a category above.
         ** Providers are authorized by statute to report the national security requests in one of three ways. T-Mobile has chosen to report a
            combined total of national security requests for this reporting period, and may be able to report more granular information in the
            future. To the extent we are permitted to report this information in the aggregate, it must be in bands of 250 increments.
          † Germany (1), Canada (4), Australia (1), Hong Kong (1) and Columbia (1)




   2013
   In 2013, T-Mobile received approximately 317,000 requests for customer information and
   sometimes T-Mobile information (for example, network information). This number represents
   an approximate 7% increase compared to 2012. Approximately 3% of the requests were from
   third parties in connection with civil matters (insurance claims, divorce and personal injury
   cases, for example). The remainder was from federal, state or local law enforcement.

   The table below provides the types of requests we receive and the approximate number of
   such requests:

                                     Type of Request                                       I     Number of Requests
         Subpoenas (criminal and civil)                                                                                  153,177
         Emergency Requests/911 calls                                                                                     93,032
         Court Orders (excluding orders for wiretaps, pen
         register/trap and trace)                                                                                          33,106
         Warrants/Search Warrants                                                                                          11,879
         Other*                                                                                                            11,105
         Pen Register/Trap and Trace Orders                                                                                 8,595
         Wiretap Orders                                                                                                     2,308
         Customer Requests for their own information                                                                        1,724
         National Security Requests (NSLs and Foreign
         Intelligence Surveillance Orders combined)**                                                                2000 - 2250
         Requests from Foreign Governments†                                                                                        5

         * This may include requests to preserve information pursuant to 18 USC § 2704, requests for T-Mobile information (not customer
            information), requests pursuant to The Fair and Accurate Credit Transactions Act of 2003, and any other request that does not
            match a category above.
         ** Providers are authorized by statute to report the national security requests in one of three ways. T-Mobile has chosen to report a
            combined total of national security requests for this reporting period, and may be able to report more granular information in the
            future. To the extent we are permitted to report this information in the aggregate, it must be in bands of 250 increments.
         † Brazil (1), Canada (2) and Australia (2)


   The average law enforcement request in both 2013 and 2014 (not including national security
   requests) asks for approximately fifty-five days of records for two phone numbers.

   Cost Recovery and Charges



                                                                                                                                            5


                                                                                                                T-MOBILE_00028                   357
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   Federal law provides that carriers are entitled to be compensated for the reasonable costs of
   providing technical assistance for lawful surveillance activities and for costs incurred in
   providing stored electronic communications or backup copies to the government.
   Generally, T-Mobile does not charge law enforcement agencies for the costs incurred in
   responding to emergency requests. 18 USC § 2706 precludes us from cost recovery for
   producing toll records and subscriber information except in cases of undue burden.

   More Information
   For more information regarding how we collect, use, disclose and store customer information
   please see our privacy policies at: http://www.t-mobile.com/company/website/privacypolicy.aspx




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                               EXHIBIT E




                                                                                        359
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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

  ALBERT DEWAYNE BANKS,                     )
                                            )
                          Plaintiff,        ) Case No. 5:15-CV-03093-HLT-GEB
                                            ) (LEAD CASE)
  v.                                        )
                                            )
  STEVEN L. OPAT, et al.,                   )
                                            )
                          Defendants.       )
  ______________________________________________________________________________

  ANTHONY THOMPSON #15318-031,                      )
                                                    )
                                Plaintiff,          )   Case No. 5:15-CV-03117-HLT-GEB
                                                    )   (CONSOLIDATED CASE)
  v.                                                )
                                                    )
  GLEN VIRDEN, et al.                               )
                                                    )
                                Defendants.         )

                   DECLARATION OF ROBERT WILDEN IN SUPPORT OF
                SPRINT/NEXTEL WIRELESS TELEPHONE COMPANY, VIRGIN
                MOBILE/SPRINT PCS’S MOTION FOR SUMMARY JUDGMENT

           I, Robert Wilden, being duly sworn, hereby depose and state under penalty of

  perjury as follows:

           1.       I am over the age of twenty-one (21), of sound mind, and competent to

  testify. The facts stated herein are within my personal knowledge, true and correct,

  and if called to testify as a witness, I would and could competently testify to the

  truth of each statement herein.




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           2.       I am currently employed with T-Mobile US, Inc., as a Senior Specialist

  Electronic Surveillance. Prior to the merger between Sprint and T-Mobile, I worked

  for Sprint as an Electronic Surveillance Supervisor, a role I held since 2017.

           3.       I was employed at Sprint in March 2013, and my department at Sprint

  was responsible for responding to law enforcement requests for customer

  information, including requests for electronic surveillance. The Sprint team

  worked 24/7/365 to respond to all government requests for subscriber data and

  information.

           4.       In response to a wiretap order dated March 5, 2013, and in accordance

  with the instructions from law enforcement, Sprint provisioned a wiretap for the

  target telephone number, 785-375-6704. Sprint does not monitor, store or retain

  the subscriber data and information delivered to the government via lawful

  intercept.

           5.       Attached Exhibit 1 is a copy of the CALEA coversheet received from

  Law Enforcement on or about March 7, 2013 at 11:22am, instructing Sprint to

  provision the wiretap for the target telephone contained in the wiretap order. This

  document was maintained by Sprint in the ordinary course of business.

           6.       The CALEA coversheet from law enforcement instructed Sprint to

  “upgrade to T3.”

           7.       An account note entered by an account technician at 11:57am on

  March 7, 2013 states that Agent Tim Botts “called to check the Wire upgrade. I

  fixed the line items for an upgrade.”



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           8.       The note history for this wiretap further indicates that several changes

  were made to the wiretap at approximately 11:57Am after Agent Botts’ call. One

  such change was the provision of text messages. This is shown on page SPRINT-

  BANKS-00000080 of attached Exhibit 2. This document was maintained by Sprint

  in the ordinary course of business.

           9.       In 2013 alone, Sprint received thousands of requests for customer

  information. A Sprint employee responsible for handling these requests might

  handle up to 10 or more requests per day. The requests took such forms as

  subpoenas, court orders, warrants, wiretap orders, and national security requests.

           10.      In my experience working for both Sprint and T-Mobile, virtually every

  wiretap order requires interception of both voice and text messages.

           11.      I declare under penalty of perjury and pursuant to 28 U.S.C. § 1746

  that the foregoing statements are true and accurate to the best of my knowledge

  and belief.


  Dated this 17 day of September, 2020


                                                           ___/s/ Robert Wilden__
                                                            Robert Wilden




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                              EXHIBIT E1




                                                                                        363
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                              EXHIBIT E2




                                                                                        366
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           WHO CALLED: Tim Betts
           CALL BACK NUMBER NA
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           Title CDMA. T3 UPGRADE:

           Home Switch: KC-INDEPENDENCE 1
           Markm ~ lmpiememed:~ City.
           Cell Site J\.uthoozed in legal Demand? Y~
           Prill@I}' Ring Down Numtier: 7852966179
           Rollove,-? Yes
           Rollove.- Ring Down Numbet-: 7&52966312




           Trtle CDMA T3 UPGRADE:                                                                 Priority • Low
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           ''Original Case l'rumbar"' Field Populated? Yes
           Location Field in NORTEL is: Checked
           location Field In UJCENT SPA is: D-ieclred
           Added Target to CDDU::AFFUCENTI
           Jldded and Associated CCRs? Yes




           T"rtle CDMA T3 UPGRADE:

          Added CTTh to CDDU: Yes
          CCCs Changed to Combined? Yes
          Text Prnvisioned? Yes
          Does RON Maleh T:aiye:t Number? No
          Did You Allach The Following?
          fnsembte Screen Capture? Yes
          CDS C<ipture? Yes




           Title CDMA T3 UPGRADE:

          CDDU Capture (all screens}? Yes
          NORTEL Provisioning Tool or MES [all screens}: Yes
          BLUEZONE Screen Capture ol Ring!Jown? NIA
          STARGATE { screen capture of 'active• and Target Imp_ Path)? Yes
          Populmed Correct Billing~? Yes
          lmpl-.tation letter Sent? Yes
          Notified: Glen Virden




                                                                                                                                                                             370
HIGHLY CONFIDENTIAL - ATTORNEY'S EYES ONLY                                                                                                                  SPRI NT-BANKS-00000080
                                       Case 5:15-cv-03093-HLT Document 182-11 Filed 09/18/20 Page 6 of 11
                          Appellate Case: 23-3102         Document: 010110884675   Date Filed: 07/10/2023   Page: 371



           Title CDMA T3 UPGRADE:

           lmpiememation lettet"" Sent? Y=
           Notified:. Glen Virden
           "Via: l-Site
           Erner Fax NtJmber or E-Mail ~ = l-Sil:e
           -For Each 'No' Selected. Pie= Document Why.-
           NA
           ! ~ e lmplemeraal:ion?




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HIGHLY CONFIDENTIAL - ATTORNEY'S EYES ONLY                                                                              SPRI NT-BANKS-00000081
                                           Case 5:15-cv-03093-HLT Document 182-11 Filed 09/18/20 Page 7 of 11
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                                                                                                                                     ...................................

                                                                                                                                 I_   Clear Fie!~ .l
           Title COMA DOWNGRADE TO PEN REGISTER

           fhision: CDMA
           S I S ~ Numbet-:. 20ll--OG5067 2013-068429-
           0rigiinal STS Case Number: 21113-068429 -
           PEN Expiration Date/Time: 04/09/2013 00:00 CT
           Downgrade Reason: Did Nm Recei'l!e Extension
           Cell Siles Authoozed in legal IJemi:ind fl'.lf" PEN? Yesj
           fremoyed CCR from MES Of" NORTEL TOOL? Yes




            Sh.ow Deleted Nmes
                  Sho,,.., All Notes @




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HIGHLY CONFIDENTIAL - ATTORNEY'S EYES ONLY                                                                                             SPRI NT-BANKS-00000082
                                         Case 5:15-cv-03093-HLT Document 182-11 Filed 09/18/20 Page 8 of 11
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           !Ille CDMA OOWHtiRADE TO PEN REGISTER                                             Primity      low
                                                                                                        ................................

          Removed Combined and CCC Frnm: Affl CENT
          Text Delivery Removed from CDDUs? Yes
          Qdl Corn:ent{JwmoJ Removed from COMA STARGATE? Yes
          LHMS D o ~ to PEN? N./A
          XMS TOOL D o ~ to PEN? Yes

          Billing Line Added lo Case in SIS? Yes




           Trtle CDMA DOWNGRADE TO PEN REGISTER                                              Priority     low                              Group ES

           Call Lllfll:ent~o) Removed from CDMA STARGATE? Y=
           LI-IMS Downgraded to PEN? N./A
           XMS TOOL D o w ~ to PEN? Yes

           Billing line Added to ·Case in STS? Yes
           ~Surveillance Notes: 7853756704KEU
           7856601691"




                                                                                                                                                                        373
HIGHLY CONFIDENTIAL - ATTORNEY'S EYES ONLY                                                                                                             SPRI NT-BANKS-00000083
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                                                                                                                              Phone Ca!I   I


           Title CDMA DOWNGRADE TO PEN REGISTER

           Division: CDMA
           STS Case ~ ; 2013-065067 2013-038429 -
           Original STS Case Number: .2013-038429 u
           PEN Expiration Date/Time: 04fD912013 00:00 CT
           Downgrade Re.aioon: Did Not Receive Exl:aisiOfi
           Cell Sites hll:hoozed in Legal Demand for PEN? Yes
           Removed CCR from MES or- NORTEL TOOL? Yes




            Shew Deleted Notes /''
                 Show Ml Notes   ?#




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HIGHLY CONFIDENTIAL - ATTORNEY'S EYES ONLY                                                                                    SPRI NT-BANKS-00000084
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           Title CDMA DOWNGRADE TO PEN REGISTER                                                Priority     Lww
                                                                                                          ·.............................. ..

          Removed Ccmbtned and CCC From: AFFL CENT
          Text Delivef]I' Removed from CDDUs? Yes
          Call 0:mtent{Audio} Removed fmm CDMA. STARGATE? Yes
          LHNS D o w ~ to PEN? NIA
          XMS TOOL Downgraded to PEN? Yes

          Billing Line .Added to ·Case in STS? Yes




          Call O:mtent{Audio} Removed from CDMA. STARGATE? Yes
          UHMS D o w ~ to PEN? NIA
          XMS TOOL Downgraded to PEN? Yes

          Billing Line Added to ·Case in STS? Yes
          "Surveillam::e Noles: 7853756704KBI
          7856601691"




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HIGHLY CONFIDENTIAL - ATTORNEY'S EYES ONLY                                                                                                                 SPRI NT-BANKS-00000085
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           low       CDMA DOWNGRADE TO PEN___          Division: CDMA.SIS Case Numb ___ _

                     CDMA I3 UPGRADE:                  D\lEA Case 10: 7853756704K. ..
           low       PHONECA.LlRECEWEO                 WHO CALLED: Tim BottsCALL __ _




           Title BILLING INQUIRY: CASE NOT IN:WICED                                                   Priority • hw                         ·.• Group ES
                                                                                                              '·······························
           Re=lui:ion:
           Invoiced on Pen case 2013--0384291




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                               EXHIBIT F




                                                                                        377
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                                                                                                                           378
                                               IN THE COURT OF GEARY COUNTY
                                                          STATE OF KANSAS
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                          IN THE MATTER OF THE APPLICATION   }
                                                             }
                          FOR AN ORDER AUTHORIZING THE       }                         No. _ _ _ _ _ __
Date Filed: 07/10/2023




                                                             }
                          INTERCEPTION OF WIRE COMMUNICATIONS}


                                             AFFIDAVIT IN SUPPORT OF APPLICATION


                                 I, Glen F. Virden, Senior Special Agent, Kansas Bureau of Investigation, being of
                          lawful age and duly sworn upon my oath depose and state:
                                         I am an «Investigative" law enforcement officer duly deputized with
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                                 1.
                          statutory authority for the State of Kansas, and as further recognized and defined by
                          K.S.A. 22-2514(5).
                                 2.      This affidavit is submitted in support of an application for an order
                          authorizing the interception of the wire communications of Otis Ponds, B/M Date of
                          B i ~ , and others listed below, over telephone number (316) 347-0088, a
                          personal cellular telephone currently in service with Verizon Wireless with Electronic
                          Serial Number(ESN) A000003962BB8A. Verizon Wireless records indicate the phone
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                          number to be subscribed to OAS PHONEINTHEBOX which the Affiant knows is not
                          the person using the cellular telephone as described in detail within this document. The
                          Affiant requests authority to intercept the wire communications of individuals
                          communicating on telephone number (316) 347-0088.
                                 3.      Affiant believes the following individuals will be intercepted over
                          telephone number (316) 347-0088; Otis Ponds, Anthony Carlyle Thompson, Albert
                          Dewayne Banks, and others yet unknown.
                                 4.      Affiant requests authority to intercept the conversations and the
                          background conversations intercepted in the vicinities of the aforementioned telephone
                          while the telephone is off the hook or otherwise in use. Affiant requests this authority in

                                                                                                               EXHIBIT 8

                                                                                                                D009137
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                          order to obtain evidence concerning the above persons' involvement in the following
                          offenses: Possession of Cocaine in violation of Kansas Statutes Annotated (K.S.A.) 21-
                          5706(a); Distribution of Cocaine in violation of K.S.A. 21-5705(a)(l); Conspiracy to
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                          commit these offenses in violation of K.S .A. 21-5302; and the Use of a Communications
                          Facility to facilitate the commission of the above offenses in violation of K.S.A. 21-
                          5707(a)(l ). All offenses are in violation of Kansas Law, which have been and are being
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                          committed by the persons identified herein and others yet unknown.
                                 5.      The Affiant has been a law enforcement officer since 2001 with the
                          Kansas Bureau of Investigation (KBI). The Affiant is currently a Senior Special Agent
                          with the Topeka Region of the Special Operations Division for the KBI. The Affiant is a
                          graduate of Cowley County Community College with an associate of applied science
                          degree in Criminal Justice and Southwestern College with a bachelor's degree in
                          Criminal Justice. The Affiant, while so employed in law enforcement, has received
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                          training in narcotics investigations to include, but not limited to: Kansas Law
                          Enforcement Training Center's Basic Training Academy, the Kansas Bureau of
                          Investigation's Advanced Investigations Academy, the Kansas Bureau of Investigation's
                          Clandestine Lab Certification School, Kansas Top Gun Narcotics training, and the U.S.
                          Drug Enforcement Administration's Basic Narcotics Investigators School. Affiant has
                          investigated numerous narcotics cases. These i~vestigations have included, but are not
                          limited to undercover purchases of narcotics, controlled purchases of narcotics using
                          cooperating individuals and search warrants_. The Affiant has arrested numerous
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                          individuals for violations of both state and federal violations of controlled substances
                          statutes. As a result, Affiant has interrogated many defendants, informants and others
                          who were either sellers, distributors, purchasers, manufacturers or users of controlled
                          substances. The Affiant is familiar with how controlled substances are obtained, diluted,
                          packaged, distributed, sold, used, and manufactured. Affiant is also familiar with the
                          records, books, and documents needed to carry on such illicit activity.
                                         (a)     Based on the above experience, Affiant believes there is probable
                          cause to believe the subjects of this investigation, both known and unknown, have
                          committed, are committing and will continue to commit offenses involving possession,
                          distribution and conspiracy to distribute cocaine. Such violations involve the use of

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                           communication facilities in order to facilitate the commission of the above offenses, each
                           being in violation of Kansas Unifonned Controlled Substances Act.
                                          (b)     That particular wire communications of the subjects .of this
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                           investigation concerning the above offenses will be obtained through the interception of
                           such communications to and from telephone number (316) 347-0088. In particular, there
                           is probable cause to believe that the communications to be intercepted will concern dates,
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                           times, and places for commission of the aforementioned offenses when the above named
                           interceptee communicates with the listed interceptees and other unknown suppliers, co-
                           conspirators, aiders and abettors. There is further probable cause to believe that the
                           communications to be intercepted will disclose the location of assets owned or controlled
                           by the persons involved, and the manner, extent and identity of persons who direct and/or
                           participate in the illegal activities set forth herein. These communications are expected to
                           constitute admissible evidence of the above-described offenses.
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                                          (c)     That telephone number (316) 347-0088, has been, is being, and
                          · will continue to be used in connection with the commission of the above offenses.
                           The interception of these communications is expected to concern verbal and messaging
                           discussions of the continuing conduct, financing, managing, supervising, directing, or
                           ownership of all or part of an illegal narcotics enterprise, including orders and
                           instructions to subordinates, the receipt of infonnation pertaining to the obtaining and
                           distribution of controlled substances, and other conversations relating to the
                           administration, control, and management of the aforementioned illegal drug activity..
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                                   6.     Nonna! investigative procedures have been tried and have failed to
                           achieve the goals of this investigation, or reasonably appear unlikely to succeed if tried,
                           or are too dangerous to employ, as more fully explained below.


                                   INVESTIGATIVE INVOLVEMENT OF STATE AND LOCAL LAW
                                                              ENFORCEMENT


                                   7.     This investigation is a result of a joint effort by the Affiant, other Agents
                           of the Kansas Bureau of Investigation (KBI), Officers of the Junction City Police
                           Department (JCPD), Officers of the Geary County Sheriffs Office (GESO) and Officers

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                                                                                                                   D009139
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                          of the Riley County Police Department (RCPD). The investigation covers a period of
                          time from June 2012 to the present. The statements contained in this affidavit are based
                          in part on information provided by Agents/Officers of the above-listed law enforcement
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                          agencies.    Because .this affidavit is being submitted for the purpose of securing
                          authorization for the interception of wire communications, Affiant has not included each
                          and every fact known to the Affiant concerning this investigation. Affiant has set forth
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                          only the facts that Affiant believes are necessary to establish the necessary foundation for
                          an order authorizing the interception of wire communications. If a court order is granted
                          authorizing the interception of wire communications in this case, only those persons and
                          agencies authorized by law to make such interceptions will be allowed to do so.
                                  8.     In April, 2012, Detective Nate Boeck:man of the RCPD contacted
                          Detective Alvin Babcock of the JCPD Drug Operation Group (DOG) with information
                          that Anthony Thompson (AKA "Ant") and Albert Banks (AKA ''AB") were distributing
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                          cocaine within the Junction City, Geary County, KS area and the Manhattan, Riley
                          County, KS area. RCPD received this information from a Source oflnformation (SOI) to
                          be referred to as "SOI #1" from this point forward. SOI #1 appeared to have knowledge
                          of some of the criminal elements related to Anthony Thompson and Albert Banks, but
                          was not allowed to have intimate knowledge of the day to day operations or the source of
                          supply of the cocaine.
                                 9.      SOI #1 did give information saying Anthony Thompson and Albert Banks
                          were receiving powder cocaine from an unknown supplier/s then transporting (or having
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                          it transported) back to the Junction City area where they would convert the powder
                          cocaine to crack cocaine themselves (evidence of this conversion will be explained in this
                          affidavit). SOI #1 did not have direct knowledge of when the powder cocaine purchases
                          were occurring, who was driving to purchase the powder cocaine and even if one of the
                          aforementioned persons were actually obtaining the cocaine or having another person
                          unknown to this investigation acquire and transport· the cocaine to Anthony Thompson
                          and Albert Banks.        SOI #1 has continued to give some credible information to
                          Agents/Officers but beyond that, SOI #1 has not been beneficial to the investigation. As
                          stated above, SOI #1 has limited knowledge related to the full scope of the cocaine
                          distribution network, other co-conspirators and the source of supply for the cocaine.


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                                      10.       The Affiant was contacted by Lieut'enant Mike Life of the JCPD and asked
                            to assist with the investigation.                  The Affiant met with Agents/Officers of the
                            aforementioned agencies to in an attempt to gamer information related to persons who
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                            might be involved in the distribution of cocaine.                      The Affiant then contacted an ·
                           individual who had been a Cooperating individual {Cl) for the .KBI since 1985 (to be
                           referred to as CI #1 from this point forward). The Affiant had a meeting with CI #1 and
                           asked if CI #1 would be willing to assist in the investigation to which CI #1 agreed.
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                           Since CI #1 's association with the KBI beginning in 1985, CI #1 has successfully been an
                           integral part of a number of State and Federal investigations which culminated with the
                           prosecution and convictions of numerous persons related to the distribution of drugs. CI
                           #1 has had a number of Agents within the KBI as his/her handler. The Affiant has had
                           contact with a number of these Agents who spoke highly of CI #1 and his/her abilities to
                           assist in investigations culminating in successful prosecution.
                                     11.       On 05-30-2012, Detective Alvin Babcock of the JCPD received phone call
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                           from Detective Nate Boeckman of the RCPD informing him that Detective Nate
                          Boeckman had received information alleging Albert Banks had left a package of cocaine
                          wrapped in either brown tape or a brown paper bag in an alley between 13th and 14th
                          Streets and Franklin and Monroe Streets in Junction City, Geary County, KS the previ~us
                          evening. Detective Nate Boeckman advised Detective Alvin Babcock that RCPD was
                          conducting surveillance on a residence in Manhattan, Riley County, KS where it was
                          believed Albert Banks was residing at the time. Detective Nate Boeckman advised a
                          white in color Chrysler 300 having black rims had arrived at the residence. The driver of
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                          the vehicle was identified by RCPD Detectives as Chris Howard. A short time later,
                          Chris Howard and Albert Banks were seen leaving the residence in the aforementioned
                          vehicle.
                                    12.       Also within the investigation, a source of supply has been located in the
                          Wichita, Sedgwick County, KS area. This source of supply is using telephone number
                          (316) 347-0088. The subscriber is OAS PHONEINTHEBOX but is believed to be Otis
                          Ponds who resides in the Wichita, Sedgwick County, Kansas Area.




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                                                                                                                                D009141
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                                                                                                                            383
                                         WIRE INTERCEPT ON ANTHONY THOMPSON'S PHONE
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                                   13.     (?~ --~3/0J/2.013 a lawful wire intercept w.as initiated on telephone number
                          (785) 226-1783 Jason Roberts but is being used by Anthony Thompson.                Anthony
                          Thompson is distributing crack cocaine in the Junction City, Geary County, Kansas area.
                          Numerous phone conversations have been intercepted which detail the activities of
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                          Anthony Thompson and other co-conspirators distributing crack cocaine.
                                   14.     On 03/08/2013 at approximately 3:38 p.m. a phone conversation was
                          intercepted between Anthony Thompson and the subject believed to Otis Ponds. During
                          this conversation, it was believed that Anthony Thompson asks Otis Ponds if he's
                          "bounced out already." After Otis Ponds advised "yeah", Anthony Thompson says ''well
                          shit". Anthony Thompson asks Otis Ponds if he could "grab a little easy" for him. Otis
                          Pf?.nds agrees and advising "yeah, I got you." The call was ended after this.
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                                   15.     On 3/8/2013 at approximately 3:39 p.m. a short phone conversation was
                          intercepted between Anthony Thompson and Otis Ponds.             During that conversation,
                          Anthony Thompson asks Otis Ponds if an unknown person was "trippin' on a, on that
                          good we had a; he was tripping on that was he?" Otis Ponds advised "I had already put it
                          back."    Anthony Thompson says "ah, you did?"           Otis Ponds again tells Anthony
                          Thompson "I put that shit back." A short time later Otis Ponds advises that someone
                          unknown "didn't have the money" and the unknown "didn't even know it was gone."
                          Near the end of the conversation, Otis Ponds tells Anthony Thompson ''yeah, I'll do that
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                          for you, as soon as I get down here."       Anthony Thompson responded to Ponds, "ok,
                          that's what's up homey, love." The two then hung up.
                                   16.     On 3/8/2013 at approximately 3:42 p.m. a phone conversation was
                          intercepted; in which, Otis Ponds calls Anthony Thompson.         Anthony Thompson asks
                          Otis Ponds "what was up, homey". Otis Ponds asks Anthony Thompson "hey, if you see
                          that nigga Martye, tell that nigga to call me asap." Anthony Thompson tells Otis Ponds
                          "okay, I just, I seen him but okay, I got ya," Otis Ponds advises "yeah, if he got that
                          change tell him that uh, (inaudible)" Anthony Thompson says "ok".               Otis Ponds




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                               responded with "it's 780." Anthony Thompson tells Otis Ponds "alright".        Otis Ponds
                               also advises "alright", and the two hung up.
                                          17.   On 3/8/2013 at approximately 7:52 p.m. a phone conversation was
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                               intercepted between Otis Ponds ·and Anthony Thompson.        Anthony Thompson answers
                               the phone. Otis Ponds asks Anthony Thompson for a favor. Anthony Thompson agrees
                               and Otis Ponds asks Anthony Thompson ifhe has a "hundred flip": Anthony Thompson
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                               initially says "shit I don't have, but I got yeah, I got it. What you want me to do?" Otis
                               Ponds tells Anthony Thompson to "go take it to Renee, she gonna have to give you a
                               hundred so I can keep it moving over there." Anthony Thompson agrees. Further in the
                               conversation, Otis Ponds tells Anthony Thompson that "I was supposed to go to the
                               place, but shit nigga's went to taking so long." Anthony Thompson later asks if Otis
                               Ponds had a "little change." Anthony Thompson tells Otis Ponds that "AB says you was
                               going to wear (inaudible) too." Otis Ponds advises that he(Otis Ponds) went to his "little
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                               stache".     Otis Ponds and Anthony Thompson agree, and Otis Ponds advises Otis Ponds
                               will see them "in about forty-five." Anthony Thompson agrees and tells Otis Ponds
                               "yeah, I'll take that over there, now homey". Otis Ponds wants Anthony Thompson and
                               AB to meet him at "the house." The call was ended shortly after.
                                      18.       On 3/9/2013 at approximately 3:49 p.m. a phone conversation was
                               intercepted between Otis Ponds and Anthony Thompson.                Initially, during the
                               conversation the audio sounds as if Anthony Thompson is having a conversation with
                               someone unknown.        Otis Ponds then asks "what's happenin' playa".          Anthony
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                               Thompson then acknowledges that Otis Ponds had answered the telephone and responded
                               to Ponds "what's up my nigga?"        During a portion of the conversation, Anthony
                               Thompson tells Otis Ponds "we got some in, we in the back, we at the back door." Otis
                               Ponds says "oh, I thought you was trippin' or something."     Anthony Thompson wants
                               Otis Ponds to "open the door man" and a few seconds later the call is ended.
                                      19.       On 3/14/2013 at approximately 2:51 a.m. a phone conversation was
                               intercepted between Otis Ponds and Anthony Thompson.            During a portion of the
                               conversation, Otis Ponds tells Anthony Thompson "you know my motto, sell my half."
                               Anthony Thompson and Otis Ponds then start laughing. Anthony Thompson asks Otis



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                                                                                                                    D009143
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                           Ponds if he(Otis Ponds) wants to talk with Martye; in which, Otis Ponds agrees. Otis
                           Ponds and Martye then have a conversation, and the call is ended shortly after.
                                  20.     On 3/15/2013 at approximately 1:54 p.m. a phone conversation was
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                           intercepted from Anthony Thompson to Otis Ponds. · During the conversation, Otis
                          Ponds advised that Otis Ponds was on his way to Kansas City and explains that Otis
                          Ponds had to drop a "sister" off and grab "lil mamma" and come back.                 Anthony
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                          Thompson asks Otis Ponds "what you want me to do with smoke?" Otis Ponds then asks
                          Anthony Thompson 1'ah shit, oh your sister says you hadn't hollered at him." Otis Ponds
                          tells Anthony Thompson "check this out, this is what I need you to do though, ah shit, ah
                          what he trying to, what he need to, to get together?" Anthony Thompson responded to
                          Ponds with "I don't know, I really don't know." Otis Ponds responded to Anthony
                          Thompson advising that "ok, man, he need to take a break. That's what he needs to do."
                          Anthony Thompson asks "what?" Otis Ponds said "you need to know he needs to just
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                          take a break for a minute." OTIS PONDS is briefly inaudible, but then advises "you
                          know he's so crazy his money's going to get fucked." OTIS PONDS says "ah, but um,
                          shit ah, don't even trip shit ifhe needs something let me know, and then he can call, call
                          me, and I'll tell you where it's at." ANTHONY THOMPSON advises "ok." The two
                          then end the call within seconds.
                                  21.    On 3/16/2013 at approximately 12:31 p.m. a phone conversation was
                          intercepted; in which, Anthony Thompson calls Otis Ponds.           During that phone call,
                          Anthony Thompson asks Otis Ponds ''what you ah, you said you need _me to (inaudible)
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                          with change." Otis Ponds advises "I was going to have you, go to the uh, if you got it on
                          you, go uh to the room, ah grab that, it's a 208, I need to get that room, uh, for the uh, for
                          the night. Til tomorrow.     Cause I got to, I'm about to take, bring my bitch down there
                          she gotta work tomorrow, I mean tonight."         Anthony Thompson asks "oh, you coming
                          down tonight?"      Otis Ponds responded "yeah I'm coming down right here in a hot
                          second. My bitch gotta work tonight at seven at Mustangs." Anthony Thompson asks
                          "what you ah, everything cool or what?" Otis Ponds tells Anthony Thompson "yeah,
                          that's what I'm ah, calling a nigga for now, that's why I hadn't left yet." Anthony
                          Thompson asks Otis Ponds "you want me to send you a li1 change?" Otis Ponds asks
                          Anthony Thompson "ah shit, no, what was you talking about homey?"                   Anthony


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                          Thompson says "I was probably gonna grab one or something." Otis Ponds says "grab
                          one, shit, then I'll, bitch, bitch the crazy thing about it all is that nigga I still got, I still got
                          damn near a the uh, da whole down there." Anthony Thompson asks Otis Ponds "for
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                          real, ready?" Otis Ponds says ·"yeah; at therooni, ready. That's why I'm trying to.hurry·
                          up and get down there, but I had moved it. What did you, you need some right now?"
                          Anthony Thompson says "oh shit, not, not man, I don't really need it like right, right
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                          then. I was just, I was really going come in hot, I didn't know you was coming down
                          here today. Shit." Otis Ponds responded "shit, what you was gonna come down this
                          way"; in which, Anthony Thompson advises "yeah."                     Otis Ponds asks Anthony
                          Thompson "what you gotta bring the kids or something?" Anthony Thompson tells Otis
                          Ponds "no, uh uh.'' Anthony Thompson then explains that his kids are "down here"
                          advising to Otis Ponds that it's Spring Break. Otis Ponds then confirms "ok, uh, what
                          you need, oh ok, you need one. I'm calling a nigga now, nigga everything, uh nigga uh,
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                          he gotta uh, like a little janitorial service." Anthony Thompson interrupts Otis Ponds and
                          says "ah, shit it don't matter, (inaudible) whatever, shit it don't matter." Otis Ponds tells
                          Anthony Thompson "ok, I got ya. I'll just get with you, uh, I'll get with you when I get
                          back."    Anthony Thompson says "ah, ok, that'll work."               Otis Ponds tells Anthony
                          Thompson the "room is like eighty three dollars or something at the Quality Inn it's
                          already 208, just tell them you're paying for me another day, Otis Otis Ponds." Anthony
                          Thompson confirms with "Quality 208, ok." The two begin talking about Martye. Otis
                          Ponds tells Anthony Thompson that he(Otis Ponds) would call as soon as "I'm(meaning
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                          Otis Ponds) there." After a short conversation, the two then hang up.
                                   22.    On 3/16/2013 at approximately 2:29 p.m. a phone conversation was
                          intercepted between Otis Ponds and Anthony Thompson. Anthony Thompson tells Otis
                          Ponds that Otis Ponds needs to go pick the keys up. Anthony Thompson asks if anything
                          was in the room. Otis Ponds tells Anthony Thompson there was some clothes and "shit''
                          in the room but doesn't sound concerned.              Otis Ponds then says "I'm getting you
                          together right now, we just going do the uh, we just gonna go in half on one so."
                          Anthony Thompson tells Otis Ponds "ok, that will work." Otis Ponds responded "alright,
                          bet." Anthony Thompson and Otis Ponds then end the call.



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                                  23.       On 3/16/2013 at approximately 2:29 p.m. text messages were intercepted
                          between Otis Ponds and Anthony Thompson.             The initial text from Otis Ponds to
                          Anthony Thompson read 'We gud bro." On the same date at approximately 3:24 p.m.
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                          Anthony Thompson responded with a text message with "Bet." On the same· date at
                          approximately 3:47 p.m. Otis Ponds responded with a text message to Anthony
                          Thompson reading "Were u at fam".         After this, two telephone calls were intercepted
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                          from Otis Ponds to Anthony Thompson; however, Anthony Thompson did not answer the
                          telephone. On the same date at approximately 4: 15 p.m. Otis Ponds again sends a text to
                          Anthony Thompson reading "Were u at fam cal me bac asap".
                                  24.      On 3/16/2013 at approximately 4:27 p.m. a phone conversation was
                          intercepted between Anthony Thompson and Otis Ponds.                 During that phone
                          conversation, Otis Ponds tells Anthony Thompson "go up there to the front desk get the
                          key right." Anthony Thompson tells Otis Ponds "uh huh, I'm in the hat but I can go do it
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                          though."      Otis Ponds says "yeah, when you go in the room, look in that coffee thing."
                          Anthony Thompson responded to Ponds with "ok." Otis Ponds says "that's the whole
                          thing, but shit just take your part out of it." Anthony Thompson again responded to
                          Ponds with "ok." Otis Ponds then tells Anthony Thompson that Otis Ponds has to go to
                          L~wrence but tells Anthony Thompson when he does that, to pull up by the trash can and
                          look on the side of that "storage thing."      Otis Ponds tells Anthony Thompson that
                          Anthony Thompson will know what he(Otis Ponds) is talking about. Otis Ponds wants
                          Anthony Thompson to "put that up for me if you can." Anthony Thompson agrees with
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                          "ok."    The call ended shortly after.    (The item Otis Ponds discusses with Anthony
                          Thompson near the storage thing was a paper bag containing a bag of Cocaine seized by
                          the Affiant in the action described below.)
                                  25.      On 03/16/2013, the Af:fiant was contacted by monitors who were
                          monitoring telephone number (785)226~ 1783 being used by Anthony Anthony
                          Thompson. Monitors described the above phone call between Otis Ponds and Anthony
                          Thompson; including Otis Ponds conversation with Anthony Thompson about the item
                          by the "storage thing." The Affiant, with other surveillance officers monitoring, walked
                          to the shed located on the south side of the Quality Inn. The Affiant located a brown
                          paper bag between the curb and the shed; located in the parking lot.         The Affiant



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                                secured the brown paper bag with contents and transported the item to the Junction City
                                Police Department for inspection. Upon inspection of the contents of the brown paper
                                bag and contents; the Affiant noted a clear baggy containing an off white chunky
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                                substance was located inside the brown paper bag. The Affiartt weighed the clear baggy -
                                with the off white chunky substance. The baggy with off white chunky substance had an
                                approximate gross weight of 25.7 grams. The Affiant then conducted a field test on a
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                                portion of the off white chunky substance utilizing a Scott Reagent Modified 07 field test
                                kit. When testing the off white chunky substance; the Affiant noted the test revealed a
                                presumptive positive for the presence of Cocaine. The Affiant packaged and secured the
                                item as evidence.
                                       26.     On 3/29/2013, the Affiant received a Forensic Laboratory report which
                                stated cocaine base was indicated in the aforementioned item and had a net weight of
                                24.69 grams.
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                                       27.     On 3/16/2013 at approximately 4:28 p.m. a short phone conversation was
                                intercepted between Otis Ponds and Anthony Thompson.            Otis Ponds tells Anthony
                                Thompson "the coffee thing is in the restroom." Anthony Thompson replies with "oh,
                                ok." Later, Otis Ponds tells Anthony Thompson "look for the brown bag on the side of
                                that thing." Anthony Thompson replies with "ok." The call is then ended.
                                       28.     On 3/16/2013 at approximately 6:09 p.m. a phone conversation was
                                intercepted between Otis Ponds and Anthony Thompson.             During the conversation
                                Anthony Thompson tells Otis Ponds "yeah this is here, but shit, ah you sure you this
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                                ain't, what it, you didn't put it in here." Otis Ponds tells Anthony Thompson "na, it ain't
                                in there, that's the whole, that's one the whole thing. Man, somebody has found that ah,
                                paper." Anthony Thompson interrupts Otis Ponds and says ''you got some soft in here
                                too or something." Otis Ponds says "yeah, no that's the whole thing, thats the whole
                                that's all." Anthony Thompson says "oh this is, what about this other one." Otis Ponds
                                says "what other one." Anthony Thompson says "there's two things in here." Otis Ponds
                                says "did I take some and put it in this." Anthony Thompson interrupts and says "it's in a
                                ziplock, you got some in a big ziplock bag." Otis Ponds tells Anthony Thompson "I did,
                                that's, that's, that's the uh, that's the cut up for me to (inaudible.)" Anthony Thompson
                                says "oh, ok, oh, ok." Later, Anthony Thompson tells Otis Ponds "that chunk, that's the

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                                     whole thing." Anthony Thompson replies with "(inaudible)this is other shit, that's some
                                     other shit." Otis Ponds says ''yeah, that's the that's the shit to uh cut it up with the uh.''
                                     Anthony Thompson then asks Otis Ponds "what you get for the half of this?" Otis Ponds
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                                     tells Anthony Thompson "shit, just whatever half uh, (inaudible) 675."              Anthony
                                     Thompson replies with "oh, ok, two uh, I mean six uh," Otis Ponds interrupts with "675."
                                     Otis Ponds tells Anthony Thompson to "take all that outta there." Otis Ponds then tells
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                                 .41Otis Pc:lnds to "look again." Anthony Thompson and Otis Ponds have a conversation
                                     about an item that was missing, and Anthony Thompson tells Otis Ponds that the
                                     "housekeepers be moving around." Anthony Thompson suggested that the item "fell up
                                     under there"; in which, Otis Ponds advises the item couldn't have. Anthony Thompson
                                     and Otis Ponds have a brief conversation and the call is ended.
                                             29.      On 3/16/2013 at approximately 6:14 p.m. a phone conversation was
                                     intercepted between Anthony Thompson and Otis Ponds.              During that conversation
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                                     Anthony Thompson tells Otis Ponds "I don't see it, homey (inaudible) they had a white
                                     boy shit pulling up over there too. I was just said fuck it, I don't see it that mothafucker
                                     should just been sitting right there." Otis Ponds responded thinking that the "white boy,
                                     probably seen it." Otis Ponds explains that there was a ''white boy out there" "moving
                                     around."      Otis Ponds then speaks to someone else off of the telephone.          Anthony
                                     Thompson asked Otis Ponds "what the white boy looked like." Otis Ponds says ''it was
                                     an older white dude." Later in the conversation Anthony Thompson says "twenty one,
                                     that's a couple riggedy's right there, at least a rack." Anthony Thompson and Otis Ponds
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                                     talk about the potential of Anthony Thompson just not seeing the item where it was
                                     located. The call is ended.
                                             30.      On 03/16/2013 at approximately 7:47 p.m. a phone conversation was
                                     intercepted between Otis Ponds and Anthony Thompson. During that conversation Otis
                                     Ponds and Anthony Thompson talk about the "white dude" seen and Otis Ponds asks if
                                     he(white dude) was driving a "black car." Anthony Thompson advises "yep"; in which,
                                     Otis Ponds tells Anthony Thompson ''that motherfucker is still sittin' outside." Anthony
                                     Thompson tells Otis Ponds that "he look like the police." Otis Ponds tells Anthony
                                     Thompson "that's what I was wondering." Anthony Thompson described how he was
                                     looking for the item.   Further in the conversation, Otis Ponds tells Anthony Thompson


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                          the item had been sitting there since "yesterday morning when I left."       Otis Ponds tells
                          Anthony Thompson that Otis Ponds is "down here now." Otis Ponds tells Anthony
                          Thompson that the female has to work at "Mustangs tonight." Otis Ponds describes a
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                          female that he(Otis Ponds) is taking to Lawrence because she has to work at the "VIP
                          joint" tomorrow.      Otis Ponds tells Anthony Thompson "I gotta make that shit up
                          somehow." Later in the conversation, Otis Ponds tells Anthony Thompson "that in the
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                          room, that just got there today." Otis Ponds says "that shit that was missing that was
                          there yesterday." The call then is ended.
                                  31.    On 3/16/2013 at approximately 10:22 p.m. a phone conversation was
                          intercepted between Otis Ponds and Anthony Thompson.               During a portion of the
                          conversation, Otis Ponds tells Anthony Thompson 'Tm going have to move that, uh, that
                          green and shit from over at that bitches house. This bitch talking bout she ain't even got
                          no, uh, no change. I'm like how the fuck you ain't got no change, she said it was poppin'
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                          last night. But your sister said she seen her, and said the bitch look like she was uh,
                          twerk, I mean uh, tripped out, like shit, like the bitch was high or something." Anthony
                          Thompson asks if Otis Ponds was ''talking about the black one."          Otis Ponds agrees.
                          Otis Ponds later says that "she gonna have to pay up, I ain't fucking with you like that."
                          Otis Ponds and Anthony Thompson continue their conversation about the female.           Otis
                          Ponds later describes himself as "not a pimp" but a ''jack of all trades."
                                 32.     On 3/16/2013 at approximately 10:24 p.m. a text message was intercepted
                          from Otis Ponds to Anthony Thompson that read "Bro only do 7g I need a ball".
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                          Anthony Thompson responded to Otis Ponds with a text that read "K".
                                 33.     On 3/16/2013 at approximately 11:19 p.m. a phone conversation was
                          intercepted between Otis Ponds and Anthony Thompson.                  Otis Ponds discusses
                          forgetting to talk to AB about grabbing "one of those things." Otis Ponds and Anthony
                          Thompson have a conversation about females. During the conversation, Otis Ponds talks
                          about a female that "now wants to be a dope girl." Otis Ponds talks about wanting to tell
                          the female "I shouldn't have to move no sack, bitch you should be having to move it.
                          The only time I'm a moving a sack is for my niggas." Otis Ponds continued to talk about
                          the female with Anthony Thompson.           Otis Ponds then talks about a chick named
                          "Smiley" who had called him. Otis Ponds says "I was going to do the cup trick to her, I


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                          was going to put it in a McDonald's cup and just set it somewhere and be like hun let me
                          get the (inaudible) bitch let me get the money (inaudible.)" Anthony Thompson advises
                          «right now she's cool, but I just don't, you know what I'm saying, I'm just going to give
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                          you the heads up that she can go bad, man;at any given time. --So you know what I'm
                          saying." Otis Ponds tells Anthony Thompson that Anthony Thompson's sister told Otis
                          Ponds "don't fuck with her."        Otis Ponds and Anthony Thompson continue their
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                          conversation; including talking about a subject named "Wig." Otis Ponds and Anthony
                          Thompson talk for several seconds about a female in a "strip joint" doing "tricks" for
                          "$350 a pop". The call is ended shortly after.
                                  34.    On 3/18/2013 at approximately 12:45 p.m. a phone conversation was
                          intercepted between Anthony Thompson and Otis Ponds. During the conversation, Otis
                          Ponds advises to Anthony Thompson that Otis Ponds was at the room.           Otis Ponds and
                          Anthony Thompson talk about loohlng for an item ''up under a trash can beside the
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                          pallet" that was gone. Otis Ponds explains the item must have been taken, and describes
                          a loss of "thirty four, thirty five hundred dollar loss it took 24 hours." Otis Ponds says, "I
                          had something to do with that change, I had some shit I needed to do with it." Anthony
                          Thompson asks Otis Ponds if Otis Ponds had talked to "Bo" explaining to Otis Ponds that
                          "Bo" probably found the item.      Otis Ponds advises that he had been trying to call "Bo".
                          Anthony Thompson tells Otis Ponds that he would attempt to call him.
                                 35.     On 3/21/2013, Detective Alvin Babcock of the Junction City Police
                          Department drove to the Quality Inn Motel at 305 E. Chestnut Street in Junction City,
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                          Geary County, Kansas. Detective Babcock confirmed Otis Ponds had rented room #208
                          at the same motel for the dates of 3/15/2013, 3/16/2013, and 3/17/2013.            Detective
                          Babcock identified that Otis Ponds had switched rooms on 3/17/2013. At that time Otis
                          Ponds was identified as staying in room #205 of the same Quality Inn Motel; until
                          3/20/2013.    Later, Detective Babcock reported checking the validity of Otis Ponds
                          driver's license; in which, Detective Babcock was advised that Otis Ponds' Kansas
                          driver's license was suspended.
                                 36.     On 3/22/2013 at approximately 12:45 p.m. a phone conversation was
                          intercepted between Anthony Thompson and Otis Ponds.             Otis Ponds tells Anthony
                          Thompson about some the "damn cop shit." Otis Ponds discusses being followed by

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                              police and Otis Ponds avoiding them.     Otis Ponds said "he didn't think I knew who he
                              was." Otis Ponds discusses that when he was parked at the motel, the person drove by
                              and got his tag near the CD Tradepost.      Otis Ponds tells Anthony Thompson that the
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                              person wrote down the tag. ·· Otis Ponds then tells Anthony Thompson "then when the
                              name pop up, it's gonna be my cousin, and he gonna, he, my cousin look just like me. So
                              he (inaudible)." Anthony Thompson replied "see that's the good thing about it." Otis
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                              Ponds tells Anthony Thompson "yeah, this nigga got life." Anthony Thompson then says
                              "that's what you gonna, that's what you gonna hit em with if they ever try to bloop you
                              ain't ya." Otis Ponds then tells Anthony Thompson "Man, hell yeah, my name is Devon
                              Otis Ponds partner.    Shit I lost my ID, one of ya'll motherfuckers Junction City
                              motherfuckers stoled it." Anthony Thompson replied with "yep." Otis Ponds describes
                              how he would leave prior to law enforcement finding out who he really was. Later in the
                              conversation, when Otis Ponds is talking about coming back to town with his "lil bitch
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                             that work at the aircraft," Otis Ponds says he's gonna ''slide in on the under." Anthony
                             Thompso n says "let me shoot this change down there. Even if you don't come, I'll just
                             come grab it tomorrow, it don't matter." Otis Ponds says to Anthony Thompson "ole
                             boy, that 1250 dude ain't, dude ain't poppin with it." Otis Ponds later says "I'll probably
                             go holla at ole busy and them." Anthony Thompson says "ok, what's that like 14," with
                             Otis Ponds response as "yeah, 14." Later Anthony Thompso n says "I might have enough
                             on me, let me count my change up and see, if not I might have to shoot to the Hat." Otis
                             Ponds then says "ok, but shit, don't let nobody even know." Anthony Thompson agrees.
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                             Otis Ponds and Anthony Thompso n end the call shortly after.
                                    37.    On 3/22/2013 at approximately 8:31 p.m. a phone conversation was
                             intercepted between Otis Ponds and Anthony Thompson.        Initially during the telephone
                             call, Anthony Thompson says "ah shit, I'm uh, shoot you 7 up there." Otis Ponds replies
                             with "shoot me 7, alright bet."    During the conversation, Otis Ponds tells Anthony
                             Thompson to "put it to Otis Otis Ponds" with Anthony Thompson confirming this
                             advising it was going to be at the "money gram." Otis Ponds describes that the money
                             gram closes early. Later in the conversation, Otis Ponds tells Anthony Thompson that he
                             will get "it" advising that "I got enough money to square at that." Otis Ponds and



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                          Anthony Thompson then began talking about a female.          The phone conversation ends
                          soon after.
                                  38.    On 3/~3/2013 at approximately 12:26 a.m. a phone conversation was
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                          intercepted between Anthony Thompson and Otis Ponds. ·· Anthony Thompson and Otis
                          Ponds negotiate to meet at "Eve's".      Otis Ponds tells Anthony Thompson that he was
                          staying the night.   Otis Ponds admits to "switching everything up." Otis Ponds tells
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                          Anthony Thompson that Otis Ponds was going to the Best Western or Marriot.            Otis
                          Ponds says he's going to go back home, and chill out; advising that he was still "trying to
                          recover off that loss." Otis Ponds tells Anthony Thompson that ''ya '11 just going to have
                          to come up my way for a minute."          Otis Ponds and Anthony Thompson finish the
                          conversation and the call was ended.
                                 39.     On 3/23/2013 at approximately 2:58 p.m. a phone conversation was
                          intercepted between Anthony Thompson and Otis Ponds.             Initially, the two begin
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                          speaking about Martye.       Otis Ponds then speaks about a female being on "pills"
                          including "Loratabs;" Otis Ponds begins talking about a female and prostitution. Later,
                          Otis Ponds says " hey on that, what we was talking about, is you ready on that end?"
                          Anthony Thompson's initial response was inaudible. Otis Ponds replies to Anthony
                          Thompson with "yeah." Anthony Thompson then asks Otis Ponds if he was "down
                          here." Otis Ponds advises "no, no, no I'm already back, I had to bring baby, baby back."
                          Anthony Thompson says "nah, for real, I probably will be in a little bit though." Otis
                          Ponds later tells Anthony Thompson, "I've got something even better going." Otis Ponds
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                          wants to tell Anthony Thompson about it "in your face." Anthony Thompson agrees and
                          advises that Anthony Thompson could ''bring the boys up tomorrow." The two talk
                          about going to the casino and the weather. Otis Ponds begins talking about his "hoe" that
                          could've done a trick for three grand.    Otis Ponds gives further advice for women to
                          Anthony Thompson. Anthony Thompson and Otis Ponds begin talking about "Smiley"
                          and "Smiley's" recent arrest involving the possession of Cocaine and Marijuana.       Otis
                          Ponds says "she must've not got caught with no work." The two then began discussing
                          the possibility that "Smiley" possibly working for law enforcement.       Otis Ponds tells
                          Anthony Thompson about needing to have his female do all the work, so that Otis Ponds



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                          doesn't have to "touch nothing." Otis Ponds and Anthony Thompson continue their
                          phone call about females; and after a lengthy conversation, the call was ended.
                                 40.     On 3/24/2013 at approximately 1:35 p.m. a phone conversation was
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                          intercepted between Anthony Thompson and Otis Ponds.            Otis Ponds asks Anthony
                          Thompson if Anthony Thompson was going to bring his kids down today.              Anthony
                          Thompson advised that he was going to wait until after the funeral. Otis Ponds advises
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                          that Otis Ponds was going to tell his probation officer and tell them Otis Ponds was going
                          to go to a funeral. Otis Ponds and Anthony Thompson talk about AB. Later, Otis Ponds
                          asks "what you wanna do, you wanna go four on four on that Q?" Anthony Thompson
                          advises "oh, yeah." Otis Ponds later says "I wish we could go. eight on eight on
                          motherfucker, that half a thing." Anthony Thompson says "yeah, we need to get it
                          moving."     Otis Ponds and Anthony Thompson talk about Martye and the phone
                          conversation is ended shortly after.
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                                 41.     On 03/07/2013 a lawful wire intercept was initiated on telephone number
                          (785) 375-6704 which had no subscriber information but is being used by Albert Banks.
                          Albert Banks is distributing crack cocaine in the Junction City, Geary County, Kansas
                          area Numerous phone conversations have been intercepted which detail the activities of
                          Albert Banks and other co-conspirators distributing crack cocaine.
                                 42.     On 3/7/2013 at approximately 9:27 p.m. a text message was intercepted
                          from Otis Ponds to Albert Banks. The text message was sent twice within the same
                          minute and read "Were u at bro need to get sum reg bro?"
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                                 43.     On 3/8/2013 at approximately 1:30 p.m. a phone conversation was
                          intercepted between Otis Ponds and Albert Banks.        The phone call was from Albert
                          Banks to Otis Ponds; in which, Albert Banks advised to Otis Ponds "I'm just going to
                          hold on off, I'm gonna get the rest of that on off, (inaudible), I've still got to give you
                          forty dollars man." Otis Ponds says "I know, I forgot all about, I was just thinking about
                          that like damn, I was wondering why my money was short." Albert Banks interrupts Otis
                          Ponds advising "(inaudible) forty dollars." Otis Ponds says "huh, yeah, ok, well shit,
                          don't even trip.   But I might just go on and grab, grab your H town anyway you know
                          and just bring it back like fuck it." Albert Banks responded to Ponds with "ok, shit, I'll



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                          be ready by the time you get back though." Otis Ponds agrees with "alright" and the call
                          is ended shortly after.
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                                   44.    On 3/10/2013 at approximately 5:24 p.m. a phone conversation was
                          intercepted between Otis Ponds and Albert Banks. Otis· Ponds had called Albert Banks
                          and asked Albert Banks where he was at. Albert Banks reply was inaudible. Otis Ponds
                          tells Albert Banks that "alright cuz I got some that uh, some bread that you can get too."
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                          Albert Banks responded to Ponds with ''oh, alright I'll be there in a second." The call is
                          ended shortly after.
                                   45.    On 3/12/2013 at approximately 8:29 p.m. a phone conversation was
                          intercepted between Otis Ponds and Albert Banks.             During the conversation, Albert
                          Banks tells Otis Ponds about a recent CD Albert Banks had purchased that is about
                          somebodies mom "smoking crack." Albert Banks confirms he had purchased the CD's in
                          Topeka on the day of the call. Later in the conversation Otis Ponds asks Albert Banks
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                          "what's up with your boy?" Albert Banks said "I've been waiting on him to call me, but
                          he never called back." Otis Ponds tells Albert Banks "I need ah, when I get down there
                          I'm gonna need ah, ah, (inaudible) yeah." Albert Banks tells Otis Ponds "alright it's all
                          good." Otis Ponds says "yeah I need some of that, you, you got uh." Albert Banks says
                          "hey you know you still got a little bit of that green left man." Otis Ponds says "where?"
                          Albert Banks says "in that little baby wipe thing." Otis Ponds tells Albert Banks that he
                          had forgotten about it and says ''well shit I'm good then, I ain't trippin." Albert Banks
                          and Otis Ponds then talk further about the CD and other music. The call is ended shortly
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                          after.
                                   46.    On 3/13/2013 at approximately 11:50 a.m. a phone conversation was
                          intercepted between Albert Banks and Otis Ponds.            Initially, Albert Banks and Otis
                          Ponds discuss a new CD and other music. The two then discuss Martye's brothers death.
                          Later in the conversation, Albert Banks tells Otis Ponds "it's all good on that end." Otis
                          Ponds asks "on the what?" Albert Banks says "on the end." Otis Ponds says "no shit. I
                          wish you would've told me last night. Cause I just went in and got down. Ah, but you
                          said 1250 to huh?" Albert Banks says "yeah." Otis Ponds says "ok, I gots, my dude right
                          now I'm about to meet up with for the same ticket. And we gonna compare notes when I
                          get there, and shit, if your notes is better than mine, then shit."

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                                  47.     On 3/22/2013 at approximately 10:44 a.m. a phone conversation was
                          intercepted between Albert Banks and Otis Ponds. During that conversation, Otis Ponds
                          originally asks "what you think about if a mother fucker say ah, 16 for that ah, half half
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                          of that (inaudible) some of that old, uh, what's that shit, some of that old keshu. Is that
                          cool?" Albert Banks replies with "ah, ah, ah, a half a thing." Otis Ponds says "yep."
                          Albert Banks asks "hold up, that's it's name, keshu?" Otis Ponds then tells Albert Banks
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                          "yep, no, uh it um oh, what's that shit that you had, AK-47 or some shit?" Albert Banks
                          again replies "what's the name of it?" Otis Ponds tells Albert Banks "shit that's what I'm
                          saying, that's what it is?" Albert Banks asks Otis Ponds again "that's what it is?" Albert
                          Banks can be heard talking to someone in the background. A short time later, Albert
                          Banks comes back and says "a half a p?" Otis Ponds and Albert Banks agree that it's $16
                          dollars or as Otis Ponds said "8 a q." The conversation is ended shortly after.
                                  48.    On 3/24/2013 at approximately 2:31 p.m. a phone conversation was
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                          intercepted between Albert Banks and Otis Ponds.      Otis Ponds talks about trying to stop
                          Albert Banks when Albert Banks left Lucky's. Otis Ponds and Albert Banks talked about
                          how things were slow.      Otis Ponds said 'Tve been taking too many losses." Albert
                          Banks and Otis Ponds began talking about females. After that Otis Ponds brings up
                          Martye; in which, Albert Banks talks about Martye wanting some money.             Otis Ponds
                          asks Albert Banks "did Ant tell you what I seen yesterday when I was taking baby to
                          work." Otis Ponds advised "l seen the people on the otherside, on the front side." Otis
                          Ponds later explained there was three different people on different locations of the block.
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                          Otis Ponds told Anthony Thompson that he was "down here" and had been. Albert
                          Banks later tells Otis Ponds that "it's also the end of the month, so you gotta start
                          budgeting and shit. Cause at the end of the month, shit start getting slow." Otis Ponds
                          agreed. Albert Banks ask Otis Ponds if Otis Ponds knew that "Ant got wooped on at the
                          club." Otis Ponds advised he had "heard." Albert Banks began talking about hearing
                          that "they shut the roads down there to the dub." Albert Banks believed it was due to the
                          snow. Otis Ponds later said "even if a nigga was trying to go back shit, nigga couldn't."
                          Otis Ponds asks Albert Banks if "you still right?'' Albert Banks replied "I'm still cool,
                          I'm almost (inaudible). It's slow motion, this shit have been gone." Otis Ponds tells
                          Albert Banks "shit nigga, I've been sittin', sittin' and sittin' on my shit. Yeah I ain't,


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                           man, if I don't keep it undone, it ain't gettin' sold." Otis Ponds later says "I think it's
                           time to switch towns. Shit, shoot my ass down to old Parsons for a little bit, see what the
                           hell is going on down there." Albert Banks asks Otis Ponds "that's at the bottom of
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                           Kansas ain't it." Otis Ponds advised "yep." The conversation is ended shortly after.
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                                                        CONFIDENT IAL SOURCES


                                  49.     To date, there are two cooperating individuals (Cl's) that have been
                          developed and assisting with the investigation into Albert Banks and Anthony
                          Thompson's illegal drug distribution. Neither of these Cl's are, nor can they be, utilized
                          to assist with the investigation involving Otis Ponds as they are already assisting with the
                          Albert Banks and Anthony Thompson investigation and therefore would have no reason
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                          (in the minds of Albert Banks, Anthony Thompson or Otis Ponds) to look towards Otis
                          Ponds for illegal drugs to purchase. Neither of the Cl's have any knowledge of Otis
                          Ponds. No other Cl's have been developed to assist in the investigation of Johnny Otis
                          Ponds and no Cl's are anticipated to be developed at this point in the investigation.




                                                    FACTS AND CIRCUMSTA NCES
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                                 50.     Based upon the Affiant's investigation and those of other law enforcement
                          agencies, the following facts and circumstances are set forth. The Affiant believes the
                          investigation has revealed that Otis Ponds, Anthony Thompson and Albert Banks are
                          involved in the distribution of illegal drugs and have been for some time. Given the
                          content of the phone conversations between Otis Ponds, Anthony Thompson and Albert
                          Banks as well as the amounts of crack cocaine sold to CI #1 by Anthony Thompson and
                          Albert Banks, and the amounts of controlled substances available to sell, the Affiant
                          believes Otis Ponds, Anthony Thomspon and Albert Banks have been and will continue
                          to be involved in an ongoing conspiracy to distribute illegal drugs. The conspiracy
                          includes numerous persons both known and unknown. Otis Ponds, Anthony Thompson


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                          and Albert Banks continue to realize profits from the sale of controlled substances. Based
                          on all the information the investigation has been able to gather thus far, it is the
                          consensus of the law enforcement investigators that Otis Ponds, Anthony Thompson and
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                          Albeit Banks, in association with others, are involved "in extensive illegal drug activity.
                          This is evident by the sales of controlled substances to CI #1, observations made during
                          those sales, and phone conversations intercepted between Otis Ponds, Anthony
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                          Thompson and Albert Banks.


                                                   GOALS OF THE INVESTIGATION


                                  51.    It is the goal of the Law Enforcement personnel involved in this
                          investigation to identify all persons involved in this operation whether they are in Kansas
                          or any other state. The identity of persons that are transporting, manufacturing and/or
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                          storing illegal drugs in Kansas is being and will continue to be pursued.    The identities
                          and prosecution of the conspirators involved in the transportation, manufacturing, storing
                          and distribution of illegal drugs to and from the state of Kansas is hoped to be achieved.
                          Another goal of this investigation is to dismantle this organization that is under the
                          control of Otis Ponds, Anthony Thompson and Albert Banks.               It is believed this
                          organization is responsible for the distribution of large amounts of illegal drugs in
                          Sedgwick, Geary and Riley County, Kansas.          At this time, the clear scope of the
                          organization, all the conspirators, their involvement and the amount of illegal drugs being
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                          distributed have not been identified. Without the ability to monitor the phone belonging
                          to Otis Ponds, it is believed the full scope of the operation will not be disclosed nor will
                          it be dismantled. While a prosecutable case has been made on Anthony Thompson and
                          Albert Banks, the full extent of the source of supply coming from Otis Ponds and his
                          source of supply have not been determined and likely will not be discovered without the
                          wire intercept of his conversations between himself, Anthony Thompson and Albert
                          Banks as well as conversations Otis Ponds will have with others within his organization.
                          Without a wire interception the persons involved in this targeted distribution operation
                          will be allowed to continue.



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                              EXHIBIT G




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                  IN THE DISTRICT COURT OF GEARY COUNTY, KANSAS

   In the Matter Of The Application Of The           )
   State Of Kansas For An Order Authorizing          )      Case No.
   The Interception Of Wire Communications           )
   To And From Verizon Wireless Telephone:           )      UNDER SEAL
   316-347-0088                                      )
   Electronic Searl Number (ESN)                     )
   A000003962BB8A                                    )

    ORDER AUTHORIZING THE INTERCEPTION OF "WIRE, ORAL, OR ELECTRONIC
      COMMUNICATIONS" TO AND FROM VERIZON WIRELESS TELEPHONE:
        316-347-0088 ELECTRONIC SEARL NUMBER (ESN) A000003962BBBA

          Now on this 5th day of April, 2013, the Court reviews the affidavit of Glen Virden,

   Senior Special Agent, Kansas Bureau of Investigation, an investigative law enforcement

   officer as defined by K.S.A. 22-2514(5), said affidavit indicating that Verizon Wireless will

   not provide "test" and/or "SMS data" because Verizon does not believes such is contained

   within the Court's Order of April 2, 2013, which authorizes the interception of wire

   communications to and from the above wireless telephone; based on Senior Special Agent

   Glen Virden's affidavit, it is apparent that the phone is being used not only for oral

   communication but also "text" communication which Verizon considers as "electronic".

   Based on the affidavit of Glen Virden and the application of Steven L. Opat, Geary County

   Attorney, the Court specifically ORDERS that the Order of April 2, 2013, is hereby clarified

   to express that the interception of wire communications previously authorized includes all

   forms of communication set forth in K.S.A. 22-2514, to-wit: oral, wire, or electronic

   communications to and from said telephone including the interception of "SMS data'' or

   "text" messaging. All other Orders previously entered herein remain in force and effect as

   set forth in the Order of April 2, 2013.

          DONE and ORDERED this 5th day of April, 2013, at Junction City, Kansas.

                                              Q J /. ~
                                              THE HONORABLE DAVID R. PLATT              D009582
                                              JUDGE OF THE DISTRICT COURT
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                              EXHIBIT H




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                   IN THE DISTRICT COURT OF GEARY COUNTY, KANSAS

    In the Matter Of The Application df The  )
    State Of Kansas For An Order Authorizing )                  Case No.
    The Interception Of Wire Coinmun1cations )
    To And From Sprint/Nextel                           )       UNDER SEAL
    Wireless Telephone                                  )
    929-268-6183                                        )
    MSID # 000003477244840                              )
    ESN # 256691437000557176                            )

     ORDER AUTHORIZING THE INTERCEPTION OF "WIRE, ORAL, OR ELECTRONIC
       COMMUNICATIONS" TO AND FROM VERIZON WIRELESS TELEPHONE:
      929-268-6183 MOBILE STATION IDENTIFICATION (MSID) 000003477244840,
             ELECTRONIC SEARL NUMBER (ESN) 256691437000557176

          Now on this 25th day of April, 1013, the Court reviews the application of Steven L

   Opat, Geary County Attorney; fin investigative law enforcement officer as aefined by K.S,A.

   22-251 4 (5). said affidavit indicating that Sprint/Nextel Wireless will not provide "test'' and/or

   nsMS data" because Sprint/Nextel does not believe such is contained within the Court's

   Order of April 2, 2013, which authorizes the interception of wire communications to and

   from the above wireless telephone; based on the progress reports provided herein, it is

   apparent that the phone is being used not only for oral communication but also "text"

   communication which Sprint/Nextel considers as ''electronic". Based on the application of

   Steven L. Opat, Geary County Attorrisy, the Court specifically ORDERS that the Order of

   April 2, 20"13, is hereby clarified to e:xpress that the interception of wire communications

   previously authorized includes all forms of communication set forth in K.S.A. 22-2514, to-

  wit: oral, wire, or electronic communications to and from said telephone including the

  interception of ''SMS data" or '1ext" messaging. All other Orders previously entered herein

  remain in force and effect as set forth in the Order of April 2, 2013.

         DONE and ORDERED this 25th day of April, 2013, at Junction City, Kansas.


                                             Qd/~L
                                               THE HONORABLE DAVID R. PLATT
                                               JUDGE Of THE DISTRICT COURT
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                               EXHIBIT I




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                   IN THE DISTRICT COURT OF GEARY COUNTY, KANSA




          APPLICATION FOR AN ORDER AUTHORIZING THE INTERCEPTION
                         OF WIRE COMMUNICATIONS



          COMES NOW Steven L. Opat, the duly elected Geary County Attorney, Kansas and as

   authorized by K.S.A. 22-2515(a) and upon his oath, does hereby make application for an order

   authorizing the interception of wire, oral or electronic communication(s) by the Kansas Bureau of

  Investigation and its designees, said interception(s) providing evidence of those offenses designated

  in K.S.A. 22-2515(a)(l 1) and (20), and offenses committed ancillary to and in furtherance of such

   designated offenses.

          All as set forth in the attached affidavit of Glen F. Virden, Senior Special Agent for the

  Kansas Bureau of Investigation, said affidavit being attached to this application and incorporated

  herein verbatim, having been reviewed ifi its totality by Steven L. Opat with the said Glen F. Virden

  for the purpose of obtaining the order authorizing such electronic interception(s).

                                                Respectfully submitted,




                                               flb./£1/&U
                                                Geary County Attorney


  Subscribed and sworn to before me by Steve L. Opat on this       5...- day of /f-(a/cflt. , 2013.

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                                                      STATE OF KANSAS
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                          IN THE MATTER OF THE APPLICATION   }
                                                             }
                          FOR AN ORDER AUTHORIZING THE       }                       No. - - - - - - - - -
                                                             }
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                          INTERCEPTION OF WIRE COMMUNICATIONS}


                                             AFFIDAVIT IN SUPPORT OF APPLICATION


                                  I, Glen F. Virden, Senior Special Agent, Kansas Bmeau of Investigation, being of
                          lawful age and duly sworn upon my oath depose and state:
                                  1.     I am an "Investigative" law enforcement officer duly deputized with
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                          statutory authority for the State of Kansas, and as further recognized and defined by
                          K.S.A. 22-2514(5).
                                  2.     This affidavit is submitted in support of an application for an order
                          authorizing the interception of the wire communications of Anthony Carlyle
                          Thompson, B/M Date of Birth )ODOiM]l80,( and others listed below, over telephone
                          number (785) 226-1783, a personal cellular telephone currently in service with T-Mobile
                          USA with International Mobile Security Identity (IMSI) 310260445955245. T-Mobile
                          USA records indicate the phone number to be subscribed to Jason Roberts, Date of
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                          Birth 02/17/1981 which the Affiant knows is not the person using the cellular telephone
                          as described in detail within this document. The Affiant requests authority to intercept
                          the wire communications of individuals communicating on telephone number (785) 226-
                          1783.
                                  3.     Affiant believes the following individuals will be intercepted over
                          telephone number (785) 226-1783; Anthony Carlyle Thompson, Albert Dewayne
                          Banks, Patricia Foy, Martye Madkins III, Charles Foster and others yet unknown.
                                  4.     Affiant requests authority to intercept the conversations and the
                          background conversations intercepted in the vicinities of the aforementioned telephone


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                          while the telephone is off the hook or otherwise in use. Affiant requests this authority in
                          order to obtain evidence concerning the above persons' involvement in the following
                          offenses: Possession of Cocaine in violation of Kansas Statutes Annotated (K.S.A.) 21-
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                          5706(a); Distribution of Cocaine in violation of K.S.A. 21-5705(a)(l); Conspiracy to
                          commit these offenses in violation of K.S.A. 21-5302; and the Use of a Communications
                          Facility to facilitate the commission of the above offenses in violation of K.S.A. 21-
                          5707(a)(l). All offenses are in violation of Kansas Law, which have been and are being
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                          committed by the persons identified herein and others yet unknown.
                                  5.     The Affiant has been a law enforcement officer since 2001 with the
                          Kansas Bureau of Investigation (KBI). The Affiant is currently a Senior Special Agent
                          with the Topeka Region of the Special Operations Division for the KBI. The Affiant is a
                          graduate of Cowley County Community College with an associate of applied science
                          degree in Criminal Justice and Southwestern College with a bachelor's degree in
                          Criminal Justice.    The Affiant, while so employed in law enforcement, has received
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                          training in narcotics investigations to include, but not limited to: Kansas Law
                          Enforcement Training Center's Basic Training Academy, the Kansas Bureau of
                          Investigation's Advanced Investigations Academy, the Kansas Bureau of Investigation's
                          Clandestine Lab Certification School, Kansas Top Gun Narcotics training, and the U.S.
                          Drug Enforcement Administration's Basic Narcotics Investigators School. Affiant has
                          investigated numerous narcotics cases. These investigations have included, but are not
                          limited to undercover purchases of narcotics, controlled purchases of narcotics using
                          cooperating individuals and search warrants. The Affiant has rurested numerous
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                          individuals for violations of both state and federal violations of controlled substances
                          statutes. As a result, Affiant has interrogated many defendants, informants and others
                          who were either sellers, distributors, purchasers, manufacturers or users of controlled
                          substances. The Affiant is familiar with how controlled substances are obtained, diluted,
                          packaged, distributed, sold, used, and manufactured. Affiant is also familiar with the
                          records, books, and documents needed to carry on such illicit activity.
                                         (a)     Based on the above experience, Affiant believes there is probable
                          cause to believe the subjects of this investigation, both known and unknown, have
                          committed, are committing and will continue to commit offenses involving possession,


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                          distribution and conspiracy to distribute cocaine.     Such violations involve the use of
                          communication facilities in order to facilitate the commission of the above offenses, each
                          being in violation of Kansas Uniformed Controlled Substances Act.
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                                         (b)     That particular wire communications of the subjects of this
                          investigation concerning the above offenses will be obtained through the interception of
                          such communications to and from telephone number (785) 226-1783. In particular, there
                          is probable cause to believe that the communications to be intercepted will concern dates,
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                          times, and places for commission of the aforementioned offenses when the above named
                          interceptee communicates with the listed interceptees and other unknown suppliers, co-
                          conspirators, aiders and abettors. There is further probable cause to believe that the
                          communications to be intercepted will disclose the location of assets owned or controlled
                          by the persons involved, and the manner, extent and identity of persons who direct and/or
                          participate in the illegal activities set forth herein. These communications are expected to
                          constitute admissible evidence of the above-described offenses.
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                                         (c)     That telephone number (785) 226-1783, has been, is being, and
                          will continue to be used in connection with the commission of the above offenses.
                          The interception of these communications is expected to concern verbal and messaging
                          discussions of the continuing conduct, financing, managing, supervising, directing, or
                          ownership of all or part of an illegal narcotics enterprise, including orders and
                          instructions to subordinates, the receipt of information pertaining to the obtaining and
                          distribution of controlled substances, and other conversations relating to the
                          administration, control, and management of the aforementioned illegal drug activity.
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                                 6.      Normal investigative procedures have been tried and have failed to
                          achieve the goals of this investigation, or reasonably appear unlikely to succeed if tried,
                          or are too dangerous to employ, as more fully explained below.




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                                                             ENFORCEMENT
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                                 7.      This investigation is a result of a joint effort!by the Affiant, other Agents
                          of the Kansas Bureau of Investigation (KBI), Officers of the Junction City Police
                          Department (JCPD), Officers of the Geary County Sheriff's Office (GESO) and Officers
                          of the Riley County Police Department (RCPD). The investigation covers a period of
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                          time from June 2012 to the present. The statements contained in this affidavit are based
                          in part on information provided by Agents/Officers of the above-listed law enforcement
                          agencies.   Because this affidavit is being submitted for the purpose of securing
                          authorization for the interception of wire communications, Affiant has not included each
                          and every fact known to the Affiant concerning this investigation. Affiant has set forth
                          only the facts that Affiant believes are necessary to establish the necessary foundation for
                          an order authorizing the interception of wire communications. If a court order is granted
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                          authorizing the interception of wire communications in this case, only those persons and
                          agencies authorized by law to make such interceptions will be allowed to do so.
                                 8.      In April, 2012, Detective Nate Boeckman of the RCPD contacted
                          Detective Alvin Babcock of the JCPD Drug Operation Group (DOG) with information
                          that Anthony Thompson (AKA "Ant") and Albert Banks (AKA "AB") were
                          distributing cocaine within the Junction City, Geary County, KS area and the Manhattan,
                          Riley County, KS area. RCPD received this infom1ation from a Source of Information
                          (SOI) to be referred to as "SOI #1" from this point forward. SOI #1 appeared to have
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                          knowledge of some of the criminal elements related to Anthony Thompson and Albert
                          Banks, but was not allowed to have intimate knowledge of the day to day operations or
                          the source of supply of the cocaine.
                                 9.      SOI #1 did give information saying Anthony Thompson and Albert
                          Banks were receiving powder cocaine from an unknown supplier/s then transporting (or
                          having it transported) back to the Junction City area where they would convert the
                          powder cocaine to crack cocaine themselves (evidence of this conversion will be
                          explained in this affidavit). SOI #1 did not have direct knowledge of when the powder
                          cocaine purchases were occurring, who was driving to purchase the powder cocaine and

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                          even if one of the aforementioned persons were actually obtaining the cocaine or having
                          another person unknown to this investigation acquire and transport the cocaine to
                          Anthony Thompson and Albert Banks. SOI #1 has continued to give some credible
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                          information to Agents/Officers but beyond that, SOI #1 has not been beneficial to the
                          investigation. As stated above, SOI #1 has limited knowledge related to the full scope of
                          the cocaine distribution network, other co-conspirators and the source of supply for the
                          cocaine.
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                                  10.    The Affiant was contacted by Lieutenant Mike Life of the JCPD and asked
                          to assist with the investigation.       The Affiant met with Agents/Officers of the
                          aforementioned agencies to in an attempt to garner information related to persons who
                          might be involved in the distribution of cocaine.         The Affiant then contacted an
                          individual who had been a Cooperating individual (CI) for the KBI since 1985 (to be
                          referred to as CI #1 from this point forward). The Affiant had a meeting with CI #1 and
                          asked if CI #1 would be willing to assist in the investigation to which CI #1 agreed.
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                          Since CI #1 's association with the KBI beginning in 1985, CI #1 has successfully been an
                          integral part of a number of State and Federal investigations which culminated with the
                          prosecution and convictions of numerous persons related to the distribution of drugs. CI
                          #1 has had a number of Agents within the KBI as his/her handler. The Affiant has had
                          contact with a number of these Agents who spoke highly of CI #1 and his/her abilities to
                          assist in investigations culminating in successful prosecution.
                                  11.    On 05-16-2012, then KBI Task Force Agent (TFA) John Culver was
                          contacted by RCPD in reference to Albert Banks possibly leaving the Junction City, KS
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                          area en route to Topeka, Shawnee County, KS to purchase drugs for distribution. TFA
                          Culver, RCPD and JCPD coordinated a surveillance operation to follow Albert Banks in
                          an attempt to locate the person whom he was receiving his drugs from for distribution.
                          TFA Culver was told Albert Banks was supposedly traveling with a white female who
                          was later seen as the driver of the vehicle. The vehicle Albert Banks and the white
                          female were in was described as a maroon colored Cadillac Escalade.         TFA Culver
                          observed this vehicle leave the Junction City area and observed the license tag on the
                          vehicle which was bearing Kansas tag 669BHV. This vehicle was later found to be
                          registered to a 2002 Cadillac Escalade with a primary owner of Mike Roth and secondary

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                          owner of Kristina Orth both of Junction City, Geary County, KS. The Affiant would later
                          find out Kristina Orth is the girlfriend of Mike Roth.
                                  12.    As Agents followed Albert Banks and Kristina Orth from Junction City,
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                          Geary County, KS the vehicle made several overt actions which appeared to be in an
                          attempt to make sure they were not being followed. The vehicle traveled east on I-70
                          where it exited at the Maple Hill exit. The vehicle then made a u-turn in the middle of
                          the road and then re-entered I-70 and continued eastbound on I-70. Once the vehicle
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                          reached the Topeka, Shawnee County, KS area, it exited onto SE California Avenue and
                          traveled south where it entered the McDonald's drive thru at SE 29th and California. It
                          then went south on California Avenue to SE 30th Street where it turned east then south on
                          SE Swygart and pulled into the parking lot of 3024 SE Swygait. Albert Banks then
                          exited the vehicle walked into the apaitment building at this location. Kristina Orth
                          remained in the vehicle with an undetermined number of children who were found to
                          have been traveling in the vehicle.
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                                  13.    3024 SE Swygart Apaitment F was, at that time, the residence of Johnny
                          Lee Ivory III (AKA "5", "J5" and "Jizzle"). Johnny Lee Ivory is a confirmed member of
                          the Traveling Vice Lords Gang. He has a lengthy criminal history to include; possession
                          of opiates/opium/narcotic drugs, possession of depressants/stimulants, discharge of a
                          firearm at an occupied dwelling as well as others which will be explained further later in
                          this affidavit. Johnny Lee Ivory, at that time, was believed to reside at this residence with
                          his then girlfriend, Whitnie A. Livingston. RCPD had received information froin SOI #1
                          indicating Johnny Lee Ivory was perhaps a source of supply for cocaine for Albert
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                          Banks and Anthony Thompson. This has not been confirmed as Johnny Lee Ivory has
                          not been located as to his whereabouts at this time although it is believed he still resides
                          in Topeka, Shawnee County, KS.        On 05-10-2012, Topeka Police Department (TPD)
                          Officers located one-half (1/2) pound of marijuana, two (2) loaded handguns and
                          approximately $10,000.00 in US Cunency at this apaitment where Johnny Lee Ivory
                          stated he resided (TPD case number 10732-12).
                                  14.    Albert Banks eventually exited the apartment complex and got into the
                          passenger side of the vehicle Kristina Orth was driving. The vehicle exited the parking
                          lot, drove north on SE California Avenue, turned east on SE 29th, turned north into the


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                          Dillon's parking lot, circled the parking lot, exited the parking lot and crossed SE 29th
                          Street where it entered into a shopping center parking lot and parked in front of the
                          Subway restaurant and remained there for approximately 15 minutes without anyone
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                          entering or exiting the vehicle. After approximately 15 minutes, the vehicle got back
                          onto SE 29th Street and turned north on SE California Avenue. The vehicle entered onto
                          I-70 and traveled west to Junction City, Geary County, KS where it was followed to an
                          unknown address (address unknown to the Affiant) on 13th Street where it was believed
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                          Albert Banks was possibly distributing cocaine from.
                                     15.   On 05-30-2012, Detective Alvin Babcock of the JCPD received phone call
                          from Detective Nate Boeckman of the RCPD informing him that Detective Nate
                          Boeckman had received information alleging Albert Banks had left a package of cocaine
                          wrapped in either brown tape or a brown paper bag in an alley between 13th and 14th
                          Streets and Franklin and Monroe Streets in Junction City, Geary County, KS the previous
                          evening. Detective Nate Boeckman advised Detective Alvin Babcock that RCPD was
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                          conducting surveillance on a residence in Manhattan, Riley County, KS where it was
                          believed Albert Banks was residing at the time. Detective Nate Boeckman advised a
                          white in color Chrysler 300 having black rims had arrived at the residence. The driver of
                          the vehicle was identified by RCPD Detectives as Chris Howard. A short time later,
                          Chris Howard and Albert Banks were seen leaving the residence in the aforementioned
                          vehicle.
                                     16.   Lieutenant Mike Life and Detective Alvin Babcock drove to the
                          aforementioned alley in Junction City, Geary County, KS in an attempt to locate the
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                          package of cocaine but were unable to locate it. Detective Nate Boeckman contacted
                          Detective Alvin Babcock and stated he had lost sight of the Chrysler 300 and was
                          unaware if the vehicle was still in Manhattan, Riley County, KS or in the Junction City,
                          Geary County, KS area.       A short time later, Detective Alvin Babcock observed the
                          Chrysler 300 in the aforementioned alley and stopped in wooded area where Detective
                          Alvin Babcock was told the package of cocaine was possibly located. The vehicle then
                          left the alleyway and sight was lost of it. Detective Alvin Babcock was not able to see
                          who exited the vehicle or if anything was retrieved when it stopped in the alleyway but
                          Detective Alvin Babcock did observe the driver of the vehicle did not get out of the
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                          vehicle. The vehicle was later located at a liquor store in Junction City, Geary County,
                          KS.
                                 17.      On 05-31-2012, CI #1 made two (2) phone calls to Martye Madkins III in
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                          reference to purchasing Oxycontin pills. In the first phone call, Martye Madkins III
                          stated he would have to call other unknown person/sin an attempt to obtain the pills. The
                          second call to Martye Madkins III was not answered and the attempted purchase was
                          discontinued.
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                                 18.      On 06-01-2012, CI #I contacted Martye Madkins III once agam in
                          reference to purchasing a $50.00 quantity of crack cocaine from him. Martye Madkins
                          III agreed to sell CI #1 the crack cocaine. While talking to Martye Madkins III, CI #1
                          made mention of needing to call a female by the name of "Ro" who is actually Lavern
                          Roshell Jackson. Martye Madkins III said he was with Lavern Jackson at that time. Cl
                          #1 talked to her about purchasing three to four (3 to 4) Oxycontin pills. Lavern Jackson
                          stated she could obtain Dilaudid and Morphine pills as well. Lavern Jackson stated she
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                          would make some phone calls and inquiries into obtaining some pills for CI #1.
                                 19.      CI # 1 was prepared for purchasing crack cocaine from either Martye
                          Madkins III or Lavern Jackson. The Affiant gave CI #1 $50.00 in US Cun-ency to
                          purchase the crack cocaine. CI #1 called Martye Madkins III and inquired as to Martye
                          Madkins III ability to sell CI #1 $50.00 worth of crack cocaine. Martye Madkins III said
                          he would call CI #1 back in five (5) minutes. Martye Madkins III called CI #1 back and
                          they agreed to meet at the Casey's General Store in Junction City, Geary County, KS to
                          complete the transaction. Detectives Shawn Peirano and Josh Brown of the JCPD DOG
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                          observed Martye Madkins III arrive at the location in a gray colored Chevrolet HHR
                          bearing a Missouri license tag. Martye Madkins III exited the vehicle, got into CI #1 's
                          vehicle and sold CI #1 the crack cocaine. The HHR had three (3) African American
                          males in it at the time and as it left, one of the males was identified by Sergeant Todd
                          Godfrey of the JCPD as Albert Banks and the driver was identified by Detective Alvin
                          Babcock as Anthony Thompson.
                                 20.      The Affiant submitted the evidentiary item, which was actually two (2)
                          small individually wrapped baggies, to the KBI for analysis and received a Forensic



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                               Laboratory Report stating cocaine base was detected in Lab Item 1 with both being
                               examined and having a total net weight of 0.20 grams.
                                      21.    On 06-30-2012, CI #1 contacted a male by the name of Gevonni Roberto
                               Davis whom CI #1 had been introduced to earlier. CI #1 told Gevonni Davis that CI #1
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                               was attempting to make contact with Martye Madkins III in reference to purchasing
                               crack cocaine from him. CI #1 asked Gevonni Davis if he had seen Martye Madkins III
                               and/or if Gevonni Davis knew whether or not Martye Madkins III had any crack cocaine
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                               to sell. Gevonni Davis stated he had seen Martye Madkins III at approximately 7:30 AM
                               that morning and had purchased the last portion of crack cocaine Martye Madkins III had
                               to sell at that time. CI #1 asked Gevonni Davis if he could contact Anthony Thompson
                               and inquire as to whether or not he had any crack cocaine to sell. Gevonni Davis asked if
                               CI #1 knew Anthony Thompson to which CI #1 said he/she had met Anthony
                               Thompson but did not have a telephone number for him. Gevonni Davis said he would
                               call Anthony Thompson and call CI #1 back.
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                                      22.    Gevonni Davis called CI # 1 and stated he had made contact with Anthony
                               Thomson. Anthony Thompson stated he was in Ogden, KS at that time but would tum
                               around and come to Junction City, KS to meet CI #1 at his/her motel room to sell him/her
                               the crack cocaine. The Affiant gave CI #1 $50.00 with which to purchase the crack
                               cocaine. Anthony Thompson arrived at the motel room and met with CI #1. CI #1 siad
                               Anthony Thompson produced approximately 15 "rocks" of crack cocaine from his
                               pocket and thought CI #1 wanted to purchase $100.00 worth of crack cocaine. CI #1 said
                               he/she only wanted $50.00 worth and at that time Anthony Thompson sold the crack
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                               cocaine to CI #1.   CI #1 asked for and was given Anthony Thompson's telephone
                               number for further transactions. The telephone number given to CI #1 is not the current
                               number for Anthony Thompson, but was his telephone number at that time. Anthony
                               Thompson was driving a red in color Chrysler Sebring bearing Arkansas license tag
                               227RMJ which was not registered to that vehicle.
                                      23.    The Affiant submitted the evidentiary item to the KBI for analysis and
                               received a Forensic Laboratory Report stating cocaine base was detected in Lab Item 1
                               having a net weight of O.15 grams.



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                                  24.     On 07-11-2012, the Affiant and other Agents/Officers met with CI #1 for
                          the purpose of CI # 1 attempting to make a purchase of crack cocaine from Martye
                          Madkins III. CI #1 contacted Martye Madkins III and he told CI #1 to call him back in
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                          10 to 20 minutes as Martye Madkins III "was checking on it now" referring to Martye
                          Madkins III inquiring with someone as to the availability of the crack cocaine CI # I
                          wanted to purchase. This would indicate the crack cocaine did not belong to Martye
                          Madkins III but instead belonged to another party whom Martye Madkins Ill had to
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                          obtain it from prior to distributing it. While waiting on Maiiye Madkins III to contact CI
                          #1, Detective Alvin Babcock was watching video surveillance of Martye Madkins III
                          residence located at 227 west 14th Street in Junction City, Geary County, KS in an
                          attempt to observe any person/s arriving or departing from the residence. Detective Alvin
                          Babcock observed Albert Banks and Chris Howard leave the residence. After the two
                          (2) aforementioned persons left the Martye Madkins III residence, CI #1 received a call
                          from Martye Madkins III. The two (2) aforementioned males returned to the residence
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                          shortly thereafter.
                                  25.     Martye Madkins told CI #1 to meet "his man" (referring to another
                          unknmvn person) at Wood Oil in Junction City, Geary County, KS and asked how much
                          CI #1 wanted. CI #1 said he/she wanted $60.00 worth of crack cocaine. The Affiant
                          gave CI #1 $60.00 in US Currency to purchase the crack cocaine. CI #1 left and drove
                          toward Wood Oil. While en route, CI # 1 was contacted by Martye Madkins III and told
                          to change the location where CI #1 was to meet someone. Martye Madkins Ill said to
                          meet in the area of the intersection of 15 th Street and Adams Street in Junction City,
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                          Geary County, KS.
                                  26.     CI # 1 a1Tived at the location and continued to attempt to make contact
                          with Martye Madkins III by cellular telephone to tell him CI #1 was at the location.
                          Martye Madkins III told CI # 1 someone would be coming to the location soon to
                          distribute the crack cocaine to CI #1. 26 minutes after CI #1 arrived at the intersection
                          location; Martye Madkins III called CI #1 and told CI #1 to drive to another location.
                          During the course of these events, Detective Alvin Babcock once again observed Albert
                          Banks leave the aforementioned residence.        Surveillance members observed Albert
                          Banks approach a vehicle described as a grey in color Chevrolet Malibu. An unknown


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                          black female exited the vehicle. Albert Banks, the unknown black female and another
                          unidentified black male (later believed to be Martye Madkins III due to identified
                          clothing) were observed walking back and entering into the aforementioned residence. A
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                          short time later, a black male (believed to be Martye Madkins III from the clothing
                          description) was observed leaving the residence and walking toward 14th Street in
                          Junction City, Geary County, KS.        Then, Chris Howard was observed arriving and
                          entering the residence and the unknown black male (believed to be Martye Madkins III)
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                          returned to the residence once again. The black male believed to be Martye Madkins III
                          (identified by the clothing description of the person who later met with CI #1) then
                          departed the residence once again and walked toward 14th Street in Junction City, Geary
                          County, KS. A short time after the black male (believed to be Martye Madkins III) left
                          the residence, Chris Howard also left the residence. Surveillance members observed CI
                          #1 driving towards 14th Street and then travel west on 14th Street. Surveillance members
                          then observed CI #1 driving east in the 300 block of 15 th Street.
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                                  27.    While en route and in the 300 block of west 15 th Street in Junction City,
                          Geary County, KS; CI #1 was stopped by the same black male who had been observed
                          walking from the residence.      The black male, who was later positively identified as
                          Martye Madkins III, walked up to the passenger side of the vehicle CI #1 was driving.
                          Martye Madkins III sold CI #1 the crack cocaine at that time. While CI #1 was making
                          the purchase of crack Cocaine, Gevonni Davis entered the rear seat of the vehicle CI #1
                          was driving and observed the transaction take place which did not detour Martye
                          Madkins III from completing the sell. This sell of crack cocaine was less than 1000'
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                          from Washington Elementary School which is located at 1500 N Washington Street in
                          Junction City, Geary County, KS.
                                  28.    The Affiant took possession of the evidentiary item and later submitted the
                          evidentiary item to the KBI for analysis and received a Forensic Laboratory Report
                          stating cocaine base was detected in Lab Item 2 having a net weight of 0.33 grams.
                                  29.     On 08-17-2012, Detective Alvin Babcock received a phone call from CI
                          #1 advising CI #1 had been in contact with Anthony Thomson and Anthony Thompson
                          was willing to sell CI #1 $100.00 worth of crack cocaine.               CI #1 met with
                          Agents/Officers and made a controlled phone call to Anthony Thompson. CI #1 told

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                          Anthony Thompson he/she was not currently in Junction City but would be shortly.
                          Anthony Thompson told CI # 1 to call him when CI #1 arrived in Junction City, Geary
                          County, KS. Detective Alvin Babcock gave CI #1 $100.00 in US Currency to purchase
                          the crack cocaine from Anthony Thompson. CI #1 drove to the Casey's General Store
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                          located at 624 S Washington Street in Junction City, Geary County, KS. While en route
                          to the location, CI #1 called Anthony Thompson and advised him CI #1 would meet him
                          there to which Anthony Thompson agreed. A grey in color Ford Focus bearing Kansas
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                          license tag 807FEE arrived at the location. A registration check was competed on the tag
                          and found to be registered to a 2002 Ford Focus registered to Anna Thompson who is
                          Anthony Thompson's sister.        The driver of the vehicle was identified as Anthony
                          Thompson.
                                 30.     CI #1 exited his/her vehicle and entered the front passenger side of
                          Anthony Thompson's vehicle. A short time later, CI #1 exited the vehicle and entered
                          his/her own vehicle. Anthony Thompson backed up and parked at the gas pumps then
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                          exited his vehicle and walked over to CI #1 's vehicle to look at items of clothing CI #1
                          had for sell. Approximately a minute later, Anthony Thompson entered into the Casey's
                          General Store. CI #1 walked over to Anthony Thompson's vehicle, entered into the
                          driver's side front door then exited and got back in to his/her vehicle and left the location
                          to meet with Agents/Officers.
                                 31.     The Affiant took possession of the evidentiary item and later submitted the
                          evidentiary item to the KBI for analysis and received a Forensic Laboratory Report
                          stating cocaine base was detected in Lab Item 2 having a net weight of 1.01 grams.
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                                 32.     On 08/24/2012, CI #1 met with Detective Alvin Babcock and other
                          officers for the purpose of purchasing crack cocaine from a black male with the alias of
                          "JD". Detective Alvin Babcock determined this black male to be Jason Dixon. CI #1
                          drove to an agreed upon location, which was Handy's Convenience Store located a 1734
                          W. Ash Street in Junction City, Geary County, KS.           Jason Dixon arrived and was
                          observed meeting with CI #1. A short time later, CI #1 and Jason Dixon left the location.
                          CI # 1 met with Detective Alvin Babcock and gave him the suspected crack cocaine CI # 1
                          had purchased from Jason Dixon.           Detective Alvin Babcock later processed the
                          evidentiary item per his agency policies and had it submitted to the KBI for analysis.

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                          Detective Alvin Babcock received a Forensic Laboratory Report stating cocaine was
                          detected in the item having a net weight of .22 grams. It should be noted that during the
                          review of the cove1i electronic audio/video recording device which had been utilized
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                          during the transaction with Jason Dixon, Detective Alvin Babcock observed Jason Dixon
                          retrieve the crack cocaine from his mouth prior to selling it to CI #1. This is a common
                          tactic utilized by illegal drug distributors for the transporting of illegal drugs. If he/she
                          has contact with law enforcement, the illegal drugs can be swallowed prior to being
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                          located by law enforcement.
                                 33.     On 08-31-2012, Detective Alvin Babcock and other Officers met with CI
                          #1 for the purpose of CI #1 purchasing crack cocaine from Charles Foster. CI #1 told
                          Detective Alvin Babcock that Charles Foster had contacted CI #1 the previous evening
                          and said he had $50.00 worth of crack cocaine for sell. CI #1 told Charles Foster he/she
                          was unavailable at that time and would contact him the next day.            Detective Alvin
                          Babcock gave CI #1 the US Currency to be used in the transaction. CI #1 called Charles
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                          Foster via cellular telephone and Charles Foster told CI #1 to come to his residence
                          which was located at 149 E Anchor Street in Grandview Plaza, Geary County, KS.
                                 34.     Surveillance units were in place to observe CI #1 arrive at the residence.
                          CI #1 drove to the residence and entered with items of clothing for Charles Foster's wife
                          to look at. After approximately 30 minutes, CI #1 and Charles Foster left the residence
                          and drove to and entered the alley behind 126 W 12th Street in Junction City, Geary
                          County, KS. Charles Foster exited CI #1 's vehicle and met with another black male who
                          was later identified as Anthony Thompson. Charles Foster entered back into the vehicle
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                          CI #1 was driving and they exited the alley.       A grey in color Ford Focus driven by
                          Anthony Thompson exited the alleyway behind CI #1. CI #1 transported Charles Foster
                          back to his residence where he exited. CI # 1 met with Officers once again and gave
                          Detective Alvin Babcock the evidentiary item.
                                 35.     Detective Alvin Babcock submitted the evidentiary item per his policy to
                          be submitted to the KBI for analysis.      Detective Alvin Babcock received a Forensic
                          Laboratory report stating cocaine base was detected in Lab Item 1 having a net weight of
                          .28 grams.



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                                  36.     On 09-05-2012, Detective Alvin Babcock received an email from
                          Detective Nate Boeckman of the RCPD indicating a Cooperating Individual who was
                          providing assistance to the RCPD had told Detective Nate Boeckman Anthony
                          Thompson was in possession of what he/she deemed to be a large amount of crack
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                          cocaine. The RCPD CI stated he/she was at the Anthony Thompson residence and
                          observed several packages of crack cocaine lying on the kitchen counter. The RCPD CI
                          stated Anthony Thompson had measured out and packaged the crack cocaine for
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                          distribution.
                                  37.     Detective Nate Boeckman stated he drove past the residence and observed
                          a maroon in color Buick Century parked bearing Kansas license tag 071FEG. This
                          vehicle is registered to a 1998 Buick Century with the primary owner listed as Michael
                          Harris of Manhattan, Riley County, KS. The RCPD CI told Detective Nate Boeckman
                          the vehicle belonged to a female by the name of Monica and that she was a crack cocaine
                          user.   The RCPD CI told Detective Nate Boeckman Monica was allowing Anthony
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                          Thompson to use her vehicle. Later that same day, the RCPD CI told Detective Nate
                          Boeckman Anthony Thompson had left the residence and took the crack cocaine he had
                          packaged for distribution with him. The RCPD CI estimated the total amount of crack
                          cocaine to be greater than one (1) ounce in quantity.
                                  38.     That same day, 09/05/2012, the Affiant and other Officers met with CI #1
                          for the purpose of CI #1 making a crack cocaine purchase from Anthony Thompson. CI
                          #1 contacted Anthony Thompson via cellular telephone and both parties agreed to meet
                          at the Casey's General Store located at 624 S Washington Street in Junction City, Geary
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                          County, KS. Anthony Thompson told CI #1 he was approximately 30 seconds away
                          from the location at the current time. The Affiant gave CI #1 $250.00 in US Currency to
                          purchase the crack cocaine.
                                  39.     Once Cl #1 arrived at the agreed upon location CI # 1 once agam
                          attempted to contact Anthony Thompson via cellular telephone to advise him CI #1 was
                          at the location. Anthony Thompson did not answer the phone call. After approximately
                          one and a half (1 ½) hours, CI #1 sent Anthony Thompson a text message. Anthony
                          Thompson replied and changed the location and told CI #1 to meet him in the 100 block



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                                                                                                                        420
                          of W 12th Street in Junction City, Geary County, KS which is the location of the Comer
                          Club.
                                  40.    CI #1 drove to this location and met with Anthony Thompson. CI #1
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                          gave Anthony Thompson the $250.Q0 in US Currency and Anthony Thompson gave
                          CI # 1 a large plastic baggie containing numerous smaller plastic baggies containing crack
                          cocaine. Anthony Thompson also gave CI #1 a small single baggie containing crack
                          cocaine. Anthony Thompson had CI #1 give him a ride to another location from this
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                          location.
                                  41.    A covert electronic audio/video recorder was used during this transaction.
                          Detective Alvin Babcock reviewed the recording and found that Anthony Thompson
                          asked CI #1 to take him to Cottonwood (mobile home park in Junction City, Geary
                          County, KS). Anthony Thompson told CI #1 he needed to go to this location "so he can
                          give this girl some shit" referring to distributing more crack cocaine to a female. As they
                          departed the location en route to the Cottonwood, Anthony Thompson was observed
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                          putting something in his mouth. This is a common practice utilized by drug distributors
                          to transport small amounts of drugs to thwart law enforcement detection should the
                          person encounter a law enforcement officer. Persons who maintain this type of practice
                          can swallow the illegal drugs if they encounter law enforcement. As CI #1 reaches the
                          mobile home park Anthony Thompson tells CI #1 what location to drive to.             Once
                          Anthony Thompson exits the vehicle, CI #1 states he/she was directed to drive to lot
                          4 lB. Detective Alvin Babcock knows this location to be the residence of Audrey Ali or
                          Audrey Nelson, both being the same person.
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                                  42.    The Affiant took possession of the evidentiary items and later submitted
                          the evidentiary items to the KBI for analysis and received a Forensic Laboratory Report
                          stating cocaine base was detected in Lab Item 3 which were found to be seven (7) plastic
                          baggies total and having a net weight of 2. 70 grams total.
                                  43.    On 09/06/2012, CI #1 met with Detective Alvin Babcock and other
                          Officers in reference to purchasing prescription pills from Garland Hull. CI #1 contacted
                          Garland Hull at telephone number (785) 762-5346. CI #1 met with Garland Hull at the
                          intersection of 10th and Webster Streets in Junction City, Geary County, KS. Garland
                          Hull gave CI #1 a prescription bottle with numerous pills in it and CI #1 gave Garland

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                           Hull the US Currency for the pills. Garland Hull then departed and entered the residence
                           at 922 N Webster Street in Junction City, Geary County, KS. Detective Alvin Babcock
                           took possession of the evidentiary items and detennined the pills were Oxycodone
                           (Schedule II) and Clonazepam (Schedule IV). Detective Alvin Babcock submitted the
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                           evidentiary times to the KBI for analysis.
                                      44.   On 09/25/2012, Detective Alvin Babcock and other Officers met with CI
                           #1 for the purpose of CI #1 purchasing ten (10) Oxycodone 20 mg pills from Garland
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                           Hull. CI #1 drove to 922 N Webster Street in Junction City, Geary County, KS where
                           he/she met with Garland Hull who exited from the residence at the aforementioned
                           address. Garland Hull entered the vehicle CI #1 was driving and eventually received ten
                           (10) pills from him. CI #1 exited the location and met with Detective Alvin Babcock. CI
                           #1 gave the evidentiary items to Detective Alvin Babcock who detem1ined the pills were
                           Oxycodone/Hydrochloride 20 mg pills (Schedule II).           Detective Alvin Babcock
                           submitted the evidentiary items to the KBI for analysis.
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                                  45.       On 09/27/2012, CI #1 met with the Affiant and other law enforcement
                           officers for the purpose of purchasing crack cocaine from Jason Dixon. CI # 1 called
                           Jason Dixon using telephone number (785) 375-3222. Jason Dixon answered the phone
                           and a conversation ensued in regards to CI #1 purchasing methan1phetamine from him.
                           Jason Dixon told CI #1 he would have to call CI #1 back to which he did and stated he
                           was not able to locate any methamphetamine to distribute but that he had crack cocaine in
                           his possession to distribute if CI #1 was interested. CI #1 said he/she was interested in
                           purchasing the crack cocaine.
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                                  46.       CI #1 told Jason Dixon he/she wanted two (2) $50.00 rocks of crack
                           cocaine ($100.00 worth of crack cocaine).         The two agreed to meet at Handy's
                           Convenience Store located at 1734 W. Ash Street in Junction City, Geary County, KS.
                           CI #1 drove to the location and a short time later Jason Dixon arrived and completed the
                           transaction with Cl #1. CI #1 drove back to a predetermine location where he/she then
                           gave the two (2) plastic bag comers containing an off white substance in each to the
                           Affiaut.




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                                  47.    The A:ffiant took possession of the evidentiary items and later submitted
                          the evidentiary items to the KBI for analysis and received a Forensic Laboratory Report
                          stating cocaine base was detected in Lab Item 2 and having a net weight of 0.82 grams.
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                                  48.    On 09/28/2012, the Affiant was contacted by CI #1 and told CI #1 had
                          been in contact with Anthony Thompson who agreed to sell CI #1 one-half (1/2) ounce
                          of crack cocaine for $700.00. Anthony Thompson had previously told CI #1 he would
                          sell him/her one-half (1/2) ounce of crack cocaine for $700.00 but at that time he was not
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                          in possession of that quantity. Then later that same day, Anthony Thompson contacted
                          CI # 1 and said he was now in possession of more crack cocaine and was willing to sell CI
                          #1 the one-half (1/2) ounce. CI #1 had made several attempts throughout the day (after
                          the previous call) to contact Anthony Thompson but the calls were going straight to
                          voicemail and the voicemail box was full so CI #1 was unable to leave a message. It
                          should be noted throughout this investigation it has been found when Anthony
                          Thompson did not answer his phone the voicemail box was nearly always full therefore
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                          no voicemail could be left indicating Anthony Thompson was apparently receiving a
                          large number of phone calls with voicemails being left. Anthony Thompson eventually
                          contacted CI #1 via cellular telephone and stated he would meet CI #1 and complete the
                          transaction.
                                 49.     CI #1 met with the Affiant and other Officers prior to the purchase. The
                          Affi.ant gave CI #1 $700.00 in US Currency to purchase the crack cocaine. CI #1 once
                          again contacted Anthony Thompson via cellular telephone and advised him he/she was
                          ready to meet with him. Anthony Thompson told CI #1 to meet him at the Taco Bell
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                          which was located at 407 W 18th Street in Junction City, Geary County, KS. CI #1
                          arrived at the location and shortly thereafter was approached by a black male and asked if
                          CI #1 was the person who was there to receive something from "Ant" (Anthony
                          Thompson). CI #1 said "yes" and the black male said he would be right back with "it"
                          referring to the crack cocaine. Sergeant Todd Godfrey of the JCPD identified the black
                          male who approached CI #1 as Albert Banks. Approximately four (4) minutes later,
                          Albert Banks reappeared and entered the passenger side of CI # 1's vehicle where he sold
                          CI #1 the crack cocaine. CI #1 told Albert Banks to tell Anthony Thompson if the
                          crack cocaine was good, CI #1 would want one (1) ounce of crack cocaine next week.

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                                                                                                                       423
                          Albert Banks agreed and told CI # I to contact Anthony Thompson next week. Albert
                          Banks then exited the vehicle and walked to the south and was not surveilled due to the
                          location and the fact he was walking.
                                  50.    Prior to the purchase taking place, Detective Alvin Babcock recalled
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                          seeing a black male with dreadlocks and a white t-shirt leave Wood Oil Convenience
                          Store (located at 439 W 19th Street in Junction City, Geary County, KS adjacent to the
                          Taco Bell) and walk towards Taco Bell. This was the same black male later identified as
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                          Albert Banks. Albert Banks met with another unknown black male in front of Taco
                          Bell in the parking lot who then departed shortly after meeting with Albert banks.
                          Shortly thereafter, Detective Alvin Babcock recalled seeing a heavy set black female exit
                          the Wood Oil Convenience Store and enter into a gold in color Four Taurus which
                          Detective Alvin Babcock knew belonged to Albert Banks and his girlfriend Glenda
                          Robertson. The vehicle was bearing Kansas license tag 882FEE. A registration request
                          was run and the vehicle was found to be registered to Glenda Robertson and Ola Mae
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                          Gavin. Ola Mae Gavin is the mother of Glenda Robertson. This vehicle remained at its
                          location throughout the purchase of crack cocaine.
                                 51.     The Affiant took possession of the evidentiary item and later submitted the
                          evidentiary items to the KBI for analysis and received a Forensic Laboratory Report
                          stating cocaine base was detected in Lab Item 3 and having a net weight of 13.89 grams.
                                  52.    On 10/02/2012, the Affiant and Detective Alvin Babcock met with CI #1
                          for the purpose of making a controlled phone call to Anthony Thompson for the purpose
                          of trying to obtain one (1) ounce of crack cocaine from him. Anthony Thompson did
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                          not answer and the call went to voicemail but once again the voicemail box was full and
                          CI 31 was not able to leave a message. A recording device was left \\rith CI #1 in order
                          for him/her to make a phone call later and have a recording of it.
                                 53.     On 10/03/2012, Detective Alvin Babcock and Detective Angie Weeks met
                          with CI #1 to obtain the recording device from him and listen to the completed phone
                          between CI #1 and Anthony Thompson.               During the phone call, CI #1 talked to
                          Anthony Thompson in reference to obtaining a "full one" referring to one (1) ounce of
                          crack cocaine. Anthony Thompson told CI #1 the cost would be $1,400.00. CI #1 told
                          Anthony Thompson he/she didn't have $1,400.00 and Anthony Thompson told CI #1

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                          he would sell CI #1 an ounce of crack cocaine for $1,200.00. CI #1 asked Anthony
                          Thompson if "homeboy was going to meet CI # 1 again like he did the other day"
                          referring to Albert Banks. Anthony Thompson said he would call "him" (Albert
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                          Banks) and find out. CI #1 and Anthony Thompson agreed to meet at approximately
                          2:00 PM to complete the transaction.
                                    54.   At approximately 2:00 PM, CI #1 contacted Anthony Thompson via
                          cellular telephone where CI #1 asked Anthony Thompson if he was ready (meaning Cl
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                          #1 wanted to know if Anthony Thompson had the ounce of crack cocaine to distribute to
                          CI #1).     Anthony Thompson asked CI #1 if he/she had the "12" referring to the
                          $1,200.00 to which he/she replied "yes". CI #1 asked Anthony Thompson if he was
                          going to have "little homeboy" bring the crack cocaine to CI #1 referring to Albert
                          Banks delivering it to CI #1 as he did on 09/28/2012. Anthony Thompson said "he had
                          it anyway" referring to Albert Banks having the crack cocaine Anthony Thompson and
                          Albert banks were distributing. Anthony Thompson said he would call "him" referring
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                          to Albert Banks and call CI #1 right back.
                                    55.   Approximately two (2) minutes later, Anthony Thompson called CI #1
                          back, asked where he/she was and where CI #1 wanted to meet. CI #1 stated he/she liked
                          the Taco Bell location, where he had met Albert Banks previously.              Anthony
                          Thompson indicated he had talked to Albert Banks and Albert Banks wanted to know
                          if CI #1 would pay $1,250.00 for the ounce of crack cocaine instead of the earlier agreed
                          upon price of $1,200.00.     CI #1 agreed upon the price of $1,250.00.         Anthony
                          Thompson agreed upon the meeting location and asked CI #1 when he/she would be
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                          arriving at the location to which CI #1 replied, 15 minutes". Anthony Thompson told
                          Cl #1 to call him (Anthony Thompson) when CI #1 arrived at the location.
                                    56.   CI #1 arrived at the location and attempted to contact Anthony
                          Thompson via cellular telephone but Anthony Thompson did not answer.
                          Approximately 17 minutes later, Anthony Thompson called CI #1 back and said he had
                          seen a JCPD patrol vehicle parked near the meeting location and therefore wanted CI #1
                          to exit the parking lot, turn right and then tum left at the first intersection and meet
                          Anthony Thompson in that area to which CI # 1 complied. It should be noted this
                          location is actually a dead end street making surveillance complicated as to seeing the

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                          vehicle Anthony Thompson was driving. CI #1 parked in the 2000 block ofN Madison
                          Street in Junction City, Geary County, KS at which time Anthony Thompson appeared
                          and entered into the passenger side of CI # 1's vehicle.
                                 57.     The transaction was completed and CI #1 had a conversation with
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                          Anthony Thompson. CI #1 asked Anthony Thompson how much crack cocaine he was
                          purchasing per week to distribute. Anthony Thompson said it was approximately nine
                          (9) ounces per week.       The two continued to converse further and then Anthony
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                          Thompson exited the vehicle and CI #1 drove away en route to a pre-determined
                          location. Detective Alvin Babcock and Captain Shawn Peirano of the Grandview Plaza
                          Police Depmiment (GPPD) were able to observe Anthony Thompson leave the location
                          where the transaction took place and as he left, Albert Banks was seen in the vehicle
                          with Anthony Thompson.
                                 58.     The Affiant took possession of the evidentiary item and later submitted the
                          evidentiary item to the KBI for analysis and received a Forensic Laboratory Report
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                          stating cocaine base was detected in Lab Item 4 and having a net weight of 27. 74 grams.
                                 59.     On 10/10/2012, Agents/Officers met with CI #1 for the purpose of
                          purchasing one (1) ounce of crack cocaine from Anthony Thompson. Detective Alvin
                          Babcock retrieved a digital audio recorder from CI #1 which contained a recorded phone
                          call between CI #1 and Anthony Thompson prior to this date. During the phone call, CI
                          #1 told Anthony Thompson he/she would be in town (Junction City, Geary County, KS)
                          on Wednesday instead of Thursday and wanted to know if Anthony Thompson was
                          "still good" refen-ing to Anthony Thompson having crack cocaine to distribute.
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                          Anthony Thompson told CI #1 he was "good" and asked CI #1 what "he needed". CI
                          #1 said he/she wanted "a yard" referring to an ounce of crack cocaine to which Anthony
                          Thompson responded he is "good' meaning he had that quantity to distribute.
                                 60.     CI #1 contacted Anthony Thompson via cellular telephone and told him
                          CI #1 was in town (Junction City, Geary County, KS) and wanted to know where
                          Anthony Thompson wanted to meet. Anthony Thompson told CI # 1 to meet him at the
                          McDonald's on 6th Street and then changes the location to the Discount Liquor Store
                          (located at 744 W 6th Street in Junction City, Geary County, KS). CI #1 told Anthony
                          Thompson he/she was not aware of the location for that establishment.· Anthony

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                          Thompson told CI #1 it was "up the street from Dillon's" and to give Anthony
                          Thompson 15 to 20 minutes (to arrive). Detective Alvin Babcock gave CI #1 directions
                          to the location and he/she departed soon after.
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                                 61.       CI # 1 arrived at the location and approximately 3 7 minutes later a grey in
                          color Ford Focus arrived at the location. Anthony Thompson exited the vehicle and got
                          into the vehicle CI #1 was driving. A second black male could be seen in the vehicle
                          Anthony Thompson arrived in who was later identified as Albert Banks.                    The
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                          transaction was completed and as Anthony Thompson departed the location,
                          surveillance was attempted on the vehicle he was driving but he was able to avoid being
                          followed by Agents/Officers.
                                 62.       The covert audio/video recording device from CI #1 's vehicle was viewed
                          by Detective Alvin Babcock and during the transaction Anthony Thompson told CI #1
                          "if he is unable to get in touch with him, CI #1 could call his bro (Albert Banks) at 785-
                          317-1164 and his name is AB (Albert Banks)". Anthony Thompson told CI #1, AB
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                          (Albert Banks) was the person CI #1 met with the first time.             It should be noted

                          Anthony Thompson was referring to CI #1 making a purchase from Albert Banks on
                          09/28/2012 in the Taco Bell parking lot. It should also be noted this transaction took
                          place within 1000' of Larry Dixon Alternative School.
                                 63.       KBI Task Force Agent (TFA) Vidal Campos took possession of the
                          evidentiary item and later submitted the evidentiary item to the KBI for analysis. The
                          Affiant received a Forensic Laboratory Report stating cocaine base was detected in Lab
                          Item 5 and having a net weight of27.74 grams.
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                                 64.       On 10/23/2012, Detective Alvin Babcock received a telephone call from
                          CI #1 stating CI #1 attempted to contact Albert Banks several times to initiate a
                          controlled purchase of crack cocaine from him but Albert Banks did not answer any of
                          the incoming phone calls from Cl #I. CI #1 did say he/she had a conversation with
                          Albert Banks via text messaging though and forwarded the text messages to Detective
                          Alvin Babcock. The messages are as follows;
                                       •   Is this AB that knows Ant who I got# from I am *******(omitted)
                                       •   What up yea this AB
                                       •   Will be comeing to Junk City if u got some work for me tomorrow

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                                        e   Yep hit me up when u ready
                                        •   Is there a money cut on 2
                          This conversation is translated to mean CI # 1 sent a text message to Albert Banks asking
                          if the number texted was Albert Banks. He indicated it was Albert Banks. CI #1
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                          advised him he/she would be coming to Junction City, Geary County, KS tomorrow and
                          wanted to know if Albert Banks had crack cocaine to purchase. Albert Banks indicated
                          he had crack cocaine for distribution and for CI #1 to call him when CI #1 was ready. CI
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                          #1 asked if he/she would receive a discounted cost if he/she purchased two (2) ounces.
                                  65.       CI #1 then contacted Albert Banks via cellular telephone later and they
                          conversed in reference to CI #1 not being able to make it to Junction City on this date. Ci
                          #1 said he/she would be in Junction City tomorrow (10/24/2012) and if Albert Banks
                          had more (more than one or two ounces), CI #1 may want to purchase more quantity.
                          Albert Banks stated he may possibly have more available and for CI #1 to call him
                          tomorrow. CI # 1 later received a text message from Albert Banks which read; U still
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                          want this o if not I am bout to get rid of it. This text was asking CI # 1 if he/she was still
                          planning on purchasing the ounce of crack cocaine CI #1 had asked for and if CI #1 did
                          not want it, Albert Banks was going to sell it to someone else.
                                  66.       On 10/24/2012, the Affiant and other Officers met with CI #1 for the
                          purpose of CI #1 making a crack cocaine purchase from Albert Banks. CI #1 called
                          Albert Banks via cellular telephone and told him CI #1 was approximately 15 minutes
                          from Junction City, Geary County, KS and asked Albert Banks if he was "good"
                          referring to whether or not he had crack cocaine available for distribution. Albert Banks
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                          told CI #1 he was "good" and waiting on CI #1. CI #1 asked Albert Banks if CI #1
                          would receive a discount if CI #1 were to purchase two (2) ounces. Albert Banks said
                          he did not believe he had that much crack cocaine left but he would "have to go see how
                          much he has" and that he "thinks it's only like 1 ½" meaning he did not have the crack
                          cocaine with him at that time and believed he only had one and one-half (1 ½) ounces left
                          to sell. Albert Banks told CI #1 he would give CI #1 a "deal", referring to a break in
                          price, and CI #1 said he/she would take what Albert Banks had. CI #1 asked Albert
                          Banks where he wanted to meet CI #1 at and Albert Banks said to meet him lih and
                          Jefferson Street (Junction City, Geary County, KS). CI #1 told Albert Banks he/she

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                          knew where the Comer Club was (the intersection of 12th and Washington in Junction
                          City, Geary County, KS) and he/she would meet Albert Banks there.
                                 67.     CI #1 drove to the aforementioned location where CI #1 met with Albert
                          Banks and purchased what was supposed to be 1 ½ ounces of crack cocaine for
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                          $1,800.00 which was given to CI #1 by the Affiant. Detective Alvin Babcock observed
                          Albert Banks walking east in the 100 block of W 12th Street prior to meeting with CI #1
                          and then observed Albert Banks exit CI #1 's vehicle and walk to a residence having an
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                          address of 126 W 12th Street in Junction City, Geary County, KS/
                                 68.    The Affiant took possession of the evidentiary items which were actually
                          two (2) plastic baggies each containing suspected crack cocaine.      KBI TFA Vidal
                          Campos later submitted the evidentiary item to the KBI for analysis.       The Affiant
                          received a Forensic Laboratory Report stating cocaine base was detected in Lab Item 4
                          and having a net weight of 40.96 grams.
                                 69.    On 10/25/2012, Detective Alvin Babcock was listening to a recorded
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                          phone call from the Geary County Detention Center in which Martye Madkins III called
                          telephone number 785-226-0131 (Martye Madkins III was incarcerated at the time in this
                          facility). The aforementioned telephone number was a cellular telephone number which
                          Jasmine Tipton was utilizing. Jasmine Tipton answered the phone and they talked briefly
                          then she told Martye Madkins III that Albert Banks was there and she gives the phone to
                          Albert Banks. Albert Banks and Martye Madkins III talk in reference to bonding
                          Martye Madkins III out of jail. Albert Banks told Marty Madkins III "they already have
                          the money and they are waiting for a co-signor" to bond Martye Madkins III out. Martye
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                          Madkins III asks Albert Banks the question of, "My cousin did that bullshit man?"
                          Albert Banks replied, "There was two (2) onions laying on the table". Martye Madkins
                          III said, "I'm gonna snap on they motherfucking ass".       Albert Banks told Martye
                          Madkins Ill that he "hurried up and slid down there".         it should be noted this
                          conversation meant there were two (2) ounces of crack cocaine on the table at Jasmine
                          Tipton's residence (227 W 14th Street Apartment #2 in Junction City, Geary County, KS)
                          and Albert Banks retrieved it hmriedly. Albert Banks also said "they" were trying to
                          bond "Dirty Dwayne" out of jail but "Dirty Dwayne's" stepfather would not co-sign to
                          get him out of jail. Detective Alvin Babcock knows "Dirty Dwayne" to be Dwayne

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                          Alexander who is a partner of Anthony Thompson, Albert Banks and Martye Madkins
                          III.
                                   70.   On 10/29/2012, Detective Alvin Babcock received a text message from CI
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                          #1 which included a text message conversation CI #1 had with Albert Banks. The text
                          message from CI #1 to Albert Banks read; "Will be out 4 sure on Friday. Will u be ready
                          for my 2200" indicating CI #1 would be in Junction City, Geary County, KS on Friday
                          and CI # 1 wanted to know if Albert Banks would have cocaine to distribute to CI # 1.
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                          Albert Banks simply replied back "Yep". A purchase of crack cocaine was attempted
                          but Albert Banks indicated, during a telephone conversation, that it would be a couple of
                          hours.    A couple hours later, CI # 1 contacted Albert Banks once again and Albert
                          Banks indicated he was not in town (Junction City, Geary County, KS). CI #1 attempted
                          to contact Albert Banks a short time later and he did not answer his cellular telephone so
                          the attempted purchase of crack cocaine was discontinued for this date.
                                   71.   On 10/31/2012, Detective Alvin Babcock observed a green in color Ford
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                          Thunderbird being driven by Glenda Robertson in the 500 block of E 8th Street in
                          Junction City, Geary County, KS. The vehicle traveled along multiple streets and made
                          several turns finally entering into an alleyway where Detective Alvin Babcock lost sight
                          of it. Captain Shawn Peirano of the GPPD gained sight of the vehicle traveling through
                          the alleyway where it was last seen. Detective Alvin Babcock drove to the intersection of
                          lih and Franklin Street in Junction City, Geary County, KS and observed the vehicle
                          with Albert Banks in the front passenger seat and Glenda Robertson in the driver's seat.
                          To the best of Detective Alvin Babcock's knowledge, at that time Albert Banks and
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                          Glenda Robertson were in a domestic relationship. Detective Alvin Babcock observed
                          the vehicle turn west on 12th Street and finally stopping in front of a residence located at
                          126 W 12th Street in Junction City, Geary County, KS. Albert Banks exited the vehicle,
                          approached the residence, then walked past the building and continued toward the alley
                          where Officers lost sight of him.     Detective Alvin Babcock was aware of previous
                          information from SOI #1 who stated Albert Banks stashes or hides his cocaine in
                          random alleys where it is left until he needs it for distribution. Once Albert Banks has a
                          need for an unknown quantity of cocaine, he will proceed to the location where he had
                          hid the cocaine, obtain it and then transport it to the person/s to distribute it. This

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                          practice is done in an effort to conceal the possession of the illegal drugs in case law
                          enforcement were to locate where Albert Banks was residing and execute a search
                          warrant at that residence. If the illegal drugs were located in a location other than in or
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                          on property where Albert Banks resides or was located at, the drugs would not be
                          associated to him.
                                 72.     On 11/07/2012, CI #1 contacted Detective Alvin Babcock and said he/she
                          had sent Albert Banks a text message asking him if he had any "work" for CI #1
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                          referring to any crack cocaine for CI #1 to purchase. Albert Banks replied back "Yep".
                          It should be noted no certain quantity of crack cocaine had been discussed or agreed up
                          on by either party as the conversation was being conducted via text messaging. CI #1
                          arrived in Junction City, Geary County, KS and met with Agents/Officers. A controlled
                          phone call was made to Albert Banks who told CI #1 to meet him at the same location as
                          before referring to the Comer Club located at the intersection of 12th Street and
                          Washington Street in Junction City, Geary County, KS.           The Affi.ant gave CI #1
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                          $2,200.00 in US Currency to be utilized for the crack cocaine purchase.
                                 73.     CI #1 drove to the aforementioned location and once again called Albert
                          Banks via cellular telephone to tell him CI # 1 had arrived at the agreed upon location.
                          Albert Banks told CI # 1 to meet him in front of the residence where he had had contact
                          with Albert Banks previously (10/24/2012) which was 126 west lih Street in Junction
                          City, Geary County, KS. CI #1 did as he/she was instructed to and upon parking, a black
                          male (later identified by Detective Alvin Babcock as Albert Banks) exited the residence
                          and approached CI #1. Albert Banks gave CI #1 a plastic baggie containing two (2)
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                          plastic baggies each having an off white substance in them later, determined to be crack
                          cocaine. CI #1 gave Albert Banks the $2,200.00 in US Currency and then asked Albert
                          Banks if he/she could purchase three (3) more ounces of crack cocaine in a couple of
                          days if CI # 1 was able to sell this two (2) ounces. Albert Banks agreed and told CI # 1 to
                          call him when he/she was ready. CI #1 left the location and met with the Affiant and
                          other Agents/Officers.
                                 74.     The Affiant took possession of the evidentiary item and later signed it over
                          to KBI TF A Vidal Campos who later submitted the evidentiary item to the KBI for



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                              analysis. The Affiant received a Forensic Laboratory Report stating cocaine base was
                              detected in Lab Item 5 and having a net weight of 56.08 grams.
                                     75.       On 11/14/2012, The Affiant and other Agents/Officers met with CI #1 for
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                              the purpose of CI #1 purchasing crack cocaine from Anthony Thompson. CI #1 had
                              been in contact with Anthony Thompson prior and had asked Anthony Thompson if
                              he/she could purchase three (3) ounces of crack cocaine from him. Anthony Thompson
                              told CI #1 he/she could as Anthony Thompson "was sitting fat right now" referring to
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                              having a large quantity of crack cocaine for distribution at that time. A negotiated price
                              of $3,300.00 for the three (3) ounces of crack cocaine was agreed upon.
                                     76.       Later this day (11/14/2012), CI #1 contacted Anthony Thompson once
                              again via cellular telephone. Anthony Thompson told CI #1 he was not in Junction
                              City, Geary County, KS at that time and would not be returning for two to two and a half
                              (2 to 2 ½) hours as he was trying to "get it" referring to attempting to obtain more
                              cocaine as he had obviously distributed all cocaine he had talked to CI #1 about
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                              previously. . CI #1 told Anthony Thompson he/she would be waiting for him once he
                              returned. CI #1 and Anthony Thompson had contact via cellular telephone at a later
                              time at which Anthony Thompson said he wanted to meet CI #1 at the Taco Bell
                              parking lot (located at 407 W 18th Street in Junction City, Geary Coilnty, KS) once again.
                              Anthony Thompson advised Cl #1 he now wanted $3,600.00 for the three (3) ounces of
                              crack cocaine.     CI #1 was able to negotiate the price down to $3,400.00 and the
                              transaction was agreed upon.
                                     77.       The Affiant gave CI #1 $3,400.00 in US Currency to complete the
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                              transaction.   CI # 1 drove to the aforementioned location and waited on Anthony
                              Thompson. After a period of time, CI #1 called Anthony Thompson once again to see
                              if was getting close to the location as earlier, Anthony Thompson told CI #1 he was in

i                             Manhattan and en route to the location and suspected he would be at the location in 15
                              minutes but more time had elapsed than that. Anthony Thompson eventually arrived at
                              the location and was seen by surveillance units. Anthony Thompson entered the front
                              passenger seat of the vehicle CI #1 was driving and they began to converse. Anthony
                              Thompson gave CI #1 two (2) plastic baggies each containing an off white chunky
                              substance which was later confirmed to be crack cocaine. Anthony Thompson told CI

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                                                                                                                      432
                          #1 each baggie weighed one and one~half (1 ½) ounces. Anthony Thompson told CI #1
                          they (the two packages and their contents) were still wanu as he had just made it meaning
                          he had just recently converted cocaine powder to crack cocaine immediately prior to
                          meeting with CI #1. CI #1 gave the US Currency to Anthony Thompson and asked him
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                          to count it to confirm the amount was correct to which he did.
                                  78.    Once the transaction was complete, Anthony Thompson exited the
                          vehicle and walked to the south from this location. Anthony Thompson was observed
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                          by Detective Alvin Babcock walking in the yard of a residence located at 412 Roosevelt
                          Street in Junction City, Geary County, KS but he was not seen entering the residence.
                          Although the grey in color Ford Focus he had been seen driving previously was not seen
                          near this location either. CI #1 drove to a predetermined location where he/she met with
                          Agents/Officers. CI #1 gave the two (2) plastic baggies to the Affiant and the Affiant
                          could feel they were still wann even given the cold ambient temperature outside at the
                          time.
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                                  79.    The Affiant took possession of the evidentiary items and later transported
                          and later submitted the evidentiary items to the KBI for analysis. The Affiant received a
                          Forensic Laboratory Report stating cocaine base was detected in Lab Item 6 and having a
                          net weight of 82.95 grams.
                                  80.    On 11/30/2012, Detective Alvin Babcock was contacted by SOI #1. It is
                          unclear if Albert Banks was conversing with SOI #1 or if SOI #1 overheard a
                          conversation Albert Banks was having with someone else (on 11/30/2012) but SOI #1
                          told Detective Alvin Babcock that Anthony Banks had eluded "them" (Detective Alvin
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                          Babcock and someone else) on 11/29/2012.
                                  81.    On 11/29/2012, Detective Alvin Babcock and Detective Angie Weeks
                          were in his unmarked police vehicle when they observed Albert Banks driving a silver in
                          color Dodge Stratus in the 1200 block of north Jefferson Street in Junction City, Geary
                          County, KS. Detective Alvin Babcock turned his police vehicle around in an attempt to
                          follow Albert Banks and obtain the vehicle tag number displayed on the vehicle he was
                          driving. Albert Banks turned east into an alleyway and continued at a high rate of speed
                          indicated to Detective Alvin Babcock by the cloud of dust in the alleyway. Detective
                          Alvin Babcock then observed Albert Banks run to a residence located at 126 W. 12th

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                          Street. Detective Alvin Babcock was able to observe the tag number on the grey in color
                          Dodge Stratus which was 214 EBL. Detective Alvin Babcock knows this vehicle to
                          belong to Barbara Shaw.       Detective Alvin Babcock is aware from previous law
                          enforcement contact and recent CI conversation that Barbara Shaw (AKA "Smiley") is
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                          heavily ingesting crack cocaine at the residence located at 126 ½ W. Chestnut Street in
                          Junction City, Geary County, KS.
                                 82.      SOI #1 also told Detective Alvin Babcock a person SOI #1 knows as
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                          "Ace' (known to Detective Alvin Babcock as Adrian Muse) was in Junction City, Geary
                          County, KS on 11/29/2012 and was observed with Anthony Thompson. This was the
                          first time SOI #1 had met "Ace" (Adrian Muse).       SOI #1 had received information
                          indicating Adrian Muse had been "raided" (search warrant executed at his residence) by
                          the "Feds" (Federal Law Enforcement Officers) and a stolen firearm was located. SOI #1
                          was told the "feds" issued Adrian Muse a citation for being in possession of the stolen
                          firearm and then told Adrian Muse something about the "Cartel" and therefore Adrian
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                          Muse is frightened the Cartel is looking for him. SOI #1 also advised he/she believed
                          Anthony Thompson had been supplied cocaine by Adrian Muse in the past but since
                          Adrian Muse had been "raided" by the "Feds", he hadn't supplied Anthony Thompson
                          with cocaine.
                                 83.      It should be noted, the Af:fiant is aware of a search warrant which had
                          been executed at a residence located at 18921 W. 160th Terrace in Olathe, Johnson
                          County, KS on 10/24/2012 (residence of Adrian Muse) in which a large digital scale, a
                          Springfield Armory Xd-40 pistol (which was found to have been reported as stolen), an
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                          Apple I-phone, one (1) firearm magazine and nine (9) rounds of Springfield 40 caliber
                          ammunition were seized.      This information/documentation is in reference to Olathe
                          Police Department case number 2012-0016325.
                                 84.      SOI #1 also told Detective Alvin Babcock that SOI #1 had heard Anthony
                          Thompson had recently drove to Kansas City (no indication whether it was Kansas City,
                          KS or Kansas City, MO) to obtain more cocaine for conversion to crack cocaine and
                          ultimately for distribution. Anthony Thompson met with an unknown cocaine supplier
                          who he gave $3,000.00 in US Currency to purchase the cocaine. The unknown supplier
                          stole the $3,000.00 from Anthony Thompson.

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                                      85.    SOI #1 believed Anthony Thompson and Albert Banks were to be
                              obtaining two (2) ounces of cocaine on this day but it was unknown where they were
                              going to obtain it and who they were to obtain it from.
                                      86.    SOI #1 also told Detective Alvin Babcock that Albert Banks allegedly
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                              moved to a residence located behind a residence Caress Jackson resided at. Detective
                              Alvin Babcock believes Caress Jackson to reside at 235 E 3rd Street in junction City,
                              Geary County, KS. Detective Alvin Babcock knows Albert Banks and Caress Jackson
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                              have a child together.
                                     87.     On 01/22/2013, CI #1 contacted Anthony Thompson in reference to
                              purchasing crack cocaine from him on 01/23/2013 at approximately 11:30 AM.
                              Anthony Thompson stated he would not be out of school classes until 12:00 PM. Cl #1
                              asked him if they could meet at approximately 12:30 PM to which Anthony Thompson
                              agreed. Anthony Thompson asked CI #1 if he/she wanted "a whole one" referring to
                              one (1) ounce of crack cocaine to which CI #1 replied "yes". CI #1 asked Anthony
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                              Thompson if he/she could purchase the ounce of crack cocaine for $1,275.00. Anthony
                              Thompson replied, "I can't swing it right now buddy. Ain't no possible way". Cl #1
                              asked if he/she could purchase it for $1,300.00 and at approximately the same time,
                              Anthony Thompson stated "whole, 14. It's going to be worth it though". CI #1 was
                              trying to negotiate a lower price for the ounce of crack cocaine but Anthony Thompson
                              stated the price would be higher and wanted $1,400.00 for it. The conversation continued
;                             ending with the two of them agreeing to meet on 01/23/2013 at approximately 12:30 PM.
i
                                     88.     On 01/23/2013, CI #1 met with Agents/Officers and made a controlled
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                              phone call to Anthony Thompson. CI #1 asked Anthony Thompson if he was ready to
                              meet and Anthony Thompson said he was just getting out of school.             Anthony
                              Thompson went on to say, "Gotta get everything ready. I got it ready" referring to
                              preparing the crack cocaine for distribution and then stated he had it prepared. CI #1
                              asked Anthony Thompson where he wanted to meet at and Anthony Thompson stated
                              they could meet at the Taco Bell in approximately one (1) hour.
                                     89.     Approximately one (1) hour later, Cl #1 called Anthony Thompson once
                              again. Anthony Thompson said, "On my way there now buddy". CI #1 asked Anthony
                              Thompson if he wanted CI #1 to proceed to the meeting location. Anthony Thompson

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                          said, "No, I'm coming from Manhattan. I'll meet you on the edge (referring to the east
                          side of Junction City, Geary County, KS), that gas station by Wal-Mart (referring to the
                          Shell Travel Center located at 821 East Chestnut Street in Junction City, Geary County,
                          KS)". CI #1 asked, "The truck stop" to which Anthony Thompson replied, "I'm about
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                          two or three (2 or 3) minutes out" and the conversation ended. The Affiant gave CI #1
                          $1,400.00 in US Currency to purchase the crack cocaine.
                                  90.     CI #1 drove to the agreed upon location and waited for Anthony
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                          Thompson to arrive. Anthony Thompson eventually arrived in a vehicle being driven
                          by a black male whom Detective Alvin Babcock identified as Michael Asbury. Anthony
                          Thompson entered into the passenger side of the vehicle CI #1 was driving and the
                          $1,400.00 was exchanged for the ounce of crack cocaine.              CI #1 asked Anthony
                          Thompson for a phone number for Albert Banks as CI #1 had been trying to contact
                          Albert Banks but the phone number CI #1 had for Albert Banks was not in working
                          order anymore. Anthony Thompson said the phone number for Albert Banks was
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                          (785) 375-6704. CI #1 and Anthony Thompson then departed. CI #1 was followed to a
                          pre-determined location where CI #1 met with Agents/Officers once again. CI #1 gave
                          the Af:fiant a clear plastic baggie with an off white chunky substance in it.
                                  91.    The Affiant took possession of the evidentiary item and later transported
                          and later submitted the evidentiary item to the KBI for analysis. The Affiant received a
                          Forensic Laboratory Report stating cocaine base was detected in Lab Item 7 and having a
                          net weight of27.22 grams.
                                  92.    CI #1 contacted Albert Banks via cellular telephone at telephone number
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                          (785) 375-6704. It should be noted this phone number was collected from a telephone
                          being used by Patricia Foy on 12/29/2012 and was listed in the contacts of the phone
                          memory as "AB" which is an alias for Albert Banks. Albert Banks answered and
                          Detective Alvin Babcock recognized the voice as that of Albert Banks. CI #1 asked
                          Albert Banks to meet him/her as CI #1 stated he/she had some clothes for Albert banks
                          to look at. They agree to meet at the Dollar General Store located at the intersection of
                          Chestnut and Franklin Streets in Junction City, Geary County, KS. CI #1 drove to the
                          aforementioned location and a person arrived whom Detective Alvin Babcock identified
                          as Albert Banks. Albert Banks arrived in a gold in color vehicle beating Kansas license

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                               tag 181DMY. The vehicle was found to be registered to a 2001 Buick Century with
                               Robert Thomas Keeley of 6826 Meade Loop Fort Riley, KS listed as the owner. After CI
                               #1 and Albert Banks were finished conversing, CI #1 met with Agents/Officers once
                               again at which time CI #1 stated he/she conversed with Albert Banks in reference to
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                               purchasing crack cocaine and Albert Banks told CI #1 to contact him anytime CI #1 was
                               ready and he could receive crack cocaine from him thus indicating this phone belonging
                               to Albert Banks is being used for the distribution of illegal drugs.
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                                       93.    On 02/13/2013, Cl #1 met with the Affiant and other Agents/Officers in
                               reference to purchasing crack cocaine from Albert Banks.           CI #1 contacted Albert
                               Banks at telephone number (785) 375-6704 and the two (2) agreed to meet at the Dollar
                               General Store located at 201 S. Franklin Street in Junction City, Geary County, KS. CI
                               #1 told Albert Banks he/she wanted to purchase one (1) ounce of crack cocaine from
                               him to which Albert Banks agreed. Cl #1 arrived at the location and approximately 30
                               minutes later, CI #1 contacted Albert Banks who said he was en route to the location.
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                               Approximately 35 minutes later, Albert Banks arrived and met with CI #1.                This
                               transaction was recorded on a covert electronic audio/video device. Albert Banks got
                               into the passenger side of the vehicle CI #1 was driving and shortly thereafter a white
                               female approached Albert Banks. Albert Banks told the white female, who was later
                               identified as Kari Stutheit, to get back into her vehicle (which was a silver in color
                               Mitsubishi Eclipse) to which she did. The transaction between CI #1 and Albert Banks
                               ensued at which time Albert Banks told CI #1 the quantity of crack cocaine would be
                               cheaper in price ($1,250.00) as it was "3 off' meaning the weight was 25 grams instead
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                               of the 28 grams earlier agreed upon.       The transaction concluded and CI #1 left the
                               location to meet with the Affiant.
                                       94.    Albert Banks was observed getting out of CI #1 's vehicle by SSA
                               Amanda Young and KBI TF A Vidal Campos. They observed Albert Banks approach
                               the white female earlier identified as Kari Stutheit sitting in the vehicle she drove to this
                               location in. SSA Amanda Young and TF A Vidal Campos observed what they described

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                               as a hand-to-hand transaction between Kari Stutheit and Albert Banks. This refers to
 i                             Albert Banks selling Kari Stutheit crack cocaine.



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                                 95.     Surveillance members observed Albert Banks enter into a dark in color
                          Ford Focus bearing Kansas license tag 781FDR which was registered to Karen Johnson.
                          Detective Alvin Babcock stated he notes Karen Johnson as being involved in the drug
                          trade in Junction City, Geary County, KS area.
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                                 96.     When CI #1 met with the Affiant, he/she gave the Affiant the evidentiary
                          item he/she purchased from Albert Banks. This was described as a clear plastic baggie
                          containing an off white substance. The Affiant took possession of the evidentiary item
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                          and later completed an Evidence Custody Receipt and signed the item over to SSA
                          Amanda Young to transport to the KBI Evidence Control Center to be held for analysis.
                                 97.     The Affiant received a Forensic Laboratory Report stating cocaine base
                          was detected in Lab Item 8 and having a net weight of24.63 grams.


                                                       CONFIDENTIAL SOURCES
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                                 98.     To date, there are two cooperating individuals (Cl's) that have been
                          developed and assisting in the investigation. Only one of the CI' s has been able to
                          infiltrate this organization actively. This particular CI has been able to make purchases
                          of crack cocaine from only certain persons involved in this organjzation. Multiple crack
                          cocaine purchases have been made beginning with small amounts of crack cocaine with
                          progressively larger purchases being made up to three ounces in quantity. Although this
                          particular CI has been able to gain limited trust from these individuals, the full scope of
                          the organization, the persons involved and the source of supply have not been identified
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                          as is doubtful this information will be identified due to the guarded nature of the
                          distribution ring and the source of supply. Early within the investigation, it was hoped
                          purchasing larger quantities of crack cocaine would afford law enforcement the ability to
                          identify the somce of supply but as of this date, that has not been available as Anthony
                          Thompson and Albert Banks have been able to supply the quantities requested therefore
                          it is the belief of law enforcement that the source of supply would not identified to law
                          enforcement utilizing this traditional means of investigation.        Others within this
                          distribution organization will likely never be identified as the CI has reached the upper



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                          echelon of this organization therefore others distributing crack cocaine for Anthony
                          Thompson and Albert Banks will likely not ever be identified to this CI.
                                  99.     The other CI has indicated an unwillingness to be identified or testify in
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                          court for fear of his/her physical safety. Fear not only of Anthony Thompson and Albert
                          Banks, but also of others associated with the organization. This CI is unwilling to make
                          purchases from any of the individuals and therefore provides limited information related
                          to this organization.
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                                  100.    A person whom has been identified as a Source of Information has been
                          developed but once again has very limited knowledge of the organization therefore
                          making it difficult to corroborate all the information the SOI is receiving. Much of the
                          information the SOI receives is dated infonnation as it is learned by the SOI after the
                          fact. This SOI bas also indicated an unwillingness to be identified or testify in court for
                          fear of his/her physical safety
                                  101.    No other cooperating individuals have been developed and none are
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                          anticipated to be developed to assist in this investigation due to the inherent risks of
                          bodily harm that persons have expressed may occur if they were to assist in the arrest of
                          Anthony Thompson, Albert Banks or any of their co-conspirators. Due to the structure
                          and loyalty of the members of this organization, it is unlikely that any other CI' s can, or
                          will be, developed from those who associate with or are members of this organization.


                                           PEN REGISTER INFORMATION AND ANALYSIS
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                                  102.    To further the investigation, Pen Register was initiated on the target phone
                          number (785) 226-1783 pursuant to a Kansas Couti Order.            The Affiant was aware
                          Anthony Thompson used the telephone for illegal drug transactions, as purchases CI #1
                          made from Anthony Thompson were arranged over the telephone. In January 2013,
                          Affiant began receiving Pen Register information for the telephone number (785) 226-
                          1783, for a period of time from 01-07-2013 to 02-22-2013. The subscriber information
                          was obtained through the official phone provider business records. This particular phone
                          is what is known as a Pre-paid phone and is utilized through I-Mobile. The subscriber
                          infonnation indicated this phone was subscribed to Jason Roberts but the Affiant knows

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                           it to be used by Anthony Thompson through this investigation. This type of phone
                           service does not require a positive identification by the subscriber prior to the
                           authorization.     Although Anthony Thompson hasn't had this telephone number
                           throughout this entire investigation, this is the telephone number he is utilizing at this
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                          time and the telephone number the Pen Register was initiated on.
                                  103.      The Pen Register for the 47 days indicated 6,919 total phone calls and 770
                           text messages were recorded. Of the 6,919 total phone calls; 5,607 were incoming calls
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                          with 1,285 outgoing and 28 unknown to the phone number. The records show 283
                          separate phone numbers were either dialed or dialed into the target phone number. The
                          average number of calls/text messages per day was 164. The average length of incoming
                          call in duration was 33 seconds and the average length of outgoing call in duration was 1
                          minute and 25 seconds which does not include text messages sent or received as those
                          means of communication do not record any minute usage. The Affiant is aware through
                          experience and training that many calls involving illegal drug transactions are of short
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                          duration. The short duration of those phone calls occurring on the target phone is
                          indicative of illegal drug transactions.
                                  104.      Of the 283 phone numbers only 150 of them have been identified, or are
                          believed to have been identified, thus far in the investigation. Of these 150 identified
                          phone numbers, 31 are registered to businesses that have no names of actual persons
                          attached to the subscriber information. Of the remaining 119 phone numbers that have
                          been identified, 80 of the known, or believed to be identified, subscribers named are
                          known associates of Anthony Thompson and/or have past arrests for narcotics
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                          violations.


                                        TELEPHONE SUBSCRIBER INFORMATION OF INTEREST


                                  105.      On 01/07/2013, a Pen Register was initiated on telephone number (785)
                          226-1783. The following phone numbers, frequency of calls/text messages, and
                          subscriber information is detailed below. This is not an inclusive list, but a list of
                          frequently dialed numbers and criminal infonnation related to the subscriber; or in some
                          cases the person believed to be actually utilizing the particular telephone as some of the

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                              phone numbers subpoenaed had no subscriber attached to the phone. This is indicative of
                              a pay-as-you-go type phone, which do not require a person to list their actual name and in
                              some cases no name or identification at all is required to activate the phone. In some
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                              cases, the phone was in the name of a person (as the subscriber) which was other than the
                              actual person using the phone.
                                         106.   The phone number (785) 317-1281 was indicated a total of 509 times from
                              01/07/2013 to 02/20/2013. The subscriber information shows this phone registered to
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                              Jalisa Carson, B/F DOB ~j6(~, who resides at 2035 Fort Riley Boulevard,
                              Manhattan, Kansas.        Jalisa Carson reported suspicious activity at the aforementioned
                              address on 01/11/2013 and provided law enforcement with this phone number as
                              belonging to her. Jalisa Carson resides with Anthony Thompson and they have a child
                              together. Jalisa Carson has the following criminal history indicating arrests. 06/18/2004_
                              Contempt of court indirect X2. 07/14/2004 Battery. 07/16/2004 Probation violation.
                              01/21/2007 Aggravated assault; battery; operating a motor vehicle without a valid
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                              license.
                                         107.   The phone number (785) 375-6704 was indicated a total of368 times from
                              01/07/2013 to 02/20/2013. The subscriber information shows this phone registered to no
                              name but is known, through this investigation to belong to Albert Banks, B/M ~
                              ~~~)'{~,< who has been detailed throughout this affidavit. It is unknown where Albert
                              Banks currently resides and throughout this investigation it has been determined Albert
                              Banks moves from location to location and doesn't reside at any one location as a
                              permanent residence. Albert Banks has the following criminal history for arrests as an
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                              adult. 02/08/2002 driving while license cancelled, suspended, revoked and operating a
                              motor        vehicle   without    a    valid        license.   03/15/2004     sale,   etc.
                              depress/stimulants/hallucinogen/ steroids within 1000' of a school; criminal use of
                              weapons; sale, offer depressants/hallucinogen/stimulants/anabolic steroids; obstructing
                              legal process in a felony case; no drug tax stamp for marijuana or controlled substance.
i                             03/25/2004 aggravated battery; criminal threat; kidnapping; aggravated intimidation of a
                              witness or victim. 09/25/2004 use or possess drug paraphernalia to introduce in human
                              body; possession of depressant/stimulants/hallucinogenics/steroids; 09/29/2004 attempt
                              to use or possess drug paraphernalia to introduce in human body; attempt possession of

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                          depressants/stimulants/hallucinogenics/anabolic steroids. 02/10/2005 sale etc. of opiates,
                          opmm            or        narcotic      drngs.               09-29-2007          Possession      of
                          depressant/stimulants/hallucinogenics/steroids.                  10/25/2007       Possession     of
                          depressant/stimulants/hallucinogenics/steroids; Possession of opiates, opium or narcotic
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                          drugs;               Possession          of            hallucinogenic;           Sale,         offer
                          depressant/hallucinogenics/stimulants/anabolic steroids; no drug tax stamp for marijuana
                          or controlled substance; Possession of simulated controlled substances or drug
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                          paraphernalia. 08/01/2011 Aggravated Assault; Conspiracy criminal damage to property;
                          criminal possession of a firearm by felon; Felony/drug conviction firearm used in crime.
                          04/21/2012 Felony criminal possession of a firearm; aggravated assault.                  06/21/2012
                          Contempt of court. 07/25/2012 Failure to appear
                                   108.         The phone number (785) 307-6308 was indicated a total of 282 times
                          from O1/07/2013 to 02/19/2013. The subscriber information shows this phone registered
                          to, or believed to be used by, Christina Peters (Snyder), B/F :M:©E~~~- Christina
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                          Peters has the following criminal history indicating arrests.                09/30/2010 Possession
                          depressant/stimulant/hallucinogen/anabolic steroid; Use/possess with intent to use drug
                          paraphernalia into human body; theft of services; failure to appear.
                                   109.        The phone number (785) 210-5082 was indicated a total of334 times from
                          01/07\2013 to 02\20\2013.            This phone number was subpoenaed and found to be a
                          TracFone with no listed person as the subscriber.
                                   110.        The phone number (785) 418-4926 was indicated a total of 249 times from
                          01/08/2013 to 02/20/2013. This phone number was subpoenaed and indicated this is a
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                          prepaid telephone with no subscriber information available.
                                   111.        The phone number (785) 317-7682 was indicated a total of 293 times from
                          01/08/2013 to 02/20/2013. The subscriber information shows this phone registered to
                          Angela Foy, W/F D{Offl:)g~~).{ but is believed to be used by Patricia Foy (Park), W/F
                          DOB 06/12/1965. Patricia Foy has the following criminal history indicating auests.
                          02/28/2002       Possession of opiates,          opium or narcotic drugs;             possession of
                          depressants/stimulants/hallucinogenics/anabolic            steroids;     possession   of controlled
                          substances or drug paraphernalia. 05/15/2002 Possession of opiates, opium or narcotic
                          drugs; possession of simulated controlled substances or drug paraphernalia. 06/27/2006

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                              Possession of opiates, opium or narcotic drugs. 03/14/2007 theft. 08/24/2007 Sale etc. of
                              opiates, opium, or narcotic drugs; possession of paraphernalia to grow, distribute
                              marijuana.       07/29/2008 Conspiracy to aiding a felon; conspiracy theft; burglary.
                              08/06/2008 Probation violation.      06/27/2009 Domestic battery; disorderly conduct;
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                              criminal restraint. 09/22/2011 Possession of opiates, opium or narcotic drugs; possession
                              of simulated controlled substances or drug paraphernalia. 12/29/2011 Theft. It should be
                              noted; Patricia Foy was arrested on December 29, 2012 by the Junction City Police
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                              Department and was in possession of a cellular telephone (believed to be the phone
                              having this telephone number but not confirmed) which had telephones numbers for
                              Anthony Thompson and Albert Banks which are the same telephone numbers
                              mentioned in this affidavit.      Other phone numbers for persons involved in this
                              investigation were also found within the cellular telephone which indicates association
                              between Patricia Foy, Anthony Thompson, Albert Banks, and others mentioned in this
                              investigation.    Some of the persons phone numbers found in the phone were; Jason
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                              Dixon, Richard Verkerke, Sammy Pleas, Delantis Hairston, Linnie Sanders, Jason
                              Roberts (which was the name used as the subscriber for the phone in the possession of
                              Anthony Thompson), Charles Foster, Gevonni Davis, Kenneth Wayne Bellamy, Akwete
                              Burd and Felix Jenkins.
                                     112.      The phone number (785) 492-0122 was indicated a total of257 times from
                              01\18\2013 to 02\20\2013.      This phone number was subpoenaed and found to be a
                              TracFone with no listed person as the subscriber.
                                     113.      The phone number (785) 375-3822 was indicated a total of 177 times from
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                              01/09/2013 to 02/20/2013. The subscriber information shows this phone registered to
                              Michael Asbury, B/M ~ ) t i ) ( Michael Asbury has the following criminal
                              history indicating arrests. 02/01/2005 Theft; possession of opiates, opium or narcotic
                              drugs; possession of simulated controlled substances or drug paraphernalia. 08/05/2005
                              Probation violation.
                                     114.      The phone number (610) 504-8826 was indicated a total of 213 times from
                              01 \12\2013 to 02\19\2013. This phone number was subpoenaed with Janice Rodriguez,
                              W/F M~~)@(XlSJ®<listed as the subscriber. No criminal history could be located for
                              Janice Rodriguez.

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                                                                                                                            443
                                       115.   The phone number (785) 307-2456 was indicated a total of 179 times from
                             01/19/2013 to 02/21/2013. The subscriber information shows this phone registered to
                             Akwete Burd, B/F DOB ~ ~ ) O ( This phone number was found in Patricia Foy's
                             phone when she was arrested on 12/29/2012 and listed as Who Johnny. Akwete Burd has
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                             the following criminal history indicating arrest. 07/20/1999 Transfer firearm without
                             background check to prohibited person.        08/01/1999 Theft-take/use/transfer movable
                             property without consent.      08/28/1999 Drugs - I st degree - sale - 50 kilos or more
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                             marijuana/25       kg     in    zone.          03/24/2011      Driving      while    license
                             cancelled/suspended/revoked.            05/11/011         Driving        while       license
                             cancelled/suspended/revoked.               08/07/2011        Driving       while     license
                             cancelled/suspended/revoked.               08/23/2011        Driving       while     license
                             cancelled/suspended/revoked.               09/24/2011        Driving       while     license
                             cancelled/suspended/revoked.      11/14/2011 Failure to appear.        02/03/2012 Failure to
                             appear.     02/08/2012 Probation violation.    On 04/18/2012, Akwete Burd facilitated a
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                            purchase of crack cocaine to a Riley County Police Department CI but was not charged in
                             the case for unknown reasons (RCPD case #12-017984). 06/13/2012 Failure to appear
                             X2; probation violation. 10/01/2012 Failure to appear X3.
                                       116.   The phone number (785) 307-2624 was indicated a total of 178 times from
                             01/08/2013 to 02/20/2013. The subscriber information shows this phone registered to
                             Carmean Ridley, B/F DOB ~ X 9 ( X No criminal history was located for this
                             subscriber. It is not known whether this person is using the phone or has obtained the
                             phone for use by someone else.
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                                       117.   The phone number (785) 375-7607 was indicated a total of 166 times from
                             01/08/2013 to 02/21/2013. The subscriber information shows this phone registered to
                            Audrey Nelson, B/F DOB ~~X~ Audrey Nelson has the following criminal history
                             indicating arrests.     12/09/1995 Forgery.         06/30/1996 Worthless checks; forgery.
                             02/22/1997 Possession of cocaine; possession of drug paraphernalia. 03/28/2001 Sale
                             etc. of opiates/opium or narcotic drugs; conspiracy to sale opiates/opium or narcotic
                            drugs.     04/16/2002 Delivery/manufacture simulated controlled substance. 04/17/2002
                             Possession of paraphernalia to grow, distribute marijuana; no drug tax: stamp; sale of
                             opiates, opium or narcotic mugs; possession of marijuana. 06/03/2003 Conspiracy to

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                                                                                                                         444
                          possession of opiates, opium or narcotic drugs; conspiracy to criminal possession of a
                          firearm;    conspiracy     to     possess   depressants/stimulants/hallucinogenics/steroids;
                          conspiracy to possess simulated controlled substances/drug paraphernalia. 12/30/2003
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                          Contempt of court, indirect.
                                  118.    The phone number (785) 477-8766 was indicated a total of 152 times from
                          01\07\2013 to 02\18\2013. This phone number was subpoenaed and found to be a
                          TracFone with no listed person as the subscriber.
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                                  119.    The phone number (239) 676-4132 was indicated a total of 108 times from
                          01\13\2013 to 01\20\2013. This phone number was subpoenaed with no information
                          available as to the subscriber.
                                  120.    The phone number (785) 761-7975 was indicated a total of202 times from
                          01/09/2013 to 02/21/2013. The subscriber information shows this phone registered to
                          Norma Mohammed, B/F DOB !~9,()@0{))4}{ No criminal history was located for this
                          subscriber. It is not known whether this person is using the phone or has obtained the
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                          phone for use by someone else.
                                 121.     The phone number (816) 527-7803 was indicated a total of 172 times from
                          O1/07/2013 to 02/20/2013. The subscriber information shows this phone registered to
                          Zachary Patmon, B/M DOB ~ X X                      The phone number (785) 226-2611 was
                          indicated a total of 36 times from 01\07\2013 to 02\15\2013. This number was also
                          associated with Zachary Patmon. Zachary Patmon has the following criminal history
                          indicating anests.    04/13/1969 Attempted robbery.        06/08/1969 Aggravated assault.
                          02/17/1971 AWOL UCMJ.             06/17/1977 Pimping. 02/08/1978 Aid and abet sale of
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                          cocaine.   04/11/1982 Carrying a concealed ,veapon.          05/08/1984 Criminal use of
                          weapons.       04/08/1990 2 counts sale of cocaine; 2 counts unlawful use of a
                          communication facility; no drug tax stamp.               09/20/1990 Unlawful use of a
                          communication facility.         09/12/1991 Obstructing legal process or official duty.
                          08/17/1991 Disorderly conduct.        11/12/1991 Failure to appear.     11/30/1991 Battery
                          against a law enforcement officer; obstructing legal process or official duty; disorderly
                          conduct.   01/09/1992 Failure to appear.       01/07/1993 Failure to appear.    01/08/1993
                          Failure to appear. 01/30/1993 Battery. 04/24/1993 Fail to comply with bond restrictions;
                          disorderly conduct. 04/29/1993 Battery against a law enforcement officer; obstructing

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                                                                                                                        445
                          legal process or official duty. 10/02/1994 Falsely reporting a crime. 10/02/1994 Failure
                          to appear.      05/17/1996 Possession of cocaine.      07/13/1996 Possession of cocaine;
                          possession of cocaine with the intent to sell; possession of marijuana. 09/12/2000 Parole
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                          violation.     12/19/2000 failure to appear.    04/12/2001 Failure to appear.   01/07/2002
                          Probation violation.     12/31/2002 Failure to appear.      01/30/2003 Failure to appear.
                          02/05/2003 Failure to appear. 01/07/2005 Probation violation. 01/30/2005 Failure to
                          appear on misdemeanor charge; possession of opiates, opium or narcotic drugs;
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                          possession of controlled substances or drug paraphernalia. 05/24/2012 Driving while
                          license cancelled/suspended/revoked; failure to appear.
                                 122.      The phone number (785) 307-6416 was indicated a total of 110 times from
                          01/13/2013 to 02/19/2013. The phone number (785) 579-6738 was indicated 5 times
                          from 01/19/2013 to 02/01/2013.         The subscriber information shows these phones
                          registered to Lisa Austin, W/F E~»)(l(})O)ijOXOO>.( Lisa Austin has the following criminal
                          history indicating arrests. 09/15/1987 Grand larceny. 08/15/1994 Possession of cocaine.
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                          01/26/1995 Criminal use of a financial card.         01/15/1996 Felony theft.   02/21/1996
                          Probation violation.     02/29/1996 Probation violation.     06/06/1996 Failure to appear;
                          probation violation. 09/29/1996 Probation violation. 03/13/1997 Probation violation.
                          05/22/1997         Failure     to     appear.             12/20/1997      Possession     of
                          depressant/stimulants/hallucinogenics/steroids. 02/05/1998 Contempt of court, indirect.
                          02/05/1998 Probation violation.       11/22/1999 Embezzlement.         09/28/2001 Probation
                          violation. 02/21/2002 Possession of opiates. Opium or narcotic drugs; possession of
                          controlled substances or drug paraphernalia. 11/01/2003 Failure to appear. 03/09/2006
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                          Sale etc. of opiates, opium or narcotic drugs' no drug tax stamp. 03/15/2006 Possession
                          of paraphernalia to grow, distribute marijuana; possession of opiates, opium or narcotic
                          drugs; possession of stimulants/hallucinogenics/steroids.       07/15/2006 Violation of a
                          protective order.      11/26/2006 Probation violation.      11/28/2006 Failure to appear.
                          04/04/2007 Probation violation. 04/05/2007 Failure to appear. 03/10/2008 Obstructing
                          legal process or official duty; transporting open container. 04/05/2007 Failure to appear.
                          08/27/2011 Public intoxication.
                                  123.     The phone number (785) 307-2000 was indicated a total of 158 times from
                          01/08/2013 to 02/20/2013. The subscriber information shows this phone registered to

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                                                                                                                         446
                          Kriste Lienberger, W/F DOB»~~- Kriste Lienberger has the following criminal
                          history indicating arrests.         03/08/1995 Battery.    10/24/1997 Forgery.    10/02/2003
                          Delivery manufacture drug paraphernalia other; possession of simulated controlled
                          substances or drug paraphernalia; attempted sale of opiates, opium or narcotic drugs.
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                          10/06/2006 Use or possess drug paraphernalia to introduce in human body. 06/01/2007
                          Failure to appear. 12/20/2007 Domestic battery against a family household member;
                          criminal damage to property. 05/15/2008 Probation violation. 05/15/2008 Failure to
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                          appear. 09/18/2008 Criminal threat. 10/08/2008 Probation yiolation. 01/15/2009 Failure
                          to appear. 02/15/2009 Failure to appear. 08/04/2009 Failure to appear. 09/08/2009
                          Failure to appear.
                                   124.   The phone number (785) 375-0822 was indicated a total of 116 times from
                          01/07/2013 to 02/20/2013. The subscriber information shows this phone registered to
                          Kelly Vargas, W/F DOB~~- Kelly Vargas has the following criminal history
                          indicating arrests.       09/05/2004 Driving under the influence of alcohol or drugs.
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                          07/11/2006 Obstructing legal process in misdemeanor case; disorderly conduct.
                          09/10/2006 Possession of depressant/stimulants/hallucinogenics/steroids.          09/21/2006
                          Sale of opiates, opium or narcotic drugs. 11/09/2006 Probation violation. 11/15/2006
                          Warrant arrest. 04/28/2012 Driving under the influence of alcohol or drugs.
                                   125.   The phone number (785) 375-6137 was indicated a total of 99 times from
                          01/09/2013 to 02/16/2013. The subscriber information shows this phone registered to
                          Johnny Dunlap but the JCPD confirmed the user of the phone to be Angela Dunlap, B/F
                          DOB ~ ) 0 ( Angela Dunlap has the following criminal history indicating arrests.
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                          06/07/2007      Driving     while     license   cancelled/suspended/revoked;   possession of
                          depressant/stimulants/hallucinogenics/steroids; possession of opiates, opium or narcotic
                          drugs.   According to JCPD, Angela Dunlap has been seen in the past and recently
                          frequenting known and suspected residences which are believed to be distributing illegal
                          narcotics.
                                   126.   The phone number (785) 579-5462 was indicated a total of 90 times from
                          01/07/2013 to 02/19/2013. The subscriber information shows this phone registered to
                          Jerry Ruble but the JCPD confirmed the user of the telephone to be Claudette Ruble, B/F
                          DOBX>XM~)t40( Claudette Ruble has no current criminal history indicating arrests.


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                                  127.    The phone number (785) 512-0882 was indicated a total of 61 times from
                          01/26/2013 to 02/02/2013. The subscriber information shows this phone registered to
                          Lynn Murphy. No monikers or criminal history were located for Lynn Murphy. The
                          JCPD was unaware of anyone by that name located at the address received from the
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                          subpoena request.     It is unknown if this subscriber information is correct or if this
                          particular person is actual.
                                  128.    The phone number (785) 238-3262 was indicated a total of 84 times from
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                          01/07/2013 to 02/20/2013. The subscriber information shows this phone registered to
                          Pamela Thompson, B/F DOBXl~M~ Pamela Thompson has the following criminal
                          history indicating arrests.     08/20/1999 Possession of controlled substances or drug
                          paraphernalia; possession of depressant/stimulants/hallucinogenics/steroids.
                                  129.    The phone number (785) 307-2209 was indicated a total of 108 times from
                          01/07/2013 to 02/20/2013. The phone number (785) 431-8707 was indicated a total of 64
                          times from 01/22/2013 to 02/20i2013. The subscriber information shows these phones
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                          registered to Ella Haymon, B/F DOB K«~M){;}(Xand Jose Garcia W/M DOB
                          ~t~~XX Ella Haymon was listed as a suspect in a 2006 JCPD case (06-20215)
                          involving Sale or distribution of drugs and drug possession.
                                  130.    The phone number (785) 438-0895 was indicated a total of 93 times from
                          01/11/2013 to 02/19/2013. The subscriber information shows this phone registered to
                          James Smith, W/M DOB~~~)(. James Smith has the following criminal history
                          indicating           arrests.                    06/02/1995        Possession          of
                          depressant/stimulants/hallucinogenics/steroids;    Possession   of simulated    controlled
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                          substances or drug paraphernalia; criminal use of weapons; fleeing or attempting to elude
                          a LEO; driving under the influence of alcohol or drugs.
                                  131.   The phone number (913) 548-9570 was indicated a total of 90 times from
                          01\11\2013 to 02\20\2013.       This phone number was subpoenaed and found to be a
                          Prepaid phone with no listed person as the subscriber.
                                  132.    The phone number (785) 717-9863 was indicated a total of 54 times from
                          01/08/2013 to 02/17/2013. The subscriber information shows this phone registered to
                          Mandi Ashmore, W/F DOB ~P9XJX)){~ No criminal history was located for Mandi



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                                                                                                                       448
                          Ashmore. It is unknown if this subscriber information is correct or if this particular
                          person is the actual person using the phone.
                                  1.      The phone number (816) 308-0145 was indicated a total of 52 times from
                          02\01\2013 to 02\13\2013. This phone number was subpoenaed but as of02/22/2013, the
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                          subscriber information had not been obtained.
                                 2.       The phone number (785) 210- 7607 was indicated a total of 49 times from
                          01/08/2013 to 02/21/2013. The subscriber information shows this phone registered to
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                          Anthony Smith, B/M DOB ~~~-                    Anthony Smith has the following criminal
                          history indicating arrests. 11/21/2007 Possession of paraphernalia to grow, distribute
                          marijuana; possession with the intent to sell, sale, etc. within 1000' of school property;
                          possession of depressants/stimulants/hallucinogenics/steroids; possession of opiates,
                          opium or narcotic drugs. 03/27/2008 Contempt of court, direct. 08/29/2008 Contempt of
                          court, direct
                                 3.       The phone number (785) 317-0406 was indicated a total of 57 times from
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                          01/08/2013 to 02/18/2013 and the phone number (785) 341-5161 was indicated 4 times
                          on 01/18/2013. The subscriber information shows these phones registered to Angel
                          Brown, W/F DOB )00)6XOO:l9(          Angel Brown has the following criminal history
                          indicating arrests. 11/19/2004 Disorderly conduct; criminal threat. 12/18/2008 Driving
                          under the influence of alcohol or drugs 3rd conviction. 11/28/2009 Driving under the
                          influence of alcohol or drugs; driving while license suspended; endangering a child <18
                          yoa. 05/19/2011 Probation violation.
                                 4.       The phone number (785) 210-9873 was indicated a total of 44 times from
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                          01/07/2013 to 02/13/2013. The subscriber information shows this phone registered to
                          Lamont Hill (believed to be Lemont Hill), B/M DOBXWO(~OXOO. Lemont Hill has the
                          following criminal history indicating arrests. 05/30/1987 2 counts sale of cocaine; 1
                          count delivery of cocaine. 06/03/1987 Sale of cocaine. 07/21/1987 Sale of cocaine;
                          conspiracy to sell cocaine. 04/01/1994 Parole violation. 09/05/1994 Battery; criminal
                          use of a weapon; aggravated weapons violation; possession of stolen property.
                          11/15/1994 Criminal threat. 03/04/2001 Criminal threat; domestic battery. 11/14/2004
                          Battery. 06/29/2005 Failure to appear on a misdemeanor. 09/22/2005 Failure to appear
                          on a misdemeanor. 12/13/2005 Forgery. 09/25/2006 Probation violation. 01/08/2008

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                                                                                                                      449
                          Probation violation. 02/06/2009 Probation violation. Lemont Hill was listed as a suspect
                          in a 2010 JCPD case (10-09428) involving the sale/distribution/cultivation of opiates.
                          opium, narcotic drugs or designated stimulants.
                                         The phone number (785) 307-0127 was indicated a total of 60 times from
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                                 5.
                          01 \10\2013 to 02\20\2013. 1bis phone number was subpoenaed and found to be a
                          TracFone with no listed person as the subscriber.
                                 6.      The phone number (954) 649-5125 was indicated a total of 88 times from
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                          01/08/2013 to 02/21/2013. The subscriber information shows this phone registered to
                          John Dichiarra but the investigation has shown the phone to be used by Gevonni Davis,
                          B/M DOB ~M~ This phone number was found in Patricia Foy's phone when she
                          was arrested on 12/29/2012 and listed as Javontae. Gevonni Davis has been indicated
                          earlier in this affidavit as to his involvement in distribution of crack cocaine with
                          Anthony Thompson, Martye Madkins III and CI #1. Gevonni Davis has the following
                          criminal history indicating arrests. 12/31/2000 Giving a worthless check. 03/12/2004
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                          Unlawful removal of theft detection device. 01/06/2012 Making false information; theft.
                          05/14/2012 Failure to appear.
                                 7.      The phone number (785) 317-3106 was indicated a total of 47 times from
                          01 \31 \2013 to 02\15\2013. This phone number was subpoenaed but as of 02/22/2013, the
                          subscriber information had not been obtained.
                                 8.      The phone number (785) 307-9731 was indicated a total of 64 times from
                          01/09/2013 to 02/19/2013. The subscriber information shows this phone registered to
                          Felix. It is believed the phone is being used by Felix Vinson, B/M DOB ~ l (
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                          according to the JCPD. 1bis phone number was found in Patricia Foy's phone when she
                          was arrested on 12/29/2012 and listed as Felix as well. Felix Vinson has the following
                          criminal history indicating arrests for. 09/30/1995 Driving while license suspended or
                          revoked; willful obstruction of law enforcement officers. 05/30/2002 Breaking and/or
                          entering (felony) with force; larceny after break/enter $200.00 and up.      08/26/2002
                          Larceny misdemeanor $50.00 - $199.00.           01/03/2003 Unauthorized use of a motor
                          vehicle; possession of drug paraphernalia; carrying a concealed weapon - other; driving
                          while license revoked.          09/19/2003   Unauthorized use of a motor vehicle;
                          fugitive/extradition other state. 09/07/2004 Extradition/fugitive other state. 11/21/1989

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                          Felony theft; conspuacy to commit theft - felony.                05/21/1990 Warrant an-est.
                          07/21/1991 Probation violation.      09/26/1991 Burglary unknown structure; theft value
                          unknov.'11. 03/30/1992 Attempted burglary unknown structure. 12/15/1992 Contempt of
                          court indirect. 04/04/1993 Driving under influence of alcohol or drugs; transporting an
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                          open container. 05/28/1993 Contempt of COUli indirect. 07/16/1993 Prison inmate under
                          control of Kansas DOC; theft; attempted burglary unknown structure.              04/24/1994
                          Sale/etc., opiates, opium or narcotic drugs.        11/25/1994 Driving under influence of
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                          alcohol or drugs.         03/05/1995 Failure to appear.          03/05/1995 Possession of
                          depressant/stimulants/hallucinogenics/steroids; Possession of opiates, opium or narcotic
                          drugs; Possession of simulated controlled substances or drug paraphernalia. 03/16/1995
                          Possession of depressant/stimulants/hallucinogenics/steroids; Possession of opiates,
                          opium or narcotic drugs.       10/26/1995 Failure to appear.      05/27/1996 Driving while
                          license         cancelled/suspended/revoked.            08/17/1996        Possession     of
                          depressant/stimulants/hallucinogenics/steroids;     Possession    of simulated    controlled
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                          substances or drug paraphernalia. 09/16/1996 Probation violation. 01/29/1997 Failure to
                          appear.        07/07/2003 Possession of paraphernalia to grow, distribute mar1Juana;
                          Possession of depressants/stimulants/hallucinogenics/anabolic steroids.          12/08/2003
                          Aggravated failure to appear. 12/15/2003 Failure to appear. 12/23/2003 Possession of
                          stolen property value over $500.00. 03/08/2004 Obstructing legal process or official
                          duty.      02/17/2004 Failure to appear.        03/08/2004 Obstructing legal process in
                          misdemeanor case; theft. 10/14/2004 Theft value $25,000.00 to <$100,000.00; probation
                          violation; failure to appear. 11/18/2004 Probation violation. 12/22/2004 Prison inmate
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                          under control of Kansas DOC Possession of paraphernalia to grow, distribute marijuana.
                          11/15/2007 Operating a motor vehicle without valid license; Possession of opiates, opium
                          or narcotic drugs.       04/27/2008 Contempt of court indirect.         05/19/2009 Forgery;
                          attempted theft; criminal use of weapons. 09/16/2009 Aggravated assault; possession of
                          simulated controlled substances or drug paraphernalia. 04/15/2010 Probation violation.
                          04/29/2010 Probation violation. 12/18/2010 Probation violation. 03/22/2012 Failure to
                          appear. 11/06/2012 Obstructing legal process in misdemeanor case; criminal trespass.
                                    9.      The phone number (785) 375-6921 was indicated a total of 40 tin1es from
                          01/08/2013 to 02/18/2013. The subscriber infonnation shows this phone registered to

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                                                                                                                        451
                          Sheilaa Scott, B/F DOB »~l©6X. Sheilaa Scott has the following criminal history
                          indicating arrests.        01/07/1989 Aggravated assault on law enforcement officer.
                          10/08/1994 Worthless checks.        04/10/1995 Four (4) counts forgery.       10/30//1997
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                          Criminal threat; violation of conditions of bond. 03/03/1998 Theft by deception; making
                          false writing. 08/1711998 Obstrnction. 02/11/1999 Possession of controlled substance.
                          08/26/1999 Worthless check and Failure to appear.        12/15/2000 Probation violation.
                          01/23/2001 Theft and forgery.        08/18/2001 Theft and three (3) counts of forgery.
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                          12/03/2001 Probation violation. 04/07/2003 Probation violation. 07/03/2004 Violation of
                          a protective order; criminal damage to property. 08/21/2004 Violation of a protective
                          order; intimidation of a victim or witness; criminal damage to property.        08/31/2004
                          Forgery; theft.       05/13/2005 Probation violation.   10/01/2005 Probation violation.
                          05/19/2006 Harassment by telephone and Terroristic threat.          06/22/2006 Probation
                          violation. 08/04/2007 Criminal threat; violation of a protective order; harassment by
                          telephone. 08/30/2007 Violation of a protective order. 10/01/2011 Aggravated battery.
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                                 10.     The phone number (614) 753-8572 was indicated 38 times from
                          02/19/2013 to 02/20/2013.       The phone number was subpoenaed with no subscriber
                          information available indicating the subscriber did not have to provide any identification
                          to activate the phone.
                                  11.       The phone number (785) 762-4708 was indicated a total of 31 times from
                          O1/07/2013 to 02/20/2013. The phone number is believed to be associated with Adrian
                          Miller, B/M DOB          1Xl)04~~     Adrian Miller has the following criminal history
                          indicating arrests. 11/12/2005 Sale or possession with the intent to sell hallucinogen; use
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                          or possess drug paraphernalia to introduce into the human body; no drug tax stamp for
                          marijuana or controlled substance. 03/10/2006 obstructing legal process in misdemeanor
                          case; resist airest.      08/14/2010 Criminal trespass; obstructing legal process in
                          misdemeanor case. 05/08/2011 Domestic battery; criminal damage to property.
                                 12.     The phone number (785) 209-4664 was indicated a total of 48 times from
                          01/09/2013 to 02/20/2013. The subscriber information shows this phone registered to
                          D'ana Eskridge, B/F DOB ~~ D'ana Eskridge has no criminal history and it is
                          believed someone else is using the telephone which is subscribed in her name.



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                                                                                                                          452
                                    13.       The phone number (785) 317-2298 was indicated a total of 29 times from
                          01/17/2013 to 02/12/2013. The subscriber information shows this phone registered to
                          Craig Tolliver, B/Ml.l08(W~.>'4,XX Craig Tolliver has the following criminal history
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                          indicating arrests.        12/21/1991 Mob Action.    04/06/1992 Possession of controlled
                          substances.        12/28/1992 Possession of cannabis.     12/26/2007 Driving while license
                          cancelled/suspended/revoked.                04/05/2008       Driving       while      license
                          cancelled/suspended/revoked.         05/02/2011 Failure to appear.     07/16/2011 Domestic
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                          battery. 08/01/2012 Domestic Battery. 09/16/2012 Probation violation.
                                    14.       The phone number (785) 226-6474 was indicated a total of 34 times from
                          01/10/2013 to 02/20/2013. The subscriber information shows this phone registered to
                          Casey Francis, B/F DOB X ~ ~ - Casey Francis has the following criminal history
                          indicating arrests.       09/12/2000 Possession of simulated controlled substances or drug
                          paraphernalia; possession of depressant/stimulants/hallucinogencis/steroids; possession
                          of opiates, opium or narcotic drugs. 05/26/2002 Domestic battery. 08/09/2002 Failure to
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                          appear.    04/03/2003 Criminal threat; aggravated battery. 08/08/2003 Criminal threat;
                          criminal damage to property <$500,00; Theft; aggravated battery; Burglary. 06/13/2005
                          Driving under influence of alcohol or drugs; transporting an open container. 07/30/2005
                          Driving while license cancelled/suspended/revoked. 08/26/2005 Driving while license
                          cancelled/suspended/revoked.         11/08/2005 Failure to appear.     12/03/2005 Failure to
                          appear.     12/10/2005 Probation violation.     01/10/2006 Failure to appear.      01/19/2006
                          Driving while habitual violator. 01/25/2007 Possession of opiates, opium or narcotic
                          drugs; possession of controlled substances or drug paraphernalia; Possession of
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                          depressant/stimulants/hallucinogenics/steroids.           03/10/2007     Theft     <$1000.00.
                          12/09/2007 Theft; burglary; criminal damage to propeliy. 02/02/2008 Battery against a
                          law enforcement officer; Obstructing legal process or official duty; Disorderly conduct.
                          03/20/2008 Driving while license cancelled/suspended/revoked.            08/14/2009 Driving
                          while           license    cancelled/suspended/revoked.          08/26/2012        Possession
                          opiates/opium/narcotic drug and certain stimulants; Driving while habitual violator.
                                    15.       The phone number (573) 842-8756 was indicated 34 times from
                          01/07/2013 to 02/16/2013. This phone number was subpoenaed but as of 02/22/2013, the
                          subscriber information had not been obtained.

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                                                                                                                       453
                                  16.    The phone number (785) 223-3236 was indicated 31 times from
                          01/09/2013 to 01/18/2013. The phone number was subpoenaed and listed as a TracFone
                          with no subscriber information available indicating the subscriber did not have to provide
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                          any identification to activate the phone.
                                  17.    The phone number (785) 210-9767 was indicated 31 times from
                          01/10/2013 to 01/29/2013. The phone number was subpoenaed and listed as a TracFone
                          with no subscriber information available indicating the subscriber did not have to provide
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                          any identification to activate the phone.
                                  18.    The phone number (785) 307-8787 was indicated a total of 47 times from
                          01/16/2013 to 02/21/2013. The subscriber information shows this phone registered to
                          Charles Sarvis B/M DOB l.W'.:Xt){~X Charles Sarvis has the following criminal history
                          indicating arrests.     03/20/1974 Criminal possession of a controlled substance.
                          05/01/1977 Assault 3rd degree. 09/01/1978 False statement on bank credit applications;
                          Fraud bank loans.
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                                  19.    The phone number (785) 375-3247 was indicated a total of 22 times from
                          01/12/2013 to 01/30/2013. The subscriber information shows this phone registered to
                          Shenna Bronson, B/F DOB lO<O©<OOX~ Shenna Bronson was arrested on 11/30/2012 for
                          Domestic battery. No other criminal history was located for Shenna Bronson.
                                 20.     The phone number (785) 307-4471 was indicated 22 times from
                          01/12/2013 to 01/19/2013. This phone number was subpoenaed but as of 02/22/2013, the
                          subscriber information had not been obtained.
                                 21.     The phone number (785) 320-1331 was indicated 21 times from
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                          01/18/2013 to 02/10/2013. The phone number was subpoenaed and listed as a TracFone
                          with no subscriber information available indicating the subscriber did not have to provide
                          any identification to activate the phone.
                                 22.     The phone number (785) 226-3233 was indicated 20 times from
                          01/12/2013 to 02/18/2013. The phone number was subpoenaed and listed as a T-Mobile
                          prepaid phone with no subscriber information available indicating the subscriber did not
                          have to provide any identification to activate the phone.
                                 23.     The phone number (785) 201-6457 was indicated 19 times from
                          01/19/2013 to 02/20/2013. The subscriber information shows this phone registered to


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                                                                                                                         454
                          Willie Pleas B/M DOB 00(:~1( Willie Pleas has not been fully identified thus far in
                          this investigation therefore no criminal history is available. It's also not known if Willie
                          Pleas is the actual user of the phone or ifhe has provided it to someone else for their use.
                                   24.    The phone number (785) 307-8346 was indicated a total of 26 times from
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                          01/07/2013 to 02/08/2013. The subscriber information shows this phone registered to
                          Charles with no last name provided. Charles is believed to be Charles Foster according
                          to JCPD records. This phone number was found in Patricia Foy's phone when she was
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                          arrested on 12/29/2012 and listed as Charles as well.     Charles Foster has the following
                          criminal history indicating arrests. 06/15/1991 Possession of opiate, opium or narcotic
                          drugs.    09/11/1992 Sale etc. opiates, opium or narcotic drugs.       01/20/1995 Sale etc.
                          opiates, opium or narcotic drugs; no drug tax stamp. 04/19/2001 possession of simulated
                          controlled substances or drug paraphernalia; possession of paraphernalia to grow,
                          distribute marijuana. 03/04/2003 Possession of simulated controlled substances or drug
                          paraphernalia; possession of opiates, opium or narcotic drugs; possession of
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                          depressant/stimulants/hallucinogenics/steroids.    12/18/2008 Conspiracy to possess with
                          the intent to sell, sale, etc. within 1000' of a school; attempt to anange sale/purchase
                          using communication facility for drug; no drug tax stamp for marijuana or controlled
                          substance. On 08/31/2012, CI #1 made a purchase of crack cocaine from Charles Foster
                          and Anthony Thompson.
                                   25.    The phone number (785) 307-3214 was indicated 26 times from
                          01/25/2013 to 02/02/2013. The phone number was subpoenaed and listed as a TracFone
                          with no subscriber information available indicating the subscriber did not have to provide
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                          any identification to activate the phone.
                                   26.    The phone number (785) 375-3222 was indicated a total of204 times from
                          01/08/2013 to 02/20/2013. The subscriber infonnation shows this phone registered to
                          Nance with no last name provided. According to the JCPD this phone is used by Jason
                          Dixon. This phone number was found in Patricia Foy's phone when she was anested on
                          12/29/2012 and listed as Nance as well. On 09/27/2012, CI #1 had cellular telephone
                          contact with Jason Dixon B/M DOB ()3((,)(l)(OO;&~using telephone number (785) 375-3222
                          at which time, Jason Dixon sold Cl #1 crack cocaine. Jason Dixon has the following
                          criminal history indicating arrests. 10/14/1999 Aggravated battery; rape. 03/14/2000

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                                                                                                                        455
                          Attempt to commit aggravated criminal threat causing loss >$500.00<$25,000.00.
                          07/24/2000 Criminal threat. 04/30/2002 Probation violation.          08/01/2002 Failure to
                          appear.         10/07/2002 Failure to appear.         3/28/2003 Battery; possession of
                                                                                                             battery.
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                          depressant/stimulants/hallucinogenics/steroids.         03/06/2004    Domestic
                          04/14/2004 Failure to appear on a misdemeanor.             05/13/2004 Failure to appear.
                          12/27/2004 failure to appear on a misdemeanor.             03/05/2005 Domestic battery.
                          03/25/2005 failure to appear. 05/02/2005 Domestic battery. 05/24/2005 Aggravated
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                          battery. 07/26/2005 Violation of a protective order. 10/13/2005 Probation violation.
                          11/07/2005 Violation of a protective order. 11/14/2005 Probation violation. 05/25/2006
                          Failure to appear on a misdemeanor; probation violation.             09/07/2006 Probation
                          violation. 09/29/2006 Disorderly conduct. 05/31/2008 Failure to appear X2; aggravated
                          failure to appear; probation violation. 08/16/2011 Failure to appear. 02/17/2012 Failure
                          to appear.
                                    27.     The phone number (785) 307-8995 was indicated a total of 81 times from
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                          02/01/2013 to 02/02/2013. The subscriber information shows no name associated with
                          this phone but as of 12/06/2012, the JCPD has this phone associated with and used by
                          Felicia Austin WIF »~~-               Felicia Austin has the following criminal history
                          indicating arrests. 09/06/2001 Battery. 10/03/2007 Disorderly conduct. 03/02/2009
                          Theft of services misdemeanor. 03/02/2009 Battery; disorderly conduct. 03/07/2009
                          Theft of services $1000.00 to <$25000.00.          06/10/2010 Obstruction or impeding of
                          lawful activities. 01/02/2012 Failure to appear.
                                    28.     The phone number (785) 317-0425 was indicated a total of 69 times from
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                          01\08\2013 to 02\14\2013. The subscriber information shows this phone registered to
                          Jalisa Carson B/F DOB~~~ however it is believed Kathy Carson B/F DOB
                          06/03/1954 (the mother of Jalisa Carson) may be using this telephone. Kathy Carson has
                          the following criminal history indicating arrests. 04/16/1996 Possession of cocaine with
                          the intent to sell; possession of drug paraphernalia; obstruction of official duty;
                          possession of marijuana.
                                    29.     The phone number (785) 226-7159 was indicated a total of 54 times from
                          01/18/2013 to 02/20/2013. The subscriber information shows this phone registered to
                          Susan Wilson W/F DOB }<!)()®(~K According to the JCPD this phone is used by

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                                                                                                                        456
                          Richard Verkerke W/M DOB 07/06/1971. This phone number was found in Patricia
                          Foy's phone when she was arrested on 12/29/2012 and listed as Rich as well. Richard
                          Verkerke has the following criminal history indicating arrests.       06/23/2005 Assault.
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                          06/07/2006 Failure to appear. 12/23/2008 Driving while a habitual violator; transporting
                          an open container. 01/14/2009 Drive a commercial vehicle while driving privileges are
                          suspended. 06/21/2009 Driving while a habitual violator; driving under the influence of
                          alcohol or drugs; transporting an open container. 01/07/2010 Falsely reporting a crime.
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                          07/03/2012 Assault of a law enforcement officer; possession of controlled substances or
                          drug paraphernalia.
                                 30.     The phone number (785) 210•4812 was indicated a total of 40 times from
                          01/08/2013 to 02/18/2013. The subscriber information shows no name associated as the
                          subscriber. According to the JCPD this phone is used by Barbara Jones Smith B/F DOB
                          ~~X           Barbara Jones Smith has the following criminal history indicating arrests.
                          04/10/1998 Possession cocaine; possession drug paraphernalia; criminal use of a weapon;
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                          aggravated assault. 03/28/1999 Worthless check; failure to appear. 01/23/2001 2 counts
                          of probation violation. 09/08/2004 Aggravated battery. 11/19/2004 Driving under the
                          influence    of     alcohol    or   drugs.          06/29/2005   Driving   while    license
                          cancelled/suspended/revoked; attempt to flee or attempt to elude LEO; obstruction legal
                          process or official duty, resist arrest.     10/22/2006 Battery against a law enforcement
                          officer; disorderly conduct X2. 06/01/2007 Driving under the influence of alcohol or
                          drugs. 08/13/2007 Following another vehicle too closely; driving under the influence of
                          alcohol or drugs. 01/22/2008 driving under the influence of alcohol or drugs; driving
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                          while license cancelled/suspended/revoked. 08/04/2009 Failure to appear. 11/01/2010
                          Sale etc. of opiates, opium or narcotic drugs X2. 05/12/2011 Probation violation.
                                 31.     The phone number (785) 492-0965 was indicated a total of 43 times from
                          01/11/2013 to 02/20/2013. The subscriber information shows this phone registered to R
                          Rusty. This phone number was found in Patricia Foy's phone when she was arrested on
                          12/29/2012 and listed as R Rusty as well. The JCPD is unaware of any persons using the
                          name R Rusty at this time.
                                 32.        The phone number (785) 375-0314 was indicated a total of 22 times from
                          01/09/2013 to 02/07/2013. The subscriber information shows this phone registered to

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                                                                                                                        457
                          Kimberly Reese B/F DOB OO)QQXOOK9( No criminal history was found for Kimberly
                          Reese.
                                    33.     The phone number (785) 307-5231 was indicated 22 times from
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                          01/28/2013 to 02/05/2013. This phone number was subpoenaed but as of 02/22/2013, the
                          subscriber information had not been obtained.
                                    34.     The phone number (785) 776-6876 was indicated a total of 29 times from
                          01/08/2013 to 02/12/2013. The subscriber information shows this phone registered to
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                          Jack Lindley W/M DOB ~ Jack Lindley has the following criminal history
                          indicating arrest.    04/10/2006 Possession of simulated controlled substances or drug
                          paraphernalia; opiates, opium or narcotic drugs unlawful acts. 04/17/2006 Probation
                          violation. 07/10/2006 Aggravated intimidation of a witness or victim; solicitation to
                          corruptly influence a witness. 09/25/2006 Attempted perjury, false statement in a felony
                          trial; possession of opiates, opium or narcotic drugs; attempted aggravated intimidation of
                          a witness or victim; criminal threat. 03/27/2012 Failure to appear.
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                                    35.     The phone number (785) 226-1283 was indicated a total number of 37
                          times from 01/08/2013 to 01/30/2013. The subscriber information shows this phone
                          registered to Wig. This phone number was found in Patricia Foy's phone when she was
                          arrested on 12/29/2012 and listed as Wig as well. According to the JCPD, this person is
                          also known as Linnie Sanders B/M DOB ~~W,IX Linnie Sanders has the following
                          criminal history indicating arrests. 04/28/2001 Possession of marijuana <= 5 pounds >4
                          ounces.         10/19/2001    Escape     from    custody.    08/01/2004   Possession    of
                          depressant/stimulants/hallucinogenics/steroids. 01/10/2006 Battery; Criminal damage to
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                          property. 01/31/2006 Battery; Criminal damage to property. 03/09/2006 Sale etc. of
                          opiates, opium or narcotic drugs.
                                    36.     The phone number (785) 492-0098 was indicated a total of 19 times from
                          01/07/2013 to 01/18/2013. The subscriber information shows this phone registered to
                          prepaid customer with no actual name associated as subscriber. According to the JCPD
                          this phone is used by Joyce Burroughs WIF DOB R8000e6ll. Joyce Burroughs has the
                          following       criminal   history   indicating . arrests.   05/04/2000   Trafficking   m
                          methamphetamine; possession of marijuana; drug paraphernalia buy/possess. 11/08/2000
                          Burglary.       10/03/2001 Trafficking in methamphetamine; possession of controlled

                                                                          52
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                                                                                                                            458
                          substance. 01/09/2002 Trafficking controlled substance methamphetarnine; possession of
                          controlled substance.
                                   37.     The phone number (785) 379~1543 was indicated a total of 18 times from
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                          01/07/2013 to 01/09/2013. The subscriber information shows this phone registered to
                          Sylvester Jackson B/M DOB l(~)GOOOlt Sylvester Jackson has the following criminal
                          history indicating arrests. 04/05/1995 Aggravated assault; battery; criminal possession of
                          a firearm; burglary; criminal damage to property; theft. 08/30/1995 Aggravated assault;
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                          battery; criminal possession of a firearm.            03/05/1996 Aggravated intimidation of a
                          witness or victim.       03/06/1996 Aggravated intimidation of a witness or victim.
                          04/02/1996 Probation violation. 04/24/1996 Criminal damage to property. 07/11/1996
                          Stalking; criminal damage to property.           07/15/1996 Criminal damage to property.
                          07/06/1998 Disorderly conduct; criminal damage to property.               09/01/1998 Battery.
                          06/05/1999       Obstructing   legal   process        in misdemeanor    case;   Possession   of
                          depressant/stimulants/hallucinogenics/steroids; Possession of opiates, opium or narcotic
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                          drugs.    05/12/2000 Possession of opiates, opium or narcotic drugs.               04/04/2002
                          Obstructing legal process in misdemeanor case. 10/04/2005 Obstructing legal process or
                          official duty. 06/26/2006 Possession of depressants/stimulants/hallucinogenics/anabolic
                          steroids; Possession of simulated controlled substances or drug paraphernalia.
                          07/09/2006 Domestic battery; criminal threat. 01/08/2007 Aggravated failure to appear.
                          10/07/2007 Failure to appear. 07/14/2008 Disorderly conduct. 09/07/2008 Possession of
                          marijuana <2 OZ. 11/22/2008 Failure to appear.
                                   38.     The phone number (785) 209-8842 was indicated a total of 16 times from
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                          01/10/2013 to 01/25/2013. The subscriber information shows this phone registered to
                          John Brown B/M DOB o@<OOXOOXO< John Brown has the following criminal history
                          indicating arrests for. 09/06/1999 required obedience to lawful order of police officer or
                          fireman. 05/07/2003 Domestic battery. 01/22/2004 Probation violation. 02/20/2004
                          Failure to appear.      05/14/2004 Possession of simulated controlled substance or drug
                          paraphernalia.     12/16/2004 Weapon offense - prohibited person possession firearm.
                          05/10/2005 Possession of depressant/stimulants/hallucinogenics/steroids.            10/19/2005
                          Possession of a firearm by a prohibited person.             02/17/2008 Failme to appear X2.



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                                                                                                                      459
                          05/06/2009 Failure to appear.     06/09/2010 Failure to appear.   03/08/2011 Failure to
                          appear.
                                    39.    The phone number (785) 236-9728 was indicated a total of 17 times from
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                          01/21/2013 to 02/18/2013. The subscriber information shows this phone registered to
                          Jeny J Mart. According to the JCPD this phone is used by Michael Warren B/M DOB
                          Jl50!!X~-        Michael Warren has the following criminal history indicating arrests.
                          06/17/1994 Aggravated burglary. 02/05/2000 Obstructing legal process in felony case;
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                          criminal possession of paraphernalia. 05/05/2000 Possession of paraphernalia to plant,
                          harvest marihuana plants. 07/28/2003 Failure to appear.
                                    40.    The phone number (785) 375-7937 was indicated a total of 42 times from
                          01/11/2013 to 02/20/2013. The subscriber information shows this phone registered to
                          Dana Pleas but it is believed the user to be Sammy Pleas B/M DOB ~~~~ This
                          phone number was found in Patricia Foy's phone when she was arrested on 12/29/2012
                          and listed as Sammy as well. Sammy Pleas has the following criminal history indicating
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                          arrests. 09/05/1979 Disorderly conduct. 02/14/1980 Battery; prostitution. 10/03/1989
                          Criminal damage to property; disorderly conduct; terroristic threat. 08/06/1990 Battery.
                          12/05/1990 Probation violation. 04/26/1991 Fail to comply with terms of probation;
                          terroristic threat; aggravated assault. 11/27/1992 Criminal trespass. 03/24/1993 Battery;
                          disorderly conduct.      06/26/1993 Disorderly conduct; criminal damage to property.
                          09/30/1993 Criminal threat.       08/16/1994 Failure to appear.      11/27/1994 Public
                          intoxication. 01/12/1995 Failure to appear. 02/07/1995 Failure to appear. 04/07/1995
                          Failure to appear.      04/17/1995 Failure to appear.     11/30/1995 Failure to appear.
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                          01/31/1996 Probation violation. 06/17/1996 Failure to appear. 07/18/1996 Probation
                          violation.      10/24/1996 Failure to appear.    02/15/1998 Theft.    03/25/1998 Theft.
                          07/01/1998 Failure to appear.     07/18/1998 Rape; aggravated battery; criminal threat.
                          09/19/1998 Theft; criminal use of weapons.              10/02/1998 Aggravated robbery.
                          11/02/1998 Probation violation. 03/13/2001 Aggravated criminal threat causing loss of
                          >$25,000.00; domestic battery. 03/23/2001 Burglary; theft; criminal damage to property.
                          06/29/2001 Battery; disorderly conduct. 02/11/2004 Probation violation.       11/17/2004
                          Disorderly conduct.



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                                                                                                                                460
                                   41.      The phone number (785) 307-8447 was indicated a total of 15 times from
                          01/07/2013 to 02/15/2013. The phone number (785) 307-5992 was indicated 1 time on
                          01/18/2013. The subscriber information shows both these phones registered to Dorian
                          Bivins (AKA Dwight Bivins) B/M DOB ~~~X Dwight Bivins has the following
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                          criminal histo1y indicating arrests. 01/04/2001 Probation violation; obstructing legal
                          process in felony case. 04/01/2002 Failure to appear. 08/28/2003 Failure to appear.
                          04/13/2004 Possession of opiates, opium or narcotic drugs; possession with the intent to
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                          sell,    sale   etc.    within      1000'   of     school   property;   knowingly     intentionally
                          receiving/acquiring proceeds from uniform controlled substances; no drug tax stamp for
                          marijuana       or     controlled     substance.         04/07/2005     Driving    while   license
                          cancelled/suspended/revoked.          12/15/2005 Probation violation.      03/14/2006 Probation
                          violation. 08/25/2006 Probation violation. 10/02/2006 Sale etc. of opiates, opium or
                          narcotic drugs.
                                   42.      The phone number (785) 580-3843 was indicated a total of 15 times from
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                          01/08/2013 to 02/15/2013. The phone number (785) 477-8961 was indicated 6 times
                          from 01/08/2013 to 02/07/2013. The subscriber infonnation shows both these phones
                          registered to Alvarez Crnz. According to the JCPD, (785) 477-8961 is being used by
                          Michael Harris B/M DOB ~~X as Monica Walker has been calling this number
                          while incarcerated in the Geary County Jail and Michaels Harris has been answering the
                          telephone. Michael Harris was reportedly with Monica Walker on a day when she was
                          arrested for possession of cocaine. Michael Haffis has the following criminal history
                          indicating arrests. 02/11/1977 Burglary. 05/18/1977 Burglary and stealing. 08/22/1977
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                          Burglary; stealing. 10/11/1977 Forgery. 02/03/1978 Burglary; stealing. 04/23/1982
                          Theft.     06/02/1982 Failure to appear.            07/01/1982 DUI; disorderly conduct; open
                          container.      10/19/1983 Possession of controlled substance.             07/16/1984 Obtaining
                          prescription drugs for re-sale. 08/08/1984 Obtaining prescription drugs by fraudulent
                          means for resale.         10/09/1984 Obtaining prescription drugs by fraudulent means.
                          05/20/1985 Burglary.             07 /1711985 Burglary.         09/16/1985 Probation violation.
                          09/06/1988 Obtaining prescription drugs by fraudulent means.                      01/23/1992 DUI.
                          09/22/1994 Employment sec fraud. 11/11/2012 Driving Wlder the influence of alcohol or



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                                                                                                                    461
                          drugs. 11/23/2012 Driving under the influence of alcohol or drugs; transporting an open
                          container.
                                   43.   The phone number (856) 650-7734 was indicated 14 times from
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                          02/01/2013 to 02/02/2013. The subscriber information shows this phone registered to
                          Arthur Williams, BM DOB ~ X l < Arthur Williams has the following criminal
                          history indicating arrest. 04/06/2006 Possession of marijuana/hash.
                                   44.   The phone number (785) 789-2019 was indicated 14 times from
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                          02/19/2013 to 02/20/2019. This phone number was subpoenaed but as of02/22/2013, the
                          subscriber information had not been obtained.
                                   45.   The phone number (785) 512-0333 was indicated 14 times from
                          02/15/2013 to 02/20/2013. This phone number was subpoenaed but as of 02/22/2013, the
                          subscriber information had not been obtained.
                                   46.   The phone number (317) 348-9959 was indicated 14 times from
                          01/22/2013 to 01/31/2013. This phone number was subpoenaed but as of02/22/2013, the
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                          subscriber information had not been obtained.
                                   47.   The phone number (785) 307-2923 was indicated 14 times from
                          02/12/2013 to 02/18/2013. This phone number was subpoenaed but as of 02/22/2013, the
                          subscriber information had not been obtained.
                                   48.   The phone number (316) 264-3031 was indicated 13 times from
                          01/10/2013 to 01/20/2013. The subscriber information shows this phone registered to
                          Rujeana Davis, B/F DOB ~~ Rujeana Davis has the following criminal history
                          indicating arrest. 09/04/1973 Theft. 10/02/1994 Failure to appear. 06/05/2008 Burglary;
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                          theft.
                                   49.   The phone number (785) 762-2370 was indicated a total of 16 times from
                          01/10/2013 to 02/18/2013. The phone number (785) 375-1838 was indicated 14 times
                          from 01/14/2013 to 02/13/2013. The subscriber information shows both these phones
                          registered to Charles B/M DOB n ~ i : and Olivia Humphreys (AKA Big 0) B/F
                          DOB 09/10/1955.      Charles Humphreys has the following criminal history indicating
                          arrest. 02/18/1972 Criminal use of weapons, carrying firearm concealed on one's person.
                          Olivia Humphreys has the following criminal history indicating arrest.      11/03/1985



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                          Driving under the influence of alcohol or drugs.          06/29/1990 liquor consumption in
                          public places prohibited.
                                 50.     The phone number (619) 213-9143 was indicated a total of 10 times from
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                          01/18/2013 to 01/19/2013. The subscriber information shows this phone registered to
                          Sonia. According to the JCPD this phone is used by Delantis Hairston B/M DOB
                          ~~:kwho has an AKA of Toast. This phone number was found in Patricia Fey's
                          phone when she was arrested on 12/29/2012 and listed as Toast as well.             Delantis
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                          Hairston has the following criminal history indicating arrest. 02/26/20 IO Possession of
                          simulated    controlled     substances   or        drug    paraphernalia;   Possession   of
                          depressant/stimulants/hallucinogenics/steroids. 03/18/2011 Possession of hallucinogenic.
                          12/09/2011 Sale depressants, stimulants or hallucinogenic drugs within 1000' of a school.
                          01/17/2013 Probation violation. 02/13/2013 Failure to appear
                                 51.     The phone number (316) 617-9894 was indicated a total of 10 times from
                          01/26/2013 to 02/09/2013. The subscriber information shows this phone registered to
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                          Wayne. According to the JCPD this phone is used by Kenneth Wayne Bellamy Jr. B/M
                          DOB»~. This phone number was found in Patricia Fay's phone when she was
                          arrested on 12/29/2012 and listed as Wayne as well. Kenneth Wayne Bellamy Jr. has the
                          following criminal history indicating arrest. 06/21/1989 Burglary; theft. 04/03/2012
                          Conspiracy to robbery; driving under influence of alcohol or drugs. 05/03/2012 Failure
                          to appear.
                                 52.     The phone number (785) 375-0596 was indicated a total of 10 times from
                          01/16/2013 to 02/01/2013. The subscriber information shows this phone registered to
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                          Peggy Wearren B/F ~E)4)U()ffl~. Peggy Wearren has the following criminal history
                          indicating arrest. 02/15/1995 Possession of cocaine; possession of drug paraphernalia.
                          03/12/1995 Battery; battery against law enforcement officer. 08/30/1995 Pedestrians
                          under influence of alcohol or drugs.     08/23/1998 Disorderly Conduct.          02/03/2004
                          Possession of simulated controlled substances or drug paraphernalia; possession of
                          opiates, opium or narcotic drugs.        04/13/2005 Probation violation.         02/11/2008
                          Deliver/manufacture of simulated controlled substances or drug paraphernalia'
                          possession of opiates, opium or narcotic drugs.            04/17/2008 Contempt of court.
                          04/19/2008 Battery against City/County correction employee. 05/27/2008 Contempt of

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                                                                                                                          463
                          court. 07/18/2008 Contempt of court.          12/23/2009 Probation violation. 05/30/2012
                          Criminal threat; assault; obstructing legal process or official duty.
                                     53.      The phone number (785) 579-5546 was indicated a total of 15 times from
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                          01/07/2013 to 02/19/2013. The subscriber information shows this phone registered to
                          Oretha Robinson B/F DOB ~ ~ l ( Oretha Robinson has the following criminal
                          history indicating arrest.      03/07/1978 Possession of heroin.        09/12/1992 Aggravated
                          battery.     09/23/2004 Driving under the influence of alcohol or drugs; driving while
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                          license cancelled /suspended/revoked.
                                     54.      The phone number (785) 727-5196 was indicated 15 times from
                          02/14/2013 to 02/20/2013. The number was subpoenaed and found to be a T-Mobile pre-
                          paid phone with no subscriber information attached to the phone number indicating the
                          purchaser was not required to provide a name or any type of identification in order to
                          activate the telephone.
                                     55.      The phone number (785) 209-8276 was indicated a total of 16 times from
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                          01/25/2013 to 02/08/2013. The subscriber information shows this phone registered to
                          Larry Jackson. According to the JCPD this phone is used by Cinderella Jackson B/F
                          DOB IDQX~l©«8:.           Cinderella Jackson has the following criminal history indicating
                          arrest. 03/11/2000 Possession of simulated controlled substances or drug paraphernalia;
                          Conspiracy to possess simulated controlled substances/drug paraphernalia. 01/31/2008
                          Failure to appear.
                                  56.         The phone number (785) 307-8041 was indicated 10 times from
                          01/18/2013 to 02/14/2013. The subscriber request had no information attached to it.
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                          According to the JCPD this phone us used by Lisa Taylor B/F DOB ~~~ Lisa
                          Taylor has the following criminal history indicating arrests.           08/30/1991 Disorderly
                          conduct. 01/13/1993 Sale of cocaine. 09/21/1994 Theft. 06/18/1995 Failure to appear.
                          04/17/1996 Forgery financial instrument.            08/13/1998 Obstructing legal process or
                          official duty.
                                  57.         The phone number (785) 761-5075 was indicated 9 times from 01/15/2013
                          to 01/29/2013.        The subscriber information shows this phone registered to Mildred
                          McNeil.          Mildred McNeil has the flowing criminal history indicating arrests for.
                          08/17/1998 Possession of cocaine. 03/24/2007 Driving under influence of alcohol or

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                                                                                                                        464
                          drugs. 08/02/2008 Aggravated failure to appear. 06/18/2008 Delivery/manufacture drug
                          paraphernalia to person <18yoa; Possession of opiates, opium or narcotic drugs;
                          Endangering a child; Involves child <18 yoa.
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                                   58.     The phone number (785) 375-1866 was indicated 7 times from 01/10/2013
                          to 02/14/2013.      The subscriber information shows this phone registered to Rosella
                          Johnson B/F DOB » ~ .               Rosella Johnson has the following criminal history
                          indicating arrests for.      02/08/2008 Deliver/manufacture of simulated controlled
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                          substances or drug paraphernalia; Possession of opiates, opium or narcotic drugs;
                          Possession of depressant/stimulants/hallucinogenics/steroids. 04/01/2008 Contempt of
                          court.
                                   59.     The phone number (785) 477-8570 was indicated 7 times from 01/16/2013
                          to 01/22/2013. The subscriber information shows this phone registered to Mark. This is
                          the only information received from the subpoena request indicating the person only gave
                          the first name of Mark when activating the phone. This phone number was found in
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                          Patricia Fay's phone when she was arrested on 12/29/2012 and listed as Wayne as well.
                          The JCPD has identified Mark as Gregory Mark Roberts B/M DOB~~~)t Gregory
                          Roberts has the following criminal history indicath1g arrest.   11/07/1988 Abandonment
                          of child (non support). 03/10/1990 Criminal trespass. 01/16/1991 Theft; obstruction of
                          police; giving false name, address or birthdate to law enforcement officer; DUI.
                          01/24/1992 Driving while license suspended or revoked. 11/01/1992 Possession,
                          manufacture, distribution, or sale of marijuana; giving false name, address or birthdate to
                          law enforcement officer. 04-31/1994 Purchase/possess/control drug. 07/05/1994 Battery.
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                          08/25/1997 Probation violation.      03/28/1997 Purchase/possess/control drug; willful
                          obstruction of law enforcement officers; forgery; giving false name, address or bitihdate
                          to law enforcement officer. 11/08/1999 Violation of Georgia controlled substance act;
                          giving false name, address or birthdate to law enforcement officer. 07/03/2002 Parole
                          violation.     07/07/2004 Parole violation.    09/21/2005 Parole violation.    11/08/2008
                          Acquiring license plate for purpose of concealing identification of motor vehicle.
                          03/16/2011 Attempt to unlawfully manufacture, sell theft detection device; theft.
                          03/30/2012 Probation violation. 08/22/2012 Probation violation. 01/05/2013 Probation
                          violation.

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                                                                                                                       465
                                    60.      The phone number (785) 560-1919 was indicated 6 times on 01/19/2013.
                          The subscriber information shows this phone registered to LaDonna (Smith) McCoy B/F
                          DOB ~~K This phone number was found in Patricia Foy's phone when she was
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                          arrested on 12/29/2012 and listed as Ladonna as well. LaDonna (Smith) McCoy has the
                          following criminal history to indicate arrests for. 02/28/1979 Promoting prostitution.
                          11/30/1983 Prostitution; obstructing legal process or official duty. 05/16/1986 Failure to
                          appear.         09/18/1988 Theft.   09/19/1988 Theft.   09/29/1988 Probation violation.
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                          05/22/1993 Prostitution.       02/15/1994 Theft.   01/13/1995 Prostitution.   01/13/1995
                          Obstructing legal process or official duty; theft. 01/21/1995 Theft; criminal trespass.
                          05/08/1995 Theft. 08/07/1995 Probation violation. 02/18/2000 Theft. 10/02/2001 Theft
                          of services. 12/22/2001 Domestic battery. 06/26/2003 Theft by shoplifting. 04/20/2004
                          Burglary; criminal damage to property; theft. 02/24/2012 Failure to appear. 05/30/2010
                          Criminal damage to property. 07/14/2012 Failure to appear.
                                    61.      The phone number (785) 762-5346 was indicated 12 times from
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                          01/21/2013 to 02\17\2013. The subscriber information shows this phone registered to
                          Lauren Hull B/F DOB }0(1QXOOX~or Garland. The JCPD indicates the user of the phone
                          to be Garland Hull B/M DOB 05/22/1963. This phone number was found in Patricia
                          Foy's phone when she was arrested on 12/29/2012 and listed as Garland as well. Lauren
                          Hull has the following criminal history to indicate arrests for.    11/24/2010 Theft of
                          services; conspiracy to commit theft; unlawful removal of theft detection device.
                          07/20/2012 Domestic battery; possession of hallucinogenic drug; use possess with the
                          intent to use drug paraphernalia into the human body. On 09/06/2012, CI #1 contacted
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                          Garland Hull at this telephone number and subsequently purchased Oxycodone and
                          Clonazepam from him. On 09/25/2012 CI #1 contacted Garland Hull at this telephone
                          number once again, CI # 1 purchased Oxycodone pills from Garland Hull.
                                    62.      The phone number (785) 307-1667 was indicated 12 times from
                          02/12/2013 to 02/15/2013. This phone number was subpoenaed but as of 02/22/2013, the
                          subscriber information had not been obtained.
                                    63.      The phone number (785) 210 9605 was indicated 12 times from
                          01/07/2013 to 02/18/2013. This phone number was subpoenaed but as of 02/22/2013, the
                          subscriber information had not been obtained.

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                                 64.     The phone number (785) 317-0015 was indicated 12 times from
                          01/20/2013 to 02/14/2013. The subpoena results indicated this to be a T-Mobile pre-paid
                          phone with no subscriber information available indicating the purchaser was not required
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                          to produce any identification or name to activate the phone.
                                 65.     The phone number (816) 308-7814 was indicated 12 times from
                          02/08/2013 to 02/09/2013. This phone number was subpoenaed but as of 02/22/2013, the
                          subscriber information had not been obtained.
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                                 66.     The phone number (785) 210-9077 was indicated 11 times from
                          01/19/2013 to 01/26/2013. This phone number was subpoenaed but as of 02/22/2013, the
                          subscriber information had not been obtained.
                                 67.     The phone number (785) 210-5030 was indicated 11 times from
                          01/30/2013 to 02/20/2013.         The subpoena response indicated there was no name
                          associated with this telephone.
                                 68.     The phone number (785) 717-9028 was indicated a total of 81 times from
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                          02/10/2013 to 02/21/2013. The subscriber information shows this phone registered to
                          Elisa Davis, B/F DOB 06/29/1984. Elisa Davis has the following criminal history for
                          arrest. 01/02/2007 Criminal damage to property.


                                                     FACTS AND CIRCUMSTANCES


                                 69.     Based upon the Affiant's investigation and those of other law enforcement
                          agencies, the following facts and circumstances are set forth. The Affiant believes the
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                          investigation has revealed that Anthony Thompson and Albert Banks are involved in
                          the distribution of illegal dmgs and have been for quite some time. Given the amounts
                          sold to CI #1 and the amounts of controlled substances available to sell (by their own
                          admission), the Affiant believes Anthony Thompson and Albert Banks have been and
                          will continue to be involved in an ongoing conspiracy to distribute illegal drugs. The
                          conspiracy includes numerous persons named above and individuals both known and
                          unknown. Anthony Thompson and Albert Banks continue to realize profits from the
                          sale of controlled substances. Based on all the information the investigation has been able
                          to gather thus far, it is the consensus of the law enforcement investigators that Anthony

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                          Thompson and Albert Banks, in association with others, are involved in extensive
                          illegal drug activity. This is evident by the sales of controlled substances to CI #1,
                          observations made during those sales, and statements made by Anthony Thompson and
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                          Albert Banks to CI #1. Anthony Thompson told CI #1 on 10/03/2012 that he is
                          purchasing approximately nine (9) ounces of cocaine per week for distribution. The
                          sources of Anthony Thompson and Albert Banks' illegal drugs appear to come from
                          Kansas City, Topeka and/or Wichita, KS.           The actual source of the narcotics is
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                          unidentified thus far in the investigation. Earlier in the investigation, Investigators
                          believed the illegal narcotics to come from the Kansas City area from a source known as
                          Adrian Muse. It appears as though Muse may not be the source of supply lately due to
                          the information obtained from SOI #1 who has indicated he/she has heard conversations
                          stating this source is possibly not used at this time. Johnny Lee Ivory was believed to be
                          a source of supply in the Topeka, KS area. Johnny Lee Ivory had not been located this
                          investigation and it is unclear if he is still a source of supply. Albert Banks has been
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                          making tips to Wichita, KS recently as well but investigators do not know when he is
                          going or with whom he is going. Therefore, the source of supply, if in fact it is in
                          Wichita, KS, is still unknown. Thus this conspiracy extends to multiple regions of the
                          State of Kansas and multiple jurisdictions with yet unidentified persons.          Anthony
                          Thompson and Albert Banks obviously have currency at their disposal without having
                          any legal, gainful employment. Throughout this investigation, the quantity of illegal
                          narcotics purchased by CI #1 has increased in an effort to purchase more than Anthony
                          Thompson or Albert Banks could supply, thus forcing them to either introduce CI #1 to
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                          their supplier or take CI #1 with them to their supplier so CI #1 could purchase quantities
                          which Anthony Thompson or Albert Banks could not produce.                 This investigative
                          teclmique has failed to date. CI #1 has purchased as small of quantity ofless than one (1)
                          gram to as much as three (3) ounces, all the while being distributed by Anthony
                          Thompson and/or Albert Banks working in conjunction with each other.
                                 70.     Although Anthony Thompson has not always had this same telephone
                          number (785-226-1783) throughout this investigation, he has had it for the majority of the
                          investigation and currently uses this number to conduct illegal narcotic distribution at this
                          time as indicative of the sells to CI #1.   Those believed to be involved in the ongoing

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                          conspiracy are continuing to use telephone number (785) 226-1783 subscribed to Jason
                          Roberts but used by Anthony Thompson to facilitate their illegal activities.
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                                                   GOALS OF THE INVESTIGATION


                                  71.     It is the goal of the Law Enforcement personnel involved in this
                          investigation to identify all persons involved in this operation whether they are in Kansas
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                          or any other state. The identity of persons that are transporting, manufacturing and/or
                          storing illegal drugs in Kansas is being and will continue to be pursued.      The identities
                          and prosecution of the conspirators involved in the transportation, manufacturing, storing
                          and distribution of illegal drugs to and from the state of Kansas is hoped to be achieved.
                          Another goal of this investigation is to dismantle this organization that is under the
                          control of Anthony Thompson and Albert Banks. It is believed this organization is
                          responsible for the distribution of large amounts of illegal drugs in Geary and Riley
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                          County, Kansas. At this time, the clear scope of the organization, all the conspirators,
                          their involvement and the amount of illegal drugs being distributed have not been
                          identified. Without the ability to monitor the phone belonging to Anthony Thompson, it
                          is believed the full scope of the operation will not be disclosed nor will it be dismantled.
                          While a prosecutable case has been made on Anthony Thompson; CI #1 is not able to
                          breech the conspiracy to learn the role of all the players. CI #1 is only able to make
                          purchases from Anthony Thompson, Albert Banks and possibly a select few within the
                                           These purchases will not reveal the sources of supply, fruits,
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                          organization.
                          instrumentalities or assets of the distribution of illegal drugs, or the roles of other co-
                          conspirators.   Without a wire interception the persons involved in this targeted
                          distribution operation will be allowed to continue.




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                                                   NEED FOR WIRE INTERCEPTIONS


                                  72.     Investigation to date has failed to disclose and prove the full scope of the
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                          targeted organization and the locations and sources of any and all supply sources
                          currently being used by the subject(s) of this investigation. Direct evidence linking the
                          source of the supply to the flow of illegal drugs in the present conspiracy would be
                          difficult, if not impossible, to obtain using standard investigative techniques. This is
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                          evidenced by the fact CI #1 has not and will not be taken into the organization's full
                          confidence and advised of the source or sources of the illegal drugs.
                                  73.     Affiant believes the requested wire interception will produce the requisite
                          information identifying and establishing a direct link to the sources and supply of the
                          i11egal chugs. Based upon the combined experience of Af:fiant and all law enforcement
                          personnel involved in this investigation based upon all of the facts set forth herein, it is
                          the Affiant' s belief that the interception of wire communications is the only available
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                          technique which has a reasonable likelihood of securing evidence demonstrating the
                          scope of the illegal drug activity.


                                                OTHER INVESTIGATIVE PROCEDURES


                                  74.     There are numerous investigative procedures, which are usually employed
                          in an investigation of this type which have been tried and failed, or which reasonably
                          appear unlikely to succeed if attempted. Other procedures which might reveal the scope
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                          of this conspiracy and those involved are simply too dangerous to employ, or would
                          compromise the integrity of the investigation. Some of these procedures have been
                          described above; others are stated below.




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                                                   A.     PHYSICAL SURVEILLANCE


                                 75.     Physical surveillance has been utilized in this investigation and has proven
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                          to be of limited value. Although it has identified some activities and associates of the
                          targets, physical surveillance - if not used in conjunction with other techniques, including
                          electronic surveillance - is of limited value.     Physical surveillance, even if highly
                          successful, does not always assist in gathering evidence of the criminal activity under
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                          investigation. It is an investigative technique that is used to confirm meetings between
                          alleged co-conspirators, but, in many cases, only leads investigators to speculate as to the
                          purposes of these meetings, because the surveillance itself often proves association
                          between the conspirators at a given time and place.        It is also a technique used to
                          corroborate information obtained from cooperating individuals. Physical surveillance of
                          alleged conspirators will not, however, conclusively establish the elements of the
                          subjects' violations, and this technique has not, ahd most likely will not, establish the
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                          identities of all conspirators. In addition, continued physical surveillance is not expected
                          to enlarge information now available to substantiate the elements of criminal violations
                          for which the state's application seeks to intercept wire communications. Prolonged or
                          regular surveillance of the movements of the suspects is instead likely to be noticed,
                          causing the suspects to become even more cautious and secretive in their illegal activities,
                          causing them to flee to avoid apprehension and prosecution causing a real threat to the
                          safety of the CI and/or possibly compromising the investigation. It must also be noted
                          that the conspirators have utilized techniques to avoid being surveilled by law
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                          enforcement such as driving erratic or slower than all other traffic, making sudden stops
                          or unexpected sudden turns while engaged in physical surveillance by law enforcement.
                          It should also be noted that the conspirators have employed counter surveillance
                          techniques such as having lookouts place themselves around buildings, vehicles and/or
                          residences to watch for persons that continue to drive past or near the locations where
                          suspected drug trafficking offenses are, or will be committed.    Finally, it is not possible
                          to determine the full nature and scope of the aforementioned offenses by the use of
                          simple physical surveillance, given the number of conspirators, the complexity of the
                          criminal violations, the multi-jurisdictional locations and travels of some of the

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                          conspirators, and the varying rolls played by the targets of this investigation. Officers of
                          the Junction City Police Department and Kansas Bureau of Investigation agents have
                          attempted to conduct surveillance in the vicinity of some of the residences mentioned in
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                          this investigation. Officers have seen individuals that were placed outside residences
                          appearing to look for persons that were watching the residences.


                                                 B.       COOPERATING INDIVIDUALS
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                                 76.     No cooperating individuals other than the ones aforementioned have been
                          identified due to the mistrust the subjects have of individuals they are acquainted with or
                          have conducted business with prior. Additional cooperating individuals have not been
                          developed because of their apparent fear of the repercussions they would face if their
                          identity were ever disclosed.
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                                                          C. UNDERCOVERAGENTS


                                 77.     To date, no undercover Agents have been able to make purchases from
                          any of those involved in this organization.       It is the belief of law enforcement, any
                          undercover person/s who may have the chance encounter of purchasing illegal narcotics
                          from this group would have to do so at a very low level within the organization and
                          would most likely never be given the opportunity to advance within the ranks of the
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                          organization to a place where the true conspiracy/conspirators would be identified. It is
                          also the belief of law enforcement that the possibility of gaining the knowledge of the
                          source of supply for this organization would not occur as the identity of this person/s
                          have been kept secret throughout this investigation. The undercover agent would never
                          be fully trusted and any further relevant infonnation related to the scope of the illegal
                          drug activity would never be known.




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                                                         D. PEN REGISTERS


                                  78. On 01/07/2013 a Pen Register was initiated on the target phone number
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                          (785) 226-1783 pursuant to a Kansas Court Order. From 01/07/2013 to 02/22/2013 a
                          total of 7,689 calls/text messages were made into and out of (785) 226-1783. The Pen
                          register information demonstrates to the Affiant Anthony Thompson is using telephone
                          number (785) 226-1783 to distribute controlled substances as demonstrated by, but not
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                          limited to, the number of calls/text messages registered per day, the length of the phone
                          conversations and/or the parties calling or being called on phone number (785) 226-1783.
                          The Pen Register has demonstrated to the Affiant that the phone number (785) 226-1783
                          has been, is being and will continue to be used to communicate criminal activity
                          concerning the distribution of controlled substances by Anthony Thompson and his
                          associates.
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                                  E.      USE OF JUDICIAL AND ADMINISTRATIVE SUBPOENAS


                                 79.     Based upon Affiant's experience and conversations with other Agents and
                          Administration of the Kansas Bureau of Investigation as well as Officers and
                          Administration of the Junction City Police Department, who have considerable
                          experience in investigating these individuals, similar operations and violations of the law
                          such as these, it is the common consensus that the service of subpoenas to persons
                          believed to be involved in this conspiracy and their associates would not be successful in
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                          achieving the stated goals of this investigation. If any principals of this conspiracy, their
                          co-conspirators, or any other participants were approached to cooperate each and every
                          one would refuse to assist. This is especially true in this case, given the close ties among
                          the inner circle of conspirators and many of the principals. Many of the principals in this
                          investigation have been subjects of previous investigations and are aware of the
                          techniques used by law enforcement to garner information. Moreover it would be unwise
                          to afford any kind of immunity to such persons given that such immunity would not
                          guarantee truthful admissions concerning the scope of the illegal drug activity being
                          investigated. Additionally, service of subpoenas would alert the conspirators to the

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                          existence of this investigation and prompt the targets to take measures to thwart it.
                          Finally, participants in such a criminal enterprise are often reluctant to implicate others
                          out of fear for their own safety or as a result of their loyalty to their fellow conspirators.
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                                                        F.      SEARCH WARRANTS


                                  80.     The execution of search warrants in this investigation has been considered.
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                          The execution of search warrants involving principals of this investigation has been used
                          in the past resulting in retrieval of a limited amount of controlled substances and records.
                          Use of warrants alone is unlikely to reveal the total scope of the criminal operation, the
                          identities of all conspirators, or the precise roles each plays within the conspiracy. It is
                          extremely unlikely, given the history of this criminal organization, that the majority of
                          the contraband controlled by the conspirators could be located at any given time unless
                          electronic surveillance was employed. Affiant believes the execution of search warrants
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                          at this time would compromise the investigation and reveal the identities of those
                          cooperating individuals.
                                  81.     For the reasons set forth in the preceding paragraphs, normal methods of
                          investigation have been attempted and failed, or reasonably appear unlikely to succeed,
                          and/or are too dangerous to employ.          At this time the only reasonable method of
                          developing the necessary evidence of the above-listed violations is to intercept the wire
                          communications of the subjects of this investigation. Such interceptions will reveal the
                          details of this conspiracy involving the importation and distribution of controlled
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                          substances, possession with the intent to distribute controlled substances, and use of
                          communication facilities to further these offenses, in violation of Kansas Law.




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                                                                                                                          474
                                                                 MINIMIZATION


                                    82.   All monitoring of wire communications will be conducted in such a way
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                          as to minimize the interception of communication.          Interception will be suspended
                          immediately when it is determined through voice identification, physical surveillance, or
                          otherwise, that none of the named interceptees or any of their confederates, when
                          identified, are participants in the conversation, unless it is determined during the portion
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                          of the conversation already overheard that the conversation is criminal in nature.
                          Conversations, which are of a non-criminal or non-evidentiary nature, once minimized,
                          will be spot-monitored in order to determine if the topic of the conversation has switched
                          to a criminal or evidentiary nature.
                                    83.   The interception of communications will be discontinued if the voice of
                          one or more of the named interceptees is not identified as participating in the
                          communication within a reasonable period of time, or in the case of conversations of
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                          others unknown which are of a non-criminal or non-evidentiary nature; spot-monitoring
                          will be used to determine if conversations have switched to an evidentiary or criminal
                          nature.     Monitoring will be conducted subject to the requirements to minimize
                          interception of all non-pertinent commm1ications. All monitoring will be recorded.




                                                       PERIOD OF INTERCEPTION
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                                    84.   Because of the continuing nature of the offenses as discussed above, it is
                          further requested that authorization to intercept not automatically te1minate when the
                          types of commm1ications described above are first obtained, but be permitted to continue
                          until all wire communications are intercepted which fully reveal the manner in which the
                          subjects of this investigation conduct and participate in the above-described offenses, and
                          which reveal the full nature, scope and extent of the above-described offenses; the
                          identities and roles of accomplices, aiders and abettors, co-conspirators, other participants
                          in the offenses; the dispositions and locations of the proceeds from the offenses; and the
                          types, existence and locations of all records and other physical evidence of the offenses.

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                          Even if the objectives set forth in the preceding sentence have not been fully achieved, it
                          is hereby requested that the court's order provide that authorization to intercept shall
                          automatically terminate after thirty days, the thirty day period running from the earlier of
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                          the day on which investigative or law enforcement officers first begin to conduct an
                          interception under the court's order or ten days after the order is entered.


                                                                        ~~~~
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                                                                        GLEN F. VIRDEN
                                                                        Senior Special Agent
                                                                        Kansas Bureau of Investigation


                                                                                         --
                          Sworn to before me and subscribed in my presence this __5_ day of March, 2013.



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                                                                           R. f IJ-f
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                                                                        Judge of the Geary County District Court
                                                                        State of Kansas
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                              EXHIBIT K




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                     IN THE DISTRICT COURT OF GEARY COUNTY, KANSAS




    IN THE MATTER OF THE APPLICATION                              )
    OF THE STATE OF KANSAS                                        )       CASE NO.
    FOR AN ORDER AUTHORIZING THE                                  )
    INTERCEPTION OF WIRE                                          )       UNDER SEAL
    COMMUNICATIONS TO AND FROM                                    )
    T-MOBILE USA WIRELESS TELEPHONE:                              )
    785-226-1783                                                  )
    BEARING INTERNATIONAL MOBILE STATION                          )
    IDENTIFICATION# (IMSI) 310260445955245                        )




                          ORDER AUTHORIZING THE INTERCEPTION
                               OF WIRE COMMUNICATIONS

    Application under oath having been made before me by Steven L. Opat, Geary County Attorney,

   based on the sworn affidavit of Glen F. Virden, Senior Special Agent, Kansas Bureau of

   Investigations, an investigative or law enforcement officer of the State of Kansas within the meaning

   of Section 5 of K.S.A. 22-2514, et seq, for an Order authorizing the interception of wire

   communications pursuant to K.S .A. 22-2514, et seq, and full consideration having been given to the

   matter set forth therein, the Com1 finds:

   A.     there is probable cause to believe that Albert DeWayne Banks, DOB -              and Anthony

          Carlyle Thompson, DOB                , and others named in the affidavit of the said Glen F.

          Virden, and others yet unknown (hereinafter "Target Subjects"), have committed, and are

          committing, and will continue to commit offenses enumerated in Article 57 of K S A 21 -

          5701 et seq, specifically possession of controlled substances with intent to distribute, and

          distribution of controlled substances, in violation of K S.A. 21-5701 et seq, specifically 21 -·



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          5705 and 5706, unlawful use of a communication facility to commit and facilitate the

          commission of drug trafficking offenses, in violation of K.S.A. 21-5707; attempts,

          conspiracies or solicitations to possess with intent to distribute or to distribute controlled

          substances, in violation of K.S,A, 21-570 1 et seq, and K.S.A. 21-5301 and 21 -5302 and 21.:

         5304; unlawful acts involving proceeds derived from violations of K.S.A, 21-5701 -57 l 7.

          (Hereinafter the "Target Offenses");

   B.    there is probable cause to believe that particular wire communications of the said Albert

         DeWayne Banks and the said Anthony Carlyle Thompson and others yet unknown

         (hereinafter "Target lnterceptees"), concerning the above-described Target Offenses will be

         obtairied through the interception for which authorization has herewith been applied. In

         particular, there is probable cause to believe that the interception of wire communications

         to and from the cellular telephone with the assigned telephone number 785-226-1783,

         bearing IMSI 310260445955245 with service provided by T-Mobile USA Wireless with

         subscriber listed as one Jason Roberts, although it is clear that the principal user is and has

         been identified as Anthony Carlyle Thompson, will further disclose, detail and reveal the

         specifics of the above offenses, including the depth of the conspiracy and the manner and

         means of how and with whom these offenses are being committed, including the unknown

         sources from which the distribution by Albert DeWayne Banks, Anthony Carlyle Thompson,

         and others is made possible;

   C.    it has been established that normal investigative procedures have been tried and have failed,

         reasonably appear to be unlikely to succeed if tried, or are too dangerous to employ; and

   D.    there is probable cause to believe that 785-226-1783 has been and will continue to be used

         in connection with commission of the above-described offenses.

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              WHEREFORE, IT IS HEREBY ORDERED that Special Agents of the Kansas Bureau of

    Investigation, and other agencies acting uuder the supervision of the KBI, are authorized, pursuant

    to an application as authorized by K.S.A. 22-2515, made by Steven L. Opat, the duly elected and

    authorized County Attorney for Geary County, State of Kansas, to intercept wire communications

    to and from the above-described telephone.

              PROVIDED that such interception(s) shall not terminate automatically after the first

    interception that reveals the manner in which the alleged co-conspirators and others as yet unknown

    conduct their illegal activities, but may continue until all communications are intercepted which

    reveal fully the manner in which the above-named persons and others as yet unknown are

    committing the offenses described herein, and which reveal fully the identities of their confederates,

    their places of operation, and the nature of the conspiracy involved therein, or for a period of thirty

    (30) days measured from the day on which investigative or law enforcement officers first begin to

   conduct an interception under this order or ten (10) days after this order is entered, whichever is

   earlier.

              1TIS ORDERED FURTHER that in the event that the target telephone is transferred outside

   the territorial jurisdiction of this court, interceptions may take place in any other jurisdiction within

   the United States.

              IT 1S ORDERED FURTHER that the authorization given is intended to apply not only to

   the target telephone number listed above, but also to any other telephone number or telephone

   accessed through the above-referenced IMSI number, and to any other IMSI number accessed

   through the target telephone number referenced above, within the thirty (30) day period. The

   authorization is also intended to apply to the target telephone number referenced above regardless

   of service provider, and to background conversations intercepted in the vicinity of the target

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    telephone while the telephone is off the hook or otherwise in use.

            IT IS ORDERED FURTHER that, based upon the request of the Applicant pursuant to

    KS A 22-251 ( and the definitions set forth therein, and K.S.A. 22-2515 and 2516, T-Mobile, an

    electronic communication service provider as defined in Section 2510(15) of Title 18, United States

    Code and K S A 22-2514, shall furnish the KBI and/or it's agents or designees with all information,

    facilities and technical assistance necessary to accomplish the interceptions unobtrusively and with

    a minimum of interference with the services that such provider is according the persons whose

   -communications are to be intercepted, with the service provider to be compensated by the KBI for

    reasonable expenses incurred in providing such facilities or assistance.

            IT IS ORDERED FURTHER that, to avoid prejudice to the government's criminal

    investigation, the provider of the electronic communications service and its agents and employees

    are Ordered Not To Disclose or Cause Disclosure of the Order or the request for information,

    facilities and assistance by the KBI or the existence of the investigation to any person other than

    those of its agents and employees who require this information to accomplish the services hereby

    ordered. In particular, said provider and its agents and employees shall not make such disclosure to

    a lessee, telephone subscriber or any interceptee or participant in the intercepted communications.

           IT IS ORDERED FURTHER that this Order shall be binding on any subsequent provider

   of electronic communications service_s as defined in Title 18, United States Code, Section 2510( 15)

   and KS A 22-2514 et seq, that provides services to the target telephone number(s) listed above

   upon service of a certified copy of this Order without any further court order being required.

           IT IS ORDERED FURTHER that this order shall be executed as soon as practicable and that

   all monitoring of wire communications shall be conducted in such a way as to minimize the

   interception and disclosure of the communications intercepted to those communications relevant to

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    the pending investigation. The interception of wire communications must terminate upon the

    attainment of the authorized objectives, not to exceed thirty (30) days measured from the earlier of

    the day on which investigative or law enforcement officers first begin to conduct an interception of

    this order or ten (10) days after he order is entered.

            Monitoring of conversations must terminate immediately when it is detennined that the

    conversation is unrelated to communications subject to interception under Chapter 119, Title 18,

    United States Code and K,S .A. 22-2514 et seq .. Interception must be suspended immediately when

    it is detennined through voice identification, physical surveillance, or otherwise, that none of the

    named Target Interceptees or any of their confederates, when identified, are participants in the

    conversation unless it is determined during the portion of the conversation already overheard that

    the conversation is criminal in nature. If the conversation is minimized, the monitoring agent shall

    spot check to insure that the conversation has not turned to criminal matters.

           IT IS ORDERED FURTHER that, pursuant to Section 2518(5), Title 18, United States Code

    and KS.A. 22-2514 et seq, in the event intercepted communications are in a code or foreign

    language, and an expert in that code or foreign language is not reasonably available during the

   interception period, minimization may be accomplished as soon as practicable after such

   interception.

           IT IS ORDERED FURTHER that Steven L. Opat, Geary County Attorney and /or Antonio

   Cruz Assistant Geary County Attorney shall provide this Court with a report on or about the tenth,

   twentieth, and thirtieth days following the date of this Order showing what progress has been made

   toward achievement of the authorized objectives and the need for continued interception. If any of

   the above-ordered reports should become due on a weekend or holiday, IT IS ORDERED

   FURTHER that such report shall become due on the next business day thereafter.

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              IT IS ORDERED FURTHER that this Order, the application, affidavit and proposed order,

    and all interim reports filed with this Court with regard to this matter, shall be sealed until further

    order of this Court, except that copies of the order, in full or redacted form, may be served on the

    KBI and the service provider as necessary to effectuate this order.

           DONE and ORDERED this            S- day of pf',,,_Ji              20 / .3, at in Junction City,

    Kansas.




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                               IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF KANSAS

      ALBERT DEWAYNE BANKS,

                  Plaintiff,

                  v.                                                Case No. 5:15-cv-03093-HLT-GEB

      STEVEN L. OPAT, et al.,

                  Defendants.


      ANTHONY THOMPSON,

                  Plaintiff,
                                                                    Case No. 5:15-cv-03117-HLT-GEB
                  v.

      GLEN F. VIRDEN, et al.,

                  Defendants.


                                         MEMORANDUM AND ORDER

            Plaintiffs Albert Banks and Anthony Thompson1 bring claims under state and federal

  wiretapping laws against Defendants Steven L. Opat, Glen F. Virden, Timothy Brown, and Tony

  Wolf (“Individual Defendants”). They also bring claims against Sprint/Nextel Wireless Telephone

  Company, Virgin Mobile USA/Sprint PCS, and T-Mobile USA Inc. (“Carrier Defendants”). All

  Defendants move for summary judgment. Docs. 173, 175, 177, 179, 181. For the reasons outlined

  below, the Court grants Individual Defendants’ motions for summary judgment. But the Court

  denies Carrier Defendants’ motion for summary judgment.



  1
       Banks and Thompson filed their cases separately, both initially proceeding pro se. Banks asserts claims against
       Opat, Virden, Brown, and Sprint. Thompson asserts claims against Virden, Brown, Wolf, and T-Mobile. The cases
       have since been consolidated, see Doc. 160, and the Court appointed counsel to represent both Plaintiffs. Id. Unless
       otherwise specified, all docket citations are to Case No. 15-03093, which is the lead case.




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  I.     BACKGROUND

         Starting in February 2012, the Kansas Bureau of Investigation (“KBI”), the Junction City

  Police Department, the Geary County Sheriff’s Office, and the Riley County Police Department

  jointly conducted a narcotics-trafficking investigation. Doc. 174 at 4; Doc. 198 at 2. The lead law

  enforcement officer for the KBI during the investigation was KBI Special Agent Glen Virden.

  Doc. 174 at 3-4; Doc. 198 at 4. The Chief of the Junction City Police Department was Timothy

  Brown. Doc. 176 at 8; Doc. 197 at 3. Tony Wolf was the Sheriff of Geary County starting in

  January 2013. Doc. 180 at 2; Doc. 199 at 1. Pursuant to this investigation, then-Geary County

  Attorney Steven Opat applied for and received several wiretap orders from Judge David Platt in

  Kansas’s Eighth Judicial District. See, e.g., Docs. 174-2 & 174-3. For all the applications, probable

  cause was supported by Virden’s affidavit. See id.

         In the spring of 2013, Judge Platt issued several wiretap orders. Relevant to Plaintiffs, the

  initial orders only authorized interception of wire communications (not electronic

  communications, i.e. text messages). See Doc. 174-2 at 1; Doc. 174-3 at 75, 154; Doc. 174-6 at

  224. The orders also authorized interception even if the phones were taken outside the territorial

  jurisdiction of the Eighth Judicial District, which is where Judge Platt sat. See Doc. 174-3 at 75,

  154; Doc. 174-6 at 224. Subsequent wiretap orders by Judge Platt explicitly authorized interception

  of electronic communications, but they still applied extra-territorially. See Doc. 379-25 at 257;

  Doc. 379-27 at 270. Other orders in the investigation that were directed at different individuals

  and phone numbers were later clarified to include text messages because certain carriers refused

  to intercept messages without clarification from Judge Platt. See Doc. 182-13 at 2; Doc. 182-14 at

  2. Sprint/Nextel was one of the carriers who sought a clarification order for one of Judge Platt’s




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  wiretap orders, but it did not seek any clarification for the orders at issue in this case. Doc. 182-14

  at 2. The clarification orders do not apply to the wiretap orders in this case.2

           As a result of the investigation, Banks and Thompson were charged in federal court with

  controlled-substance offenses. Banks and Thompson moved to suppress text messages that were

  intercepted pursuant to orders that only authorized intercepting wire communications. Banks, 2014

  WL 4261344, at *1. The court denied the motion to suppress because it determined that text

  interceptions fell within the good-faith exception to the Fourth Amendment’s exclusionary rule.

  Id. at *5. The court did, however, suppress 60,000 communications that were intercepted outside

  Judge Platt’s jurisdiction. Doc. 174 at 15; Doc. 198 at 5. Still, the court noted in one of its

  subsequent rulings (in dicta) that the executing officers were almost certainly acting in good faith

  as to the extra-territorial interceptions “because one would not expect the officers executing the

  search warrants to have apprehended the subtle, technical jurisdictional defect that form[ed] the

  basis of the Court’s threshold suppression ruling.” United States v. Banks, 2015 WL 2401048, at

  *3 (D. Kan. 2015). Banks and Thompson were ultimately convicted of multiple controlled

  substance offenses. See United States v. Thompson, 2021 WL 3826532 (10th Cir. 2021) (declining

  to vacate conviction); Order, United States v. Banks, No. 5:13-cr-40060 (D. Kan. 2021), ECF No.

  1368 (same).

           Plaintiffs separately brought civil actions claiming violations of state and federal wiretap

  statutes, violations of the Fourth Amendment, and conspiracy. This Court dismissed their claims.

  Banks v. Opat, 2018 WL 6031188, at *8 (D. Kan. 2018); Thompson v. Virden, 2018 WL 6046469,


  2
      Plaintiffs dispute the validity of the clarification orders. Doc. 196 at 8. But Plaintiffs’ arguments are unpersuasive,
      not supported by appropriate evidence, and do not create a genuine dispute. Plaintiffs’ arguments are additionally
      undermined because they relied on one of the clarification orders in their complaints. See Doc. 74 ¶13; Amended
      Complaint, Thompson v. Virden, No. 5:15-cv-03117 (D. Kan. 2018), ECF No. 71 ¶13. And the clarification orders
      were also used in Plaintiffs’ criminal proceedings. See United States v. Banks, 2014 WL 4261344, at *4 (D. Kan.
      2014). Thus, there is no genuine dispute of fact about the clarification orders. See Fed. R. Civ. P. 56(e).




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  at *8 (D. Kan. 2018). The Tenth Circuit affirmed in part, but it remanded for further proceedings

  on Plaintiffs’ state and federal statutory wiretap claims stemming from Individual Defendants’

  interception and disclosure of extra-territorial communications and Carrier Defendants’

  interception and disclosure of text messages. Banks v. Opat, 814 F. App’x 325, 338 (10th Cir.

  2020); Thompson v. Platt, 815 F. App’x 227, 240 (10th Cir. 2020). On remand, Defendants have

  all moved for summary judgment on these issues. Docs. 173, 175, 177, 179, 181.

  II.        STANDARD

             Summary judgment is appropriate if there is “no genuine dispute as to any material fact

  and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). The moving party

  bears the initial burden of establishing the absence of a genuine issue of fact. Celotex Corp. v.

  Catrett, 477 U.S. 317, 323 (1986). The burden then shifts to the nonmovant to demonstrate that

  genuine issues remain for trial. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574,

  586-87 (1986). In applying this standard, courts view the facts and any reasonable inferences in a

  light most favorable to the non-moving party. Henderson v. Inter-Chem Coal Co., 41 F.3d 567,

  569 (10th Cir. 1994). “An issue of material fact is genuine if a ‘reasonable jury could return a

  verdict for the nonmoving party.’” Id. (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248

  (1986)).

  III.       ANALYSIS

             A.       Individual Defendants

                      1. Absolute Prosecutorial Immunity—Opat

             Opat argues that he is entitled to absolute immunity because all his challenged actions were

  undertaken in his role as a prosecutor and advocate for the State of Kansas. Banks3 argues that


  3
        Only Banks asserts a claim against Opat.




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  Opat’s actions were administrative or investigative in nature, and thus absolute immunity is not

  appropriate. “Functions that serve as an ‘integral part of the judicial process’ or that are ‘intimately

  associated with the judicial process’ are absolutely immune from civil suits.” Benavidez v.

  Howard, 931 F.3d 1225, 1230 (10th Cir. 2019) (citation and alteration omitted). Absolute

  immunity is less likely to attach to a function that is more distant from the judicial process. Id.

          In Burns v. Reed, 500 U.S. 478 (1991), the Supreme Court held that a prosecutor was

  absolutely immune from suit for his participation in a probable-cause hearing. Id. at 487. The Court

  reasoned that “[t]he prosecutor’s actions at issue here—appearing before a judge and presenting

  evidence in support of a motion for a search warrant—clearly involve the prosecutor’s ‘role as

  advocate for the State,’ rather than his role as ‘administrator or investigative officer.’” Id. at 491

  (citation omitted).

          In contrast, in Kalina v. Fletcher, 522 U.S. 118 (1997), the Supreme Court held that

  although the prosecutor was absolutely immune for filing an information and a motion for an arrest

  warrant, she was not absolutely immune when she gave sworn testimony as a witness. Id. at 129-

  31. Specifically, to establish the grounds for a warrant, the prosecutor had executed a document

  entitled “Certification for Determination of Probable Cause,” where she personally vouched for

  the truth of the facts set forth in the certification under penalty of perjury. Id. at 121.

          Here, Opat was acting as an advocate for the state in the judicial process and not as a

  complaining witness. Like the prosecutor in Burns, Opat was acting as an advocate in a probable-

  cause hearing to secure a warrant. Unlike the prosecutor in Kalina, Opat’s application was based

  on Virden’s affidavit rather than his own testimony. See, e.g., Doc. 174-3 at 73. Notably, Judge

  Crow of this Court ruled that Opat was entitled to absolute prosecutorial immunity in a nearly




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  identical case filed by Banks’s co-conspirator Johnny Ivory. See Ivory v. Platt, 2016 WL 5916647,

  at *11-12 (D. Kan. 2016).

           Banks points to Mitchell v. Forsyth, 472 U.S. 511 (1985), to argue that Opat is not entitled

  to absolute immunity. Mitchell stands for the rule that the Attorney General is not absolutely

  immune for actions taken pursuant to his national security duties, which are distinct from judicial

  actions. Id. at 523. But aside from the underlying factual similarity of a wiretap occurring, Mitchell

  has little bearing on this case. Therefore, the Court grants Opat’s motion for summary judgment

  based on absolute prosecutorial immunity.4

                    2. Good Faith—Virden, Brown, and Wolf

           Both Plaintiffs assert claims against Virden and Brown for violations of state and federal

  wiretap statutes. Thompson brings the same claims against Wolf. Virden, Brown, and Wolf all

  assert statutory good-faith defenses, namely that they were acting in good faith based on Judge

  Platt’s orders. Because there is significant overlap between the arguments by Virden, Brown, and

  Wolf, the Court addresses their good-faith arguments jointly.

           The Court must decide, assuming these officers violated Plaintiffs’ statutory rights,

  whether the officers were acting in good faith. Plaintiffs assert that the officers violated their

  statutory rights by intercepting, disclosing, and/or procuring communications outside Judge Platt’s

  jurisdiction, in violation of Kansas law. K.S.A. § 22-2516(3). They also assert that the extra-

  territorial interceptions violate federal law under United States v. McNulty, 729 F.2d 1243, 1266

  (10th Cir. 1983) (en banc) (“[T]he federal statute itself requires our deference to [state] law on the

  question of the validity of the wiretap order obtained in state court under state law.”).


  4
      Opat argues in the alternative that he is entitled to summary judgment based on either qualified immunity, statutory
      good-faith defenses, issue preclusion, or Heck v. Humphrey. Opat also argues that Banks’s purported damages are
      limited by the statute of limitations. The Court does not address these arguments because it holds for Opat on
      prosecutorial-immunity grounds.




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           Under state and federal law, any person who intercepts wire, oral, or electronic

  communications in good-faith reliance on a court order has a complete defense against any civil

  action. 18 U.S.C. § 2520(d); K.S.A. § 22-2518(2). “To be in good faith, the officers’ reliance must

  have been objectively reasonable.” Davis v. Gracey, 111 F.3d 1472, 1484 (10th Cir. 1997).5

           The statutory good-faith defense is like the good-faith exception to the exclusionary rule

  for Fourth Amendment violations. Banks, 814 F. App’x at 331 (citing United States v. Moore, 41

  F.3d 370, 376 (8th Cir. 1994)). Thus, Fourth Amendment good-faith law is instructive in

  understanding federal statutory good faith. Furthermore, Kansas has adopted the good-faith

  exception to the exclusionary rule without modification. State v. Hoeck, 163 P.3d 252, 265 (Kan.

  2007). Therefore, Fourth Amendment caselaw also sheds light on the state-law defense.

           In United States v. Workman, 863 F.3d 1313 (10th Cir. 2017), the Tenth Circuit reversed

  the district court’s exclusion of evidence based on an invalid warrant because the executing agents

  acted in an objectively reasonable manner. Id. at 1315, 1321. There, the plaintiff had argued the

  warrant was invalid because the magistrate judge who issued it “lacked territorial jurisdiction

  under Rule 41(b) of the Federal Rules of Criminal Procedure and the Federal Magistrates Act, 28

  U.S.C. § 636(a).” Id. at 1316. Under Rule 41(b), magistrate judges only have the authority to issue

  a warrant to seize a person or property located within their districts. See Fed. R. Crim. P. 41(b).



  5
      The Court recognizes that the circuits disagree on whether statutory good faith has a subjective component or is
      completely objective. See, e.g., Alexander v. Verizon Wireless Servs., L.L.C., 875 F.3d 243, 249-54 (5th Cir. 2017)
      (examining the circuit split over a nearly identical good faith provision pertaining to stored electronic
      communications). The Tenth Circuit has used a good-faith test with a subjective component. See Dahl v. Charles
      F. Dahl, M.D., P.C. Defined Benefit Pension Tr., 744 F.3d 623, 631 (10th Cir. 2014) (“[A] defendant may invoke
      the defense of good faith reliance on a court order only if he can demonstrate (1) that he had a subjective good
      faith belief that he acted legally pursuant to a court order; and (2) that this belief was reasonable.” (alteration in
      original)). The Tenth Circuit, however, declined to adopt the subjective-objective test for future good-faith cases.
      See id. The Tenth Circuit cited an objective test when it remanded these cases. Banks, 814 F. App’x at 331;
      Thompson, 815 F. App’x at 233. Thus, the Court uses the objective test in Davis. Notably, Plaintiffs do not contest
      Virden’s, Brown’s, or Wolf’s subjective good-faith belief. Therefore, the definitive question under either test is
      whether the reliance on the warrants was objectively reasonable.




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          In Workman, the FBI got a warrant from a magistrate judge in the Eastern District of

  Virginia. 863 F.3d at 1315. The warrant allowed them to install software on a child pornography

  website that allowed them to identify the website’s users. Id. at 1315-16. The software identified

  Workman, who had accessed the website from Colorado. Id. at 1316. The FBI then got a search

  warrant in Colorado to search Workman’s computer, and the FBI caught Workman in the act of

  downloading child pornography. Id. The district court, however, suppressed the evidence. Id. at

  1317.

          The Tenth Circuit assumed for the sake of argument that the magistrate judge lacked the

  jurisdiction to issue the warrant. Id. It then considered whether a reasonably well-trained agent

  would have known that the warrant was invalid despite the magistrate judge’s authorization. Id. at

  1320. The Tenth Circuit started with the presumption that executing agents act in good faith on a

  warrant. Id. It then bolstered that presumption with the following observations: “1. The software

  was installed in a government server located in the Eastern District of Virginia. 2. The magistrate

  judge, who issued the warrant, was in the Eastern District of Virginia. 3. All of the information

  yielded from the search would be retrieved in the Eastern District of Virginia.” Id. It thus concluded

  that executing agents without sophisticated legal training could reasonably rely on the magistrate

  judge’s authorization. See id.

          This case is similar. Here, it is undisputed that the cellular phones, which were the subject

  of the interception orders, had been used in Geary County. Judge Platt, who issued the orders, was

  in the Eighth Judicial District of Kansas, which includes Geary County. And the Plaintiffs engaged

  in the underlying criminal activity in Geary County. Thus, there were objective ties to Judge Platt’s

  jurisdiction. Consequently, it was reasonable for these officers, who are without sophisticated legal

  training, to rely on the state judge’s authorization. Therefore, the Court grants Virden, Brown, and




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  Wolf summary judgment based on their statutory good-faith defenses under Kansas and federal

  law.6

           Plaintiffs don’t point to any evidence from which a reasonable jury could find a different

  result. Instead, they argue that there is no good-faith defense for a mistake of law. Their argument,

  however, relies on caselaw outside the warrant context. See, e.g., State v. Oram, 266 P.3d 1227,

  1235 (Kan. 2011) (“Leon’s good-faith exception to the exclusionary rule generally applies only

  narrowly outside the context of a warrant.”); see also Quigley v. Rosenthal, 327 F.3d 1044, 1070

  & n. 15 (10th Cir. 2003) (arising outside the warrant context and involving private attorneys with

  sophisticated legal training).

           Moreover, Plaintiffs’ argument is contrary to Workman, where the Tenth Circuit assumed

  the officers were incorrect that the magistrate judge had jurisdiction. Plaintiffs essentially argue

  that it is objectively unreasonable to rely on a legally insufficient warrant. But that would all but

  eliminate the good-faith defense, which begins with the premise of a legally deficient order or

  warrant. Officers are entitled to rely on judges who have more sophisticated legal training. Under

  8 U.S.C. § 2520(d) and K.S.A. § 22-2518(2), it is not an officer’s job to research caselaw and

  correct the judge. Notably, in the Fourth Amendment setting, there are four contexts where the

  good-faith presumption does not apply. None of them are mistake of law. See, e.g., United States

  v. Barajas, 710 F.3d 1102, 1110-11 (10th Cir. 2013); State v. Zwickl, 393 P.3d 621, 628 (Kan.

  2017).7 A reasonably well-trained officer would not have known the orders were invalid despite


  6
      The fact that the government could not prove that all the intercepted cellular communications occurred when the
      phones were in or in contact with Geary County does not change the analysis. The objective connections to Geary
      County were sufficient for an individual without legal training to have a reasonable belief that the warrants were
      valid.
  7
      In the alternative, Brown and Wolf would not be liable under the federal statute. Plaintiffs do not allege any facts
      supporting the proposition that Brown or Wolf personally intercepted, disclosed, or intentionally used their text
      messages in violation of federal law. Rather, Plaintiffs accuse Brown and Wolf of “procuring” others to intercept
      and disclose their text messages. Procuring text messages does not give rise to a cause of action under 18 U.S.C.
      § 2520, however. See Kirch v. Embarq Mgmt. Co., 702 F.3d 1245, 1246 (10th Cir. 2012) (“[18 U.S.C. § 2520(a)’s]



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  the judge’s authorization. No reasonable jury could conclude otherwise on this record. Therefore,

  Plaintiffs’ arguments must fail.

          B.       Carrier Defendants

          Carrier Defendants make two arguments for summary judgment: (1) Judge Platt’s orders

  authorized the interception of text messages, and thus Carrier Defendants have an absolute defense

  under 18 U.S.C. § 2511 and federal preemption; and (2) alternatively, Carrier Defendants acted in

  good faith under 18 U.S.C. § 2520(d) and K.S.A. § 22-2518(2). See Doc. 182 at 1. In considering

  these arguments, the Court considers the following additional undisputed facts. On March 7, 2013,

  James T. Botts from the KBI sent a fax to T-Mobile that contained a March 5 wiretap order. Doc.

  182 at 7; Doc. 196 at 6. Handwritten on the KBI coversheet was the phrase “Turn on SMS.” Doc.

  182 at 8; Doc. 196 at 6. The parties do not specify when T-Mobile started providing text messages

  to the KBI thereafter, however. On March 7, 2013, law enforcement also sent a fax coversheet to

  Sprint requesting a wiretap for the phone number in a different March 5 order, though it appears

  the order itself was not attached to the coversheet. See Doc. 182-11. Written on the Sprint fax was

  the phrase “upgrade to T3.” Doc. 182 at 8; Doc. 196 at 6-7. The parties do not agree on what “T3”

  refers to. See Doc. 182 at 8; Doc. 196 at 6-7. On March 7, KBI’s Botts “called back in to check

  the Wire upgrade.” See Doc. 182-11. Shortly afterwards, Sprint began providing text messages to

  the KBI. Doc. 182 at 8; Doc 196 at 7.

                   1. Authorization by Court Order

          Carrier Defendants argue that Judge Platt’s orders authorized interception of text messages,

  and therefore they are immune under 18 U.S.C. § 2511. Furthermore, they argue that the federal



     language does not encompass aiders or abettors.”). Virden, Brown, and Wolf raise additional alternative arguments
     for summary judgment. Because the Court rules for Virden, Brown, and Wolf on their good-faith defenses, the
     Court does not address those arguments.




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  statutory defense preempts the state statute that lacks a similar defense. Because the Court holds

  that Carrier Defendants were not authorized to intercept text messages under Judge Platt’s initial

  orders, it does not reach the preemption argument.

           Under federal law, “[n]o cause of action shall lie in any court against any provider of wire

  or electronic communication service . . . for providing information, facilities, or assistance in

  accordance with the terms of a court order.” 18 U.S.C. § 2511(2)(a)(ii). Text communications are

  electronic communications. See Banks, 2014 WL 4261344, at *2. “Electronic communication”

  does not include “wire communication” under federal or Kansas law. See 18 U.S.C. § 2510(12);

  K.S.A § 22-2514(11). Thus, an authorization to intercept wire communications does not authorize

  interception of text messages.

           The plain text of Judge Platt’s March 5 orders does not authorize the interception of

  electronic communications such that Carrier Defendants were acting pursuant to a court order

  when they began intercepting text messages. Those orders authorize law enforcement to intercept

  wire communications only. Carrier Defendants’ arguments to the contrary are unavailing.8

           Specifically, Carrier Defendants argue that Judge Crabtree already ruled in Plaintiffs’

  criminal proceedings that Judge Platt’s initial orders authorized text messages. But this is incorrect.

  Judge Crabtree acknowledged that text messages were not explicitly authorized by all the orders,

  but the officers’ good-faith belief that the orders did authorize interception of text messages

  prevented text messages from being completely excluded. See Banks, 2014 WL 4261344, at *5.

  Judge Platt and the officers may have intended for the orders to authorize interception of text




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      The parties do not address an April 4 order that extended the duration of the March 5 wiretap order sent to T-
      Mobile. See Doc. 174-6 at 222-27. The April 4 order does not authorize interception of electronic communications
      either. Id. at 224.




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  messages, but the initial orders did not so authorize. Therefore, the Court declines to grant

  summary judgment based on 18 U.S.C. § 2511(2)(a)(ii) on the instant record.

                    2. Good Faith

           Carrier Defendants next argue that they are entitled to summary judgment because they

  acted in good faith on a court order. Under state and federal law, any entity that intercepts wire,

  oral, or electronic communications in good-faith reliance on a court order has a complete defense

  against any civil action. 18 U.S.C. § 2520(d); K.S.A. § 22-2518(2). “To be in good faith, a

  defendant’s reliance on a court order must have been objectively reasonable.” Davis, 111 F.3d at

  1484.9

           Carrier Defendants acknowledge that statutory good faith is an affirmative defense. Doc.

  182 at 25 n.9. But they have not met their burden of proof. Carrier Defendants allege that most

  wiretap orders in general request interception of text data. Doc. 182 at 7. But that does not make

  it reasonable to assume that the orders at issue here authorized text-message interception.

  Furthermore, Carrier Defendants point to one of Agent Virden’s affidavits as evidence that they

  were objectively reasonable in intercepting text messages. But even if using Virden’s affidavit to

  construe the wiretap orders would have made intercepting text messages objectively reasonable,

  there are no facts to suggest that Carrier Defendants ever received his affidavit at the time, read it,

  or relied on it in interpreting the wiretap orders. There are holes in the record, and the Court can’t

  make inferences to fill these holes in Carrier Defendants’ favor under the summary judgment

  standard. See Henderson, 41 F.3d at 569.




  9
      The Court again acknowledges that the Tenth Circuit has not spoken clearly as to whether there is a subjective
      component to the good faith standard. In the face of this ambiguity, the Court applies the objective standard in
      Davis based on the Tenth Circuit’s remands. Banks, 814 F. App’x at 331; Thompson, 815 F. App’x at 233.




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            And even more importantly, at least two carriers refused to intercept text messages

  pursuant to two similarly worded wiretap orders until they got clarification orders from Judge Platt.

  One of those carriers, Sprint/Nextel, is a party in this case. Carrier Defendants have not shown the

  Court how it was objectively reasonable to intercept text messages under the orders at issue when

  similar orders needed clarification.10 Carrier Defendants point to no facts distinguishing the orders

  where carriers sought clarification from the orders here. Instead, they focus on handwriting on the

  coversheets transmitted to them on March 7. Following handwritten directives on coversheets is

  not reliance on a court order. Therefore, the Court declines to grant summary judgment based on

  statutory good faith.11

  IV.       CONCLUSION

            The Court carefully reviewed the extensive record in this case. The Court finds that the

  Individual Defendants are entitled to summary judgment but that Carrier Defendants are not.

            THE COURT THEREFORE ORDERS that Defendant Opat’s Motion for Summary

  Judgment (Doc. 177) is GRANTED.

            THE COURT FURTHER ORDERS that Defendant Virden’s Motion for Summary

  Judgment (Doc. 173) is GRANTED.



  10
       Carrier Defendants note that the clarification orders only applied to orders directed to Plaintiffs’ co-conspirators.
       They refer to the orders that were clarified, however, as Ponds Order #1 and Thompson Order #2. Based on the
       record, it appears that the clarified orders were for co-conspirators Ponds and Ivory. Compare the phone numbers
       in the clarification orders at Doc. 182-13 at 2 and Doc. 182-14 at 2 with the phone numbers for Ponds Order 1 and
       Ivory Order 1 in the exhibit list at Doc. 174-2 at 1.
  11
       Carrier Defendants mention in passing that they are entitled to rely on law enforcement’s understanding of the
       orders. Doc. 182 at 24 (citing United States v. Peterson, 812 F.2d 486, 492 (9th Cir. 1987)). There is a federal
       statutory defense for following a law enforcement officer’s request. See 18 US.C. § 2520(d)(2). To the extent
       Carrier Defendants rely on this statutory defense, they do not develop this argument. Furthermore, even if they
       had, issues of material fact remain. For example, what does “upgrade to T3” mean? Furthermore, did Agent Botts
       ask Sprint to intercept text messages when he called? The record does not say. It merely shows that after the call,
       Sprint started intercepting text messages. Correlation does not equal causation. The Court makes all reasonable
       inferences in favor of the non-moving party at the summary judgment phase. Henderson, 41 F.3d at 569. Thus,
       Carrier Defendants have not met the burden of proving their affirmative defense at this stage.




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         THE COURT FURTHER ORDERS that Defendant Brown’s Motion for Summary

  Judgment (Doc. 175) is GRANTED.

         THE COURT FURTHER ORDERS that Defendant Wolf’s Motion for Summary

  Judgment (Doc. 179) is GRANTED.

         THE COURT FURTHER ORDERS that Carrier Defendants’ Motion for Summary

  Judgment (Doc. 181) is DENIED.

         IT IS SO ORDERED.

         Dated: December 27, 2021            /s/ Holly L. Teeter
                                             HOLLY L. TEETER
                                             UNITED STATES DISTRICT JUDGE




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                                     IN THE UNITED STATES DISTRICT COURT
                                          FOR THE DISTRICT OF KANSAS

               ALBERT DEWAYNE BANKS,                 )
                                                     )
                                       Plaintiff,    )
                                                     )
               v.                                    )                   Case No. 15-cv-3093-HLT-GEB
                                                     )
               STEVEN L. OPAT, et al.,               )
                                                     )
                                       Defendants.   )
               _____________________________________ )

                                         NOTICE OF VOLUNTARY DISMISSAL

                    Pursuant to Fed. R. Civ. P. 41, notice is hereby given that Plaintiff and Defendants

            Sprint/Nextel Wireless Telephone Company and Virgin Mobile/Sprint PCS have settled all

            disputes between them and request that this action be dismissed with prejudice, with the parties to

            bear their own fees and costs.


                    Dated: May 31, 2023                      Respectfully submitted,


                                                                 /s/ Jay E. Heidrick
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                                                CERTIFICATE OF SERVICE

                    I hereby certify that on May 31, 2023 a true and correct copy of the foregoing pleading was

            electronically filed with the Clerk of the U.S. District Court for the District of Kansas, and a service

            copy was mailed via U.S. mail to the following:

                    Albert Banks
                    750 Shannon Drive
                    Romeoville, Illinois 60446
                                                                    /s/ Jay E. Heidrick
                                                                    Attorney for Sprint Defendants




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                             UNITED STATES DISTRICT COURT

                                  DISTRICT OF KANSAS



  ALBERT BANKS,

               Plaintiff.

  v.
                                                                Case No: 15-3093-HLT

  GLEN VIRDEN Et al,
         Defendant,



                      NOTICE OF APPEAL PURSUANT TO FEDERAL

                            RULE OF APPELLATE PROCEDURE 4



         Comes Now, Albert Banks respectfully request this Honorable Court to enter

  a notice of appeal pursuant to Federal Rules of Appellate Procedure 4. The

  defendant seeks to appeal from a judgment entered on Document# 293 which

  finally deposed of the remaining claims. The defendant seeks to appeal Document

  # 208 which granted certain defendant's summary.




                            ~ _3/4~06/05/2023
                                        Albert Banks




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                                        750 Shannon Dr.
                                   Romeoville, Illinois 60446
                                         785-473-1372
                                  Albertbanks212@gmail.com



                                    CERTIFICATE OF SERVICE


         I Albert Banks hereby certify that on June 5, 2023, a true and correct copy
  of this pleading was emailed to the Clerk of the Court for the District of Kansas at
  444 SE Quincy Topeka Kansas 66605. An electronic copy of this filing will be sent
  to all relevant parties.




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